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                        EXHIBIT F-1

           Detailed Description of Services Rendered
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                                                                   555 Eleventh Street, N.W., Suite 1000
                                                                   Washington, D.C. 20004-1304
                                                                   Tel: +1.202.637 .2200 Fax: +1.202.637 .2201
                                                                   www.lw.com
LATHAM&WAT KIN $LLP

  INVOICE                                                        Please identify your payment with the following·

                                                                 Invoice No. 2300303964
  April 20, 2023                                                 Matter Number 072624-1001

                                                                 Tax Identification No.: XX-XXXXXXX

  Vital Pharmaceuticals, Inc.
  1600 N. Park Drive
  Weston, FL 33326
  Attn: Gregg Metzger




  For professional services rendered through March 31, 2023

                                                                             Services                Costs               Total
  Asset Dispositions                                                      502,568.33                                502,568.33
  Business Operations                                                      14,020.50                                 14,020.50
  Case Administration                                                      55,136.00                                 55,136.00
  Claims Administration and Objections                                      1,596.00                                  1,596.00
  Corporate Governance & Board Matters                                    252,611.50                                252,611.50
  Employee Benefits and Pensions                                            2,949.00                                  2,949.00
  Employment and Fee Applications                                          49,163.00                                 49,163.00
  Financing and Cash Collateral                                            26,276.00                                 26,276.00
  Hearings                                                                 84,701.50                                 84,701.50
  Leases and Contracts                                                     57,644.00                                 57,644.00
  Litigation                                                              820,361.50                                820,361.50
  Meetings and Communication with Creditors                                 8,528.50                                  8,528.50
  Non-Working Travel                                                       30,583.25                                 30,583.25
  Plan and Disclosure Statement                                            12,263.00                                 12,263.00
  Tax                                                                         576.50                                    576.50
  Total Services and Costs                                             1,918,978.58                   0.00       $1,918,978.58




  Total Due                                                                                                      $ 1,918,978.58




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03/01/23     CAR                        1.20       2,220 .00 Review and revise sale order

03/01/23     AS                           .10        165.50 Telephone conference with J. Saferstein regarding
                                                            confidentiality provisions of sale order

03/01/23     BK                           .90      1,381.50 Video conference with Citi and Latham regarding escrow
                                                            requirements and escrow agent coordination and escrow
                                                            agreement comments (0.3); telephone conference with L.
                                                            Sievert regarding escrow agreement considerations (0.2);
                                                            telephone conference with G . Metzger regarding
                                                            schedules, considerations and process (0.4)

03/01/23     YLB                          .70        875 .00 Call with counsel to claimants regarding sale process

03/01/23     JJW                          .92      1,052.33 Review and revise sale order (0 .8); correspond with team
                                                            regarding same (0.2)

03/01/23     LS                         1.00       1,065.00 Attend call with Citi regarding Escrow Agreement (0.4);
                                                            revise draft of Escrow Agreement (0.6)

03/01/23     NAG                          .20        166.00 Update sale order objection chart

03/02/23     YM                           .80      1,228.00 Emails with Latham team regarding asset transfers (0.5);
                                                            review board call talking points (0.3)

03/02/23     CAR                          .70      1,295.00 Review revised sale order

03/02/23     AS                           .30        496 .50 Correspondence with L. Burton, J. Weichselbaum
                                                             regarding service issues in connection with sale-related
                                                             filings

03/02/23     BK                         2.50       3,837.50 Coordinate with escrow agent regarding company queries
                                                            and provide responses (0 .2) ; review and consider escrow
                                                            agent comments to escrow agreement and provide
                                                            comments (0.5); review internal asset transfer issues and
                                                            considerations and summarize emails and communications
                                                            for team (1.1) ; review and respond to queries regarding
                                                            disclosure schedules and process (0.3); telephone
                                                            conference with G. Eckhouse regarding IP schedules (0.3);
                                                            review and consider related issues raised (0.4)

03/02/23     NTW                          .40        456.00 Correspondence with team regarding IP asset transfers
                                                            (0.2); review IP search (0.2)

03/02/23     JJW                        3.50       3,990.00 Attention to emails regarding cure schedule and related
                                                            matters (0.4); review cure schedule (0.4); correspond with
                                                            Debtor regarding same (0.3); correspond with litigation
                                                            team regarding sale matters (0.2); correspond with
                                                            committee regarding motion to redact (0.3); finalize same
                                                            for filing (0.2); review and circulate sale order (0.3); review
                                                            comments to sale order (0 .2); correspond with team and
                                                            advisors regarding service (0.4); review certificate of

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                                                              service for confidentiality relating to sale notice (0 .5) ;
                                                              discuss same with advisors and team (0.2)

03/02/23     LS                         1.80       1,917 .00 Revise draft Escrow Agreement (0 .6); review information
                                                             provided by Debtor for Disclosure Schedules (0.6) ; revise
                                                             draft of Disclosure Schedules (0.6)

03/03/23     GM                          .50         680 .00 Attend call regarding Debtor asset transfer

03/03/23     YM                         4 .00      6,140 .00 Review J . Luna email and emails with Latham team
                                                             regarding same (0.6); calls with Latham team regarding
                                                             asset transfers (0.5); draft email to J. Gusa regarding asset
                                                             transfer questions (0.4); draft email to J. Luna regarding
                                                             asset transfers (0.8); calls with Latham team regarding
                                                             asset transfers (0 .6); review IP schedule and emails
                                                             regarding registrations and filings for certain assets (0.4);
                                                             attention to emails from Rothschild regarding data room
                                                             population and clean team questions (0 .3); call with
                                                             Rothschild and Miller Buckfire regarding data room
                                                             process

03/03/23     AQ                          .30         408 .00 Email with A. Gupta and D. Mun regarding formation of
                                                             entities and IP

03/03/23     CAR                        4 .30      7,955 .00 Review and revise sale order (1.2); review and revise sale
                                                             order notice (0.4); review and respond to emails from L.
                                                             Burton regarding sale related filings (0.8) ; call with D.
                                                             Mun regarding sale-related open issues (0.5); review and
                                                             respond to multiple emails regarding IP issues and status
                                                             of return to estate (1.4)

03/03/23     BK                         4 .30      6,600 .50 Telephone conference with L. Sievert and M . Hoite
                                                             regarding disclosure schedules (1.0); review schedules
                                                             and underlying information (0.7); review and respond to
                                                             emails regarding asset transfer and justification and
                                                             underlying details (0.6); telephone conference with J.
                                                             Gusa, D. Mun, G. Mahmood, C. Reckler, A. Sorkin, A.
                                                             Quartarolo and T. Kim regarding asset transfer
                                                             justification and details (0 .5); telephone conference with L.
                                                             Burton regarding bankruptcy consent considerations (0.2);
                                                             attention to schedules (litigation and compliance with law)
                                                             (0.6); telephone conference with G . Metzger regarding
                                                             disclosure schedules and coordination (0.4); telephone
                                                             conference with D. Mun regarding asset transfer strategy
                                                             and related points (0.3)

03/03/23     YLB                        1.30       1,625.00 Calls with Huron team and Debtor regarding same (1.0);
                                                            emails with Debtor regarding same (0.3)

03/03/23     LK                          .30         361.50 Email correspondence with accounting advisors (0 .2);
                                                            review revised organizational chart (0.1)

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03/03/23     DCT                       1.30       1,540.50 Analyze files for competitive sensitivity prior to sharing in
                                                           data room (0.4); draft assessment of Clean Team treatment
                                                           for documents in data room (0.9)

03/03/23     NTW                       4.60       5,244.00 Correspondence with Latham team regarding IP assets
                                                           and contributions (0.8); review and analyze latest IP
                                                           schedule provided by Debtor (1.7) ; coordinate with
                                                           Latham team regarding revising IP search results (0 .5);
                                                           summarize IP assets held by non-debtors (1.6)

03/03/23     JJW                       4.30       4,902.00 Conduct legal research regarding assumption of contracts
                                                           related to sale (1.2); correspond with Latham team
                                                           regarding same (0 .2); finalize assumption notice for filing
                                                           (0.4) ; attention to emails regarding service of various sale
                                                           documents (0.3); review comments to sale order (0.2);
                                                           revise and finalize sale order for filing (0.6); discuss the
                                                           same with G. Metzger (0.4); correspond with Latham team
                                                           regarding same (0.3); prepare notice of filing of sale order
                                                           (0.6); attention to emails regarding court reporter for
                                                           auction (0.1)

03/03/23     NAG                       2.00       1,660.00 Prepare sale order to prepare for filing (1.7); review notice
                                                           of filing of sale order to prepare for filing (0.3)

03/03/23     MH                        5.80       1,740.00 Assist with preparation of disclosure schedules

03/03/23     CMT                       1.20         588.00 Research regarding APA and related schedules (1.1);
                                                           emails with L. Burton regarding same (0 .1)

03/04/23     YM                         .20         307 .00 Call with Latham team regarding asset transfer issues

03/04/23     BK                        1.90       2,916.50 Telephone conference with D. Mun regarding open issues
                                                           and next steps (0.2); review and revise schedules and send
                                                           comments to Latham team (1.7)

03/04/23     LS                        2.40       2,556.00 Review and revise draft of Disclosure Schedules

03/05/23     BK                         .80       1,228.00 Further review and revise schedules

03/05/23     JJW                        .30         342.00 Review revised certificate of service relating to sale for
                                                           confidentiality

03/05/23     LS                         .80         852 .00 Revise draft of Disclosure Schedules

03/05/23     MH                        6.10       1,830.00 Assist with preparation of disclosure schedules

03/06/23     YM                        2.60       3,991.00 Calls with Latham team regarding asset transfers (0.4);
                                                           call with Debtor regarding company assets (0 .5) ; call with
                                                           Debtor board regarding various estate matters (1.0); call
                                                           with Latham team regarding Debtor board meetings (0.2);
                                                           emails and calls with Latham team and Debtor regarding
                                                           board meeting (0.5)

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03/06/23     KAR                          .50        680 .00 Attention to clean team questions regarding potential
                                                             bidder

03/06/23     AS                         2.10       3,475.50 Telephone conference with L. Lluberas regarding sale
                                                            process (0.4); telephone conference with D. Mun
                                                            regarding IP issues (0.2); telephone conference with L.
                                                            Burton regarding update (0.2); telephone conference with
                                                            G . Metzger, G. Eckhouse regarding IP matters (0.6);
                                                            telephone conference with D. Mun regarding sale
                                                            questions (0.3); telephone conference with E. Chafetz
                                                            regarding objection deadline for sale (0.2); telephone
                                                            conference with B. Kaplan regarding real estate sales (0.2)

03/06/23     BK                         1.80       2,763.00 Prepare for and attend disclosure schedule call with
                                                            Debtor and Latham teams (1.5); telephone conference
                                                            with D. Mun regarding open items and next steps (0.1) ;
                                                            telephone conference with E. Morris regarding IP transfer
                                                            issues (0.2)

03/06/23     YLB                          .40        500 .00 Review escrow agreement (0 .3); call with Debtor
                                                             regarding KYC (0.1)

03/06/23     DCT                          .80        948 .00 Analyze diligence materials for competitive sensitivity

03/06/23     NTW                        1.10       1,254 .00 Correspondence with Latham team regarding IP assets,
                                                             non-debtors and post-petition IP filings (0.5); review and
                                                             analyze the same (0 .6)

03/06/23     JJW                        1.50       1,710.00 Review comments to NDA (0.7); correspond with Latham
                                                            team regarding same (0.3); review certificate of service
                                                            regarding sale notice for confidentiality (0.3); attention to
                                                            emails regarding informal sale order comments (0.2)

03/06/23     SPM                          .70        672.00 Research competitive overlap of potential bidder (0.5);
                                                            email D. Tifft regarding same (0.2)

03/06/23     LS                           .60        639.00 Revise Disclosure Schedules

03/06/23     NAG                          .30        249.00 Create chart to track objection to filed cure amounts

03/06/23     RDL                        2.40       1,248.00 Review updated excel schedule (1.3); update intellectual
                                                            property diligence status chart (1.1)

03/06/23     MH                         3.30         990.00 Assist with preparation of disclosure schedules

03/07/23     YM                         1.10       1,688.50 Attention to emails regarding asset cost information (0.1);
                                                            attend Debtor schedules check-in call (0.3); call with
                                                            Debtor, Berger Singerman and Latham teams regarding
                                                            asset transfer information (0.5); review clean team
                                                            agreement and emails with Latham team and potential
                                                            bidder regarding same (0.2)


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03/07/23     AS                         1.00       1,655.00 Telephone conference with Huron, Latham, Debtor teams
                                                            regarding IP (0.4); video conference with G. Eckhouse, S.
                                                            Panagos, S. Gray, B. Dickinson regarding IP transfer
                                                            matters (0 .6)

03/07/23     JJW                          .90      1,026.00 Call with bidder regarding NDA (0.3); discuss same with
                                                            Rothschild and Debtor teams (0.2) ; call with Huron
                                                            regarding cure question (0.3); attention to emails
                                                            regarding contract question (0.1)

03/07/23     TK                         1.20       1,278.00 Review corporate filing documents and USPTO filings
                                                            (0.8) ; attend status update call (0.4)

03/07/23     SPM                          .70        672.00 Research clean team room documents per D. Tifft email
                                                            (0.5); email D . Tifft regarding same (0 .2)

03/07/23     LS                         1.00       1,065.00 Attend call with Debtor, Rothschild and Latham teams
                                                            regarding deal update and progress (0 .3); review Debtor
                                                            invoices (0.5); correspond with Debtor regarding NDA
                                                            joinder (0.2)

03/07/23     MH                           .40        120.00 Assist with preparation of disclosure schedules

03/08/23     YM                         1.10       1,688.50 Emails with Latham, Rothschild and GT teams regarding
                                                            tax step up analysis (0.2); emails with Latham team
                                                            regarding asset transfers (0.4); emails with potential
                                                            bidder, Latham team and Rothschild regarding NDA
                                                            joinder and CT A (0.3); emails with Rothschild regarding IP
                                                            schedule (0.2)

03/08/23     BK                         8.10      12,433.50 Review and consider emails, documents and related
                                                            evidence regarding asset transfer justification (1.2); review
                                                            and consider local counsel guidance regarding transfer of
                                                            Peru equity (0.2); review and consider tax step up related
                                                            emails (0.1); review and consider operational and
                                                            marketing contract schedules from Huron (0.4); review
                                                            and consider permit schedule comments from company
                                                            (0.3); telephone conference with Company, Huron and
                                                            Latham regarding disclosure schedules (1.8); follow from
                                                            information learned in disclosure schedules call (0.4);
                                                            review schedule details provided by each of G. Metzger,
                                                            J . Paul, G. Mckean and Huron (1.0); review and consider
                                                            bidder requests and joinder/clean team considerations
                                                            (0.4); review, consider and respond to various emails from
                                                            Huron and Rothschild regarding disclosure schedules and
                                                            IP related transfer queries (1.0) ; review escrow related
                                                            materials provided by the company (0.2); review and
                                                            consider revised escrow agreement (0.2); telephone
                                                            conference with L. Sievert regarding escrow agreement
                                                            comments (0.1); telephone conference with T. Kim and L.
                                                            Sievert regarding open items and next steps (0.6) ; review

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                                                              and revise signing checklist (0.2)

03/08/23     YLB                         .90       1,125.00 Review escrow agreement and KYC matters (0.4); calls
                                                            with company regarding same (0.2); calls with Huron
                                                            regarding same (0.3) ;

03/08/23     YLB                        1.80       2,250.00 Call with B. Kaplan and J. Weichselbaum regarding APA
                                                            (0.6); correspond with Rothschild regarding same (0.4);
                                                            correspond with S. Parkhurst regarding same (0.8)

03/08/23     NTW                        1.80       2,052 .00 Correspondence with team and opposing counsel
                                                             regarding IP assets (0.7) ; review revised list of IP assets
                                                             (1.1)

03/08/23     JJW                         .70         798 .00 Participate in call regarding APA (0.4); call with YRC (0.3)

03/08/23     TK                          .40         426.00 Review corporate filings and USPTO filings of non-debtor
                                                            entities

03/08/23     LS                         3.80       4,047 .00 Revise draft of Escrow Agreement (0.4) ; revise Disclosure
                                                             Schedules (0 .7); attend call with B. Kaplan and T. Kim
                                                             regarding Disclosure Schedules and NDA joinder (0.6) ;
                                                             attend call with Latham team regarding Disclosure
                                                             Schedules (0.3); attend call with Debtor, Huron and
                                                             Latham teams regarding Disclosure Schedules (1.8)

03/08/23     MH                         4.20       1,260.00 Assist with preparation of disclosure schedules

03/09/23     YM                         2.10       3,223.50 Emails with J. Luna and Latham team regarding asset
                                                            transfer schedule (1.1); calls with Latham team, Debtor
                                                            and the independent directors regarding asset transfers
                                                            and other matters (0.9); review email from Debtor IP in-
                                                            house counsel regarding asset transfers (0.1)

03/09/23     KAR                         .30         408 .00 Attention to antitrust issues relating to potential sale

03/09/23     AS                          .50         827 .50 Conference with H. Parkhill regarding sale process update

03/09/23     BK                         3.20       4,912 .00 Telephone conference with G . Eckhouse regarding IP
                                                             transfer considerations (0 .6); provide update to Latham
                                                             team regarding IP discussion (0 .2); telephone conference
                                                             with L. Burton and L. Sievert regarding escrow agent
                                                             coordination (0.4); telephone conference with M . Dyer at
                                                             Rothschild regarding asset transfer strategy and
                                                             considerations (0.4); provide update to team regarding
                                                             asset transfer strategy (0.2); review board meeting talking
                                                             points and consider interactions with IP and asset transfer
                                                             strategy (0.3); review and consider emails and schedules
                                                             from J. Luna regarding asset transfers and IP transfer
                                                             exclusions (0 .6) telephone conferences with D, Mun
                                                             regarding board meeting and next steps (0.2); review APA


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                                                             exhibits and consider comments (0.3)

03/09/23     YLB                        .40         500.00 Review escrow agreement and KYC matters

03/09/23     NTW                       5.70       6,498.00 Correspondence with team regarding IP search and
                                                           revised IP schedules provided by Debtor (1.7); review and
                                                           analyze IP search results (3.3); review IP assignment and
                                                           Contribution Agreement (0 .5); prepare to execute the
                                                           same (0.2)

03/09/23     JJW                        .60         684.00 Draft sale order language for objector (0.3); review
                                                           comments to NDA (0.3)

03/09/23     TK                        1.60       1,704.00 Revise non-disclosure agreementjoinder and clean team
                                                           agreement

03/09/23     KO                        5.80       4,089.00 Review IP search results and compare with Company IP
                                                           schedule (2.4); draft IP search results chart with missing
                                                           trademarks (3 .4)

03/09/23     LS                        2.20       2,343.00 Attend calls with Latham and Citi teams regarding escrow
                                                           KYC process (0.4); review Debtor escrow KYC forms (0.7);
                                                           draft signing checklist (1.1)

03/09/23     RDL                        .40         208.00 Continue review of updated excel schedule and update
                                                           intellectual property diligence status chart (0.3);
                                                           correspond with N. Wages attaching updated intellectual
                                                           property diligence status chart and chart of unscheduled
                                                           intellectual property (0.1)

03/09/23     MH                         .70         210.00 Assist with preparation of disclosure schedules

03/10/23     YM                         .20         307 .00 Emails with Latham team regarding schedule matters

03/10/23     LK                         .30         361.50 Email correspondence with accounting advisors and
                                                           internally

03/10/23     TK                         .40         426 .00 Confer with Debtor regarding disclosure schedules

03/10/23     KO                        3.00       2,115.00 Review IP Search Results chart and revise

03/10/23     LS                         .80         852.00 Review revised draft of Escrow Agreement (0.4); consider
                                                           Escrow Agreement issues (0.4)

03/11/23     LS                         .60         639.00 Revise draft of Disclosure Schedules

03/12/23     AS                         .70       1,158.50 Video conference with Huron, G. Metzger, Latham,
                                                           Berger Singerman teams regarding transition matters and
                                                           IT issues

03/12/23     BK                        3.00       4,605.00 Review and consider revised disclosure schedules (0.4);
                                                           telephone conference with L. Sievert regarding escrow

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                                                              agreement comments and reactions and disclosure
                                                              schedules comments and updates (1.0); review and
                                                              respond to escrow agreement comments (0.4); telephone
                                                              conference with Huron, company and Latham regarding
                                                              disclosure schedules (0.5); follow up with Latham team
                                                              regarding termination issues and considerations (0.4);
                                                              telephone conference with J . Weichselbaum, T. Kim and
                                                              L. Sievert regarding disclosure schedules call download
                                                              and related considerations (including termination
                                                              considerations) (0.3)

03/12/23     NTW                        1.40       1,596.00 Correspondence with Latham team regarding latest
                                                            developments and IP assets (0 .2); prepare for telephone
                                                            conference with regarding the same (1.2)

03/12/23     JJW                         .70         798.00 Participate in call regarding schedules for APA (0.4) ;
                                                            follow up with Latham team regarding same (0.3)

03/12/23     TK                          .70         745.50 Confer with Debtor regarding disclosure schedules (0.5);
                                                            confer with B. Kaplan regarding disclosure schedules (0.2)

03/12/23     LS                         2.20       2,343 .00 Update Disclosure Schedules (0.5) ; attend call with
                                                             Debtor, Huron and Latham teams regarding Disclosure
                                                             Schedules (0.5); attend call with B. Kaplan, J.
                                                             Weichselbaum and T. Kim regarding Disclosure Schedules
                                                             (0.2); attend call with B. Kaplan regarding Disclosure
                                                             Schedules and Escrow Agreement (1.0)

03/12/23     MH                         1.00         300.00 Assist with preparation of disclosure schedules

03/13/23     GM                          .40         544.00 Internal call regarding IP application termination
                                                            ramifications

03/13/23     YM                          .60         921.00 Call with Latham team regarding escrow agreement (0.2);
                                                            call with Latham team regarding disclosure schedules
                                                            (0.4)

03/13/23     AS                          .50         827 .50 Telephone conference with D. Mun, G . Mahmood, B .
                                                             Kaplan regarding IP issues

03/13/23     BK                         3.90       5,986.50 Review and consider emails and issues regarding
                                                            assumption (0.2); review and consider OBI/Bang
                                                            arbitration award (1.2); telephone conference with D . Mun
                                                            regarding escrow agreement issues and status and process
                                                            generally (0.2); telephone conference with G . Hernandez,
                                                            G. Robbins and G. Metzger regarding tax/audit disclosure
                                                            (0.4) ; review and revise disclosure schedules and consider
                                                            audit disclosure (0.4); telephone conference with D. Mun
                                                            regarding process and next steps (0.1) ; telephone
                                                            conference with L. Sievert regarding disclosure schedules
                                                            and considerations (0.1); telephone conference with N.

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                                                             Wages and L. Sievert regarding IP considerations and
                                                             related asset transfer implications (0 .9); consider IP
                                                             schedules and coordinate review with company (0.4)

03/13/23     EAM                        .50         642.50 Attend call regarding potential to sell certain assets

03/13/23     NTW                       5.10       5,814.00 Correspondence with team regarding domain names and
                                                           registered IP assets (0 .5); review and analyze the same
                                                           (1.4); review IP search results (0.6); prepare for and attend
                                                           telephone conference with Debtor regarding the same
                                                           (2.6)

03/13/23     JJW                        .70         798 .00 Participate in call regarding APA (0.4); review disclosure
                                                            schedules in connection with same (0.3)

03/13/23     TK                         .40         426.00 Confer with D. Mun and B. Kaplan regarding OBI claims

03/13/23     LS                        2.00       2,130 .00 Review escrow KYC forms (0.6); attend call with B. Kaplan
                                                            and N. Wages regarding intellectual property of Debtor
                                                            (1.0); attend call with Latham team regarding deal
                                                            structure questions (0.4)

03/13/23     MH                         .80         240 .00 Assist with preparation of disclosure schedules

03/14/23     JCE                        .10         143.50 Review diligence questions and related correspondence

03/14/23     SMH                        .40         556.00 Follow up on information pending for filings analysis

03/14/23     YM                        1.60       2,456.00 Call with Latham team regarding schedules and non-
                                                           debtor assets (0.2); attention to emails regarding non-
                                                           debtor assets, NDA and CTA and transaction timeline
                                                           (0.2); call with Latham and Rothschild regarding
                                                           transaction timeline (0.8); follow-up call with Latham team
                                                           regarding schedules and non-debtor assets (0.4)

03/14/23     CAR                       1.00       1,850.00 Review email regarding sale related settlement (0.4); call
                                                           with A. Sorkin regarding same (0.6)

03/14/23     AS                        1.50       2,482.50 Telephone conference with C. Delo regarding asset
                                                           sale/IP issues (0.1); review revised bidding timeline (0.2);
                                                           video conference with Rothschild, Latham, Huron teams
                                                           regarding same (0.8); follow up call regarding same (0.4)

03/14/23     BK                        7.50      11,512.50 Review and consider escrow agreement and KYC
                                                           materials and exhibits (0.2); review, consider and respond
                                                           to litigation queries regarding IP (0.2); telephone
                                                           conference with Citibank and L. Sievert regarding escrow
                                                           agreement open issues (0.3); telephone conference with L.
                                                           Sievert regarding open escrow agreement issues and
                                                           solutions (0 .1); telephone conference with D. Myer and L.
                                                           Sievert regarding non-debtor IP and related strategies
                                                           (0.4) ; video conference with Huron, company, Rothschild

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                                                             and Latham regarding status, open issues and next steps
                                                             (0 .5); review and revise NDA and CTA (0 .5); telephone
                                                             conference with D. Mun regarding process, open items
                                                             and next steps (0.2); telephone conference with G .
                                                             Eckhouse, G. Metzger, Rothschild and Latham regarding
                                                             IP disclosure schedules and allocation between debtors
                                                             and non-debtors (1.7); telephone conference with N.
                                                             Wages regarding IP and domain name considerations
                                                             (0.2); telephone conference with company, Huron and
                                                             Latham regarding disclosure schedules (1.3); telephone
                                                             conference with G. Metzger regarding open issues and
                                                             next steps (0 .3); telephone conference with D. Mun, A.
                                                             Sorkin and L. Burton regarding non-debtor assets and
                                                             related considerations (0.3); telephone conference with A.
                                                             Quartarolo regarding non-debtor IP (0 .2); review and
                                                             revise disclosure schedules considering issues related to
                                                             non-debtor IP, asset transfers, allocation of claims for the
                                                             benefit of the debtors (1.1)

03/14/23     AB                         .10         125.00 Correspondence with T. Kim regarding update on deal

03/14/23     YLB                       2.20       2,750 .00 Prepare for and attend call with B. Kaplan and Huron
                                                            regarding APA (1.2); prepare for and attend call with
                                                            Latham and Rothschild teams regarding bidding process
                                                            (1.0)

03/14/23     BTG                        .90       1,125.00 Review proposed letter to DIP counsel regarding property
                                                           sale

03/14/23     DCT                        .60         711.00 Analyze potential bidder for potential Clean Team
                                                           treatment (0.3); draft Clean Team Addendum for potential
                                                           bidder (0.3)

03/14/23     NTW                       6.10       6,954.00 Correspondence with team regarding diligence request
                                                           responses and revised IP assets (0.4); prepare for and
                                                           attend telephone conference with Debtor regarding IP
                                                           assets (2.1); review and analyze IP assets owned by
                                                           debtors and unscheduled IP (3.6)

03/14/23     JJW                       2.30       2,622.00 Participate in call regarding schedules for APA (1.2);
                                                           attention to emails regarding potential bid (0.2); review
                                                           precedent stalking horse motions (0.4); draft stalking
                                                           horse motion (0.5)

03/14/23     NAJ                        .50         480.00 Email to M . Hauser on pending information requests with
                                                           the Debtor for merger control analysis (0.3); email to the
                                                           deal team on outstanding information request (0.2)

03/14/23     TK                        1.40       1,491.00 Revise non-disclosure agreement and clean team
                                                           agreement


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03/14/23     SPM                          .50        480 .00 Research competitive overlap for potential bidder

03/14/23     LS                         4.20        4,473.00 Attend call with Debtor, Rothschild and Latham teams
                                                             regarding intellectual property and Disclosure Schedules
                                                             (0.5); attend call with Debtor, Huron and Latham teams
                                                             regarding Disclosure Schedules (1.2); attend call with B.
                                                             Kaplan and Rothschild team regarding intellectual
                                                             property (0.4); attend calls with Citi and B. Kaplan
                                                             regarding Escrow Agreement (0.4); attend call with
                                                             Debtor, Rothschild and Latham teams regarding
                                                             intellectual property (1.7)

03/14/23     MH                         1.00         300.00 Assist with preparation of disclosure schedules

03/15/23     RB                         2.10        2,856.00 Diligence call with G. Korik, P. Sluka and N. Alkhas (1.7);
                                                             correspondence with H. Murtagh regarding same (0.4)

03/15/23     SMH                          .30        417 .00 Emails regarding regulatory filings analysis

03/15/23     YM                         1.40        2,149 .00 Diligence call (0.8); attention to CTA/NDA and IP
                                                              schedule (0.2); emails with GT team regarding NOLs
                                                              analysis (0.2); attention to emails regarding schedules
                                                              prep (0.1); attention to emails regarding Monster diligence
                                                              requests (0.1)

03/15/23     KAR                          .50        680.00 Attention to clean team issues with potential bid

03/15/23     AS                           .80       1,324 .00 Participate in legal diligence call with bidder and counsel

03/15/23     BK                         7.80       11,973 .00 Video conference with potential bidder, Rothschild,
                                                              Debtor, Huron and Latham teams regarding diligence on
                                                              the company (0.8) ; review and consider disclosure
                                                              schedules and related issues (0.5); telephone conference
                                                              with L. Sievert and M. Hoite regarding disclosure
                                                              schedules comments and changes (1.1); review and
                                                              consider influencer updates and emails (0.2); review and
                                                              revise disclosure schedules and consider issues (1.3);
                                                              review data room information in connection with
                                                              schedules (0.9); telephone conference with company,
                                                              Rothschild and Latham regarding lists of IP, domain
                                                              names and social media handles (1.4); telephone
                                                              conference with N . Wages regarding IP considerations
                                                              (0.2); review and consider emails from Huron regarding
                                                              financials and related considerations (0.3); review revised
                                                              lists from G . Eckhouse and consider missing marks and
                                                              alignment of IP information (0.4); video conference with G.
                                                              Metzger regarding process, status, open items and next
                                                              steps (0.7)

03/15/23     HKM                          .80       1,168.00 Diligence call with potential bidder


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03/15/23     YLB                        .50         625 .00 Attention to escrow agreement logistics (0 .2) call with B.
                                                            Kaplan and Huron regarding APA (0 .3)

03/15/23     DCT                       1.00        1,185.00 Analyze potential bidders for potential issues with ex-US
                                                            competition and FDI filings (0.7); draft summary of Clean
                                                            Team issues to prepare for call with potential bidder (0.3)

03/15/23     NTW                       4 .30       4,902.00 Correspondence with team regarding unscheduled IP, IP
                                                            search and debtor IP (1.4); prepare for and attend
                                                            telephone conference with Debtor regarding domain
                                                            names and unscheduled IP (2.3); summarize unscheduled
                                                            IP (0.6)

03/15/23     JJW                       2.10        2,394.00 Participate in call with potential bidder (0.4); attention to
                                                            emails regarding same (0.2); draft stalking horse motion
                                                            (0.8); research relating to same (0.3); review draft stalking
                                                            horse agreement in connection with same (0.4)

03/15/23     TK                         .40         426.00 Review clean team agreement

03/15/23     EJS                       1.20        1,152.00 Review new documentation in the data room

03/15/23     LS                        4 .70       5,005.50 Attend call with Debtor, Rothschild and Latham teams
                                                            regarding intellectual property (1.5); revise draft of
                                                            Disclosure Schedules (1.2); attend call with B. Kaplan and
                                                            M . Hoite regarding Disclosure Schedules (1.1); revise draft
                                                            of Escrow Agreement and circulate revised draft to Citi
                                                            team (0.9)

03/15/23     RDL                        .20         104 .00 Review correspondence from N . Wages regarding
                                                            ownership of foreign trademark

03/15/23     MH                        1.30         390.00 Assist with preparation of disclosure schedules

03/16/23     SMH                        .40         556.00 Emails regarding regulatory filings analysis

03/16/23     YM                         .80        1,228.00 Call with Latham team regarding disclosure schedules,
                                                            responses to Monster diligence questions and response to
                                                            question on NOLs (0.3); emails with Latham team
                                                            regarding IP question (0 .2); attention to matter files (0.2)

03/16/23     KAR                       1.00        1,360.00 Prepare for and attend call with bidder counsel regarding
                                                            clean team (0 .5); review files and discuss with Latham
                                                            team (0.5)

03/16/23     AS                         .30         496 .50 Correspondence and telephone conference with C. Delo
                                                            regarding potential bid for certain assets and next steps

03/16/23     BK                        2.60        3,991.00 Telephone conference with D. Mun regarding open issues,
                                                            process and next steps (0.3); telephone conference with D.
                                                            Mun regarding tax queries from bidder (0.1); video
                                                            conference with N. Jung regarding foreign competition

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                                                               considerations (0.5); review and consider draft stipulation
                                                               and order regarding social media account (0.2); telephone
                                                               conference with L. Sievert regarding disclosure schedules
                                                               and IP schedules and bifurcation of claims (0.4); review
                                                               and consider responses to bidder IP queries (0.3);
                                                               telephone conference with L. Sievert regarding IP
                                                               schedule changes (0.2); review and consider debtor and
                                                               non-debtor IP schedules (0.5); telephone conference with
                                                               L. Sievert regarding same (0.1)

03/16/23     MJG                        2.20        2,750.00 Research and analyze intellectual property issues (1.6) ;
                                                             draft related recommendation and correspondence (0 .6)

03/16/23     NTW                        4.50        5,130.00 Correspondence with team regarding trademarks and
                                                             non-debtor IP (1.6); summarize non-debtor IP (0.6); review
                                                             comments to disclosure schedule (0.8) ; edit and revise the
                                                             same (1.5)

03/16/23     JJW                        4.10        4,674.00 Revise stalking horse motion (2.6); research relating to
                                                             same (0.4); review draft of APA relating to same (0.3);
                                                             correspond with taxing authority relating to sale (0.2);
                                                             review email regarding comments to sale order (0.2); calls
                                                             with Rothschild regarding potential bid (0.3); correspond
                                                             with Latham team regarding same (0.1)

03/16/23     MNB                          .40        418.00 UK merger control analysis (0.3) ; email to N. Jung
                                                            regarding the same (0.1)

03/16/23     NAJ                        1.60        1,536.00 Email to B. Kaplan on ex-US merger control analysis (0.3);
                                                             email to M. Hauser regarding same (0.4); call with B.
                                                             Kaplan on voluntary merger control regimes in the UK
                                                             and Australia (0.9)

03/16/23     LS                         2.60        2,769.00 Revise draft IP schedule for Disclosure Schedules (0.6);
                                                             revise draft of Disclosure Schedules (1.3); correspond with
                                                             Huron team regarding Disclosure Schedules (0.3); attend
                                                             call with B. Kaplan regarding Disclosure Schedules (0.4)

03/16/23     MH                           .50        150.00 Assist with preparation of disclosure schedules

03/11/23     YM                           .20        307.00 Emails with Latham team regarding NDA and CTA

03/11/23     KAR                          .50        680 .00 Attention to clean team questions (0.3); follow-up with
                                                             deal team regarding same (0.2)

03/11/23     BK                         2.90        4,451.50 Coordinate with L. Sievert regarding disclosure schedule
                                                             preparation and considerations (0.1); consider OBI claim
                                                             and schedules (0.6); attend disclosure schedules
                                                             discussion with company, Huron and Latham (1.5);
                                                             telephone conference with L. Sievert regarding disclosure
                                                             schedules (0.2); telephone conference with L. Sievert

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                                                               regarding IP schedules (0.1) ; review domain name
                                                               schedules (0.4)

03/11/23     LK                          .10          120.50 Email correspondence regarding tax attributes

03/11/23     NTW                        4.40        5,016 .00 Correspondence with Latham team and Debtor regarding
                                                              trademark cease and desist letter, schedule 5.12(a) for
                                                              disclosure schedules and domain names (0.7-); review and
                                                              analyze domain name list and debtor IP assets (1.8) ; edit
                                                              and revise the same (1.9)

03/17-/23    JJW                        1.80        2,052.00 Participate in call to discuss disclosure schedules (1.5);
                                                             review documents in connection with same (0.2); discuss
                                                             disclosures with Latham team (0.1)

03/17-/23    LS                         4 .90       5,218 .50 Review domain names schedule (1.6); attend call with
                                                              Debtor, Huron and Latham team regarding Disclosure
                                                              Schedules (1.5); review revised draft of IP schedule for
                                                              Disclosure Schedules (1.1) ; revise and circulating draft of
                                                              Disclosure Schedules (0.7-)

03/17-/23    MH                        12.50        3,7-50.00 Assist with preparation of disclosure schedules

03/18/23     DCT                         .30         355.50 Analyze candidates for inclusion on the Clean Team

03/18/23     LS                         1.10        1,17-1.50 Revise draft of IP schedule for Disclosure Schedules

03/19/23     BK                         1.20        1,842.00 Review domain name schedule from Debtor and consider
                                                             issues (0.5); review and revise schedules (0.2); telephone
                                                             conference with L. Sievert regarding schedules revisions,
                                                             process and next steps (0 .5)

03/19/23     NTW                         .90        1,026.00 Correspondence with team regarding domain names (0 .3);
                                                             review and analyze the same (0.6)

03/19/23     LS                         1.80        1,917- .00 Review and revise domain names schedule to Disclosure
                                                               Schedules

03/20/23     SMH                         .30         417- .00 Emails regarding AUS and UK filings analysis

03/20/23     YM                          .40         614 .00 Call with B. Kaplan regarding Truist question (0 .2);
                                                             attention to emails regarding NDAs and Truist question
                                                             (0 .1) ; emails with Latham team regarding various data
                                                             room and diligence requests (0.1)

03/20/23     AS                          .30         496 .50 Telephone conference with H . Parkhill regarding sale
                                                             process matters

03/20/23     BK                         3.10        4,7-58 .50 Review and consider domain name schedule and IP
                                                               schedule (0.5) ; telephone conference with N. Wages
                                                               regarding domain names (0.1); review revised disclosure
                                                               schedules (0.3); video conference with I. Garcia, G.

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                                                             Eckhouse, N . Wages and L. Sievert regarding domain
                                                             names and queries for the company (0.5); review bidder
                                                             NDAs in connection with Rothschild query (0.6);
                                                             telephone conference with D. Mun regarding lender
                                                             coordination query (0.2); telephone conference with A.
                                                             Sorkin regarding lender query (0.3); telephone conference
                                                             with H . Parkhill regarding NDA review and lender query
                                                             (0.4); telephone conference with A. Sorkin and D. Mun
                                                             regarding board coordination in connection with
                                                             Rothschild lender query (0.2)

03/20/23     DCT                        .80         948 .00 Analyze files in dataroom for potential Clean Team
                                                            treatment relative to strategic bidders (0.4); confer with
                                                            team regarding Clean Team treatment for files in relation
                                                            to strategic bidders (0.4)

03/20/23     NTW                       6.50       7,410 .00 Correspondence with team regarding domain names and
                                                            registered trademarks (0.5); prepare for and attend
                                                            telephone conference with Debtor regarding registered
                                                            domain names and IP lists for disclosure schedules (3 .6);
                                                            review and analyze the same (1.3); edit and revise the
                                                            same (1.1)

03/20/23     NAJ                        .50         480.00 Call with M. Hauser on potential voluntary filing in the
                                                           UK and Australia (0.4); email to B. Kaplan regarding same
                                                           (0.1)

03/20/23     TK                         .20         213.00 Review non-disclosure agreements

03/20/23     LS                        3.20       3,408.00 Attend call with Debtor and Latham teams on domain
                                                           names (1.1) ; review lien spreadsheet information for
                                                           Disclosure Schedules (0.7); attend call with Debtor and
                                                           Latham teams on domain names (0.5); review and revise
                                                           spreadsheet of domain names (0.9)

03/21/23     SMH                        .40         556.00 Emails regarding approach to potential voluntary filing in
                                                           Australia

03/21/23     YM                         .50         767.50 Schedules check-in call (0.2); emails with Latham and
                                                           Rothschild teams regarding Lithia Springs property (0.2);
                                                           review information regarding information sharing (0.1)

03/21/23     BK                        2.70       4,144 .50 Video conference with board of directors, Debtor, Huron,
                                                            Berger Singerman and Latham regarding lender debt sale
                                                            considerations (0.6); prepare email for bidders to
                                                            coordinate with Rothschild on lender debt sale
                                                            interactions (0.5); telephone conference with company,
                                                            Huron, Rothschild and Latham regarding open items,
                                                            process and next steps (0.5); review intercompany license
                                                            agreements and consider next steps (0.7); video
                                                            conference with N. Wages regarding intercompany

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                                                               license agreements and interactions (0 .4)

03/21/23     YLB                        1.50       1,875.00 Review and revise escrow agreement (0.4); review royalty
                                                            term sheet (0.4); calls with Latham M&A team regarding
                                                            APA (0.7)

03/21/23     NTW                        5.40       6,156.00 Correspondence with team regarding registered domain
                                                            names, diligence request responses, data room production,
                                                            intercompany licenses and disclosure schedules (0.8);
                                                            prepare for and attend telephone conference with team
                                                            regarding intercompany licenses and domain name lists
                                                            (1.7) ; review and analyze intercompany licenses and data
                                                            room production (2 .9)

03/21/23     NAJ                         .20         192.00 Email to M . Hauser on revenues in Australia

03/21/23     LS                         1.10       1,171.50 Review and revise spreadsheet of domain names

03/22/23     YM                          .60         921.00 Discussion with Latham team regarding changes to APA
                                                            and disclosure schedules process (0.2); emails with
                                                            Rothschild, Huron and Latham team regarding Monster
                                                            royalty (0.2) ; attention to emails regarding diligence
                                                            requests, NDA markup and intercompany transactions
                                                            (0.2)

03/22/23     AS                          .20         331.00 Telephone conference with D. Mun regarding next steps
                                                            in sale process

03/22/23     BK                         5.80       8,903.00 Review and consider intercompany leases (0.7);
                                                            conference with D. Mun regarding process, status and
                                                            next steps (0.4); telephone conference with D. Mun and A.
                                                            Sorkin regarding process and next steps (0.2) ; review and
                                                            consider intercompany licenses and related issues (0.3);
                                                            review and consider litigation schedule (0.9); telephone
                                                            conference with A. Sorkin regarding lease considerations
                                                            (0.2); video conference with G. Metzger and L. Sievert
                                                            regarding litigation schedule and intercompany
                                                            agreements (1.3); telephone conference with G. Metzger
                                                            regarding process and next steps (0.2) ; review bidder
                                                            queries and related financial disclosure considerations
                                                            (0.3); review and revise schedules and consider further
                                                            (0.6); review NDA and consider changes (0 .5); telephone
                                                            conference with T. Kim regarding NDA (0.2)

03/22/23     YLB                        1.00       1,250.00 Review stalking horse motion (0.5); attend calls with
                                                            Latham team and company regarding APA (0.5)

03/22/23     DCT                        1.90       2,251.50 Analyze documents for information sharing concerns (1.6);
                                                            draft correspondence to bankers suggesting approach for
                                                            information sharing (0.3)


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03/22/23     NTW                        2.70       3,078.00 Correspondence with Latham team and Debtor regarding
                                                            domain names, data room production and non-debtor IP
                                                            summary (0.5); review and analyze the same (1.4);
                                                            coordinate with team regarding IP-related diligence and
                                                            intercompany agreements (0.8)

03/22/23     TK                         1.80       1,917 .00 Revise non-disclosure agreement (1.5); confer with Debtor
                                                             regarding non-disclosure agreement (0.3)

03/22/23     LS                         2.90       3,088.50 Revise draft of Disclosure Schedules. (1.2); attend call with
                                                            B. Kaplan regarding Disclosure Schedules. (0.5); attend
                                                            call with B. Kaplan and G . Metzger regarding Disclosure
                                                            Schedules. (1.2) .

03/22/23     MH                         1.70        510.00 Assist with preparation of disclosure schedules

03/23/23     YM                          .40        614.00 Attention to emails regarding NDA changes and bidder
                                                           diligence requests

03/23/23     CHN                        1.20       1,668.00 Review documents and revise findings for Blast (0.3);
                                                            summarize findings in Phase I ESA for Phoenix, AZ
                                                            property (0.6); confirm removal of USTs at AZ site (0.3)

03/23/23     BK                        4.10        6,293.50 Review and revise disclosure schedules (0.6); review and
                                                            consider various agreements for schedules, including
                                                            influencer agreements, license and leases (0.8); review
                                                            and consider non-debtor IP list and related materials (0.7);
                                                            telephone conference with M . Dyer regarding non-debtor
                                                            IP and presentation (0.4); review NDA comments (0.3);
                                                            telephone conference with T. Kim regarding NDA
                                                            comments (0.2); telephone conference with G. Metzger
                                                            and T. Kim regarding NDA (0.3); telephone conference
                                                            with G . Metzger, J. Paul, J. Weichselbaum, L. Sievert and
                                                            M. Hoite regarding disclosure schedules (0.8)

03/23/23     DCT                         .40        474.00 Analyze document for sharing with potential bidder

03/23/23     JJW                        1.00       1,140.00 Participate in call regarding disclosure schedules for APA

03/23/23     TK                         1.10       1,171 .50 Revise non-disclosure agreement

03/23/23     LS                         2.00       2,130.00 Revise and circulate draft of Disclosure Schedules. (1.2);
                                                            attend call with Debtor and Latham teams regarding the
                                                            Disclosure Schedules (0.8)

03/23/23     MH                         2.30        690.00 Assist with preparation of disclosure schedules

03/24/23     RB                          .10         136.00 Correspondence regarding Data Privacy Deliverables with
                                                            A. Anderson and K. Vaughn

03/24/23     YM                          .20        307 .00 Call with Huron team regarding bid process


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03/24/23     AS                         .20         331.00 Telephone conference with G . Metzger regarding
                                                           transferred employees and obligations (0 .1);
                                                           correspondence with Rothschild regarding potential
                                                           bidder (0.1)

03/24/23     BK                        2.40       3,684.00 Review and revise schedules and consider disclosures
                                                           (1.2); follow up on lease concerns (0.1); video conference
                                                           with Huron and Latham teams regarding financials and
                                                           schedule related considerations (0.5); telephone
                                                           conference with A. Sorkin regarding non-debtor IP
                                                           considerations (0.2); telephone conference with L. Sievert
                                                           and M. Hoite regarding disclosure schedules updates and
                                                           process (0 .3); telephone conference with D. Mun
                                                           regarding schedules, process and next steps (0.1)

03/24/23     DCT                       1.10       1,303.50 Analyze file for competitive sensitivity relative to potential
                                                           bidder (0.6); suggest approach to Clean Team treatment
                                                           for files to be shared with potential bidder (0.6)

03/24/23     NTW                        .80         912 .00 Correspondence with Latham team and Debtor regarding
                                                            non-debtor IP summary (0.2); review comments to the
                                                            same (0 .3); review the summary (0.3)

03/24/23     JJW                        .40         456.00 Participate in call regarding disclosure schedules

03/24/23     TK                        1.40       1,491.00 Confer with bidder's counsel regarding non-disclosure
                                                           agreement (0.7); confer with bidder's counsel regarding
                                                           clean team arrangement (0.2); coordinate with Debtor
                                                           regarding disclosure of diligence materials (0.2); revise
                                                           non-disclosure agreement (0.3)

03/24/23     LS                        2.10       2,236 .50 Attend call with Huron and Latham teams regarding the
                                                            Disclosure Schedules. (0 .6); attend call with B. Kaplan and
                                                            M. Hoite on Disclosure Schedules (0.4); review and revise
                                                            Disclosure Schedules (1.2)

03/24/23     MH                         .80         240 .00 Assist with preparation of disclosure schedules

03/25/23     YM                        1.80       2,763.00 Review disclosure schedules

03/25/23     BK                        2.00       3,070.00 Review and respond to non-debtor IP consideration emails
                                                           from Rothschild and Huron and consider implications to
                                                           schedules and ongoing business (0.8); review and consider
                                                           internal disclosure schedules comments and questions
                                                           (0.5); review queries and responses and consider process
                                                           and next steps; (0.7)

03/26/23     YM                         .50         767 .50 Call with Latham team regarding bid participation and
                                                            process

03/26/23     CHN                        .80       1,112.00 Perform environmental and permitting diligence for Blast


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                                                              (0.4); revise findings for Company (0 .4)

03/26/23     AS                         .60         993.00 Telephone conference with B. Kaplan, D. Mun regarding
                                                           M&A process and settlement interplay

03/26/23     BK                        2.30        3,530.50 Review potential bidder email and agreement and related
                                                            financials (0.5); telephone conference with L. Sievert
                                                            regarding disclosure schedules comments and
                                                            coordination regarding process and next steps (0.8); video
                                                            conference with D. Mun and A. Sorkin regarding royalty
                                                            assignment considerations from bidder and settlement
                                                            points of view, process and next steps (0.5); telephone
                                                            conference with D . Mun regarding process and next steps
                                                            (0.2); telephone conference with A. Gupta and L. Sievert
                                                            regarding financials and GAAP considerations (0.3)

03/26/23     BTG                        .40         500.00 Review schedules to stalking horse agreement

03/26/23     LS                        3.50        3,727.50 Attend call with B. Kaplan regarding Disclosure
                                                            Schedules. (0.8); revise draft of Disclosure Schedules.
                                                            (2.4); attend call with Huron and Latham teams regarding
                                                            Disclosure Schedules (0.3)

03/27/23     YM                         .50         767 .50 Call with Latham team regarding disclosure schedules
                                                            draft

03/27/23     KAR                        .50         680.00 Attention to clean team questions (0.3); review files and
                                                           emails from bankers and Debtor regarding same (0 .2)

03/27/23     BK                        4 .00       6,140 .00 Update team regarding financial considerations (0 .3);
                                                             telephone conference with D. Mun and L. Sievert
                                                             regarding disclosure schedules (0.5); telephone
                                                             conference with G . Eckhouse regarding patent licenses
                                                             (0.6); review patents and provide queries to the business
                                                             team (0.6); video conference with Rothschild and G .
                                                             Metzger regarding bidder due diligence queries (1.1);
                                                             telephone conference with G . Eckhouse regarding CSI
                                                             patent and related queries (0.4); telephone conference
                                                             with L. Sievert regarding disclosure schedule updates
                                                             (0.3); review and consider responses from Dr. Li (0 .2)

03/27/23     DCT                       1.10        1,303 .50 Analyze documents in Clean Team for potential
                                                             downgrade (0.7); confer with bankers regarding Clean
                                                             Team treatment for documents (0.4)

03/27/23     JJW                       2.40        2,736.00 Review proposed sale order language (0.3); review
                                                            precedents regarding same (0.3); revise proposed
                                                            language (0.3); prepare notice regarding sale milestones
                                                            (0.6); review APA disclosure schedules (0.5); provide
                                                            comments on same (0.4)


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03/27/23     TK                         .70         745 .50 Manage clean team arrangement (0.4); revise NDA
                                                            joinder agreement (0 .3)

03/27/23     SPM                       1.90       1,824 .00 Review documents for clean team treatment (1.6); email D.
                                                            Tifft regarding same (0.3)

03/27/23     LS                        2.90       3,088.50 Attend call with D. Mun and B. Kaplan regarding
                                                           Disclosure Schedules (0.6); attend call with B. Kaplan
                                                           regarding Disclosure Schedules (0.3); review material
                                                           customer and supplier agreements (1.2); review updated
                                                           intellectual property schedules for Disclosure Schedules
                                                           (0.8) .

03/27/23     MH                         .90         270.00 Assist with preparation of disclosure schedules

03/28/23     GM                         .40         544.00 Call with Debtor regarding non-debtor IP strategy

03/28/23     YM                         .90       1,381.50 Emails with Latham team and Huron regarding non-
                                                           debtor IP assets (0.1); review NDA and emails with
                                                           Latham team regarding same (0 .2); call with Debtor and
                                                           Latham team regarding potential infringement (0.6)

03/28/23     AS                         .30         496.50 Correspondence with J. Weichselbaum regarding
                                                           disclosure schedules and review same

03/28/23     ASB                        .90       1,201.50 Review and analyze trademark application and strategize
                                                           regarding recovery of non-debtor owned IP relevant to the
                                                           enterprise

03/28/23     BK                        3.30       5,065.50 Telephone conference with Huron, Company, Rothschild
                                                           and Latham regarding status, updates, open items and
                                                           next steps (0.5); review and consider non-debtor IP
                                                           considerations and coordinate call (0.3); telephone
                                                           conference with J. Weichselbaum and L. Sievert regarding
                                                           restructuring comments to disclosure schedules (0.3);
                                                           video conference with L. Li and G. Eckhouse regarding
                                                           patent considerations (0.6) ; video conference with
                                                           Company and Latham regarding IP considerations and
                                                           next steps (0.6); review and revise disclosure schedules
                                                           (0.4); telephone conferences with L. Sievert regarding
                                                           disclosure schedules (0.2); telephone conference with D.
                                                           Mun regarding open items, status and next steps (0.1) ;
                                                           review and consider non-debtor IP schedules and consider
                                                           emails from G. Eckhouse regarding same (0.3)

03/28/23     YLB                       1.10       1,375.00 Disclosure calls with Latham team and company

03/28/23     DCT                        .40         474 .00 Draft Clean Team Addendum for use with bidder

03/28/23     NTW                       3.10       3,534 .00 Correspondence with Latham team and Debtor regarding
                                                            non-debtor IP (0 .8); prepare for and attend telephone


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                                                               conference with team regarding the sale (1.6); prepare for
                                                               and attend telephone conference with Debtor regarding
                                                               the same (0.7)

03/28/23     JJW                        3.00        3,420.00 Call with Latham team regarding APA disclosure
                                                             schedules (0.3); review documents in connection with
                                                             same (0 .5); correspond with team regarding revisions to
                                                             same (0.4); participate in call regarding APA disclosure
                                                             schedules (0.5); review and revise stalking horse motion
                                                             (0.8); review objection chart (0.3); correspond with taxing
                                                             authority regarding sale order (0.2)

03/28/23     TK                         2.50        2,662 .50 Revise non-disclosure agreements and non-disclosure
                                                              agreement joinder

03/28/23     KO                         3.60        2,538.00 Attend meeting regarding IP schedules and summary of IP
                                                             ownership (0.5) ; reviewed documents in the virtual data
                                                             room for IP agreements (3 .1)

03/28/23     LS                         4 .60       4,899 .00 Attend check-in call with Debtor, Huron, Rothschild and
                                                              Latham teams (0.6); attend call with J. Weichselbaum and
                                                              B. Kaplan regarding Disclosure Schedules (0.3); attend call
                                                              with B. Kaplan and Debtor team regarding distributor and
                                                              licensing contracts (0.3); attend call with Debtor and
                                                              Latham teams regarding Disclosure Schedules (0 .5);
                                                              attend call with Debtor and Latham teams regarding
                                                              intellectual property (0 .6); revise draft of Disclosure
                                                              Schedules (1.9); review intellectual property schedules for
                                                              Disclosure Schedules (0.6)

03/28/23     MH                         4.90        1,470.00 Assist with preparation of IP disclosure schedule

03/29/23     ASB                        3.00        4,005 .00 Review and analyze debtor and non-debtor IP assets and
                                                              strategize regarding options for recovery of same (1.3) ;
                                                              correspondence and analysis regarding letter of protest
                                                              and correspondence regarding same (0.9); prepare for and
                                                              participate in telephone conference with Debtor regarding
                                                              options for recovery of non-debtor IP (0.8)

03/29/23     BK                         1.40        2,149 .00 Review and consider comments from Huron and company
                                                              regarding interim operating covenants (0.3) ; telephone
                                                              conference with L. Sievert regarding disclosure schedules
                                                              (0.1); video conference with G . Metzger, G. Eckhouse, D .
                                                              Mun, A. Blanco and N. Wages regarding IP issues and
                                                              strategies (0.7); telephone conference with N . Wages
                                                              regarding IP related disclosures (0.3)

03/29/23     DCT                        1.30        1,540.50 Analyze documents in Clean Team for potential
                                                             downgrade

03/29/23     NTW                        4.00        4,560.00 Correspondence with Latham team and Debtor regarding

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                                                               non-debtor IP and disclosure schedules (0 .7) ; prepare and
                                                               attend telephone conference with Debtor regarding
                                                               strategic options for non-debtor IP applications (1.7);
                                                               review and revise disclosure schedules (1.6)

03/29/23     JJW                        1.20       1,368.00 Revise stalking horse motion (0.9); correspond with taxing
                                                            authority regarding sale order (0 .3)

03/29/23     TK                         1.40       1,491.00 Revise non-disclosure agreements and clean team
                                                            agreement

03/29/23     KO                         3.00       2,115.00 Review and draft summary of IP and Distribution
                                                            Agreements

03/29/23     LS                          .70         745 .50 Revise draft of Disclosure Schedules.

03/30/23     YM                          .50         767 .50 Call with Latham team regarding sale process

03/30/23     AS                         1.30       2,151.50 Video conference with B. Kaplan, D. Mun regarding
                                                            Monster settlement negotiation update and impact on sale
                                                            (0.5); correspondence with IP team regarding same (0 .2);
                                                            conference call with Squire, Latham teams regarding AZ
                                                            facility proposal (0.5); telephone conference with H.
                                                            Parkhill regarding settlement (0.1)

03/30/23     ASB                         .90       1,201.50 Begin drafting presentation for Board of Directors
                                                            regarding options and strategy for recovery of non-debtor
                                                            IP

03/30/23     BK                         5.70       8,749 .50 Follow up and coordinate with Huron and Debtor
                                                             regarding schedules and financials (0.3); consider various
                                                             schedule comments regarding business, financials and
                                                             contracts and implement appropriate changes (1.7); video
                                                             conference with A. Sorkin and D. Mun regarding sale
                                                             issues (0.5) ; telephone conference with A. Gupta
                                                             regarding financials and related disclosures (0 .3);
                                                             coordinate antitrust review and related considerations
                                                             (0.4); review filings and consider (0.5); update domain
                                                             name schedules and consider other disclosure schedules
                                                             (0.5); attend board meeting (1.1); prepare final disclosure
                                                             schedules for data room and distribute same (0.4)

03/30/23     YLB                        3.10       3,875.00 Calls with Latham team and Huron regarding disclosure
                                                            schedules (2.0); review same (0.5); review closing checklist
                                                            (0.6)

03/30/23     DCT                         .80         948.00 Analyze disclosure schedules and suggest edits

03/30/23     JJW                         .90       1,026.00 Participate in call with potential bidder (0.5); discuss
                                                            potential bid with J. Kang (0.2) ; correspond with taxing
                                                            authority regarding sale order (0 .2)


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03/30/23     TK                          .60         639 .00 Revise non-disclosure agreements and clean team
                                                             agreement

03/30/23     MH                         1.00         300.00 Assist with preparation of IP disclosure schedule

03/31/23     AS                          .50         827 .50 Video conference with A. Quartarolo, D. Mun, B. Kaplan
                                                             regarding IP matters (0.2) ; conference call with J. Arrastia,
                                                             J . Burke regarding disqualified assignees (0 .3)

03/31/23     ASB                        1.80       2,403 .00 Draft and revise presentation for Board of Directors
                                                             regarding options and strategy for recovery of non-debtor
                                                             IP (0.9); correspondence regarding same (0.3); research
                                                             and analysis regarding pending trademark applications
                                                             (0.6)

03/31/23     BK                          .40         614 .00 Telephone conference with J . Weichselbaum regarding
                                                             leases (0.2); video conference with A. Quartarolo, A.
                                                             Sorkin and D. Mun regarding IP maintenance issues (0.2)

03/31/23     DCT                        1.20       1,422.00 Analyze files in dataroom for potential Clean Team
                                                            treatment relative to strategic bidders (0 .9); confer with
                                                            team regarding Clean Team treatment for files (0.3)

03/31/23     NTW                         .60         684.00 Correspondence with Latham team regarding board
                                                            presentation related to non-debtor IP (0 .2); review and
                                                            analyze board materials (0.4)

03/31/23     JJW                         .70         798 .00 Review bidder NDA and discuss with Debtor (0.2); review
                                                             objections to sale (0.3); correspond with Latham and
                                                             Rothschild team regarding potential bidder (0 .2)

03/31/23     TK                          .80         852.00 Revise non-disclosure agreements and joinder to non-
                                                            disclosure agreements

03/31/23     SPM                         .40         384 .00 Begin researching potential bidder for antitrust risk
                                                             assessment per email from D. Tifft



Attorney:

CA Reckler                     7.20      Hrs.@        $ 1,850.00/hr.           $13,320.00
A Sorkin                      11.20      Hrs.@        $ 1,655.00/hr.           $18,536.00
YMun                          23.00      Hrs.@        $ 1,535.00/hr.           $35,305 .00
JC Elliott                       .10     Hrs.@        $ 1,435.00/hr.              $ 143.50
SM Hauser                       1.80     Hrs.@        $ 1,390.00/hr.            $2,502.00
CH Norton                      2.00      Hrs.@        $ 1,390.00/hr.            $2,780.00
R Blamires                     2.20      Hrs.@        $ 1,360.00/hr.            $2,992.00

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G Mahmood                        1.30     Hrs.@       $ 1,360.00/hr.            $1,768.00
A Quartarolo                      .30     Hrs.@       $ 1,360.00/hr.              $ 408.00
KA Rocco                         3.30     Hrs.@       $ 1,360.00/hr.            $4,488.00
B Kaplan                       89.60      Hrs.@       $ 1,535.00/hr.          $137,536.00
HK Murtagh                        .80     Hrs.@       $ 1,460.00/hr.            $1,168 .00
AS Blanco                        6.60     Hrs.@       $ 1,335.00/hr.            $8,811.00
EA Morris                         .50     Hrs.@       $ 1,285.00/hr.              $ 642.50
A Beach                           .10     Hrs.@       $ 1,250.00/hr.              $ 125.00
Y L Burton                      14.90     Hrs.@       $ 1,250.00/hr.           $18,625.00
BT Gelfand                       1.30     Hrs.@       $ 1,250.00/hr.            $1,625.00
M J Grindle                      2.20     Hrs.@       $ 1,250.00/hr.            $2,750.00
L Kutilek                         .70     Hrs.@       $ 1,205.00/hr.              $ 843.50
DC Tifft                        13.00     Hrs.@       $ 1,185.00/hr.           $15,405 .00
NT Wages                       63.40      Hrs.@       $ 1,140.00/hr.           $72,276 .00
J J Weichselbaum               34.02      Hrs.@       $ 1, 140.00/hr.          $38,786.33
TKim                            17.00     Hrs.@       $ 1,065.00/hr.           $18,105.00
L Sievert                      61.50      Hrs.@       $ 1,065.00/hr.           $65,497.50
MNBrora                           .40     Hrs.@       $ 1,045.00/hr.              $ 418.00
NA Jung                          2.80     Hrs.@        $ 960.00/hr.             $2,688.00
SP Mulloy                        4.20     Hrs.@        $ 960.00/hr.             $4,032.00
E J Sachs                        1.20     Hrs.@        $ 960.00/hr.             $1,152.00
K Ota                           15.40     Hrs.@        $ 705.00/hr.            $10,857.00
                              382.02                                          $ 483,585.33

Other:

NA Gulati                        2.50     Hrs.@        $ 830.00/hr.             $2,075.00
R Deleon                         3.00     Hrs.@        $ 520.00/hr.             $1,560.00
CM Tarrant                       1.20     Hrs.@        $ 490.00/hr.               $ 588 .00
M Hoite                        49.20      Hrs.@        $ 300.00/hr.            $14,760.00
                               55.90                                           $18,983.00

GRAND TOTAL:                  437.92                                          $502,568.33




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03/01/23       JJW                        .50         570.00 Attention to emails regarding employee FAQs (0 .2); revise
                                                             the same to incorporate comments (0 .3)

03/01/23       NAG                       1.20         996 .00 Telephone conference with J . Weichselbaum to discuss
                                                              FAQs (0.2); draft responses to frequently asked questions
                                                              (1.0)

03/02/23       NAG                       1.70       1,411 .00 Draft frequently asked questions for distributors and
                                                              customers

03/13/23       AS                        5.20       8,606.00 Correspondence with Latham team regarding pricing
                                                             analysis (0.4); review same (1.6) calls and correspondence
                                                             with Kroll, S. Panagos, C . Reckler, H. Parkhill regarding
                                                             pricing analysis and develop approach (1.9); telephone
                                                             conference with C Street team, Latham, Huron, Rothschild
                                                             regarding same (1.3)

03/14/23       AS                         .40         662 .00 Telephone conference with J . Cohen regarding valuation
                                                              (0.2); telephone conference with S. Gruendel regarding
                                                              same (0 .2)

03/15/23       LK                         .10         120.50 Review email correspondence regarding net operating
                                                             losses

03/26/23       HKM                        .50         730 .00 Update call with advisors

03/31/23       CAR                        .50         925.00 Participate in call with company advisors regarding lender
                                                             call and case updates



Attorney:

CA Reckler                        .50     Hrs.@       $ 1,850.00/hr.              $ 925.00
A Sorkin                         5.60     Hrs.@       $ 1,655.00/hr.            $9,268.00
HK Murtagh                        .50     Hrs.@       $ 1,460.00/hr.              $ 730.00
L Kutilek                         .10     Hrs.@       $ 1,205.00/hr.              $ 120.50
J J Weichselbaum                  .50     Hrs.@       $ 1,140.00/hr.              $ 570.00
                                 7.20                                          $11,613.50

Other:

NA Gulati                        2.90     Hrs.@        $ 830.00/hr.             $2,407.00
                                 2.90                                           $2,407.00

GRAND TOTAL:                    10.10                                          $14,020.50



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03/01/23     CAR                        .50         925 .00 Participate in CTO call

03/01/23     CAR                        .40         740.00 Participate in professionals call with Huron, Rothschild
                                                           and Latham

03/01/23     AS                         .50         827 .50 Attend daily professionals' call

03/01/23     YLB                        .90       1,125.00 Attend CTO call (0.4); attend professional call (0.5)

03/01/23     NAG                       2.20       1,826.00 Update works in process list (1.2); email works in process
                                                           list to Latham team (0.2); telephone conference with C.
                                                           Tarrant (0.2); update case calendar (0.6)

03/02/23     CAR                        .50         925.00 Participate in call with CRO and other professionals

03/02/23     AS                         .20         331.00 Attend daily professionals call with J . DiDonato, Huron,
                                                           Latham, Rothschild, Berger Singerman teams

03/02/23     EAM                        .30         385.50 Attend work in progress call

03/02/23     JLT                        .30         319.50 Attend work in progress call

03/02/23     NAG                        .60         498 .00 Update and email work in process list to Latham and
                                                            Berger Singerman team (0.3); attend work in process
                                                            telephone conference (0.3)

03/03/23     AQ                         .90       1,224.00 Attend team calls regarding status and strategy

03/03/23     CAR                        .40         740 .00 Participate in call with professionals and company to
                                                            prepare for lender call

03/03/23     YLB                        .50         625.00 Prepare for and attend CTO call

03/03/23     YLB                        .50         625 .00 Prepare for and attend professional call

03/04/23     NAG                       1.40       1,162.00 Update case calendar and email to Huron (1.2);
                                                           correspond with L. Burton regarding notice dates (0.2)

03/05/23     NAG                        .30         249 .00 Correspond with Debtor regarding case schedule

03/06/23     YLB                        .30         375.00 Review and revise work in progress list

03/06/23     EAM                        .50         642.50 Attend work in progress call

03/06/23     JJW                        .40         456 .00 Participate in team update call

03/06/23     JLT                        .30         319.50 Attend associates work in progress call

03/06/23     NAG                        .50         415.00 Attend work in process telephone conference (0.3) ; update
                                                           case calendar (0.2)

03/08/23     YLB                        .60         750 .00 Prepare for and attend daily CTO call


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03/08/23     NAG                        2.10        1,743 .00 Update work in process list (1.6) ; update case calendar
                                                              (0 .3); email case calendar (0.2)

03/09/23     AS                           .50        827 .50 Attend daily professionals' call

03/09/23     JJW                          .50        570.00 Participate in team update call (0 .3); review work in
                                                            process list (0.2)

03/09/23     JL T                         .20        213.00 Attend weekly work in progress call

03/09/23     NAG                          .60        498 .00 Email work in process list to Latham and Berger teams
                                                             (0.1) ; attend work in process call (0.1) ; correspond with
                                                             Debtor regarding depositions (0.4)

03/13/23     AQ                           .40        544 .00 Attend professionals call with Huron and Rothschild

03/13/23     EAM                          .50        642.50 Attend work in progress call

03/13/23     BSR                          .40        456 .00 Participate in work in progress call with Latham team

03/13/23     JJW                          .60        684 .00 Participate in team update call (0.4); review work in
                                                             process list (0.2)

03/13/23     JL T                         .70        745 .50 Associate work in progress call (0.4); attend zoom with A.
                                                             Sorkin, J. Weichselbaum, E. Morris, D. Mun, A.
                                                             Quartarolo, and B. Kaplan regarding case status and go
                                                             forward items (0.3)

03/13/23     NAG                          .50        415 .00 Attend Latham work in process telephone conference

03/14/23     AS                           .40        662 .00 Attend daily professionals call

03/14/23     TK                           .50        532.50 Attend all hands call

03/15/23     JJW                          .50        570.00 Review work in process list and case calendar (0.3);
                                                            comment on same (0.2)

03/15/23     NAG                        1.30        1,079.00 Update work in process and case calendar (0.9); email
                                                             work in process list to Latham team for review (0.2); email
                                                             case calendar to company (0.2)

03/16/23     AQ                           .40        544 .00 Attend professionals call with Huron and Rothschild

03/16/23     AS                           .60        993 .00 Attend daily professionals' call (in part)

03/16/23     HKM                          .50        730.00 Update call with Latham team

03/16/23     YLB                          .60        750.00 Prepare for and attend CTO call

03/16/23     EAM                          .50        642 .50 Attend work in progress call

03/16/23     BSR                          .50        570.00 Participate in work in progress call with Latham and
                                                            Berger Singerman teams

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03/16/23     JJW                        .50         57-0 .00 Prepare for and attend team update call

03/16/23     JLT                        .50         532.50 Attend work in progress call

03/16/23     NAG                        .60         498.00 Update and email work in process list to Latham and local
                                                           counsel team (0.2); attend work in process telephone
                                                           conference (0.4)

03/17-/23    AS                         .50         827- .50 Attend daily professionals call

03/20/23     AS                         .50         827- .50 Attend professionals' call

03/20/23     EAM                        .50         642 .50 Attend work in progress call

03/20/23     BSR                        .50         57-0.00 Call with Latham team regarding status

03/20/23     JLT                        .50         532.50 Attend weekly WIP call

03/20/23     NAG                        .40         332.00 Attend work in process telephone conference

03/21/23     AQ                         .50         680 .00 Attend daily professionals call regarding status and
                                                            strategy

03/21/23     AS                         .50         827- .50 Attend daily professionals' call with Huron, Latham,
                                                             Rothschild, Berger Singerman teams

03/21/23     YLB                        .40         500.00 Prepare for and attend daily CTO call

03/21/23     LS                         .30         319.50 Attend check-in call with Debtor, Rothschild and Latham
                                                           teams

03/21/23     NAG                        .30         249 .00 Update work in process list

03/22/23     AS                         .50         827- .50 Attend daily professionals call

03/22/23     NAG                       1.10         913.00 Update case calendar and email case calendar for review
                                                           (1.0); update work in process list (0.1)

03/23/23     AQ                         .90       1,224 .00 Review work in progress (0.1); attend work in progress
                                                            call (0.3); attend professionals' call with Huron, Rothschild
                                                            and Latham (0 .5)

03/23/23     AS                         .40         662.00 Attend task list/work in progress call with Latham team
                                                           and provide update

03/23/23     AS                         .50         827- .50 Attend daily professionals' call to coordinate regarding
                                                             workstreams and updates

03/23/23     HKM                        .50         7-30 .00 Update call with Latham team

03/23/23     YLB                        .80       1,000.00 Prepare for and attend internal WIP call (0.5); review case
                                                           calendar (0 .3)


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03/23/23     YLB                        .40         500.00 Prepare for and attend CTO call

03/23/23     EAM                        .50         642.50 Attend work in progress call

03/23/23     BSR                        .60         684.00 Participate in call with Latham and Berger teams

03/23/23     JJW                        .50         570.00 Participate in team update call

03/23/23     JLT                        .50         532.50 Prepare for and attend work in progress call

03/23/23     NAG                        .70         581.00 Update work in process list (0.3); attend work in process
                                                           call (0.4)

03/24/23     AS                         .80       1,324.00 Attend daily professionals call regarding workstreams and
                                                           updates

03/27/23     AS                         .50         827 .50 Attend daily professionals call with Huron, Rothschild,
                                                            Berger Singerman teams regarding updates and status

03/27/23     YLB                        .20         250.00 Prepare and attend CTO call

03/27/23     NAG                        .30         249.00 Attend Latham work in process telephone call

03/28/23     AQ                         .40         544 .00 Attend professionals call with Huron and Rothschild

03/28/23     YLB                        .40         500.00 Prepare and attend CTO Call

03/29/23     NAG                       1.40       1,162.00 Update work in process list

03/30/23     AS                         .40         662.00 Attend daily professionals call with Huron, Rothschild,
                                                           Berger Singerman

03/30/23     HKM                        .40         584.00 Attend update call with Latham team

03/30/23     NAG                        .20         166.00 Email work in process list to Latham and Berger teams

03/31/23     AS                         .60         993 .00 Attend daily professionals call with Rothschild, Huron,
                                                            Latham, Berger Singerman

03/31/23     YLB                        .30         375.00 Attend CTO call



Attorney:

CA Reckler                     1.80     Hrs.@       $ 1,850.00/hr.            $3,330.00
A Sorkin                       7.40     Hrs.@       $ 1,655.00/hr.           $12,247.00
A Quartarolo                   3.50     Hrs.@       $ 1,360.00/hr.            $4,760.00
HK Murtagh                     1.40     Hrs.@       $ 1,460.00/hr.            $2,044.00
EA Morris                      2.80     Hrs.@       $ 1,285.00/hr.            $3,598 .00

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Y L Burton                       5.90     Hrs.@       $ 1,250.00/hr.            $7,375.00
BS Rosen                         2.00     Hrs.@       $ 1,140.00/hr.            $2,280.00
J J Weichselbaum                 3.00     Hrs.@       $ 1,140.00/hr.            $3,420.00
TKim                              .50     Hrs.@       $ 1,065.00/hr.              $ 532.50
L Sievert                         .30     Hrs.@       $ 1,065.00/hr.              $ 319.50
J L Teresi                       3.00     Hrs.@       $ 1,065.00/hr.            $3,195.00
                               31.60                                           $43,101.00

Other:

NA Gulati                       14.50     Hrs.@        $ 830.00/hr.            $12,035.00
                                14.50                                          $12,035.00

GRAND TOTAL:                   46.10                                           $55,136.00




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Date         Timekeeper                           Amount Description

03/17-/23    JJW                        .60         684 .00 Review motion to file late claim (0 .4) ; correspond with
                                                            Latham team regarding same (0 .2)

03/27-/23    JJW                        .80         912 .00 Review motion to allow late claim (0.4); prepare
                                                            documents in connection with same (0.4)



Attorney:

J J Weichselbaum               1.40     Hrs.@       $ 1,140.00/hr.            $1,596.00
                               1.40                                           $1,596.00




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Date         Timekeeper                             Amount Description

03/01/23     CAR                          .60       1,110.00 Review and respond to emails from board members and
                                                             others regarding governance issues

03/01/23     AS                         1.00        1,655.00 Conference with H. Parkhill, J. DiDonato regarding board
                                                             issues (0.8) ; telephone conference with S. Panagos
                                                             regarding same (0.2)

03/02/23     GAD                          .50       1,017 .50 Call with R. Bress, C. Reckler, A. Quartarolo and A. Fisher
                                                              regarding advice for board meeting

03/02/23     YM                         2.10        3,223 .50 Attend Restructuring committee call (1.1); attend board
                                                              call (1.0)

03/02/23     AQ                         2.40        3,264.00 Attend board meeting (1.2); telephone conferences with
                                                             board members, A. Sorkin, C. Reckler and D. Mun
                                                             regarding status and strategy (0 .8); draft issues list
                                                             regarding same (0.4)

03/02/23     CAR                        4.90        9,065.00 Participate in board call (1.0); calls with S. Panagos and
                                                             Latham regarding governance issues (3.0) ; prepare talking
                                                             points for board meeting (0 .9)

03/02/23     AS                         2.70        4,468 .50 Review agenda for board meeting (0 .2); conference call
                                                              with S. Panagos, S. Gray, B. Dickinson, C. Reckler, H.
                                                              Parkhill, A. Quartarolo, J. DiDonato regarding board
                                                              meeting preparation (1.0); follow up correspondence with
                                                              C. Reckler (0.1); telephone conference with S. Panagos
                                                              regarding board meeting issues (0.2); attend weekly board
                                                              call (1.2)

03/02/23     BK                         1.30        1,995.50 Attend board meeting

03/02/23     YLB                        2.00        2,500 .00 Prepare for and attend board meeting (1.0); correspond
                                                              with A Sorkin regarding same (0.2); draft and revise letter
                                                              regarding governance matters (0.5); attention to service of
                                                              same (0 .3)

03/02/23     JWM                        4.40        4,686 .00 Attend board meeting and take notes of the same (1.3);
                                                              draft minutes to restructuring committee and board
                                                              meetings (3 .1)

03/03/23     YM                           .20        307 .00 Attention to special board meeting logistics

03/03/23     AQ                           .20        272.00 Email G. Metzger regarding board minutes

03/03/23     CAR                        1.30        2,405 .00 Calls with S. Panagos regarding March 5 board meeting

03/03/23     AS                         1.60        2,648 .00 Telephone conferences with G. Metzger regarding
                                                              governance questions and scheduling of board meeting
                                                              (0.5) ; conference call (in part) with D. Mun, C. Reckler, J.
                                                              Gusa, A. Quartarolo regarding corporate opportunity and
                                                              similar issues (0.3); telephone conference with D. Mun

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                                                               regarding same (0 .6) ; telephone conference with C.
                                                               Reckler regarding same (0 .2)

03/03/23     YLB                         .90       1,125.00 Draft and revise letter regarding board meeting (0.7);
                                                            review bylaws regarding same (0.2)

03/03/23     JWM                        5.90       6,283.50 Draft minutes to board and restructuring meetings (5.9)

03/03/23     JLT                        1.10       1,171.50 Review and redact board meeting minutes

03/04/23     CAR                        1.70       3,145.00 Call with MVA regarding correspondence with J. Owoc
                                                            (0.4) ; review of J. Owoc correspondence to DIP
                                                            lender/lender advisors (0.4); call with S. Panagos
                                                            regarding same (0.3) ; communication with A. Sorkin
                                                            regarding same (0.6)

03/04/23     JLT                         .90         958.50 Review and redact board minutes

03/05/23     JLT                         .50         532.50 Review and redact board meeting minutes

03/06/23     CAR                        2.30       4,255 .00 Calls with A. Sorkin regarding governance issues at board
                                                             level (1.3) ; participate in pre-board call with independent
                                                             directors and advisors (1.0)

03/06/23     AS                         2.20       3,641.00 Telephone conferences with D. Mun, J . Gusa, S. Panagos
                                                            regarding governance issues (0 .6); telephone conference
                                                            with S. Panagos, S. Gray, B. Dickinson, Latham, Berger
                                                            Singerman teams regarding next steps/preparation for
                                                            board meeting (1.6)

03/06/23     BK                         1.40       2,149 .00 Attend board meeting (1.0); telephone conference with D.
                                                             Mun regarding board meeting follow up (0.2); telephone
                                                             conference with A. Sorkin regarding bankruptcy related
                                                             issues (0.2)

03/06/23     YLB                        1.80       2,250 .00 Call with independent directors regarding governance
                                                             matters (1.0); prepare for and attend call with Huron and
                                                             Rothschild regarding governance matters and sale
                                                             diligence and progress (0.8)

03/06/23     BTG                         .60         750 .00 Review governing document provisions for removal of
                                                             directors

03/06/23     JLT                        1.20       1,278.00 Review and redact board minutes

03/07123     DTG                         .30         408 .00 Confer with A. Sorkin regarding D&O coverage issues

03/07/23     YM                         1.00       1,535.00 Calls with Debtor independent directors and Debtor
                                                            personnel regarding asset transfers and company
                                                            operations

03/07/23     AQ                         1.20       1,632.00 Telephone conferences with G. Metzger, G . Bukovi, S.

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                                                               Panagos, S. Gray, B. Dickinson, A. Sorkin and C. Reckler
                                                               regarding status and strategy

03/01123     CAR                        3.00        5,550 .00 Call with independent directors regarding governance
                                                              issues (0.8) ; participate in restructuring committee call
                                                              (1.5); review correspondence from J. Owoc and J. Luna
                                                              regarding sale/governance issues (0.1)

03/01/23     AS                         2.10        4,468.50 Video conference with G. Metzger, independent directors,
                                                             Latham team regarding preparation for board call (0.9);
                                                             attend restructuring committee meeting with board,
                                                             Debtor team, advisors (1.8)

03/01/23     JWM                        1.80        1,911.00 Attend restructuring committee meeting

03/01123     JLT                        1.40        1,491.00 Review and redact board minutes

03/08/23     YM                           .30        460 .50 Emails and discussions with Latham team regarding board
                                                             meeting and transaction timeline

03/08/23     CAR                        2.00        3,100 .00 Multiple calls with S. Panagos, J. Gusa and A. Sorkin
                                                              regarding governance issues (1.3); review bylaws in
                                                              advance of board meeting (0.1)

03/08/23     AS                         2.80        4,634 .00 Telephone conferences with J. Gusa, C. Reckler, A.
                                                              Quartarolo regarding preparation for Thursday board
                                                              meeting (0.5) ; telephone conference with S. Panagos, C.
                                                              Reckler, J. Gusa regarding same (0 .6); further
                                                              correspondence with J. Gusa regarding same (0.5); video
                                                              conference with Huron team regarding contingency
                                                              planning (0.4); conference with S. Berkowitz regarding
                                                              distributorship agreement question (0.1); further
                                                              correspondence with Huron team regarding transition
                                                              issues (0.1)

03/08/23     JLT                        1.10        1,111.50 Review and redact board minutes

03/09/23     YM                         1.50        2,302 .50 Review notes for board call (0 .2); attend board call (1.0);
                                                              call with Latham team regarding CT A and joinder and
                                                              board call (0.3)

03/09/23     AQ                         3.00        4,080.00 Prepare for and attend board meeting (2.5) ; conference
                                                             with A. Sorkin and C. Reckler regarding same (0.5)

03/09/23     AQ                           .10        952 .00 Email and telephone conference with C. Reckler, A.
                                                             Sorkin, D. Mun and B. Kaplan regarding IP issues and
                                                             board meeting

03/09/23     CAR                        5.90       10,915.00 Calls with A. Sorkin regarding board meeting (1.4);
                                                             participate in pre-call with independents regarding board
                                                             meeting (0.4); review and edit talking points for board call
                                                             (1.2) ; participate in board call (2.1) ; review of

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                                                             correspondence from J . Luna regarding board meeting
                                                             (0 .8)

03/09/23     AS                        6.10      10,095.50 Conference calls with G. Metzger regarding planning for
                                                           board meeting (0.4) ; conference with A. Quartarolo, C.
                                                           Reckler regarding same and strategy (0.8); review and
                                                           comment on talking points for board meeting (0.4); video
                                                             conference with C Street, Huron teams regarding
                                                             messaging/transition matters (1.0); telephone conference
                                                             with S. Gray, S. Panagos, B. Dickinson, D. Mun, C.
                                                             Reckler, A. Quartarolo regarding IP transfer/board call
                                                             preparation (0.5); further telephone conferences with C
                                                             Street team regarding messaging/contingency planning
                                                             (0.5); attend board call (2.0); telephone conferences with L.
                                                             Lluberas, J . Cohen regarding board/management changes
                                                             (0.5)

03/09/23     BK                        2.10       3,223.50 Attend board meeting

03/09/23     HKM                       2.00       2,920 .00 Call with A. Sorkin regarding board meeting (0.3); attend
                                                            board meeting (1.7)

03/09/23     YLB                        .60         750 .00 Attend board meeting (partial)

03/09/23     EAM                       3.40       4,369.00 Attend board meeting (2.1); draft notes from board
                                                           meeting and attend to related correspondence (1.3)

03/09/23     JWM                       2.20       2,343 .00 Attend board meeting and take notes of the same

03/10/23     AQ                        1.40       1,904.00 Prepare for and attend board meeting (1.1); telephone
                                                             conference with S. Parkhurst regarding related strategy
                                                             (0.3)

03/10/23     CAR                        .70       1,295.00 Participate in board call

03/10/23     AS                        2.30       3,806.50 Attend special meeting of board regarding transition
                                                           update (1.3); review resolutions regarding bank account
                                                           signatories and calls w/ B. Appel, J . Gusa (0.5); telephone
                                                             conference with C Street, Huron, G. Bukovi regarding
                                                             transition matters and communications (0 .5)

03/10/23     BK                         .50         767 .50 Attend board meeting

03/10/23     EAM                       1.20       1,542.00 Review board minutes

03/10/23     JWM                       2.50       2,662 .50 Attend board meeting and take notes of the same (1.3);
                                                            prepare minutes of board meeting (1.2)

03/11/23     AS                        1.80       2,979.00 Conference with J. DiDonato, Latham, Berger Singerman
                                                           regarding board vacancy and related waiver (0.3);
                                                             telephone conference with potential director candidate
                                                             regarding same (0.5); telephone conference with J. Cohen

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                                                               regarding same (0 .5) ; telephone conference with L.
                                                               Lluberas regarding same (0.5)

03/11/23     JWM                        2.60       2,769 .00 Draft minutes to board meeting

03/12/23     CAR                         .40         740 .00 Call regarding appointment of new director

03/12/23     AS                          .20         331 .00 Correspondence regarding director vacancy with board

03/13/23     AQ                         1.00       1,360.00 Prepare for and attend conference with S. Panagos
                                                            regarding transition

03/13/23     CAR                        1.20       2,220 .00 Participate in call with R. Caruso (0.4); participate in
                                                             interview of S. Panagos regarding governance issues (0.8)

03/13/23     AS                         2.60       4,303 .00 Telephone conference with S. Panagos regarding board
                                                             matters (0.5); UCC informal interview with S. Panagos,
                                                             Latham teams (1.3); board interview with potential
                                                             director candidate (0 .8)

03/13/23     JWM                        1.30       1,384 .50 Draft restructuring committee meeting minutes

03/14/23     AQ                         2.70       3,672.00 Review board materials (0 .2); review and revise board
                                                            meeting minutes (1.2); attend board meeting (1.3)

03/14/23     CAR                        1.00       1,850.00 Participate in board call

03/14/23     AS                         2.60       4,303 .00 Telephone conference with S. Panagos regarding board
                                                             agenda (0.4); further telephone conference with S.
                                                             Panagos regarding same, valuation issue (0.2) ; telephone
                                                             conference with A. Quartarolo regarding board call (0 .2);
                                                             attend weekly board call (2.0)

03/14/23     JWM                        4.40       4,686 .00 Attend board meeting and take notes of the same (1.8);
                                                             draft minutes for board meeting (2.6)

03/15/23     BTG                         .70         875.00 Review and revise director vacancy consent

03/16/23     AQ                         2.20       2,992 .00 Review board meeting materials and minutes (1.0); attend
                                                             board meeting (1.2)

03/16/23     AS                         2.00       3,310.00 Telephone conference with Rothschild regarding
                                                            financing presentation to board (0.3); telephone
                                                            conference with S. Panagos regarding same (0 .3); attend
                                                            regular board call (1.4)

03/16/23     JWM                        2.20       2,343 .00 Attend board meeting and take notes of the same (1.3);
                                                             prepare final versions for board members' review (0.9)

03/19/23     AS                         1.30       2,151.50 Review minutes of various restructuring committee and
                                                            board meetings and comment on same


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03/19/23     JWM                       3.20       3,408.00 Draft board minutes

03/20/23     AS                        2.30       3,806.50 Telephone conferences with S. Panagos regarding board
                                                           meeting preparation (0 .7); review board materials (0.1);
                                                           attend board call (1.5)

03/20/23     JWM                       3.90       4,153.50 Attend board meeting and take notes of the same (1.6);
                                                           draft board minutes (2 .3)

03/20/23     NAG                        .20         166.00 Telephone conference with W . Morley to discuss board
                                                           meeting minutes (0 .2)

03/21/23     YM                         .50         767 .50 Prepare for and attend Board call

03/21/23     AS                         .40         662 .00 Telephone conference with A. Gupta regarding board
                                                            issues and updates

03/21/23     JWM                       1.50       1,597 .50 Review board minutes

03/22/23     NAG                       1.30       1,079.00 Telephone conference with J. Weichselbaum and W.
                                                           Morley discussing slide deck for board meeting (0.2); draft
                                                           slide deck for board meeting (1.1)

03/23/23     AQ                        1.10       1,496.00 Attend board meeting

03/23/23     AS                        3.50       5,792 .50 Telephone conference with S. Panagos regarding board
                                                            preparation (0.5); revise board deck regarding potential
                                                            settlement (0.7); attend board call (2.3)

03/23/23     JJW                       3.70       4,218.00 Call regarding settlement proposal (1.1); review materials
                                                           in connection with the same (0 .3); correspond with team
                                                           regarding same (0.5) ; review and update slide deck
                                                           regarding same (1.4) ; revise the same to incorporate
                                                           comments (0.4)

03/23/23     NAG                       3.90       3,237 .00 Update slides for board meeting (0.7); telephone
                                                            conference with J. Weichselbaum discussing board
                                                            meeting slides (0 .1) ; update claims pool with litigation
                                                            values (0 .6); telephone conference with W . Morley
                                                            discussing board meeting (0.2); attend 3/23 board meeting
                                                            (2.3)

03/25/23     NAG                       1.30       1,079.00 Draft 3/23 board minutes

03/26/23     HKM                       1.00       1,460.00 Call with Board

03/26/23     NAG                        .30         249.00 Draft 3/24 board meeting

03/27/23     AS                        1.10       1,820.50 Telephone conference with S. Panagos regarding Monster
                                                           negotiation and preparation for board call (0.4); attend
                                                           board call (0.7)


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03/27/23     JWM                       7.10       7,561.50 Draft minutes for board meetings and circulate the same

03/27/23     NAG                       2.70       2,241.00 Attend 3/27 board meeting (0.8); draft minutes from 3/23
                                                           board hearing (1.9)

03/28/23     NTW                        .70         798 .00 Prepare to draft board presentation regarding the same

03/28/23     NAG                       1.40       1,162.00 Draft 3/23 board meeting minutes

03/29/23     NTW                        .50         570.00 Continue revising board presentation materials

03/29/23     JWM                       7.60       8,094.00 Draft board minutes

03/29/23     NAG                       1.30       1,079.00 Update 3/23 board minutes with comments from W .
                                                           Morley

03/30/23     CAR                        .80       1,480.00 Participate in board call

03/30/23     AS                        1.50       2,482 .50 Telephone conference with S. Panagos regarding
                                                            preparation for board call (0.2); telephone conference with
                                                            S. Gray regarding same (0 .2); attend board call (1.1)

03/30/23     JJW                       1.10       1,254 .00 Attend board meeting

03/30/23     NAG                       1.90       1,577.00 Update 3/23 board minutes with comments from W.
                                                           Morley (0.6); email board minutes for review (0 .2); attend
                                                           3/30 board meeting (1.1)



Attorney:

GA Davis                        .50     Hrs.@       $ 2,035 .00/hr.           $1,017.50
CA Redder                    25.80      Hrs.@       $ 1,850.00/hr.           $47,730.00
A Sorkin                     40.70      Hrs.@       $ 1,655.00/hr.           $67,358.50
YMun                           5.60     Hrs.@       $ 1,535.00/hr.            $8,596.00
D T Gardiner                    .30     Hrs.@       $ 1,360.00/hr.              $ 408.00
A Quartarolo                  15.90     Hrs.@       $ 1,360.00/hr.           $21,624.00
B Kaplan                       5.30     Hrs.@       $ 1,535.00/hr.            $8,135.50
HK Murtagh                     3.00     Hrs.@       $ 1,460.00/hr.            $4,380 .00
EA Morris                      4.60     Hrs.@       $ 1,285.00/hr.            $5,911.00
Y L Burton                     5.30     Hrs.@       $ 1,250.00/hr.            $6,625.00
BT Gelfand                     1.30     Hrs.@       $ 1,250.00/hr.            $1,625.00
NT Wages                       1.20     Hrs.@       $ 1, 140.00/hr.           $1,368.00
J J Weichselbaum               4.80     Hrs.@       $ 1,140.00/hr.            $5,472.00


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J W Morley                     50.60      Hrs.@       $ 1,065.00/hr.           $53,889.00
J L Teresi                       6.20     Hrs.@       $ 1,065.00/hr.            $6,603.00
                              171.10                                          $240,742.50

Other:

NA Gulati                       14.30     Hrs.@        $ 830.00/hr.            $11,869.00
                                14.30                                          $11,869.00

GRAND TOTAL:                  185.40                                          $252,611.50




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Date         Timekeeper                             Amount Description

03/01/23     AS                           .20        331.00 Review employee communication and correspondence
                                                            with G . Metzger regarding same

03/01/23     YLB                        1.30        1,625.00 Review and revise KERP notice (1.0); correspond with
                                                             Debtor, Latham team and Huron team regarding same
                                                             (0.3)

03/15/23     AS                           .40        662 .00 Review employee retention plan proposal (0.1); telephone
                                                             conference with J. Gusa regarding same (0.3)

03/16/23     AS                           .20        331.00 Correspondence with C. Delo, G. Metzger regarding
                                                            employee issues



Attorney:

A Sorkin                         .80     Hrs.@        $ 1,655.00/hr.             $1,324.00
Y L Burton                      1.30     Hrs.@        $ 1,250.00/hr.             $1,625.00
                                2.10                                             $2,949.00




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Date         Timekeeper              Hours          Amount Description

03/01/23     ACD                         .30         294 .00 Correspond internally regarding Latham February fee
                                                             statement

03/02/23     ACD                        1.50        1,470.00 Review and revise Latham first interim fee application
                                                             (1.4) ; correspond with C. Tarrant regarding same (0.1)

03/06/23     NAG                         .30         249.00 Draft interim fee application

03/06/23     CMT                        1.80         882.00 Review and revise monthly fee statement and interim fee
                                                            application

03/07/23     NAG                        3.60        2,988.00 Draft and revise interim fee application

03/08/23     JJW                         .30         342.00 Discuss interim fee application with N. Gulati

03/08/23     NAG                        4 .00       3,320.00 Correspond with J . Weichselbaum regarding interim fee
                                                             application (0.2); telephone conference with J.
                                                             Weichselbaum to discuss interim fee application (0.2);
                                                             draft and revise interim fee application (3.6)

03/08/23     ACD                         .20         196.00 Correspond with C. Tarrant regarding Latham February
                                                            fee statement and first interim fee application

03/10/23     JJW                        2.30        2,622 .00 Review interim fee application (1.1); revise the same (1.2)

03/10/23     ACD                         .40         392.00 Correspond internally regarding matters related to
                                                            Latham interim fee application (0.3) ; correspond with C.
                                                            Tarrant regarding February fee statement (0.1)

03/12/23     JJW                        1.90        2,166.00 Review invoice for confidentiality (1.1); review revised
                                                             interim fee application (0.8)

03/13/23     JJW                        1.40        1,596.00 Revise interim fee application (0.8) ; review invoice for
                                                             privilege/ confidentiality (0.6)

03/13/23     ACD                        1.20        1,176.00 Correspond with Latham team regarding matters related
                                                             to Latham February fee statement (0.4); review Latham
                                                             February invoices for privilege and confidentiality (0.8)

03/14/23     JJW                        2.50        2,850.00 Review invoice for privilege issues (1.6); review revised
                                                             interim fee application (0.6); attention to parties in interest
                                                             list I conflicts matters (0.3)

03/14/23     CMT                        1.90         931.00 Continue to review and prepare monthly fee statement
                                                            (0.8) ; continue to review and prepare first interim fee
                                                            application (1.1)

03/14/23     ACD                         .60         588.00 Correspond with Latham team regarding Latham interim
                                                            fee application and related matters

03/15/23     BSR                         .40         456 .00 Call with C. Tarrant regarding fee application (0.1);
                                                             attention to same (0.3)

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03/15/23     CMT                       2.60       1,274 .00 Continue to review and revise first interim fee application
                                                            and fee statement

03/16/23     ACD                        .20         196.00 Correspond with Latham team regarding Latham interim
                                                           fee application

03/17/23     YLB                       1.20       1,500.00 Review and revise invoice for confidentiality matters

03/17/23     JJW                        .30         342.00 Attention to conflicts matters (0.2); discuss with team (0.1)

03/17/23     CMT                       1.80         882 .00 Continue to review and revise first interim fee application

03/17/23     ACD                        .20         196.00 Correspond internally regarding Latham first interim fee
                                                           application

03/18/23     AS                        1.00       1,655.00 Review fee statement for February 2023 and comment on
                                                           same

03/19/23     ACD                        .40         392.00 Correspond internally regarding Latham February fee
                                                           statement and Latham first interim fee application

03/20/23     AS                        1.50       2,482.50 Review and comment on fee application

03/20/23     YLB                        .70         875 .00 Review and revise interim fee application

03/20/23     JJW                       2.40       2,736 .00 Finalize fee statement (0.3); review interim fee application
                                                            (0.5); review comments to same (0.4); incorporate
                                                            comments (0.9); discuss with Latham team (0 .3)

03/20/23     CMT                       3.60       1,764.00 Finalize monthly invoice and serve on all parties (1.2);
                                                           continue to work on first interim fee application and
                                                           related charts (2.4)

03/20/23     ACD                       1.90       1,862.00 Correspond with Latham team regarding Latham interim
                                                           fee application (0.4) ; review and comment on same (0.9) ;
                                                           review local rules and guidelines related to same (0.4);
                                                           correspond with Latham team regarding same (0.1);
                                                           correspond with J. Weichselbaum regarding supplemental
                                                           Sorkin declaration (0 .1)

03/21/23     AS                         .50         827 .50 Review and revise fee application prior to filing

03/21/23     JJW                       2.50       2,850.00 Review and revise fee application (1.3); attention to emails
                                                           regarding same (0 .3); discuss same with Latham team
                                                           (0.4); finalize for filing (0.5)

03/21/23     CMT                       5.90       2,891.00 Review, revise and finalize first interim fee application
                                                           (4.4) ; call and emails with Latham team regarding same
                                                           (0.9); file same with Court (0 .3); emails with Stretto
                                                           regarding service of same (0.3)

03/21/23     ACD                       2.40       2,352.00 Call with J . Weichselbaum and C. Tarrant regarding

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                                                               Latham interim fee application (0.9); review and comment
                                                               on updated drafts of same (1.1); call with J . Weichselbaum
                                                               regarding same (0.2); additional call with J. Weichselbaum
                                                               and C. Tarrant regarding finalizing and filing Latham
                                                               interim fee application (0.2)

03/23/23       ACD                        .20         196.00 Review updated parties in interest list (0.1); email A.
                                                             Sorkin regarding Latham budget and staffing plan for
                                                             second interim fee application (0.1)

03/24/23       CMT                        .90         441.00 Continue to review materials in connection with monthly
                                                             fee statement

03/28/23       CMT                        .90         441.00 Review and revise materials for fee statement

03/31/23       ACD                        .50         490.00 Review matters related to Latham fee statements (0.2);
                                                             correspond internally and with HCG regarding same (0.3)



Attorney:

A Sorkin                         3.00     Hrs.@       $ 1,655.00/hr.            $4,965.00
Y L Burton                       1.90     Hrs.@       $ 1,250.00/hr.            $2,375.00
BS Rosen                          .40     Hrs.@       $ 1,140.00/hr.              $ 456.00
J J Weichselbaum                13.60     Hrs.@       $ 1,140.00/hr.           $15,504.00
                                18.90                                          $23,300.00

Other:

NA Gulati                        7.90     Hrs.@        $ 830.00/hr.             $6,557.00
CM Tarrant                      19.40     Hrs.@        $ 490.00/hr.             $9,506.00
AC Davis                        10.00     Hrs.@        $ 980.00/hr.             $9,800.00
                               37.30                                           $25,863.00

GRAND TOTAL:                   56.20                                           $49,163.00




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03/01/23     BTG                        .70         875 .00 Correspond with financial advisor regarding reporting
                                                            requirements under DIP credit agreement

03/07/23     PJS                        .80       1,352.00 Review and analyze applicable credit agreement sections
                                                           related to board composition

03/07/23     BTG                        .30         375.00 Review and revise consent to credit agreement

03/09/23     PJS                        .60       1,014.00 Review and analyze applicable credit agreement sections
                                                           related to board composition

03/09/23     BTG                        .90       1,125.00 Review change in control provisions under DIP

03/10/23     BTG                        .80       1,000.00 Review reporting requirements under DIP credit
                                                           agreement

03/11/23     BTG                        .90       1,125.00 Correspond with Debtor regarding credit documents and
                                                           remedies

03/13/23     CAR                        .40         740.00 Participate in preparation session for UCC/DIP lender
                                                           interview

03/14/23     BTG                       1.00       1,250.00 Review and revise waiver and consent

03/16/23     AS                         .60         993.00 Correspondence and telephone conference with G .
                                                           Metzger, J. Paul, L. Lluberas, S. Gruendel regarding
                                                           Quash lease and Lithia Springs closing

03/17/23     AS                         .70       1,158.50 Calls with G. Metzger, L. Lluberas, D. Melville, buyer
                                                           counsel regarding real estate closing and bank debt
                                                           implications

03/20/23     BTG                        .60         750 .00 Review and analyze assignment provisions of DIP credit
                                                            agreement

03/21/23     AS                        1.50       2,482 .50 Video conference with board, advisors regarding lender
                                                            group issues (0 .6); telephone conference with L. Lluberas
                                                            regarding same {0.1); telephone conference with S.
                                                            Panagos regarding same {0.4); telephone conference with
                                                            J. Gusa regarding real estate closing issues and revise
                                                            affidavit in connection with same {0.4)

03/21/23     BTG                       1.30       1,625.00 Review and revise sale consent

03/22/23     AS                        1.10       1,820.50 Telephone conference with L. Lluberas regarding bank
                                                           group issues {0 .6); follow up with Rothschild, others
                                                           regarding same {0.5)

03/23/23     AS                         .50         827 .50 Telephone conference with L. Lluberas regarding
                                                            extension requests and more {0.2); telephone conference
                                                            with H . Parkhill regarding same {0.3)


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03/24/23     CAR                        .50         925 .00 Call with Huron regarding lender call and related
                                                            preparation

03/26/23     BTG                        .60         750.00 Correspond internally regarding prepetition credit
                                                           agreement

03/29/23     AS                         .60         993.00 Telephone conference with TD Cowen regarding DIP
                                                           questions (0.2); correspondence with L. Lluberas
                                                           regarding same and extension requests (0.4)

03/29/23     BTG                       1.30       1,625.00 Draft notice of default

03/30/23     PJS                        .50         845 .00 Review and revise draft notice of default

03/30/23     BTG                       1.30       1,625.00 Review and revise notice of default (0.5); review and
                                                           revise consent and reservation of rights letter (0.8)

03/31/23     BTG                        .80       1,000.00 Review and revise reservations of rights letter and waiver



Attorney:

CA Redder                       .90     Hrs.@       $ 1,850.00/hr.            $1,665.00
P J Sluka                      1.90     Hrs.@       $ 1,690.00/hr.            $3,211.00
A Sorkin                       5.00     Hrs.@       $ 1,655.00/hr.            $8,275.00
BT Gelfand                    10.50     Hrs.@       $ 1,250.00/hr.           $13,125.00
                              18.30                                          $26,276 .00




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03/02/23     AQ                        5.70       7,752 .00 Prepare for and attend hearing on motion to quash

03/02/23     EAM                       1.80       2,313.00 Attend hearing on motion to quash

03/02/23     JLT                       1.70       1,810.50 Attend hearing on motion to quash

03/02/23     NAG                       1.80       1,494.00 Attend 3/2 hearing

03/09/23     HKM                       1.70       2,482.00 Attend lift-stay hearing

03/09/23     EAM                       1.50       1,927 .50 Attend hearing on motion to stay

03/09/23     JJW                        .70         798 .00 Attend (partial) hearing on stay motion

03/14/23     AS                         .40         662.00 Telephone conference with J. Gusa regarding general
                                                           update, transition matters

03/14/23     AS                         .70       1,158.50 Prepare script for Thursday hearing

03/14/23     EAM                       1.30       1,670.50 Prepare for hearing relating to adversary social media
                                                           accounts

03/15/23     CMT                        .90         441.00 Prepare attorneys for 3/16 hearings

03/16/23     AQ                        1.20       1,632.00 Telephonically attend court hearing

03/16/23     AS                        2.30       3,806.50 Hearing preparation, including revision of script (0.9);
                                                           correspondence with C Street regarding same (0.3); attend
                                                           3/16 hearing and provide status update (0.7); telephone
                                                           conference with A. Quartarolo, H. Murtagh regarding
                                                           Monster adversary proceeding (0.4)

03/16/23     HKM                       1.10       1,606.00 Attend 3/16 hearing

03/16/23     JJW                        .40         456.00 Virtually attend (partial) hearing

03/16/23     NAG                        .80         664 .00 Attend 3/16 hearing

03/22/23     AS                        2.30       3,806.50 Attend (in part) hearing regarding stay (1.9); telephone
                                                           conference with H . Murtagh regarding same (0.4)

03/22/23     HKM                       5.80       8,468 .00 Finalizing argument outline (1.8); hearing preparation
                                                            (1.2); attend hearing regarding Monster/OBI stay request
                                                            (2.2); follow-up regarding same with W . Morley, A. Sorkin
                                                            (0.6)

03/22/23     EAM                       2.00       2,570 .00 Attend adversary stay hearing

03/22/23     JJW                       1.20       1,368.00 Attend (in part) hearing on motion to stay adversary
                                                           proceeding

03/22/23     NAG                       1.50       1,245.00 Attend 3/22 hearing


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03/23/23     AS                        1.40       2,317 .00 Attend hearing regarding stay ruling and other matters
                                                            (1.2); telephone conference with A. Quartarolo, H .
                                                            Murtagh regarding same (0.2)

03/23/23     HKM                       4.60       6,716.00 Review social media contempt/ summary judgment
                                                           pleadings and prepare for 3/23 hearing regarding same
                                                           (2.5) ; attend hearing (1.8); debrief with A. Sorkin, A.
                                                           Quartarolo (0.3)

03/23/23     EAM                       2.00       2,570 .00 Attend hearing on contempt motion and stay order

03/23/23     JJW                        .80         912.00 Attend (partial) hearing on decision on Monster stay
                                                           motion

03/23/23     NAG                       1.80       1,494 .00 Attend 3/23 hearing

03/27/23     JWM                       1.00       1,065.00 Prepare materials for hearing on summary judgment
                                                           motion

03/27/23     CMT                       1.80         882 .00 Prepare attorney for 3/29 hearings

03/28/23     HKM                       1.10       1,606.00 Attend status conference regarding Owoc adversary

03/28/23     JWM                       6.90       7,348 .50 Prepare materials for hearing on summary judgment
                                                            motion

03/28/23     NAG                        .50         415.00 Prepare for 3/29 and 3/30 hearings

03/29/23     AS                        3.00       4,965 .00 Further prepare for hearing/revise talking points (0 .5);
                                                            multiple telephone conferences with H. Murtagh, G.
                                                            Metzger, J. Gusa regarding stay and upcoming status
                                                            conference (1.0); attend hearing regarding status
                                                            conference on adversary (1.5)

03/29/23     HKM                       2.10       3,066.00 Prepare for and attend summary judgment status
                                                           conference (1.3); debrief with A. Sorkin, J . Gusa regarding
                                                           next steps at bankruptcy, district courts (0.8)

03/29/23     EAM                        .50         642 .50 Attend hearing

03/29/23     JJW                        .50         570.00 Attend hearing on summary judgment motion in
                                                           adversary proceeding

03/30/23     AS                         .20         331.00 Attend (in part) hearing regarding motion to compel
                                                           production of documents from Mr. Owoc

03/30/23     EAM                       1.30       1,670.50 Attend hearing on lease rejections and motion to compel




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Attorney:

A Sorkin                        10.30     Hrs.@       $ 1,655.00/hr.           $17,046.50
A Quartarolo                     6 .90    Hrs.@       $ 1,360.00/hr.            $9,384.00
HK Murtagh                      16.40     Hrs.@       $ 1,460.00/hr.           $23,944 .00
EA Morris                       10.40     Hrs.@       $ 1,285.00/hr.           $13,364.00
J J Weichselbaum                 3.60     Hrs.@       $ 1, 140.00/hr.           $4,104.00
JWMorley                         7.90     Hrs.@       $ 1,065.00/hr.            $8,413.50
J L Teresi                       1.70     Hrs.@       $ 1,065.00/hr.            $1,810.50
                               57.20                                           $78,066.50

Other:

NA Gulati                        6.40     Hrs.@        $ 830.00/hr.             $5,312.00
CM Tarrant                       2.70     Hrs.@        $ 490.00/hr.             $1,323.00
                                 9.10                                           $6,635.00

GRAND TOTAL:                   66.30                                           $84,701.50




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03/01/23     JJW                       1.60       1,824 .00 Prepare for and attend call regarding cure schedule (0.8);
                                                            review cure schedule (0.3); review and revise motion to
                                                            redact related to cure schedule (0.3)

03/02/23     AQ                         .20         272.00 Email with J. Weichselbaum regarding contracts

03/03/23     YLB                        .40         500.00 Review cure schedule

03/03/23     JJW                        .40         456.00 Review final cure schedule

03/04/23     YLB                        .20         250.00 Correspond with Huron team regarding cure matters

03/08/23     JJW                        .40         456.00 Call regarding cure/claim

03/08/23     NAG                        .20         166.00 Attend telephone conference with opposing counsel
                                                           discussing cure amount

03/09/23     JJW                        .60         684 .00 Call regarding cure amount with creditor (0.4); review
                                                            emails and documents in advance of same (0.2)

03/09/23     NAG                        .40         332.00 Attend telephone conference with J . Weichselbaum and
                                                           opposing counsel regarding outstanding cure schedule

03/10/23     NAG                        .20         166.00 Update cure objection chart

03/13/23     JJW                       1.10       1,254 .00 Participate in call regarding cure schedule (0.3); review
                                                            documents and emails in connection with same (0.5);
                                                            attention to various cure issues and inquiries from
                                                            counterparties (0.3)

03/13/23     NAG                        .30         249 .00 Update cure objection schedule with new objection (0.2);
                                                            correspond with local counsel regarding strategy for filing
                                                            amended cure schedule (0.1)

03/14/23     YLB                        .80       1,000.00 Review cure schedule and objections regarding same

03/14/23     JJW                        .80         912.00 Attention to emails/ inquiries from contract counterparties
                                                           regarding cure schedule (0.3); correspond with Latham
                                                           team and Huron team regarding same (0 .2); review
                                                           objection chart (0.3)

03/14/23     NAG                        .30         249.00 Update objection chart to cure schedule

03/15/23     JJW                       1.90       2,166 .00 Attention to cure issues, including responding to emails,
                                                            calls with counterparties, review documents (0.8); review
                                                            and revise cure objection chart (0.9); correspond with
                                                            Huron regarding cure schedule (0.2)

03/15/23     NAG                        .80         664 .00 Update cure amount objection chart

03/16/23     JJW                       2.00       2,280 .00 Attention to emails and issues relating to cure schedule
                                                            (0.4); correspond with Huron team regarding same (0.4);

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                                                             review and revise cure objection chart (0 .7) ; review
                                                             documents in connection with cure schedule / inquiries
                                                             from counterparties (0 .5)

03/16/23     NAG                        .40         332.00 Update cure objection chart

03/17/23     YLB                        .60         750.00 Prepare for and attend call with Huron regarding cure
                                                           matters

03/17/23     JJW                        .80         912 .00 Attention to cure issues (0.3); review and revise cure
                                                            objection chart (0.5)

03/17/23     NAG                        .50         415.00 Attend telephone conference with J . Weichselbaum, L.
                                                           Burton and Huron team to discuss amended cure schedule

03/20/23     AS                         .30         496 .50 Attend telephone conference with J . Weichselbaum, L.
                                                            Burton regarding executory contract schedule (0.2);
                                                            prepare for same (0.1)

03/20/23     YLB                       1.10       1,375.00 Call regarding cure schedule with Latham team and
                                                           Debtor (0.8); review same (0.3)

03/20/23     JJW                       2.90       3,306.00 Call with contract counterparty regarding cure (0 .3);
                                                           review documents in connection with same (0.4); prepare
                                                           for and attend call with Latham and Huron teams to
                                                           discuss amended cure schedule (0.6); call with contract
                                                           counterparty to discuss cure (0.4); review invoices sent by
                                                           counterparty (0.4); call with Latham team to discuss
                                                           amended cure schedule (0.3); attention to emails
                                                           regarding status of various cure issues (0.5)

03/20/23     NAG                        .90         747.00 Update cure objection chart (0.2); attend telephone
                                                           conference with A. Sorkin, L. Burton, and J.
                                                           Weichselbaum to discuss cure objections (0.2); telephone
                                                           conference with J . Weichselbaum to discuss cure schedule
                                                           (0 .1); attend telephone conference with Huron to prepare
                                                           to file amended cure schedule (0.4)

03/21/23     AS                         .60         993.00 Video conference with Huron, Latham teams regarding
                                                           executory contract schedule

03/21/23     YLB                        .50         625.00 Cure schedule call with Latham team

03/21/23     YLB                       1.00       1,250.00 Review cure notice and related filings (0.8); correspond
                                                           with Latham team regarding same (0.2)

03/21/23     JJW                       2.00       2,280.00 Finalize amended cure schedule (0.8); prepare notice for
                                                           amended cure schedule (0.7); prepare for and attend call
                                                           with Huron team to finalize cure schedule (0.5)

03/21/23     NAG                        .50         415 .00 Attend telephone conference with financial advisor to
                                                            discuss amended cure schedule

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03/24/23     JJW                        .70         798 .00 Call with lease counterparty (0 .2); attention to emails
                                                            regarding same (0.1); review documents in connection
                                                            with same (0.4)

03/25/23     YLB                        .90       1,125.00 Call with A. McKenzie regarding rejection motion (0.7);
                                                           review precedent regarding same (0.2)

03/25/23     RAM                       5.20       3,666.00 Discuss rejection motion revision with L. Burton (0.5);
                                                           review rejection motion precedent and previous filings
                                                           (0.3); draft fifth contract rejection motion (4.2);
                                                           communicate with L. Burton regarding contract rejection
                                                           motion (0.2)

03/26/23     NAG                        .90         747.00 Update cure objection tracker

03/26/23     RAM                        .40         282.00 Communicate with company team regarding fifth
                                                           rejection motion

03/27/23     JJW                       1.70       1,938.00 Attention to cure dispute issues (0.5); review
                                                           correspondence regarding same (0.4); discuss issues with
                                                           contract counterparties (0.3); review documents in
                                                           connection with cure issues (0.5)

03/27/23     NAG                        .30         249.00 Create list of outstanding cure objections

03/28/23     YLB                        .50         625.00 Prepare for and attend call regarding cure schedule with
                                                           Huron

03/28/23     JJW                       1.30       1,482.00 Attention to cure/contract issues (0.6); review documents
                                                           and emails regarding same (0.4); review objection chart
                                                           (0.3)

03/28/23     NAG                        .60         498.00 Attend telephone conference with local counsel and
                                                           financial advisor to review outstanding cure amounts

03/29/23     AS                         .50         827 .50 Conference with J . Weichselbaum, N. Gulati, L. Burton
                                                            regarding executory contract objection approach and
                                                            matter update

03/29/23     YLB                        .60         750.00 Review cure objection status chart

03/29/23     JJW                       3.60       4,104.00 Review cure objections (0.9) ; review and revise objection
                                                           chart (0.5); call with team to discuss status of cure issues
                                                           (0 .7); correspond with contract counterparties regarding
                                                           cure issues (0.7); review documents in connection with
                                                           same (0.4); attention to correspondence regarding cure
                                                           issues (0.4)

03/29/23     NAG                       1.90       1,577.00 Update cure objection chart with new objections (1.4);
                                                           update sale objection chart (0.2); telephone conference
                                                           with A. Sorkin and J . Weichselbaum discussing cure
                                                           schedule strategy (0.3)

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03/30/23       JJW                       3.90       4,446 .00 Conduct legal research in connection with 365(d)(4)
                                                              extension (0 .8); discuss with team (0.4); call with L. Burton
                                                              and N. Gulati regarding same (0.5); review research
                                                              regarding 365(d)(4) extension (0.4); attention to cure issues
                                                              (0.4); review objections (0.5); review and revise objection
                                                              chart (0.6); review documents in connection with cure
                                                              issues (0.3)

03/30/23       NAG                       2.10       1,743.00 Telephone conference with J. Weichselbaum to discuss
                                                             strategy relating to the 365(d)(4) sunset issue (0.2); email
                                                             C. Tarrant requesting assistance into the 365(d)(4) sunset
                                                             issue (0.2); conduct legal research into recent
                                                             developments with 365(d)(4) issues (1.2); telephone
                                                             conference with J. Weichselbaum and L. Burton
                                                             discussing strategy for handling 365(d)(4) issue (0.5)

03/30/23       CMT                       1.10         539.00 Additional research regarding motion to extend time to
                                                             assume/reject lease

03/31/23       YLB                        .60         750 .00 Review cure objections

03/31/23       JJW                       2.90       3,306.00 Review filed cure objections (1.6) ; review and revise
                                                             objection chart (0.4); discuss objections with N. Gulati
                                                             (0.4); attention to emails regarding cure issues (0.5);

03/31/23       NAG                        .50         415.00 Update cure objection chart (0.3); telephone conference
                                                             with J . Weichselbaum discussing case objection process
                                                             (0.2)



Attorney:

A Sorkin                         1.40     Hrs.@       $ 1,655.00/hr.            $2,317.00
A Quartarolo                      .20     Hrs.@       $ 1,360.00/hr.              $ 272.00
Y L Burton                       7.20     Hrs.@       $ 1,250.00/hr.            $9,000.00
J J Weichselbaum               28.60      Hrs.@       $ 1,140.00/hr.           $32,604.00
                               37.40                                           $44,193.00

Other:

NA Gulati                       10.80     Hrs.@        $ 830.00/hr.             $8,964.00
RA McKenzie                      5.60     Hrs.@        $ 705.00/hr.             $3,948.00
CM Tarrant                       1.10     Hrs.@        $ 490.00/hr.               $ 539.00
                                17.50                                          $ 13,451.00

GRAND TOTAL:                   54.90                                           $57,644.00

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03/01/23     AQ                         6.70        9,112 .00 Prepare for hearing on adversary discovery motion (3 .5);
                                                              review and revise cross outline (1.5); email with J . Teresi
                                                              and E. Morris regarding same (0.6); email with C. Reckler,
                                                              D. Mun, and A. Sorkin regarding status and strategy (0.5);
                                                              email J. Gusa regarding hearing (0.1); email and
                                                              telephone conference with A. Gupta regarding document
                                                              collection and claim analysis (0.5)

03/01/23     BK                          .40         614.00 Telephone conference with E. Morris regarding UCC
                                                            litigation considerations (0.2); telephone conference with
                                                            T. Kim regarding status and update (0.2)

03/01/23     EAM                        5.70        7,324 .50 Prepare argument on motion to quash (2.2); revise
                                                              Williams cross (2.1); revise chart of 2004 notices (1.4)

03/01/23     JLT                        8.20        8,733.00 Zoom call with T. Martin regarding UCC 2004 notices
                                                             (0.4) ; draft Williams cross examination outline (2 .6); revise
                                                             motion to quash oral argument outline (1.3); prepare
                                                             materials for motion to quash oral argument (1.1) ; review
                                                             documents related to UCC information requests (0.8);
                                                             continue drafting Williams cross-examination outline (2.0)

03/02/23     AQ                         1.60        2,176 .00 Telephone conference with S. Capuano regarding
                                                              upcoming hearing (0.2); telephone conferences with R.
                                                              Mairnin regarding same (0 .1); email and telephone
                                                              conference with team regarding potential complaint (0.3);
                                                              email A. Gupta regarding distributions (0.2); email S. Gray
                                                              regarding IP issues (0 .1); review precedent regarding
                                                              same (0 .5); review proposed order (0.1); email E. Mannix
                                                              regarding same (0.1)

03/02/23     AS                          .30         496 .50 Conference with A. Quartarolo and others regarding
                                                             litigation strategy

03/02/23     HKM                        1.50        2,190 .00 Review Owoc IP dispute background

03/02/23     EAM                        4 .30       5,525.50 Call with J . Teresi regarding UCC discovery (1.0);
                                                             research IP issues and related correspondence (3 .3)

03/02/23     JWM                         .50         532.50 Call with A. Sorkin, E. Morris, and A. Quartarolo
                                                            regarding litigation

03/02/23     JLT                        2.90        3,088.50 Prepare materials for motion to quash argument (1.1);
                                                             attend to correspondence regarding UCC information
                                                             requests (0.7); attend to correspondence regarding motion
                                                             to quash (0.7); call with E. Morris regrading motion to
                                                             quash (0.4)

03/03/23     AQ                         4.10        5,576.00 Review post-judgment briefing (2.3); email with J.
                                                             DiDonato and S. Parkhurst regarding same (0.4); email
                                                             and telephone conference with J. Gusa regarding

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                                                               employee policies (0 .2) ; email L. Lluberas regarding
                                                               document access (0.1); email R. Maimin and E. Mannix
                                                               regarding depositions and discovery (0.2) ; review
                                                               proposed schedule (0.2); email E. Morris regarding same
                                                               (0.1); review list of transfers (0.5); email E. Morris and A.
                                                               Gupta regarding same (0.1)

03/03/23     KAR                         .50         680 .00 Prepare for and attend call with UCC counsel

03/03/23     HKM                        1.10        1,606.00 Meet and confer with Monster/OBI regarding
                                                             trademark/assignment dispute (0 .3); correspondence with
                                                             A. Sorkin regarding same (0.2) ; discuss AZ claimants' lift-
                                                             stay hearing with A. Sorkin, J . Gusa (0 .2); planning for
                                                             same (0.4)

03/03/23     EAM                         .50         642.50 Correspondence relating to UCC requests

03/03/23     JLT                         .80         852 .00 Call with E. Morris regarding UCC information requests
                                                             (0.4) ; attend to correspondence regarding the same (0.1) ;
                                                             prepare documents for production (0.3); correspond with
                                                             Rothschild regarding production of documents to the UCC
                                                             (0.1)

03/03/23     NAG                        1.00         830.00 Review hearing transcripts related to removal extension
                                                            motion (0.8); draft removal extension motion (0.2)

03/03/23     CMT                        1.30         637.00 Review and update discovery chart (0.4); research
                                                            regarding corporate formation documents (0 .8)

03/04/23     AQ                          .40         544 .00 Email E. Morris and J. Teresi regarding informal
                                                             diligence, discovery, and strategy

03/04/23     EAM                        2.20        2,827 .00 Revise UCC production tracker (0 .3); attend to
                                                              correspondence regarding same (0.2) ; correspond with
                                                              Huron regarding list of transfers provided by Lowenstein
                                                              (0 .5); analyze list of transfers and correspond with Latham
                                                              team regarding UCC requests and schedule of 2004
                                                              examinations (1.2)

03/04/23     JLT                         .40         426 .00 Correspond with Rothschild regarding VDR (0 .1); attend to
                                                             correspondence regarding UCC information requests (0 .2)

03/05/23     EAM                        1.40        1,799.00 Work on responses to UCC requests and related
                                                             correspondence

03/06/23     AQ                         4 .70       6,392 .00 Telephone conference with E. Morris regarding UCC
                                                              diligence (0.4) ; email with Huron regarding injunction
                                                              proceedings (0.4); review materials and briefing regarding
                                                              same (0.5); telephone conference with Huron and Quarles
                                                              regarding same (0.6) ; email G. Metzger regarding 2004
                                                              examination (0.1); review entity creation documents (0.7);


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                                                              email A. Gupta regarding same (0 .2); review FL law
                                                              analysis (0 .5); email J . Gusa, D. Mun and A. Sorkin
                                                              regarding same (0.3); telephone conference with E. Morris
                                                              regarding status and strategy (0.6); review and revise
                                                              stipulation regarding Warner action (0.3); email J. Teresi
                                                              regarding same (0.1)

03/06/23     EAM                       5.10        6,553 .50 Conference with Huron and Company regarding UCC
                                                             requests (0.5); correspond with Huron regarding
                                                             document pulls for UCC requests (0.4); email to G.
                                                             Metzger regarding UCC requests (0.6); analyze UCC list
                                                             of transfers (1.2); call with B. Kaplan regarding IP issues
                                                             (0.3); attend to correspondence relating to IP (0.7); attend
                                                             to correspondence regarding Monster 2004 notice (0 .4);
                                                             prepare documents for production to UCC (1.0)

03/06/23     JLT                       3.50        3,727 .50 Call with J . DiDonato, E. Morris, A. Gupta, and S.
                                                             Parkhurst regarding UCC information requests (0 .6); call
                                                             with E. Morris regarding UCC information requests (0.8);
                                                             call with N. Soupre regarding the same (0.2); call with E.
                                                             Morris regarding the same (0.4); review and redact board
                                                             minutes (1.2); attend to correspondence regarding UCC
                                                             information requests (1.2); review documents to be
                                                             produced via VDR (0.7)

03/06/23     NAG                        .40         332.00 Correspond with Huron regarding litigation deadline

03/06/23     CMT                        .70         343.00 Additional research and update to corporate formation
                                                           chart

03/07/23     AQ                        1.90        2,584.00 Email and telephone conference with D. Mun and A.
                                                            Sorkin regarding IP and related issues (0 .5) ; review detail
                                                            regarding same (1.4)

03/07/23     HKM                       4 .30       6,278 .00 Review Monster/OBI motion to withdraw reference and
                                                             stay motion (1.1); discuss with Latham team and direct
                                                             research/briefing (1.2) ; research regarding stay and
                                                             mandatory withdrawal issues (1.5); correspondence with
                                                             local counsel (0.2); review AZ claimants' reply regarding
                                                             lift stay (0.4)

03/07/23     EAM                       5.70        7,324 .50 Call with UCC regarding deposition of Jack Owoc and
                                                             related correspondence (1.0); review files supporting UCC
                                                             list of transactions (1.0); correspond with Latham and
                                                             Huron teams regarding strategy (0.8); call with G . Metzger
                                                             regarding status of litigation matters (0.7); review board
                                                             minutes (2 .2)

03/07/23     JJW                       3.70        4,218.00 Conduct legal research in response to Monster motion for
                                                            stay of adversary (2 .1); call with Latham team regarding
                                                            same (0.7); review Monster motions for stay and

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                                                             withdrawal of reference (0.9)

03/07/23     DCD                        .30         288.00 Discuss strategy for adversary proceeding with E. Morris

03/07/23     JLT                       2.70       2,875.50 Call with W. Morley, J. Weichselbaum, H. Murtagh, and
                                                           E. Morris regarding motion to withdraw reference (0.6);
                                                           review and prepare documents for production (1.1); revise
                                                           stipulation staying Warner adversary proceeding (0.2);
                                                           attend to correspondence regarding UCC information
                                                           requests (0.7); correspond with Warner's counsel
                                                           regarding stipulation to extend adversary proceeding (0.1)

03/08/23     AQ                        3.50       4,760.00 Email and telephone conference with A. Sorkin and H .
                                                           Murtagh regarding stay motion (0.3); telephone
                                                           conferences with J. Gusa, A. Sorkin and C. Reckler
                                                           regarding status and strategy (0.8); telephone conference
                                                           with A. Sorkin and S. Panagos regarding same (0.4);
                                                           telephone conference with E. Morris regarding discovery
                                                           and diligence issues (0.5); telephone conference with
                                                           Lowenstein and E. Morris regarding same (0.4); email with
                                                           A. Sorkin regarding deadline extension (0.1) ; email J.
                                                           Gusa regarding preparation for board meeting (0.2); email
                                                           B. Kaplan and D. Mun regarding IP and real estate issues
                                                           (0.3); review documents regarding same (0.5)

03/08/23     HKM                       3.30       4,818.00 Review J. Weichselbaum research regarding stay issues
                                                           (0.6); call with A. Quartarolo, A. Sorkin regarding
                                                           response strategy (0.3); correspondence with local counsel
                                                           regarding filing response (0.2); discuss stay, MTWR, and
                                                           summary judgment briefing strategy with J .
                                                           Weichselbaum and W. Morley (0.9); outlining stay
                                                           response (0.8); prepare for 3/9 hearing (0 .5)

03/08/23     EAM                       1.90       2,441.50 Meet with UCC regarding deposition requests (0.5);
                                                           review documents for UCC production (1.4)

03/08/23     JJW                       2.70       3,078.00 Research issues relating to Monster stay motion (1.3) ; draft
                                                           response to Monster stay motion (0 .8); correspond with
                                                           team regarding research (0.6);

03/08/23     JLT                        .90         958.50 Call with UCC and Latham regarding UCC information
                                                           requests (0.4); attend to correspondence regarding UCC
                                                           information requests (0.5)

03/09/23     AQ                        2.00       2,720 .00 Telephone conference with Huron, J . Gusa, A. Sorkin and
                                                            C. Reckler regarding status and strategy (0.5); telephone
                                                            conference with A. Sorkin, Huron and C-Street regarding
                                                            communications strategy (0.7); draft letter to J. Owoc (0.4);
                                                            email J. Gusa regarding same (0.1); email W. Schildknecht
                                                            regarding privacy issue (0.2); conference with A. Sorkin
                                                            regarding same (0.1)

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03/09/23     HKM                       3.20        4,672 .00 Prepare for lift-stay argument

03/09/23     JJW                        .60         684.00 Research regarding adversary stay motion response

03/09/23     DCD                        .30         288.00 Review defendants' notice of pending and similar actions

03/09/23     JLT                       1.40        1,491.00 Review and prepare documents for production (0.5); call
                                                            with E . Morris regarding the same (0.4); attend to
                                                            correspondence regarding UCC information requests (0.5)

03/10/23     AQ                        5.30        7,208 .00 Email W . Schildkecht regarding privacy issue (0.1); email
                                                             and telephone conferences with Huron team regarding
                                                             status and strategy (1.5); telephone conference with E.
                                                             Mannix and E. Morris regarding 2004 notices and related
                                                             issues (0.5) ; email and telephone conference with N .
                                                             Mitchell and D. Muth regarding status and strategy (0.6);
                                                             email and telephone conference with G. Metzger
                                                             regarding same (0.3); email with A. Sorkin and C. Reckler
                                                             regarding strategy (0.3); telephone conference with
                                                             Huron, A. Sorkin and C-Street regarding same (0.7);
                                                             review precedent for IP litigation (0.8); email A. Sorkin, E.
                                                             Morris and H. Murtagh regarding same (0.2); review
                                                             correspondence to J. Owoc (0.2); email A. Sorkin
                                                             regarding same (0.1)

03/10/23     AS                         .90        1,489.50 Review and revise stay letter regarding social media
                                                            accounts (0.5) ; research regarding same and
                                                            correspondence with team regarding letter (0.4)

03/10/23     HKM                        .30         438.00 Discuss Owoc stay enforcement issues with A. Sorkin
                                                           (0.2); review draft letter (0.1)

03/10/23     EAM                       4 .30       5,525 .50 Call with E . Mannix (UCC) (0 .5); call with A. Quartarolo in
                                                             follow up (0.5) ; emails regarding UCC notices and
                                                             scheduling (0.8); review and summarize Jonathan Owoc
                                                             productions (1.3); review documents and prepare for UCC
                                                             productions (1.2)

03/10/23     ws                         .30         375.00 Email with A. Quartarolo and A. Sorkin regarding privacy
                                                           issue

03/10/23     JJW                       3.70        4,218.00 Research issues relating to motion to stay adversary (0.7);
                                                            draft letter regarding social media accounts (1.8); attention
                                                            to emails regarding same (0.3); incorporate comments to
                                                            letter (0.6); finalize the same (0.3)

03/10/23     JLT                       1.80        1,917.00 Call with E. Morris regarding UCC information requests
                                                            (0.8); call with E. Morris regarding the same (0.6); review
                                                            documents and prepare documents for production (0.4)

03/11/23     AQ                        5.60        7,616 .00 Draft and revise complaint (4.5); email and telephone


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                                                               conference with H . Murtagh regarding same (0.3); emails
                                                               with A. Sorkin, C. Reckler, J . Gusa, H. Murtagh, E. Morris
                                                               and W. Morley regarding turnover issues (0.7); email J.
                                                               Wilbert regarding social media accounts (0.1)

03/11/23     CAR                        1.80        3,330.00 Calls with A. Sorkin regarding recovery of estate assets
                                                             and related litigation

03/11/23     AS                          .40         662.00 Correspondence with A. Quartarolo, H. Murtagh
                                                            regarding adversary proceeding/turnover issues

03/11/23     HKM                         .70        1,022.00 Call with A. Quartarolo regarding turnover action (0.2) ;
                                                             correspondence with Latham team regarding same (0 .3);
                                                             correspondence with local counsel (0.2)

03/11/23     EAM                        1.50        1,927.50 Research issues relating to social media accounts

03/11/23     JWM                        4 .50       4,792 .50 Draft motion for temporary restraining order

03/12/23     AQ                         5.20        7,072 .00 Emails with A. Sorkin, H. Murtagh, and W. Morley
                                                              regarding complaint and TRO (0 .8); email A. Gupta
                                                              regarding employment issues (0.3) ; telephone conference
                                                              with A. Sorkin, G . Metzger and Huron regarding social
                                                              media and related issues (0.8); review and revise
                                                              complaint and TRO (2.2) ; email J. Weichselbaum
                                                              regarding employee handbook (0.3); email S. Parkhurst
                                                              regarding TikTok accounts (0.1); review deposition
                                                              testimony (0.5); email J . Wilbert regarding same (0.1);
                                                              email J. DiDonato regarding complaint and declaration
                                                              (0.1)

03/12/23     AS                         1.70        2,813.50 Review and comment on complaint and temporary
                                                             restraining order motion relating to social media accounts
                                                             (1.2); conference with J. Gusa regarding same and other
                                                             matters (0 .5)

03/12/23     HKM                        2.20        3,212.00 Review and revise initial drafts of social media account
                                                             complaint and temporary restraining order pleadings (1.6);
                                                             discuss strategy with Latham team (0.6)

03/12/23     EAM                        5.90        7,581.50 Draft pleadings relating to social media accounts (5 .3);
                                                             attend to correspondence regarding same (0.6)

03/12/23     JJW                        3.20        3,648.00 Research regarding social media adversary complaint
                                                             (1.2) ; correspond with team regarding same (0.3); review
                                                             documents in connection with same (0.4); draft response to
                                                             stay motion regarding IP adversary (0.6); research issues
                                                             relating to same (0.7)

03/12/23     JWM                       12.20       12,993 .00 Draft motion for temporary restraining order and related
                                                              documents


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03/13/23     YM                          .50         767 .50 Emails with Latham team regarding Monster OBI royalty
                                                             and transaction timing

03/13/23     AQ                         6.30        8,568 .00 Email and telephone conference with A. Sorkin and
                                                              Huron regarding transition and strategy (0.5) ; attend to
                                                              strategy regarding transition (1.3); email and telephone
                                                              conference with W . Morley, E . Morris and H . Murtagh
                                                              regarding adversary proceeding and TRO (0.7); telephone
                                                              conference with Quarles regarding social media (0.3);
                                                              review and revise work product regarding same (2 .5);
                                                              attend to media strategy (0.4); email with J. Teresi and E.
                                                              Morris regarding discovery (0.6)

03/13/23     AS                          .10         165.50 Correspondence with C. Reckler regarding social media
                                                            adversary

03/13/23     BK                          .40         614 .00 Telephone conference with D. Mun, C. Reckler, A. Sorkin,
                                                             A. Quartarolo, E. Morris, J. Teresi, G . Mahmood, N .
                                                             Wages, J. Weichselbaum, T. Kim and L. Sievert regarding
                                                             ramifications of executive termination and treatment of
                                                             arbitration

03/13/23     HKM                        3.10        4,526 .00 Revise draft complaint, temporary restraining order
                                                              motion, temporary restraining order, and declaration
                                                              regarding social media accounts (2 .2); discuss with J.
                                                              DiDonato (0.2); discuss strategy with A. Quartarolo, W.
                                                              Morley (0.5); discuss summary judgment schedule with
                                                              ucc (0 .2)
03/13/23     EAM                        4 .60       5,911.00 Revise adversary complaint and temporary restraining
                                                             order motion pleadings

03/13/23     JJW                        4 .10       4,674 .00 Draft response to Monster/OBI stay motion (1.4); research
                                                              relating to same (1.8) ; revise response to Monster/OBI stay
                                                              motion (0.9)

03/13/23     JWM                        8.80        9,372 .00 Revise emergency motion for temporary restraining order
                                                              (5.2); revise complaint for turnover (2 .1); review and revise
                                                              declaration (1.5)

03/13/23     JLT                         .30         319.50 Attend to correspondence regarding UCC information
                                                            requests

03/14/23     AQ                         3.60        4,896.00 Email and telephone conference with S. Parkhurst
                                                             regarding social media strategy (0.3); telephone
                                                             conference with Huron regarding declaration in support of
                                                             adversary proceeding (0.5) ; email with J . Gusa, E. Morris
                                                             and W. Morley regarding adversary proceeding and TRO
                                                             (0.3) ; attend to transition issues (1.7); email board
                                                             members regarding same (0.2); email G. Eckhouse and G.
                                                             Metzger regarding pending litigation (0.1) ; review

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                                                             documents regarding same (0.4); email J . Teresi regarding
                                                             Warner (0 .1)

03/14/23     AS                        1.90       3,144.50 Review communications materials in connection with
                                                           social media adversary proceeding (0.2); telephone
                                                           conference with H. Murtagh, W. Morley regarding
                                                           Monster adversary and follow up telephone conference
                                                           with H . Murtagh (0 .6); telephone conference with I.
                                                           Kharasch regarding potential settlement constructs (0.6);
                                                           telephone conference with G . Metzger regarding same
                                                           (0.3); telephone conference with C. Reckler regarding
                                                           same (0 .2)

03/14/23     HKM                       1.90       2,774.00 Attention to filing social media adversary proceeding &
                                                           Temporary restraining order (1.1); call with lender counsel
                                                           regarding open adversary proceedings (0.5); first review of
                                                           stay opposition (0.3)

03/14/23     MJG                        .40         500.00 Telephone conference with A. Quartarolo regarding
                                                           intellectual property issues, and related research

03/14/23     EAM                       4.50       5,782.50 Review Jonathan Owoc production (0.7); call with G.
                                                           Metzger regarding complaint and Temporary restraining
                                                           order motion (0.5); correspond with Debtor personnel
                                                           regarding UCC requests (0.3); correspond with PSS and
                                                           Consilio regarding document collection (0.3); prepare for
                                                           meet and confer with Monster regarding 2004 notice (0.4);
                                                           draft witness outlines for temporary restraining order
                                                           hearing (2.3)

03/14/23     JWM                        .40         426.00 Revise temporary restraining order motion and prepare
                                                           the same for filing

03/14/23     JLT                       1.60       1,704.00 Prepare stipulation continuing Warner adversary
                                                           proceeding (0.3); correspond with G. Weiner regarding the
                                                           same (0.3); attend to correspondence regarding 2004
                                                           discovery (0.4); review 2004 discovery document (0.6)

03/15/23     AQ                        5.20       7,072.00 Telephone conference with R. Maimin regarding IP and
                                                           transition issues (0.4); meet and confer with Pachulski
                                                           regarding discovery (0.7); telephone conference with G.
                                                           Metzger regarding pending litigation (0.4) ; review
                                                           discovery (0.5); telephone conference with Lowenstein, E.
                                                           Morris and J. Teresi regarding same (0.7); email E. Morris
                                                           and J . Teresi regarding same (0 .3); email Huron regarding
                                                           TRO (0.1); email B. Kaplan and D. Mun regarding IP (0.2);
                                                           review and revise hearing outline (0 .3); email A. Sorkin
                                                           and C. Reckler regarding same (0.1); email R. Maimin
                                                           regarding Warner (0.1); email E. Chafetz regarding social
                                                           media adversary (0 .1); email J . Gusa and E. Morris
                                                           regarding discovery (0.1); review and revise stipulation

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                                                               regarding TRO (1.0); email H . Murtagh and E. Morris
                                                               regarding same (0.2)

03/15/23     CAR                        1.20       2,220 .00 Review settlement response regarding social media TRO

03/15/23     AS                         3.70       6,123 .50 Draft, review, revise status update (0 .7); review settlement
                                                             offer in connection with social media temporary
                                                             restraining order and correspondence with H . Murtagh
                                                             regarding same (0.5) ; telephone conference with A.
                                                             Quartarolo, H . Murtagh regarding same (0 .3); attend
                                                             witness preparation with J. DiDonato (0.7); video
                                                             conference with A. Quartarolo, J. Gusa regarding
                                                             settlement offer (0 .7); further telephone conferences and
                                                             correspondence with S. Parkhurst, J. Gusa regarding same
                                                             (0.5); correspondence with J . Luna regarding same (0 .3)

03/15/23     HKM                        7.60      11,096.00 Revise opposition to stay pending motion to withdraw
                                                            reference (2.7); witness preparation call with J . DiDonato
                                                            (1); call with Latham team and Huron regarding
                                                            temporary restraining order (0.6); review and comment on
                                                            iterations of settlement terms (0.9) ; review and edit revised
                                                            stay opposition motion (2.4)

03/15/23     EAM                        9.50      12,207.50 Draft DiDonato direct outline for Temporary restraining
                                                            order hearing (1.1); meet with Huron in advance of
                                                            Temporary restraining order hearing (1.0); call with
                                                            Monster regarding 2004 notice (1.0) ; call with Debtor
                                                            technology team regarding document collection (0.8);
                                                            Latham correspondence regarding document collection
                                                            (1.3); draft stipulation and order regarding social media
                                                            accounts (1.5) ; revise Consilio statement of work (1.0);
                                                            meet and confer with UCC regarding ESI requests (1.0);
                                                            attend to issues relating to social media accounts (0.8)

03/15/23     JJW                        2.80       3,192.00 Research relating to response to Monster/OBI stay motion
                                                            (0.4) ; review comments to stay response (0.6) ; incorporate
                                                            the same (0.9); review revised response (0.5); continue
                                                            researching issues relating to stay motion (0.4)

03/15/23     DCD                        1.00         960 .00 Meet and confer with PSZJ regarding 2004 deposition
                                                             notices

03/15/23     JWM                        1.40       1,491.00 Review motion to withdraw the reference (0.6); research
                                                            issues related to the same (0.8)

03/15/23     JLT                        3.80       4,047.00 Call with C. Ruiz, C. Silva, J. Maslov, E. Morris, and G.
                                                            Metzger regarding data retention (0.7); prepare for and
                                                            call with Monster counsel regarding 2004 Notices (1.0);
                                                            call with E. Morris regarding discovery (0.3); zoom with
                                                            UCC counsel regarding information requests (0 .8); send
                                                            notes from the same to E. Morris (0.4); attend to

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                                                               correspondence regarding UCC information requests (0.6)

03/16/23     AQ                         3.60       4,896.00 Email and telephone conference with N. Mitchell
                                                            regarding injunction proceedings and evidence (0.7);
                                                            review filings regarding same (0.8); telephone conference
                                                            with Huron regarding can labels (0.4); telephone
                                                            conference with Lowenstein regarding discovery (0.3) ;
                                                            email and telephone conference with A. Sorkin and H .
                                                            Murtagh regarding hearing and adversary proceeding
                                                            (0.5); email J. DiDonato and E. Morris regarding
                                                            stipulation (0.1); review ex parte application to reschedule
                                                            hearing (0 .3) ; email N. Mitchell regarding same (0.1) ;
                                                            review motion to withdraw (0.3); email A. Carpenter
                                                            regarding same (0.1)

03/16/23     PCJ                         .50         667 .50 Research and draft cease and desist letter

03/16/23     HKM                        1.50       2,190 .00 Further revisions to opposition to stay pending motion to
                                                             withdraw reference (0.8); develop strategy for summary
                                                             judgment litigation regarding social media accounts (0.7)

03/16/23     EAM                        2.30       2,955 .50 Call with A. Quartarolo regarding Williams claim and
                                                             Monster 2004 requests (0.4); call with J. Weichselbaum
                                                             regarding Williams claim (0.3); attend to correspondence
                                                             regarding UCC interviews and social media accounts
                                                             (0.7); attend call with UCC and Jonathan Owoc counsel
                                                             regarding depositions (0.1); email to M. Roher regarding
                                                             Williams claim (0 .3); attend to correspondence regarding
                                                             status of matter (0.5)

03/16/23     NTW                        3.80       4,332.00 Coordinate with team regarding trademark cease and
                                                            desist (0 .7); review the cease and desist (0 .3); edit and
                                                            revise non-debtor IP (2 .8)

03/16/23     JJW                        2.30       2,622 .00 Review internal comments to response to Monster/OBI
                                                             stay motion (0.4); incorporate the same (0.3); review
                                                             comments from UCC to same (0 .3); incorporate the same
                                                             (0.3); correspond with Latham team regarding same (0.2);
                                                             review revised draft of response (0.4); research issues
                                                             relating to same (0.4)

03/16/23     JWM                        1.30       1,384 .50 Research issues related to motion to withdraw the
                                                             reference

03/16/23     JLT                         .20         213 .00 Update and file Warner stipulation

03/17/23     GM                          .40         544 .00 Revise letter to ex-CEO regarding cease and desist
                                                             demand for trademark usage

03/17/23     AS                          .40         662 .00 Telephone conference with E. Chafetz regarding
                                                             deposition notices (0.2); telephone conference with A.

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                                                             Quartarolo regarding same (0.2)

03/17-/23    BK                         .20         307- .00 Review cease and desist letter and provide comments

03/17-/23    CH                        6.20       7-,7-50.00 Discuss motion for summary judgment regarding turnover
                                                             of ex-CEO social media accounts with E. Morris (1.1);
                                                             conduct factual and legal research regarding motion for
                                                             summary judgment (3.3); outline motion for summary
                                                             judgment regarding turnover of ex-CEO social media
                                                             accounts (1.8)

03/17-/23    EAM                       4.40       5,654.00 Call with C. Homer regarding social media accounts
                                                           dispute (0.6); prepare filings related to social media
                                                           accounts (2.1); call with A. Quartarolo regarding status of
                                                           matter (0.5); attend to correspondence regarding UCC
                                                           2004 requests (1.2)

03/17-/23    JJW                       1.80       2,052 .00 Revise objection to stay motion to incorporate comments
                                                            (0.6); attention to emails regarding same (0.2); correspond
                                                            with Debtor regarding same (0.2); review Debtor
                                                            comments to same (0.2); finalize response to stay motion
                                                            (0.4); coordinate filing of same (0.2)

03/17-/23    DCD                       2.50       2,400.00 Review defendants' opposition to motion for summary
                                                           judgment on adversary proceeding complaint

03/17-/23    JWM                       8.60       9,159.00 Draft response to motion to withdraw the reference (5.4);
                                                           research issues related to the same (3 .2)

03/17-/23    JLT                       1.80       1,917- .00 Correspond with E . Morris regarding UCC information
                                                             requests (.1); review and prepare documents for
                                                             production (.2); correspond with G. Metzger regarding the
                                                             same (.1); correspond with E. Morris regarding the same
                                                             (.1); correspond with Rothschild to produce documents
                                                             (.1); attend to correspondence regarding 2004 discovery
                                                             (.4); attend to correspondence regarding UCC information
                                                             requests (.6) ; correspond with Consilio regarding data
                                                             pulls (.2)

03/17-/23    CMT                       1.20         588.00 Research regarding objections and response to motion to
                                                           withdraw the reference

03/18/23     AQ                         .60         816 .00 Review and revise demand letter regarding Owoc
                                                            property (0.2); email G. Metzger and J. DiDonato
                                                            regarding same (0.1); email A. Adler, R. Maimin and E .
                                                            Morris regarding diligence and discovery (0.3)

03/18/23     AS                         .50         827- .50 Review Monster/OBI opposition to summary judgment
                                                             motion (0.3); correspondence with team regarding
                                                             thoughts on same (0.2)



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03/18/23     JJW                          .60        684 .00 Review response to summary judgment motion

03/18/23     JWM                        7.60        8,094.00 Draft objection to motion to withdraw the reference (4.3);
                                                             research regarding same (3.3)

03/19/23     AQ                           .30        408.00 Email with E. Morris regarding discovery and adversary
                                                            proceeding (0.2); email J. Luna regarding stipulation and
                                                            passwords (0.1)

03/19/23     HKM                        1.10        1,606.00 Review and comment on opposition to motion to withdraw
                                                             reference (0.9); correspondence with W. Morley regarding
                                                             same (0.2)

03/19/23     CH                         6.20        7,750.00 Prepare first draft of motion for summary judgment and
                                                             permanent injunction regarding turnover of ex-CEO social
                                                             media accounts (4 .8); research regarding same (1.4)

03/19/23     EAM                        3 .70       4,754 .50 Revise pleadings relating to social media accounts

03/19/23     JWM                          .80        852 .00 Revise motion to withdraw the reference

03/20/23     AQ                           .70        952.00 Email J. DiDonato regarding demand letter (0.1); review
                                                            and revise same (0.3); email J . Luna regarding same (0.1);
                                                            email R. Maimin regarding informal interviews (0.2)

03/20/23     AS                         1.00        1,655.00 Review settlement proposal in connection with assignment
                                                             issue (0.2); telephone conference with A. Quartarolo
                                                             regarding same (0.3); telephone conference with G .
                                                             Metzger regarding settlement offer (0.5)

03/20/23     HKM                        5 .90       8,614 .00 Review and edit opposition to withdrawal of reference
                                                              (1.3); Review summary judgment opposition and outline
                                                              reply (3.4); review stay reply and discuss follow-up points
                                                              with Latham team (1.2)

03/20/23     EAM                        5 .50       7,067 .50 Revise motion for summary judgment (3.0); attend to
                                                              correspondence regarding UCC interviews and 2004
                                                              notices (1.5); correspond with Company regarding
                                                              document collection (1.0)

03/20/23     JJW                        1.80        2,052 .00 Review Monster/OBI stay response (0 .7); correspond with
                                                              Latham team regarding same (0.3); research issues
                                                              relating to same (0.8)

03/20/23     DCD                          .90        864.00 Review defendants' opposition to motion for summary
                                                            judgment on adversary proceeding complaint

03/20/23     JWM                        5 .60       5,964 .00 Revise objection to motion to withdraw the reference (2 .7) ;
                                                              research issues related to the same (2 .9)

03/20/23     JLT                        2.10        2,236 .50 Call with Consilio and Debtor regarding data extraction
                                                              (0.5) ; correspond with Consilio regarding data pulls and

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                                                               Relativity (0.3); attend to correspondence regarding 2004
                                                               discovery requests (0.4); review and analyze 2004
                                                               discovery requests (0.9)

03/20/23     CMT                          .90        441.00 Review amended notices of depositions by UCC (0.6);
                                                            update tracker (0.3)

03/21/23     AQ                         5.40        7,344 .00 Email and conference with Board, Rothschild, and Huron
                                                              regarding status and strategy (0.8); email and telephone
                                                              conference with E. Morris and J. Teresi regarding
                                                              diligence and discovery (0 .5); telephone conference with
                                                              Lowenstein regarding same (0.7); telephone conference
                                                              with potential buyer regarding litigation (0 .5); telephone
                                                              conference with Huron and G. Metzger regarding
                                                              pending litigation (0 .5); review injunction briefing (1.1);
                                                              telephone conference with D. Jans sen and G. Metzger
                                                              regarding same (0.4); email J. Luna regarding status and
                                                              stipulation (0.1); review and revise correspondence
                                                              regarding IP and property issues (0.5); email R. Mairnin
                                                              regarding same (0.1); email A. Gupta regarding same (0.2)

03/21/23     CAR                        2.10        3,885.00 Outline Monster settlement strategy and proposal

03/21/23     AS                         2.30        3,806.50 Telephone conference with H. Murtagh regarding stay
                                                             hearing in assignability adversary (0.6); telephone
                                                             conference with A. Quartarolo, H. Murtagh, G. Metzger
                                                             regarding Owoc litigation matters (0.3); telephone
                                                             conference with C. Reckler regarding settlement, lender
                                                             issues (0.2); telephone conference with G. Metzger
                                                             regarding adversary proceeding and potential settlement
                                                             (0.6) ; telephone conference with potential bidder
                                                             regarding adversary proceeding (0.6)

03/21/23     HKM                        5.00        7,300.00 Outlining and prepare arguments for stay hearing (3.0);
                                                             correspondence with J . Weichselbaum, W. Morley
                                                             regarding same (0.4) call with A. Sorkin regarding same
                                                             (0.5); call with potential bidders regarding status of
                                                             litigation (0.6); call with Huron & company regarding open
                                                             litigations (0 .5)

03/21/23     EAM                        6.00        7,710.00 Correspond with G. Bukovi, F. Tilus, and G. Robbins
                                                             regarding UCC letters (0 .7); attend call regarding
                                                             litigation strategy (0.5); meet and confer with UCC (1.0);
                                                             correspond and calls with Consilio and company
                                                             regarding document processing (1.5); call with litigation
                                                             team regarding status of litigation workstreams (0.5);
                                                             review opposition to motion to withdraw reference (1.0);
                                                             call with F. Tilus regarding UCC letter (0.2); coordinate
                                                             logistics for UCC interviews and depositions (0.6)

03/21/23     JJW                        2.20        2,508.00 Review objection to motion to withdraw reference (0.5) ;

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                                                               correspond with team regarding Monster litigation issues
                                                               (0 .5); research relating to same (0.9); correspond with team
                                                               regarding research (0.3)

03/21/23     JWM                        7.30        7,774.50 Research issues related to withdrawal of the reference
                                                             (1.6); revise objection to motion to withdraw the reference
                                                             (3.6) ; research issues related to trademark summary
                                                             judgment pleadings (2 .1)

03/21/23     JLT                        3.20        3,408.00 Attend to correspondence regarding UCC information
                                                             requests (0.3); call with B. Tildon regarding the same (0.1);
                                                             call with E. Morris regarding the same (0.1) ; call with
                                                             Consilio, Debtor, and Latham regarding data collection
                                                             (0.5) ; call with E. Morris and A. Quartarolo regarding the
                                                             same (0 .5); call with the UCC regarding information
                                                             requests (0.7); review and prepare documents for
                                                             production (0.4); attend to correspondence regarding UCC
                                                             information requests (0.6)

03/22/23     AQ                         4 .80       6,528 .00 Email H . Murtagh, J . Gusa and E . Morris regarding
                                                              litigation status and strategy (0.4) ; draft and revise motion
                                                              for contempt order (2.3); email and telephone conference
                                                              with E . Morris regarding same and diligence (0 .5); review
                                                              stay response brief (0.6); email W. Morley regarding same
                                                              (0.1); email J. Luna regarding demand letter (0.1); email S.
                                                              Parkhurst regarding same (0.1); email E. Morris regarding
                                                              subpoenas and discovery (0.3); telephone conference with
                                                              R. Maimin regarding discovery and adversary proceeding
                                                              (0.4)

03/22/23     CAR                        1.60        2,960.00 Calls with A. Sorkin regarding Monster settlement issues
                                                             (0.7); participate in litigation settlement meeting with R.
                                                             Pachulski (0.9)

03/22/23     AS                         3.70        6,123 .50 Correspondence with H. Murtagh regarding hearing
                                                              preparation (0.1); correspondence with team regarding
                                                              potential settlement of adversary (0.2); prepare talking
                                                              points for settlement discussion (0.6); prepare for (0.2) and
                                                              attend telephone conference with R. Pachulski, T . Kapur,
                                                              C. Reckler regarding potential settlement (1.0); follow up
                                                              correspondence with H. Murtagh, A. Quartarolo regarding
                                                              same (0 .5); telephone conference with A. Quartarolo
                                                              regarding same (0.3) ; telephone conference with J. Gusa
                                                              regarding same, bank issues (0.5); correspondence with A.
                                                              Gupta regarding royalty matters

03/22/23     HKM                        1.40        2,044 .00 Discuss social media AP issues with Latham team (0.5);
                                                              call with W. Morley regarding summary judgment reply
                                                              (0.4); review and comment on Summary judgment reply
                                                              outline (0 .5)


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03/22/23     EAM                        2.00        2,570 .00 Draft motion to compel and attend to related
                                                              correspondence (1.3); call with UCC counsel regarding
                                                              document requests and follow up correspondence (0.7)

03/22/23     JJW                        2.10        2,394.00 Research issues for hearing on Monster/OBI stay motion
                                                             (0.7); correspond with H. Murtagh regarding same (0.2);
                                                             edit hearing outline (0.5) ; attention to emails regarding
                                                             settlement proposal (0.3); correspond with team regarding
                                                             same (0.4)

03/22/23     DCD                        3.00        2,880.00 Compile list of admissions/concessions in defendants'
                                                             opposition to motion for summary judgment (1.5); conduct
                                                             supplemental research regarding compulsory licenses and
                                                             ongoing royalties (1.5)

03/22/23     JWM                       10.60       11,289.00 Research issues related to trademark summary judgment
                                                             motion (6.7); draft reply in support of trademark summary
                                                             judgment motion (3 .9)

03/22/23     JLT                          .40        426 .00 Attend to correspondence regarding UCC discovery
                                                             requests

03/23/23     AQ                         8.40       11,424 .00 Telephone conference with A. Sorkin and Huron
                                                              regarding settlement discussions (0.5); correspondence
                                                              with team regarding adversary proceeding ruling (0.5);
                                                              email with E. Morris and J. Teresi regarding discovery
                                                              (0.2) ; email D . Muth regarding injunction hearing (0 .1) ;
                                                              review and revise post-judgment brief (1.7); email with J.
                                                              Weichselbaum regarding claim valuation and related
                                                              issues (0.4); email with A. Carpenter and G. Metzger
                                                              regarding pending litigation (0.3) ; correspondence with
                                                              witnesses regarding subpoenas (0.3); email H . Murtagh
                                                              regarding passwords (0.1); email and telephone
                                                              conference with J. Fischer regarding hearing and social
                                                              media accounts (0.7); email J. Luna regarding same (0.2);
                                                              email A. Gupta regarding asset turnover and related
                                                              correspondence (0 .2); email E. Morris and J . Teresi
                                                              regarding discovery (0.3); email G. Weiner regarding
                                                              Warner (0 .1); review and revise motion for summary
                                                              judgment (2 .6)

03/23/23     CAR                        2.10        3,885.00 Calls regarding Monster settlement with A. Sorkin,
                                                             management team (1.3); listen to ruling in Monster
                                                             adversary (0.8)

03/23/23     AS                         2.60        4,303.00 Video conference with advisors and management
                                                             regarding settlement counterproposal (1.3); draft
                                                             counterproposal (0.3); telephone conference with J. Cohen
                                                             regarding same (0.4) ; telephone conferences with L.
                                                             Lluberas regarding same, bank group issues (0.4); revise
                                                             counterproposal (0.2)

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03/23/23     HKM                        1.00       1,460.00 Call with debtor advisors regarding settlement proposal

03/23/23     EAM                        5.00       6,425.00 Conference with K. Owoc regarding subpoena (1.0);
                                                            conference with R. Owoc regarding subpoena (1.0); revise
                                                            summary judgment motion on social media dispute (0.3);
                                                            prepare for meet and confer with Monster (1.2); revise
                                                            Didonato declaration (1.0)

03/23/23     DCD                        4.50       4,320.00 Conference call with Latham team regarding matter status
                                                            and strategy (0.5); conduct supplemental research for
                                                            reply to opposition to motion for summary judgment (4.0)

03/23/23     AAH                        2.50       2,662 .50 Strategize and correspond regarding potential trademark
                                                             arguments for reply in support of motion for summary
                                                             judgment (0.4); research and analyze case law in support
                                                             of same (2.1)

03/23/23     JWM                       16.60      17,679.00 Research issues related to reply in support of trademark
                                                            summary judgment motion (5.8); draft reply in support of
                                                            trademark summary judgment motion (10.8)

03/23/23     JLT                         .40         426.00 Attend to correspondence regarding UCC information
                                                            requests

03/24/23     AQ                         3.60       4,896 .00 Email and telephone conference with E. Morris regarding
                                                             2004 discovery (0 .6); telephone conference with R.
                                                             Feinstein, E. Morris and J. Teresi regarding same (0.5);
                                                             email with J . Gusa regarding J. Owoc issues (0.3); prepare
                                                             for and attend telephone conference with J. Gellar, J.
                                                             Fischer, A. Sorkin, J . Gusa, C. Reckler and H . Murtagh
                                                             regarding social media and related issues (0.8);
                                                             correspondence with team regarding same (0.3);
                                                             correspondence with S. Parkhurst and C. Weronik
                                                             regarding social media content (0.5); email J. Teresi
                                                             regarding K. Cole deposition transcript (0.1); email with R.
                                                             Maimin regarding 2004 discovery (0.2) ; email and
                                                             telephone conference with J . Gusa and L. Blanco
                                                             regarding same (0.3)

03/24/23     CAR                         .50         925 .00 Call with counsel to J . Owoc regarding adversary status

03/24/23     AS                         2.30       3,806.50 Telephone conference with I. Kharasch regarding
                                                            settlement discussions (0.3); telephone conference with H.
                                                            Murtagh regarding reply brief (0.2); telephone conference
                                                            with I. Kharasch, H. Parkhill regarding settlement issues
                                                            (0.5); follow up telephone conference with H. Parkhill
                                                            (0.2); prepare update to board regarding same and follow
                                                            up correspondence (0.5); video conference with new
                                                            counsel to Mr. Owoc, C. Reckler, A. Quartarolo, H.
                                                            Murtagh regarding Temporary restraining order and
                                                            related requests (0.6)

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03/24/23     HKM                        4 .00       5,840.00 Revisions to summary judgment reply brief (2.5) ; calls with
                                                             W. Morley regarding same (0.6); correspondence with J .
                                                             Weichselbaum regarding same (0.4); correspondence with
                                                             team regarding Monster/OBI settlement construct (0.5)

03/24/23     EAM                        3.00        3,855.00 Call with G. Bukovi regarding UCC requests (0.6); calls
                                                             and correspondence with Company IT and Consilio
                                                             regarding data collection (0.6); meet and confer with
                                                             Monster regarding 2004 requests (1.0); correspond with J.
                                                             Teresi in follow up to Monster meet and confer (0.8)

03/24/23     JJW                        2.50        2,850 .00 Review reply to summary judgment (0 .5); emails
                                                              regarding same (0 .2); review revised reply (0.6); comment
                                                              on same (0.9); review UCC comments to same (0.3)

03/24/23     DCD                        4.30        4,128.00 Meet and confer with Monster counsel (0.9); review reply
                                                             to opposition to motion for summary judgment draft (0.5);
                                                             conduct supplemental research for reply to opposition to
                                                             motion for summary judgment (2.9)

03/24/23     JWM                       13.50       14,377.50 Draft and revise trademark summary judgment reply (7.0);
                                                             research issues related to the same (6.1) correspond with
                                                             H . Murtagh regarding reply (0.4);

03/24/23     JLT                        3.60        3,834 .00 Call with E. Morris regarding UCC information requests
                                                              and data pulls (1.0); attend to correspondence regarding
                                                              email data pulls (.8); review documents in preparation for
                                                              production to UCC (1.3); continue to attend to
                                                              correspondence regarding UCC information requests (.5)

03/25/23     YM                          .10          153.50 Emails with Latham team regarding Monster settlement

03/25/23     AQ                         2.00        2,720 .00 Review settlement proposals and related correspondence
                                                              (0.2); conference with Huron, A. Sorkin, J. Gusa and H.
                                                              Murtagh regarding same (0.5); email J. Fischer regarding
                                                              social media post and court order (0.2); email with E.
                                                              Morris regarding discovery and status (0.4); review related
                                                              correspondence and motion to compel (0 .6); email E.
                                                              Morris and J. Teresi regarding same (0.1)

03/25/23     CAR                        2.10        3,885.00 Participate in multiple calls regarding Monster settlement

03/25/23     AS                         7.00       11,585.00 Telephone conference with G . Metzger, Huron,
                                                             Rothschild, Latham regarding response to settlement (2.1);
                                                             telephone conference with L. Lluberas regarding same
                                                             (0.5); telephone conference with J. Cohen regarding same
                                                             (0.5) ; further discussions regarding settlement issues (0.4) ;
                                                             telephone conference with L. Lluberas regarding same
                                                             (0.2) ; telephone conference with Pachulski, Evercore,
                                                             Rothschild regarding sale and settlement issues (1.2);
                                                             telephone conference with H. Parkhill, J. Arrastia

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                                                               regarding same (0 .3) ; video conference with G . Metzger,
                                                               Huron, Rothschild, Latham regarding same (1.1);
                                                               telephone conference with S. Panagos regarding same
                                                               (0.3); telephone conference with Monster/OBI advisors
                                                               regarding royalty issues (0.3); follow up correspondence
                                                               with team (0.1)

03/25/23     HKM                        2.80        4,088 .00 Call with advisors regarding Monster/OBI settlement
                                                              proposals (1.5); follow-up call regarding same (0.9)

03/25/23     EAM                        1.90        2,441.50 Revise summary judgment motion (0.5); prepare for UCC
                                                             interviews (0.9); attend to correspondence regarding data
                                                             collection (0.5)

03/25/23     JLT                        4 .50       4,792 .50 Attend to correspondence regarding UCC information
                                                              requests (0.6); draft interview preparation outline for S.
                                                              Rodriguez, F. Tilus, and G . Robbins (3 .9)

03/26/23     AQ                         1.80        2,448.00 Email and telephone conference with Huron, J. Gusa, A.
                                                             Sorkin and H. Murtagh regarding settlement discussion
                                                             (0.6); telephone conference with Board regarding same
                                                             (0.6) ; email and telephone conference with A. Sorkin, B.
                                                             Kaplan and D. Mun regarding status (0 .3); review
                                                             settlement proposal (0.2); email A. Sorkin regarding same
                                                             (0.1)

03/26/23     AS                         3.50        5,792 .50 Prepare for (0.3) and call with management/advisors
                                                              regarding settlement state of play (0.5); video conference
                                                              with board, advisors, management regarding same (1.2) ;
                                                              telephone conference with E . Chafetz regarding same
                                                              (0.3); telephone conference with H. Murtagh, Monster,
                                                              OBI and IP counsel regarding potential royalty assignment
                                                              terms (0.4); telephone conference with H . Murtagh
                                                              regarding same (0.1) ; telephone conference with I.
                                                              Kharasch regarding same (0 .2); telephone conference with
                                                              L. Lluberas regarding same, settlement generally (0.5)

03/26/23     HKM                        1.40        2,044 .00 Call with OBI counsel regarding consent dispute (0.5);
                                                              follow up with A. Sorkin (0.4); direct hearing preparation
                                                              workstreams (0.5)

03/26/23     EAM                        5.40        6,939 .00 Teleconference with Consilio regarding data collection
                                                              (1.0); revise summary judgment motion (1.3); prepare for
                                                              UCC interviews (2.2); analyze UCC notice of deposition
                                                              and document requests (0.9)

03/26/23     JWM                        4 .80       5,112 .00 Research issues related to assignment of trademark
                                                              licenses

03/26/23     JLT                        4 .80       5,112 .00 Call with Consilio, Debtor, and Latham teams regarding
                                                              data pulls (0.4); revise interview preparation outline for S.

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                                                               Rodriguez, F. Tilus, and G . Robbins (1.3); draft interview
                                                               preparation outline for G. Bukovi (1.4); research case law
                                                               support for adversary proceeding summary judgment
                                                               motion (1.2); attend to correspondence regarding UCC
                                                               information requests (0.5)

03/27/23     AQ                         2.20        2,992 .00 Review and revise interview prep outlines (1.0); email
                                                              with E. Morris and J. Teresi regarding discovery and
                                                              document collection (0.5); attend interview prep meeting
                                                              with F. Tilus (0.5); review correspondence (0 .2)

03/27/23     AS                         2.70        4,468 .50 Correspondence with R. Pachulski, H. Murtagh, C.
                                                              Reckler regarding settlement proposal (0.5); further
                                                              correspondence with I. Kharasch regarding same (0.8);
                                                              follow up telephone conferences with H . Murtagh, others
                                                              regarding same (0.6) ; telephone conference with R.
                                                              Pachulski regarding settlement (0.4); correspondence with
                                                              team regarding same/clarification to proposal (0.1);
                                                              telephone conference with L. Lluberas regarding same
                                                              (0.3)

03/27/23     HKM                        2.00        2,920 .00 Discuss settlement proposal with Latham team (0.2) ;
                                                              building deck for summary judgment hearing (0.2); review
                                                              revised Owow summary judgment brief (0.5); attention to
                                                              status conference for same (0.4); discuss revised
                                                              settlement proposal with A. Sorkin (0.3); attention to Owoc
                                                              adversary status and scheduling (0.4)

03/27/23     EAM                       11.00       14,135.00 Revise motion for summary judgment on social media
                                                             issues (3.0); prepare for meeting with G. Bukovi (1.5);
                                                             meet with S. Rodriguez in preparation for UCC interview
                                                             (2.0); meet with F. Tilus in preparation for UCC interview
                                                             (1.5); call with A. Quartarolo regarding status and
                                                             scheduling (0.9); conference with Company regarding
                                                             document collection (0.5); correspondence with Consilio
                                                             regarding data processing (0.3); attend WIP call (0.3) ;
                                                             analyze UCC motions to compel (0.5); review Owoc
                                                             motion for extension of time (0.2); review response to
                                                             Williams motion for late claim (0.3)

03/27/23     JJW                          .40        456.00 Review motion for summary judgment in social media
                                                            adversary proceeding

03/27/23     DCD                          .30        288 .00 Coordinate K. Cole deposition designations with Latham
                                                             team

03/27/23     JLT                        6.30        6,709 .50 Call with A. Gupta, S. Rodriguez, E . Morris, and F. Tilus
                                                              regarding UCC information request (0.5); prepare for
                                                              interview preparation with F. Tilus (0.5); interview
                                                              prepare with F . Tilus (1.6); correspond with D. Dunn
                                                              regarding confidentiality designations (0.3); call with E.

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                                                               Morris regarding summary judgment motion (0.3); prepare
                                                               for and attend interview preparation session with S.
                                                               Rodriguez, E. Morris, and G. Metzger (2.0) ; attend to
                                                               correspondence regarding UCC information requests (0.6);
                                                               review and revise summary judgment motion in Owoc
                                                               adversary complaint (0.5)

03/28/23     AQ                         2.80        3,808.00 Email and telephone conference with D. Muth and D .
                                                             Janssen regarding post-verdict activity (0.4); attend
                                                             preparation calls with G . Robbins and G. Bukovi
                                                             regarding interviews (1.4); review motion for leave to
                                                             withdraw (0.3); email J. Strasser regarding same (0.1) ;
                                                             email J. Gusa and H. Murtagh regarding social media
                                                             adversary proceeding and related motion (0 .2); email E.
                                                             Morris and J. Teresi regarding document review (0.2);
                                                             email and telephone conference with G. Weiner regarding
                                                             Warner (0 .2)

03/28/23     AS                         5.90        9,764.50 Prepare for hearing/draft talking points (0.6); telephone
                                                             conference with J . Cohen regarding settlement
                                                             discussions (0.4); telephone conference with H. Parkhill
                                                             regarding same (0.4); video conference with Pachulski,
                                                             Hueston Hennigan, MVA, Lowenstein, J. DiDonato, H.
                                                             Parkhill regarding settlement discussions (1.3); conference
                                                             with H . Parkhill, G . Metzger, J. DiDonato regarding
                                                             potential counterproposal and draft same (1.5);
                                                             correspondence with J . Cohen regarding same (0.2); video
                                                             conference with Pachulski, Lowenstein, MV A, Klee
                                                             regarding same (1.0) ; revise script for hearing (0 .5)

03/28/23     HKM                        6.50        9,490.00 Attention to exhibits and register for summary judgment
                                                             hearing (0.4); preparing exhibits and argument for
                                                             summary judgment hearing (3.0); calls with debtor
                                                             advisors, Monster/OBI and UCC regarding trademark
                                                             settlement (2.5); discuss same with A. Sorkin (0.6)

03/28/23     EAM                        7.00        8,995 .00 Update spreadsheet of documents produced to committee
                                                              (1.0); correspond with Consilio regarding review database
                                                              (1.3); correspond with Latham team in preparation for
                                                              summary judgment argument (1.6); conference with
                                                              Latham and Consilio teams regarding data processing
                                                              (0.5); compile documents for production (1.0); review
                                                              documents (1.6)

03/28/23     JJW                        2.10        2,394.00 Review pleadings in district court litigation (0 .8); prepare
                                                             response to stay motion in district court (1.1); attention to
                                                             emails regarding same (0.2)

03/28/23     DCD                          .90        864 .00 Review K. Cole deposition and exhibits

03/28/23     JLT                        5.90        6,283.50 Prepare and conduct interview preparation session with

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                                                              G . Bukovi (1.1); prepare and conduct interview
                                                              preparation session with G. Robbins (1.2); attend interview
                                                              preparation conference with G. Bukovi and E. Morris (1.5);
                                                              attend conference call with Consilio and Debtor regarding
                                                              data collection (0.5); review documents (1.7)

03/29/23     AQ                        4 .10       5,576.00 Review court ruling on motion to stay (0.2) ;
                                                            correspondence with team regarding same (0.3); email
                                                            with J. Teresi and E. Morris regarding discovery and
                                                            document review (0.4); review documents regarding
                                                            distributions (1.7); review license and related documents
                                                            (0.5); email A. Gupta regarding same (0.2); email D. Muth
                                                            regarding sales process (0.1); email and telephone
                                                            conference with J. Luna regarding status (0.2); email J.
                                                            Gusa regarding same (0.1); telephone conference with G .
                                                            Metzger regarding Balboa (0.3) ; email Jenner regarding
                                                            Gulfstream (0 .1)

03/29/23     HKM                        .50         730.00 Discuss district court stay issues with A. Sorkin

03/29/23     EAM                       3.20        4,112.00 Coordinate document review with Consilio and Latham
                                                            teams (0.6); process documents responsive to UCC
                                                            requests (1.0); review documents for responsiveness to
                                                            UCC requests (1.6)

03/29/23     JLT                       9.20        9,798.00 Review documents related to UCC discovery requests

03/29/23     JLT                       3.20        3,408.00 Travel to Florida to attend hearing

03/30/23     AQ                        2.30        3,128.00 Review and revise motion for summary judgment (0.7);
                                                            email H. Murtagh, E. Morris and W. Morley regarding
                                                            same (0 .3); email E. Morris and J. Teresi regarding
                                                            document review (0 .2); email with D. Hurtes and G .
                                                            Metzger regarding motion to withdraw and related issues
                                                            (0.3); review and revise same (0 .3); email R. Maimin
                                                            regarding discovery (0.2); email C. Weronik and E.
                                                            Polanco regarding social media posts (0 .3)

03/30/23     HKM                       1.40        2,044.00 Review and revise Owoc summary judgment draft (0.7);
                                                            discuss strategy and evidence issues with Latham team
                                                            (0.7)

03/30/23     EAM                      10.00       12,850.00 Prepare for and attend UCC interview of G . Bukovi (4.5);
                                                            review documents for responsiveness to UCC's requests
                                                            (5.5)

03/30/23     JWM                        .40         426 .00 Correspond with H . Murtagh and E. Morris regarding
                                                            social media summary judgment motion (0.4)

03/30/23     JLT                      13 .80      14,697 .00 Prepare for and attend interview of G. Bukovi (4.7); review
                                                             documents (9.1)

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03/31/23     AQ                         2.40        3,264 .00 Email with E. Morris and J. Teresi regarding discovery
                                                              and interviews (0.4); review and revise motion for
                                                              summary judgment and related materials (1.0);
                                                              correspondence with team regarding filing and service
                                                              (0.5); email and telephone conference with A. Sorkin, D.
                                                              Mun and B. Kaplan regarding IP issues (0.4); email J.
                                                              DiDonato and S. Parkhurst regarding same (0.1)

03/31/23     KAR                        1.00        1,360.00 Attention to Monster antitrust matters (0.2); related
                                                             discussions with Monster antitrust counsel and Latham
                                                             team (0.4) ; review relevant data room materials (0.4)

03/31/23     AS                           .10         165.50 Correspondence with H. Murtagh regarding
                                                             adversary/stay (0.1)

03/31/23     HKM                        1.60        2,336.00 Attention to filing Owoc summary judgment briefing (0.6);
                                                             correspondence with J . Gusa, A. Sorkin regarding district
                                                             court proceedings (0 .5); correspondence with Monster
                                                             counsel regarding same (0.5)

03/31/23     EAM                       13.60       17,476.00 Prepare for and attend G. Robbins interview (5.0); meet
                                                             with S. Rodriguez in advance of interview (0.5); attend S.
                                                             Rodriguez interview (2 .0); revie documents for
                                                             responsiveness to UCC requests (6.1)

03/31/23     DCD                        1.80        1,728.00 Designate highly confidential sections of K. Cole
                                                             deposition

03/31/23     JWM                        5.40        5,751.00 Review and revise social media summary judgment
                                                             motion (4 .6); prepare the same for filing (0.8)

03/31/23     JL T                      12.60       13,419.00 Prepare for and attend interview of G. Robbins (4.3);
                                                             prepare for and attend interview of S. Rodriguez (3 .6);
                                                             review documents (4.7)



Attorney:

CA Reckler                    11.40      Hrs.@        $ 1,850.00/hr.            $21,090 .00
A Sorkin                      41.00      Hrs.@        $ 1,655.00/hr.            $67,855 .00
YMun                             .60     Hrs.@        $ 1,535.00/hr.               $ 921.00
G Mahmood                        .40     Hrs.@        $ 1,360.00/hr.               $ 544.00
A Quartarolo                 101.10      Hrs.@        $ 1,360.00/hr.          $137,496.00
KA Rocco                        1.50     Hrs.@        $ 1,360.00/hr.             $2,040.00
B Kaplan                        1.00     Hrs.@        $ 1,535.00/hr.             $1,535.00
HK Murtagh                    65.30      Hrs.@        $ 1,460.00/hr.            $95,338.00


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PC Justman                        .50     Hrs.@       $ 1,335.00/hr.              $ 667.50
EA Morris                     141.10      Hrs.@       $ 1,285.00/hr.          $181,313.50
M J Grindle                       .40     Hrs.@       $ 1,250.00/hr.              $ 500.00
C Homer                         12.40     Hrs.@       $ 1,250.00/hr.           $15,500.00
W Schildknecht                    .30     Hrs.@       $ 1,250.00/hr.              $ 375.00
NT Wages                         3.80     Hrs.@       $ 1,140.00/hr.            $4,332.00
J J Weichselbaum               36.60      Hrs.@       $ 1,140.00/hr.           $41,724.00
AA Herrera                       2.50     Hrs.@       $ 1,065.00/hr.            $2,662.50
JWMorley                      110.30      Hrs.@       $ 1,065.00/hr.          $117,469.50
J L Teresi                    100.30      Hrs.@       $ 1,065.00/hr.          $ 106,819.50
DC Dunn                         19.80     Hrs.@        $ 960.00/hr.            $19,008.00
                              650.30                                          $817,190.50

Other:

NA Gulati                        1.40     Hrs.@        $ 830.00/hr.             $1,162.00
CM Tarrant                       4.10     Hrs.@        $ 490.00/hr.             $2,009.00
                                 5.50                                           $3,171.00

GRAND TOTAL:                  655.80                                          $ 820,361.50




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Matter Name: Meetings and Communication with Creditors


Date         Timekeeper                           Amount Description

03/03/23     YLB                        .60         150 .00 Prepare for and attend pre-lender call

03/08/23     AS                         .40         662.00 Conference with J. Cohen, L. Lluberas regarding situation
                                                           update and potential developments

03/10/23     AS                        2.20       3,641.00 Pre-call with advisor team, management regarding lender
                                                           call (0.3); telephone conference with FTI, MVA, J. Silver
                                                           regarding board/CEO developments and next steps (0 .6);
                                                           attend weekly bank group call (0.6); correspondence with
                                                           L. Lluberas, B. Gelfand regarding change of control issues
                                                           (0.1)

03/16/23     AS                         .60         993 .00 Attend weekly bank group update call (0 .3); participate in
                                                            same (0.3)

03/24/23     AS                         .50         821.50 Attend weekly bank group call

03/31/23     AS                        1.00       1,655.00 Internal preparation call with Huron, management for
                                                           bank group call (0.5); attend bank group call (0.5)



Attorney:

A Sorkin                       4.10     Hrs.@       $ 1,655.00/hr.            $1,118.50
Y L Burton                      .60     Hrs.@       $ 1,250.00/hr.              $150.00
                               5.30                                           $8,528.50




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Matter Name: Non-Working Travel


Date         Timekeeper               Hours        Amount Description

03/01/23     AQ                        4 .20       2,856 .00 Travel to Ft. Lauderdale for hearing on discovery motion

03/02/23     AQ                        4.20        2,856.00 Travel from Ft. Lauderdale to Los Angeles

03/08/23     HKM                       3.00        2,190.00 Travel NY - FLL for meetings and 3/9 hearing

03/10/23     HKM                       3.40        2,482.00 Return travel FLL - New York

03/21/23     HKM                       2.30        1,679.00 Travel to FLL for 3/22 hearing

03/23/23     HKM                       2.80        2,044 .00 Return travel for 3/23 FLL hearing

03/28/23     AS                        2.80        2,317 .00 Non-working portion of travel to Fort Lauderdale for
                                                             summary judgment hearing

03/28/23     HKM                       2.00        1,460.00 Travel to FLL for 3/28 hearing

03/29/23     AS                        3.00        2,482 .50 Non-working portion of return travel from Fort Lauderdale

03/29/23     HKM                       3.30        2,409.00 Return travel from FLL

03/29/23     EAM                       6.00        3,855.00 Travel to FL for UCC interviews

03/31/23     EAM                       3.50        2,248 .75 Travel home from UCC interviews

03/31/23     JLT                       3.20        1,704 .00 Travel from Florida to Los Angeles following hearing



Attorney:

A Sorkin                       5.80     Hrs.@         $ 827 .50/hr.           $4,799.50
A Quartarolo                   8.40     Hrs.@         $ 680.00/hr.            $5,712.00
HK Murtagh                    16.80     Hrs.@         $ 730.00/hr.           $12,264.00
EA Morris                      9.50     Hrs.@         $ 642.50/hr.            $6,103.75
J L Teresi                     3.20     Hrs.@         $ 532.50/hr.            $1,704.00
                             43.70                                           $30,583.25




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Matter Name: Plan and Disclosure Statement


Date         Timekeeper               Hours       Amount Description

03/13/23     AS                         .40         662 .00 Draft email to B. Rosen regarding plan contents, respond
                                                            to inquiries regarding same

03/14/23     JWM                        .50         532 .50 Call with N . Gulati regarding disclosure statement motion

03/14/23     NAG                        .50         415.00 Telephone conference with W . Morley discussing
                                                           disclosure schedule motion (0.4); correspond with C.
                                                           Tarrant regarding disclosure schedule motions (0.1)

03/14/23     CMT                       1.10         539 .00 Research regarding disclosure statement solicitation
                                                            motion

03/16/23     BSR                       1.10       1,254 .00 Draft plan

03/16/23     CMT                       2.30       1,127 .00 Research regarding plan, disclosure statement and motion
                                                            to approve same

03/17/23     JWM                        .30         319.50 Review precedent documents related to plan and
                                                           disclosure statement

03/17/23     NAG                        .80         664 .00 Draft disclosure statement motion

03/19/23     BSR                       1.40       1,596.00 Review and revise draft of plan

03/20/23     BSR                       1.30       1,482.00 Review and revise draft of plan

03/21/23     BSR                        .20         228.00 Correspondence regarding plan

03/21/23     NAG                        .60         498.00 Draft exclusivity motion

03/30/23     NAG                        .60         498 .00 Draft exclusivity extension motion

03/31/23     JJW                        .40         456.00 Discuss plan exclusivity with N. Gulati

03/31/23     NAG                       2.40       1,992.00 Telephone conference with B. Rosen and J. Weichselbaum
                                                           discussing exclusivity motion (0.3) ; draft exclusivity
                                                           motion (2 .1)



Attorney:

A Sorkin                        .40     Hrs.@       $ 1,655.00/hr.              $ 662.00
BS Rosen                       4.00     Hrs.@       $ 1, 140.00/hr.           $4,560.00
J J Weichselbaum                .40     Hrs.@       $ 1,140.00/hr.              $ 456.00
J W Morley                      .80     Hrs.@       $ 1,065.00/hr.              $ 852.00
                               5.60                                           $6,530.00




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Other:

NA Gulati                        4.90     Hrs.@        $ 830.00/hr.             $4,067.00
CM Tarrant                       3.40     Hrs.@        $ 490.00/hr.             $1,666.00
                                 8.30                                           $5,733.00

GRAND TOTAL:                    13.90                                          $12,263.00




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Matter Name: Tax


Date         Timekeeper                           Amount Description

03/08/23     LK                         .10         120.50 Internal email correspondence regarding tax analysis

03/30/23     JJW                        .40         456.00 Correspond with Debtor regarding payment of taxes



Attorney:

L Kutilek                       .10     Hrs.@       $ 1,205.00/hr.              $ 120.50
J J Weichselbaum                .40     Hrs.@       $ 1, 140.00/hr.             $ 456.00
                                .50                                             $ 576.50




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                                                                   Tel: +1.202.637 .2200 Fax: +1.202.637 .2201
                                                                   www.lw.com
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  INVOICE                                                        Please identify your payment with the following·

                                                                 Invoice No. 2300305436
  May 22, 2023                                                   Matter Number 072624-1001

                                                                 Tax Identification No.: XX-XXXXXXX

  Vital Pharmaceuticals, Inc.
  1600 N. Park Drive
  Weston, FL 33326
  Attn: Gregg Metzger




  For professional services rendered through April 30, 2023

                                                                              Services               Costs               Total
  Asset Dispositions                                                      390,514.00                                390,514.00
  Automatic Stay                                                             2,823.00                                 2,823.00
  Business Operations                                                        6,272.00                                 6,272.00
  Case Administration                                                      73,675.50                                 73,675.50
  Claims Administration and Objections                                     16,740.00                                 16,740.00
  Corporate Governance & Board Matters                                    108,358.00                                108,358.00
  Employee Benefits and Pensions                                             2,192.50                                 2,192.50
  Employment and Fee Applications                                          14,060.00                                 14,060.00
  Financing and Cash Collateral                                              9,776.50                                 9,776.50
  Hearings                                                                 59,444.00                                 59,444.00
  Leases and Contracts                                                    119,496.50                                119,496.50
  Litigation                                                              692,137.00                                692,137.00
  Meetings and Communication with Creditors                                  3,107.50                                 3,107.50
  Non-Working Travel                                                         6,496.50                                 6,496.50
  Plan and Disclosure Statement                                            21,471.00                                 21,471.00
  Tax                                                                           292.00                                  292.00
  Total Services and Costs                                             1,526,856.00                   0.00       $1,526,856.00




  Total Due                                                                                                      $ 1,526,856.00



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Date         Timekeeper                             Amount Description

04/02/23     LS                         3.30        3,514 .50 Attend call with Debtors, Rothschild and Latham teams
                                                              regarding Bang mark IP matters (1.1); attend call with
                                                              Latham team regarding Bang mark IP matters (0.6); attend
                                                              call with B. Kaplan regarding Bang mark IP license issues
                                                              (0.4); draft issues list (1.2)

04/03/23     AK                         4 .00       6,480 .00 Continued analysis regarding IP provisions (3.2) ; attend
                                                              call with Latham team regarding same (0.8)

04/03/23     YM                         4 .30       6,600 .50 Call with Latham team regarding transaction process (0.3);
                                                              call with Latham team regarding IP matters (0.5); call with
                                                              bidder regarding IP matters (0.5); call with bidder
                                                              regarding IP matters (0.5); call with bidder counsel
                                                              regarding IP matters (1.3) ; internal call with Latham team
                                                              regarding IP matters (0.7); attention to emails regarding
                                                              NDAs and data room upload questions (0.5) ; internal call
                                                              with Latham team regarding IP matters (0.7)

04/03/23     CAR                         .40         740.00 Call with A. Sorkin regarding sale issues

04/03/23     KAR                        1.40        1,904.00 Prepare for and attend call with bidder's counsel (0.6);
                                                             review data room materials and discuss with D. Tifft (0.8)

04/03/23     AS                         3.80        6,289.00 Prepare issues list for transaction documents (0.3); video
                                                             conference with T. Klein, A. Singh, N. Wages, D . Mun
                                                             regarding same (0.5); conference with bidders and counsel
                                                             regarding bid issues (1.3); conference with D. Mun, B.
                                                             Kaplan regarding potential settlement (0 .5); prepare
                                                             analysis of options regarding same (0.4); telephone
                                                             conference with J . Cohen regarding same (0.3); telephone
                                                             conference with L. Lluberas regarding same, sale process
                                                             (0.5)

04/03/23     ASB                         .70         934.50 Review and analyze request for consent/ license for
                                                            foreign trademark application (0 .3); correspondence
                                                            regarding same (0.1) ; review and analyze non-debtor IP
                                                            summary and for distribution to bidders (0.3)

04/03/23     BK                         2.80        4,298.00 Coordinate bidder calls on transaction status (0.3);
                                                             telephone conference with D. Mun regarding open items
                                                             and next steps regarding sale (0.3); telephone conference
                                                             with N . Wages regarding IP considerations (0.3);
                                                             telephone conference with T. Kim regarding bidder NDA
                                                             (0.1); review and consider NDA joinder (0.1); video
                                                             conference with bidder, Rothschild, counsel and Latham
                                                             regarding transaction progress (0.5); video conference
                                                             with Hueston, Knobbe and Latham regarding IP queries
                                                             (0.3); telephone conference with D. Mun regarding open
                                                             items (0 .1); telephone conference with D. Mun and A.
                                                             Sorkin regarding alternative structures (0 .5); review and
                                                             consider alternative structures (0.3)

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Date         Timekeeper                            Amount Description

04/03/23     ARS                       4 .00       5,340 .00 Attend calls regarding trademark issues (0.6); revise
                                                             transaction document (3.4)

04/03/23     DCT                       3.50        4,147.50 Attend Board meeting to discuss competitive sensitivities
                                                            in documents (1.0); prepare for and participate in call with
                                                            bidder's counsel regarding Clean Team (1.1); analyze
                                                            documents in Clean Team room for potential downgrade
                                                            (1.1); analyze Clean Team Addendum and NDA for bidder
                                                            and suggest edits to same (0.3)

04/03/23     NTW                       6.90        7,866.00 Correspondence with Latham team regarding transaction
                                                            documents, calls with bidders and board call (1.5); prepare
                                                            for and attend telephone conference with Latham team
                                                            regarding transaction documents (1.4); attend telephone
                                                            conference with bidders regarding transaction documents
                                                            (1.6); prepare for and attend telephone conference with
                                                            board regarding non-debtor IP and transaction documents
                                                            (1.8); prepare to revise transaction documents (0 .6)

04/03/23     JJW                        .70         798 .00 Participate in call with potential bidder (0 .5); follow up call
                                                            with A. Sorkin (0.1); correspond with bidder regarding
                                                            potential bid (0.1)

04/03/23     TK                        3.20        3,408.00 Review and revise non-disclosure agreement joinder and
                                                            clean team agreements

04/03/23     SPM                       3.90        3,744 .00 Research potential bidder (2.9); review documents for
                                                             clean team treatment for potential bidder (0.8); email D.
                                                             Tifft regarding same (0.2)

04/03/23     LS                         .90         958.50 Attend call with Latham team regarding issues list (0.5);
                                                           update issues list (0.4)

04/04/23     AK                         .20         324.00 Correspond with team regarding revisions to transaction
                                                           documents

04/04/23     YM                         .50         767 .50 Emails with Latham team and Rothschild regarding
                                                            transaction documents, NDAs and data room uploads

04/04/23     AS                        2.10        3,475.50 Correspondence with B. Kaplan, Rothschild, others
                                                            regarding settlement proposal (0.3); telephone conference
                                                            with H. Parkhill regarding same (0.4); telephone
                                                            conference with bidder counsel regarding same (0.2);
                                                            follow up correspondence with B. Kaplan, Rothschild
                                                            regarding same (0.3); telephone conference with S.
                                                            Gruendel regarding sale timeline, budget matters (0.4);
                                                            telephone conference with H . Parkhill regarding same
                                                             (0.5)

04/04/23     BK                         .20         307.00 Review and revise bidder NDA and CTA



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04/04/23     ARS                          .30        400 .50 Revise transaction documents

04/04/23     DCT                        1.60        1,896.00 Analyze files in data room to determine appropriateness of
                                                             sharing with bidder (0.8); summarize determinations on
                                                             Clean Team treatment (0.4); analyze bidder and edit
                                                             competitive assessment of VPX relative to bidder (0.4)

04/04/23     NTW                        5.10        5,814 .00 Correspondence with Latham team regarding transaction
                                                              document, arbitration award and settlement agreement,
                                                              non-debtor IP deck and issues list (0.6); edit and revise
                                                              issues list (0.8); review bidder comments to transaction
                                                              document (0.6) ; edit and revise transaction document (2.8) ;
                                                              review non-debtor IP deck (0.3)

04/04/23     JJW                        2.10        2,394 .00 Review IOI (0.2); correspond with Latham team and
                                                              bidder regarding same (0.2); update sale objection chart
                                                              (0.6) ; review sale objections (0.6) ; correspond with team
                                                              regarding same (0 .2); email client regarding sale order
                                                              language (0.3)

04/04/23     TK                         3.30        3,514.50 Review and revise non-disclosure agreement joinders and
                                                             clean team agreements

04/04/23     SPM                          .40        384.00 Email K. Rocco regarding antitrust assessment of potential
                                                            bidder

04/04/23     LS                         3.50        3,727.50 Attend call with B. Kaplan regarding IP issues list (0.5);
                                                             revise issues list (1.2); review files proposed to be
                                                             uploaded to data room for accuracy and corporate law
                                                             issues (1.8)

04/05/23     YM                         2.20        3,377.00 Review and revise transaction document (1.5); emails with
                                                             Latham team regarding NDAs, data room uploads and
                                                             transaction document (0.7)

04/05/23     KAR                        1.00        1,360.00 Review and provide comments on clean team questions
                                                             (0.7); review antitrust risk assessment for bidder (0.3)

04/05/23     AS                         1.80        2,979.00 Review and revise transaction document (0.3); telephone
                                                             conference with H . Murtagh and further revise same (0.8);
                                                             telephone conference with L. Lluberas regarding same
                                                             (0.4); telephone conference with S. Panagos regarding
                                                             same (0 .3)

04/05/23     BK                           .90       1,381.50 Review transaction document and comments (0.5);
                                                             coordinate, review and consideration of bidder NDA (0.1);
                                                             telephone conference with L. Sievert regarding due
                                                             diligence and data room (0.1); review and consider emails
                                                             regarding data room, due diligence and related items (0.2)

04/05/23     ARS                        1.30        1,735.50 Further revise transaction document


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04/05/23     NTW                        4 .00       4,560 .00 Review comments to transaction document (0.9) ; edit and
                                                              revise the same (3 .1)

04/05/23     TK                           .80        852 .00 Revise non-disclosure agreement, joinder to non-
                                                             disclosure agreement and clean team agreements

04/05/23     SPM                          .60        576.00 Review email from D. Tifft and email K. Rocco regarding
                                                            additional potential bidder and summary of antitrust
                                                            issues

04/05/23     LS                         2.20        2,343.00 Analyze documents to be uploaded to data room for
                                                             corporate law and other issues

04/06/23     YM                         2.70        4,144.50 Revise transaction document (1.5); review bidder NDA
                                                             form (0.3) ; review bidder NDA revisions and emails with
                                                             Latham team regarding same (0 .3); attention to bidder
                                                             clean team request and emails with Rothschild and
                                                             Latham teams regarding same (0.3); emails with Latham
                                                             team regarding disclosure schedules relating to IP (0.3)

04/06/23     AS                         2.20        3,641.00 Conference with H. Parkhill regarding next steps in
                                                             settlement discussions, sale process (0.4); telephone
                                                             conference with L. Lluberas regarding same (0.4);
                                                             telephone conference with J. Cohen regarding same (0.4);
                                                             telephone conference with bidder counsel regarding sale
                                                             process overview (0.5); telephone conference with J.
                                                             Celentino regarding same (0.5)

04/06/23     JCC                        1.40        1,750.00 Review and comment on potential agreement regarding
                                                             sale process (1.0); telephone call with C. Delo, A. Sorkin,
                                                             and H. Murtagh regarding sale strategy (0.4)

04/06/23     NTW                        5.20        5,928 .00 Correspondence with Latham team regarding IP,
                                                              disclosure schedules and transaction document (0.6);
                                                              review comments to transaction document (1.2); edit and
                                                              revise same (3.4)

04/06/23     TK                         2.30        2,449 .50 Revise non-disclosure agreements, joinder agreements
                                                              and clean team agreements

04/06/23     LS                         1.10        1,171.50 Analyze documents to be uploaded to data room for
                                                             corporate law and other issues

04/07/23     AK                           .70       1,134.00 Review Project Blast materials (0.4); work with Latham
                                                             team on transaction document issues (0 .3)

04/07/23     YM                         2.90        4,451.50 Call with Rothschild, MVA and Latham teams regarding
                                                             transaction process (1.4); emails and calls with Latham
                                                             team, Debtor, Rothschild and bidder regarding various
                                                             data room upload and NDA matters (1.3); emails with
                                                             Latham team regarding transaction document (0 .2)


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04/07/23     KAR                        .50         680 .00 Prepare for and attend call with bidder counsel (0.4);
                                                            emails regarding same (0 .1)

04/07/23     AS                        1.20       1,986.00 Telephone conference with L. Lluberas regarding sale
                                                           process (0.2); telephone conference with D. Mun
                                                           regarding settlement discussions (0.2); telephone
                                                           conference with D. Melville, G. Metzger, J . Gusa
                                                           regarding asset sale (0.5); review and revise transaction
                                                           document (0.3)

04/07/23     ARS                       1.30       1,735.50 Revise transaction document

04/07/23     YLB                        .40         500.00 Call with litigation counsel regarding sale process

04/07/23     JCC                        .60         750 .00 Review draft of potential agreement to be used in sale
                                                            process

04/07/23     NTW                       4.40       5,016.00 Correspondence with team regarding transaction
                                                           document (1.3); review comments to the same (0.9); edit
                                                           and revise the same (1.8); summarize arbitration award
                                                           obligations and relevant trademarks (0.4)

04/07/23     TK                        1.60       1,704 .00 Revise non-disclosure agreements and clean team
                                                            agreements

04/08/23     AK                        1.40       2,268 .00 Review and revise transaction document (0 .9); work with
                                                            Latham team on Project Blast documents and related IP
                                                            issues (0.5)

04/08/23     ARS                        .30         400 .50 Discuss changes to transaction document with A. Klein
                                                            andN. Wages

04/08/23     NTW                       1.20       1,368.00 Correspondence with Latham team regarding transaction
                                                           document (0.7); review comments to same (0.5)

04/08/23     TK                         .40         426 .00 Revise non-disclosure agreement and clean team
                                                            agreement

04/09/23     JJW                        .30         342.00 Review comments to sale order (0.2): circulate to landlord
                                                           (0.1)

04/10/23     YM                         .70       1,074.50 Call with bidder counsel regarding data room population
                                                           (0.4) ; call with K. Rocco regarding data room population
                                                           for bidder (0.1); emails with Latham team and Rothschild
                                                           regarding NDAs and data room population (0.2)

04/10/23     KAR                       1.30       1,768.00 Prepare for and attend call with bidder antitrust counsel
                                                           regarding clean team issues (0 .6) ; review related materials
                                                           (0.4); emails regarding same (0.3)

04/10/23     AS                         .80       1,324 .00 Video conference with Latham, bidder advisor regarding
                                                            contract diligence issues (0.6); telephone conference with

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                                                             E. Chafetz regarding sale deadlines (0.2)

04/10/23     BK                         .90       1,381.50 Review and respond to emails regarding deal process,
                                                           status, next steps, data room, IP licenses and disclosures

04/10/23     DCT                       2.70       3,199.50 Analyze material contracts for sensitivity (1.3); draft
                                                           summary of material contracts and recommendation
                                                           regarding Clean Team treatment for strategics (0.7);
                                                           prepare for and participate in conference with bidder's
                                                           counsel regarding Clean Team treatment for material
                                                           contracts (0.7)

04/10/23     NTW                       1.20       1,368.00 Correspondence with Latham team regarding transaction
                                                           documents and board meeting (0.5); review final
                                                           comments to transaction documents (0.7)

04/10/23     JJW                        .60         684.00 Call with taxing authority to discuss comments to sale
                                                           order (0.2); correspond with Huron regarding same (0 .2);
                                                           correspond with client regarding revisions to sale order
                                                           (0.2)

04/10/23     TK                        1.10       1,171.50 Revise non-disclosure agreement and clean team
                                                           agreement

04/10/23     LS                         .80         852 .00 Calls with Debtor regarding documents to be uploaded to
                                                            data room

04/11/23     GM                         .40         544 .00 Analyze transaction document for revisions

04/11/23     YM                         .80       1,228.00 Internal call with Latham corporate team regarding
                                                           various data room and corporate workstreams (0.3); call
                                                           with Debtor and Rothschild (0.2); emails with Rothschild
                                                           regarding bidder diligence requests (0.3)

04/11/23     CHN                       1.20       1,668.00 Review documents and update findings for Project Blast

04/11/23     AS                        3.30       5,461.50 Telephone conferences with L. Lluberas, J. Cohen
                                                           regarding VPX sale process (0.5); telephone conference
                                                           with S. Panagos regarding same (0.5); telephone
                                                           conference with C. Delo regarding potential partial bid
                                                           (0.1); video conference with MVA, Latham teams
                                                           regarding sale process (1.0); video conference with partial-
                                                           asset bidder (0.4); conference call with potential bidder
                                                           regarding litigation questions/diligence (0.6) ; telephone
                                                           conference with R. Caruso regarding sale process (0.2)

04/11/23     BK                        2.10       3,223.50 Video conference with D. Mun, T. Kim, L. Sievert
                                                           regarding status, open items and next steps (0.5); review
                                                           and consider emails from company and advisors regarding
                                                           data room, disclosure schedules and related items and
                                                           open issues (0.8); attend call with Debtor, Huron,


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                                                               Rothschild and Latham (0.4); review and consider non-
                                                               debtor IP disclosure items and disclaimer (0.4)

04/11/23     YLB                          .40        500.00 Review and revise APA and exhibits thereto

04/11/23     DCT                        1.20        1,422.00 Draft Clean Team Addendum for potential bidder (0.5);
                                                             analyze files in data room for competitive sensitivities in
                                                             relation to strategics (0.3); analyze information sharing
                                                             concerns in relation to request from bidder (0.4)

04/11/23     NTW                        3.60        4,104 .00 Correspondence with Latham team regarding non-debtor
                                                              IP and disclaimer (0.5); review non-debtor IP summary
                                                              (0.6); provide comments to non-debtor IP summary (0.5);
                                                              edit and revise disclaimer (0.9); prepare for and attend
                                                              telephone conference with team regarding transaction
                                                              document, non-debtor IP and transaction update (1.1)

04/11/23     JJW                          .20        228 .00 Correspondence regarding taxing authority comments to
                                                             sale order

04/11/23     TK                         3.60        3,834 .00 Confer with D. Mun and B. Kaplan regarding transaction
                                                              update (0.5); attend sale related status call (0.5) ; draft non-
                                                              disclosure agreement joinder and clean team agreement
                                                              (0.8); draft presentation disclaimer (1.8)

04/11/23     LS                         2.40        2,556 .00 Attend call with D. Mun, B. Kaplan and T. Kim regarding
                                                              deal update (0.5) ; attend call with Debtor, Rothschild and
                                                              Latham teams regarding intellectual property presentation
                                                              and documents to be uploaded to data room (0.4); revise
                                                              draft of non-disclosure agreement with bidder (0.9);
                                                              review list of documents to be uploaded to data room (0.6)

04/12/23     GM                           .40        544 .00 Revise disclaimer on non-debtor IP summary

04/12/23     YM                         1.00        1,535.00 Call with Debtor and Rothschild regarding environmental
                                                             consultant site visit (0.3); emails with Rothschild, Debtor
                                                             and Latham team regarding data room management
                                                             questions (0.4); reviewing bidder NDA markup and emails
                                                             with Latham team regarding same (0.6)

04/12/23     KAR                          .40        544 .00 Attention to clean team issues with bidder

04/12/23     AS                         1.50        2,482 .50 Telephone conference with bidder counsel regarding sale
                                                              process timeline and related issues (0.2); telephone
                                                              conference with C. Reckler regarding same, general
                                                              update (0 .2); telephone conference with J. Cohen
                                                              regarding next steps (0.1) ; telephone conference with G.
                                                              Metzger regarding same (0.2); telephone conference with
                                                              L. Lluberas regarding same, sale process matters (0.8)

04/12/23     ASB                          .60         801.00 Correspondence and analysis regarding status of board


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                                                               approval of attorney withdrawal from non-debtor IP
                                                               applications (0.3); correspondence and analysis regarding
                                                               use of IP for business operations (0.3)

04/12/23     EAM                          .50        642.50 Call with Lowenstein regarding sale objection deadline

04/12/23     DCT                          .90       1,066.50 Suggest edits to Clean Team Addendum (0.3); analyze
                                                             material contracts for sensitivity (0.3); analyze information
                                                             sharing concerns in relation to request from bidder (0.3)

04/12/23     NTW                        2.10        2,394.00 Correspondence with Latham team regarding non-debtor
                                                             IP, board meeting and disclaimers (1.0) ; edit and revise
                                                             disclaimers (0 .3); review non-debtor IP and pending
                                                             applications (0.8)

04/12/23     TK                         2.10        2,236.50 Revise non-disclosure agreement (1.6); revise presentation
                                                             disclaimer (0.5)

04/13/23     YM                           .20        307 .00 Attention to emails with Latham team, Rothschild and
                                                             Debtor regarding data room uploads and non-debtor IP
                                                             deck disclaimer

04/13/23     CAR                          .80       1,480.00 Participate in call with lenders regarding sale process

04/13/23     KAR                          .30        408.00 Call with D. Tifft regarding antitrust matters (0 .2); emails
                                                            regarding same (0.1)

04/13/23     AS                         1.70        2,813 .50 Video conference with MVA, Truist, FTI, LW, Rothschild,
                                                              Huron regarding injunction next steps and sale process
                                                              (0.9); conference with Rothschild regarding sale process
                                                              and next steps (0.5); correspondence with D. Mun, K.
                                                              Rocco, D. Tifft regarding bidder contract diligence (0.3)

04/13/23     ASB                          .20        267 .00 Correspondence regarding status of board approval of
                                                             attorney withdrawal from non-debtor IP applications

04/13/23     BK                           .70       1,074.50 Review and respond to emails regarding non-debtor IP
                                                             and lease concerns (0.6); telephone conference with D.
                                                             Mun regarding open items, status and next steps (0.1)

04/13/23     DCT                        1.90        2,251.50 Analyze material contracts for sensitivity (1.1); suggest
                                                             edits to Clean Team Addendum (0.2); summarize
                                                             approach to sharing files in relation to request from
                                                             bidder's counsel (0.6)

04/13/23     NTW                        1.30        1,482.00 Correspondence with Latham team and Debtor regarding
                                                             disclaimer, telephone conference regarding transaction
                                                             document and non-debtor IP (0.7); review and analyze
                                                             comments to disclaimer and non-debtor IP (0.6)

04/13/23     TK                         1.10        1,171.50 Review presentation disclaimer (0 .7); revise clean team
                                                             agreement (0.4)

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04/13/23     LS                        1.00       1,065.00 Attend call with Rothschild and Debtor teams regarding
                                                           files to be uploaded to the data room (0.2); correspond
                                                           with Debtor regarding documents to be uploaded to data
                                                           room (0.8)

04/14/23     KAR                        .50         680.00 Prepare for and attend call with bidder's antitrust counsel

04/14/23     AS                         .50         827 .50 Conference with UCC advisors regarding sale
                                                            updates/process

04/14/23     JCC                        .30         375.00 Telephone call with UCC regarding auction process

04/14/23     JCC                        .80       1,000.00 Review Monster/Bang objection regarding 363 sale (0.4);
                                                           research and emails regarding same (0.4)

04/14/23     DCT                        .50         592.50 Revise description of proper treatment for material
                                                           contracts in Clean Room

04/14/23     NTW                        .30         342.00 Correspondence with Latham team regarding telephone
                                                           conference and non-debtor IP

04/14/23     JJW                        .50         570.00 Review sale objection

04/14/23     TK                        2.10       2,236.50 Revise non-disclosure agreement and clean team
                                                           agreement

04/15/23     JLT                        .30         319.50 Correspond with Rothschild regarding VDR documents

04/16/23     AS                         .50         827 .50 Telephone conference with bidder counsel regarding
                                                            litigation diligence questions

04/17/23     YM                         .20         307.00 Review bidder NDA changes and emails with Latham
                                                           team regarding same

04/17/23     KAR                        .50         680.00 Review antitrust matters and potential bid

04/17/23     AS                        1.90       3,144.50 Telephone conference with FTI, MVA, S. Panagos
                                                           regarding sale process matters and next steps (0.8); follow
                                                           up telephone conference with S. Panagos regarding same
                                                           (0.2); conference with H. Parkhill, S. Panagos regarding
                                                           same (0 .9)

04/17/23     BK                         .40         614.00 Update team on process and next steps (0.2); review and
                                                           consider NDA changes (0 .1); telephone conference with T.
                                                           Kim regarding NDA changes (0.1)

04/17/23     YLB                        .30         375.00 Review process letter

04/17/23     JCC                        .40         500.00 Telephone call with debtor financial and legal
                                                           professionals regarding sale process status and related
                                                           workstreams


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04/17-/23    DCT                          .80        948 .00 Analyze employee census and suggest edits for potential
                                                             sharing outside Clean Room (0.6); confer with Debtor
                                                             regarding proposed treatment of material contracts in data
                                                             room (0.2)

04/17-/23    TK                           .50        532.50 Revise non-disclosure agreements

04/18/23     KAR                          .50        680 .00 Attention to clean team questions and related discussion
                                                             with D. Tifft and A. Sorkin

04/18/23     AS                         1.50        2,482.50 Telephone conference with B. Kaplan, D. Mun regarding
                                                             IP/sale issues (0.2); telephone conference with H.
                                                             Murtagh, others regarding Monster sale objection (0.6);
                                                             telephone conference with J. Celentino regarding same,
                                                             tasks (0.2); telephone conference with L. Lluberas
                                                             regarding sale process (0.3); correspondence with
                                                             Rothschild regarding sale timeline (0 .2)

04/18/23     BK                         1.10        1,688.50 Attend call with Debtor, Rothschild, Huron and Latham
                                                             regarding sale (0.3); telephone conference with D . Mun
                                                             and A. Sorkin regarding process and next steps (0.3);
                                                             conference with D. Mun, T. Kim, L. Sievert and J. Kaw
                                                             regarding status, open items and next steps (0.5)

04/18/23     YLB                        1.00        1,250.00 Review sale timeline extension notice (0 .8); correspond
                                                             with J. Weichselbaum regarding same (0.2)

04/18/23     JCC                        3.30        4,125 .00 Draft deck for potential bidders (2.5); telephone call with
                                                              A. Sorkin regarding strategy (0.5) ; Zoom call with outside
                                                              financial and legal advisors regarding sale processes (0.3)

04/18/23     DCT                        1.80        2,133.00 Analyze employee census and suggest edits for potential
                                                             sharing outside Clean Room (1.4); confer with bidder's
                                                             counsel and Rothschild team regarding information
                                                             sharing requests (0.4)

04/18/23     JWM                        2.00        2,130.00 Review objections to sale (1.4); summarize the same (0.6)

04/18/23     LS                         1.50        1,597.50 Attend call with Debtor, Rothschild and Latham teams
                                                             regarding deal updates (0.3); discuss the same with D.
                                                             Mun, B. Kaplan and T. Kim (0.3); review redacted
                                                             employment agreements to be uploaded to data room (0 .9)

04/19/23     YM                           .30        460.50 Attention to email correspondence regarding data room
                                                            uploads and disclosure schedule questions

04/19/23     KAR                          .30        408.00 Review diligence materials

04/19/23     AS                           .70       1,158.50 Telephone conference with S. Panagos, H. Parkhill
                                                             regarding sale process and potential bid (0.3); telephone
                                                             conference with L. Lluberas regarding sale process (0.4)


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04/19/23     BK                           .80       1,228.00 Review disclosure schedule and related data room
                                                             requests and consider documents and responses (0 .5);
                                                             telephone conference with L. Sievert regarding responses
                                                             to disclosure requests (0.1); review and consider company
                                                             views on disclosure requests (0.2)

04/19/23     JCC                          .40        500.00 Zoom call with financial and legal advisors regarding sale
                                                            process developments and next steps

04/19/23     DCT                          .30        355.50 Confer with Rothschild team regarding Clean Team
                                                            treatment for documents

04/19/23     TK                           .50        532.50 Review disclosure schedules

04/20/23     YM                           .40        614 .00 Email correspondence regarding potential bid (0.1) ;
                                                             discussion with Latham team regarding IP (0.2); attention
                                                             to emails regarding data room population (0.1)

04/20/23     AQ                           .50        680.00 Telephone conference with A. Gupta regarding wind
                                                            down legal expenses

04/20/23     KAR                          .50        680.00 Review antitrust matters (0.3) ; related discussions with D.
                                                            Tifft and team (0.2)

04/20/23     AS                           .20        331.00 Correspondence with UCC, lender counsel regarding
                                                            revised bid timeline

04/20/23     AS                           .20        331.00 Telephone conference with A. Gupta regarding wind-
                                                            down budget

04/20/23     BK                         1.30        1,995.50 Review emails and regarding IP and consider strategy
                                                             (0.4); review due diligence queries and responses and
                                                             consider (0.3); conference with L. Sievert regarding due
                                                             diligence responses (0.4); telephone conference with A.
                                                             Sorkin and D. Mun regarding strategy (0.2)

04/20/23     JCC                          .40        500.00 Telephone call with legal and financial advisory teams
                                                            regarding sale process and related updates

04/20/23     DCT                        1.60        1,896.00 Analyze files in data room for potential Clean Team
                                                             treatment (1.3); confer with deal team regarding Clean
                                                             Team treatment for documents (0.3)

04/20/23     TK                           .80        852 .00 Respond to questions regarding data room population

04/20/23     LS                         3.80        4,047 .00 Review and draft responses to due diligence questions
                                                              (2.4) ; review tax documents to be uploaded to data room
                                                              for personal information (1.4)

04/21/23     GM                           .30        408.00 Respond to Debtor's question regarding transfer of non-
                                                            debtor IP


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04/21/23     YM                          .50         767 .50 Emails with Latham team regarding non-debtor IP (0 .3) ;
                                                             emails with Latham team and Rothschild regarding sale
                                                             process letter (0.2)

04/21/23     KAR                        1.00       1,360.00 Prepare for and attend call with bidder's antitrust counsel
                                                            (0.4); emails regarding same (0.2); follow-up call with
                                                            Latham deal team discuss strategy and advice for client
                                                            (0.4)

04/21/23     AS                         4.40       7,282 .00 Telephone conference with J . Gusa regarding potential
                                                             settlement proposal (0.2); conference with L. Lluberas
                                                             regarding same (0.7) ; conference with L. Lluberas
                                                             regarding proposal (0.2); prepare summary of proposal
                                                             (0.6) ; review bullets regarding mitigation measures (0.3) ;
                                                             conference with B. Kaplan, D. Mun regarding sale process
                                                             (0.4); video conference with bidder, Lowenstein teams
                                                             regarding proposal (0.6); follow up telephone conference
                                                             with J . Cohen regarding same (0.2); multiple conferences
                                                             with K. Rocco, D. Mun, B. Kaplan, D. Tifft regarding
                                                             regulatory approval matters (0.7); conference with G .
                                                             Metzger regarding same (0.3) ; telephone conference with
                                                             bidder regarding information needs/employee issues (0.2)

04/21/23     ASB                         .50         667 .50 Correspondence and analysis regarding strategy for
                                                             transfer of IP assets to trademark counsel for J. Owoc and
                                                             reservation of debtor's rights to transferred IP

04/21/23     BK                         2.00       3,070.00 Telephone conference with A. Sorkin regarding
                                                            settlement proposal (0.2); telephone conference with A.
                                                            Sorkin and D. Mun regarding settlement proposal (0.4);
                                                            video conference with A. Sorkin, K. Rocco and D. Mun
                                                            regarding settlement proposal (0.6); video conference with
                                                            A. Sorkin, K. Rocco, D. Mun and D. Tifft regarding
                                                            settlement proposal and related considerations (0.8)

04/21/23     DCT                        3.10       3,673.50 Confer with deal team and bankruptcy team regarding
                                                            information sharing concerns and competitive assessment
                                                            (0.5); analyze IRI data and information from client to
                                                            advance competitive assessment (0 .9); analyze documents
                                                            in data room for potential Clean Team treatment (1.4);
                                                            confer with bidder's counsel regarding information
                                                            sharing concerns (0 .3)

04/21/23     NTW                        1.60       1,824 .00 Correspondence with Latham team and client regarding
                                                             non-debtor IP (0.9); review and analyze the same (0.7)

04/21/23     TK                          .60         639 .00 Respond to questions regarding data room population

04/21/23     LS                         4.60       4,899.00 Coordinate responses to due diligence questions with
                                                            Vital Pharmaceuticals


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04/22/23     YM                         .20         307 .00 Emails with MV A and Latham team regarding settlement
                                                            proposal

04/22/23     AS                        1.60       2,648.00 Video conference with Huron, Rothschild teams regarding
                                                           wind-down matters (1.2); telephone conference with L.
                                                           Lluberas regarding same and proposal (0.4)

04/22/23     BK                         .70       1,074 .50 Review emails and files and consider in connection with
                                                            diligence queries and settlement proposal

04/22/23     DCT                       1.20       1,422.00 Analyze IRI data and litigation documents to prepare
                                                           competitive assessment for use with potential bidders

04/22/23     TK                         .20         213.00 Review diligence questions

04/23/23     GM                         .50         680.00 Revise deal points for settlement proposal

04/23/23     KAR                       1.00       1,360.00 Prepare for and attend call with UCC counsel regarding
                                                           antitrust matters (0.4); emails regarding same (0.3); review
                                                           materials from D. Tifft in advance of call (0.3)

04/23/23     AS                        1.00       1,655.00 Video conference with Lowenstein, MVA, Latham teams
                                                           regarding regulatory issues in connection with proposal

04/23/23     BK                        1.90       2,916.50 Review and respond to emails regarding diligence and
                                                           data room (0.4); coordinate with J . Paul regarding internal
                                                           discussions on international entities (0.1) ; consider
                                                           antitrust and deal considerations in connection with
                                                           bidder proposal (0.4); telephone conference with UCC
                                                           counsel, lender counsel and Latham regarding
                                                           considerations in connection with bidder proposal (1.0)

04/23/23     JCC                        .20         250 .00 Review re-brand proposal decks and sale process update
                                                            deck

04/23/23     NTW                       2.80       3,192.00 Correspondence with Latham team regarding IP matters
                                                           (0.8); edit and revise transaction document (1.6); review
                                                           comments to the same (0.4)

04/23/23     TK                        2.00       2,130.00 Confer with UCC and Lender counsel regarding purchase
                                                           bid (0 .6); revise summary of proposals (1.4)

04/24/23     GM                         .50         680 .00 Revise settlement proposal based on debtor/lender team
                                                            feedback

04/24/23     YM                         .80       1,228.00 Calls and emails with Latham team regarding revisions to
                                                           deal proposal (0.2); revise deal proposal summary (0.5);
                                                           emails with MVA regarding deal proposal (0 .1)

04/24/23     AS                        1.50       2,482.50 Telephone conference with L. Lluberas regarding sale
                                                           process, potential case resolutions (0.4); further telephone
                                                           conference with L. Lluberas regarding same (0.6); prepare

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                                                               response to offer (0 .1); telephone conference with D. Mun
                                                               regarding proposal (0.2); conference with K. Reimel
                                                               regarding sale process dates (0.2)

04/24/23     ASB                         .70         934.50 Correspondence and analysis regarding strategy for
                                                            transfer of IP assets to trademark counsel for J. Owoc and
                                                            reservation of debtor's rights to transferred IP

04/24/23     BK                          .70       1,074.50 Consider bidder counter proposal, including terms,
                                                            strategy and next steps (0.5); review counter proposal
                                                            summary (0.2)

04/24/23     JCC                        1.10       1,375.00 Zoom call with financial and legal advisory teams
                                                            regarding sale process updates (0.6); edit letter to
                                                            potential bidders regarding revised sale procedures (0.2);
                                                            review filings on docket regarding sale procedures (0.1);
                                                            review board materials regarding sale process (0 .2)

04/24/23     DCT                        3.90       4,621.50 Analyze files in data room for potential Clean Team
                                                            treatment (2 .1); confer with deal team regarding Clean
                                                            Team treatment for documents (0.4); prepare for and
                                                            participate in Board call (1.1); suggest edits to antitrust
                                                            terms in response to bidder (0.3)

04/24/23     NTW                        1.80       2,052 .00 Correspondence with Latham team regarding IP matters
                                                             (0.7); review comments to transaction documents (0.5);
                                                             edit and revise the same (0.6)

04/24/23     TK                          .70         745.50 Prepare response to bidder's proposal

04/24/23     SPM                        1.10       1,056.00 Attend call with D. Tifft regarding matter updates and
                                                            upcoming tasks

04/24/23     LS                         1.90       2,023.50 Draft responses to diligence questions (1.6); correspond
                                                            with Debtor regarding the same (0.3)

04/25/23     YM                         2.00       3,070.00 Respond to emails regarding bid proposal and data room
                                                            management questions (0 .3); call with Latham, Rothschild
                                                            and Huron teams regarding bid proposal (0.8) ; internal
                                                            call with Latham team regarding transaction status (0.2) ;
                                                            revise email response to bidder counsel (0.2); revise
                                                            counterproposal to bidder (0.5)

04/25/23     CHN                         .80       1,112.00 Review project documents (0.4); perform research on
                                                            health & safety issues (0.4)

04/25/23     CAR                         .50         925.00 Participate in call with company advisors regarding sale
                                                            process and timing

04/25/23     KAR                        2.00       2,720 .00 Respond to antitrust questions from bidder's counsel and
                                                             Debtor (0.5); call with D . Tifft regarding same (0.5); call
                                                             with A. Sorkin and bankers regarding revised bid and

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                                                               revised term sheet (1.0)

04/25/23     AS                         4.60       7,613.00 Telephone conference with E. Chafetz regarding proposal
                                                            (0.4); telephone conference with L. Lluberas regarding
                                                            same (0.5); calls with A. Gupta regarding settlement and
                                                            attention to same (0.5); further telephone conference with
                                                            bidder regarding potential bid and other matters (0.4) ;
                                                            follow up video conference with Rothschild, Huron, LW
                                                            teams regarding same (0.9); correspondence and
                                                            telephone conferences with C. Delo, A. Gupta, L. Lluberas
                                                            regarding settlement issues (1.9)

04/25/23     BK                         2.60       3,991.00 Review additional process letter (0.2); review and respond
                                                            to various due diligence and VDR queries (0.6) ; telephone
                                                            conference with Huron, Debtor and Latham teams
                                                            regarding international entity and non-debtor
                                                            considerations (0.4); conference with L. Sievert regarding
                                                            open items and next steps (0 .3); telephone conference
                                                            with Rothschild, Huron, Berger Singerman and Latham
                                                            regarding potential bid process and considerations (0.8);
                                                            review IP license amendments and consider for data room
                                                            and disclosure schedule purposes (0.3)

04/25/23     JCC                         .70         875.00 Zoom call with legal and financial advisors regarding sale
                                                            process and case update

04/25/23     JCC                         .70         875 .00 Zoom call with legal and financial advisors regarding sale
                                                             process and legal strategy (0.6); review communications to
                                                             potential bidder (0.1)

04/25/23     DCT                        5.40       6,399.00 Analyze IRI data and information from client for use in
                                                            advocacy with antitrust agencies (4 .3) ; analyze
                                                            information for Clean Team classifications (1.1)

04/25/23     NTW                         .30         342.00 Correspondence with team regarding IP matters

04/25/23     TK                          .50         532 .50 Prepare responses to bidder's proposal

04/25/23     LS                         2.30       2,449.50 Attend call with Rothschild, Debtor and Latham teams
                                                            regarding due diligence inquiries (0.3); attend call with
                                                            Huron, Debtor and Latham teams regarding non-selling
                                                            entities (0 .4); attend call with Huron, Rothschild and
                                                            Latham teams regarding deal update (0 .8); discuss and
                                                            address diligence, escrow and Disclosure Schedules issues
                                                            with B. Kaplan (0.5); correspond with Rothschild regarding
                                                            files to be uploaded to the data room (0.4)

04/26/23     YM                         2.10       3,223 .50 Call with Lowenstein regarding proposal (0 .5); call with
                                                             bidder counsel regarding bid proposal (1.1) emails with
                                                             Latham team regarding bid proposal (0.3); review IOI and
                                                             emails with Latham team regarding same (0.2)

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04/26/23     KAR                         .30        408 .00 Prepare for and attend call with UCC counsel regarding
                                                            potential bid

04/26/23     AS                         2.60       4,303.00 Telephone conference with K. Rocco regarding antitrust
                                                            issues (0.2); prepare for (0.4) and attend video conference
                                                            with Pachulski, Latham teams regarding potential
                                                            settlement structure (1.1); telephone conference with E.
                                                            Chafetz regarding same (0 .2); telephone conference with
                                                            L. Lluberas regarding same (0.3); telephone conference
                                                            with C. Delo regarding same (0.4)

04/26/23     BK                          .50         767 .50 Review and consider diligence queries and coordination
                                                             (0.3); review and consider bidder Letter of intent and
                                                             related process and next steps (0.2)

04/26/23     JCC                         .40        500.00 Zoom with debtor financial and legal advisors regarding
                                                           sale process and case strategy

04/26/23     DCT                        1.10       1,303.50 Confer with Rothschild team regarding Clean Team
                                                            treatment for documents (0.4); analyze files in data room
                                                            for potential Clean Team treatment (0.7)

04/26/23     JJW                         .70         798 .00 Review sale process letter (0 .2); discuss with Rothschild
                                                             (0.1); review notice regarding deadline extensions (0.1);
                                                             discuss with team (0.3)

04/26/23     TK                          .20        213.00 Review diligence request list

04/26/23     JWM                        2.30       2,449.50 Research issues related to sale objection

04/26/23     LS                          .50        532.50 Correspond with Debtor and Rothschild regarding
                                                           responses to diligence questions

04/27/23     YM                          .20        307 .00 Emails with Latham, Rothschild and Debtor regarding
                                                            bidder diligence requests

04/27/23     KAR                         .50        680.00 Revise and revise antitrust risk assessment

04/27/23     AS                         2.50       4,137.50 Correspondence with Debtor and constituents regarding
                                                            settlement proposal (0.6); conference with L. Lluberas, E.
                                                            Chafetz, S. Gruendel regarding same (0.9); telephone
                                                            conference with B. Kaplan regarding same, board update
                                                            (0.1); telephone conference with A. Gupta regarding
                                                            settlement proposal (0.4); telephone conference with G.
                                                            Metzger regarding same, settlement status, timeline (0.5)

04/27/23     BK                          .80       1,228.00 Conference with D. Mun regarding process, open items
                                                            and next steps (0.1); telephone conference with A. Sorkin
                                                            regarding open issues and next step (0.1); review,
                                                            coordinate, consider and respond to various diligence
                                                            requests and related emails (0.6)


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04/27/23     DCT                        2.10       2,488 .50 Analyze files in data room for potential Clean Team
                                                             treatment (0 .7); confer with Rothschild team regarding
                                                             Clean Team treatment for documents (0.3) ; draft
                                                             competitive assessment and Day One deck to prepare for
                                                             outreach from antitrust agencies (1.1)

04/27/23     LS                          .90         958 .50 Correspond with Rothschild regarding responses to
                                                             diligence requests

04/28/23     YM                         1.60       2,456 .00 Attention to data room management questions and emails
                                                             with Latham team regarding same (0.2); call with Debtor,
                                                             Huron and Rothschild regarding responses to bidder data
                                                             requests (0.3); emails with bidder counsel and Latham
                                                             regarding diligence information responses (0.5) ; emails
                                                             with Rothschild regarding IOI (0.1); emails with Latham
                                                             team regarding potential bids (0.2); call with Debtor
                                                             regarding certain assets (0 .3)

04/28/23     KAR                        1.00       1,360.00 Review bid (0.6); call with bidder's antitrust counsel
                                                            regarding same (0.4)

04/28/23     AS                         3.00       4,965 .00 Video conference with Pachulski, Lowenstein regarding
                                                             settlement proposal (0 .6); correspondence regarding same
                                                             (0.5) ; telephone conference with C. Delo regarding same,
                                                             bidder issues (0.5); telephone conference with L. Lluberas
                                                             regarding process (0.8) ; telephone conference with G.
                                                             Metzger regarding real estate matters (0 .6)

04/28/23     BK                         3.90       5,986.50 Review, consider and respond to multiple emails and
                                                            queries regarding due diligence and data room
                                                            considerations for bidders (2.8); video conference with
                                                            Huron, Rothschild, company and Latham regarding due
                                                            diligence responses (0 .5); telephone conference with L.
                                                            Sievert regarding due diligence (0.1); video conference
                                                            with company and Latham regarding certain assets (0.4);
                                                            telephone conference with T. Kim regarding disclosures
                                                            (0.1)

04/28/23     JCC                         .60         750.00 Zoom call with Debtor financial and legal professionals
                                                            regarding sale and legal strategy

04/28/23     DCT                        1.90       2,251.50 Confer with Rothschild team regarding Clean Team
                                                            treatment for documents (0.4); analyze files in data room
                                                            for potential Clean Team treatment (1.0) ; confer with
                                                            bankruptcy and litigation teams regarding Clean Team
                                                            treatment for documents in data room (0.5)

04/28/23     TK                         1.40       1,491.00 Review diligence requests list

04/28/23     LS                         2.20       2,343 .00 Review documents to be uploaded to the data room (1.4);
                                                             attend call with Debtor, Rothschild and Latham teams

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                                                             regarding diligence requests (0.6); attend call with Debtor
                                                             and Latham teams regarding assets within the scope of
                                                             the proposed transaction (0.3)

04/29/23     KAR                        .50         680.00 Attention to antitrust matters (0.3); emails with Latham
                                                           team and economist regarding same (0.2)

04/29/23     AS                         .50         827 .50 Video conference with J. DiDonato, C. Reckler, J . Gusa
                                                            regarding wind down budget and exit options

04/30/23     BK                         .50         767 .50 Review, consider and respond to diligence queries from
                                                            Debtor and advisors



Attorney:

CA Reckler                     1.70     Hrs.@       $ 1,850.00/hr.            $3,145.00
A Sorkin                     45.60      Hrs.@       $ 1,655.00/hr.           $75,468.00
A Klein                        6.30     Hrs.@       $ 1,620.00/hr.           $10,206.00
YMun                         23.60      Hrs.@       $ 1,535.00/hr.           $36,226.00
CH Norton                      2.00     Hrs.@       $ 1,390.00/hr.            $2,780.00
G Mahmood                      2.10     Hrs.@       $ 1,360.00/hr.            $2,856.00
A Quartarolo                    .50     Hrs.@       $ 1,360.00/hr.              $ 680.00
KA Rocco                      13.50     Hrs.@       $ 1,360.00/hr.           $18,360.00
B Kaplan                     24.80      Hrs.@       $ 1,535.00/hr.           $38,068 .00
AS Blanco                      2.70     Hrs.@       $ 1,335.00/hr.            $3,604.50
AR Singh                       7.20     Hrs.@       $ 1,335.00/hr.            $9,612.00
EA Morris                       .50     Hrs.@       $ 1,285.00/hr.              $ 642.50
Y L Burton                     2.10     Hrs.@       $ 1,250.00/hr.            $2,625.00
J C Celentino                 11.30     Hrs.@       $ 1,250.00/hr.           $14,125.00
DC Tifft                     35.50      Hrs.@       $ 1,185.00/hr.           $42,067.50
NT Wages                     41.80      Hrs.@       $ 1,140.00/hr.           $47,652.00
J J Weichselbaum               5.10     Hrs.@       $ 1,140.00/hr.            $5,814.00
TKim                         29.00      Hrs.@       $ 1,065.00/hr.           $30,885.00
JWMorley                       4.30     Hrs.@       $ 1,065.00/hr.            $4,579.50
L Sievert                    32.90      Hrs.@       $ 1,065.00/hr.           $35,038.50
J L Teresi                      .30     Hrs.@       $ 1,065.00/hr.              $ 319.50
SP Mulloy                      6.00     Hrs.@        $ 960.00/hr.             $5,760.00
                            298.80                                          $390,514 .00


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04/10/23     HKM                        .40         584 .00 Review and revise draft order denying AZ lift-stay motion

04/14/23     AS                         .30         496.50 Correspondence with G. Metzger regarding potential stay
                                                           violation

04/18/23     AS                         .30         496.50 Telephone conference with Debtors, Canadian counsel
                                                           regarding potential stay violation and response

04/19/23     AS                         .40         662.00 Review and revise letter to Canadian entity regarding stay
                                                           violation and other matters

04/20/23     HKM                        .40         584.00 Discuss AZ lift-stay denial order with A. Sorkin, AZ
                                                           counsel



Attorney:

A Sorkin                       1.00     Hrs.@       $ 1,655.00/hr.            $1,655.00
HK Murtagh                      .80     Hrs.@       $ 1,460.00/hr.            $1,168.00
                               1.80                                           $2,823.00




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04/14/23     AS                        1.10       1,820.50 Internal preparation call with Huron, management
                                                           regarding bank group call (0.7); telephone conference
                                                           with L. Lluberas regarding same (0.4)

04/15/23     AS                         .70       1,158.50 Review rebranding work plan (0.2); conference with L.
                                                           Lluberas regarding same and further re branding questions
                                                           (0.5)

04/17/23     YLB                        .70         875.00 Prepare for and attend CTO call

04/18/23     AS                         .50         827.50 Video conference with MVA, G . Eckhouse, G. Metzger,
                                                           Huron regarding business operations

04/20/23     JCC                        .10         125.00 Review Monster letter regarding can inventory

04/24/23     AS                         .70       1,158.50 Telephone conference with A. Gupta regarding wind-
                                                           down matters

04/24/23     BK                         .20         307 .00 Review budget and wind down expectations



Attorney:

A Sorkin                       3.00     Hrs.@       $ 1,655.00/hr.            $4,965 .00
B Kaplan                        .20     Hrs.@       $ 1,535.00/hr.              $ 307.00
Y L Burton                      .70     Hrs.@       $ 1,250.00/hr.              $ 875.00
J C Celentino                   .10     Hrs.@       $ 1,250.00/hr.              $ 125.00
                               4.00                                           $6,272.00




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04/03/23     AS                         .40         662 .00 Attend daily professionals' call (0.3); telephone conference
                                                            with J . Weichselbaum regarding same (0.1)

04/04/23     AS                         .70       1,158.50 Attend daily professionals' call with Huron, Rothschild,
                                                           Latham, Berger Singerman teams

04/05/23     AS                         .90       1,489.50 Conference with C. Redder, J. Celentino regarding matter
                                                           background and next steps

04/05/23     NAG                        .80         664 .00 Update work in progress list and case calendar for Debtors

04/06/23     AQ                         .40         544.00 Review work in progress list (0.1); attend team call
                                                           regarding same (0 .3)

04/06/23     AS                         .60         993 .00 Attend daily professionals call with Huron, Latham,
                                                            Berger Singerman, Rothschild teams

04/06/23     BSR                        .40         456.00 Participate in work in progress call with Latham and
                                                           Berger Singerman teams (0.2); review and revise work in
                                                           progress list (0.2)

04/06/23     NAG                        .40         332.00 Email work in progress list to Latham and Berger
                                                           Singerman team in preparation for update call (0.2);
                                                           attend work in progress telephone call (0.2)

04/07/23     AS                         .50         827 .50 Attend daily professionals call with Huron, Rothschild,
                                                            Latham, Berger Singerman teams

04/07/23     YLB                        .50         625 .00 Attend CTO call

04/07/23     JCC                        .50         625 .00 Attend CTO call

04/10/23     AS                         .50         827 .50 Attend daily professionals' call with Latham, Berger
                                                            Singerman, Huron, Rothschild

04/10/23     YLB                        .40         500.00 Prepare for and attend CTO call

04/10/23     YLB                        .40         500.00 Prepare for and internal work in progress call

04/10/23     JCC                        .30         375.00 Attend advisor strategy call

04/10/23     BSR                        .40         456 .00 Participate in Latham team work in progress call

04/11/23     AS                         .60         993 .00 Attend daily professionals' call with Latham, Berger
                                                            Singerman LLP, Huron, Rothschild regarding bank group
                                                            call preparation and status update

04/11/23     JCC                        .80       1,000.00 Attend case strategy Zoom call with client financial and
                                                           legal professionals

04/12/23     AQ                         .50         680.00 Attend professionals' call with Huron and Rothschild



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04/12/23     AS                         .30         496 .50 Attend daily professionals' call with Huron, Latham,
                                                            Berger Singerman, Rothschild regarding updates and next
                                                            steps

04/12/23     BSR                        .30         342.00 Review and revise work in progress list

04/12/23     NAG                        .70         581.00 Update work in progress list and case calendar

04/13/23     AQ                         .40         544.00 Review work in progress (0.1); attend call with Latham
                                                           regarding same (0.3)

04/13/23     AQ                         .90       1,224.00 Attend call with Huron and Rothschild regarding status
                                                           and strategy (0.5); telephone conference with A. Sorkin
                                                           and Truist regarding status and strategy (0.4)

04/13/23     BK                         .20         307 .00 Follow up with Latham restructuring team regarding
                                                            company requests regarding resolutions and amendments

04/13/23     YLB                        .60         750.00 Prepare for and attend internal work in progress call

04/13/23     BSR                        .40         456 .00 Participate in work in progress call with Latham and
                                                            Berger Singerman teams

04/13/23     JWM                        .40         426.00 Attend weekly work in progress call

04/13/23     NAG                       1.20         996 .00 Update work in progress list (0.6); attend work in progress
                                                            telephone conference (0.3) ; email case calendar (0.3)

04/14/23     AQ                         .50         680 .00 Attend call with Huron and Rothschild regarding status
                                                            and strategy

04/14/23     AS                         .50         827 .50 Attend daily professionals' call with Huron, Berger
                                                            Singerman, Latham, Rothschild teams

04/17/23     AS                         .40         662.00 Attend daily professionals' call with Huron, Rothschild,
                                                           Latham, Berger Singerman teams

04/17/23     JCC                        .50         625.00 Telephone call with E. Morris and J. Morley regarding
                                                           work in progress

04/17/23     BSR                        .50         570.00 Participate in Latham team work in progress call

04/17/23     JJW                        .50         570.00 Participate in work in progress call with Latham team

04/17/23     JWM                        .60         639.00 Attend work in progress call

04/17/23     JLT                        .60         639 .00 Prepare for and attend work in progress call

04/17/23     NAG                        .50         415 .00 Telephone conference with Latham team to discuss case
                                                            updates

04/18/23     YM                         .50         767 .50 Check in call with Debtor and Rothschild (0.2); attend


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                                                             Latham team coordination meeting (0.3)

04/18/23     AQ                         .90       1,224.00 Telephone conference with J. Gusa regarding status and
                                                           strategy (0.4); attend call with Huron and Rothschild
                                                           regarding same (0.5)

04/18/23     AS                         .50         827 .50 Attend daily professionals' call with Huron, Latham,
                                                            Rothschild, Berger Singerman teams

04/18/23     EAM                        .60         771.00 Correspond with Latham team regarding status and
                                                           strategy

04/18/23     TK                         .70         745 .50 Attend work in progress call

04/19/23     AS                         .30         496 .50 Attend daily professionals' call with Latham, Berger
                                                            Singerman, Rothschild, Huron teams

04/19/23     JCC                        .80       1,000.00 Review of case calendar (0.6); emails with N. Gulati
                                                           regarding same (0.2)

04/19/23     NAG                       1.40       1,162.00 Update work in progress list and case calendar (1.2); email
                                                           case calendar to client and working group (0.2)

04/20/23     AQ                         .50         680.00 Attend call with Huron and Rothschild regarding status
                                                           and strategy

04/20/23     AS                         .40         662.00 Attend daily professionals' call with Huron, Rothschild,
                                                           Latham, Berger Singerman teams

04/20/23     JCC                       1.60       2,000.00 Telephone call with J. Weichselbaum and N. Gulati
                                                           regarding work in progress and next steps (0 .5); review
                                                           outstanding work in progress (0.2); telephone call with L.
                                                           Burton, J. Morley, and others regarding work in progress
                                                           (0.4); review and update work in progress tracker (0.4);
                                                           communications with E. Morris regarding same (0.1)

04/20/23     EAM                       1.30       1,670.50 Correspond with team regarding strategy and status

04/20/23     BSR                        .40         456 .00 Participate in work in progress call with Latham and
                                                            Berger Singerman teams

04/20/23     JJW                        .30         342.00 Participate in team work in progress call

04/20/23     NAG                       1.80       1,494 .00 Email work in progress list for call (0.2); telephone
                                                            conference to discuss work in progress list (0.3); telephone
                                                            conference with J . Celentino and J . Weichselbaum
                                                            discussing case management (0.3); update work in
                                                            progress list (1.0)

04/21/23     AS                         .50         827 .50 Attend daily professionals' call with Latham, Berger
                                                            Singerman, Huron, Rothschild teams


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04/21/23     JCC                       1.60       2,000 .00 Review outstanding work streams, analyze to-dos, and
                                                            revise work in progress tracker

04/22/23     JCC                        .90       1,125.00 Review project status (0.3); update work in progress
                                                           tracker (0.3); coordinate assignments (0.3)

04/23/23     JCC                       1.70       2,125.00 Review work in progress status and update tracker

04/24/23     AS                         .70       1,158.50 Attend daily professionals' call with Latham, Berger
                                                           Singerman, Huron, Rothschild teams

04/24/23     JCC                       1.60       2,000.00 Revise work in progress tracker (0.6); email Latham team
                                                           regarding the same (0.1); telephone call with Latham team
                                                           regarding same (0.9)

04/24/23     BSR                       1.00       1,140.00 Participate in work in progress call

04/24/23     JJW                       1.30       1,482.00 Participate in team work in progress call (1.0); review
                                                           work in progress list (0.3)

04/24/23     JWM                        .90         958 .50 Attend work in progress call

04/24/23     JLT                       1.00       1,065.00 Attend work in progress call

04/24/23     NAG                       1.10         913.00 Teleconference with Latham team to discuss updates (1.0);
                                                           update work in progress list (0.1)

04/25/23     AQ                         .70         952 .00 Telephone conference with A. Sorkin, Huron and
                                                            Rothschild regarding status and strategy

04/25/23     AS                         .60         993 .00 Attend daily professionals' call

04/25/23     NAG                        .40         332.00 Update work in progress list

04/26/23     AS                         .60         993.00 Attend daily professionals' call with Latham, Berger
                                                           Singerman, Huron, Rothschild teams

04/26/23     JCC                       1.70       2,125.00 Coordinate with individual members of Latham associate
                                                           team regarding assignments of workstreams (0.7); revise
                                                           pleadings to be filed regarding open workstreams (1.0)

04/26/23     JCC                        .30         375.00 Review and update work in progress tracker

04/26/23     JJW                        .20         228 .00 Review work in progress list

04/26/23     NAG                       1.40       1,162.00 Update work in progress list and case calendar (1.3); email
                                                           case calendar to client (0 .1)

04/27/23     AQ                        1.20       1,632.00 Review work in progress tracker (0.2); telephone
                                                           conference with A. Sorkin, E . Morris, J . Celentino, W.
                                                           Morley and J. Teresi regarding same (0.5); attend status
                                                           call with Huron and Rothschild (0 .5)

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04/27/23     AS                         .50         827 .50 Attend daily professionals' call with Latham, Berger
                                                            Singerman, Huron, Rothschild teams

04/27/23     HKM                        .90       1,314 .00 Attend work in progress call

04/27/23     JCC                        .80       1,000.00 Telephone call with A. Sorkin, H . Murtaugh, A.
                                                           Quartarolo, and Latham associate team regarding case
                                                           strategy and outstanding workstreams

04/27/23     JJW                        .60         684 .00 Participate in team update call

04/27/23     JWM                       1.00       1,065.00 Attend work in progress call

04/27/23     JLT                       1.00       1,065.00 Prepare for and attend work in progress call

04/27/23     NAG                       1.00         830 .00 Email work in progress list for team call (0.1); telephone
                                                            conference to discuss case updates (0.9)

04/27/23     CMT                        .80         392.00 Prepare pro hac vice motion and order for J . Celentino

04/28/23     CAR                       1.30       2,405 .00 Participate in professionals call regarding case status and
                                                            exit strategy (0.5); call with A. Sorkin regarding exit
                                                            strategy issues (0.8)

04/28/23     JCC                        .60         750.00 Review and update work in progress tracker



Attorney:

CA Reckler                     1.30     Hrs.@       $ 1,850.00/hr.            $2,405.00
A Sorkin                       9.50     Hrs.@       $ 1,655.00/hr.           $15,722.50
YMun                            .50     Hrs.@       $ 1,535.00/hr.              $ 767.50
A Quartarolo                   6.00     Hrs.@       $ 1,360.00/hr.            $8,160.00
B Kaplan                        .20     Hrs.@       $ 1,535.00/hr.              $ 307.00
HK Murtagh                      .90     Hrs.@       $ 1,460.00/hr.            $1,314.00
EA Morris                      1.90     Hrs.@       $ 1,285.00/hr.            $2,441.50
Y L Burton                     1.90     Hrs.@       $ 1,250.00/hr.            $2,375.00
J C Celentino                 13.70     Hrs.@       $ 1,250.00/hr.           $17,125.00
BS Rosen                       3.40     Hrs.@       $ 1,140.00/hr.            $3,876.00
J J Weichselbaum               2.90     Hrs.@       $ 1,140.00/hr.            $3,306 .00
TKim                            .70     Hrs.@       $ 1,065.00/hr.              $ 745.50




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J W Morley                       2.90     Hrs.@       $ 1,065.00/hr.            $3,088.50
J L Teresi                       2.60     Hrs.@       $ 1,065.00/hr.            $2,769.00
                               48.40                                           $64,402.50

Other:

NA Gulati                       10.70     Hrs.@        $ 830.00/hr.             $8,881.00
CM Tarrant                        .80     Hrs.@        $ 490.00/hr.               $ 392.00
                                11.50                                           $9,273.00

GRAND TOTAL:                   59.90                                           $73,675.50




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04/04/23     JJW                       1.00       1,140.00 Review and revise agreed order regarding late claim (0.3);
                                                           review precedents (0.4); research issues relating to same
                                                           (0.3)

04/05/23     JJW                        .60         684.00 Revise late claim order (0.2) ; correspondence with Debtor
                                                           and Latham team regarding same (0.4)

04/10/23     AS                         .20         331.00 Telephone conference with W . Benzija, A. Quartarolo
                                                           regarding administrative expense application

04/10/23     JCC                       2.80       3,500.00 Research litigation claims and defenses and review factual
                                                           bases for same

04/11/23     BSR                        .50         570.00 Call with E. Morris regarding proof of claim

04/11/23     JJW                        .70         798.00 Call with claimant to discuss late claim motion (0.3);
                                                           review agreed order (0.2); circulate the same (0.1);
                                                           correspond with parties in interest regarding same (0.2)

04/17/23     JJW                        .50         570.00 Review late claim motion (0.4); correspond with Latham
                                                           team regarding same (0.1)

04/18/23     JCC                        .60         750 .00 Telephone call with J. Weichselbaum regarding late claim
                                                            motion (0.1); review filing and proposed order (0.2);
                                                            drafting response (0.3)

04/18/23     NAG                       1.30       1,079.00 Review creditor proof of claims

04/19/23     JCC                        .70         875.00 Review late filed claim stipulation (0.1); review filed proofs
                                                           of claim to determine objections (0.3); telephone call with
                                                           J. Morley and N . Gulati regarding same (0.3)

04/19/23     NAG                       1.00         830 .00 Review proofs of claim (0 .7); telephone conference with J .
                                                            Celentino and W. Morley discussing proofs of claim (0.3)

04/20/23     JCC                        .90       1,125.00 Telephone call with J . Morley and N . Gulati regarding
                                                           claim objections (0.5); review of proofs of claim for
                                                           objections (0.4)

04/20/23     NAG                       3.60       2,988.00 Review filed proof of claims (3.2); telephone conference
                                                           with J . Celentino and W. Morley discussing proof of
                                                           claims (0.4)

04/23/23     JCC                        .90       1,125.00 Review proofs of claim (0.5); research potential objections
                                                           (0.3); draft email to J. Morley and N. Gulati regarding
                                                           same (0 .1)

04/29/23     JCC                        .30         375.00 Review Yellowstone motion seeking administrative claim
                                                           (0.1); research relevant facts and coordinate response (0.2)




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Attorney:

A Sorkin                          .20     Hrs.@       $ 1,655.00/hr.              $ 331.00
J C Celentino                    6 .20    Hrs.@       $ 1,250.00/hr.            $7,750.00
BS Rosen                          .50     Hrs.@       $ 1,140.00/hr.              $ 570 .00
J J Weichselbaum                 2.80     Hrs.@       $ 1,140.00/hr.            $3,192.00
                                 9.70                                          $11,843.00

Other:

NA Gulati                        5.90     Hrs.@        $ 830.00/hr.             $4,897.00
                                 5.90                                           $4,897.00

GRAND TOTAL:                    15.60                                          $16,740.00




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04/03/23     YM                        1.60       2,456 .00 Prepare for (0.1) and attend Debtor board call (1.5)

04/03/23     CAR                        .40         740.00 Participate in board call

04/03/23     KAR                        .60         816.00 Prepare for (0.1) and present at board meeting (0.5)

04/03/23     AS                        1.70       2,813.50 Preparation call for board meeting with S. Panagos (0.2);
                                                           attend board meeting (1.5)

04/03/23     ASB                       1.10       1,468.50 Revise presentation for Board of Directors regarding
                                                           options and strategy for non-debtor IP

04/03/23     BK                        1.50       2,302 .50 Attend board call

04/03/23     JWM                       1.70       1,810.50 Attend board meeting and take notes of the same

04/03/23     NAG                        .20         166.00 Draft board meeting minutes for 3/23 meeting

04/04/23     NAG                       1.00         830 .00 Draft minutes for 3/27 board meeting

04/06/23     AQ                        1.50       2,040 .00 Attend board meeting (1.1); review and revise board
                                                            minutes (0.4)

04/06/23     CAR                       1.10       2,035 .00 Participate in board call

04/06/23     AS                        1.80       2,979 .00 Attend semi-weekly board call

04/06/23     JCC                       1.30       1,625.00 Attend meeting of board of directors

04/06/23     JWM                       1.20       1,278.00 Attend board meeting and take notes of the same

04/06/23     NAG                       2.80       2,324 .00 Attend 4/6 Board Meeting (1.8); draft meeting minutes for
                                                            3/30 board meeting (1.0)

04/07/23     NAG                       1.70       1,411.00 Draft 3/27 board meeting minutes

04/08/23     NAG                       1.00         830 .00 Draft 3/27 board minutes

04/09/23     EAM                       1.00       1,285.00 Review Board minutes for privilege

04/10/23     CAR                        .80       1,480.00 Participate in board call

04/10/23     AS                        1.70       2,813.50 Correspondence with board regarding settlement
                                                           counterproposal (0.1); correspondence with C. Reckler
                                                           regarding same/update (0.1); attend and participate in
                                                           regular board meeting (1.5)

04/10/23     JCC                       1.50       1,875.00 Attend meeting of Board of Directors

04/10/23     NTW                        .60         684 .00 Prepare for board meeting

04/10/23     NAG                       1.50       1,245.00 Attend 4/10 board meeting


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04/12/23     JWM                       2.20       2,343 .00 Review and revise minutes and circulate the same

04/13/23     AQ                        1.30       1,7-68.00 Attend board meeting (1.0); review materials regarding
                                                            same (0 .3)

04/13/23     AS                        2.30       3,806.50 Telephone conference with S. Panagos to prepare for
                                                           board meeting (0.5); attend regularly scheduled board
                                                           meeting and participate in same (1.8)

04/13/23     YLB                        .80       1,000.00 Attend board meeting

04/13/23     JCC                       1.00       1,250.00 Attend meeting of board of directors

04/13/23     NAG                       3.40       2,822.00 Update board minutes with comments from W. Morley
                                                           (1.0); attend 4/13 board meeting (1.9); email board
                                                           minutes to C . Reckler, A. Sorkin and A. Quartarolo for
                                                           review (0.5)

04/11/23     AQ                         .80       1,088.00 Attend board meeting

04/11/23     AS                        1.00       1,655.00 Attend semi-weekly board call

04/17-/23    DMT                        .20         388.00 Review board employment agreement

04/17-/23    BK                         .50         7-67- .50 Attend board call

04/17-/23    YLB                        .40         500.00 Review board minutes

04/17-/23    JCC                       1.00       1,250.00 Attend meeting of board of directors

04/17-/23    JWM                        .30         319.50 Review and revise board minutes

04/17-/23    NAG                       1.20         996.00 Attend 4/17- board meeting (1.0); email executed minutes
                                                           to client (0.2)

04/20/23     YM                        1.00       1,535.00 Attend board call

04/20/23     AQ                        2.30       3,128.00 Attend board meeting (1.3); review and revise board
                                                           minutes (1.0)

04/20/23     AS                        1.30       2,151.50 Attend and participate in semi-weekly board call

04/20/23     DMT                       1.40       2,7-16.00 Review board member employment agreement, e-mail
                                                            correspondence; prepare comments regarding same

04/20/23     BK                        1.60       2,456.00 Attend board call

04/20/23     NAG                       1.60       1,328.00 Attend 4/20 board meeting

04/24/23     YM                        1.60       2,456 .00 Attend board call

04/24/23     AQ                        1.80       2,448 .00 Attend board meeting (1.0); review and revise board
                                                            minutes (0 .8)

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Matter Name: Corporate Governance & Board Matters


Date         Timekeeper              Hours        Amount Description

04/24/23     CAR                        .90       1,665.00 Participate in board meeting

04/24/23     KAR                       2.00       2,720.00 Prepare for and attend board meeting to discuss antitrust
                                                           matters (1.6); related discussions with client and team (0.4)

04/24/23     AS                        1.60       2,648.00 Attend semi-weekly board call

04/24/23     AS                         .20         331.00 Correspondence with board regarding proposal

04/24/23     BK                        1.60       2,456 .00 Attend board meeting

04/24/23     JCC                        .60         750.00 Attend meeting of board of directors regarding sale
                                                           process and case strategy

04/24/23     JWM                        .90         958.50 Review and revise board minutes

04/24/23     NAG                       1.60       1,328.00 Attend and take notes during 4/24 board meeting

04/25/23     JWM                        .10         106.50 Correspond with N . Gulati regarding board minutes

04/25/23     NAG                        .80         664 .00 Draft 4/6 board meeting minutes

04/26/23     JWM                       1.50       1,597.50 Draft board minutes

04/27/23     AQ                        3.20       4,352.00 Prepare for and attend board meeting (1.6) ; review and
                                                           revise board minutes (1.5)

04/27/23     CAR                       1.00       1,850.00 Participate in board call

04/27/23     AS                        2.10       3,475.50 Pre-call with S. Panagos regarding update (0.6); attend
                                                           board call (1.5)

04/27/23     BK                        1.50       2,302.50 Attend board meeting

04/27/23     JCC                        .50         625 .00 Attend meeting of board of directors

04/27/23     NAG                       3.40       2,822 .00 Draft 4/6 board meeting minutes (1.9); attend 4/27 board
                                                            meeting (1.5)

04/28/23     BK                         .10         153 .50 Telephone conference with W . Morley regarding minutes
                                                            and process

04/28/23     JWM                        .70         745.50 Review and revise board minutes

04/28/23     NAG                       1.60       1,328.00 Update March board minutes with comments from A.
                                                           Quartarolo




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Invoice No. 2300305436
May 22, 2023
Matter Name: Corporate Governance & Board Matters


Attorney:

DMTaub                           1.60     Hrs.@       $ 1,940.00/hr.            $3,104.00
CA Redder                        4 .20    Hrs.@       $ 1,850.00/hr.            $ ,,no.oo
A Sorkin                        13.70     Hrs.@       $ 1,655.00/hr.           $22,673.50
YMun                             4.20     Hrs.@       $ 1,535.00/hr.            $6,447.00
A Quartarolo                    10.90     Hrs.@       $ 1,360.00/hr.           $14,824.00
KA Rocco                         2.60     Hrs.@       $ 1,360.00/hr.            $3,536.00
B Kaplan                         6.80     Hrs.@       $ 1,535.00/hr.           $10,438.00
AS Blanco                        1.10     Hrs.@       $ 1,335.00/hr.            $1,468.50
EA Morris                        1.00     Hrs.@       $ 1,285.00/hr.            $1,285.00
Y L Burton                       1.20     Hrs.@       $ 1,250.00/hr.            $1,500.00
J C Celentino                    5.90     Hrs.@       $ 1,250.00/hr.            $7,375 .00
NT Wages                          .60     Hrs.@       $ 1,140.00/hr.              $ 684.00
JWMorley                         8.60     Hrs.@       $ 1,065.00/hr.            $9,159.00
                               62.40                                           $90,264.00

Other:

NA Gulati                      21.80      Hrs.@        $ 830.00/hr.            $18,094.00
                               21.80                                           $18,094.00

GRAND TOTAL:                   84.20                                          $108,358.00




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LATHAM &WATKI NS LLP
Invoice No. 2300305436
May 22, 2023
Matter Name: Employee Benefits and Pensions


Date         Timekeeper               Hours       Amount Description

04/19/23     AQ                         .20         272 .00 Email D. Taub regarding employment agreement

04/24/23     NA                        1.00       1,460.00 Attention to WARN inquiry (0.7); communication with the
                                                           Latham team concerning the same (0.3)

04/24/23     BK                         .30         460.50 Telephone conference with N . Alkhas regarding WARN
                                                           considerations



Attorney:

N Alkhas                       1.00     Hrs.@       $ 1,460.00/hr.            $1,460.00
A Quartarolo                    .20     Hrs.@       $ 1,360.00/hr.              $ 272.00
B Kaplan                        .30     Hrs.@       $ 1,535.00/hr.              $ 460.50
                               1.50                                           $2,192.50




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LATHAM &WATKI NS LLP
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May 22, 2023
Matter Name: Employment and Fee Applications



Date         Timekeeper                            Amount Description

04/02/23     ACD                          .30        294 .00 Correspond internally regarding matters related to
                                                             Latham fee statements

04/03/23     JJW                          .50        570 .00 Review updated conflicts results (0.3); review
                                                             supplemental declaration (0.2)

04/03/23     ACD                          .80        784.00 Review and analyze information provided by Latham
                                                            conflicts team (0.3); draft third supplemental Sorkin
                                                            declaration regarding same (0.4) ; correspond with J.
                                                            Weichselbaum regarding same (0.1)

04/04/23     AS                           .10        165.50 Review supplemental Sorkin declaration

04/04/23     CMT                        1.60         784.00 Review and revise materials for March interim fee
                                                            statement

04/04/23     ACD                          .20        196.00 Correspond with A. Sorkin and J. Weichselbaum
                                                            regarding third supplemental Sorkin declaration

04/05/23     JJW                          .30        342 .00 Review final supplemental declaration for filing (0.2) ;
                                                             email U.S. Trustee and UCC regarding redacted
                                                             supplemental declaration (0.1)

04/05/23     ACD                          .40        392.00 Finalize redacted and unredacted versions of Sorkin
                                                            declaration (0.2); correspond with C. Tarrant and J .
                                                            Weichselbaum regarding filing and service of same (0.2)

04/06/23     CMT                        1.30         637 .00 Review and revise materials for March fee statement

04/06/23     ACD                          .20        196.00 Correspond with Latham team regarding Latham March
                                                            fee statement

04/12/23     ACD                          .30        294 .00 Review Latham invoices for privilege and confidentiality
                                                             (0 .2); correspond with Latham team regarding same (0.1)

04/13/23     BSR                        1.60       1,824 .00 Conduct privilege and confidentiality review of invoices

04/14/23     ACD                          .20        196.00 Correspond with Latham team regarding Latham March
                                                            fee statement

04/18/23     YLB                        1.70       2,125 .00 Review invoice and redact for confidentiality matters

04/18/23     BSR                          .20        228.00 Review fee statement

04/18/23     CMT                        1.10         539.00 Review materials for monthly fee statement

04/19/23     AS                           .90      1,489.50 Review invoice for privilege and compliance with
                                                            guidelines

04/20/23     BSR                        1.50       1,710.00 Conduct privilege review for invoices

04/20/23     ACD                          .30        294 .00 Correspond with Latham team regarding Latham March


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Matter Name: Employment and Fee Applications


Date           Timekeeper                           Amount Description

                                                               fee statement

04/26/23       JCC                        .80       1,000.00 Review Rothschild engagement letters and success fees
                                                             (0.5); review application to employ Grant Thornton and
                                                             Owoc objection and determine strategy for response (0.3)



Attorney:

A Sorkin                         1.00     Hrs.@       $ 1,655.00/hr.            $1,655.00
Y L Burton                       1.70     Hrs.@       $ 1,250.00/hr.            $2,125 .00
J C Celentino                     .80     Hrs.@       $ 1,250.00/hr.            $1,000 .00
BS Rosen                         3.30     Hrs.@       $ 1,140.00/hr.            $3,762.00
J J Weichselbaum                  .80     Hrs.@       $ 1,140.00/hr.              $ 912.00
                                 7.60                                           $9,454.00

Other:

CM Tarrant                       4.00     Hrs.@        $ 490.00/hr.             $1,960.00
AC Davis                         2.70     Hrs.@        $ 980.00/hr.             $2,646.00
                                 6.70                                           $4,606.00

GRAND TOTAL:                    14.30                                          $14,060.00




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LATHAM &WATKI NS LLP
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Matter Name: Financing and Cash Collateral


Date         Timekeeper                            Amount Description

04/01/23     BTG                          .50        625 .00 Coordinate execution of waiver and RoR letters

04/06/23     BTG                        1.40       1,750.00 Conference and correspond with financial advisors and
                                                            client regarding DIP borrowing (0.9); review and revise
                                                            notice of borrowing (0.4) ; coordinate execution and
                                                            delivery of notice of borrowing (0.1)

04/11/23     BTG                          .20        250 .00 Correspond with Debtors and financial advisors regarding
                                                             borrowing

04/18/23     BTG                        1.50       1,875.00 Correspond internally regarding prepetition transaction
                                                            documents (0.7); review prepetition transaction documents
                                                            per the same (0.8)

04/19/23     BTG                        1.50       1,875.00 Review prepetition transaction documents and gather for
                                                            distribution

04/20/23     BTG                          .80      1,000.00 Attention to execution of reservation of rights letter

04/26/23     AS                         1.30       2,151.50 Video conference with MVA, FTI, Huron regarding
                                                            funding matters, next steps (0.7); telephone conference
                                                            with E. Chafetz, L. Lluberas regarding same (0.6)

04/28/23     BTG                          .20        250.00 Review reservation of rights letter



Attorney:

A Sorkin                        1.30     Hrs.@        $ 1,655.00/hr.             $2,151.50
BT Gelfand                      6.10     Hrs.@        $ 1,250.00/hr.             $7,625.00
                                7.40                                             $9,776.50




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May 22, 2023
Matter Name: Hearings


Date         Timekeeper               Hours        Amount Description

04/06/23     AQ                           .60        816 .00 Attend hearing regarding discovery issues

04/06/23     AS                         1.20       1,986.00 Attend 4/6 hearing

04/06/23     NAG                          .40        332.00 Attend 4/6 hearing

04/12/23     AQ                         1.20       1,632.00 Prepare for and attend hearing on emergency motion

04/12/23     AS                         2.20       3,641.00 Attend hearing regarding motion for contempt

04/12/23     EAM                        1.00       1,285.00 Attend contempt motion hearing

04/12/23     JWM                        2.30       2,449 .50 Attend hearing

04/12/23     NAG                        1.80       1,494.00 Attend 4/12 hearing

04/11/23     JJW                          .60        684.00 Prepare outline for fee application hearing

04/19/23     AS                         1.60       2,648 .00 Review and revise script for fee hearing (1.0); further
                                                             prepare for fee hearing and revise script (0.6)

04/19/23     JJW                          .70        798 .00 Assist in preparation for fee application hearing (0.5);
                                                             attend 4/19 scheduling conference (0.2)

04/19/23     NAG                          .20        166.00 Attend 4/19 scheduling conference

04/20/23     AS                         2.60       4,303 .00 Prepare for hearing, including correspondence with J.
                                                             Weichselbaum regarding fee application questions (1.1);
                                                             participate in hearing regarding fee applications and other
                                                             matters (1.5)

04/20/23     HKM                        1.00       1,460.00 Attend 4/20 hearing

04/20/23     JCC                          .40        500.00 Attend telephonic status conference

04/20/23     JJW                        1.00       1,140.00 Attend hearing on fee application

04/22/23     HKM                        1.10       1,606.00 Draft summary judgment hearing demonstratives

04/23/23     HKM                          .90      1,314 .00 Revise summary judgment hearing demonstratives

04/24/23     JWM                        3.00       3,195.00 Prepare exhibit register (1.5); prepare materials for
                                                            hearing (1.5)

04/25/23     AS                         2.00       3,310.00 Attend (in part) hearing regarding summary judgment in
                                                            Owoc adversary proceeding

04/25/23     HKM                        4 .10      5,986 .00 Final hearing preparation (1.3); attend Owoc summary
                                                             judgment motion hearing (2.5); debrief with Latham team
                                                             (0.3)

04/25/23     JCC                          .70        875 .00 Attend hearing on social media accounts adversary
                                                             proceeding

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Matter Name: Hearings


Date           Timekeeper               Hours       Amount Description

04/25/23       EAM                       2.60       3,341.00 Attend hearing on Owoc extension of time and social
                                                             media summary judgment

04/25/23       JJW                       2.20       2,508.00 Attend hearing in social media litigation

04/25/23       JWM                       5.30       5,644.50 Assist with H . Murtagh preparation for hearing (2 .8);
                                                             attend summary judgment hearing (2.5)

04/25/23       NAG                        .90         747.00 Prepare for 4/25 hearing

04/26/23       JCC                        .20         250.00 Coordinate with J . Gusa and M . Niles regarding 4/27
                                                             hearing preparations and presentations

04/26/23       JJW                        .70         798.00 Prepare for hearing on April 27

04/26/23       NAG                        .90         747 .00 Prepare for 4/27 hearing

04/27/23       HKM                        .50         730 .00 Attend 4/27 hearing (partial participant)

04/27/23       JJW                       2.10       2,394.00 Prepare for and attend hearing on rejection/assumption
                                                             motions

04/27/23       NAG                        .80         664 .00 Prepare for 4/27 hearing



Attorney:

A Sorkin                         9.60     Hrs.@       $ 1,655.00/hr.           $15,888.00
A Quartarolo                     1.80     Hrs.@       $ 1,360.00/hr.            $2,448.00
HK Murtagh                       7.60     Hrs.@       $ 1,460.00/hr.           $11,096.00
EA Morris                        3.60     Hrs.@       $ 1,285.00/hr.            $4,626.00
J C Celentino                    1.30     Hrs.@       $ 1,250.00/hr.            $1,625.00
J J Weichselbaum                 7.30     Hrs.@       $ 1,140.00/hr.            $8,322.00
JWMorley                        10.60     Hrs.@       $ 1,065.00/hr.           $11,289.00
                               41.80                                           $55,294.00

Other:

NA Gulati                        5.00     Hrs.@        $ 830.00/hr.             $4,150.00
                                 5.00                                           $4,150.00

GRAND TOTAL:                   46.80                                           $59,444.00




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Matter Name: Leases and Contracts


Date         Timekeeper                           Amount Description

04/01/23     NAG                       1.70       1,411.00 Update cure objection chart with newly filed objections

04/02/23     JJW                       3.40       3,876.00 Review filed cure objections (0.6); review and revise
                                                           objection chart (2 .3); correspond with team regarding
                                                           same (0.2); review emails regarding cure issues (0.2);
                                                           correspond with L. Burton regarding same (0.1)

04/02/23     NAG                         .70        581.00 Review cure objection chart

04/03/23     BK                          .30        460.50 Review and consider Debtor query regarding material
                                                           contract

04/03/23     YLB                       1.10       1,375.00 Call with J . Weichselbaum regarding cure schedules and
                                                           disclosures (0.5); call with Huron and Berger Singerman
                                                           team regarding same (0.6)

04/03/23     JJW                       5.20       5,928.00 Call with L. Burton regarding cure issues (0.2); correspond
                                                           with Debtors regarding same (0 .2); review documents
                                                           (invoices/contract) in connection with same (0.5); review
                                                           outline regarding 365(d)(4) extension motion (0 .3);
                                                           research issues relating to same (0.4); review contract
                                                           objection chart (0.8); review contract objections (0.8);
                                                           prepare issues list regarding cure objections (0.7); call
                                                           with Huron, Latham and Berger Singerman teams
                                                           regarding cure schedule (0.7); review materials and
                                                           correspondence in connection with same (0.6)

04/03/23     NAG                       2.20       1,826.00 Research regarding 365(d)(4) motion (1.4); attend
                                                           telephone conference with Huron to discuss cure
                                                           objections (0.8)

04/04/23     JJW                       2.90       3,306.00 Review objection chart (0.8); revise same (0.6); correspond
                                                           with Latham team regarding same (0.2); attention to
                                                           various cure issues (0.8); conduct research into 365(d)(4)
                                                           research and related issues (0.5)

04/04/23     NAG                       1.30       1,079.00 Attend telephone conference with J. Weichselbaum and
                                                           summarize 365(d)(4) issues in an email to A. Sorkin

04/05/23     DCT                         .30        355.50 Analyze questions from strategic bidders regarding access
                                                           to material contracts

04/05/23     JJW                       2.40       2,736 .00 Calls with landlords to discuss lease matters (1.3);
                                                            correspond with team regarding 365(5)(4) extension issues
                                                            (0.3); review lease information from Huron (0 .5); create
                                                            tracker for 365(d)(4) extensions (0.3)

04/05/23     NAG                         .20        166.00 Email A. Sorkin about 365(d)(4) motion

04/06/23     DCT                         .50        592.50 Analyze questions from strategic bidders regarding access
                                                           to material contracts (0.3); draft responses to questions
                                                           regarding sharing of material contracts (0.2)

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Matter Name: Leases and Contracts


Date         Timekeeper              Hours        Amount Description

04/06/23     NAG                        .60         498 .00 Email A. Sorkin regarding lease extension motion

04/06/23     CMT                        .80         392.00 Research regarding lease rejection motion

04/01/23     YLB                       1.00       1,250.00 Review and revise lease rejection motion

04/01/23     DCT                        .80         948.00 Analyze questions from strategic bidders regarding access
                                                           to material contracts (0.5); draft responses to questions
                                                           regarding sharing of material contracts (0.3)

04/01/23     NAG                        .50         415.00 Email financial advisor answering question related to sale
                                                           objection from taxing authority

04/08/23     JJW                        .30         342.00 Respond to cure I lease issues (0.3)

04/09/23     JJW                        .20         228 .00 Email landlord regarding 365{d){4) extension

04/10/23     YLB                        .30         315 .00 Review lease rejection motion precedent

04/10/23     JJW                        .60         684.00 Attention to cure issues (0.3); correspond with creditor
                                                           regarding cure notice (0.3)

04/11/23     BSR                        .50         510 .00 Call with L. Burton, J . Weichselbaum, and N . Gulati
                                                            regarding 365(d) motion

04/11/23     JJW                       2.30       2,622 .00 Participate in call with L. Burton, B. Rosen and N. Gulati
                                                            to discuss lease issues (0.5); calls with landlords to discuss
                                                            lease matters (0 .6); attention to emails regarding contracts
                                                            and leases (0.3); discuss same with Latham team (0.2);
                                                            review materials in connection with 365(d){4) extensions
                                                            (0.4); correspond with Latham team to discuss creditor
                                                            inquiry regarding cure notice (0.3)

04/11/23     NAG                       8.20       6,806 .00 Create and update tracker for lease extension efforts (1.3);
                                                            telephone conference with L. Burton, J. Weichselbaum
                                                            and B. Rosen discussing lease strategy (0.5); draft outreach
                                                            email to landlord's counsel (0.5) ; telephone conference
                                                            with B. Rosen discussing motion (0.3); draft 365(d){4)
                                                            motion (5 .9)

04/12/23     YLB                       1.10       1,315.00 Review and revise lease rejection motion (0 .9); correspond
                                                           with N Gulati regarding same (0.2)

04/12/23     NAG                       1.90       1,511 .00 Update draft 365(d){4) motion (1.1); update lease
                                                            extension tracker (0.8)

04/13/23     NAG                       1.80       1,494.00 Email opposing counsel regarding lease extension
                                                           proposal (0.4); email research team regarding 365(d){4)
                                                           motion (0.4); email financial advisor regarding specific
                                                           lease (0.2); review legislative history regarding 365(d){4)
                                                           motion (0 .1); update lease motion with comments from
                                                           local counsel (0.1)

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Matter Name: Leases and Contracts


Date         Timekeeper              Hours        Amount Description

04/14/23     AS                         .10         165.50 Telephone conference with N . Gulati regarding 365(d)(4)
                                                           extension motion

04/14/23     JJW                       1.30       1,482.00 Review 365(d)(4) extension motion (0.4); attention to
                                                           emails regarding 365(d)(4) extensions (0.3); discuss same
                                                           with N. Gulati (0.3); review tracker of 365(d)(4) extensions
                                                           (0.3)

04/14/23     NAG                       1.70       1,411.00 Email Latham team regarding lease motion (0.2); update
                                                           lease tracker (1.5)

04/14/23     CMT                        .90         441.00 Review and revise cure objection chart

04/15/23     CAR                       1.10       2,035.00 Review and edit 365(d)(4) extension motion

04/15/23     AS                         .50         827 .50 Review and comment on 365(d)(4) extension motion

04/15/23     NAG                       1.00         830 .00 Update draft 365(d)(4) extension motion with comments
                                                            from A. Sorkin

04/16/23     YLB                        .50         625 .00 Review 365(d)(4) extension stipulation (0.4); correspond
                                                            with N Gulati regarding same (0.1)

04/16/23     JJW                        .60         684 .00 Correspond with Huron and Berger Singerman regarding
                                                            lease matter (0.2); review revised draft 365(d)(4) extension
                                                            motion (0.4)

04/16/23     NAG                       1.80       1,494 .00 Update lease motion (0.6) ; draft email to Debtors,
                                                            committee and lenders regarding lease issues (0.6); email
                                                            draft 365(d)(4) motion to Debtors, committee and lenders
                                                            (0.5)

04/17/23     BSR                        .90       1,026.00 Review correspondence related to lease motion (0 .5) ; calls
                                                           with J . Weichselbaum regarding same (0.4)

04/17/23     JJW                       2.80       3,192.00 Calls with the Committee regarding 365(d)(4) extension
                                                           motion (0.5); call with Latham and Berger Singerman
                                                           teams to discuss lease issues (0.3) ; finalize motion for filing
                                                           (0 .3); draft stipulation for consensual 365(d)(4) extensions
                                                           (1.1) ; review comments to same (0.1); revise to incorporate
                                                           comments (0.2); attention to lease issues (0.3)

04/17/23     NAG                       2.10       1,743 .00 Email J. Weichselbaum regarding 365(d)(4) extension
                                                            (0.4); email Latham team regarding committee's comments
                                                            to 365(d)(4) extension matters (0.4); update draft motion
                                                            with comments from committee (0.6); telephone
                                                            conference with J. Weichselbaum, L. Burton and M. Niles
                                                            to discuss lease strategy (0.5); update cure objection chart
                                                            (0.2)

04/18/23     AS                         .20         331.00 Telephone conference with J . Weichselbaum regarding
                                                           365(d)(4) issues

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04/18/23     YLB                       1.20       1,500.00 Review 365(d)(4) extension stipulations and tracker

04/18/23     JJW                       4.10       4,674.00 Call with Huron to discuss leases (0.6) ; review lease
                                                           agreements (0.7); calls with landlords to discuss 365(d)(4)
                                                           extensions (1.6); review chart relating to 365(d)(4)
                                                           extensions (0.3); discuss same with Latham and Berger
                                                           Singerman teams (0.6); review draft 365(d)(4) stipulation
                                                           (0.3)

04/18/23     NAG                       2.90       2,407 .00 Update lease rejection tracker (1,1); telephone conference
                                                            with Huron team to discuss status of leases (1.1); draft
                                                            365(d)(4) extension stipulations (0 .7)

04/19/23     YLB                        .70         875.00 Review and comment on lease assumption and extension
                                                           stipulations

04/19/23     JJW                       2.50       2,850.00 Calls regarding leases (0.3); review motion to assume
                                                           lease (0.4); review certain lease agreements (0.2); call with
                                                           landlord to discuss 365(d)(4) extension (0.1); research
                                                           relating to approval of 365(d)(4) stipulations (0.6); draft
                                                           motion regarding 365(d)(4) extensions (0.6); review
                                                           materials in connection with same (0.3)

04/19/23     NAG                       1.40       1,162.00 Draft 365(d)(4) stipulations (1.2) ; update lease extension
                                                           tracker (0.2)

04/20/23     YLB                        .90       1,125.00 Review cure and lease stipulations and motion regarding
                                                           same

04/20/23     JJW                       2.70       3,078.00 Draft motion to approve 365(d)(4) stipulations (0 .8); work
                                                           on stipulations regarding extensions (0.4); discuss status
                                                           with Latham and Berger Singerman teams (0.2) ; discuss
                                                           365(d)(4) extensions with landlords (0 .5); circulate
                                                           stipulations relating to same (0.3) ; review leases and
                                                           storage unit agreements (0.5)

04/20/23     NAG                       2.20       1,826.00 Draft 365(d)(4) stipulations (1.5) ; review draft motion to
                                                           approve stipulations (0 .3); update lease stipulation tracker
                                                           (0.4)

04/21/23     JJW                       2.60       2,964 .00 Calls with landlord to discuss 365(d)(4) extensions (0.7);
                                                            review comments to stipulations (0.3); discuss same with
                                                            landlord (0.3); draft 365(d)(4) extension stipulations (0.4);
                                                            circulate stipulations (0.2); review lease agreements (0.5);
                                                            correspond with Huron regarding status of extensions (0 .2)

04/23/23     JJW                        .70         798.00 Review storage unit agreements

04/24/23     YLB                        .80       1,000.00 Calls with J. Weichselbaum and J. Celentino regarding
                                                           lease matters (0 .6); emails regarding same (0.2)

04/24/23     JCC                        .60         750.00 Telephone call with L. Burton, J. Weichselbaum, and N.

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                                                               Gulati regarding lease rejection strategy

04/24/23     JJW                        3.70       4,218.00 Call with Huron to discuss lease issues (0.6); review
                                                            leases/contracts (0.4); review comments to 365(d)(4)
                                                            stipulations (0.6) ; calls with landlords to discuss same (0.4) ;
                                                            review hearing adjournment notice for motion to extend
                                                            365(d)(4) deadline (0 .2); revise 365(d)(4) stipulations (0.3) ;
                                                            call with Latham team to discuss lease issues (0.8); review
                                                            documents in connection with same (0.4)

04/24/23     NAG                        2.20       1,826.00 Telephone conference with J. Weichselbaum discussing
                                                            leases (0 .1); attend telephone conference with advisors to
                                                            discuss updates on leases (0 .8); update 365(d)(4)
                                                            stipulations with comments from opposing counsel (0.2) ;
                                                            telephone conference with L. Burton, J . Celentino & J.
                                                            Weichselbaum discussing lease rejection strategy (0.8) ;
                                                            draft stipulation for landlord (0.3)

04/25/23     JJW                        1.90       2,166.00 Review comments to 365(d)(4) stipulations (0.9) ; attention
                                                            to emails regarding same (0.2); correspond with team
                                                            regarding revised 365(d)(4) stipulations (0.4); review
                                                            revised drafts of same (0.4)

04/25/23     LS                          .40         426.00 Correspond with Rothschild regarding contracts

04/25/23     NAG                        4.30       3,569.00 Prepare stipulations for filing (0.6); telephone conference
                                                            with J . Weichselbaum and outside counsel to discuss lease
                                                            strategy (0.3); update lease tracker (1.2); update draft
                                                            365(d)(4) stipulations with comments from opposing
                                                            counsel (1.5); email 365(d)(4) stipulations to opposing
                                                            counsel (0.4); research relating to lease rejection issues
                                                            (0.3)

04/26/23     JJW                        2.00       2,280.00 Review leases (0.9); review 365(d)(4) stipulations (0.5);
                                                            discuss same with N . Gulati (0.2); calls with landlords to
                                                            discuss 365(d)(4) extensions (0.4)

04/26/23     NAG                        3.80       3,154 .00 Research relating to rejection issues (0 .3); review
                                                             outstanding issues relating to 365(d)(4) stipulations (1.1) ;
                                                             prepare 365(d)(4) stipulations for filing (1.0); email
                                                             365(d)(4) stipulations to opposing counsel for execution
                                                             (0.8); prepare 365(d)(4) stipulation for signature (0 .6)

04/27/23     JCC                         .80       1,000.00 Revise motions regarding lease agreements

04/27/23     JJW                        1.10       1,254.00 Review 365(d)(4) stipulations (0.4); correspond with team
                                                            regarding same (0.3) ; review comments to motion to
                                                            approve 365(d)(4) stipulations (0.2); review comments to
                                                            365(d)(4) stipulations (0.2)

04/27/23     NAG                         .40         332.00 Update lease tracker (0.2); email executed 365(d)(4)

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                                                             stipulation to opposing counsel (0 .2)

04/28/23     YM                        1.30       1,995.50 Call with Debtor and Huron regarding contracts list

04/28/23     BK                        1.40       2,149.00 Video conference with Huron, Rothschild, company and
                                                           Latham regarding cure schedule and related diligence
                                                           considerations

04/28/23     JCC                       1.90       2,375.00 Edit motion regarding consensual extensions of rejection
                                                           deadline (0.3); review rejection deadline extension
                                                           stipulations (0.2); telephone call with J. Weichselbaum
                                                           and N. Gulati regarding lease stipulations (0.4); analyze
                                                           assumption/rejection strategy regarding particular
                                                           contracts/leases and draft email regarding same (1.0)

04/28/23     JJW                       2.10       2,394.00 Call with Latham team to discuss lease issues (0.4); review
                                                           motion to approve 365(d)(4) stipulations (0.2); comment on
                                                           same (0 .2); review comments to 365(d)(4) stipulation (0.2);
                                                           discuss same with landlord (0.3); review leases/contracts
                                                           (0.3); correspond with Huron regarding leases/contracts
                                                           (0.2); attention to emails regarding rejection motion (0.1);
                                                           correspond with Berger Singerman regarding lease
                                                           matters (0 .2)

04/28/23     LS                        1.30       1,384.50 Attend call with Debtor, Rothschild, Huron and Latham
                                                           teams regarding cure schedule documents

04/28/23     NAG                       3.70       3,071.00 Email executed 365(d)(4) stipulation to counter party (0.2);
                                                           telephone conference with J. Celentino and J.
                                                           Weichselbaum discussing lease motion (0.4); draft motion
                                                           approving 365(d)(4) stipulations (0.4); execute 365(d)(4)
                                                           stipulations (1.0); email draft motion to counter parties
                                                           (1.0); update lease extension tracker and email to internal
                                                           team (0.7)

04/29/23     JJW                        .30         342.00 Review documents in connection with 365(d)(4)
                                                           stipulations

04/30/23     NAG                       1.20         996.00 Review data room for new leases



Attorney:

CA Reckler                     1.10     Hrs.@       $ 1,850.00/hr.             $2,035 .00
A Sorkin                        .80     Hrs.@       $ 1,655.00/hr.             $1,324 .00
YMun                           1.30     Hrs.@       $ 1,535.00/hr.             $1,995.50
B Kaplan                       1.70     Hrs.@       $ 1,535.00/hr.             $2,609.50
Y L Burton                     7.60     Hrs.@       $ 1,250.00/hr.             $9,500.00

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J C Celentino                    3.30     Hrs.@       $ 1,250.00/hr.            $4,125.00
DC Tifft                         1.60     Hrs.@       $ 1,185.00/hr.            $1,896.00
BS Rosen                         1.40     Hrs.@       $ 1,140.00/hr.            $1,596.00
J J Weichselbaum               45.70      Hrs.@       $ 1,140.00/hr.           $52,098.00
L Sievert                        1.70     Hrs.@       $ 1,065.00/hr.            $1,810.50
                               66.20                                           $78,989.50

Other:

NA Gulati                      47.80      Hrs.@        $ 830.00/hr.            $39,674 .00
CM Tarrant                       1.70     Hrs.@        $ 490.00/hr.               $ 833.00
                               49.50                                           $40,507.00

GRAND TOTAL:                  115.70                                          $119,496.50




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04/01/23     AS                           .40        662 .00 Review settlement proposal (0.3) ; correspondence with
                                                             team regarding same (0.1)

04/01/23     BK                         1.40       2,149 .00 Review settlement proposal and consider issues (0.9);
                                                             summarize issues for team (0.5)

04/01/23     HKM                          .30        438.00 Follow up with local counsel regarding Owoc summary
                                                            judgment timing

04/01/23     EAM                          .90      1,156.50 Review documents relating to UCC requests

04/01/23     JLT                        6.30       6,709.50 Review K. Cole documents (5.7); review deposition
                                                            transcript of K. Cole for confidentiality designations (0 .5);
                                                            correspond with A. Quartarolo regarding the same (0.1)

04/02/23     AK                         1.60       2,592 .00 Review settlement offer and discuss with team; review
                                                             annotated settlement documents and provide comments

04/02/23     YM                         1.60       2,456.00 Call with company, Huron, Rothschild and Latham team
                                                            regarding settlement documents (0.6); call with Latham
                                                            team regarding revisions to settlement documents (0.5);
                                                            call with bidder regarding IP litigation matters (0.5)

04/02/23     AS                         2.60       4,303.00 Prepare markup of settlement document (0.4);
                                                            correspondence with B. Kaplan, N. Wages regarding same
                                                            (0.5); attend call with G . Metzger, Huron, Rothschild
                                                            teams regarding potential response on settlement (1.0) ;
                                                            follow up telephone conference with D. Mun, B. Kaplan,
                                                            N. Wages, A. Quartarolo regarding same (0.6)

04/02/23     BK                         4 .30      6,600 .50 Telephone conference with A. Sorkin and N . Wages
                                                             regarding settlement documents (0.6) ; review and
                                                             consider comments to same (0 .3); update team and
                                                             consider (0.2) ; coordinate review of settlement documents
                                                             (0.4) ; telephone conference with Company, Huron,
                                                             Rothschild and Latham regarding settlement strategy and
                                                             dynamics (1.2); internal call with A. Quartarolo, D. Mun,
                                                             A. Sorkin, L. Sievert and N . Wages (0.5); telephone
                                                             conference with L. Sievert regarding issues list (0.5);
                                                             consider issues and coordinate amongst the team (0.5);
                                                             review and consider T. Klein comments to issues list (0.1)

04/02/23     HKM                        1.00       1,460.00 Review settlement offer material and consider responses

04/02/23     EAM                        3.80       4,883 .00 Email to UCC regarding search terms (0 .3); emails to
                                                             Consilio regarding document database (0 .5); correspond
                                                             with J. Teresi regarding UCC requests (0.2); review
                                                             documents for responsiveness to UCC requests (2.8)

04/02/23     NTW                       11.40      12,996.00 Correspondence with Latham team regarding non-debtor
                                                            IP, settlement documents and issues list (1.3); review and


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                                                             analyze settlement documents (2 .1); prepare for and
                                                             attend telephone conference with Debtors, team and
                                                             bankers regarding same (4.3); review comments to same
                                                             (0.8); edit and revise issues list (1.8); prepare for telephone
                                                             conference with Latham team regarding settlement
                                                             document (1.1)

04/02/23     JLT                       3.50       3, 7-27 .50 Review documents for responsiveness to UCC requests

04/03/23     AQ                         .90       1,224.00 Telephone conference with F. Tilus and J. Teresi
                                                           regarding UCC interview

04/03/23     ASB                        .40         534 .00 Correspondence and analysis regarding Monster royalty
                                                            from arbitration award

04/03/23     BK                         .50         767.50 Video conference with A. Sorkin, A. Klein, D . Mun, L.
                                                           Sievert, A. Singh, N. Wages and H. Murtagh regarding
                                                           settlement proposal, open items and responses

04/03/23     EAM                       3.10       3,983 .50 Prepare for and meet with F. Tilus in advance of UCC
                                                            interview (1.5); review documents for responsiveness to
                                                            UCC requests (1.6)

04/03/23     NTW                       5.50       6,270.00 Review and analyze arbitration award (2.9); draft
                                                           summary of the arbitration award (2.6)

04/03/23     KO                        3.30       2,326.50 Review and summarize arbitration award findings (1.5);
                                                           review and summarize 2010 settlement agreement (1.0);
                                                           review and summarize the audit and inspection procedure
                                                           in the arbitration award findings (0.8)

04/03/23     JLT                       9.50     10,117.50 Prepare for and attend interview preparation session with
                                                          F . Tilus (1.6); correspond with S. Rodriguez regarding
                                                          document requests (.2); review related documents (7.7)

04/04/23     AQ                        2.50       3,400.00 Prepare for (0.5) and attend interview of F. Tilus (2 .0)

04/04/23     AS                         .50         827 .50 Conference with T. Patterson, H . Parkhill regarding
                                                            potential settlement (0.4); further correspondence
                                                            regarding potential settlement (0.1)

04/04/23     BK                         .70       1,074.50 Review IP settlement issues list (0.3); telephone
                                                           conference with L. Sievert regarding issues list and next
                                                           steps (0.4)

04/04/23     BK                         .40         614 .00 Video conference with Rothschild and Latham regarding
                                                            settlement alternatives

04/04/23     EAM                       4 .50      5,782.50 Correspond with Debtor regarding responses to UCC
                                                           requests (0.5); review order regarding Jasmin Williams
                                                           motion (0.2); review documents for responsiveness to UCC
                                                           requests (3.8)

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04/04/23     NTW                        3.10       3,534 .00 Review and analyze settlement documents (1.4);
                                                             summarize settlement documents (1.7)

04/04/23     JLT                        7.50       7,987.50 Attend interview of F. Tilus (1.6); review related
                                                            documents (5.9)

04/05/23     AQ                          .70        952.00 Email and telephone conference with G. Metzger
                                                           regarding pending litigation (0.3); email with J. Gusa
                                                           regarding counsel appearances (0.1); email with E. Morris
                                                           and J . Teresi regarding discovery (0.3)

04/05/23     AS                          .40        662.00 Telephone conference with G. Metzger regarding
                                                           settlement discussions

04/05/23     HKM                        3.10      4,526 .00 Review settlement documents (0.4); discuss same with A.
                                                            Sorkin (0.3); create issues list for Latham team (0.4); initial
                                                            redraft of settlement documents (2.0)

04/05/23     JCC                        1.70       2,125.00 Review adversary proceeding filings and assess litigation
                                                            options regarding same (0 .8); meet with C. Reckler and A.
                                                            Sorkin regarding case and litigation strategy (0.9)

04/05/23     EAM                        2.00       2,570 .00 Call with A. Quartarolo regarding status and strategy
                                                             (0.8); attend to correspondence regarding UCC
                                                             productions (0.5); review documents for UCC requests
                                                             (0.7)

04/05/23     NTW                         .70         798 .00 Correspondence with Latham team regarding IP and
                                                             ongoing litigation

04/05/23     JL T                     11.20      11,928.00 Correspond with E . Morris regarding stayed litigation
                                                           (0.3); correspond with litigation services regarding the
                                                           same (0 .2); review docket of stayed litigation (0.2); call
                                                           with E. Morris regarding information requests (0.3);
                                                           review related documents (8 .1); correspond with
                                                           Rothschild regarding VDR (0.2); correspond with Consilio
                                                           and practice support services regarding production of
                                                           documents (0.2); review documents (1.7)

04/06/23     AQ                          .90       1,224 .00 Email S. Parkhurst regarding social media issues (0 .2);
                                                             email B. Shraiberg regarding same (0.1); review filings
                                                             (0.3); email E. Morris regarding same (0.1); email S.
                                                             Parkhurst and A. Gupta regarding IP issues (0 .2)

04/06/23     AS                         1.10       1,820.50 Telephone conference with J . Celentino regarding
                                                            Monster litigation background, strategy (0.7); telephone
                                                            conference with J. Celentino, H. Murtagh regarding same
                                                            (0.4)

04/06/23     HKM                       4 .70      6,862 .00 Continue redraft of settlement documents (3.1); discuss
                                                            with A. Sorkin and incorporate further edits (0 .6); call with


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                                                               local counsel regarding motion to expedite (0.5) ; call with
                                                               Rothschild regarding settlement documents (0.5)

04/06/23     JCC                        1 .50      9,315 .00 Continue review of adversary proceeding filings and
                                                             exhibits to develop litigation strategy (1.1) ; call with A.
                                                             Sorkin regarding same (0.1); Telephone call with A.
                                                             Sorkin, H. Murtagh, and J. Gusa regarding litigation
                                                             strategy (0.5); edit motion to expedite consideration of
                                                             motion to withdraw the reference (4.3)

04/06/23     EAM                        3.10       3,983.50 Call with G. Metzger (0.2); review documents for
                                                            responsiveness to UCC requests (2 .9)

04/06/23     JLT                        8.40       8,946.00 Review documents responsive to UCC requests (1.2);
                                                            research regarding privilege case law (1.2)

04/06/23     NAG                         .20         166.00 Email local counsel with question relating to litigation
                                                            timing (0 .2)

04/06/23     CMT                        1.40         686 .00 Review and revise 2004 chart (1.1); emails with Latham
                                                             team regarding same (0.3)

04/01123     AQ                         1.90       2,584 .00 Email A. Gupta regarding discovery (0.2); email J . Gusa
                                                             regarding pending litigation (0.2) ; email G. Metzger
                                                             regarding same (0.1) ; email W. Benzija regarding
                                                             administrative expense claim (0.1); email G . Weiner
                                                             regarding 2004 examinations (0.1); email G. Eckhouse
                                                             regarding trademark invoices (0 .1); review same (0.2);
                                                             email J. Teresi and E. Morris regarding discovery and
                                                             document productions (0.5); telephone conference with E.
                                                             Morris regarding same (0.3); email B. Shraiberg regarding
                                                             social media content (0.1)

04/01/23     AS                         1.90       3,144.50 Prepare for (0.2) and attend call with lenders and UCC
                                                            advisors regarding settlement discussion (1.4);
                                                            correspondence with I. Kharasch, lender/UCC advisors
                                                            regarding same (0.3)

04/01/23     YLB                         .20         250.00 Call with A. Sorkin regarding settlement matters

04/01123     JCC                        2.80       3,500.00 Further edits to motion to expedite consideration of motion
                                                            to withdraw the reference (1.2); edit motion to expedite
                                                            consideration of Defendants' motion to withdraw
                                                            reference (1.3) ; telephone call with J. Morley regarding
                                                            same (0 .3)

04/01/23     EAM                        4.50       5,182.50 Telephone call with J. Kucera regarding upcoming
                                                            deposition and document productions (0.5); review
                                                            documents for responsiveness to UCC requests (3.8);
                                                            correspond with UCC regarding document productions
                                                            (0.2)

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04/07/23     JLT                        7.70       8,200 .50 Review 2004 related documents (6.2) ; correspond with
                                                             Consilio and practice support services regarding
                                                             production (0.3); produce documents to the UCC (0.4);
                                                             continue reviewing documents (0.8)

04/07/23     CMT                        1.10         539.00 Review and revise motion seeking determination
                                                            regarding withdrawal of reference

04/08/23     AQ                         1.30       1,768.00 Email with E. Morris and J. Teresi regarding discovery
                                                            and document productions (0.5); email and telephone
                                                            conference with R. Mairnin regarding same (0 .3); email E.
                                                            Morris and J. Teresi regarding same (0.2) ; review
                                                            documents (0.3)

04/08/23     AS                           .70      1,158.50 Telephone conference with J . Cohen regarding settlement
                                                            response (0.4); prepare same and correspondence with
                                                            board regarding same (0.3)

04/08/23     HKM                        2.10       3,066.00 Review and comment on revised trademark dispute
                                                            settlement letter (0 .9); review and comment on motion to
                                                            expedite (0 .5); call with IP team regarding same (0.3);
                                                            further revisions to same (0 .2); follow-up with Latham
                                                            team regarding same (0.2)

04/08/23     JCC                          .80      1,000.00 Revise motion to expedite consideration of motion to
                                                            withdraw reference to incorporate attorney comments
                                                            (0.5) ; review draft agreement potentially to be used in sale
                                                            process (0 .3)

04/08/23     EAM                        2.00       2,570 .00 Attend to correspondence regarding UCC productions
                                                             (1.0); review documents for potential production (1.0)

04/08/23     JLT                        5.00       5,325.00 Review 2004 related documents (3 .9); correspond with A.
                                                            Quartarolo and E. Morris regarding previous production
                                                            (0.5); review documents (0 .6)

04/09/23     AQ                           .80      1,088.00 Attend to document production and review issues (0.7) ;
                                                            email G. Eckhouse regarding trademark invoices (0.1)

04/09/23     JCC                          .50        625 .00 Revise motion to expedite consideration of Defendants'
                                                             motion to withdraw reference

04/09/23     EAM                        7.10       9,123 .50 Review documents potentially responsive to UCC requests
                                                             (5.0) ; attend to correspondence regarding productions and
                                                             UCC requests (1.1)

04/09/23     JLT                        3.20       3,408.00 Review produced documents (2.6); correspond with
                                                            Consilio regarding production (0 .3); produce documents to
                                                            ucc (0.3)
04/10/23     AQ                         2.00       2,720 .00 Telephone conference with W . Benzjia and J . Gusa
                                                             regarding K. Cole claim (0.3); attend call with Huron and

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                                                             Rothschild regarding status and strategy (0.5); telephone
                                                             conference with G . Metzger and J . Gusa regarding
                                                             pending litigation (0.3); email J. Gusa regarding social
                                                             media (0.1); email R. Maimin regarding discovery (0.1);
                                                             email G. Metzger and E. Morris regarding same (0.3);
                                                             review documents produced (0.4)

04/10/23     AS                         .20         331.00 Telephone conference with J . Cohen regarding
                                                           counterproposal

04/10/23     HKM                        .20         292.00 Correspondence regarding settlement proposal

04/10/23     JCC                       3.80       4,750.00 Revise motion to expedite consideration of motion to
                                                           withdraw reference (1.7); communicate with client
                                                           regarding same (0.2); review legal memorandum and past
                                                           litigation filings to refine litigation strategy (1.9)

04/10/23     EAM                       6.50       8,352 .50 Calls and correspondence with J . Teresi regarding
                                                            upcoming depositions (0.5); call with Lowenstein
                                                            regarding document productions (0.5); call with J. Kucera
                                                            regarding upcoming deposition (0.5); correspond with
                                                            UCC regarding requested searches (0.5); review
                                                            documents for responsiveness to UCC requests (3.6);
                                                            correspond with Consilio and LW team regarding
                                                            document productions (0.9)

04/10/23     JLT                       8.10       8,626 .50 Review documents for 2004 discovery (7.6); call with E.
                                                            Morris regarding depositions (0.5)

04/10/23     CMT                       1.30         637 .00 Review and revise motion to expedited clarification on
                                                            stay order (0.9); research regarding same (0.4)

04/11/23     AQ                        5.70       7,752 .00 Attend call with Huron and Rothschild regarding status
                                                            and strategy (0.5); draft and revise contempt motion
                                                            regarding social media (3.7); email with J . Gusa and E.
                                                            Morris regarding same (0.6); email S. Parkhurst regarding
                                                            same (0 .2); email E . Polanco regarding social media posts
                                                            (0.1); email with B. Shraiberg regarding depositions and
                                                            social media posts (0.2) ; email R. Feinstein regarding
                                                            document production (0.1); email E. Mannix regarding
                                                            depositions (0.1); email R. Maimin regarding 2004
                                                            schedule (0 .2)

04/11/23     AS                         .70       1,158.50 Review motion for contempt against J. Owoc (0.4);
                                                           telephone conference with S. Gray regarding settlement
                                                           proposal (0.3)

04/11/23     HKM                       2.50       3,650.00 Review revised contempt motion (0.3); review and
                                                           comment on revised motion to expedite (0.6); call with
                                                           banks' counsel regarding trademark dispute (1.0); call
                                                           with bidder counsel regarding same (0.6)

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04/11/23     JCC                        3.90       4,875 .00 Further revise motion to expedite (2 .2); finalize emergency
                                                             motion to expedite and compile exhibits (1. 7)

04/11/23     EAM                        9.50      12,207 .50 Attend Jonathan Owoc deposition (7 .0); revise contempt
                                                             motion (0.6); call with M. Roher regarding Williams motion
                                                             (0.2); review documents for responsiveness to UCC
                                                             requests (1.7)

04/11/23     JLT                        1.10       1,171.50 Review documents for 2004 discovery

04/11/23     JLT                       11.80      12,567 .00 Prepare for and attend deposition of J . Owoc (8 .1); review
                                                             related documents (3.2); correspond with E. Morris and A.
                                                             Quartarolo regarding deposition of J . Owoc (0.5)

04/12/23     AQ                         4 .70      6,392 .00 Telephone conference with E . Morris, H . Murtagh and J.
                                                             Gusa regarding supplemental submission (0.5); review
                                                             injunction ruling (0.8); email and telephone conferences
                                                             with Quarles and Huron regarding same (1.2); email and
                                                             telephone conference with J. Gusa regarding contempt
                                                             hearing (0 .3); attend same (1.6); email G. Eckhouse
                                                             regarding IP issues (0.1); email B. Shraiberg regarding
                                                             social media post (0.2)

04/12/23     KAR                          .10        136.00 Review emails from client regarding Monster litigation

04/12/23     AS                           .50        827 .50 Telephone conference with Lowenstein, Latham litigation
                                                             teams regarding sale objection deadline and discovery
                                                             matters

04/12/23     AS                           .70      1,158.50 Attend (in part) video conference regarding injunction
                                                            with C Street, Huron (0.5); review injunction (0.2)

04/12/23     HKM                          .50        730 .00 Final review for filing motion to expedite withdrawal
                                                             ruling

04/12/23     JCC                        6.80       8,500 .00 Finalize motion to expedite (0 .6); telephone call with A.
                                                             Quartarolo, E. Morris, J. Teresi, and J. Gusa regarding
                                                             supplemental submission (0.8); follow-up call with E .
                                                             Morris regarding same (0.2); review adversary proceeding
                                                             filings and materials to support supplemental brief (1.2) ;
                                                             draft supplemental brief (4 .0)

04/12/23     EAM                        6.50       8,352 .50 Attend Jonathan Owoc deposition (3 .0); teleconference
                                                             with Latham and Berger teams regarding supplemental
                                                             submission for contempt motion (0.5); produce Ryan Owoc
                                                             documents (0.5); call with litigation team regarding status
                                                             of discovery (0.5); review documents for responsiveness to
                                                             UCC requests (2 .0)

04/12/23     JWM                        2.10       2,236 .50 Research issues related to contempt motion

04/12/23     JLT                       11.90      12,673.50 Prepare for and attend deposition of J. Owoc (4.3) ; review

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                                                               documents for 2004 discovery (4.6); coordinate production
                                                               of documents (0.4); call with A. Quartarolo and E . Morris
                                                               regarding 2004 discovery (0.4); call with A. Quartarolo, E.
                                                               Morris and the UCC regarding 2004 discovery (0.5);
                                                               continue reviewing documents for 2004 discovery (6.3)

04/13/23     AQ                         2.30       3,128.00 Email with E. Morris regarding depositions (0.4); review
                                                            and revise supplemental submission in connection with
                                                            contempt motion (1.1) ; email J. Celentino, E. Morris and J.
                                                            Gusa regarding (0.3); email with E. Polanco and C.
                                                            Weronik regarding social media (0.2); email A. Adler
                                                            regarding pending litigation (0.1) ; email D. Levine and G .
                                                            Metzger regarding pending litigation (0.1); email G.
                                                            Weiner regarding depositions (0.1)

04/13/23     AS                         2.50       4,137.50 Telephone conference with H. Parkhill regarding false
                                                            advertising injunction and correspondence with Monster
                                                            (0.3); outline letter in connection with same (0.4); further
                                                            attention to injunction issues, including correspondence
                                                            with L. Lluberas, J. Cohen (0.4); telephone conference
                                                            with A. Gupta regarding coordination on Monster
                                                            correspondence (0 .2); further telephone conference with L.
                                                            Lluberas regarding injunction and follow up (0.4);
                                                            telephone conference with A. Gupta regarding rebranding
                                                            matters (0 .2); revise letter to Monster (0.3); review and
                                                            revise reply in support of motion to expedite consideration
                                                            of motion to withdraw reference (0 .3)

04/13/23     HKM                        4 .10      5,986 .00 Review and revise reply in support of expediting motion to
                                                             withdraw reference (2 .3); review Monster draft motion
                                                             regarding final orders, discuss with LW team, respond to
                                                             Monster counsel (0.8); drafting stipulation regarding AZ
                                                             lift stay motion (1.0)

04/13/23     YLB                         .50         625 .00 Call with Latham team and Debtors regarding injunction
                                                             order

04/13/23     JCC                        9.80      12,250.00 Further edits to supplemental brief in support of motion
                                                            for sanctions (2 .3) ; telephone call with L&W litigation team
                                                            regarding outstanding workstreams (0.4); review
                                                            Monster/OB response to motion to expedite (0.1); draft
                                                            reply regarding same (2 .1); revise supplemental brief in
                                                            support of motion for sanctions (1.2) ; edit reply in support
                                                            of motion to expedite (1.6); review opposing counsel
                                                            motion (0.1); research relevant procedure and draft email
                                                            to L&W litigation team regarding same (0.4); finalize reply
                                                            in support of motion to expedite (0 .5); edit supplemental
                                                            memorandum in support of contempt motion (1.1)

04/13/23     EAM                        8.80      11,308.00 Attend K. Owoc deposition (1.7); revise supplemental
                                                            contempt submission (1.3); review documents potentially

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                                                               responsive to UCC requests (5 .8)

04/13/23     JWM                        4.00       4,260.00 Draft letter regarding discharge injunction (2.1); research
                                                            issues related to contempt motion (1.9)

04/13/23     JLT                       11.30      12,034 .50 Prepare for and attend deposition of K. Owoc (1.1);
                                                             correspond with E. Morris regarding the same (0.2) ;
                                                             correspond with J. Celentino regarding adversary
                                                             proceeding briefing (0.2); call with E. Morris regarding
                                                             privilege issues (0.5); correspond with Consilio regarding
                                                             production of documents (0.3); correspond with E. Morris
                                                             regarding the same (0.1) ; continue reviewing documents
                                                             regarding UCC discovery requests (4.3); correspond with
                                                             E. Mannix regarding K. Owoc deposition (0.2); continue
                                                             reviewing documents regarding UCC discovery requests
                                                             (3.8)

04/14/23     AQ                         1.00       1,360.00 Review and revise supplemental submission regarding
                                                            contempt motion (0.5) ; email E. Morris regarding same
                                                            (0.2); email M. Niles regarding pending litigation (0.2);
                                                            email A. Adler regarding same (0.1)

04/14/23     AS                          .60         993 .00 Telephone conference with E. Morris regarding privilege
                                                             questions in connection with production of board minutes

04/14/23     HKM                        2.80       4,088.00 Discuss trademark litigation status with UCC, banks (0.6);
                                                            correspondence with Monster counsel regarding motion
                                                            filing (0 .2); review Monster/OBI objection to sale, outline
                                                            strategy/response (2.0)

04/14/23     JCC                        1.50       1,815.00 Finalize supplemental memorandum in support of
                                                            contempt motion (0.5) ; analyze potential litigation options
                                                            in adversary proceeding and draft email to team regarding
                                                            same (0.5); finalize supplemental brief regarding motion
                                                            for sanctions

04/14/23     EAM                        4 .00      5,140.00 Attend Z. Owoc deposition (2 .8); review documents for
                                                            ucc (1.2)
04/14/23     JWM                        1.10       1,111 .50 Revise letter regarding permanent injunction

04/14/23     JLT                        9.50      10,111.50 Prepare for and attend deposition of Z. Owoc (2 .5) ;
                                                            correspond with court reporter regarding UCC depositions
                                                            (.2) ; review documents related to 2004 notices (.1);
                                                            continue reviewing documents for 2004 discovery (6.1)

04/15/23     EAM                        2.80       3,598.00 Correspond with Consilio regarding document searches
                                                            (0.8); review UCC documents (2 .0)

04/15/23     JWM                        1.30       1,384 .50 Revise letter regarding permanent injunction (1.1); send
                                                             the same to opposing counsel (0.2)


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04/15/23     JLT                        1.20       1,278.00 Review documents related to 2004 discovery requests
                                                            (0 .7); correspond with Consilio regarding documents (0 .3);
                                                            correspond with E. Morris regarding 2004 discovery
                                                            request (0 .2)

04/16/23     AQ                         3.60       4,896.00 Review correspondence and filings (0 .8); telephone
                                                            conference with Huron and Quarles regarding injunction
                                                            ruling and related issues (0.7); review summary judgment
                                                            filings (1.3); email H. Murtagh and E. Morris regarding
                                                            same (0 .5); email A. Libeu regarding pending litigation
                                                            (0.1); email J. Gusa and H. Murtagh regarding summary
                                                            judgment (0 .2)

04/16/23     AS                           .50        827 .50 Telephone conference with bidder counsel regarding
                                                             litigation diligence questions

04/16/23     HKM                        1.00       1,460.00 Review Owoc response memorandum (0.7); discuss with J .
                                                            Gusa, A. Quartarolo (0.3)

04/16/23     EAM                        6.10       7,838 .50 Review documents for UCC (4.1); attend to production
                                                             issues (1.2); correspond with Consilio regarding searches
                                                             (0.8)

04/16/23     JLT                          .80        852.00 Correspond with E. Morris and Consilio regarding
                                                            document production and review (0.3); review documents
                                                            (0.5)

04/11/23     AQ                         2.60       3,536.00 Email with J. Teresi, E. Morris and A. Jajoo regarding
                                                            distributions and document production (0.2); analyze
                                                            summary judgment opposition (1.0); telephone conference
                                                            with H. Murtagh, L. Morris, J. Teresi, J. Weichselbaum,
                                                            and W. Morley regarding same (0.8) ; email A. Libeu
                                                            regarding pending litigation (0.1); review and revise
                                                            correspondence regarding demand for return of property
                                                            (0.3); email B. Shraiberg regarding same (0.1); email with
                                                            J. Gusa and M. Bina regarding pending litigation (0.1)

04/11/23     AS                         1.40       2,317 .00 Review Owoc summary judgment papers (0 .6);
                                                             correspondence with G. Metzger, G. Eckhouse, Huron
                                                             regarding litigation matters (0.1); attend call with H .
                                                             Murtagh, A. Quartarolo others regarding Owoc summary
                                                             judgment matters (0.7)

04/17/23     HKM                        5.70       8,322.00 Review Owoc declarations regarding social media (0.8);
                                                            review Owoc statement of material facts (0.3); review A.
                                                            Quartorolo strategy notes (0.2); review response case law
                                                            (1.3); call with Latham team regarding reply (1); prepare
                                                            outline ofreply (2 .1)

04/17/23     JCC                        2.00       2,500 .00 Review litigation filings regarding social media adversary
                                                             proceeding (0.7); assess potential responses (1.3)

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04/17-/23    EAM                        7- .20     9,252 .00 Teleconference with Huron and Debtor regarding UCC
                                                             requests (0 .5); teleconference regarding summary
                                                             judgment argument (0.5); review documents for UCC
                                                             requests (5.2); correspond with Consilio regarding
                                                             document review (1.0)

04/17-/23    JJW                        1.7-0      1,938.00 Participate in call with Latham team regarding reply to
                                                            Owoc response in social media adversary (1.0); review
                                                            pleadings in adversary proceeding (0.7-)

04/17-/23    JWM                        1.7-0      1,810.50 Attend call regarding social media adversary proceeding
                                                            (0.5) ; research issues related to the same (1.2)

04/17-/23    JLT                        7-. 7-0    8,200.50 Zoom call with A. Jajoo, E. Morris, S. Rodriguez, F. Tilus,
                                                            and N. Sagara regarding list of transactions (0 .8); call with
                                                            E. Morris regarding discovery requests (0.6); prepare for
                                                            and call with A. Quartarolo, W . Morley, H . Murtagh, E.
                                                            Morris, and J . Weichselbaum regarding adversary
                                                            proceeding (1.0); review documents for 2004 discovery
                                                            (5.3)

04/17-/23    CMT                          .90        441.00 Research regarding reply to Owoc statement of material
                                                            facts

04/18/23     AQ                         2.60       3,536.00 Telephone conference with B. Shraiberg and P. Dorsey
                                                            regarding demand letters and related issues (0.4);
                                                            telephone conference with W. Morley, L. Morris and H.
                                                            Murtagh regarding summary judgment reply (0.6); email
                                                            and conference with B. Shaiberg and J. Gusa regarding
                                                            return of property and privileged emails (0 .5); email H .
                                                            Murtagh and L. Morris regarding same (0.1) ; review
                                                            recent filings (0.7-); email J . Gusa regarding same (0.1);
                                                            email with J . Gusa and G. Metzger regarding pending
                                                            litigation (0.2)

04/18/23     AS                           .20        331.00 Telephone conference with I. Kharasch regarding
                                                            litigation matters

04/18/23     HKM                       10.90      15,914.00 Outline and draft social media reply brief (9.9); call with
                                                            banks' counsel regarding TM/branding issues (1.0)

04/18/23     EAM                        7-.40      9,509 .00 Draft reply statement of facts in support of summary
                                                             judgment motion (1.1); update UCC tracker (0.8);
                                                             correspond with Debtor regarding status of UCC discovery
                                                             requests (0.3); telephone call with B. Gelfand regarding
                                                             documents responsive to UCC requests (0.5) ; review
                                                             documents for UCC requests (4.1); draft email to UCC
                                                             regarding status of discovery requests (0.6)

04/18/23     JL T                       6.20       6,603 .00 Draft reply to additional statement of facts (3 .6); review
                                                             related documents (1.5); produce documents responsive to

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                                                               2004 notice (0.2) ; attend to correspondence regarding
                                                               2004 notices (0.3); continue reviewing documents (0.6)

04/19/23     AQ                         6.60       8,976 .00 Email H. Murtagh, L. Morris and J . Teresi regarding
                                                             summary judgment reply status and strategy (0.3); email
                                                             Lowenstein regarding depositions and discovery (0.2);
                                                             email L. Morris regarding same (0.1) ; email D. Levine
                                                             regarding litigation status and related issues (0 .2); review
                                                             and revise detail regarding litigation spend (1.2) ; email
                                                             and telephone conference with J. Gusa regarding same
                                                             (0.3) ; review docket filings (1.0) ; telephone conference
                                                             with W. Morley regarding reply brief (0.2); email W.
                                                             Morley, H . Murtagh and L. Morris regarding same (0.2);
                                                             email B. Kaplan and A. Sorkin regarding IP payments
                                                             (0.1); email J. Weichselbaum regarding evidentiary
                                                             objections (0.2) ; email G. Metzger regarding Kesten claim
                                                             (0.2); review and revise reply brief (2 .3); email H . Murtagh
                                                             and W. Morley regarding same (0.1)

04/19/23     AS                          .20         331.00 Review A. Libeu letter regarding inventory sales (0.1);
                                                            correspondence with client regarding same (0.1)

04/19/23     HKM                        3.00       4,380 .00 Discuss Summary judgment exhibit issues with A.
                                                             Quartarolo (0.3) ; call with W. Morley regarding summary
                                                             judgment reply brief (0 .6); research regarding
                                                             enforceability of company policies (0.5); review and revise
                                                             reply statement of undisputed facts (1.1); review Owoc
                                                             reply regarding social media posting, and discuss with LW
                                                             team (0.6)

04/19/23     EAM                        6.50       8,352.50 Draft reply statement of facts (2.6); review draft reply and
                                                            evidentiary objections (1.1); review documents for UCC
                                                            requests (2.8)

04/19/23     JJW                        3.30       3,762.00 Draft objections to Owoc declarations (1.9); research
                                                            relating to same (0.6) ; review draft pleadings in response
                                                            to Owoc response (0.8)

04/19/23     JWM                       11.80      12,567.00 Draft summary judgment reply (6.4) ; research issues
                                                            related to the same (5.4)

04/19/23     JLT                         .20         213 .00 Produce documents responsive to 2004 notices

04/20/23     AQ                         5.00       6,800.00 Email with L. Morris regarding depositions (0.3) ; review
                                                            and revise evidentiary objections (1.2); email J.
                                                            Weichselbaum regarding same (0.1) ; email B. Shraiberg
                                                            and P. Dorsey regarding Instagram content (0.2) ; review
                                                            and revise reply in support of motion for summary
                                                            judgment (3.2)

04/20/23     HKM                        7.70      11,242.00 Call with Latham team regarding summary judgment

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                                                               reply (0.5) ; review and revise reply draft (1.4) ; discuss
                                                               privileged document/exhibit issue with A. Quartarolo
                                                               (0.2) ; discuss trademark dispute resolution issues with A.
                                                               Sorkin, G. Metzger (0.4); further revisions to reply brief
                                                               (3.0); review and revise evidentiary objections (1.6);
                                                               review and comment on revised statement of undisputed
                                                               facts (0.6)

04/20/23     JCC                         .20         250.00 Telephone call with A. Quartarolo, H. Murtaugh, and J .
                                                            Morley regarding summary judgment reply

04/20/23     EAM                        4 .90      6,296 .50 Attend Ryan Owoc deposition (2 .0) ; review UCC
                                                             documents (2 .0); review reply statement of facts (0.9)

04/20/23     JJW                        3.30       3,762.00 Review transcript from adversary proceeding in
                                                            connection with reply (0.8); participate in call with team to
                                                            discuss status (0.4); review and revise objection to Owoc
                                                            declarations (1.3); review revised pleadings (0.8)

04/20/23     JWM                        3.90       4,153 .50 Draft reply motion to summary judgment

04/21/23     YM                         1.80       2,763.00 Calls with Latham team regarding settlement proposal
                                                            (1.3); draft bullets regarding same (0 .5)

04/21/23     AS                          .50         827 .50 Video conference with C Street, Huron, G. Metzger
                                                             regarding injunction communications plan

04/21/23     HKM                        2.40       3,504 .00 Final review and revisions to summary judgment reply
                                                             brief, evidentiary objections, and statement of facts

04/21/23     EAM                        1.40       1,799.00 Prepare for and attend meet and confer with UCC
                                                            regarding discovery requests and deposition scheduling
                                                            (1.0); review reply facts (0.4)

04/21/23     JJW                        2.30       2,622 .00 Revise objection to Owoc declarations (0.9); finalize same
                                                             (0.6); review draft pleadings in social media litigation (0 .8)

04/21/23     JWM                        2.70       2,875 .50 Revise and finalize the summary judgment reply for filing

04/21/23     JLT                         .20         213.00 Attend to emails regarding Rule 2004 notices

04/22/23     AQ                          .30         408.00 Email with L. Morris regarding document review and
                                                            discovery (0.2); review correspondence from UCC
                                                            regarding same (0.1)

04/23/23     AQ                          .60         816 .00 Email with L. Morris regarding depositions and discovery
                                                             (0.4) ; email and telephone conference with R. Maimin
                                                             regarding same (0 .2)

04/23/23     JCC                         .30         375.00 Review defendants' answer and responses filed in
                                                            adversary proceeding


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04/23/23     EAM                        6.60       8,481.00 Attend to correspondence regarding UCC requests and
                                                            database management (1.6); review documents for UCC
                                                            (5.0)

04/24/23     AQ                           .70        952.00 Email and telephone conferences with R. Maimin and E.
                                                            Mannix regarding discovery and depositions (0.5); email
                                                            with J . Gusa regarding pending litigation (0 .2)

04/24/23     CAR                          .30        555.00 Call with A. Sorkin and A. Quartarolo regarding UCC
                                                            claims investigation and related discovery

04/24/23     AS                           .30        496.50 Conference with C. Reckler, A. Quartarolo regarding
                                                            discovery

04/24/23     HKM                        6.40       9,344 .00 Revise summary judgment hearing demonstratives and
                                                             argument outline

04/24/23     EAM                        6.00       7,710 .00 Correspond with Huron regarding document search (0.3);
                                                             correspond with Latham team regarding deposition
                                                             scheduling (0.3); correspond regarding UCC filing (0.5);
                                                             review documents for UCC (3 .0); draft email to UCC
                                                             regarding S. Rodriguez deposition (0.4); correspond with
                                                             Consilio regarding production specs (0.2); call with PSS
                                                             and Consilio regarding same (0.3)

04/24/23     JLT                        5.10       5,431.50 Review documents relating to 2004 notices (3.5); attend to
                                                            correspondence regarding discovery (.3) ; produce
                                                            documents relating to 2004 discovery (.2); continue
                                                            reviewing documents relating to 2004 notices (1.0)

04/25/23     AQ                         7.90      10,744.00 Conference with SFL and G . Metzger regarding pending
                                                            litigation (0.5); conference with S. Parkhurst regarding
                                                            social media (0.3); review recent discovery filings (0.5);
                                                            draft and revise response to same (1.3); email with R.
                                                            Maimin regarding same (0 .2); email E. Mannix regarding
                                                            pending litigation (0.1); email B. Shraiberg and P. Dorsey
                                                            regarding emergency motion (0 .2); email A. Libeu
                                                            regarding pending litigation (0.1); email R. Feinstein
                                                            regarding same (0.1); email G. Metzger regarding
                                                            pending litigation (0 .2); review hearing outline and
                                                            presentation (0.4); conference with H. Murtagh regarding
                                                            hearing preparation (0.5); prepare for and attend hearing
                                                            on motion for summary judgment and discovery issues
                                                            (3.5)

04/25/23     HKM                        4.30       6,278.00 Finalize demonstratives and argument outline (2.8) ; moot
                                                            session with Latham team (1.2) ; call with UCC regarding
                                                            trademark dispute (0.3)

04/25/23     JCC                        2.60       3,250.00 Review emergency motion, pleadings, and opinion filed in
                                                            social media account adversary proceeding (1.0);

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                                                               participate in prep session for summary judgment
                                                               argument (0 .9); review and edit letter regarding litigation
                                                               status; Edit objection to lift stay motion

04/25/23     EAM                        4.10       5,268.50 Meet with H. Murtagh and Latham team in preparation
                                                            for summary judgment hearing (1.5); review documents
                                                            for UCC (2 .0); analyze UCC filing (1.0); analyze Owoc
                                                            filing (1.0)

04/25/23     JJW                        1.80       2,052.00 Prepare for summary judgment hearing (1.3); review
                                                            pleadings in social media adversary (0.5)

04/25/23     JLT                        4 .30      4,579 .50 Review documents related to 2004 notices

04/26/23     AQ                         1.30       1,768.00 Email and telephone conference with E. Mannix, M . Niles
                                                            and J . Renert regarding potential settlements (0.4); review
                                                            materials regarding same (0.3); email B. Shraiberg and P.
                                                            Dorsey regarding discovery and property (0.2); review and
                                                            revise proposed order regarding extension motion (0.3);
                                                            email E. Mannix and P . Dorsey regarding same (0.1);
                                                            email E. Morris regarding deposition (0.1); email G .
                                                            Metzger regarding same (0.2) ; email R. Feinstein
                                                            regarding pending litigation (0.1); email E. Morris
                                                            regarding discovery and document productions (0.4)

04/26/23     EAM                        5.80       7,453.00 Review documents for responsiveness to UCC requests
                                                            (4.3) ; correspond with Latham team and Consilio
                                                            regarding document database (1.2); email to UCC
                                                            regarding document review (0.3)

04/26/23     JLT                        3.00       3,195.00 Call with E. Morris and A. Jajoo regarding 2004 discovery
                                                            (0.5) ; review documents related to 2004 discovery (0.4)

04/27/23     AQ                         1.40       1,904.00 Telephone conference with J. Renert and E. Mannix
                                                            regarding pending litigation matters (0.5); email J . Renert
                                                            and E. Mannix regarding same (0 .1); email G. Metzger
                                                            and J . Gusa regarding same (0.1) ; email and telephone
                                                            conference with R. Feinstein regarding same (0.2);
                                                            telephone conferences with P. Dorsey regarding discovery
                                                            and related issues (0.3); email H. Murtagh and E. Morris
                                                            regarding same (0.1) ; email B. Shraiberg regarding social
                                                            media accounts (0.1)

04/27/23     EAM                        4.20       5,397.00 Review documents potentially responsive to UCC and
                                                            Monster requests

04/27/23     JLT                        4 .00      4,260 .00 Review documents regarding 2004 discovery (2 .3); call
                                                             with E. Morris regarding the same (0.3)

04/28/23     AQ                         1.60       2,176 .00 Email and telephone conferences with P. Dorsey
                                                             regarding document productions (0.5); email M. Julceus

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                                                               regarding same (0 .1) ; email J. Gusa regarding property in
                                                               possession of Owocs (0.2); review Owoc documents (0 .5);
                                                               email E. Morris and J. Teresi regarding same (0.2); email
                                                               R. Feinstein regarding pending litigation (0.1)

04/28/23     JCC                         .60         7-50.00 Review emails received in discovery regarding Owoc
                                                             adversary

04/28/23     EAM                        4.60       5,911.00 Correspond with Latham team regarding 2004 notices
                                                            (1.3); review Owoc documents (2.1); review documents for
                                                            UCC requests (1.2)

04/28/23     JLT                        3.10       3,301.50 Review documents related to 2004 discovery requests
                                                            (1.2); review and redact documents for privilege (2.9)

04/28/23     CMT                        1.30         637- .00 Prepare 2004 notices of Jack and Meg Owoc

04/29/23     AQ                          .7-0        952 .00 Email with M . Niles regarding appeal (0.1); telephone
                                                             conference with D. Geyser, M. Niles, G. Metzger, and A.
                                                             Sorkin regarding same (0.3); review discovery filings (0 .2);
                                                             email E. Morris regarding same (0 .1)

04/29/23     AS                          .30         496 .50 Video conference with Haynes & Boone, Faulkner Law, G .
                                                             Metzger regarding OBI appeal

04/29/23     EAM                        2.7-0      3,469.50 Complete Owoc privilege review (1.9); correspond with
                                                            Owoc counsel regarding privilege review (0.2) ; review
                                                            documents for UCC (0 .6)

04/29/23     JLT                         .50         532.50 Review and revise draft 2004 notices

04/30/23     AQ                          .20         27-2.00 Email with E. Morris and G. Metzger regarding
                                                             depositions

04/30/23     EAM                        3.10       3,983.50 Compile documents for S. Rodriguez deposition
                                                            preparation (1.2); review documents for UCC (1.9)



Attorney:

CA Reckler                       .30     Hrs.@        $ 1,850.00/hr.              $ 555.00
A Sorkin                      16.20     Hrs.@         $ 1,655.00/hr.           $26,811.00
A Klein                        1.60     Hrs.@         $ 1,620.00/hr.            $2,592.00
YMun                           3.40      Hrs.@        $ 1,535.00/hr.            $5,219.00
A Quartarolo                  59.80     Hrs.@         $ 1,360.00/hr.           $81,328.00
KA Rocco                         .10     Hrs.@        $ 1,360.00/hr.              $ 136.00
B Kaplan                       7-.30    Hrs.@         $ 1,535.00/hr.           $11,205.50


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HK Murtagh                     62.70      Hrs.@       $ 1,460.00/hr.           $91,542.00
AS Blanco                         .40     Hrs.@       $ 1,335.00/hr.              $ 534.00
EA Morris                     139.70      Hrs.@       $ 1,285.00/hr.          $179,514.50
Y L Burton                        .70     Hrs.@       $ 1,250.00/hr.              $ 875.00
J C Celentino                  44.80      Hrs.@       $ 1,250.00/hr.           $56,000 .00
NT Wages                       20.70      Hrs.@       $ 1,140.00/hr.           $23,598.00
J J Weichselbaum                12.40     Hrs.@       $ 1,140.00/hr.           $14,136.00
JWMorley                       28.60      Hrs.@       $ 1,065.00/hr.           $30,459.00
J L Teresi                    152.30      Hrs.@       $ 1,065.00/hr.          $ 162,199.50
K Ota                            3.30     Hrs.@        $ 705.00/hr.             $2,326.50
                              554.30                                          $689,031.00

Other:

NA Gulati                         .20     Hrs.@        $ 830.00/hr.               $ 166.00
CM Tarrant                       6.00     Hrs.@        $ 490.00/hr.             $2,940.00
                                 6.20                                           $3,106.00

GRAND TOTAL:                  560.50                                          $692,137.00




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LATHAM &WATKI NS LLP
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May 22, 2023
Matter Name: Meetings and Communication with Creditors


Date         Timekeeper               Hours       Amount Description

04/11/23     AS                         .60         993 .00 Weekly meeting between company, advisors, and full
                                                            bank group

04/11/23     JCC                        .50         625 .00 Attend call with creditors regarding business and legal
                                                            developments, and sale process

04/13/23     AS                         .30         496.50 Telephone conference with creditor regarding claim issue

04/14/23     AS                         .60         993.00 Attend and participate in weekly bank group call\



Attorney:

A Sorkin                       1.50     Hrs.@       $ 1,655.00/hr.            $2,482.50
J C Celentino                   .50     Hrs.@       $ 1,250.00/hr.              $ 625.00
                               2.00                                           $3,107.50




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Matter Name: Non-Working Travel


Date         Timekeeper                           Amount Description

04/10/23     JLT                       5.80       3,088.50 Travel to Miami

04/12/23     JLT                       6.40       3,408.00 Travel from Miami to Los Angeles



Attorney:

J L Teresi                    12.20     Hrs.@        $ 532.50/hr.             $6,496.50
                              12.20                                           $6,496.50




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Matter Name: Plan and Disclosure Statement


Date         Timekeeper                            Amount Description

04/03/23     JJW                        1.20       1,368.00 Review and revise exclusivity extension motion (0.8);
                                                            review precedent and prior motion (0.4)

04/04/23     BSR                         .30        342.00 Call with J . Weichselbaum and N. Gulati regarding
                                                           exclusivity motion

04/04/23     JJW                        1.90       2,166.00 Review and revise exclusivity extension motion (1.6); call
                                                            to discuss same (0.3)

04/05/23     JJW                         .80        912 .00 Review and revise exclusivity extension motion

04/06/23     CMT                        1.60         784.00 Research regarding plan, disclosure statement and
                                                            disclosure statement approval motion, and plan
                                                            supplements

04/08/23     JJW                         .30        342.00 Review comments to plan exclusivity motion

04/10/23     BSR                        1.00       1,140.00 Review and revise plan exclusivity motion

04/10/23     JJW                         .30        342.00 Review revised exclusivity extension motion

04/10/23     NAG                        2.10       1,743.00 Update draft exclusivity motion with comments from C.
                                                            Reckler (1.0); update motion with comments from B. Rosen
                                                            (0.4); email motion to C. Reckler for review (0.7)

04/11/23     YLB                         .60         750.00 Review exclusivity motion and revise same

04/11/23     JJW                         .20        228 .00 Review revised exclusivity extension motion

04/11/23     NAG                         .40        332.00 Update draft exclusivity motion with comments from L.
                                                           Burton and H. Murtagh

04/12/23     AS                          .60        993.00 Review and comment on exclusivity motion

04/12/23     YLB                         .60         750.00 Review and revise plan exclusivity motion (0.5);
                                                            correspond with N Gulati regarding same (0.2)

04/12/23     NAG                        1.30       1,079.00 Email B. Rosen and Latham team regarding exclusivity
                                                            motion (0.4); email motion to counter parties for review
                                                            (0.9)

04/12/23     NAG                        2.30       1,909.00 Research exculpation clauses in sale orders in relation to
                                                            plan

04/13/23     NAG                         .50        415.00 Update draft exclusivity motion with comments from UST

04/14/23     BSR                         .60        684.00 Call with N . Gulati regarding exclusivity extension motion
                                                           (0.1); review same prior to filing (0.5)

04/14/23     JJW                         .30        342.00 Review revised motion to extend exclusive filing period

04/18/23     NAG                        1.00         830 .00 Draft plan solicitation motion


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Matter Name: Plan and Disclosure Statement


Date           Timekeeper               Hours       Amount Description

04/26/23       AQ                         .40         544 .00 Telephone conference with Huron and Rothschild
                                                              regarding liquidation analysis

04/26/23       CAR                       1.70       3,145.00 Participate in professionals call regarding liquidation
                                                             analysis (0.4); review Huron liquidation analysis materials
                                                             (1.3)

04/26/23       AS                         .20         331.00 Telephone conference with J . DiDonato, others regarding
                                                             liquidation analysis



Attorney:

CA Redder                        1.70     Hrs.@       $ 1,850.00/hr.            $3,145 .00
A Sorkin                          .80     Hrs.@       $ 1,655.00/hr.            $1,324 .00
A Quartarolo                      .40     Hrs.@       $ 1,360.00/hr.              $ 544.00
Y L Burton                       1.20     Hrs.@       $ 1,250.00/hr.            $1,500.00
BS Rosen                         1.90     Hrs.@       $ 1,140.00/hr.            $2,166.00
J J Weichselbaum                 5.00     Hrs.@       $ 1,140.00/hr.            $5,700.00
                                11.00                                          $14,379.00

Other:

NA Gulati                        7.60     Hrs.@        $ 830.00/hr.             $6,308.00
CM Tarrant                       1.60     Hrs.@        $ 490.00/hr.               $ 784.00
                                 9.20                                           $7,092.00

GRAND TOTAL:                   20.20                                           $21,471.00




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Matter Name: Tax


Date         Timekeeper                           Amount Description

04/20/23     DEK                        .20         292 .00 Emails with Latham team regarding tax documents



Attorney:

DE Kamerman                     .20     Hrs.@       $ 1,460.00/hr.              $ 292.00
                                .20                                             $ 292.00




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                                                                   Washington, D.C. 20004-1304
                                                                   Tel: +1.202.637 .2200 Fax: +1.202.637 .2201
                                                                   www.lw.com
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  INVOICE                                                        Please identify your payment with the following·

                                                                 Invoice No. 2300306540
  June 20, 2023                                                  Matter Number 072624-1001

                                                                 Tax Identification No.: XX-XXXXXXX

  Vital Pharmaceuticals, Inc.
  1600 N. Park Drive
  Weston, FL 33326
  Attn: Gregg Metzger




  For professional services rendered through May 31, 2023

                                                                            Services                 Costs                 Total
  Asset Dispositions                                                   1,588,131.00                                 1,588,131.00
  Automatic Stay                                                           1,847.00                                     1,847.00
  Business Operations                                                      7,122.00                                     7,122.00
  Case Administration                                                     78,088.50                                    78,088.50
  Claims Administration and Objections                                     3,617.00                                     3,617.00
  Corporate Governance & Board Matters                                   147,171.50                                   147,171.50
  Employee Benefits and Pensions                                          30,190.00                                    30,190.00
  Employment and Fee Applications                                         16,864.00                                    16,864.00
  Financing and Cash Collateral                                           27,468.00                                    27,468.00
  Hearings                                                                42,164.00                                    42,164.00
  Leases and Contracts                                                    62,442.00                                    62,442.00
  Litigation                                                             461,253.50                                   461,253.50
  Meetings and Communication with Creditors                                7,491.50                                     7,491.50
  Non-Working Travel                                                      38,885.25                                    38,885.25
  Plan and Disclosure Statement                                              426.00                                       426.00
  Tax                                                                      3,622.50                                     3,622.50
  Total Services and Costs                                             2,516,783.75                   0.00       $2,516,783.75




  Total Due                                                                                                      $ 2,516,783.75




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Invoice No. 2300306540
June 20, 2023
Matter Name: Asset Dispositions


Date         Timekeeper                              Amount Description

05/01/23     KAR                        1.00         1,360.00 Review transaction-related documents and related
                                                              workstreams (0.4); discuss same with J. Daniels, D . Tifft
                                                              and D. Mun (0.3); call with bidder's counsel regarding
                                                              same (0.3)

05/01/23     AS                           .50          827 .50 Telephone conference with L. Burton regarding sale
                                                               process (0.3); telephone conference with bidder's
                                                               counsel regarding diligence (0 .2)

05/01/23     ASB                          .20          267 .00 Correspondence with Latham team regarding letter of
                                                               protest and research in furtherance of same

05/01/23     JLD                          .40          520.00 Latham team correspondence regarding sale
                                                              workstreams

05/01/23     BK                         1.50         2,302 .50 Telephone conference with T. Kim and L. Sievert
                                                               regarding due diligence queries, process and next steps
                                                               (0.3); review and respond to due diligence and data
                                                               room queries from bidders (1.2)

05/01/23     PMT                        1.60         2,592 .00 Prepare information request (1.3); email exchanges with
                                                               Latham team regarding information request (0.3)

05/01/23     YLB                          .40          500.00 Call with A. Sorkin regarding sale process

05/01/23     JCC                          .30          375.00 Call with debtor financial and legal advisors regarding
                                                              sale process and legal strategy

05/01/23     DCT                        3.70         4,384.50 Review diligence requests from bidder and provide
                                                              counsel regarding transaction concerns (0.4); confer
                                                              regarding diligence requests and substantive advocacy
                                                              for transaction (0.2) ; review files from Debtor for impact
                                                              on transaction (1.6); draft document collection
                                                              memorandum (1.2) ; draft transaction-related document
                                                              (0.3)

05/01/23     TK                         2.40         2,556.00 Conference with B. Kaplan regarding foreign
                                                              subsidiaries (0.3); correspondence with Debtor regarding
                                                              diligence (1.2); review purchase agreement markup (0.9)

05/01/23     LS                         1.40         1,491.00 Attend telephone call with B. Kaplan and T . Kim
                                                              regarding responses to diligence requests (0.3) ; consider
                                                              and respond to diligence requests (1.1)

05/02/23     SMH                          .80        1,112.00 Review global merger control and FDI filings (0.6);
                                                              correspondence with Latham team regarding same (0 .2)

05/02/23     YM                           .60          921.00 Call with Latham team regarding foreign subs and
                                                              transaction-related filings (0.2); telephone call with
                                                              Debtor regarding same (0.2) ; emails with Latham team,
                                                              Debtors and MVA regarding bid and diligence requests
                                                              (0.2)

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Invoice No. 2300306540
June 20, 2023
Matter Name: Asset Dispositions


Date         Timekeeper                              Amount Description

05/02/23     KAR                        1.30         1,768.00 Attend telephone call with Latham team regarding sale
                                                              process (0.3); review transaction-related documents (0.7);
                                                              correspondence with Debtors and bankers (0.3)

05/02/23     JLD                        4.60         5,980.00 Review deal materials, litigation expert report and other
                                                              sale related documents (1.6); review Latham team
                                                              correspondence regarding transaction analyses (0.9);
                                                              attend Latham team telephone call regarding next steps
                                                              and deal background (0.4); review and revise draft
                                                              transaction-related documents (1.7)

05/02/23     BK                         3.00         4,605 .00 Follow up on foreign subsidiary considerations (0 .2);
                                                               review and respond to due diligence emails and queries
                                                               from bidders, bankers and Debtors (0.7); conference with
                                                               D . Mun regarding process and next steps (0.1);
                                                               telephone conference with T. Kim regarding process and
                                                               next steps (0.1); telephone conference with L. Sievert
                                                               regarding disclosure schedule updates (0 .1);
                                                               videoconference with D. Tifft and P. Todaro regarding
                                                               transactions considerations (0.6); attend check-in
                                                               telephone call with Debtors and Latham (0.3) ;
                                                               conference with L. Sievert and J. Kaw regarding
                                                               international subsidiaries and considerations (0.3);
                                                               review and consider diligence queries from bidder (0 .3);
                                                               telephone conference with A. Sorkin regarding
                                                               transaction considerations and Australian counsel
                                                               engagement (0.3)

05/02/23     PMT                        2.80         4,536 .00 Review transaction related documents (1.0); review
                                                               potential ancillary transaction documents (1.2); email
                                                               exchanges with opposite counsel regarding transaction
                                                               (0.3); email and telephone exchanges with Latham team
                                                               regarding proposed transaction (0.3)

05/02/23     DCT                        5.80         6,873 .00 Meet with Latham team to discuss transaction status
                                                               (0.5); review documents in connection with
                                                               transaction(2.4); review files from Debtors to help
                                                               prepare transaction-related documents (0.7); review files
                                                               from Debtors to advance foreign filing analysis (0.3) ; call
                                                               with Debtor and Rothschild regarding antitrust risks in
                                                               connection with diligence requests (0.8); draft
                                                               information request for Debtor (0.4); review precedent
                                                               information requests (0.7)

05/02/23     NAJ                        2.00         1,920.00 Review merger control filing analysis and FDI analysis

05/02/23     TK                           .80          852 .00 Correspondence with Debtor regarding foreign
                                                               subsidiaries

05/02/23     SPM                        1.10         1,056.00 Review data room documents for relevant information
                                                              for voluntary access letter and email D. Tifft regarding

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                                                                same

05/02/23     LS                         3.40         3,621.00 Attend telephone call with Latham team and Debtors
                                                              regarding deal workstreams (0.3); discuss actions
                                                              required for sale of foreign subsidiaries with B. Kaplan
                                                              and J. Kaw (0.5); review governance documents of
                                                              foreign entities (1.5); review and provide responses for
                                                              diligence requests (1.1)

05/02/23     JWK                        1.40           987 .00 Review VDR for shareholding documents (0 .6); attend
                                                               meeting with B. Kaplan regarding same (0.4; consolidate
                                                               organization documents for foreign subsidiaries (0.2) ;
                                                               attend to correspondence regarding same (0 .2)

05/03/23     JCE                          .10          143 .50 Correspondence with Latham team regarding NDA

05/03/23     SMH                          .60          834.00 Correspondence with company advisors regarding
                                                              foreign subsidiary concerns and retention of local
                                                              counsel

05/03/23     YM                         2.30         3,530.50 Emails with Latham team, bidder counsel, Rothschild
                                                              and Debtors regarding NDA question and bids, and
                                                              diligence questions (1.1); telephone call with bidder
                                                              counsel, Debtors, Huron and Rothschild regarding
                                                              diligence questions (0.7); telephone call with Latham
                                                              team regarding transaction structure (0.4); emails with
                                                              Latham team regarding structure (0 .1)

05/03/23     KAR                        2.00         2,720.00 Prepare for (0.5) and attend telephone call with bidder
                                                              counsel (0.5); review documents and deal strategy (0.2);
                                                              review updated market share and IRI data (0.2);
                                                              telephone call with J. Daniels and D. Tifft regarding
                                                              action items and next steps (0.4); review ex-US filings
                                                              (0.2)

05/03/23     AS                         2.90         4,799.50 Video conference with bidder financing source,
                                                              Rothschild regarding legal questions (0.9) ; telephone
                                                              conference with bidder counsel regarding open bid
                                                              questions (0.6); videoconference with P. Todaro, B.
                                                              Kaplan, D. Mun regarding sale issues (0.4); telephone
                                                              conference with L. Lluberas regarding same, state of
                                                              play (0.4) ; further telephone conference with bidder
                                                              counsel regarding same (0.1); telephone conference with
                                                              E. Chafetz regarding sale process/settlement issues (0.5)

05/03/23     JLD                          .70          910.00 Revise antitrust assessment and review new data related
                                                              to same

05/03/23     BK                         4.20         6,447.00 Review bidder NDA request (0.2); consider, review and
                                                              respond to bidders diligence queries and correspond
                                                              with bankers and Debtors to respond (1.2); telephone

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                                                               conference with L. Sievert regarding IP queries (0.3) ;
                                                               telephone conference with T. Kim regarding NDA query
                                                               (0.1) ; review NDA and respond to Latham team queries
                                                               (0.2); telephone conference with bidder, lenders,
                                                               Debtors, Huron, Rothschild and Latham teams regarding
                                                               diligence (0.7); conference with T. Kim regarding status,
                                                               open items and next steps (0.5); telephone conference
                                                               with A. Sorkin, D . Mun and P. Todaro regarding
                                                               transaction considerations (0.4) ; review and respond to
                                                               queries (0.4); telephone conference with D. Mun
                                                               regarding transaction considerations and process (0.2)

05/03/23     PMT                        2.60         4,212 .00 Prepare draft transaction-related documents (1.5);
                                                               review documents (0.5) ; email exchanges with opposite
                                                               counsel regarding transaction concerns (0.3); email
                                                               exchanges with Latham team regarding same (0.3)

05/03/23     YLB                         .50           625 .00 Prepare for and attend telephone call with Rothschild
                                                               team and bidder regarding sale process

05/03/23     JCC                         .10           125.00 Review sale transaction analysis

05/03/23     DCT                        5.50         6,517 .50 Review IRI data to assess changes in competitive
                                                               marketplace (2.2); update Day One deck (0.4); draft
                                                               summary of key points from latest IRI data (1.1); call with
                                                               Debtors and Rothschild regarding antitrust risks in
                                                               diligence process with bidder (1.1); revise transaction-
                                                               related document with bidder (0.7)

05/03/23     NTW                        1.10         1,254 .00 Correspondence with Latham team and Debtors
                                                               regarding follow-up IP diligence requests (0.5); review
                                                               same (0.2); review diligence production (0.4)

05/03/23     JJW                         .40           456.00 Call with bidder (0.3); correspond with Latham team
                                                              regarding same (0.1)

05/03/23     NAJ                         .20           192.00 Briefing email to local counsel in Australia (0.1) ; email to
                                                              Latham team (0.1)

05/03/23     TK                         1.80         1,917 .00 Discuss diligence requests with Debtors

05/03/23     SPM                         .60           576.00 Review emails from D. Tifft regarding VAL and agenda
                                                              with bidder counsel (0 .1); attend and take notes on
                                                              telephone conference with bidder counsel regarding
                                                              transaction concerns and strategy (0.5)

05/03/23     LS                         3.30         3,514.50 Review and draft responses to diligence requests (1.8);
                                                              review documents and materials regarding foreign
                                                              subsidiaries (1.5).

05/03/23     JWK                        1.50         1,057 .50 Review and inventory documents for foreign subsidiaries


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                                                               (0.8) ; update chart with findings (0 .4) ; attend to
                                                               correspondence regarding same (0.3)

05/03/23     HET                        2.70         1,404 .00 Review data and prepare initial draft of transaction-
                                                               related document (2.1); prepare initial draft of
                                                               transmittal letter and e-filing checklist (0.6)

05/04/23     YM                          .40           614 .00 Emails with bidder counsel and Latham teams regarding
                                                               bidder diligence requests (0.1) ; review emails regarding
                                                               select debtor assets (0.2); emails with Latham team
                                                               regarding bidder diligence requests (0 .1)

05/04/23     KAR                        1.30         1,768.00 Plan and prepare for engagement with regulatory
                                                              agency (0.6) ; telephone call with D. Tifft regarding same
                                                              (0.2); call with Debtors on bid and clean team (0 .3);
                                                              emails regarding process and action items (0.2)

05/04/23     JLD                        1.90         2,470 .00 Revise draft access letter requests (0.6); advance
                                                               transaction documents and team correspondence about
                                                               same ( 0.7); review bidder updates (0.6)

05/04/23     BK                         1.30         1,995.50 Telephone conference with T. Kim regarding process
                                                              and next steps (0.1); review, consider and respond to due
                                                              diligence queries and follow ups (1.2)

05/04/23     PMT                        3.20         5,184 .00 Revise transaction related document (1.4); review
                                                               documents (1.1) ; email exchanges with opposite counsel
                                                               regarding transaction considerations (0.3); email
                                                               exchanges with Latham team regarding same (0.4)

05/04/23     JCC                         .70           875 .00 Call with debtor legal and financial advisors regarding
                                                               sale process and legal strategy

05/04/23     DCT                        5.90         6,991.50 Review documents for potential responsiveness (3.9);
                                                              meet with K. Kim regarding sale workstream (0.7);
                                                              prepare slides for presentation (0.9); review diligence
                                                              requests from bidder (0.7)

05/04/23     NTW                         .90         1,026.00 Correspondence with Latham team and Debtor
                                                              regarding IP follow up requests and scheduling a
                                                              telephone call with bidders (0 .2); review such follow up
                                                              requests (0.4) ; review diligence production (0.3)

05/04/23     KKK                        1.40         1,162.00 Preparation for document review (1.1) ; meeting with D.
                                                              Tifft regarding same (0.3)

05/04/23     TK                         1.40         1,491.00 Calls with Debtors regarding diligence requests

05/04/23     SPM                         .40           384.00 Attend telephone conference with D. Tifft regarding
                                                              update on documents (0.3) ; create document review
                                                              chart and email D. Tifft regarding same (0.1)


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05/04/23     LS                         2.70         2,875 .50 Attend telephone call with Latham and Debtors teams
                                                               regarding foreign subsidiaries (0.4); review diligence
                                                               requests (0.7) ; correspond with Debtors regarding the
                                                               same (0.4); correspond with foreign counsel regarding
                                                               foreign subsidiaries (1.2)

05/04/23     JWK                        1.70         1,198.50 Call with Debtors regarding foreign subsidiaries

05/05/23     GM                           .20          272.00 Review email from bidder counsel regarding IP diligence

05/05/23     YM                         4 .10        6,293 .50 Call with Latham team regarding bidder diligence
                                                               requests (0.3); review and revise transaction-related
                                                               document (1.8); emails with Latham and Rothschild
                                                               teams regarding bidder diligence requests (0.4) ;
                                                               telephone call with bidder counsel regarding
                                                               outstanding diligence questions (0.7); calls with Latham
                                                               team regarding debtor property (0.2); emails with
                                                               Latham, Huron, VPX and Rothschild regarding various
                                                               bidder diligence requests (0.7)

05/05/23     CHN                          .90        1,251.00 Review documents and update findings regarding asset
                                                              purchase agreement

05/05/23     KAR                        2.80         3,808.00 Review transaction-related documents (0.8); related
                                                              discussions with Debtors and Latham team (0 .5); plan
                                                              and prepare for FTC engagement (0.3); review
                                                              Voluntary Access Letter document collection (0 .5);
                                                              discuss with D. Tifft (0 .5); review comments from Latham
                                                              team to transaction-related documents (0.2)

05/05/23     AS                         1.00         1,655.00 Telephone conference with L. Lluberas regarding bank
                                                              call, sale issues (0.2) ; review waterfall (0.2); video
                                                              conference with bidder financing source regarding
                                                              follow-up legal questions (0.6)

05/05/23     JLD                        1.10         1,430.00 Review edits to transaction-related document (0.4);
                                                              advance transaction workstreams (0.4); telephone call
                                                              with Debtors and Latham team regarding same ( 0.3)

05/05/23     BK                         1.00         1,535.00 Telephone conference with L. Sievert regarding
                                                              Australian due diligence and related considerations
                                                              (0.1) ; telephone conference with D. Mun, T. Kim and L.
                                                              Sievert regarding status, open items, process and next
                                                              steps (0.3); follow up and consider various due diligence
                                                              queries from bidders and discuss and plan responses
                                                              (0.6)

05/05/23     PMT                        3.80         6,156 .00 Revise transaction-related document (2.0); review
                                                               documents (1.0); email exchanges with opposite counsel
                                                               regarding transaction considerations (0.5); email
                                                               exchanges with Latham team regarding same (0.3)

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05/05/23     DCT                        6.10         7,228 .50 Review documents for potential responsiveness (2 .5);
                                                               prepare slides for presentation (1 .1); revise transaction-
                                                               related document (0.6); review diligence requests from
                                                               Debtor and bidder (1.4); call with Debtors regarding
                                                               transaction materials (0.5)

05/05/23     NTW                          .70          798 .00 Correspondence with Latham team to discuss telephone
                                                               conference with bidders regarding diligence (0.2);
                                                               review and revise diligence responses (0.5)

05/05/23     JJW                          .90        1,026.00 Call with bidder regarding sale matters (0 .5); discuss
                                                              same with Latham team (0.2) ; review materials in
                                                              connection with telephone call (0.2)

05/05/23     KKK                        3.50         2,905 .00 Review documents regarding business plans

05/05/23     TK                         2.50         2,662.50 Confer with bidder's counsel regarding diligence
                                                              process (0.7); discuss diligence requests with Debtors
                                                              (1.8)

05/05/23     SPM                        7.10         6,816 .00 Review documents for responsiveness, privilege, and
                                                               significance and email D. Tifft regarding same (3.9) ;
                                                               review emails regarding document collection (0.2);
                                                               attend telephone conference with G. Metzger regarding
                                                               document collection and related (0.6); email K. Kim
                                                               regarding update on document review process (0.1);
                                                               draft portions of presentation and email D. Tifft
                                                               regarding same (2.3)

05/05/23     LS                         4 .90        5,218.50 Attend telephone call with D. Mun, B. Kaplan and T.
                                                              Kim regarding various deal workstreams (0.3); attend
                                                              telephone call with Latham, bidder teams regarding
                                                              outstanding diligence items (0.7); correspond with B.
                                                              Kaplan regarding Australian subsidiary (0.4); review
                                                              Australian subsidiary governance and Debtors search
                                                              documents (1.1); correspond with bidder advisor and
                                                              VPX regarding diligence requests (0.6); review
                                                              information provided by foreign counsel regarding
                                                              foreign subsidiaries (1.1); correspond with Rothschild,
                                                              Debtors and Latham team regarding diligence responses
                                                              (0.7)

05/05/23     CWG                          .30          142.50 Assist L. Sievert in obtainment of Company Extract for
                                                              Australian Debtor for due diligence

05/05/23     HET                          .70          364.00 Research relating to transaction

05/06/23     BK                           .50          767 .50 Review due diligence queries (0.3) emails and follow-
                                                               ups with Latham team regarding same (0.2)

05/06/23     NTW                          .20          228.00 Correspondence with Latham team and Debtors

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                                                                regarding telephone conference regarding IP diligence

05/06/23     KKK                          .90          74 7 .00 Review diligence related documents

05/06/23     HET                        2.40         1,248.00 Update ancillary transaction documents

05/07/23     JF                           .40          598.00 Review emails regarding 280G questions in connection
                                                              with transaction

05/07/23     SMH                          .70          973 .00 Emails with T. Kim regarding bidder request on market
                                                               shares in AUS, NZ and UK

05/07/23     KAR                          .50          680 .00 Review transaction related documents (0.4);
                                                               correspondence with Latham team regarding same (0.1)

05/07/23     JLD                          .20          260 .00 Review Debtors' correspondence regarding transaction
                                                               documents

05/07/23     BK                         1.70         2,609 .50 Review and revise due diligence queries and responses
                                                               from bidders

05/07/23     DCT                        3.10         3,673.50 Review transaction related documents (1.9); calls with
                                                              Debtors regarding diligence requests (1.2)

05/07/23     TK                         2.60         2,769.00 Correspondence with Debtors regarding diligence
                                                              questions (0.3) review diligence requests (2 .3)

05/08/23     YM                         1.40         2,149 .00 Review email responses to diligence requests from
                                                               bidders (0.3); review emails with Latham, Rothschild and
                                                               VPX teams regarding diligence requests (0.2); telephone
                                                               call with Huron and Latham teams regarding equipment
                                                               (0.4) ; emails with Huron and bidder advisor regarding
                                                               equipment lines (0 .2); draft email to bidder advisor
                                                               regarding equipment lines (0 .3)

05/08/23     KAR                          .90        1,224 .00 Review antitrust matters (0.3); plan and prepare for
                                                               regulatory agency engagement (0.6)

05/08/23     AS                         1.20         1,986.00 Conference with Latham team regarding sale process
                                                              questions (0.5); diligence telephone call with advisors to
                                                              potential bidder (0.4); correspondence with K. Rocco, L.
                                                              Burton regarding sale process (0.3)

05/08/23     JLD                        2.10         2,730 .00 Review materials related to transaction (1.4); advance
                                                               transaction-related document (0.6); correspondence
                                                               related to transaction (0 .1)

05/08/23     BK                         1.30         1,995.50 Correspondence regarding Australian competition
                                                              counsel (0.2); review, consider and respond to diligence
                                                              related queries from bidders (0.7); correspond with
                                                              Debtors and Latham team regarding same (0.4)


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05/08/23     PMT                       3.70        5,994 .00 Revise transaction-related document (1.8); review
                                                             documents (1.3); email exchanges with opposite counsel
                                                             regarding same (0.3); email exchanges with Latham
                                                             team regarding same (0.3)

05/08/23     JCC                       1.00         1,250.00 Research and develop response to Monster sale
                                                             objection (0.8); email regarding same (0.2)

05/08/23     DCT                       4.10        4,858.50 Revise transaction-related document (0.5); review files in
                                                            connection with transaction considerations (2 .2); review
                                                            documents for risk assessment (0.8); review diligence
                                                            materials to provide guidance (0.6)

05/08/23     NTW                       2.30         2,622.00 Correspondence with Latham team and Debtors
                                                             regarding IP diligence requests (0.5); review diligence
                                                             responses (1.2); review diligence production and
                                                             summary (0.6)

05/08/23     NAJ                        .50          480.00 Review of the information provided on bidder (0.4);
                                                            email to M. Hauser regarding same (0.1)

05/08/23     KKK                       2.30         1,909.00 Review and draft tracker of regulatory diligence
                                                             documents from VDR

05/08/23     TK                        4 .20       4,473 .00 Attend legal diligence telephone call (2.5); respond to
                                                             Debtors' questions regarding diligence questions (1.7)

05/08/23     SPM                       2.00         1,920.00 Attend telephone conference with G . Metzger, P.
                                                             Todaro, and D. Tifft regarding document collection (0.4);
                                                             review documents for responsiveness, privilege, and
                                                             significance (1.6)

05/08/23     LS                        3.80        4,047 .00 Attend telephone call with Rothschild, Huron and
                                                             Latham teams regarding personal property assets (0.5);
                                                             review documents to be uploaded to the data room (0 .8);
                                                             draft responses to IP diligence questions (1.6);
                                                             correspond with Debtors and Rothschild regarding
                                                             responses to IP diligence questions (0.6); correspond
                                                             with bidder advisor and Huron regarding diligence
                                                             questions (0.3)

05/08/23     HET                        .60          312.00 Update transaction documents

05/09/23     YM                        3.40        5,219.00 Emails with Huron, Rothschild and Latham teams
                                                            regarding equipment update email to bidder, various
                                                            diligence requests and facility manager interview (1.2);
                                                            telephone call with B. Kaplan regarding various
                                                            diligence processes (0 .1); diligence telephone call with
                                                            Debtors (0.6); telephone call with Huron and Latham
                                                            teams regarding equipment lines (0.5); telephone call
                                                            with bidder advisors, Huron, MVA, and Latham teams

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                                                                regarding deal process (1.0)

05/09/23     KAR                          .30          408.00 Discussion with bidder counsel regarding transaction
                                                              matters

05/09/23     AS                         2.10         3,475.50 Prepare for (0 .5) and telephone conference with
                                                              potential bidder regarding sale and exit strategy (1.0);
                                                              follow up telephone conference with E. Chafetz
                                                              regarding same (0.3); follow up telephone conference
                                                              with L. Lluberas regarding same (0.3)

05/09/23     JLD                        1.40         1,820.00 Attend diligence telephone call with Latham team (0.5) ;
                                                              review edits to transaction document and
                                                              correspondence (0.5); advance regulatory diligence
                                                              matters (0.4)

05/09/23     BK                         3.40         5,219.00 Telephone conference with T. Kim, L. Sievert and J.
                                                              Kaw regarding Colombia subsidiary coordination (0.3);
                                                              review and consider foreign subsidiary issues (0.8);
                                                              review, consider and revise due diligence responses on
                                                              queries from bidders (1.2); prepare for and attend
                                                              telephone conference with Debtors, Rothschild and
                                                              Latham teams regarding responses to specific queries
                                                              from bidder (1. 1)

05/09/23     PMT                        3.30         5,346.00 Revise transaction document (1.6); review documents
                                                              (1.2) ; email exchanges with opposite counsel regarding
                                                              transaction concerns (0 .3); email exchanges with Latham
                                                              team regarding same (0.2)

05/09/23     YLB                          .80        1,000.00 Prepare for and attend telephone call with J .
                                                              Weichselbaum and J . Celentino regarding cure and sale
                                                              objections (0.5); review same (0.3)

05/09/23     JCC                        2.60         3,250.00 Zoom call with Debtor legal and financial advisors
                                                              regarding sale process and legal strategy (0.6);
                                                              telephone call with L. Burton, J . Weichselbaum, and J.
                                                              Morley regarding sale objections (0.5); research
                                                              treatment of insurance policies in 363 sales (0.6); draft
                                                              email regarding same (0.2); outline sale objection
                                                              response (0.7)

05/09/23     JCC                          .30          375.00 Draft bullets regarding sale objection

05/09/23     DCT                        6.10         7,228 .50 Review documents (1.9); review agenda for management
                                                               meetings and provide comments on areas of risk (0.4);
                                                               confer with counsel regarding agenda for management
                                                               meetings (0.4); revise presentation for proposed
                                                               transaction (1.2) ; draft summary of files (2.2)

05/09/23     NTW                        1.70         1,938.00 Correspondence with Latham team regarding IP

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                                                               diligence requests and non-debtor IP (0.4); review
                                                               Debtors' comments to the same (0 .7); review handling of
                                                               non-debtor IP (0.6)

05/09/23     JJW                         .90         1,026.00 Call with L. Burton, J. Celentino, and N. Gulati
                                                              regarding sale objections (0.7); review objection chart in
                                                              advance of telephone call (0.2)

05/09/23     KKK                         .70           581.00 Perform document review (0.4); draft tracking chart (0.3)

05/09/23     TK                         3.70         3,940.50 Attend Latham telephone call regarding diligence (0.3);
                                                              confer with Debtor regarding diligence requests (1.0);
                                                              manage and review diligence questions (2 .4)

05/09/23     JWM                         .60           639 .00 Call with J . Celentino, L. Burton, and J . Weichselbaum
                                                               regarding sale pleadings

05/09/23     SPM                        1.30         1,248.00 Review documents for responsiveness, privilege, and
                                                              significance

05/09/23     LS                         5.40         5,751.00 Attend telephone call with Rothschild, Debtors and
                                                              Latham teams regarding deal workstreams (0.3); attend
                                                              telephone call with B. Kaplan, T . Kim and J . Kaw
                                                              regarding Colombia foreign subsidiary (0.3); attend FDA
                                                              regulatory diligence telephone call (0.6); attend
                                                              diligence telephone call (1.0); attend telephone call with
                                                              Debtors and Latham teams regarding diligence requests
                                                              (1.1); draft responses to diligence questions (0 .5); review
                                                              foreign counsel advice on Debtors foreign subsidiaries
                                                              (0.9); review data room for responsive documents to
                                                              diligence requests (0.8)

05/09/23     JWK                        1.90         1,339.50 Review VDR for insurance documents (0.9); update
                                                              specialist tracker with foreign counsels comments (0.6);
                                                              attend telephone call with Debtor regarding same (0.4)

05/09/23     HET                        4.10         2,132.00 Prepare updates to transaction-related document (2.3);
                                                              prepare redacted versions of responsive documents (1.8)

05/10/23     JF                          .30           448 .50 Review 280G questions in connection with transaction

05/10/23     YM                          .40           614.00 Review emails regarding diligence questions and
                                                              potential new bidder

05/10/23     KAR                        1.50         2,040 .00 Plan and prepare for FTC engagement (0 .8); related
                                                               telephone call with bidder's counsel (0.3); discuss and
                                                               plan with bidder counsel regarding management
                                                               presentations and related antitrust questions (0.4)

05/10/23     AS                         1.00         1,655.00 Telephone conference with E. Chafetz regarding sale
                                                              process question (0.4); telephone conference with B.
                                                              Friedman regarding employee issues in connection with

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                                                               sale (0 .1); telephone conference with A. Gupta regarding
                                                               sale questions/royalty escrow (0.5)

05/10/23     ASB                         .50           667 .50 Correspondence and analysis regarding trademark
                                                               applications

05/10/23     BK                          .90         1,381.50 Review and consider due diligence queries and draft
                                                              responses from the Latham team (0 .5); review foreign
                                                              subsidiary considerations and local counsel responses
                                                              (0.4)

05/10/23     PMT                        2.50         4,050.00 Revise transaction-related documents (1.6); review
                                                              documents for responsiveness (0.4); email exchanges
                                                              with opposite counsel regarding same (0.3); email
                                                              exchanges with Latham team regarding same (0.2)

05/10/23     YLB                         .20           250.00 Call with counsel to party in interest regarding sale
                                                              process

05/10/23     JCC                        1.10         1,375.00 Telephone call with Debtor's financial and legal advisors
                                                              regarding sale process and legal strategy (0.8); review
                                                              sale objection and outline response (0.3)

05/10/23     DCT                        6.10         7,228.50 Call with Debtors regarding transaction risks during
                                                              management meetings (3.5); meeting with K. Kim and S.
                                                              Mulloy regarding tasks for diligence (0 .5); draft
                                                              summary of tasks for team (0.3); revise transaction-
                                                              related for transaction (0.3); review documents for
                                                              responsiveness in connection with transaction (1.5)

05/10/23     NTW                         .60           684 .00 Correspondence with Latham team regarding trademark
                                                               matters (0.3); review analysis regarding the same (0.3)

05/10/23     KKK                        2.80         2,324.00 Attend meeting with D. Tifft and S. Malloy (0.4); review
                                                              VDR documents for employee agreements with non-
                                                              competes (2.4)

05/10/23     TK                         1.80         1,917 .00 Review and respond to diligence questions

05/10/23     SPM                         .80           768 .00 Attend telephone conference with D. Tifft and K. Kim
                                                               regarding open items related to diligence requests

05/10/23     LS                         1.50         1,597 .50 Review data room for documents responses to diligence
                                                               requests.

05/10/23     JWK                        1.60         1,128.00 Review legal and ESG questions and provide answers
                                                              from the disclosure schedules and VDR (1.2); attend to
                                                              correspondence regarding same (0.4)

05/11/23     YM                          .60           921.00 Review emails regarding various bidder diligence
                                                              requests, antitrust and deal process


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05/11/23     AS                         1.10         1,820.50 Telephone conference with L. Lluberas regarding sale
                                                              process update (0.3); telephone conference with Huron,
                                                              Rothschild regarding lender update, sale related matters
                                                              (0.6); telephone conference with A. Gupta regarding
                                                              sale/wind-down questions (0.2)

05/11/23     JLD                          .90        1,170.00 Review and revise access letter requests (0.4) ; attend to
                                                              Latham team, Debtors and correspondence regarding
                                                              transaction issues (0.5)

05/11/23     BK                         1.90         2,916.50 Review foreign subsidiary summary (0.5); conference
                                                              with T. Kim, L. Sievert and J . Kaw regarding foreign
                                                              subsidiary officer and director replacement
                                                              considerations and process (0.5); review and consider
                                                              due diligence request, queries and responses from
                                                              bidders (0.9)

05/11/23     PMT                        2.90         4,698 .00 Review deal structure (1.4 ); telephone and email
                                                               exchanges with bidder counsel regarding transaction
                                                               analysis (0 .6); research regarding acquisition of
                                                               intellectual property (0.9)

05/11/23     YLB                          .60          750 .00 Telephone call regarding asset sale with Debtor advisors
                                                               and Debtor

05/11/23     JCC                          .50          625.00 Zoom call with Debtor financial and legal advisors
                                                              regarding sale process and legal strategy

05/11/23     DCT                        5.10         6,043.50 Review diligence materials and provide assessment of
                                                              risks (1.1); revise slide deck for transaction process (0.7);
                                                              meet with Latham team to discuss tasks regarding
                                                              transaction issues (0.5) ; participate in management
                                                              meetings (2 .0); revise transaction-related document (0.8)

05/11/23     KKK                        1.70         1,411 .00 Review employment agreements related to sale

05/11/23     TK                         1.10         1,171.50 Confer with B. Kaplan regarding foreign subsidiaries
                                                              (0.5); manage responses to diligence questions regarding
                                                              same (0.6)

05/11/23     SPM                        1.10         1,056.00 Email D. Tifft regarding attending diligence calls for
                                                              potential bidder (0.3); attend legal diligence telephone
                                                              call with potential bidder (0.8)

05/11/23     LS                         2.00         2,130 .00 Discuss treatment of foreign subsidiaries with B. Kaplan,
                                                               T . Kim and J . Kaw (0 .5); review documents and
                                                               responses to be uploaded to the data room (1.1); update
                                                               Disclosure Schedules (0.4) .

05/12/23     YM                         2.30         3,530.50 Call with Debtors, Huron and Rothschild (0 .5); telephone
                                                              call with Latham team regarding bidder analysis (0 .5);


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                                                              review bidder APA markup, revise issues list and review
                                                              emails regarding bidder diligence requests (1.3)

05/12/23     KAR                       1.80         2,448 .00 Prepare for (0 .1) and attend telephone call with Latham
                                                              team to discuss bidder analysis and related issues (0.5);
                                                              prepare for (0.1) and attend telephone call with Latham
                                                              team to discuss trademark question (0.5);
                                                              correspondence and coordination with Debtors and
                                                              Latham team (0.2) ; plan and prepare for FTC
                                                              engagement (0.4)

05/12/23     AS                        3.40        5,627 .00 Telephone conference with C. Delo regarding sale
                                                             process (0.1); telephone conference with E. Chafetz
                                                             regarding bidder negotiations (0.5) ; correspondence with
                                                             bidder regarding questions (0 .2); review bidder APA
                                                             (0.2); telephone conference with L. Burton regarding
                                                             process update (0.3) ; telephone conference with bidder
                                                             counsel regarding legal diligence questions (0 .2);
                                                             telephone conference with G. Metzger, G. Bukovi
                                                             regarding information sharing matters (0.5); telephone
                                                             conference with K. Rocco, P. Todaro, B. Kaplan
                                                             regarding antitrust issues (0.6); telephone conference
                                                             with B. Kaplan regarding same, sale issues (0.4); review
                                                             summary of bidder APA and comment on same (0.4)

05/12/23     JLD                       1.60         2,080.00 Attend Latham team calls to advance transaction
                                                             workstreams (0.7); review correspondence regarding
                                                             transaction issues (0.9)

05/12/23     BK                        3.00        4,605 .00 Telephone conference with Debtors, Huron, Rothschild
                                                             and Latham regarding disclosure considerations and
                                                             process (0.5); review APA from bidder and coordinate
                                                             with Latham team regarding issues list (0.8); consider
                                                             strategy and related due diligence disclosure issues
                                                             (0.7); telephone conference with Latham teams
                                                             regarding antitrust issues (0.5); telephone conference
                                                             with A. Sorkin and T . Kim regarding bidder
                                                             considerations (0.5)

05/12/23     PMT                       2.90        4,698 .00 Research on acquisitions of intellectual property (2.1);
                                                             review deal structure (0.4); telephone conference with
                                                             Latham team regarding transaction issues (0 .2); revise
                                                             draft ancillary transaction document (0.3)

05/12/23     YLB                        .80         1,000.00 Prepare for and attend telephone call with bidder's
                                                             counsel regarding sale process (0.6); telephone call with
                                                             A. Sorkin regarding same (0 .2)

05/12/23     JCC                       5.00        6,250 .00 Zoom with Debtor financial and legal advisors regarding
                                                             sale process and legal strategy (0.5); outline response to
                                                             sale objection (3.6); telephone call with Latham teams

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                                                             regarding sale process (0.5); draft proposed response
                                                             regarding transaction issues (0 .3); edit revised version of
                                                             same (0.1)

05/12/23     DCT                       4.80        5,688.00 Draft presentation slide deck (2.8); attend meeting with
                                                            Latham team to discuss sale-related tasks (0.5);
                                                            participate in Clean Team meeting with bidder (1.0); call
                                                            with Debtors regarding antitrust risks in diligence
                                                            sharing (0.5)

05/12/23     JJW                        .60          684.00 Prepare revisions to email regarding bidder question
                                                            (0.3); correspond with Latham team regarding same
                                                            (0.2); correspond with Rothschild regarding same (0.1)

05/12/23     KKK                       3.10         2,573 .00 Draft Debtor and Product overview slides

05/12/23     TK                        4.80        5,112.00 Confer with Debtor regarding diligence requests (0. 7);
                                                            confer with D. Mun and K. Rocco regarding antitrust
                                                            issues (0.6); review purchase agreement and draft issues
                                                            list (3 .5)

05/12/23     SPM                       1.70         1,632.00 Attend Latham team telephone conference to discuss
                                                             matter updates, planning, and strategy

05/12/23     JWK                       1.90         1,339.50 Prepare foreign subsidiaries documents checklist (0.5);
                                                             review VDR for documents (1.2); attend to
                                                             correspondence regarding same (0.2)

05/13/23     YM                        2.20        3,377.00 Call with bidder regarding bid (0.5); review emails
                                                            regarding same (0.4); telephone call with bidder counsel
                                                            regarding bid analysis and follow up emails (1.3)

05/13/23     KAR                       1.90         2,584 .00 Prepare for and attend telephone call with bidder
                                                              counsel to discuss transaction issues (1.6); emails with
                                                              Latham team regarding same (0.3)

05/13/23     AS                        1.80         2,979.00 Video conference with bidder counsel regarding legal
                                                             diligence questions (0.6); telephone conference with H.
                                                             Murtagh regarding same (0.3); video conference with
                                                             bidder counsel regarding antitrust issues (0.7); follow up
                                                             telephone conference with G . Metzger regarding same
                                                             (0.2)

05/13/23     PMT                       1.60         2,592.00 Telephone conference with bidder counsel regarding bid
                                                             analysis (1.3); email exchanges with Latham team
                                                             regarding analysis (0 .3)

05/13/23     TK                        1.20         1,278.00 Review purchase agreement (0.8); draft issues list
                                                             regarding same (0.4)

05/14/23     BK                        3.00        4,605 .00 Review, consider and respond to due diligence emails
                                                             and requests (0.3); review and consider transaction

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                                                               strategy and response (0.2) ; review bidder purchase
                                                               agreement comments and consider issues (1.4); review
                                                               issues list and telephone conference with T. Kim
                                                               regarding same (1.1)

05/14/23     TK                         5.50         5,857.50 Review purchase agreement and draft issues list (4.7);
                                                              confer with B. Kaplan regarding issues list (0.8)

05/15/23     GM                          .50           680.00 Review IP license

05/15/23     YM                          .30           460 .50 Emails with Huron, Rothschild, Latham and Debtors
                                                               regarding diligence requests and NDA

05/15/23     KAR                        1.00         1,360.00 Review antitrust matters (0.3); review stalking horse
                                                              template from Latham team and provide comments (0.4);
                                                              correspondence with Latham team (0.3)

05/15/23     AS                         3.10         5,130.50 Review APA from bidder and prepare issues list (1.2);
                                                              telephone conference with S. Panagos regarding same
                                                              (0.3); telephone conference with bidder counsel
                                                              regarding litigation questions (0.2); telephone
                                                              conference with E. Chafetz regarding bid process,
                                                              questions (0.4); conference with G. Metzger regarding
                                                              sale process (0.2); conference with J. Gusa, L. Lluberas,
                                                              S. Gruendel regarding bid protection issues (0.8)

05/15/23     BK                         2.40         3,684.00 Review foreign counsel issues list (0.5); review bidder
                                                              bid materials and mark-up (0.7); review chains on
                                                              diligence and bidder responses (1.2)

05/15/23     PMT                        1.80         2,916 .00 Revise ancillary transaction document (0.6); review
                                                               potential documents for responsiveness (0.8); email
                                                               exchanges with opposite counsel regarding same (0.2);
                                                               email exchanges with Latham team regarding same (0.2)

05/15/23     JCC                        1.20         1,500.00 Review stalking horse purchase agreement and issues
                                                              list (0.2) ; Meet with J. Morley regarding response to sale
                                                              objection (0.2); Review prior filings impacting sale
                                                              response (0.3); Zoom call with debtor financial and legal
                                                              advisor regarding sale process and legal strategy (0.5)

05/15/23     DCT                        3.10         3,673.50 Prepare for and participate in call with Huron team to
                                                              prepare for telephone call with bidder (0.6); provide
                                                              edits to antitrust sections of Stalking Horse Agreement
                                                              APA (0.4); review market share data and information
                                                              from Debtor to advance competitive assessment (1.2);
                                                              review questions regarding information sharing between
                                                              bidder and Debtor (0 .5); review questions regarding
                                                              information sharing between bidder and Debtor (0.4)

05/15/23     NTW                        3.90         4,446.00 Correspondence with Debtor and Latham team

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                                                               regarding non-debtor IP and intercompany licenses
                                                               agreements (0.5); review intercompany license (1.4);
                                                               summary key terms regarding the same (1.1) ; draft
                                                               response to Debtor regarding intercompany license (0.3);
                                                               prepare for telephone conference with Latham team
                                                               regarding the same (0.6)

05/15/23     JJW                          .60          684 .00 Review APA issues list (0.4); correspond with Latham
                                                               team regarding same (0.2)

05/15/23     TK                         2.80         2,982.00 Draft asset purchase agreement issues list (1.6); revise
                                                              stalking horse agreement (1.2)

05/15/23     JWM                          .80          852.00 Research issues related to asset disposition

05/15/23     LS                         3.30         3,514 .50 Attend telephone call with Latham team and Colombian
                                                               foreign counsel regarding actions required for sale of
                                                               Colombian subsidiary (0.4); revising Disclosure
                                                               Schedules (1.9); correspond with Latham team regarding
                                                               requirements for Colombian subsidiary (0.6); correspond
                                                               with Huron and Latham teams regarding diligence
                                                               requests (0.4)

05/15/23     JWK                        1.20           846.00 Attend telephone call with foreign counsel (0.4);
                                                              consolidate notes and incorporate comments into tracker
                                                              (0.6); attend to correspondence regarding same (0.2)

05/16/23     YM                         3.20         4,912 .00 Emails with Latham, bidder teams regarding various
                                                               diligence requests (0.4); telephone call with Latham
                                                               team regarding APA markups and schedules (0.2); check
                                                               in telephone call with Latham, Debtors and Rothschild
                                                               teams (0 .3); telephone call with Debtors and Huron
                                                               regarding working capital calculation (0 .6);
                                                               correspondence with Rothschild regarding NDA (0.1);
                                                               calls and emails with bidder, Latham and Huron teams
                                                               regarding equipment (1.0); calls with Latham team
                                                               regarding bidder APA markups and working capital
                                                               approach (0.3); emails with Latham team regarding
                                                               description of debtor assets and liabilities (0.3)

05/16/23     KAR                        1.40         1,904.00 Prepare for and attend telephone call with Debtor
                                                              regarding ancillary transaction documents (0 .5); prepare
                                                              for and attend telephone call with bidder counsel
                                                              regarding bid analysis (0.5); review talking points from
                                                              D . Tifft (0.4)

05/16/23     AS                         2.30         3,806.50 Telephone conference with L. Lluberas regarding bid
                                                              issues (0.4); telephone conference with C. Delo
                                                              regarding status of additional bidder (0.2);
                                                              correspondence with D . Mun, B. Kaplan, A. Quartarolo,
                                                              C. Reckler regarding bid/APA issues (0.5) ; review new

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                                                               APA (0.3); further telephone conference with A. Gupta
                                                               regarding sources, uses and other sale issues (0.7);
                                                               conference (in part) with potential partial bidder advisor
                                                               team (0.2)

05/16/23     JLD                        1.90         2,470.00 Correspondence with Latham team regarding
                                                              transaction analysis (0.4) ; review access letter
                                                              preparations (0.4); participate in call regarding
                                                              transaction analysis and advance draft documents (1.1)

05/16/23     BK                         5.90         9,056.50 Telephone conference with D. Mun regarding process
                                                              and next steps (0.1); telephone conference with D. Mun
                                                              regarding bid responses and process (0.2); conference
                                                              with T. Kim regarding APA mark-up (0.1); video
                                                              conference with A. Gupta, G. Robbins and D. Mun
                                                              regarding working capital considerations (0.6); review
                                                              and consider working capital requests (0.4); telephone
                                                              conference with A. Sorkin regarding releases and
                                                              related considerations (0.2); telephone conference with
                                                              T. Kim regarding releases (0 .2); telephone conference
                                                              with D. Mun regarding mark-ups, strategy and process
                                                              (0.3); telephone conference with T. Kim regarding
                                                              bidder APA mark-up and considerations (0.2); review
                                                              and revise APA mark-up (3 .1); review and consider due
                                                              diligence requests and responses (0.5)

05/16/23     PMT                        2.20         3,564 .00 Email and telephone exchanges with Latham team
                                                               regarding transaction analysis (0.5); research on
                                                               intellectual property assets (1.1) ; revise ancillary
                                                               transaction documents (0 .3); email exchanges with
                                                               opposite counsel regarding transaction analysis (0.3)

05/16/23     YLB                        1.40         1,750.00 Review and revise bidder APAs and issues list (0.9);
                                                              correspond with J. Celentino regarding same (0.5)

05/16/23     JCC                        4.70         5,875.00 Telephone call with A. Sorkin regarding case strategy
                                                              (0.4); review APAs and draft issues lists (0.6); draft
                                                              response to objection to sale motion (0.2); meet with J.
                                                              Morley and R. Weiss regarding drafting response (0.6);
                                                              zoom with Debtor financial and legal advisors regarding
                                                              sale process and legal strategy (0.6); review APAs and
                                                              identify open issues (0.7); telephone call with L. Burton
                                                              regarding sale process (0.3); review stalking horse
                                                              motion (1.3)

05/16/23     DCT                        6.50         7,702.50 Prepare for and participate in meeting with bidder
                                                              regarding questions for CTOs (1.0); call with Debtors
                                                              regarding information request (0.7) ; call with bidder's
                                                              counsel to discuss transaction issues (0.4); review
                                                              questions regarding information sharing between bidder
                                                              and Debtor (1.9) ; review questions regarding information

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                                                             sharing between bidder and Debtor (0.4); review
                                                             potential documents for responsiveness and prepare
                                                             summary (2.1)

05/16/23     NTW                        .90         1,026.00 Correspondence with Latham team and bankers
                                                             regarding follow up IP requests (0.2); review IP requests
                                                             (0.2) ; review provided IP schedules (0.5)

05/16/23     JJW                       4.10        4,674.00 Call with bidder (0.3); revise stalking horse motion and
                                                            order (1.6); draft declaration in support of stalking horse
                                                            motion (1.3); correspond with J. Celentino and L. Burton
                                                            regarding stalking horse pleadings (0.3); review APAs
                                                            (0.6)

05/16/23     KKK                       1.70         1,411 .00 Meeting with VPX business personnel regarding draft
                                                              voluntary access letter (0.9); review diligence documents
                                                              (0.8)

05/16/23     TK                       11.10       11,821.50 Revise and revise stalking horse agreement (6.3);
                                                            research regarding same (4 .6); emails with Latham team
                                                            regarding same (0.2)

05/16/23     JWM                       3.10        3,301.50 Research issues related to sale objection

05/16/23     SPM                       1.20         1,152.00 Revise transaction presentation

05/16/23     LS                        3.50        3,727.50 Attend telephone call with Debtors, Rothschild and
                                                            Latham teams regarding deal workstreams (0 .3); review
                                                            and draft responses to diligence questions (1.8) ; review
                                                            foreign subsidiaries checklist (0 .6); draft outline of assets
                                                            and liabilities of debtor entities in response to diligence
                                                            request (0.8)

05/16/23     JWK                       2.00         1,410.00 Update Foreign Subsidiary Document Tracker (0.5);
                                                             consolidate notes on assets and liabilities of the Debtor
                                                             (0.9); attend weekly Latham team telephone call (0 .3);
                                                             attend to correspondence (0.3)

05/17/23     JF                        1.20         1,794.00 Review and revise revised APA (0.6); prepare issues list
                                                             regarding same (0.4); review emails regarding same (0 .2)

05/17/23     GM                         .60          816.00 Review edits to APA for IP issues

05/17/23     YM                        6.40        9,824.00 Emails with Latham and VPX teams on APA markups
                                                            and diligence requests (0.5); telephone call with Huron,
                                                            Rothschild and VPX regarding APA markup (1.4); calls
                                                            with Latham team regarding APA markup and
                                                            reviewing APA markup (4 .0); emails and calls with
                                                            Latham team regarding APA markup process (0.5)

05/17/23     CAR                        .60         1,110.00 Call with A. Sorkin regarding sale process


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05/17-/23    KAR                          .90        1,224 .00 Call with bidder counsel regarding antitrust matters
                                                               (0.7-); emails regarding same (0.2)

05/17-/23    AS                         5.20         8,606 .00 Review newly-received APA and prepare issues list
                                                               (2.4) ; review earlier-submitted APA (0.4) ; attend
                                                               telephone call with G. Metzger, G . Robbins, J. DiDonato,
                                                               Debtor advisor teams regarding APA (1.5); further
                                                               review and comment on earlier-submitted APA (0.8);
                                                               telephone conference with B. Kaplan regarding sale
                                                               issues (0.1)

05/17-/23    JLD                        2.40         3,120.00 Review revisions to draft agreement redlines and related
                                                              correspondence (0.8); review draft letter of intent (0.8);
                                                              Latham team correspondence about strategic issues
                                                              (0.3); review Debtor materials and access letter
                                                              responses (0.4)

05/17-/23    BK                         8.7-0       13,354 .50 Review bidder asset purchase agreement mark-up (0.4);
                                                               telephone conference with Debtors, Huron, Rothschild
                                                               and Latham regarding bidder APA mark-up (1.4);
                                                               telephone conference with D. Mun and T. Kim regarding
                                                               bidder APA mark-up and considerations (2 .2); telephone
                                                               conference with L. Sievert regarding schedules and
                                                               related considerations (0.3); review Latham team
                                                               comments to APA mark-up and revise (0.4); additional
                                                               telephone conference with L. Sievert regarding
                                                               schedules (0.4); additional telephone conference with D.
                                                               Mun and T. Kim regarding APA mark-up (1.9);
                                                               telephone conference with A. Sorkin regarding APA
                                                               mark-up (0.1); telephone conferences with T . Kim
                                                               regarding APA markup (0.5); review and revise bidder
                                                               APA mark-up (1.1)

05/17-/23    BK                           .7-0       1,07-4 .50 Video conference with Huron and Latham regarding
                                                                WARN act considerations and strategy

05/17-/23    YLB                        7- .20       9,000 .00 Review and revise stalking horse motion and related
                                                               exhibits, disclosure statements and declarations (5.3);
                                                               correspond with J. Weichselbaum, A. Sorkin and J .
                                                               Celentino regarding same (0.4); calls with J .
                                                               Weichselbaum, A. Sorkin and J. Celentino regarding
                                                               APA mechanics (0 .6); review same (0.9)

05/17-/23    JCC                        7- .90       9,87-5 .00 Revise sale motion (0.9); telephone call with A. Sorkin
                                                                and J . Weichselbaum regarding sale process (0.3);
                                                                telephone calls with Debtor legal and financial advisors
                                                                regarding sale process and draft APA (1.0); telephone
                                                                call with Latham team regarding APA (0.3); review and
                                                                revise draft AP As (5 .4)

05/17-/23    DCT                        5.80         6,87-3.00 Review potential documents for responsiveness (0.7-);

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                                                             review AP A draft from bidder and summarize antitrust
                                                             issues (1.2); review APA draft from bidder and
                                                             summarize antitrust issues {1.1); review draft of Letter of
                                                             intent from bidder (0 .2); review whether deal terms (0.4);
                                                             confer with team regarding deal analysis (0.3); review
                                                             documents and incorporate key content into transaction
                                                             presentation (0.5); confer with Debtor and Rothschild
                                                             regarding information for potential response to
                                                             Voluntary Access Letter (0.7-); review MD&A files for use
                                                             in antitrust advocacy (0 .7-)

05/17-/23    NTW                       4.40        5,016 .00 Correspondence with Latham team regarding bidder
                                                             purchase agreement (0.4); review the same (1.4); review
                                                             comments to the same (0.5); revise the same (2.1)

05/17-/23    JJW                       6.30         7-,182.00 Review comments to stalking horse motion and
                                                              declaration (0.7-); incorporate the same (1.6); discuss
                                                              motion and declaration with A. Sorkin and J. Celentino
                                                              (0.4); telephone call with J. Celentino and L. Burton to
                                                              discuss auction (0.6); review APA markup (1.5); review
                                                              comments to stalking horse motion (0.4); incorporate
                                                              comments and revise stalking horse motion (0 .7-); review
                                                              revised drafts of stalking horse motion and declaration
                                                              (0.4)

05/17-/23    KKK                       3.50         2,905.00 Review bidder mark up to auction draft of the asset
                                                             purchase agreement (1.2); implement D. Tifft's
                                                             comments to transaction slide deck (1.2); draft slides on
                                                             competitive landscape and market shares (1.1)

05/17-/23    TK                       13.90       14,803.50 Revise stalking horse agreement

05/17-/23    JWM                       6.10        6,496 .50 Research issues related to sale objections (3 .2); draft
                                                             reply in support of sale (2.9)

05/17-/23    SPM                       1.40         1,344.00 Revise draft of advocacy presentation incorporating
                                                             materials from responsive documents

05/17-/23    LS                         .40          426.00 Attend telephone call with B. Kaplan regarding
                                                            Disclosure Schedules

05/17-/23    RMW                       4 .00        2,820 .00 Conduct legal research for bankruptcy sale objection
                                                              reply

05/18/23     JCE                       4 .80       6,888 .00 Review questions regarding title insurance (2.4); review
                                                             and comment on purchase agreement markup (2.2);
                                                             related correspondence (0.2)

05/18/23     JF                         .80         1,196.00 Review revised Asset Purchase Agreements (0.3); draft
                                                             issues lists (0.4); review emails regarding same (0.1)



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05/18/23     DEK                        1.60         2,336 .00 Review bidder draft of APA (1.1); prepare tax issues list
                                                               (0.5)

05/18/23     GM                           .90        1,224 .00 Call N . Wages regarding APA (0.4); revise APA (0.5)

05/18/23     YM                        10.50        16,117 .50 Emails with Latham team regarding revisions to APA
                                                               and other transaction documents (0.4); review and revise
                                                               bidder AP A markup and generating bullets for
                                                               telephone call with bidder counsel (5.5); telephone call
                                                               with Rothschild and Huron regarding value comparison
                                                               grid of bids (0.5); telephone call with Rothschild and
                                                               Latham teams regarding auction process (0.5) ; telephone
                                                               call with Latham team regarding bidder APA markups
                                                               (0.5) ; review bidder letter and emails with Latham team
                                                               regarding same (0.5); review bidder APA markup (1.5);
                                                               review comparison grid and bidder issues list (0.8)
                                                               emails with Latham team regarding antitrust analysis
                                                               and bidder schedules markup (0.3)

05/18/23     CHN                        3.40         4,726 .00 Review project documents (0.9); prepare and update
                                                               findings for Bang production facilities (1.6); draft
                                                               comments to Asset Purchase Agreement (0.5); support
                                                               negotiations on APA (0.4)

05/18/23     KAR                        1.50         2,040 .00 Prepare for (0 .1) and attend telephone call with bidder
                                                               counsel (1.0); review transaction strategy and ancillary
                                                               transaction documents (0 .3); emails with team (0.1)

05/18/23     AS                         7.20        11,916.00 Further review bidder APAs and comment (1.5) ; review
                                                              bid comparison prepared by Rothschild (0.3); telephone
                                                              conference with Rothschild, Huron teams regarding
                                                              same (0.7); telephone conference with E. Chafetz, J.
                                                              Cohen regarding bidder APA issues (0 .3); conference
                                                              with B. Kaplan, D. Mun regarding process, next steps
                                                              (0.3); telephone conference with J . Arrastia, Rothschild
                                                              team regarding next steps with bidder (0.5); review
                                                              letter from bidder regarding qualification requirements
                                                              (0.3); prepare and revise response to same (1.3);
                                                              correspondence with D. Mun, K. Rocco regarding
                                                              antitrust issues (0.4); telephone conference with J.
                                                              Celentino regarding APA considerations (0.2); telephone
                                                              conference with C. Reckler regarding auction issues
                                                              (0.3) ; telephone conference with D. Mun regarding APAs
                                                              (0.3) ; telephone conference with L. Lluberas regarding
                                                              bid, consultation issues (0.5); telephone conference with
                                                              E. Chafetz regarding same (0.3)

05/18/23     JLD                        2.30         2,990.00 Joint defense calls and correspondence regarding
                                                              antitrust issues (1.1); Latham team correspondence on
                                                              next steps (0.3); Debtor correspondence regarding
                                                              document and information collections (0.3); review

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                                                                updated draft merger agreement (0 .6)

05/18/23     APG                          .50          650.00 Review sanctions-related provisions in draft asset
                                                              purchase agreement

05/18/23     BK                        10.10        15,503 .50 Review bidder mark-up of purchase agreement (1.4);
                                                               telephone conference with D. Mun regarding bidder
                                                               comments (1.0); summarize certain key issues from the
                                                               bidder comments (0.7); telephone conference with
                                                               Lowenstein Sandler and Latham regarding open bids
                                                               and related issues (0.5); further telephone conference
                                                               with D. Mun regarding bidder APA comments (0.7);
                                                               telephone conference with Rothschild and Latham
                                                               regarding bidder analysis and comparisons (0.5);
                                                               telephone conference with D . Mun, R. Quay, R.
                                                               McGuire, R. Potter, T. Kim and L. Sievert regarding
                                                               process, open items and next steps (0.7); prepare issues
                                                               list on bidder APA issues (0.6); further review purchase
                                                               agreement (1.0); review and revise APA mark-up and
                                                               distribute to bidder's counsel (1.9); review specialist
                                                               issues in bidder APA mark-up and specialist comments
                                                               (1.1)

05/18/23     RJM                        8.00        11,680.00 Telephone conference with Latham team regarding
                                                              bidder APA markup (0.5); prepare markup of bidder
                                                              APA (7.0); telephone conference with Latham team
                                                              regarding bids (0.5)

05/18/23     RRQ                        6.60         9,636.00 Introductory telephone call with working group on bids
                                                              and deal process (1.0); review bidder APA markup ( );
                                                              correspondence with working group on key issues raised
                                                              by the same ( )

05/18/23     PMT                        2.50         4,050.00 Revise ancillary transaction document (0.9); review
                                                              potential documents for responsiveness (1 .1); email
                                                              exchanges with opposite counsel regarding antitrust
                                                              issues (0.3); email exchanges with Latham team
                                                              regarding same (0.2)

05/18/23     AB                           .20          250 .00 Review updated markup of asset purchase agreement
                                                               (0.1) ; correspondence to T. Kim regarding data privacy
                                                               revisions on the same (0.1)

05/18/23     YLB                        2.70         3,375.00 Review bids (1.6); telephone call with J. Celentino and J.
                                                              Kang and J. Weichselbaum regarding auction logistics
                                                              (0.5) ; review and revise materials related to same (0.6)

05/18/23     JCC                        6.50         8,125 .00 Revise bidder APA and emails regarding same (1.1);
                                                               Zoom call with debtor's financial and legal advisors
                                                               regarding sale process (0.6); review and revise bidder
                                                               APA and create issues list (3.7); revise motion to approve

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                                                             bid protections (0.2); telephone call with E. Chafetz and
                                                             J. Cohen regarding APA markups (0.5); telephone call
                                                             with Rothschild team and Latham associate team
                                                             regarding auction procedures (0.4)

05/18/23     LK                        1.70         2,048.50 Review and revise bid draft asset purchase agreement
                                                             (1.6) ; draft issues list (0.1)

05/18/23     RNP                       1.40         1,750.00 Attend Latham telephone call to discuss purchase
                                                             agreement markup from bidder (1.0); review and revise
                                                             draft purchase agreement (0.4)

05/18/23     KDR                       2.40        3,000.00 Correspondence regarding real estate title
                                                            documentation (0.3); review and revise transaction
                                                            documentation with respect to real estate (2 .1)

05/18/23     DCT                       3.80        4,503.00 Meet with bidder's counsel to discuss strategy on
                                                            transaction (1.1); confer with bidder's counsel regarding
                                                            transaction materials (0.3); revise transaction slide deck
                                                            (0.4); confer with Rothschild to advance document
                                                            review process (0.5); suggest edits to antitrust sections of
                                                            bidder asset purchase agreement (0.4); review
                                                            documents and update summary of same (0.9); suggest
                                                            revisions to antitrust sections of bidder APA (0.2)

05/18/23     NTW                       5.40        6,156.00 Correspondence with team regarding two bidder
                                                            purchase agreements and issues list (0.7); review each
                                                            purchase agreement (1.2); revise each purchase
                                                            agreement (0.9); draft issues list regarding bidder draft
                                                            (1.2); prepare for and attend telephone conference with
                                                            team regarding non-debtor IP and purchase agreement
                                                            (1.4)

05/18/23     JJW                       4.40        5,016.00 Review markup of APA (0.8); revise stalking horse
                                                            motion and declaration to incorporate comments (0.9);
                                                            review revised draft of stalking horse motion /
                                                            declaration (0.5); prepare auction materials (1.3);
                                                            telephone call with Latham and Rothschild regarding
                                                            auction (0.4); telephone call with bidder (0.3);
                                                            correspond with Latham team regarding same (0.1);
                                                            revise NDA (0.1)

05/18/23     KKK                       5.40        4,482 .00 Draft transaction materials in preparation of call with
                                                             FTC (1.5); compile excerpts from management
                                                             discussion presentations and antitrust materials (2 .2);
                                                             review and respond to bidder's counsel's questions
                                                             regarding discrepancies in VDR documents (1.7)

05/18/23     TK                        7.20         7,668.00 Revise stalking horse agreement

05/18/23     JWM                       2.70         2,875.50 Meeting with R. Weiss and J. Celentino regarding sale

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                                                                reply (0.6) ; draft sale reply (2.1)

05/18/23     SPM                        4.10         3,936.00 Email D. Tifft regarding aisle photos for advocacy
                                                              materials (0 .2); update advocacy presentation with
                                                              additional information and images (0.5) ; review VPX
                                                              management presentations for significance (0.4); attend
                                                              telephone call with D. Tifft regarding documents (0 .5);
                                                              review documents for responsiveness (2.5)

05/18/23     EJS                        1.20         1,152.00 Attend to regulatory review and analysis (1.2)

05/18/23     LS                         7.30         7,774.50 Attend telephone call with Latham team regarding deal
                                                              workstreams (0.5); correspond with VPX regarding
                                                              foreign subsidiaries (0.7); correspond with Huron and
                                                              bidder regarding diligence request (0.4); revise
                                                              Disclosure Schedules (1.4); attend telephone call with
                                                              Latham team regarding deal workstreams (0.6);
                                                              correspond with Latham team and VPX regarding
                                                              Disclosure Schedules (0.7); working with VPX and Citi
                                                              teams to open escrow account (1.8); review and draft
                                                              responses to IP diligence questions (1.2)

05/18/23     MS                         3.60         3,834 .00 Attend telephone conference with Latham team
                                                               regarding deal background and current status of
                                                               workstreams (0.5); review correspondence regarding
                                                               same (0.2); review draft asset purchase agreement (2.9)

05/18/23     RMW                        2.00         1,410.00 Conduct legal research for bankruptcy sale objection
                                                              reply

05/18/23     JWK                        1.80         1,269.00 Prepare documentation checklist for sale of foreign
                                                              subsidiaries; (1.3) liaise with compliance team regarding
                                                              litigation hold (0.2); attend to correspondence (0.3)

05/18/23     HET                        2.40         1,248.00 Update ancillary transaction documents (1.8); prepare
                                                              files (0.6)

05/19/23     DJD                         .60           816 .00 Review and comment on draft issues list and related
                                                               emails

05/19/23     JCE                         .10           143 .50 Correspondence regarding PSA issues list

05/19/23     JF                          .60           897 .00 Review revised Asset Purchase Agreements

05/19/23     YM                        11.20        17,192.00 Call with Huron, Rothschild and Latham regarding bid
                                                              comparison chart (1.5); call with Latham team regarding
                                                              responses to bidder (0.4) ; emails with Latham team
                                                              regarding markup of bidder APA (0.3); telephone call
                                                              with bidder counsel regarding bid (0.8); call with MVA
                                                              regarding bid (0.4); calls and emails with Latham team
                                                              regarding bids (2.0); review emails regarding schedules


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                                                               and issues lists and emails with Huron and Rothschild
                                                               regarding operating expenses and mechanics liens (0.3);
                                                               telephone call with Latham and Berger Singerman
                                                               teams regarding data room request (0 .2); review issues
                                                               lists and prepare for call with bidder counsel(0.7);
                                                               telephone call with bidder counsel regarding APA
                                                               markup (1.3); coordination telephone call with Latham
                                                               team regarding bidder APA revisions (0.4); telephone
                                                               calls and emails with Latham, Huron and Rothschild
                                                               teams regarding escrow logistics, diligence requests and
                                                               comparison grid (1.0) ; telephone call with Rothschild
                                                               regarding bidder economic proposal (0 .5); call with
                                                               Huron and Rothschild regarding bid comparison (1.4)

05/19/23     CHN                        1.00         1,390.00 Review documents (0.4); update findings (0.3); review
                                                              comments to Asset Purchase Agreement for VPX (0.3)

05/19/23     CAR                        1.30         2,405 .00 Calls and correspondence with A. Sorkin regarding sale
                                                               issues and status

05/19/23     KAR                        3.00         4,080.00 Prepare for and attend telephone call with bidder
                                                              counsel regarding antitrust matters (1.0); prepare for and
                                                              attend telephone call with Latham team regarding bid
                                                              (0.5); attention to antitrust matters (0.5); plan with D.
                                                              Tifft and J. Daniels (0.4); additional telephone call with
                                                              D. Mun (0.6)

05/19/23     AS                         7.70        12,743 .50 Telephone conference with E. Chafetz regarding APA
                                                               issues (0.2); telephone conference with D. Mun, B.
                                                               Kaplan regarding APA issues list/markup (0 .3);
                                                               telephone conference with K. Rocco, D. Mun, B. Kaplan
                                                               regarding antitrust issues (0.7); telephone conference
                                                               with C. Reckler regarding auction process (0.3); video
                                                               conference with bidder counsel, Latham teams
                                                               regarding APA issues (1.6); follow up correspondence
                                                               with D. Mun, B. Kaplan (0.5) ; telephone conference with
                                                               G . Metzger regarding questions about preserved
                                                               litigation (0.9); telephone conference with E. Chafetz
                                                               regarding update on bidder discussions (0.4); further
                                                               revise and send correspondence to bidder regarding
                                                               qualification requirements (0.4); review release
                                                               provisions of AP A and correspondence with J . Celentino
                                                               (0.5); further review and comment on APAs (0.6); video
                                                               conference with Huron, Rothschild, Latham teams
                                                               regarding bid valuation/comparison (1.2)

05/19/23     JLD                          .40          520 .00 Review and address revisions to merger agreement (0.2);
                                                               Latham team correspondence about same (0.2)

05/19/23     BK                         8.30        12,740.50 Review bidder asset purchase agreement and create
                                                              issues list (2.1) ; telephone conference with A. Sorkin, D.

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                                                               Mun and J . Celentino regarding open issues, strategy
                                                               and next steps (0 .6); prepare for and attend telephone
                                                               conference with A. Sorkin, D. Mun, K. Rocco and R.
                                                               Quay regarding antitrust considerations (0 .8); review
                                                               and revise issues list for comments (0.6); telephone
                                                               conference with bidder counsel and Latham regarding
                                                               APA issues list (1.4) ; telephone conference with A.
                                                               Sorkin, D. Mun, R. Quay and R. Potter regarding next
                                                               steps, strategy, process and related considerations (0.5);
                                                               telephone conference with L. Sievert regarding escrow
                                                               and due diligence responses (0.2); review, consider and
                                                               revise due diligence responses (0.7); review and instruct
                                                               regarding escrow coordination (0.3); follow up, review
                                                               and respond to various due diligence and related emails
                                                               (1.1)

05/19/23     RJM                          .30          438 .00 Review bid comparison grid

05/19/23     RRQ                        5.20         7,592.00 Call with antitrust group to discuss approaches to bids
                                                              (0.5); correspondence with working group on bids and
                                                              analysis of same (0.5); review bidder APA markup (4.0);
                                                              correspondence with working group on key issues raised
                                                              by the same (0.2)

05/19/23     PMT                        1.90         3,078.00 Revise ancillary transaction document (0.7); review
                                                              potential documents for responsiveness (0.5); email
                                                              exchanges with opposite counsel regarding antitrust
                                                              matters (0.4); email exchanges with Latham team
                                                              regarding same (0.3)

05/19/23     YLB                          .40          500.00 Call with Latham team regarding auction matters

05/19/23     JCC                        6.20         7,750 .00 Review APA and draft issues list (1.8); telephone call
                                                               with Latham team regarding APA issues and process
                                                               (0.5); review and revise key APA issues list (0.4);
                                                               telephone call with debtor legal and financial advisors
                                                               regarding sale process and legal strategy issues (0.2);
                                                               review and revise APAs (3.3)

05/19/23     RNP                        3.00         3,750.00 Call with bidder regarding bid submission (1.9); post call
                                                              with Latham team regarding same (0.3); review bidder
                                                              purchase agreement comments (0.8)

05/19/23     DCT                        2.10         2,488.50 Review potential documents for responsiveness (1.2);
                                                              summarize documents (0.4); summarize issues in
                                                              bidder's edits to APA (0.5)

05/19/23     JJW                        2.20         2,508 .00 Revise auction script (0.5); review objections chart
                                                               relating to sale (0.7); review filed sale objections (0.4)
                                                               revise sale objection chart (0.6)


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05/19/23     NAG                          .20          166.00 Telephone conference with J . Weichselbaum and R.
                                                              Pressley to prepare for auction (0.2)

05/19/23     SPM                        1.90         1,824 .00 Review diligence materials and documents and draft
                                                               chart summarizing same

05/19/23     RAP                          .70          493.50 Attend telephone call on the matter with J.
                                                              Weichselbaum and N . Gulati (0 .2); update auction
                                                              documents (0.5)

05/19/23     LS                         4 .90        5,218.50 Work with VPX and Citi teams to open escrow account
                                                              (1.8); correspond with Dutch counsel and Brazilian
                                                              counsel regarding Dutch entity and Brazil entity,
                                                              respectively (0.6); revise Disclosure Schedules (1.3); draft
                                                              responses to diligence requests (0.8); correspond with
                                                              VPX and Rothschild teams regarding diligence requests
                                                              (0.4)

05/19/23     MS                         1.70         1,810.50 Review correspondence regarding status of negotiations
                                                              (0.2); review correspondence regarding open points in
                                                              purchase agreement (0.4); compare and contrast bidder
                                                              disclosure schedules with second bidder schedules (0 .3);
                                                              make updates to bidder disclosure schedules to reflect
                                                              potential comments to purchase agreement draft (0.8)

05/19/23     RMW                        2.90         2,044.50 Conduct legal research for bankruptcy sale objection
                                                              reply

05/19/23     JWK                          .50          352.50 Update foreign subsidiaries tracker (0.3); update foreign
                                                              subsidiaries checklist (0.2)

05/20/23     YM                           .60          921.00 Emails with Huron and Rothschild regarding working
                                                              capital matters (0 .2); review and revise bidder APA (0.4)

05/20/23     KAR                          .30          408 .00 Correspondence with Latham team on antitrust and APA
                                                               matters

05/20/23     AS                         1.60         2,648 .00 Review APA markup from J. Celentino (0.5); telephone
                                                               conference with J. Celentino regarding same (0.2);
                                                               review cure/sale objection status (0.7); telephone
                                                               conference with L. Lluberas regarding update on bidder
                                                               discussions (0.2)

05/20/23     BK                         3.00         4,605.00 Review and revise bidder asset purchase agreement and
                                                              provide summary and related thoughts to team

05/20/23     AB                           .30          375.00 Review updated agreement regarding data privacy (0.2);
                                                              correspondence with Latham team on the same (0 .1)

05/20/23     YLB                        4 .10        5,125.00 Call with J . Celentino regarding APA and release
                                                              mechanics (0 .5); review APAs (2.0); review auction
                                                              logistics and preparations (0.5); emails with Latham

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                                                               team regarding same (0.4); review and revise script (0.7)

05/20/23     JCC                        2.90         3,625.00 Revise APA and circulate to Latham team (1.7);
                                                              telephone call with A. Sorkin regarding same (0 .5);
                                                              telephone call with Y. Burton regarding auction strategy
                                                              (0.5); emails regarding auction procedures and potential
                                                              bids (0 .7)

05/20/23     RNP                        4.80         6,000.00 Review and revise purchase agreement

05/20/23     NTW                        1.30         1,482.00 Correspondence with team regarding purchase
                                                              agreement (0.2); review comments to the same (0.4);
                                                              attend telephone conference with team regarding the
                                                              same (0.4); provide comments to the same (0.3)

05/20/23     JWM                       11.40        12,141.00 Research issues related to sale reply (4 .8); draft sale
                                                              reply (6.6)

05/20/23     RAP                          .20          141.00 Update auction documents

05/20/23     MS                         3.90         4,153 .50 Review correspondence regarding asset purchase
                                                               agreement draft (0.2); review and incorporate updates to
                                                               same from D. Mun (3.7)

05/20/23     HET                        1.50           780 .00 Update ancillary transaction documents (0.9); prepare
                                                               updated set of documents (0.6)

05/21/23     JCE                          .20          287 .00 Review PSA (0.1); related correspondence (0.1)

05/21/23     YM                         3.40         5,219.00 Call with Huron, Rothschild and Latham regarding bid
                                                              comparison chart (1.5); telephone call with Latham team
                                                              regarding responses to bidder counsel (0.4); emails with
                                                              Latham team regarding markup of bidder APA (0.3);
                                                              telephone call with bidder counsel regarding bid (0.8);
                                                              telephone call with MVA regarding bid (0.4)

05/21/23     AQ                         1.50         2,040.00 Review bid detail and related correspondence (0.5);
                                                              telephone conference with A. Sorkin, D. Mun, J.
                                                              Celentino, and C. Delo regarding same (1.0)

05/21/23     CAR                        2.30         4,255 .00 Participate in call with Rothschild regarding auction
                                                               status and process (1.4); review and revise sale bidder
                                                               email (0.4); call with A. Sorkin regarding same (0.2); call
                                                               with A. Sorkin regarding auction logistics and
                                                               mechanics (0 .3)

05/21/23     KAR                        2.50         3,400.00 Prepare for and attend telephone call with Debtor
                                                              regarding valuation of bid and related antitrust matters
                                                              (2.0); review and provide comments on draft APA (0.3);
                                                              correspondence and coordination with Latham team on
                                                              antitrust matters (0.2)


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05/21/23     AS                        5.40         8,937 .00 Telephone conference with E . Chafetz regarding
                                                              settlement terms of bidder APA (0 .5); review of bid
                                                              comparison (0.4); review further revised APA from J.
                                                              Celentino (0.5); telephone conference with C. Reckler
                                                              regarding sale issues (0.2); telephone conference with L.
                                                              Lluberas regarding bid status (0.3) ; telephone
                                                              conference with C. Delo regarding bid comparison
                                                              telephone call (0 .1); video conference with Rothschild,
                                                              Huron, Latham teams regarding bid comparison (1.5);
                                                              follow up video conference with B. Kaplan, D. Mun (0.4);
                                                              further correspondence with bidder regarding
                                                              qualification matters (0 .3); video conference with bidder
                                                              regarding bidding questions (0.8); follow up telephone
                                                              conference with D. Mun, L. Lluberas regarding bid
                                                              process (0.4)

05/21/23     JLD                        .60          780 .00 Review redlines to draft merger agreement and Latham
                                                             team correspondence about same

05/21/23     BK                        7.20       11,052.00 Review and consider emails and queries regarding
                                                            bidder APA mark-up (1.2); telephone conference with
                                                            M . Southworth regarding mark-up questions and
                                                            comments (0.6); review, consider and respond to bidder
                                                            due diligence and bid related queries (1.2); telephone
                                                            conference with M . Southworth regarding further
                                                            comments (0.1); review, revise and distribute asset
                                                            purchase agreement to bidder's counsel (1.6); telephone
                                                            conference with L. Sievert regarding escrow process and
                                                            queries (0.1); telephone conference with Rothschild,
                                                            Huron, Debtor and Latham regarding bid comparisons
                                                            (1.5) ; telephone conference with A. Sorkin and D. Mun
                                                            regarding process, strategy and next steps (0.5); review,
                                                            consider and respond to follow up emails from bidders
                                                            (0.4)

05/21/23     HKM                       1.50         2,190.00 Call with Huron and Latham team regarding bid issues

05/21/23     RRQ                       2.20        3,212.00 Call with working group on bid valuation (1.5);
                                                            correspondence on APA (0.7)

05/21/23     YLB                       3.10        3,875.00 Read and review sale objections and responses to same
                                                            and revise same (1.9); correspond with A Sorkin, J
                                                            Celentino and J Weichselbaum regarding same (0.3);
                                                            review APA and sale terms (0.9)

05/21/23     JCC                       4.80        6,000.00 Revise APA (1.6) ; revise auction script (0.2); review data
                                                            provided to bidders and correspondence in connection
                                                            with auction (0.4); telephone call with Rothschild, Huron,
                                                            and Latham teams regarding auction (1.5); revise
                                                            response to sale objection (0.2); review bid procedures
                                                            and correspondence with potential bidders (1.1)

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05/21/23     DCT                       1.10         1,303 .50 Review materials for antitrust matters

05/21/23     NTW                        .40          456.00 Correspondence with team regarding IP diligence and
                                                            schedules (0.2); review comments to the same (0.2)

05/21/23     JJW                       1.30         1,482.00 Review emails regarding bidder NDA (0 .1); correspond
                                                             with bidder regarding potential bid (0.2); incorporate
                                                             comments to auction materials (0.4); review the same
                                                             (0.3); review comments to sale objection chart (0.3)

05/21/23     LS                         .50          532.50 Review and draft responses to IP diligence questions

05/21/23     MS                        5.60        5,964 .00 Review and incorporate latest updates to draft purchase
                                                             agreement (4.6); review correspondence regarding same
                                                             (0.4) ; telephone conferences with B. Kaplan to discuss
                                                             updates to same (0.6)

05/22/23     NA                        1.00         1,460.00 Review and revise draft covenants

05/22/23     RB                         .30          408 .00 Correspondence and telephone call with A. Beach
                                                             regarding Asset Purchase Agreement

05/22/23     JCE                       1.20         1,722.00 Review and comment on asset purchase agreement (0.8);
                                                             related Latham teleconference and correspondence (0.4)

05/22/23     JF                        1.50         2,242 .50 Review and revise Asset Purchase Agreement ( );
                                                              telephone conference with N. Alkhas regarding
                                                              employee matters covenants ( ); review emails with
                                                              Latham team ( )

05/22/23     YM                        4 .20       6,447 .00 Call with Lowenstein Sandler regarding bids (0.5);
                                                             telephone call with Huron and Rothschild regarding bid
                                                             (0.6); review bid markup (0.5); emails with bidder and
                                                             Latham teams regarding deal terms (0.1); emails with
                                                             Latham team regarding various changes to APA drafts
                                                             (0.5); telephone call with Latham team regarding bids
                                                             (0.2) ; review email correspondence regarding escrow
                                                             mechanics and deposits (0.3); review bidder APA
                                                             markup (0.2); correspondence with Latham team and
                                                             Huron team regarding bid (0.3); telephone call with
                                                             Huron and Rothschild regarding bids (0.7); telephone
                                                             call with Latham team regarding bids (0.3)

05/22/23     CHN                       1.00         1,390.00 Perform research for transaction (0.4); prepare comments
                                                             to bidder Asset Purchase Agreement (0.6)

05/22/23     AQ                         .70          952.00 Telephone conference with A. Sorkin, L. Burton, and J .
                                                            Celentino regarding sale status and strategy

05/22/23     CAR                       1.50         2,775 .00 Review emails from Huron and Rothschild regarding bid
                                                              issues and strategy (1.1); telephone call with A. Sorkin
                                                              regarding auction process (0.4)

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05/22/23     KAR                          .90        1,224 .00 Conference with Latham team and bidder regarding
                                                               transaction

05/22/23     AS                         7 .80       12,909.00 Telephone conference with C. Delo regarding bidder
                                                              status (0.3); conference with E. Chafetz regarding bid
                                                              issues (0.5); review bid package submitted by bidder
                                                              (0.8) ; conference with Rothschild regarding bid valuation
                                                              (0.5); telephone conference with S . Panagos regarding
                                                              bid deadline matters (0.2); correspondence with D. Mun,
                                                              J. Celentino, counsel to creditor regarding auction
                                                              matters (0.8); correspondence with A. Quartarolo, D.
                                                              Mun regarding treatment of privileged materials in sale
                                                              (0.3); review bid packages (0.9); telephone conference
                                                              with C. Reckler regarding sale process (0.4); all hands
                                                              telephone call among advisors regarding bids received
                                                              and follow up correspondence/analysis (1.5); telephone
                                                              conference with S . Panago regarding same (0 .1);
                                                              telephone conference with L. Lluberas regarding bids
                                                              (0.8) ; telephone conference with E . Chafetz regarding
                                                              bids, next steps (0.4); conference with J. Weichselbaum
                                                              regarding auction matters (0.1); telephone conference
                                                              with G . Metzger regarding IP issues (0.2)

05/22/23     JLD                        1.20         1,560.00 Advance edits to merger agreement drafts (0.6) ;
                                                              attention to antitrust matters and next steps (0.3);
                                                              correspondence regarding antitrust same (0.3)

05/22/23     APG                          .10          130.00 Review draft purchase agreement

05/22/23     BK                         5 .20        7,982 .00 Review, update and respond to emails regarding foreign
                                                               subsidiaries (0.7) ; telephone conference with T. Kim and
                                                               L. Sievert regarding Netherlands subsidiary (0.2);
                                                               conference with M. Southworth regarding mark-up (0.1);
                                                               review and consider bidder mark-up and next steps
                                                               (0.6); telephone conference with L. Sievert regarding
                                                               bidder APA Schedules (0.1); video conference with D.
                                                               Mun regarding process, strategy and next steps (0.3);
                                                               review APA mark-up against previous drafts (0.5);
                                                               conference with R. Quay and R. Potter regarding APA
                                                               revisions, process and next steps (0.5); video conference
                                                               with D. Mun regarding same (0.2) ; review and consider
                                                               bidder mark-up (0 .5); review, consider and respond
                                                               regarding escrow agreement coordination issues (0.3);
                                                               telephone conference with Rothschild, Huron, Debtor
                                                               and Latham regarding bids and next steps (0.6);
                                                               telephone conference with A . Quartarolo, A. Sorkin, J.
                                                               Celentino and D. Mun regarding open issues, strategy,
                                                               process and next steps regarding bidders (0.4); review
                                                               Rothschild bid summaries (0.2)

05/22/23     RRQ                        2.50         3,650 .00 Review bidder APA markup (1.7); correspondence with

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                                                               working group on key issues raised by the same (0.8)

05/22/23     PMT                        1.70         2,754.00 Revise ancillary transaction documents (0.6); review
                                                              ancillary transaction documents (0.4); email exchanges
                                                              with opposite counsel regarding ancillary transaction
                                                              document (0.3); email exchanges with Latham team
                                                              regarding same (0.4)

05/22/23     AB                           .40          500.00 Revise agreement regarding data privacy (0.2) ;
                                                              correspondence to T . Kim on the same (0 .1); phone call
                                                              with R. Blarnires to discuss asset purchase agreement
                                                              (0.1)

05/22/23     YLB                        1.00         1,250.00 Call with all advisors regarding bids (0.8); review same
                                                              (0.2)

05/22/23     JCC                        5.60         7,000.00 Review sale-related draft filings (0.3); emails with E.
                                                              Morris and A. Sorkin regarding bidding procedures
                                                              (0.2) ; review APAs submitted by potential bidders and
                                                              email Latham team regarding issues list (3 .7); telephone
                                                              call with A. Sorkin regarding auction strategy (0.2);
                                                              review sale issues (0.2); telephone call with Latham
                                                              M&A team regarding auction strategy (0.4); telephone
                                                              call with Rothschild, Huron, and Latham teams
                                                              regarding auction strategy (0.6)

05/22/23     LK                           .20          241 .00 Review email correspondence

05/22/23     RNP                          .30          375.00 Research regarding guarantee

05/22/23     KDR                        1.10         1,375.00 Review and prepare real estate transaction
                                                              documentation

05/22/23     DCT                        2.80         3,318.00 Review documents for responsiveness (0.8) ; suggest
                                                              edits to ancillary transaction document (0.4) ; review top
                                                              vendor, retailer, and distributor information (0.4); create
                                                              issues list for edits to APA (0.8); create list of outstanding
                                                              issues for transaction (0.4)

05/22/23     NTW                        4 .30        4,902 .00 Correspondence with team regarding purchase
                                                               agreement (0 .3); review comments to the same (0.9);
                                                               review and revise the same (3 .1)

05/22/23     JJW                        2.90         3,306.00 Review comments to auction materials (0.4); review bids
                                                              (0.8) ; participate in call with Latham, Huron, Rothschild
                                                              teams regarding bids (0.7); draft notice of auction
                                                              adjournment (0.4); review emails regarding bids (0.2) ;
                                                              comment on summary of bid (0.2); participate in call
                                                              with bidder, Rothschild and Huron teams (0.2)

05/22/23     NAG                          .60          498 .00 Attend telephone conference discussing updates on


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                                                             sales bids

05/22/23     TK                        2.10         2,236.50 Revise asset purchase agreement

05/22/23     LS                        3.00        3,195.00 Attend call with B. Kaplan and T. Kim regarding foreign
                                                            subsidiaries (0.2); arrange opening of escrow account
                                                            (0.9); correspond with VPX regarding foreign
                                                            subsidiaries (0.8); revise Disclosure Schedules (1.1)

05/22/23     MS                        1.60         1,704 .00 Review correspondence regarding asset purchase
                                                              agreement markup and guaranty provisions (0.9);
                                                              collaborate with Latham team to research relevant
                                                              precedent merger agreements (0.7)

05/22/23     KNG                        .50          252 .50 Research and retrieve precedent purchase agreements

05/23/23     JCE                        .10           143.50 Correspondence regarding purchase agreement and title
                                                             matters

05/23/23     JF                        1.10         1,644 .50 Review and revise bidder Asset Purchase Agreement

05/23/23     DEK                       1.20         1,752.00 Review and provide tax comments to bidder draft APA

05/23/23     GM                         .70          952 .00 Revise APA

05/23/23     CAR                       2.20        4,070 .00 Participate in calls with A. Sorkin regarding sale issues
                                                             and next steps

05/23/23     KAR                       2.00         2,720 .00 Review and provide comments on draft APA (0.9);
                                                              review ancillary transaction documents (0.3); plan and
                                                              prepare for FTC engagement (0.3); review final set of
                                                              responsive documents (0.5)

05/23/23     AS                        1.50         2,482 .50 Correspondence with bidder regarding bid issues (0.2);
                                                              correspondence with AZ facility bidder regarding
                                                              qualification (0.2); conferences with L. Lluberas, C. Delo
                                                              regarding next steps with bidders (0.7); conference with
                                                              J. Celentino regarding APA issues (0.4)

05/23/23     JLD                       3.70        4,810.00 Advance sale related workstreams (1.5); review access
                                                            letter materials and related correspondence (0.4); review
                                                            merger agreement redlines and correspondence about
                                                            same (0.9); review advertising litigation materials (0.9)

05/23/23     BK                        4.00        6,140.00 Telephone conference with L. Sievert regarding escrow
                                                            and scheduling (0.1); telephone conference with R.
                                                            Potter regarding bidder APA mark-up (0.1); telephone
                                                            conferences with R. Quay regarding status, update and
                                                            next steps (0.3); review bidder changes to disclosure
                                                            schedules (1.2); telephone conference with L. Sievert
                                                            regarding bidder mark up of disclosure schedules (0.8);
                                                            telephone conference with T. Kim regarding bidder APA

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                                                             (0.2) ; telephone conference with N . Wages and T . Kim
                                                             regarding bidder APA (0.3); telephone conference with
                                                             D. Mun regarding status, process and next steps (0.3);
                                                             review and consider bidder APA mark-up (0.7)

05/23/23     RRQ                       5.80         8,468.00 Review and revise bidder APA draft (4.7);
                                                             correspondence on the same (1.1)

05/23/23     RRQ                       1.50         2,190.00 Review and revise bidder APA draft (0.8);
                                                             correspondence on the same (0.6)

05/23/23     PMT                       2.30        3,726.00 Review ancillary transaction documents (1.3); finalize
                                                            same (0.6); email exchanges with opposite counsel
                                                            regarding antitrust matters (0.2); email Latham team
                                                            regarding same (0.2)

05/23/23     JCC                       2.60        3,250.00 Review board deck regarding sale options (0.2); revise
                                                            notice regarding auction (0.1); review correspondence
                                                            with counsel regarding process (0.2); telephone call with
                                                            debtor financial and legal advisors regarding sale
                                                            process (0.5); revise APA issues list (0.6); meet with J.
                                                            Morley regarding APA markup (0.2) ; revise APA (0.8)

05/23/23     LK                        1.50         1,807.50 Review and revise bid draft asset purchase agreement

05/23/23     RNP                       4 .80       6,000 .00 Review and revise purchase agreement

05/23/23     DCT                       4 .60       5,451.00 Review ancillary transaction documents (0.4); draft
                                                            issues list on bidder's edits to APA (0.4); review
                                                            consumer survey (2 .2); suggest edits to transaction-
                                                            related document (0.8); review Letter of intent with
                                                            alternative bidders (0.8)

05/23/23     NTW                       2.60         2,964.00 Correspondence with team regarding purchase
                                                             agreement (0 .5); review comments to the same (0.6);
                                                             revise the same (1.1); attend telephone conference with
                                                             team regarding purchase agreement (0.4)

05/23/23     JJW                        .20          228.00 Review notice of auction adjournment

05/23/23     KKK                       1.00          830 .00 Review re-branding questionnaire (0.4); update
                                                             document review chart (0.6)

05/23/23     TK                        3.10        3,301.50 Revise asset purchase agreement

05/23/23     JWM                        .60          639 .00 Discuss issues related to asset purchase agreement
                                                             provisions with J. Celentino

05/23/23     LS                        1.50         1,597 .50 Discuss Disclosure Schedules with B. Kaplan (0 .9);
                                                              consider files to be uploaded to data room (0.6).

05/23/23     HET                       2.80         1,456.00 Update ancillary transaction documents (1.6) ; finalize

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                                                               the same (0.4); send proofs to P. Todaro (0.1); update
                                                               pleading clip (0 .7)

05/24/23     YM                         3.70         5,679.50 Call with bidder regarding bid and auction process (0.9);
                                                              call with Latham regarding bidder's bid (0.1); call with
                                                              Rothschild regarding bid and auction process (0.5); call
                                                              with MV A and Truist regarding bid and auction process
                                                              (0.5); call with VPX and Rothschild regarding trademark
                                                              question (0.5); calls and emails with Latham team
                                                              regarding auction process (0.5); call with bidder's
                                                              counsel regarding IP matters (0.2); emails with Latham
                                                              team regarding APA markups, auction process, bidder
                                                              diligence requests (0.5)

05/24/23     AQ                           .80        1,088.00 Email A. Sorkin and D. Mun regarding sales process
                                                              (0.2); email T. Kim regarding governing law issues (0.6)

05/24/23     CAR                        3.70         6,845 .00 Participate in calls with A. Sorkin, Rothschild and Huron
                                                               regarding sale process (2.5); review issues list for Bang
                                                               sale options (1.2)

05/24/23     KAR                        1.00         1,360.00 Call with team regarding transaction slide deck (0.5) ;
                                                              emails regarding same (0.1); review related materials
                                                              (0.2) ; review comments to transaction document (0.2)

05/24/23     AS                         3.30         5,461.50 Conference call with bidder counsel regarding
                                                              qualification issues (0.9); follow up telephone conference
                                                              with D. Mun regarding same (0.1) conference with
                                                              Rothschild, Latham teams regarding debrief from bidder
                                                              call (0 .7); prepare for (0.1) and telephone conference
                                                              with lender advisors regarding bidding process update
                                                              (0.5); telephone conference with Dennemeyer, G.
                                                              Metzger, Latham teams regarding IP opinion (0.5);
                                                              telephone conference with E. Chafetz regarding bidder
                                                              status (0.2); further correspondence with advisor team
                                                              regarding sale process and next steps (0.3)

05/24/23     JLD                        3.10         4,030 .00 Review merger agreement redlines and discussion of
                                                               same (1.3); review access letter document and
                                                               information collections (0 .7); review draft customer
                                                               survey work product (0.4); team call regarding next steps
                                                               (0.4); review draft regulator engagement slides; review
                                                               clean room issues and related buyer diligence requests
                                                               (0.3)

05/24/23     BK                         7.30        11,205.50 Video conference with bidder, bidder's counsel,
                                                              Rothschild and Latham regarding transaction process,
                                                              open items and next steps (0.9); video conference with
                                                              Rothschild and Latham regarding bid considerations
                                                              (0.7); video conference with Truist, MVA, FTI, Huron,
                                                              Rothschild and Latham regarding status and strategy

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                                                             (0.5) ; telephone conference with R. Quay regarding
                                                             status and update (0 .2); video conference with
                                                             Dennemeyer, Debtor, Rothschild and Latham regarding
                                                             IP preparation (0 .6); telephone conferences with N .
                                                             Wages regarding IP considerations and questions (0.4);
                                                             review, consider and respond to emails regarding
                                                             schedules and disclosures (1.2); video conference with
                                                             bidder, bidder counsel, Dennemeyer, Debtor, Rothschild
                                                             and Latham regarding IP queries (0.5); telephone
                                                             conference with R. Quay and T. Kim regarding bidder
                                                             APA (0.4); review and revise bidder APA (1.3);
                                                             telephone conference with D . Mun regarding process,
                                                             strategy, open items and next steps (0.3); telephone
                                                             conferences with T. Kim regarding APA (0.3)

05/24/23     RJM                        .10           146.00 Review updated draft of bidder APA

05/24/23     RRQ                       4 .30       6,278 .00 Review and revise bidder APA draft

05/24/23     JCC                       6.40         8,000 .00 Meet with J . Morley regarding APA revisions (0.2);
                                                              email with Latham team regarding APA revisions (0.3);
                                                              telephone call with Latham team regarding APA
                                                              revisions (0.2); revise bidder APA (4.3); emails with
                                                              Huron team regarding APA issues (0.1); telephone call
                                                              with Rothschild and creditors regarding sale process
                                                              status (0.4); Zoom call with potential bidder and Latham
                                                              & Rothschild teams (0.9)

05/24/23     DCT                       6.90        8,176.50 Draft summary of tasks (0.4); meet with team to discuss
                                                            upcoming tasks (0.5); revise transaction slide deck (1.2);
                                                            suggest edits to transaction document (1.3); review
                                                            regulatory diligence materials (0 .8); draft response to
                                                            diligence questions (0.8); review diligence materials
                                                            (0.3); review diligence questions (1.2); suggest edits to
                                                            bidder APA (0.4)

05/24/23     NTW                       3.90        4,446 .00 Correspondence with Latham team and Debtor
                                                             regarding debtor IP (0.8); attend telephone conference
                                                             with Debtor and outside counsel regarding the same
                                                             (0.7); draft summary regarding the same (0 .5); prepare
                                                             for and attend telephone conference with Debtor
                                                             regarding the same (1.9)

05/24/23     JJW                       1.40         1,596.00 Call with party in interest regarding sale (0 .4); call with
                                                             party in interest regarding sale process (0.2); revise
                                                             notice of auction adjournment (0.3); correspond with
                                                             team regarding same (0.1); call with objector regarding
                                                             sale (0.2); review objection in preparation for call (0.2)

05/24/23     KKK                        .90          747 .00 Implement D . Tifft comments to transaction deck


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05/24/23     TK                         6.40         6,816 .00 Revise asset purchase agreement

05/24/23     SPM                          .50          480.00 Attend Latham team meeting regarding matter updates,
                                                              planning, and strategy

05/24/23     LS                           .50          532.50 Arrange for escrow account to be opened.

05/25/23     GM                           .30          408 .00 Advise Latham team regarding asset transfer mechanics
                                                               in APA

05/25/23     YM                         5.60         8,596 .00 Call with Latham team regarding auction process and
                                                               bids (0.4); call with UCC and lenders regarding bids and
                                                               auction process (0 .8); emails with Latham team and
                                                               Debtors regarding comments to documents, diligence
                                                               requests and bidder IOI (0.4); call with Latham team
                                                               regarding bidder APA and schedules (0.1); emails with
                                                               Latham team and lender and UCC counsel regarding
                                                               correspondence with bidder's counsel (0.2); email
                                                               correspondence with Latham team, Rothschild and
                                                               debtor team regarding various disclosure matters, IP
                                                               matters and bidder CTA (0.4); review Rothschild
                                                               calculation of bidder APA economics (0.3) ; call with
                                                               Rothschild and Huron regarding calculation of bidder
                                                               APA economics (0.8); review and revise bidder APA
                                                               markup (2 .2)

05/25/23     KAR                        1.00         1,360.00 Correspondence with bidder's counsel regarding
                                                              antitrust matters (0.2); calls regarding same (0.6);
                                                              correspondence with D. Tifft (0.2)

05/25/23     AS                         3.40         5,627.00 Review APA (0.7); telephone conference with D. Mun
                                                              regarding same (0.3); call with MVA, Lowenstein
                                                              regarding bidder issues (0 .7); further correspondence
                                                              regarding improvements to bid/valuation matters (0.6);
                                                              conference with Huron, Rothschild regarding same (0.8);
                                                              correspondence with G. Metzger regarding bid issues
                                                              (0.3)

05/25/23     JLD                        3.20         4,160.00 Address clean team issues (0.4) ; review draft advocacy
                                                              slides and attend meeting related to same (1.5); review
                                                              edits to transaction document (0.8); Latham team
                                                              correspondence regarding next steps, strategy and
                                                              related (0.5)

05/25/23     BK                         5.90         9,056 .50 Review and consider bidder edits to APA schedules
                                                               (1.2); telephone conference with D. Mun regarding
                                                               process, strategy, open items and next steps (0 .2);
                                                               telephone conference with Debtor and Latham
                                                               regarding disclosure schedules (1.0); telephone
                                                               conference with Huron, VPX and Latham regarding
                                                               disclosure schedules (0.6) ; telephone conference with R.

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                                                             McGuire regarding bidder strategy (0 .1); review,
                                                             consider and respond to emails regarding diligence,
                                                             disclosures and strategy (1.7); video conference with
                                                             MVA and Latham regarding lender strategy and next
                                                             steps (0.5); telephone conference with D. Mun regarding
                                                             same (0.2); review and consider items and strategy
                                                             issues with lenders and bidder (0.4)

05/25/23     RJM                        .80         1,168.00 Review bidder APA markup

05/25/23     RRQ                       1.50         2,190.00 Call with working group/bankers to discuss bid and
                                                             process

05/25/23     JCC                       3.60        4,500.00 Telephone call with potential buyer (0.2); telephone call
                                                            with UCC and lenders regarding auction process (0 .6);
                                                            review APA drafts and issues (0.5); emails regarding IP
                                                            sale (0.2); call with Rothschild, Huron, and Latham teams
                                                            regarding comparison of bids (1.2); revise APA markup
                                                            (0.9)

05/25/23     DCT                       6.80         8,058.00 Meet with bidder's counsel regarding transaction slide
                                                             deck and related tasks (1.0); confer with J . Daniels
                                                             regarding tasks (0.5); draft summary of interactions with
                                                             bidder's counsel (0.4); revise transaction slide deck (1.1);
                                                             prepare materials for potential response to diligence
                                                             (0.8); revise transaction related document (1.1) ; review
                                                             information sharing concerns with bidder (0.7); review
                                                             transaction slide deck and suggest edits (0 .9); review bid
                                                             (0.3)

05/25/23     JJW                       1.00         1,140.00 Call with party interested in purchase specific debtor
                                                             asset (0.3); review documents in connection with call
                                                             (0.4); correspond with Debtor regarding inquiry
                                                             regarding asset sale (0.1); review Letter of intent (0.2)

05/25/23     KKK                       1.60         1,328.00 Conduct background research on bidder (0.6); draft
                                                             proactive customer call script before calls with the FTC
                                                             and implement D. Tifft edits (0.6); attend meeting with
                                                             D. Tifft (0.4)

05/25/23     TK                        4.10        4,366.50 Revise asset purchase agreement

05/25/23     SPM                       1.70         1,632.00 Review draft of transaction presentation and draft email
                                                             summarizing and comparing same and email D. Tifft
                                                             regarding same

05/25/23     LS                        1.60         1,704 .00 Attend call with VPX and Latham teams regarding
                                                              Disclosure Schedules (1.0); attend call with Latham, VPX
                                                              and Huron teams regarding Disclosure Schedules (0.6)

05/25/23     JWK                       3.30         2,326.50 Attend call with Debtor and Huron (0.8); update

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                                                              disclosure schedules (2.2) ; attend to correspondence (0.3)

05/26/23     JCE                        .10           143.50 Correspondence regarding open items in purchase
                                                             agreement

05/26/23     GM                         .40          544 .00 Analyze client email regarding status of trademark
                                                             diligence reports with bidder counsel

05/26/23     YM                        3.40        5,219.00 Emails with Latham, Rothschild, MVA, Huron and
                                                            Lowenstein teams regarding value analysis and bid (0 .2);
                                                            call with Rothschild, Huron, lenders and UCC counsel
                                                            regarding APA economics and bid approach (1.2);
                                                            review AP A issues list and emails with Latham team
                                                            regarding same (1.0); review NDA, diligence requests
                                                            and various disclosure schedule matters (1.0)

05/26/23     AQ                         .20          272.00 Email with H. Murtagh and A. Sorkin regarding sale
                                                            status and evidence

05/26/23     KAR                       1.30         1,768.00 Review antitrust matters (1.0) ; emails regarding bid (0.3)

05/26/23     AS                        2.50        4,137.50 Review of economic comparison/emergence costs
                                                            analysis (0.2); telephone conference with A. Gupta
                                                            regarding same (0.1); conference with MVA, Latham,
                                                            Huron, Rothschild teams regarding valuation of bid and
                                                            next steps (1.2); telephone conferences with D . Mun, L.
                                                            Lluberas, bidder regarding same (0.5); draft issues list
                                                            (0.5)

05/26/23     JLD                        .70          910 .00 Review clean team discussions (0.4) ; review update
                                                             related to new bidder (0 .1); review slide deck (0.2)

05/26/23     RJM                       3.50        5,110 .00 Review and comment on bidder APA

05/26/23     RRQ                       7.40       10,804 .00 Review APA and draft/revise high level issues list (4 .0);
                                                             correspondence with working group on the same (0 .8);
                                                             call with working group/bankers to discuss bid and
                                                             process (2 .6)

05/26/23     JCC                       5.50        6,875 .00 Telephone call with debtor legal and financial advisory
                                                             teams regarding sale process (0.3); revise APA markup
                                                             (1.0) ; emails regarding potential bids and bidding
                                                             process (0.6); telephone call with UCC and banks
                                                             regarding auction (1.0); meet with Latham associate
                                                             regarding legal research (0.5); telephone call with
                                                             Debtor regarding IP issues (0.5); telephone call with A.
                                                             Sorkin regarding markup (0.2); review APA and draft
                                                             issues list (0 .8); review APA economic comparisons and
                                                             APA terms (0.6)

05/26/23     RNP                       1.60         2,000 .00 Attend valuation call (0.8); review and revise purchase


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                                                                agreement (0 .8)

05/26/23     KDR                          .40          500.00 Real estate diligence documentation

05/26/23     DCT                        3.40         4,029.00 Review information requests from bidder for competitive
                                                              sensitivity (2 .3); confer with bidder's counsel regarding
                                                              information sharing concerns (0.4); draft list of open
                                                              issues for antitrust team (0 .3); review information to
                                                              prepare for potential Voluntary Access Letter response
                                                              (0.4)

05/26/23     NTW                        4.10         4,674.00 Correspondence with Latham team and Debtor
                                                              regarding Debtor IP, follow up IP requests, legal opinion
                                                              and purchase agreement (0.8); prepare for and attend
                                                              telephone conference with team and Debtor regarding
                                                              legal opinion and follow up requests (0.7); revise and
                                                              revise purchase agreement (0 .6); review legal opinion
                                                              and IP follow up responses (1.4); revise and revise IP
                                                              follow up responses (0.6)

05/26/23     TK                         4.90         5,218.50 Revise asset purchase agreement

05/26/23     LS                           .50          532.50 Attend call with Latham and VPX teams regarding
                                                              Disclosure Schedules.

05/26/23     JWK                        2.00         1,410.00 Update disclosure schedules (1.5); attend to
                                                              correspondence (0.5)

05/27/23     JF                           .30          448.50 Review emails regarding APA matters

05/27/23     GM                           .40          544 .00 Revise VPX trademark Q&A document

05/27/23     YM                         2.60         3,991.00 Review APA issues list (0.2); call with Latham team
                                                              regarding APA issues list (0.2); email correspondence
                                                              with VPX and Rothschild regarding NDA (0.1); emails
                                                              with Latham team regarding APA issues list (0 .5); review
                                                              UCC comments to APA issues list and email
                                                              correspondence with Latham, UCC and lender counsel
                                                              regarding same (1.0); calls with Latham team regarding
                                                              APA issues list (0.2); emails with Latham team regarding
                                                              influencer list (0.2); review emails regarding bidder IP
                                                              diligence questions (0.2)

05/27/23     KAR                        1.00         1,360.00 Review and provide comments on APA key issues list
                                                              (0.6); emails with team regarding break fee (0 .4)

05/27/23     AS                         1.70         2,813.50 Review and revise issues list (0.5); telephone conference
                                                              with S. Gruendel, L. Lluberas, C. Reckler regarding
                                                              bidder issues (0.7); correspondence with D. Mun, others
                                                              regarding same (0.5)

05/27/23     BK                         1.90         2,916.50 Review and consider and respond to emails regarding

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                                                              diligence, strategy with bidders, draft purchase
                                                              agreements and related issues, disclosure schedules and
                                                              related issues, open items and next steps

05/27-/23    RRQ                       4.90         7-,154.00 Review bidder APA and draft/revise high level issues list
                                                              (3 .1); correspondence with working group on the same
                                                              (1.8)

05/27-/23    JCC                       2.90        3,625.00 Review legal opinion regarding IP issues (0.2); telephone
                                                            calls regarding APA issues (1.9); revise APA draft (0 .8)

05/27-/23    DCT                        .50          592.50 Review information requests from bidder for competitive
                                                            sensitivity (0 .3); confer with bidder's counsel regarding
                                                            information sharing concerns (0.2)

05/27-/23    NTW                       2.80        3,192.00 Correspondence with Latham team and Debtor
                                                            regarding legal opinion and Q&A responses (0.9) ; review
                                                            comments to Q&A responses (1.2); revise the same (0.7-)

05/27-/23    TK                        3.30        3,514 .50 Revise asset purchase agreement

05/27-/23    LS                        3.10        3,301.50 Revise Disclosure Schedules

05/28/23     NA                         .30          438.00 Review pending transaction

05/28/23     JCE                       1.20         1,7-22.00 Teleconferences with D . Mun and opposing counsel
                                                              (0.6); review opposing counsel's comments to purchase
                                                              agreement (0.4); related correspondence (0.2)

05/28/23     YM                        3.00        4,605.00 Call with Latham team regarding bidder issues and
                                                            process (0.3); call with bidder's counsel regarding APA
                                                            issues list (1.5) ; call with Huron and Latham team
                                                            regarding bidder and influencers (0 .2); call with Latham
                                                            team regarding bidder APA issues (0.3); review emails
                                                            regarding bidder diligence requests, WARN Act analysis
                                                            and transaction-related matters (0.5); call with Latham
                                                            regarding team regarding title insurance issue (0.2)

05/28/23     KAR                       1.00         1,360.00 Prepare for and attend call regarding bid and related
                                                             issues list

05/28/23     AS                        3.80        6,289.00 Review issues list to prepare for call with bidder's
                                                            counsel (0.4); telephone conference with G. Metzger
                                                            regarding diligence issues (0.4); attend video conference
                                                            with bidder's counsel MVA, Lowenstein, Latham teams
                                                            regarding open issues (2 .0); video conference with B.
                                                            Kaplan, J. Celentino regarding same/debrief (0.4) ;
                                                            telephone conference with S. Gruendel regarding open
                                                            issues (0.3); telephone conference with J. Didonato
                                                            regarding diligence issues (0.3)

05/28/23     BK                        5.40         8,289.00 Telephone conference with D. Mun and R. Quay

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                                                               regarding APA issues and open items (0.2); review APA
                                                               issues list and prepare for all hands call (0.9); telephone
                                                               conference with bidder's advisors, Lowenstein, Truist,
                                                               MVA, and Latham regarding open issues and AP A
                                                               negotiation (2.0); review and respond to emails
                                                               regarding disclosures and schedules and bidder
                                                               diligence requests (0.7); telephone conference with D.
                                                               Mun, A. Sorkin and J . Celentino regarding open items
                                                               (0.4); telephone conference with Huron and Latham
                                                               regarding open items and considerations (1.1)

05/28/23     RRQ                        2.50         3,650.00 Call with bankers and Latham working group on bid
                                                              and auction process (2.0); correspondence on the same
                                                              (0.5)

05/28/23     JCC                        2.70         3,375.00 Telephone calls regarding APA issues and drafting (1.4);
                                                              revise APA (1.3)

05/29/23     YM                         5.90         9,056.50 Call with Huron, Rothschild and Latham teams
                                                              regarding various economic calculations (1.4); emails
                                                              and calls with Latham, Huron and bidder teams
                                                              regarding intercompany leases, inventory data and other
                                                              diligence matters (2 .5); review emails regarding
                                                              diligence requests (0.3); call with bidder's counsel
                                                              regarding APA issues (1.2); call with Latham team
                                                              regarding deal process (0.5)

05/29/23     KAR                          .50          680 .00 Address antitrust matters (0.4); emails with Latham team
                                                                (0.1)

05/29/23     AS                         3.40         5,627.00 Video conference with Huron, Latham teams regarding
                                                              bid economics (1.2); follow up correspondence with D.
                                                              Mun, B. Kaplan regarding same (0.4); video conference
                                                              with bidder's counsel, MVA, Lowenstein, Latham teams
                                                              regarding bid update (1 .3); follow up telephone
                                                              conference with Latham team (0.5)

05/29/23     BK                         6.70        10,284 .50 Telephone conferences with T. Kim regarding APA
                                                               mark-up and related issues (0.4); review and respond to
                                                               bidder requests regarding economics and intercompany
                                                               loans (0.5); review, consider and revise bid economics
                                                               diligence queries and prepare updated responses on
                                                               diligence queries (1.2); review APA issues and APA
                                                               revisions (0.8); telephone conference with Huron,
                                                               Rothschild and Latham regarding bid economic queries
                                                               and interim operations (1.4); video conference with
                                                               bidder's counsel, MVA, Lowenstein and Latham
                                                               regarding APA negotiations (1.4); telephone conferences
                                                               with A. Gupta and D. Mun regarding economic
                                                               responses (0.5); telephone conference with A. Sorkin, D.
                                                               Mun and J. Celentino regarding APA issues and next

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                                                             steps (0.5)

05/29/23     RRQ                       2.00         2,920.00 Call with bankers and Latham working group on bid
                                                             and auction process

05/29/23     YLB                       4 .00       5,000.00 Call regarding wind down budget with A. Gupta, J.
                                                            DiDonato, B. Kang, A. Sorkin, J. Celentino, D. Mun and
                                                            B. Kaplan (1.3); review materials regarding same (0.5);
                                                            review sale issues lists, APA and other sale related
                                                            materials (2 .0); correspond with B. Kaplan regarding
                                                            same (0.2)

05/29/23     JCC                       5.30        6,625 .00 Emails regarding potential bidder APA economics and
                                                             summarizing open issues phone call (0.6); emails with
                                                             Latham team regarding potential lease assignment and
                                                             other APA issues (0.6); revise APA (1.2); telephone call
                                                             with Rothschild, Huron & Latham teams regarding APA
                                                             economics (1.3); telephone call with potential bidder
                                                             regarding bid terms (1.2); telephone call with Latham
                                                             team regarding next steps following potential bidder call
                                                             (0.5)

05/29/23     RNP                       1.80         2,250 .00 Review and revise bidder APA markup

05/29/23     TK                        3.40        3,621.00 Revise asset purchase agreement

05/29/23     JWK                       1.10          775.50 Summarize edits to IP disclosure schedules for Debtor

05/30/23     JCE                       2.70        3,874.50 Review and comment on asset purchase agreement (1.2);
                                                            review and comment on issues list related to asset
                                                            purchase agreement (0.9); review title commitment (0.2);
                                                            teleconferences with bidder counsel regarding the
                                                            foregoing (0.4)

05/30/23     JF                         .90         1,345.50 Review, revise and consult regarding employee matters
                                                             provisions of Asset Purchase Agreement

05/30/23     DEK                        .30          438 .00 Review and provide further tax comments to APA

05/30/23     GM                         .40          544 .00 Revise APA covenant around acquiring Non-Debtor IP

05/30/23     YM                        6.00        9,210.00 Call with bidder regarding IP (0.5); call with Latham
                                                            team regarding APA issues (0.4); APA drafting call with
                                                            Latham team (1.8); emails with bidder counsel, Latham,
                                                            UCC and lender counsel regarding revisions to APA
                                                            (0.3); call with lender and UCC counsel regarding open
                                                            issues on bid (1.3); calls and emails with Latham team
                                                            regarding APA drafting, title insurance policy issue, and
                                                            economic points (1.0); email correspondence with VPX,
                                                            Huron and Rothschild teams regarding various economic
                                                            deal points and calculations (0.2); email correspondence


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                                                             with Latham team and bidder team regarding title
                                                             insurance policy issue (0.3); review email
                                                             correspondence regarding bidder diligence (0.2)

05/30/23     AQ                         .50          680.00 Telephone conference with A. Sorkin, H. Murtagh, J.
                                                            Celentino and J. Weischelbaum regarding sale hearing
                                                            and evidence

05/30/23     KAR                       2.00         2,720.00 Prepare for and attend call with Latham team regarding
                                                             bid and counter-proposal (1.0); review and provide
                                                             comments on term sheet revisions (0.5); call with
                                                             bankers and UCC counsel regarding same (0.5)

05/30/23     AS                        6.70       11,088.50 Prepare for (0.3) and attend video conference with
                                                            bidder regarding legal diligence questions (0.8);
                                                            telephone conference with S. Panagos regarding bidding
                                                            update (0.4); video conference with B. Kaplan, Huron
                                                            regarding bid valuation issues (0.4); conference with E.
                                                            Chafetz regarding settlement/sale issues (0.6); telephone
                                                            conference with D . Mun, K. Rocco regarding antitrust
                                                            issues (0.4); conference with C. Delo, H. Parkhill
                                                            regarding bidder status (0 .2); conference with H.
                                                            Murtagh, A. Quartarolo, J . Weichselbaum regarding
                                                            declarations (0.6); telephone conference with J. Arrastia,
                                                            C. Delo regarding backup bid issues (0.4); conference
                                                            with L. Lluberas regarding same (0.2); review UCC
                                                            changes to APA (0.4); telephone conference with
                                                            Lowenstein, MVA regarding bid status, responses,
                                                            process (1.4); telephone conference with S. Panagos
                                                            regarding same (0.3); telephone conferences with G.
                                                            Metzger regarding update (0.2) ; telephone conference
                                                            with J. Celentino regarding next steps (0.1)

05/30/23     BK                        9.20       14,122.00 Review, consider, revise and respond to bidder due
                                                            diligence queries (1.0); review and consider bidder
                                                            disclosure schedule comments and considerations (1.1);
                                                            video conference with bidder and bidder advisors,
                                                            Debtor and Latham regarding diligence (0.5); video
                                                            conference with Rothschild, Huron, Debtor and Latham
                                                            regarding economic details and inquiries (0.5);
                                                            telephone conference with K. Rocco, A. Sorkin and D.
                                                            Mun regarding antitrust considerations (0.4); draft
                                                            antitrust bullets for further consideration (0.2); telephone
                                                            conferences with D, Mun, R. Quay, T . Kim and R. Potter
                                                            regarding bidder APA comments and changes (2.1);
                                                            review and consider bidder APA (1.1); telephone
                                                            conference with A. Gupta regarding economic
                                                            considerations (0.5); telephone conference with N.
                                                            Wages regarding IP considerations (0 .2); telephone
                                                            conference with D. Mun regarding process and next
                                                            steps (0.1); review and revise schedules (0.6) ; telephone

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                                                                conference with L. Sievert and J. Kaw regarding AP A
                                                                schedules (0.5); review and consider antitrust issues and
                                                                emails (0.4)

05/30/23     HKM                        1.10         1,606.00 Call with potential bidder regarding arbitration award
                                                              litigation (0.5); telephone call with Latham team
                                                              regarding evidence for sale hearing (0 .6)

05/30/23     RRQ                        2.20         3,212.00 Call with bankers and Latham working group on bid
                                                              and auction process (1.5); correspondence on the same
                                                              (0.7)

05/30/23     YLB                        1.40         1,750.00 Call with A. Sorkin and J . Celentino regarding sale
                                                              process and next steps (0.5); prepare for and attend call
                                                              with bidder regarding same (0.9)

05/30/23     JCC                        9.10        11,375.00 Telephone call with potential bidder (0.5); emails
                                                              regarding APA disclosure schedules (0.4); telephone call
                                                              with debtors legal and financial advisors regarding sale
                                                              process (0.6); emails regarding trademark and lease sale
                                                              issues (0.3); review open APA issues (0.6); revise APA to
                                                              incorporate UCC comments and reflect potential bidder
                                                              feedback (5 .1); telephone call with potential buyer (0.2);
                                                              telephone calls regarding APA mechanics (0.4);
                                                              telephone call with Latham team, FTI, UCC, and others
                                                              regarding deal structure and economics (0.6); telephone
                                                              call and emails regarding insurance issues (0 .4)

05/30/23     LK                           .60          723.00 Review and revise draft asset purchase agreement

05/30/23     RNP                        2.40         3,000.00 Attend discussion relating to transaction (0.6); review
                                                              and revise purchase agreement (1.8)

05/30/23     KDR                          .90        1,125.00 Review and prepare title policy real estate deliverables

05/30/23     DCT                        3.10         3,673 .50 Prepare for and participate in call with lenders regarding
                                                               APA (2.0); draft response to APA proposal (0.3); review
                                                               information requests for competitive sensitivity (0.4);
                                                               revise draft of customer call script in event of regulatory
                                                               process (0.4)

05/30/23     NTW                        1.70         1,938.00 Correspondence with team regarding purchase
                                                              agreement and follow up IP requests (0.6); revise
                                                              purchase agreement (0.5); attend telephone conference
                                                              with team regarding purchase agreement (0.4); schedule
                                                              telephone conference with opposing counsel regarding
                                                              follow up requests (0 .2)

05/30/23     JJW                        1.90         2,166.00 Call with A. Sorkin, A. Quartarolo, H. Murtagh, J.
                                                              Celentino, and L. Burton regarding sale (0 .6); participate
                                                              in Latham update call regarding sale process (0 .6);

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                                                             review sale hearing notice (0.2); review sale order (0 .3);
                                                             call with potential asset bidder (0 .2)

05/30/23     KKK                        .70          581.00 Implement D . Tifft's comments to customer call script

05/30/23     TK                        5.90        6,283 .50 Revise asset purchase agreement

05/30/23     LS                        1.40         1,491.00 Draft Disclosure Schedules.

05/30/23     JWK                       2.90         2,044 .50 Attend weekly call (0.4) ; attend to correspondence (0.3);
                                                              update disclosure schedules (1.7); call with B. Kaplan
                                                              and L. Sievert (0.5)

05/31/23     NA                         .70         1,022.00 Review pending transaction

05/31/23     JCE                       3.20        4,592 .00 Teleconference with title Debtor (0.6); Latham
                                                             teleconference (0.8); review revised draft of sale
                                                             agreement (1.4); review questions regarding title
                                                             insurance and timing of closing (0.4)

05/31/23     JF                         .30          448 .50 Review emails regarding Asset Purchase Agreement
                                                             (0.2); review and revise same (0.1)

05/31/23     DEK                       2.50        3,650.00 Review and provide tax comments to APA (1.8); tax
                                                            analysis regarding the same (0 .7)

05/31/23     YM                        6.70       10,284.50 Call with bidder counsel, Huron, MVA and Lowenstein
                                                            regarding transaction (1.2); review bidder APA markup
                                                            (2.3); call with Latham team regarding board summary
                                                            and APA drafting approach (0.5); email correspondence
                                                            with Latham, Huron, Rothschild and VPX teams
                                                            regarding, diligence requests, APA terms (1.9) ; review
                                                            bidder APA proposal terms (0 .2); calls and emails with
                                                            Latham team regarding APA markup and real estate
                                                            title policy (0.6)

05/31/23     CHN                        .60          834.00 Review documents and update findings (0.4); review
                                                            comments to APA (0 .2)

05/31/23     KAR                       1.00         1,360.00 Review and provide comments on transaction slide deck
                                                             (0.3); prepare for and attend call with team regarding
                                                             FTC engagement and economist work stream (0.7)

05/31/23     AS                        9.20       15,226.00 Telephone conference with E. Chafetz, L. Lluberas
                                                            regarding responses on deal points and next steps (0.9) ;
                                                            draft bullets regarding potential claims settlement in
                                                            connection with sale (1.1); review APA (1.2);
                                                            correspondence and calls with bidder counsel, D. Mun,
                                                            B. Kaplan, J. Celentino (1.6); telephone conference with
                                                            A. Gupta regarding analysis of bid impact on estate
                                                            (0.5); review and revise sale order (1.3); telephone
                                                            conference with E. Chafetz regarding same, related sale

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                                                               issues (0.5); telephone conference with L. Lluberas
                                                               regarding same (0.2); call with bidder counsel, MVA,
                                                               Lowenstein regarding bid status, path forward (1.5);
                                                               follow up video conference with D. Mun, J . Celentino, B.
                                                               Kaplan (0.4)

05/31/23     JLD                        2.30         2,990 .00 Latham team call (0.4); review transaction-related
                                                               document (0 .6); review draft slides (0.3); review and
                                                               revise draft APA provisions (0.7); review customer script
                                                               (0.3)

05/31/23     BK                         9.70        14,889.50 Review, consider and revise bidder asset purchase
                                                              agreement (2 .6); prepare for and attend telephone
                                                              conference with bidder counsel, Debtor and Latham
                                                              regarding IP issues (0.6); telephone conference with D.
                                                              Mun regarding process, open items and next steps (0.2);
                                                              telephone conference with T . Kim regarding bidder APA
                                                              (0.3); further review and revise bidder APA (1.7); review,
                                                              revise and consider disclosure schedules (0.9); telephone
                                                              conference with D . Mun regarding open items (0.2);
                                                              telephone conference with A. Sorkin and A. Gupta
                                                              regarding prepaids and related issues (0.4); telephone
                                                              conference with bidder, MVA, Lowenstein, Huron and
                                                              Latham regarding open issues and negotiations (1.4);
                                                              video conference with D . Mun, J. Elliot, A. Sorkin and J.
                                                              Celentino regarding open items and next steps and
                                                              related considerations (1.1); review draft board materials
                                                              (0.3)

05/31/23     RRQ                        3.60         5,256 .00 Review APA and draft/revise the same

05/31/23     YLB                        1.80         2,250 .00 Review and revise sale order (1.7); correspond with A.
                                                               Sorkin regarding same (0.1)

05/31/23     JCC                        7.50         9,375 .00 Emails regarding auction process and outstanding sale
                                                               process issues (0.2); review interim APA drafts and
                                                               revise APA markups (3.1); telephone call with debtor
                                                               legal and financial advisors regarding sale process and
                                                               legal strategy (0.6); telephone calls with Latham team
                                                               regarding tax issues (0 .2); emails with potential
                                                               purchasers and financial advisors (0.2); review potential
                                                               tax and scheduling issues (0.3); research and emails
                                                               regarding tax issues (0.4); telephone call with potential
                                                               bidder, lenders, and UCC regarding APA (1.5);
                                                               telephone call with Latham corporate and RSS team
                                                               regarding next steps (0.4); revise APA (0.6)

05/31/23     RNP                        5.40         6,750.00 Review and revise purchase agreement

05/31/23     KDR                        1.30         1,625.00 Review and prepare title documentation (0.4); review
                                                              and revise transaction documentation relating to real

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                                                               property (0 .9)

05/31/23     DCT                        2.80         3,318.00 Meet with team to discuss outstanding tasks (0.5);
                                                              suggest edits to transaction document (0.6); review
                                                              information for potential use in response to Voluntary
                                                              Access Letter (0.4); suggest edits to transaction slide
                                                              deck (0.3); suggest edits to bidder APA (0.7) ; confer with
                                                              Latham team regarding edits to same (0.3)

05/31/23     NTW                        1.00         1,140.00 Prepare for and attend telephone conference with
                                                              opposing counsel and Debtor regarding IP follow up
                                                              requests (0.7) ; correspondence with team and VPX
                                                              regarding diligence production (0.3)

05/31/23     JJW                        1.20         1,368.00 Review auction matters (0 .3); correspondence regarding
                                                              auction (0.2); telephone call with bidder regarding
                                                              auction (0.2) ; review revised sale order (0 .3); emails with
                                                              Latham team regarding outstanding sale objections (0.2)

05/31/23     KKK                         .60           498 .00 Meeting with K. Rocco, J. Daniels, D. Tifft regarding
                                                               transaction slide deck draft

05/31/23     TK                         7.80         8,307 .00 Revise asset purchase agreement

05/31/23     LS                         3.50         3,727 .50 Review revisions to IP schedules for Disclosure
                                                               Schedules (2.4); correspond with VPX regarding IP
                                                               schedules (0.4); draft diligence responses (0.7)



Attorney:

CA Reckler                    11.60     Hrs.@         $ 1,850.00/hr.             $21,460.00
A Sorkin                      90.80     Hrs.@         $ 1,655.00/hr.          $ 150,274.00
YMun                          94.40      Hrs.@        $ 1,535.00/hr.          $ 144,904.00
J Friedman                     7.40     Hrs.@         $ 1,495.00/hr.             $11,063.00
N Alkhas                       2.00      Hrs.@        $ 1,460.00/hr.              $2,920.00
DE Kamerman                    5.60     Hrs.@         $ 1,460.00/hr.              $8,176.00
JC Elliott                    13.70     Hrs.@         $ 1,435.00/hr.             $19,659.50
SM Hauser                      2.10      Hrs.@        $ 1,390.00/hr.              $2,919.00
CH Norton                      6.90     Hrs.@         $ 1,390.00/hr.              $9,591.00
R Blamires                       .30     Hrs.@        $ 1,360.00/hr.               $ 408.00
D J Dominguez                    .60    Hrs.@         $ 1,360.00/hr.               $ 816.00
G Mahmood                      4.40      Hrs.@        $ 1,360.00/hr.              $5,984.00
A Quartarolo                   3.70     Hrs.@         $ 1,360.00/hr.              $5,032.00

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KA Rocco                     37.60      Hrs.@       $ 1,360.00/hr.           $51,136.00
PM Todaro                    43.30      Hrs.@       $ 1,620.00/hr.           $70,146.00
B Kaplan                    128.30      Hrs.@       $ 1,535.00/hr.          $ 196,940.50
RJ McGuire                    12.70     Hrs.@       $ 1,460.00/hr.           $18,542.00
HK Murtagh                     2.60     Hrs.@       $ 1,460.00/hr.            $3,796 .00
RR Quay                      52.20      Hrs.@       $ 1,460.00/hr.           $76,212.00
AS Blanco                       .70     Hrs.@       $ 1,335.00/hr.              $ 934.50
J L Daniels                  36.70      Hrs.@       $ 1,300.00/hr.           $47,710.00
AP Galdes                       .60     Hrs.@       $ 1,300.00/hr.              $ 780.00
A Beach                         .90     Hrs.@       $ 1,250.00/hr.            $1,125.00
Y L Burton                   30.40      Hrs.@       $ 1,250.00/hr.           $38,000.00
J C Celentino                97.00      Hrs.@       $ 1,250.00/hr.          $121,250.00
RN Potter                    25.50      Hrs.@       $ 1,250.00/hr.           $31,875 .00
K D Ritter                     6.10     Hrs.@       $ 1,250.00/hr.            $7,625 .00
L Kutilek                      4.00     Hrs.@       $ 1,205.00/hr.            $4,820.00
DC Tifft                    109.60      Hrs.@       $ 1,185.00/hr.          $ 129,876.00
NT Wages                     44.20      Hrs.@       $ 1,140.00/hr.           $50,388.00
J J Weichselbaum             30.30      Hrs.@       $ 1,140.00/hr.           $34,542.00
TKim                        109.80      Hrs.@       $ 1,065.00/hr.          $116,937.00
JWMorley                     25.30      Hrs.@       $ 1,065.00/hr.           $26,944.50
L Sievert                    63.40      Hrs.@       $ 1,065.00/hr.           $67,521.00
M Southworth                  16.40     Hrs.@       $ 1,065.00/hr.           $17,466.00
NA Jung                        2.70     Hrs.@        $ 960.00/hr.             $2,592 .00
SP Mulloy                    26.90      Hrs.@        $ 960.00/hr.            $25,824.00
E J Sachs                      1.20     Hrs.@        $ 960.00/hr.             $1,152.00
NA Gulati                       .80     Hrs.@        $ 830.00/hr.               $ 664.00
KKKim                        31.80      Hrs.@        $ 830.00/hr.            $26,394.00
RA Presley                      .90     Hrs.@        $ 705.00/hr.               $ 634.50
RM Weiss                       8.90     Hrs.@        $ 705.00/hr.             $6,274.50
                          1,194.30                                        $ 1,561,308.00




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JWKow                          24.80      Hrs.@        $ 705.00/hr.            $17,484.00
HE Thompson                     17 .20    Hrs.@        $ 520.00/hr.             $8,944.00
CW Galgano                        .30     Hrs.@        $ 475.00/hr.               $ 142.50
KN Gelman                         .50     Hrs.@        $ 505.00/hr.               $ 252.50
                               42.80                                           $26,823.00

GRAND TOTAL:                1,237.10                                        $ 1,588,131.00




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05/04/23     AQ                         .50         680 .00 Review and revise stay motion (0.3); email D. Levine and
                                                            G . Metzger regarding same (0.2)

05/05/23     YLB                        .70         875 .00 Review reply to lift stay motion (0.5); correspond with M
                                                            Niles regarding same (0.2)

05/09/23     HKM                        .20         292.00 Correspondence regarding AZ lift-stay order



Attorney:

A Quartarolo                    .50     Hrs.@       $ 1,360.00/hr.              $ 680.00
HK Murtagh                      .20     Hrs.@       $ 1,460.00/hr.              $ 292.00
Y L Burton                      .70     Hrs.@       $ 1,250.00/hr.              $ 875.00
                               1.40                                           $1,847 .00




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05/11/23     AQ                          .60         816 .00 Email with M . Niles regarding vehicles (0.1) ; telephone
                                                             conferences with E. Morris regarding same (0 .5)

05/19/23     JJW                        1.20       1,368.00 Call with Chubb counsel to discuss policy renewals/
                                                            extensions (0.2); review emails regarding same (0.2) ;
                                                            review letters in connection with policy
                                                            renewals/extensions (0 .4); correspond with Latham and
                                                            Huron teams regarding same (0 .3); emails with committee
                                                            and lenders regarding same (0.1)

05/21/23     JJW                         .40         456.00 Review letters regarding Chubb policy renewals (0.3);
                                                            correspond with lenders regarding same (0.1)

05/22/23     JCC                         .20         250.00 Telephone call with insurer counsel and J. Weichselbaum

05/22/23     JJW                         .50         570.00 Call with Chubb counsel and J . Celentino regarding
                                                            insurance policy renewals (0 .3); correspond with Debtor
                                                            and Huron regarding same (0.1); correspond with lenders
                                                            regarding same (0.1)

05/23/23     JJW                         .20         228 .00 Review matters regarding insurance policies renewals

05/24/23     JCC                         .30         375.00 Email and telephone call with J . Weichselbaum regarding
                                                            insurance issues

05/24/23     JJW                         .20         228 .00 Correspondence regarding insurance policies renewals

05/26/23     JCC                         .10         125.00 Review letter regarding insurance extension

05/29/23     AQ                          .30         408.00 Email A. Sorkin regarding insurance issues (0.1); review
                                                            correspondence regarding same (0.2)

05/30/23     YM                          .50         767 .50 Call with Huron regarding prepaid/deposits, operating
                                                             expense budget and economic analysis

05/30/23     BK                          .30         460 .50 Telephone conference with J . Celentino regarding
                                                             insurance coordination

05/30/23     JJW                         .20         228 .00 Review emails regarding insurance policy renewals

05/31/23     JCC                         .40         500.00 Emails regarding insurance coverage issue

05/31/23     JJW                         .30         342.00 Review insurance renewal issues (0.2) ; telephone call with
                                                            insurer's counsel (0 .1)




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Attorney:

YMun                           .50     Hrs.@       $ 1,535.00/hr.              $ 767.50
A Quartarolo                   .90     Hrs.@       $ 1,360.00/hr.            $1,224.00
B Kaplan                       .30     Hrs.@       $ 1,535.00/hr.              $ 460.50
J C Celentino                 1.00     Hrs.@       $ 1,250.00/hr.            $1,250.00
J J Weichselbaum              3.00     Hrs.@       $ 1,140.00/hr.            $3,420.00
                              5.70                                           $7,122 .00




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05/01/23     YLB                         .80       1,000.00 Review work in progress and case calendar (0.4);
                                                            telephone call with Latham team regarding same (0.4)

05/01/23     JCC                        1.40       1,750.00 Review current work in progress and developments on
                                                            outstanding work streams (0.2) ; telephone call with
                                                            Latham associate team regarding current work in progress
                                                            (0.7); review and approve filings/motions (0.5)

05/01/23     JJW                         .50        570.00 Participate in Latham team update telephone call

05/01/23     JWM                         .60        639.00 Attend work in progress telephone call

05/01/23     JLT                         .80         852 .00 Attend associates work in progress telephone call

05/01/23     NAG                        1.40       1,162.00 Telephone conference discuss case updates (0.9); update
                                                            works in process list (0.5)

05/02/23     SPM                         .60        576 .00 Attend meeting with D . Tifft, J . Daniels, and K. Rocco
                                                            regarding matter updates, planning, and strategy

05/03/23     JCC                        1.80       2,250 .00 Review potential filings (0 .2); review status of work
                                                             streams and check in with associate teams regarding same
                                                             (0.9); review associate work in progress, work-in-progress
                                                             tracker, and case calendar (0.2); check in with individual
                                                             teams regarding same (0.5)

05/03/23     NAG                        2.30       1,909.00 Update works in process list and case calendar

05/04/23     AQ                          .40        544.00 Attend work in progress call regarding status and strategy

05/04/23     AS                          .60        993.00 Attend daily professionals' telephone call

05/04/23     HKM                         .30        438 .00 Attend work in progress telephone call with Latham team

05/04/23     JCC                         .60         750.00 Prepare for telephone call regarding work in progress
                                                            (0.2); telephone call with Latham and Berger Singerman
                                                            legal teams regarding work in process (0.2); telephone call
                                                            with J . Weichselbaum regarding May 4 hearing (0 .1);
                                                            telephone call with N. Gulati regarding motion drafting
                                                            (0.1)

05/04/23     BSR                         .30        342.00 Participate in WIP telephone call with Latham and Berger
                                                           Singerman teams

05/04/23     JJW                         .50        570.00 Participate in team update telephone call

05/04/23     JL T                        .30        319.50 Prepare for and attend work in progress telephone call

05/04/23     NAG                         .70        581.00 Email works in process list (0.2); attend works in process
                                                           telephone call (0.2); email case calendar to VPX (0.3)

05/05/23     AS                          .20        331 .00 Attend daily professionals' telephone call

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05/05/23     NAG                         .10          83 .00 Update works in process list

05/08/23     AS                          .40        662.00 Attend daily professionals' call (0.4)

05/08/23     YLB                        1.10       1,375.00 Attend CTO telephone call (0.5); review case calendar and
                                                            filings on bankruptcy docket (0.6)

05/08/23     JCC                         .90       1,125.00 Plan associate work streams (0.4); review filings on
                                                            bankruptcy docket for upcoming deadlines (0.5)

05/08/23     BSR                         .30        342.00 Participate in Latham associates work in progress call

05/08/23     JJW                         .20        228 .00 Participate in Latham team update telephone call

05/08/23     NAG                         .60        498.00 Update works in process list (0.4); attend works in process
                                                           telephone conference (0 .2)

05/08/23     JLT                         .30        319.50 Prepare for and attend work in progress telephone call

05/09/23     YM                          .50         767 .50 Attend advisor telephone call

05/09/23     BK                          .30        460.50 Attend telephone call with Huron, VPX, Rothschild and
                                                           Latham

05/10/23     AS                          .80       1,324.00 Attend daily professionals' telephone call

05/10/23     YLB                         .50        625.00 Prepare for and attend CTO telephone call

05/10/23     JCC                         .30        375.00 Revise work in progress tracker (0.2); check in with
                                                           associates regarding same (0.1)

05/10/23     NAG                        1.90       1,577 .00 Update works in process list (1.5); update case calendar
                                                             (0.4)

05/11/23     AQ                          .40        544.00 Review work in progress (0.1); attend work in progress
                                                           call with team regarding status and strategy (0 .3)

05/11/23     AS                         1.80       2,979.00 Telephone conference with H. Murtagh regarding case
                                                            update (0.4); attend work in process telephone call with
                                                            associate team (0.7); attend daily professionals' telephone
                                                            call (0.7)

05/11/23     HKM                         .50         730.00 Call with A. Sorkin regarding plan/deal progress

05/11/23     HKM                        1.00       1,460.00 Work in progress call with Latham team (0.5); telephone
                                                            call with A. Sorkin regarding plan and deal progress (0.5)

05/11/23     YLB                         .30        375.00 Review work in progress and case calendar

05/11/23     JCC                        1.20       1,500.00 Review and update work in progress tracker (0 .6);
                                                            circulate to Latham and Berger Singerman teams (0.1);
                                                            telephone call regarding work in progress (0 .5)


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05/11/23     BSR                         .60         684 .00 Participate in work in progress call with Latham and
                                                             Berger Singerman teams

05/11/23     JJW                         .80         912 .00 Participate in Latham team update telephone call (0 .6);
                                                             review work in process list (0.2)

05/11/23     NAG                        1.50       1,245.00 Update and email case calendar with critical dates (0.7);
                                                            attend telephone conference discussing works in process
                                                            (0.5) ; update works in process list (0.3)

05/11/23     JLT                         .60         639 .00 Attend work in progress telephone call

05/12/23     CAR                        1.00       1,850.00 Participate in advisor pre-call regarding lender telephone
                                                            call (0.5); participate in lender telephone call (0.5)

05/12/23     AS                          .40         662 .00 Attend daily professionals' telephone call

05/12/23     NAG                         .70         581.00 Update works in process list

05/14/23     JCC                         .50         625.00 Review current work in progress and confirm projects are
                                                            on track

05/15/23     AS                          .50         827 .50 Attend daily professionals' telephone call with Berger,
                                                             Latham, Huron, Rothschild teams

05/15/23     JCC                         .10         125.00 Revise work in progress tracker

05/15/23     NAG                         .60         498 .00 Update works in process list

05/16/23     AS                          .60         993.00 Attend daily professionals' call with Huron, Rothschild,
                                                            Latham, Berger teams

05/16/23     BK                          .50         767 .50 Prepare for and attend check in telephone call with
                                                             Debtors, Huron, Rothschild and Latham

05/16/23     JCC                        1.00       1,250.00 Telephone call with associate team regarding work in
                                                            progress (0.4); review and revise work in progress tracker
                                                            and reassign matters (0.6)

05/16/23     JJW                         .80         912.00 Participate in team update call

05/16/23     NAG                        1.70       1,411.00 Update and email works in process list to Latham team
                                                            (0.9); attend works in process telephone call (0.8)

05/16/23     JWM                         .80         852.00 Team call regarding works in progress

05/16/23     JLT                         .80         852 .00 Attend associates work in progress call

05/17/23     AS                          .60         993 .00 Attend professionals' call with Huron, Latham, Berger
                                                             Singerman, Rothschild teams

05/17/23     JCC                         .40         500.00 Plan associate work streams


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05/17-/23    NAG                       1.7-0      1,411.00 Update works in process list (0.9); update case calendar
                                                           with critical dates (0.4); email case calendar to VPX for
                                                           review (0.4)

05/18/23     AQ                         .50         680.00 Attend telephone call with Huron and Rothschild
                                                           regarding status and strategy

05/18/23     AS                         .90       1,489.50 Attend work in process telephone call with J . Celentino, L.
                                                           Burton, associate team (0.4); attend daily professionals'
                                                           telephone call with Huron, Berger Singerman, Latham,
                                                           Rothschild teams (0.5)

05/18/23     JCC                        .50         625 .00 Review work in progress tracker and update (0.2);
                                                            telephone call with Latham and Berger Singerman teams
                                                            regarding work in progress (0.3)

05/18/23     JJW                        .40         456.00 Participate in Latham team update telephone call

05/18/23     NAG                       1.40       1,162.00 Update works in process list

05/18/23     JWM                        .40         426 .00 Weekly work in progress telephone call

05/18/23     JLT                        .40         426.00 Attend work in progress telephone call

05/19/23     AQ                         .50         680.00 Telephone conference with Huron and Rothschild
                                                           regarding status and strategy

05/19/23     CAR                        .50         925 .00 Participate in telephone call regarding lender update

05/22/23     AS                         .40         662.00 Attend daily professionals telephone call

05/22/23     JCC                        .80       1,000.00 Review work in progress and update workstream tracking
                                                           (0.6); plan with Latham team regarding same (0 .2)

05/23/23     AS                         .40         662.00 Attend daily professionals' telephone call with Huron,
                                                           Berger Singerman, Rothschild teams

05/23/23     JCC                        .80       1,000.00 Prepare for Latham associates work in progress call (0.1);
                                                           telephone call with Latham associates regarding work in
                                                           progress and case updates (0.5); telephone call with A.
                                                           Sorkin regarding strategy (0.2)

05/23/23     JJW                        .40         456.00 Participate in team update telephone call

05/23/23     NAG                        .50         415.00 Update works in process list

05/23/23     JWM                        .80         852 .00 Attend weekly work in progress telephone call

05/23/23     JLT                        .50         532.50 Attend associate work in progress telephone call

05/24/23     AS                         .50         827- .50 Attend daily professionals' telephone call



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05/24/23     JCC                        .90       1,125.00 Review associate work in progress and update tracker
                                                           (0 .7); contact Latham associates regarding outstanding
                                                           work in progress (0.2)

05/24/23     NAG                       1.30       1,079.00 Telephone conference with J. Celentino discussing works
                                                           in process list (0.1); update works in process list and case
                                                           calendar (1.2)

05/25/23     AQ                         .50         680.00 Attend telephone call with Huron and Rothschild
                                                           regarding status and strategy

05/25/23     AS                         .30         496.50 Attend daily professionals' telephone call

05/25/23     NAG                        .60         498.00 Updated works in process list and case calendar

05/26/23     AQ                         .50         680 .00 Email and telephone conference with Huron and
                                                            Rothschild regarding status and strategy

05/26/23     AS                         .50         827 .50 Attend daily professionals' telephone call with Huron,
                                                            Rothschild teams

05/26/23     NAG                        .10          83.00 Update works in process list

05/30/23     AQ                         .60         816.00 Attend telephone call with A. Sorkin, Huron and
                                                           Rothschild regarding status and strategy

05/30/23     AS                         .60         993.00 Attend daily professionals' telephone call

05/30/23     YLB                        .50         625 .00 Prepare for and attend work in progress call

05/30/23     JCC                       1.40       1,750.00 Revise work in progress tracker based on project updates
                                                           (0.8); prepare for work in progress telephone call (0.1);
                                                           telephone call with Latham associates regarding work in
                                                           progress (0.5)

05/30/23     NAG                        .60         498 .00 Attend works in process telephone conference

05/30/23     JWM                        .60         639.00 Attend WIP telephone call

05/30/23     JLT                        .60         639.00 Weekly associates WIP telephone call

05/31/23     AS                         .60         993 .00 Attend daily professionals' call

05/31/23     YLB                        .50         625 .00 Prepare for and attend CTO call

05/31/23     NAG                        .30         249.00 Update case calendar




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Attorney:

CA Redder                        1.50     Hrs.@       $ 1,850.00/hr.            $2,775.00
A Sorkin                        10.10     Hrs.@       $ 1,655.00/hr.           $16,715.50
YMun                              .50     Hrs.@       $ 1,535.00/hr.              $ 767.50
A Quartarolo                     3.40     Hrs.@       $ 1,360.00/hr.            $4,624.00
B Kaplan                          .80     Hrs.@       $ 1,535.00/hr.            $1,228.00
HK Murtagh                       1.80     Hrs.@       $ 1,460.00/hr.            $2,628.00
Y L Burton                       3.70     Hrs.@       $ 1,250.00/hr.            $4,625.00
J C Celentino                   12.60     Hrs.@       $ 1,250.00/hr.           $15,750.00
BS Rosen                         1.20     Hrs.@       $ 1,140.00/hr.            $1,368.00
J J Weichselbaum                 3.60     Hrs.@       $ 1,140.00/hr.            $4,104.00
JWMorley                         3.20     Hrs.@       $ 1,065.00/hr.            $3,408 .00
J L Teresi                       4.30     Hrs.@       $ 1,065.00/hr.            $4,579.50
SP Mulloy                         .60     Hrs.@        $ 960.00/hr.               $ 576.00
NA Gulati                       13.50     Hrs.@        $ 830.00/hr.            $11,205.00
                               60 .80                                          $74,353.50

Other:

NA Gulati                        4.50     Hrs.@        $ 830.00/hr.             $3,735.00
                                 4.50                                           $3,735.00

GRAND TOTAL:                   65.30                                           $78,088.50




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Date           Timekeeper               Hours       Amount Description

05/01/23       JJW                        .20         228 .00 Call with Debtors regarding late claim motion

05/02/23       AS                         .20         331.00 Telephone conference with A. Gupta regarding claims
                                                             analysis

05/02/23       JCC                        .30         375.00 Review administrative claim procedures (0.2); draft email
                                                             to Latham team regarding potential claim objection (0.1)

05/02/23       NAG                        .30         249.00 Email financial advisor about existing administrative
                                                             claims

05/03/23       JJW                        .20         228.00 Review order regarding late claim

05/05/23       JCC                        .50         625.00 Review objection to late filed claim (0.2); research relevant
                                                             law (0 .2); draft email to Latham team regarding same (0.1)

05/16/23       NAG                        .70         581.00 Draft email to opposing counsel regarding their
                                                             administrative claim

05/22/23       JCC                        .30         375.00 Review potential administrative claims and related
                                                             objections (0.2); email with J. Weichselbaum regarding
                                                             same (0.1)

05/23/23       JCC                        .20         250.00 Telephone call with J . Weichselbaum regarding cure
                                                             amounts and objections

05/25/23       JCC                        .30         375.00 Correspond with claimants regarding potential objections



Attorney:

A Sorkin                          .20     Hrs.@       $ 1,655.00/hr.              $ 331.00
J C Celentino                    1.60     Hrs.@       $ 1,250.00/hr.            $2,000.00
J J Weichselbaum                  .40     Hrs.@       $ 1,140.00/hr.              $ 456.00
NA Gulati                         .70     Hrs.@        $ 830.00/hr.               $ 581.00
                                 2.90                                           $3,368.00

Other:

NA Gulati                         .30     Hrs.@        $ 830.00/hr.               $ 249.00
                                  .30                                             $ 249.00

GRAND TOTAL:                     3.20                                           $3,617.00




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Date         Timekeeper              Hours        Amount Description

05/01/23     YM                        2.20       3,377 .00 Attend board telephone call (1.5); emails with Latham
                                                            team and bidder counsel regarding various diligence
                                                            requests (0.5); telephone call with bidder counsel
                                                            regarding subsidiaries (0 .1); emails with Latham team
                                                            regarding subsidiaries (0.1)

05/01/23     AS                        1.40       2,317 .00 Attend and participate in regular board meeting

05/01/23     BK                        1.50       2,302.50 Attend board meeting

05/01/23     YLB                        .90       1,125.00 Prepare for and attend board meeting

05/01/23     JCC                       1.50       1,875.00 Attend meeting of Board of directors

05/01/23     JWM                       1.60       1,704.00 Attend board telephone call and take minutes for the
                                                           same

05/01/23     NAG                        .60         498.00 Attend 5/1 board meeting

05/04/23     YM                        1.70       2,609.50 Attend board call

05/04/23     AQ                        4.00       5,440.00 Attend board meeting (1.2); review and revise board
                                                           materials (1.0); revise minutes (1.8)

05/04/23     AS                        1.60       2,648.00 Attend regular board meeting

05/04/23     JCC                        .60         750.00 Attend meeting of Board of Directors

05/04/23     JWM                        .70         745 .50 Review and revise minutes

05/04/23     NAG                       3.20       2,656.00 Update board meeting minutes (0.3); email board meeting
                                                           minutes to Debtor for review (0.3); attend 5/4 board
                                                           meeting (1.7); update minutes from 4/6 meeting (0.2);
                                                           email minutes to C. Reckler, A. Quartarolo and A. Sorkin
                                                           for review (0.9)

05/05/23     AQ                        2.20       2,992.00 Review and revise board minutes (2.1); email N . Gupta
                                                           regarding same (0.1)

05/05/23     NAG                       1.30       1,079.00 Email Debtor about board minutes (0.6); email meeting
                                                           minutes to board for review (0 .7)

05/05/23     JWK                        .70         493.50 Draft and review board consent for new entity (0.6); attend
                                                           to correspondence with Latham team (0.1)

05/06/23     AQ                        1.80       2,448 .00 Review and revise board minutes and related materials
                                                            (1.6); email with N. Gulati regarding same (0.2)

05/06/23     AS                        1.50       2,482 .50 Review and comment on all March 2023 minutes

05/06/23     NAG                       1.20         996.00 Draft 4/10 meeting minutes (1.2)



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05/07/23     AQ                        1.40       1,904 .00 Review and revise board minutes and related materials
                                                            (1.3); email N. Gulati regarding same (0 .1)

05/07/23     NAG                       2.90       2,407 .00 Update March meeting minutes

05/08/23     YM                         .70       1,074.50 VPX board telephone call

05/08/23     AQ                        1.80       2,448 .00 Attend board meeting (1.2); review and revise board
                                                            minutes (0.5); email with N. Gupta regarding same (0.1)

05/08/23     AS                        1.20       1,986.00 Review minutes and comment (0.3); correspondence with
                                                           W. Morley regarding same, board matters (0.1) ; attend
                                                           board telephone call (0.8)

05/08/23     BK                         .70       1,074 .50 Attend board telephone call

05/08/23     JCC                        .80       1,000.00 Attend board of directors meeting

05/08/23     NAG                       2.60       2,158.00 Attend and record minutes for 5/8 board meeting (0.8);
                                                           email meeting minutes for review (0.2); update meeting
                                                           minutes from 2/28 (0.4); email minutes to Debtor for
                                                           review (0.5); draft 4/10 board meeting minutes (0.7)

05/08/23     JWM                        .40         426.00 Attend board meeting

05/09/23     NAG                       2.90       2,407 .00 Draft 4/10 meeting minutes (0.9); update draft meeting
                                                            minutes for 4/3 and 4/6 (0.9); email meeting minutes to
                                                            Debtor for review (1.1)

05/10/23     DTG                        .50         680.00 Review coverage under D&O policies (0.3); confer with A.
                                                           Sorkin regarding same (0.2)

05/10/23     NAG                       1.30       1,079.00 Draft 4/13 board meeting minutes

05/11/23     DTG                       1.00       1,360.00 Review summary of D&O coverage (0.2); review Sompo
                                                           policy language (0.2); correspondence with CAC Specialty
                                                           regarding same (0.2); confer with A. Quartarolo and A.
                                                           Sorkin regarding same (0.2); conference call regarding
                                                           D&O coverage (0.2)

05/11/23     YM                        1.60       2,456 .00 Attend board telephone call

05/11/23     AQ                        1.60       2,176.00 Prepare materials for board meeting (0.3) ; attend board
                                                           meeting (1.1); email and telephone conference with A.
                                                           Sorkin regarding same (0.2)

05/11/23     AS                        2.30       3,806.50 Pre-call for board telephone call with S. Panagos (0.5);
                                                           attend board telephone call (1.6) ; follow up telephone
                                                           conference with J . Gusa, S. Gray regarding same (0 .2)

05/11/23     BK                         .70       1,074 .50 Attend board telephone call


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05/11/23     JCC                        1.50       1,875 .00 Attend board of directors meeting (0.8) ; attend executive
                                                             session of board of directors (0.7)

05/11/23     NAG                        5.60       4,648 .00 Email A. Quartarolo regarding board meeting minutes
                                                             (0.3) ; draft 4/13 board meeting minutes (2.9) ; attend and
                                                             take notes during 5/11 board meeting (1.6); draft 4/17
                                                             board minutes (0 .8)

05/11/23     JWM                        2.00       2,130.00 Review and revise minutes (2.0)

05/12/23     DTG                         .50         680 .00 Correspondence with Huron and CAC Specialty regarding
                                                             insured persons under Sompo D&O policy (0.3); confer
                                                             with A. Sorkin regarding same (0.2)

05/12/23     NAG                        1.90       1,577 .00 Draft 4/17 meeting minutes (1.5) ; update 4/10 meeting
                                                             minutes (0 .7)

05/12/23     JWM                        1.20       1,278.00 Review and revise board minutes

05/13/23     DTG                         .50         680 .00 Pre-call for board telephone call with S. Panagos (0.5) ;
                                                             attend board telephone call (1.6); follow up telephone
                                                             conference with J. Gusa, S. Gray regarding same (0.2)

05/15/23     NA                          .50         730.00 Attend board meeting

05/15/23     YM                         1.40       2,149 .00 Attend board telephone call

05/15/23     AS                         1.50       2,482 .50 Attend semi-weekly board telephone call

05/15/23     BK                         1.30       1,995.50 Attend board telephone call

05/15/23     JCC                         .90       1,125.00 Attend meeting of the Board of Directors (0.9)

05/15/23     NAG                        1.70       1,411.00 Draft 4/20 board meeting minutes (0.5); attend 5/15 board
                                                            meeting (1.2)

05/15/23     JWM                         .50         532.50 Attend board telephone call and take notes of the same

05/16/23     DTG                        2.00       2,720 .00 Correspondence and analysis regarding D&O coverage
                                                             issues (1.5) ; confer with A. Sorkin regarding same (0.2);
                                                             conference telephone call with G . Metzger and Huron
                                                             team regarding same (0.3)

05/16/23     NAG                         .80         664 .00 Update 4/13 board meeting minutes

05/17/23     DTG                        1.00       1,360.00 Telephone calls with Huron and CAC Specialty (0.5) ;
                                                            follow up correspondence with CAC Specialty and Huron
                                                            regarding same (0.5)

05/18/23     NA                         1.20       1,752.00 Attend board meeting

05/18/23     DTG                         .60         816 .00 Telephone call with CAC Specialty team regarding

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                                                               strategy for negotiations with Sompo

05/18/23     YM                         1.30       1,995.50 VPX board telephone call (1.0) ; telephone call with
                                                            restructuring team regarding auction process (0 .3)

05/18/23     AQ                         1.10       1,496.00 Prepare for and attend board meeting

05/18/23     AS                         1.50       2,482 .50 Attend and participate in board meeting

05/18/23     BK                         1.30       1,995.50 Attend board telephone call

05/18/23     YLB                        1.10       1,375.00 Prepare for and attend board meeting (1.1)

05/18/23     JCC                        1.20       1,500.00 Attend meeting of board of directors (1.2)

05/18/23     NAG                        2.50       2,075 .00 Prepare approved board meeting minutes for execution
                                                             (1.3) ; attend and take notes during 5/18 board meeting
                                                             (1.2)

05/18/23     JWM                        2.50       2,662.50 Review and revise draft minutes

05/19/23     NAG                          .90        747.00 Prepare and send restructuring committee for execution

05/20/23     DTG                          .20        272 .00 Review correspondence from G. Metzger regarding D&O
                                                             insurance

05/21/23     BK                           .50        767 .50 Review board materials from Rothschild

05/22/23     DTG                        1.20       1,632.00 Review correspondence from G. Metzger (0.4); review
                                                            coverage issues and draft response to inquiries (0.6);
                                                            confer with A. Sorkin regarding same (0.2)

05/22/23     NAG                        2.40       1,992.00 Prepare approved board meeting minutes for execution

05/23/23     DTG                          .60        816.00 Review correspondence from G. Metzger (0.2); review
                                                            coverage issues and draft response to inquiries (0.3);
                                                            confer with A. Sorkin regarding same (0.1)

05/23/23     YM                         1.00       1,535.00 Participate in board meeting to discuss bids

05/23/23     AQ                           .20        272.00 Email with A. Sorkin and A. Jajoo regarding board
                                                            materials

05/23/23     AS                         1.90       3,144 .50 Prepare for (0.2) and participate in board telephone call
                                                             regarding sale process (1.3); telephone conference with A.
                                                             Gupta regarding D&O issues and review same (0.4)

05/23/23     JCW                          .50        787 .50 Review indemnification issues under Florida Law

05/23/23     BK                         1.10       1,688.50 Attend board call

05/23/23     JCC                        1.00       1,250.00 Participate in board of directors call regarding bid options


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05/23/23     JWM                       1.20       1,278.00 Attend board telephone call and take notes of the same

05/24/23     DTG                       1.00       1,360.00 Confer with C. Word regarding indemnification issues
                                                           (0.5); correspondence with G . Metzger regarding D&O
                                                           insurance issues (0.2); telephone call with Huron counsel
                                                           regarding same (0.3)

05/24/23     NAG                        .40         332.00 Prepare board meeting minutes for execution

05/25/23     DTG                        .20         272 .00 Correspondence regarding D&O coverage

05/25/23     YM                        1.00       1,535.00 Attend board call

05/25/23     AS                        1.00       1,655.00 Attend board meeting

05/25/23     BK                        1.00       1,535.00 Attend board call

05/25/23     JCC                       1.00       1,250.00 Attend meeting of board of directors

05/25/23     NAG                        .40         332.00 Draft 4/20 board meeting minutes

05/25/23     JWM                       1.00       1,065.00 Attend board telephone call and take notes of the same

05/26/23     DTG                        .20         272 .00 Correspondence regarding D&O coverage

05/26/23     NAG                        .40         332.00 Prepare board meeting minutes for execution

05/29/23     DTG                        .50         680.00 Review G. Metzger email regarding D&O coverage issues

05/29/23     AS                         .30         496.50 Review email from G. Metzger regarding D&O coverage

05/30/23     DTG                       1.00       1,360.00 Confer with A. Sorkin and A. Quartarolo regarding D&O
                                                           coverage issues (0.7) ; review correspondence related to
                                                           same (0 .3)

05/30/23     AS                         .60         993.00 Conference with D. Gardiner, A. Quartarolo regarding
                                                           D&O insurance issues

05/30/23     NAG                        .40         332.00 Prepare board meeting minutes for execution

05/31/23     DTG                       1.80       2,448.00 Review correspondence from G. Metzger regarding D&O
                                                           coverage issues (0.4); draft responses to same (0.5); confer
                                                           with A. Sorkin and A. Quartarolo regarding same (0.6);
                                                           review CAC board presentation slides (0.3)

05/31/23     AS                         .20         331.00 Correspondence with G. Metzger regarding D&O cost
                                                           issues

05/31/23     NAG                        .20         166.00 Send board meeting minutes for execution




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Attorney:

A Sorkin                        15.00      Hrs.@        $ 1,655.00/hr.           $24,825.00
JC Word                            .50     Hrs.@        $ 1,575.00/hr.              $ 787.50
YMun                            10.90      Hrs.@        $ 1,535.00/hr.           $16,731.50
N Alkhas                          1.70     Hrs.@        $ 1,460.00/hr.            $2,482.00
D T Gardiner                    12.80      Hrs.@        $ 1,360.00/hr.           $17,408.00
A Quartarolo                    14.10      Hrs.@        $ 1,360.00/hr.           $19,176.00
B Kaplan                         8.10      Hrs.@        $ 1,535.00/hr.           $12,433.50
Y L Burton                       2.00      Hrs.@        $ 1,250.00/hr.            $2,500.00
J C Celentino                    8.50      Hrs.@        $ 1,250.00/hr.           $10,625.00
J W Morley                      11.10      Hrs.@        $ 1,065.00/hr.           $11,821.50
NA Gulati                       24.40      Hrs.@         $ 830.00/hr.            $20,252 .00
                               109.10                                           $ 139,042.00

Other:

NA Gulati                        9.20      Hrs.@         $ 830.00/hr.             $7,636.00
JWKow                              .70     Hrs.@         $ 705.00/hr.               $ 493.50
                                 9.90                                             $8,129.50

GRAND TOTAL:                   119.00                                           $147,171.50




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Date         Timekeeper                           Amount Description

05/02/23     NA                         .40         584 .00 Review WARN-related exposure

05/04/23     NA                        3.50       5,110.00 Review employment data under the WARN Act (1.5);
                                                           prepare assessment of potential exposure (1.5);
                                                           correspondence with Latham team concerning the same
                                                           (0.5)

05/05/23     NA                         .70       1,022.00 Review WARN assessment and employment data

05/05/23     AS                         .20         331 .00 Review WARN analysis

05/08/23     AQ                         .20         272.00 Email J. DiDonato and S. Parkhurst regarding
                                                           employment agreement

05/09/23     YLB                        .50         625.00 Prepare for and attend telephone call with A. Gupta and
                                                           N . Gulati regarding employee compensation matters (0.5);
                                                           correspond with A. Sorkin regarding same (0.2)

05/09/23     NAG                        .50         415.00 Attend telephone conference with Huron discussing
                                                           employee compensation (0 .5)

05/11/23     NA                         .50         730.00 Review WARN analysis

05/12/23     AS                         .20         331.00 Telephone conference with A. Gupta regarding D&O
                                                           questions

05/15/23     NA                        1.00       1,460.00 Review WARN issue (0.2); review director and officer
                                                           liability (0.8)

05/16/23     NA                         .50         730.00 Review and assess director and officer liability and wage
                                                           violations

05/16/23     YD                        1.70       1,921.00 Conduct legal research on director and officer liability for
                                                           WARN violation under different state laws

05/17/23     NA                        1.80       2,628 .00 Review WARN assessment and director and officer
                                                            liability (0.9); conference call with the Latham team to
                                                            discuss the same (0.9)

05/17/23     YM                         .70       1,074.50 Telephone call with Huron and Latham team regarding
                                                           WARN Act analysis

05/17/23     AS                         .70       1,158.50 Attend telephone call with N. Alkhas, Huron regarding
                                                           WARN issues

05/17/23     YD                        1.20       1,356.00 Conduct research on WARN Act and director & officer
                                                           liability for wage law violations under AZ, CA, and FL
                                                           laws

05/18/23     NA                         .60         876.00 Attention to WARN analysis

05/18/23     LMW                        .10         131.50 Confer with N . Alkhas regarding California WARN Act

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Date         Timekeeper                Hours       Amount Description

05/22/23     NA                           .50        730 .00 Review WARN issues

05/23/23     AQ                           .40        544.00 Email S. Parkhurst regarding employment agreements

05/24/23     YLB                          .90      1,125.00 Call with S. Pakhurst and A. Sorkin regarding employee
                                                            matters and KERP matters

05/25/23     NA                           .30        438 .00 Review WARN liability

05/25/23     AS                           .50        827 .50 Conference and correspondence with A. Gupta regarding
                                                             employee issues

05/25/23     YLB                          .70        875 .00 Review KERP motion (0.3); telephone call with S. Pakhurst
                                                             regarding same (0.4)

05/26/23     NA                           .80      1,168.00 Correspondence regarding employment liability (0.3);
                                                            review the same (0.5)

05/26/23     YLB                          .40        500.00 Review KERP motion (0.3); correspond with S. Parkhurst
                                                            regarding same (0.1)

05/27/23     NA                           .30        438.00 Correspondence to advise regarding employment liability

05/29/23     NA                         1.70       2,482 .00 Conference call with D. Mun (0.2); conference call with
                                                             opposing counsel concerning WARN (0.4); review and
                                                             correspondence with the Latham team concerning WARN
                                                             (1.1)

05/29/23     YM                           .20        307 .00 Call with Latham team regarding WARN liability issue



Attorney:

A Sorkin                        1.60     Hrs.@        $ 1,655.00/hr.             $2,648 .00
YMun                             .90     Hrs.@        $ 1,535.00/hr.             $1,381.50
N Alkhas                      12.60      Hrs.@        $ 1,460.00/hr.            $18,396.00
A Quartarolo                     .60     Hrs.@        $ 1,360.00/hr.               $ 816.00
L MWaller                        .10     Hrs.@        $ 1,315.00/hr.               $ 131.50
Y L Burton                      2.50     Hrs.@        $ 1,250.00/hr.             $3,125.00
Y DeNiro                        2.90     Hrs.@        $ 1,130.00/hr.             $3,277.00
NA Gulati                        .50     Hrs.@         $ 830.00/hr.                $ 415.00
                              21.70                                             $30,190.00




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Date         Timekeeper              Hours        Amount Description

05/05/23     CMT                       2.20       1,078.00 Review materials for monthly fee statement

05/08/23     CMT                       1.50         735.00 Review materials for April monthly fee statement

05/10/23     BSR                        .30         342.00 Conduct privilege review of invoices

05/10/23     JJW                        .50         570.00 Review docket for additional parties in interest (0.2) ;
                                                           update parties in interest list for retention purposes (0.3)

05/10/23     CMT                       1.30         637 .00 Review and revise materials for monthly fee statement

05/11/23     JJW                        .30         342.00 Review parties in interest/ conflicts matters (0.2); email
                                                           with Latham team regarding same (0.1)

05/12/23     JJW                        .30         342.00 Review conflicts summary regarding retention (0.2) ; email
                                                           with Latham team regarding same (0.1)

05/12/23     ACD                        .20         196.00 Review conflicts results for updated parties in interest list
                                                           and correspond with J . Weichselbaum regarding same

05/15/23     NAG                        .10          83 .00 Telephone conference with J . Weichselbaum discussing
                                                            parties in interest list

05/16/23     JCC                        .20         250 .00 Review fee application to ensure compliance with UST
                                                            guidelines

05/16/23     JJW                       1.00       1,140.00 Review invoice for privilege (0.8); review conflicts
                                                           disclosure in connection with retention (0.2)

05/16/23     ACD                        .20         196.00 Review information provided by Latham conflicts team
                                                           related to Latham retention and correspondence regarding
                                                           same

05/17/23     JJW                        .90       1,026.00 Review invoice for privilege & confidentiality

05/17/23     ACD                        .20         196.00 Correspond with Latham team regarding April fee
                                                           statement

05/18/23     JJW                       1.20       1,368.00 Review updated invoice and expenses for privilege

05/18/23     ACD                        .30         294 .00 Correspond with Latham team regarding April fee
                                                            statement

05/19/23     NAJ                        .30         288 .00 Review of the Client Cost Agreement

05/20/23     AS                         .20         331.00 Review expense invoice and correspondence with A.
                                                           Davis regarding same

05/20/23     ACD                       1.00         980 .00 Review Latham April invoices for privilege and
                                                            confidentiality (0.7); correspond with Latham team
                                                            regarding same and April fee statement (0.3)



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05/21/23     AS                        1.20       1,986.00 Review and revise April invoice for guideline compliance
                                                           and confidentiality issues

05/21/23     NAG                        .60         498.00 Review time entries

05/21/23     CMT                       1.20         588.00 Review and revise interim fee statement (0 .9); prepare
                                                           monthly cover letter (0.3)

05/21/23     ACD                        .30         294.00 Correspond with Latham team regarding Latham April fee
                                                           statement

05/22/23     JCC                        .10         125.00 Review Latham fee statements for compliance with UST
                                                           guidelines

05/22/23     JJW                        .60         684 .00 Review invoice for privilege (0.4); finalize and serve
                                                            monthly fee statement (0.2)

05/22/23     NAG                        .70         581.00 Calculate attorneys' fees

05/22/23     ACD                        .50         490.00 Finalize Latham April fee statement and correspond with
                                                           Latham team regarding same

05/25/23     JJW                        .30         342.00 Review draft supplemental declaration (0.2) ; discuss
                                                           additional parties for conflicts check (0.1)

05/25/23     ACD                        .60         588.00 Review conflicts results for supplemental parties in
                                                           interest (0.2); draft supplemental Sorkin declaration based
                                                           on same (0.3); correspond with J . Weichselbaum regarding
                                                           same (0 .1)

05/28/23     ACD                        .30         294 .00 Review conflicts results and update supplemental Sorkin
                                                            declaration based on same



Attorney:

A Sorkin                       1.40     Hrs.@       $ 1,655.00/hr.            $2,317.00
J C Celentino                   .30     Hrs.@       $ 1,250.00/hr.              $ 375.00
BS Rosen                        .30     Hrs.@       $ 1,140.00/hr.              $ 342.00
J J Weichselbaum               5.10     Hrs.@       $ 1,140.00/hr.            $5,814 .00
NA Jung                         .30     Hrs.@        $ 960.00/hr.               $ 288.00
NA Gulati                      1.40     Hrs.@        $ 830.00/hr.             $1,162.00
                               8.80                                          $10,298.00




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Other:

CM Tarrant                       6.20     Hrs.@        $ 490.00/hr.             $3,038.00
AC Davis                         3.60     Hrs.@        $ 980.00/hr.             $3,528.00
                                 9.80                                           $6,566.00

GRAND TOTAL:                    18.60                                          $16,864.00




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05/01/23     BTG                         .70         875 .00 Revise reservation of rights letter (0.4) ; conference with
                                                             financial advisor regarding the same (0.3)

05/05/23     CAR                        1.00       1,850.00 Participate in preparatory telephone call for lender
                                                            call(0.5); participate in lender telephone call (0.5)

05/09/23     JCC                         .50         625.00 Review DIP documents and potential draw request

05/09/23     BTG                         .50         625.00 Correspond with Debtor regarding reservation of rights
                                                            letter (0 .2); draft reservation of rights letter (0.3)

05/11/23     AS                          .50         827 .50 Telephone conference with Huron team regarding carve-
                                                             out question

05/11/23     YLB                        1.30       1,625.00 Call with Huron and A Sorkin regarding carve out (0.8);
                                                            review same (0.5)

05/15/23     AS                          .30         496 .50 Telephone conference with T. Kapur regarding royalty
                                                             (0.2); follow up with A. Gupta regarding same (0.1)

05/17/23     AS                          .30         496 .50 Review and comment on materials regarding carve-out

05/18/23     BTG                         .50         625 .00 Review reservation of rights letter and borrowing

05/20/23     BTG                         .60         750.00 Review and comment on second amendment to credit
                                                            agreement

05/21/23     BTG                         .50         625 .00 Review and revise officer's certificate regarding
                                                             amendment to DIP credit agreement

05/21/23     SDB                        2.10       1,480.50 Draft officer's certificate for second amendment to DIP
                                                            credit agreement

05/22/23     AS                         1.00       1,655.00 Correspondence with A. Gupta regarding DIP maturity
                                                            (0.1) ; telephone conference with L. Lluberas regarding
                                                            same (0 .2); telephone conference with A. Gupta regarding
                                                            funding (0.7)

05/22/23     BTG                        2.80       3,500.00 Review correspondence with Debtor regarding DIP
                                                            amendment (0.7); review existing resolutions (0.6); review
                                                            and revise officer's certificate (0 .6); review and revise
                                                            reservation of rights letter (0.9)

05/22/23     SDB                        2.10       1,480.50 Review and compile amendments to operating
                                                            agreements

05/23/23     AS                          .50         827 .50 Telephone conferences with L. Lluberas regarding
                                                             maturity extension and related topics

05/23/23     BTG                        2.20       2,750.00 Coordinate execution of borrowing notice and reservation
                                                            of rights letter (0 .8); internal correspondence regarding
                                                            corporate governance (0.8); review and analyze financial

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Date         Timekeeper                           Amount Description

                                                             advisor questions regarding interest rate (0 .6)

05/23/23     SDB                        .50         352.50 Review operating documents for officer requirements

05/24/23     BTG                        .60         750.00 Review and revise reservation of rights letter (0.6)

05/25/23     AS                         .40         662.00 Correspondence with L. Lluberas regarding work
                                                           fee/amendment issues

05/25/23     BTG                       2.40       3,000.00 Review and revise second amendment

05/25/23     SDB                       1.90       1,339.50 Compile officer's certificates for DIP amendment

05/29/23     YLB                        .20         250.00 Correspond with Local Counsel regarding DIP
                                                           amendment



Attorney:

CA Reckler                     1.00     Hrs.@       $ 1,850.00/hr.             $1,850.00
A Sorkin                       3.00     Hrs.@       $ 1,655.00/hr.             $4,965.00
Y L Burton                     1.50     Hrs.@       $ 1,250.00/hr.             $1,875.00
J C Celentino                   .50     Hrs.@       $ 1,250.00/hr.               $ 625.00
BT Gelfand                    10.80     Hrs.@       $ 1,250.00/hr.            $13,500.00
SD Bruck                       6.60     Hrs.@        $ 705.00/hr.              $4,653.00
                             23.40                                            $27,468.00




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05/01/23     AS                        1.00       1,655.00 Attend (in part) hearing regarding social media account
                                                           issues adversary

05/01/23     HKM                       3.00       4,380 .00 Attend 5/1 hearing regarding Owoc discovery issues,
                                                            Temporary restraining order, and summary judgment
                                                            resolution

05/01/23     JCC                       1.30       1,625.00 Attend hearing regarding social media account issues
                                                           adversary

05/01/23     EAM                       3.10       3,983.50 Attend hearing on UCC's contempt motion and social
                                                           media action status conference

05/01/23     JWM                       1.30       1,384.50 Attend hearing

05/04/23     AS                        1.00       1,655.00 Attend (in part) hearing regarding statutory extension
                                                           motions (0.8) ; telephone conference with J. Weichselbaum
                                                           regarding same (0.2)

05/04/23     HKM                       1.50       2,190.00 Attend 5/4 hearing and discuss statutory interpretation
                                                           argument with J. Weichselbaum for same

05/04/23     YLB                       2.00       2,500 .00 Review material and talking points regarding same (0.8);
                                                            prepare and attend hearing regarding same (1.2)

05/04/23     JCC                        .70         875 .00 Attend hearing regarding statutory extension motions

05/04/23     EAM                       1.00       1,285.00 Attend hearing regarding statutory extension motions

05/04/23     BSR                        .70         798.00 Attend hearing regarding assumption and rejection
                                                           deadline

05/04/23     JJW                       3.40       3,876.00 Attend hearing regarding statutory extension motions
                                                           (1.8); prepare for hearing on 365(d)(4) extension motion
                                                           (1.6)

05/04/23     NAG                       1.40       1,162.00 Attend 5/4 hearing regarding statutory extension motions

05/11/23     AQ                        2.00       2,720 .00 Prepare for (0.5) and attend adversary proceeding hearing
                                                            regarding posting Corrective Statement (1.5)

05/11/23     AS                        1.50       2,482.50 Attend omnibus hearing

05/11/23     HKM                       1.50       2,190 .00 Attend hearing regarding Owoc and social media issues

05/25/23     EAM                       3.50       4,497 .50 Attend preliminary injunction hearing

05/25/23     NAG                       3.50       2,905.00 Attend 5/25 hearing




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Attorney:

A Sorkin                         3.50     Hrs.@       $ 1,655.00/hr.            $5,792.50
A Quartarolo                     2.00     Hrs.@       $ 1,360.00/hr.            $2,720.00
HK Murtagh                       6.00     Hrs.@       $ 1,460.00/hr.            $8,760 .00
EA Morris                        7.60     Hrs.@       $ 1,285.00/hr.            $9,766.00
Y L Burton                       2.00     Hrs.@       $ 1,250.00/hr.            $2,500.00
J C Celentino                    2.00     Hrs.@       $ 1,250.00/hr.            $2,500.00
BS Rosen                          .70     Hrs.@       $ 1,140.00/hr.              $ 798.00
J J Weichselbaum                 3.40     Hrs.@       $ 1,140.00/hr.            $3,876.00
J W Morley                       1.30     Hrs.@       $ 1,065.00/hr.            $1,384.50
NA Gulati                        3.50     Hrs.@        $ 830.00/hr.             $2,905.00
                               32.00                                           $41,002.00

Other:

NA Gulati                        1.40     Hrs.@        $ 830.00/hr.             $1,162.00
                                 1.40                                           $1,162.00

GRAND TOTAL:                   33.40                                           $42,164.00




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05/01/23     YLB                       1.60       2,000 .00 Call with M . Niles, J . Celentino and J . Weichselbaum
                                                            regarding lease assumption and rejection matters (0 .5);
                                                            review motion regarding same (0.7); review motion to
                                                            approve 365(d) stipulations (0.4)

05/01/23     JCC                        .80       1,000.00 Telephone call with J. Gusa, L. Burton, and J .
                                                           Weichselbaum regarding lease rejection issues (0.4);
                                                           review underlying contracts and court transcript (0 .2);
                                                           email with L. Burton and J. Weichselbaum regarding same
                                                           (0.2)

05/01/23     JJW                       3.70       4,218 .00 Call with Berger Singerman and Latham teams regarding
                                                            lease matters (0 .5); correspond with landlords regarding
                                                            365(d)(4) extensions (0.5); review comments to motion to
                                                            approve 365(d)(4) stipulations (0.4); review revised draft of
                                                            the same (0.3); correspond with team regarding same
                                                            (0.2); review agreed order on motion to assume lease (0.3);
                                                            review materials in connection with 365(d)(4) extension
                                                            discussions (0.3); correspond with Huron regarding lease
                                                            issues (0.3); correspond with Debtor regarding
                                                            assumption/rejection matters (0.2); review further
                                                            comments to motion to approve stipulations (0 .2); review
                                                            further revised draft of same (0.3); correspond with team
                                                            regarding motion and stipulations (0.3)

05/01/23     NAG                       2.60       2,158.00 Telephone conference discussing lease strategy (0.4) ;
                                                           prepare stipulations for filing (0 .7); update draft motion
                                                           approving consensual extensions (0.9); update motion
                                                           with comments from opposing counsel (0.6)

05/02/23     JCC                        .50         625.00 Review stipulations regarding lease extensions

05/02/23     JJW                       1.90       2,166.00 Correspond with Huron team regarding status of lease
                                                           issues (0.2); correspond with team regarding 365(d)(4)
                                                           extensions (0 .3); review stipulations (0 .6); review final
                                                           motion to approve stipulations (0.3); discuss with N. Gulati
                                                           (0.2); discuss stipulations and motion with landlord (0.2);
                                                           email with UCC regarding 365(d)(4) stipulations (0.1)

05/02/23     NAG                       5.00       4,150 .00 Prepare motion and stipulations for filing (4.4); email filed
                                                            version to opposing counsel (0.6)

05/03/23     YLB                        .60         750.00 Review settlement language with vendor (0.2); correspond
                                                           with M. Niles regarding same (0.3)

05/03/23     JCC                        .10         125.00 Outline letter regarding potential stay violation with
                                                           respect to landlord

05/03/23     NAG                        .80         664.00 Draft motion to assume storage units

05/04/23     YLB                        .50         625.00 Call with J. Weichselbaum regarding rejection motion

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05/04/23     JCC                          .10        815 .00 Review hearing argument outline regarding motion to
                                                             extend lease rejection deadline (0.3); telephone call with
                                                             L. Burton and J. Weichselbaum regarding lease rejection
                                                             strategy (0.3); telephone call with L. Burton and J .
                                                             Weichselbaum regarding lease issues (0.1)

05/04/23     JJW                        1.10       1,938.00 Research issues relating to motion (0.1) ; discuss same with
                                                            team (0.3); telephone call with Latham team to discuss
                                                            next steps with leases (0.3) ; correspond with Berger
                                                            Singerman regarding same (0.2); correspond with Huron
                                                            regarding leases (0.2)

05/04/23     NAG                        1.10       1,411.00 Draft motion to assume storage unit leases

05/05/23     JCC                          .50        625 .00 Revise proposed lease rejection motion

05/05/23     JJW                        1.10       1,254.00 Review rejection motion (0.5) ; telephone call with Huron
                                                            to discuss status of lease issues (0 .3); correspond with
                                                            Debtor and advisors regarding lease matters (0.3)

05/01123     JCC                          .20        250.00 Review lease assumption and rejection to-dos and cures

05/08/23     YLB                          .50        625 .00 Review and revise rejection motion

05/08/23     JCC                          .30        315 .00 Review lease-related filings and opinion

05/08/23     JJW                        3.00       3,420.00 Review and comment on motion and order to reject
                                                            leases/contracts (0.6); discuss lease issues with Berger
                                                            Singerman and Latham teams (0.2); telephone call with
                                                            Debtor advisors regarding lease matters (0.6); emails
                                                            regarding same (0.4); review order regarding
                                                            assumption/rejection deadline (0.3); discuss with Huron
                                                            (0.2); telephone call with contract counterparty regarding
                                                            cure dispute (0.3) ; review documents in connection with
                                                            same (0.4)

05/11/23     JJW                          .80        912.00 Review cure objection tracker (0.3) ; discuss cure
                                                            objections with N . Gulati (0 .3); organize execution of lease
                                                            amendment (0.2)

05/11/23     NAG                          .40        332.00 Meeting with J . Weichselbaum to discuss cure notice
                                                            schedules

05/16/23     JJW                        1.20       1,368.00 Review cure issues, including emails with landlord and
                                                            Huron team (0 .6); review cure objection chart (0.6)

05/11/23     JJW                        1.50       1,110.00 Call regarding cure objections with Latham, Berger
                                                            Singerman, and Huron teams (0 .8); prepare for telephone
                                                            call regarding cure schedule (0.4); telephone call with R.
                                                            Weiss to discuss research on lease issues (0.3)

05/11/23     NAG                          .80        664.00 Prepare for and attend telephone conference with

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                                                               financial advisor to discuss amended cure schedule (0.8)

05/17-/23    RMW                         .60         423.00 Conduct legal research on lease issue

05/18/23     JCC                         .20         250.00 Review and add contributions to proposed motion
                                                            rejecting leases

05/18/23     JJW                        1.10       1,254 .00 Review and comment on rejection motion (0.6); prepare
                                                             for telephone call and attend with landlord regarding
                                                             rental payment (0.3) ; call with landlord to discuss lease
                                                             (0 .2)

05/18/23     NAG                         .50         415 .00 Review and update cure objection tracker

05/18/23     RMW                         .60         423 .00 Conduct legal research on lease issue

05/19/23     AQ                         1.7-0      2,312.00 Attend telephone conference with lender group regarding
                                                            status (0.5); email and telephone conference with A.
                                                            Sorkin and J. Gusa regarding bidders (0 .8); email B.
                                                            Shraiberg regarding same and NDA (0.2); email B.
                                                            Dickinson, S. Panagos, R. Caruso and S. Gray regarding
                                                            same (0.2)

05/19/23     JCC                         .7-0        87-5.00 Telephone call with J. Weichselbaum regarding lease
                                                             rejection issues (0.1); review emails regarding lease
                                                             rejection issues (0.1); review communications with counsel
                                                             regarding outstanding contracts (0.5)

05/19/23     JJW                        3.80       4,332.00 Research issues relating to lease charges (0.6); review
                                                            research regarding same (0.4); correspond with team
                                                            regarding same (0.2); review and update cure objection
                                                            chart (1.2) ; discuss with N. Gulati (0.2) ; review revised
                                                            cure objection chart (0.4); review filed cure objections
                                                            (0.4) ; discuss lease rejections with J. Celentino (0.3) ;
                                                            attentions to emails regarding same (0.1)

05/19/23     NAG                        1.20         996.00 Review and update cure objection tracker

05/22/23     JCC                        1.00       1,250.00 Review potential contract assumption issue and related
                                                            contract (0.4) ; research regarding same (0.3);
                                                            correspondence with counsel to counterparty (0.7-)

05/22/23     JJW                        1.40       1,596.00 Review proposed amendment to warehouse agreement
                                                            (0.3); research issues relating to lease amendment (0.9);
                                                            correspond with J. Celentino regarding same (0.2)

05/22/23     RMW                         .90         634.50 Conduct legal research on lease issue

05/23/23     JJW                        1.30       1,482.00 Call with M . Niles regarding cure issues (0.2); review cure
                                                            objection chart (0.3); review correspondence regarding
                                                            contract amendment (0 .2); telephone call with J. Celentino
                                                            regarding cure objections (0.2) ; review certain cure

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                                                             objections (0.4)

05/24/23     JJW                        .90       1,026.00 Review issues regarding lease (0.2); research issues
                                                           relating to additional rent charges (0.4); correspond with
                                                           landlord counsel regarding same (0.1); review lease
                                                           rejection matters (0.2)

05/24/23     NAG                        .10          83 .00 Review lease stipulation to identify those expiring

05/25/23     JJW                        .90       1,026.00 Discuss cure issues with J. Celentino (0 .2); review emails
                                                           regarding same (0.1); correspond with landlord regarding
                                                           reconciliation charges (0.2); review lease rejection motion
                                                           (0.3); review service matters regarding rejection motion
                                                           (0.1)

05/28/23     JJW                        .10         114.00 Correspond with landlord regarding sale update

05/29/23     JCE                        .90       1,291.50 Review intercompany lease questions

05/29/23     BK                         .60         921.00 Review intercompany lease issues and consider and
                                                           respond

05/29/23     KDR                       1.90       2,375 .00 Review and prepare lease termination documentation
                                                            (1.2); draftlease termination (0.7)

05/29/23     JJW                        .30         342.00 Correspond with Latham and Huron teams regarding
                                                           intercompany lease

05/30/23     JCC                        .10         125.00 Emails with Huron and Latham teams regarding landlord
                                                           issue

05/30/23     JJW                       1.10       1,254.00 Meeting with R. Presley to discuss rejection motion (0.6);
                                                           review draft of rejection motion (0.4); telephone call with
                                                           landlord regarding lease (0.1)

05/30/23     RAP                       1.70       1,198.50 Draft lease rejection motion

05/31/23     JJW                       1.50       1,710.00 Call with Huron and Berger Singerman teams regarding
                                                           contracts/leases (0.8); review cure objection chart (0.3);
                                                           review revised lease rejection motion (0.2); correspond
                                                           with R. Presely regarding same (0 .2)

05/31/23     RAP                        .70         493 .50 Update the lease rejection memorandum



Attorney:

JC Elliott                      .90     Hrs.@       $ 1,435.00/hr.              $1,291.50
A Quartarolo                   1.70     Hrs.@       $ 1,360.00/hr.              $2,312.00
B Kaplan                        .60     Hrs.@       $ 1,535.00/hr.               $ 921.00

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Y L Burton                       3.20     Hrs.@       $ 1,250.00/hr.            $4,000.00
J C Celentino                    5.10     Hrs.@       $ 1,250.00/hr.            $6,375.00
K D Ritter                       1.90     Hrs.@       $ 1,250.00/hr.            $2,375.00
J J Weichselbaum               27.30      Hrs.@       $ 1,140.00/hr.           $31,122.00
NA Gulati                        3.00     Hrs.@        $ 830.00/hr.             $2,490 .00
RA Presley                       2.40     Hrs.@        $ 705.00/hr.             $1,692.00
RM Weiss                         2.10     Hrs.@        $ 705.00/hr.             $1,480.50
                               48.20                                           $54,059 .00

Other:

NA Gulati                       10.10     Hrs.@        $ 830.00/hr.             $8,383.00
                                10.10                                           $8,383.00

GRAND TOTAL:                   58.30                                           $62,442.00




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05/01/23     AQ                        5.30       7,208 .00 Email with J. Gusa and A. Sorkin regarding proposal from
                                                            J . Owoc (0.2); prepare for and attend hearing regarding
                                                            adversary proceeding (2.5); conference with A. Sorkin and
                                                            C. Reckler regarding same (0.3); email with R. Maimin
                                                            regarding same and discovery (0.2); email with J. Renert
                                                            and E. Mannix regarding pending litigation (0.1);
                                                            telephone conferences with B. Shraiberg regarding social
                                                            media accounts (0.7); email and telephone conference
                                                            with S. Parkhurst and E. Polanco regarding same (1.0);
                                                            email with E. Morris regarding document production (0 .3)

05/01/23     EAM                       6.70       8,609 .50 Review Owoc production for privilege (3.1); review
                                                            documents for UCC requests (3.6)

05/01/23     JLT                       5.20       5,538.00 Review documents for privilege (2 .1); review documents
                                                           for 2004 discovery (2.4) ; correspondence regarding
                                                           production of documents responsive to discovery requests
                                                           (0.3); redact documents responsive to 2004 discovery
                                                           requests (0.4)

05/02/23     AQ                        1.60       2,176.00 Email and conference with G. Metzger regarding pending
                                                           litigation matters (0.4); telephone conference with J.
                                                           Teresi, W. Morley, E. Morris and H. Murtagh regarding
                                                           adversary proceeding and sanctions (0.6); email with G.
                                                           Metzger and E. Polanco regarding social media accounts
                                                           and content (0.3); email and telephone conference with R.
                                                           Feinstein regarding pending litigation (0.3)

05/02/23     AS                         .50         827 .50 Videoconference with E. Chafetz regarding potential
                                                            settlement

05/02/23     EAM                       5.40       6,939 .00 Call with Latham team regarding litigation tasks (0.5);
                                                            review Owoc productions for privilege (1.2); revise Owoc
                                                            privilege log (0.4); review documents potentially
                                                            responsive to 2004 requests (3 .3)

05/02/23     JLT                       3.70       3,940.50 Call with A. Quartarolo, H . Murtagh, E. Morris and W.
                                                           Morley regarding follow ups from status conference (0.5);
                                                           telephone call with E. Morris regarding the same (0.5);
                                                           begin drafting preliminary injunction motion (2.7)

05/03/23     AQ                        1.20       1,632.00 Email E. Morris regarding depositions (0 .3); email J . Gusa
                                                           regarding same (0.1); email E. Mannix and J . Renert
                                                           regarding pending litigation and settlements (0.3); email
                                                           G . Metzger regarding same (0.2); email R. Feinstein
                                                           regarding pending litigation (0.3)

05/03/23     JLD                        .60         780.00 Attend litigation telephone call (0.4); follow-up from same
                                                           (0.2)

05/03/23     JCC                        .10         125.00 Plan strategy regarding social media adversary

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05/03/23     EAM                        1.80       2,313.00 Finalize review of Owoc documents for privilege (0.8);
                                                            review documents in advance of upcoming depositions
                                                            (0.4); review proposed orders regarding social media
                                                            action (0.4); correspond with litigation team regarding
                                                            productions in response 2004 requests (0 .2)

05/03/23     JLT                        3.80      4,047.00 Plan production of documents related to 2004 discovery
                                                           requests (0.4); draft preliminary injunction motion (1.8);
                                                           draft declaration in support of preliminary injunction
                                                           motion (1.1); draft and revise order denying emergency
                                                           motion and order granting sanctions (0.5)

05/04/23     AQ                         1.80       2,448.00 Attend status telephone call with Huron and Rothschild
                                                            (0.5); email E. Mannix regarding pending litigation
                                                            matters (0 .2); correspondence with C. Reckler and A.
                                                            Sorkin regarding debtor asset and related issues (0.5);
                                                            email G. Metzger regarding discovery and depositions
                                                            (0.3); email L. Lluberas regarding settlements (0.3)

05/04/23     AS                          .40        662 .00 Correspondence with H. Murtagh regarding mechanics
                                                            liens (0 .2); telephone conference with C. Delo, J . Burke, H.
                                                            Murtagh regarding same (0.2)

05/04/23     HKM                         .60         876.00 Discuss AZ lien-claimant issues with A. Sorkin (0.3);
                                                            telephone call with Rothschild regarding AZ lien issues
                                                            (0.3)

05/04/23     JCC                         .20        250.00 Review proposed orders regarding social media adversary
                                                           proceeding

05/04/23     EAM                        3.00       3,855.00 Review draft order extending Temporary restraining order
                                                            motion (0.3); correspond with S. Rodriguez counsel (0.2);
                                                            prepare documents for production to S. Rodriguez counsel
                                                            (0.6); revise sanctions motion (1.1); review documents
                                                            responsive to 2004 request (0.8)

05/04/23     JLT                        3.20       3,408.00 Revise draft preliminary injunction motion (1.9); revise
                                                            draft declaration in support of preliminary injunction
                                                            motion (0.4); revise orders denying motion and granting
                                                            sanctions (0.3) ; review documents related to 2004
                                                            discovery (0.6)

05/04/23     NAG                         .80        664.00 Telephone conference with E . Morris discussing contempt
                                                           motion (0.2); draft motion requesting sanctions against
                                                           defendants in adversary proceeding (0.6)

05/05/23     AQ                         2.30       3,128.00 Prepare for depositions (0.8); review and revise joint
                                                            defense agreement (0.5); email D. Mun regarding same
                                                            (0.1); email G. Weiner regarding depositions (0.1); email E.

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                                                             Morris and J. Teresi regarding discovery issues (0.4);
                                                             email L. Lluberas regarding pending litigation (0 .2);
                                                             telephone conference with E. Morris regarding S.
                                                             Rodriguez deposition (0.2)

05/05/23     EAM                       4.70       6,039.50 Revise 2004 Notices and prepare for filing (0.3);
                                                           correspond regarding logistics for S. Rodriguez deposition
                                                           (0.4); review Webb objection (0.3); revise preliminary
                                                           injunction motion (1.3); revise contempt motion (0.9) ; draft
                                                           document collection and production summary (1.5)

05/05/23     JLT                       2.20       2,343 .00 Continue drafting preliminary injunction motion (1.2);
                                                            video conference with E. Morris, C . Putagh, and A.
                                                            Quartarolo regarding 2004 discovery (0.5); revise and
                                                            finalize 2004 discovery requests (0.5)

05/05/23     NAG                       3.90       3,237 .00 Draft second contempt motion

05/07/23     JCC                        .70         875.00 Review hearing transcript for incorporation into pleadings

05/08/23     AQ                        3.00       4,080.00 Attend telephone call with Huron and Rothschild
                                                           regarding litigation status and strategy (0.4); email with S.
                                                           Parkhurst regarding property removal (0.1); review and
                                                           revise proposed orders (0.5); email E. Morris regarding
                                                           same (0 .1); email J . Gusa regarding Corrective Statement
                                                           (0.1); email and telephone conference with B. Shraiberg
                                                           regarding same (0.2) ; review permanent injunction (0.2) ;
                                                           email with G. Metzger regarding same (0 .2); email L.
                                                           Luberas regarding proposed settlements (0.3); email with
                                                           J . Gusa and E. Morris regarding document production
                                                           (0.1); review and revise joinder to discovery motion (0.8);
                                                           email J. Teresi regarding same (0.1)

05/08/23     JCC                        .40         500.00 Call with Debtors' legal and financial advisors regarding
                                                           sale process and legal strategy

05/08/23     EAM                       1.10       1,413 .50 Research for and revise sanctions motion

05/08/23     JLT                       8.20       8,733.00 Continue drafting preliminary injunction memorandum
                                                           (3.4); telephone call with W. Morley regarding the same
                                                           (0.2); research case law in support of and revise motion for
                                                           sanctions (3.6) ; review transcript of May 1, 2023 hearing
                                                           (0.3); correspond with Consilio regarding 2004 discovery
                                                           (0.3); correspond with E. Morris regarding the same (0.2);
                                                           correspond with W . Morley regarding preliminary
                                                           injunction memorandum (0.2)

05/09/23     AQ                       14 .60    19,856.00 Attend deposition of S. Rodriguez (7.2); attend deposition
                                                          of S. Rodriguez (6.2); conference with P. Dorsey regarding
                                                          social media accounts and discovery (0.3); email J. Gusa
                                                          regarding same (0.1); email and telephone conference

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                                                               with B. Shraiberg regarding Corrective Statement (0.3) ;
                                                               email M . Niles and J . Gusa regarding same (0.1); email G .
                                                               Metzger regarding settlements (0.3); email E. Olivieri
                                                               regarding Gulfstream (0 .1)

05/09/23     AS                         2.30       3,806.50 Attend (in part) deposition of S. Rodriguez

05/09/23     EAM                        9.10      11,693 .50 Attend deposition of S. Rodriguez (7.8); revise motion for
                                                             sanctions (1.3)

05/09/23     JLT                        7.40       7,881.00 Review transcripts of status conference and revise draft
                                                            orders for adversary proceeding (0.7); review documents
                                                            related to 2004 discovery (1.1); correspond with practice
                                                            support services regarding production for 2004 discovery
                                                            (0.2); revise draft preliminary injunction motion and
                                                            declaration of J. DiDonato in support (2.4); attend
                                                            deposition of S. Rodriguez (3.0)

05/10/23     AQ                         7.20       9,792.00 Attend deposition of M. Owoc (5.2); conference with B.
                                                            Shraiberg regarding Corrective Statement (0.2); draft
                                                            outline of emergency motion regarding same (0.4); email
                                                            J . Teresi regarding same (0.1); review and revise
                                                            emergency motion regarding Corrective Statement (1.2);
                                                            email J. Teresi and J. Gusa regarding same (0.1)

05/10/23     AS                         2.60       4,303.00 Attend Meg Liz Owoc deposition

05/10/23     HKM                          .30        438 .00 Review appeal regarding motion to compel, discuss with
                                                             A. Sorkin

05/10/23     EAM                       11.90      15,291.50 Attend deposition of Meg Owoc (4.4); revise motion
                                                            regarding corrective statements (2.0); travel home from
                                                            depositions (5.5)

05/10/23     NAG                        3.00       2,490 .00 Review billing to determine amount for sanctions motion
                                                             (2 .7); email L. Morris, J . Teresi and W . Morley regarding
                                                             the same (0.3)

05/10/23     JLT                        6.90       7,348.50 Draft emergency motion for corrective statement (1.1);
                                                            revise draft preliminary injunction motion and declaration
                                                            in support thereof (2 .3); correspond with E. Morris
                                                            regarding M. Owoc deposition (0.2); review exhibits for
                                                            deposition of M . Owoc (0.3); attend deposition of M . Owoc
                                                            (3.0)

05/10/23     CMT                          .60        294.00 Review notice of Owoc appeal (0.4); email with Latham
                                                            team regarding same (0.2)

05/11/23     AQ                           .40        544.00 Email E. Mannix regarding document production (0.1);
                                                            email E. Polanco regarding TikTok account (0.1); email B.
                                                            Shraiberg regarding social media accounts (0.2)


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05/11/23     JCC                         .20         250 .00 Review filings regarding deposition testimony

05/11/23     EAM                        2.80       3,598.00 Revise preliminary injunction motion

05/11/23     JWM                        1.60       1,704.00 Review and revise preliminary injunction motion

05/11/23     JLT                         .60         639.00 Correspond with J. DiDonato regarding declaration (0.2) ;
                                                            produce documents related to 2004 discovery requests
                                                            (0.3) ; correspond with A. Quartarolo and E. Morris
                                                            regarding 2004 discovery (0 .1)

05/12/23     AQ                         3.90       5,304.00 Email and telephone conference with P. Dorsey, M. Owoc,
                                                            and S. McPherran regarding social media account access
                                                            (0.8) ; email and telephone conference with P. Dorsey
                                                            regarding motion to extend deadline (0 .3) ; review same
                                                            (0 .2); telephone conference with J . Wilbert regarding PhD
                                                            settlement and related issues (0.3) ; email B. Shraiberg
                                                            regarding social media issues (0.1); review and revise
                                                            preliminary injunction motion (1.3); email E. Morris and H.
                                                            Murtagh regarding same (0.1); email and telephone
                                                            conference with J. DiDonato regarding same (0.2);
                                                            telephone conference with J . Gusa, A. Sorkin, J . DiDonato
                                                            and A. Gupta regarding estate assets (0.5); email E. Morris
                                                            and G. Metzger regarding depositions (0.1)

05/12/23     AS                          .30         496.50 Telephone conference with A. Quartarolo, J. Gusa, J.
                                                            DiDonato regarding J. Owoc issues

05/12/23     HKM                        2.80       4,088.00 Revisions to preliminary injunction motion (1.5) ; review
                                                            and comment on diligence responses regarding AZ lien-
                                                            claimant action (0.4); discuss antitrust risks to sale
                                                            scenarios with Latham team (0.9)

05/12/23     JCC                         .30         375.00 Review preliminary injunction motion

05/12/23     EAM                        1.30       1,670.50 Revise PI motion

05/12/23     JLT                        3.60       3,834 .00 Revise preliminary injunction motion (1.2); correspond
                                                             with G. Metzger regarding the same (0.1) ; finalize
                                                             preliminary injunction motion and prepare filing of the
                                                             same (2 .3)

05/13/23     AQ                          .70         952 .00 Email and telephone conference with G . Metzger and S .
                                                             McPherran regarding social media accounts and related
                                                             matters (0 .6); email P. Dorsey regarding same (0.1)

05/13/23     HKM                         .90       1,314.00 Call with bidder counsel regarding trademark litigation
                                                            issues (0.5); follow up telephone call with A. Sorkin (0.4)

05/13/23     JCC                        2.30       2,875 .00 Draft response to sale objection (2.1); email with Latham
                                                             team regarding sale (0.2)


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05/14/23     AQ                          .20         272 .00 Email with E. Morris and J. Teresi regarding document
                                                             productions and protective orders

05/15/23     AQ                         7.90      10,744 .00 Attend deposition of J. Owoc (7.6); email E. Mannix
                                                             regarding exhibit redesignation (0.1); conference with E.
                                                             Morris regarding same (0.1); email D . Spelfogel regarding
                                                             prior correspondence (0.1)

05/15/23     AS                         3.10       5,130.50 Attend J. Owoc deposition (in part)

05/15/23     JCC                        2.30       2,875 .00 Review motion to withdraw reference (0.1); research
                                                             regarding potential response (0.3); review motion to
                                                             withdraw the reference and related filings (0.2); outline
                                                             responses to same (1.7)

05/15/23     CH                          .50         625 .00 Review copyright arguments in Owoc's motion to
                                                             withdraw the reference related to social media adversary
                                                             proceeding

05/15/23     EAM                        9.30      11,950.50 Attend J . Owoc deposition

05/15/23     JLT                        7.60       8,094.00 Correspond with E. Morris and A. Quartarolo regarding
                                                            productions (0.1); revise draft order for social media
                                                            adversary proceeding (0.4) ; research case law regarding
                                                            motion to withdraw the reference (0.4); collect documents
                                                            for Owoc deposition (0 .3); correspond with E. Morris
                                                            regarding the same (0.1); correspond with E. Morris
                                                            regarding non-public documents (0.1); review docket for
                                                            sealed documents (0.2) ; correspond with Stretto regarding
                                                            non-public documents (0.2); correspond with E. Morris
                                                            regarding deposition of J. Owoc (0.4); attend deposition of
                                                            J . Owoc (4.3)

05/16/23     AQ                         2.70       3,672.00 Attend telephone conference with J. Gusa and G. Metzger
                                                            regarding ProSupps litigation (0.7); email and telephone
                                                            conference with J. Celentino and H. Murtagh regarding
                                                            motion to withdraw the reference (0.3) ; email G. Metzger
                                                            and S. McPherran regarding TikTok account (0 .2); email
                                                            with J. Gusa regarding requests for information (0.1);
                                                            telephone conference with J . Gusa and D. Spelfog
                                                            regarding same (0.4) ; email with H. Murtagh regarding
                                                            status conference (0.2); email and telephone conference
                                                            with P . Dorsey and H. Murtagh regarding same (0.4);
                                                            email J. Teresi regarding jury demand (0.1) ; review and
                                                            revise proposed order regarding emergency motion (0 .2);
                                                            email J. Teresi regarding same (0.1)

05/16/23     AS                         1.60       2,648 .00 Correspondence and telephone conference with A. Gupta
                                                             regarding royalty issues (0.5); review instruction regarding
                                                             release of royalty (0.1); attend telephone call with H.
                                                             Murtagh, A. Quartarolo regarding pending Owoc

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                                                               litigation matters (0 .5); telephone conference with A.
                                                               Gupta regarding D&O (0.5)

05/16/23     HKM                        1.70       2,482.00 Review Owoc motions regarding withdrawal of reference,
                                                            jury demand, final orders (0.7); discuss same with Latham
                                                            litigation (0.6); telephone call with Owoc counsel
                                                            regarding status conference (0.4)

05/16/23     JCC                        1.30       1,625.00 Telephone call with A. Quartarolo, A. Sorkin, and H.
                                                            Murtaugh regarding response to motion to withdraw,
                                                            appeals, and related filings (0.6); Research applicable
                                                            legal standards and outline response (0.7)

05/16/23     EAM                        2.90       3,726.50 Teleconferences with Latham team regarding litigation
                                                            tasks (1.3); attend to correspondence regarding 2004
                                                            requests and document processing (1.4); correspond with
                                                            Latham team regarding strategy (0.2)

05/16/23     JLT                        3.00       3,195.00 Correspond with J. Gusa and M. Niles regarding
                                                            attorney's fees (0.1); correspond with A. Quartarolo and E.
                                                            Morris regarding 2004 discovery (0.1); coordinate
                                                            production of documents related to 2004 discovery (0.3);
                                                            revise proposed order for adversary proceeding (0.1);
                                                            telephone call with E. Morris regarding the same (0.1);
                                                            correspond with A. Quartarolo and E. Morris regarding
                                                            the same (0.1); revise draft order in response to comments
                                                            from A. Quartarolo (0.2); review documents produced in
                                                            2004 discovery (2 .0)

05/16/23     RMW                        4 .90      3,454 .50 Conduct legal research for response brief

05/17/23     AQ                         5.50       7,480 .00 Attend deposition of J. Owoc (3.2); conference with E.
                                                             Morris regarding same (0.2); prepare for (0.6) and attend
                                                             scheduling conference (1.2); email E. Morris regarding
                                                             deposition questions (0.3)

05/17/23     AS                         1.20       1,986.00 Attend J . Owoc deposition (in part)

05/17/23     HKM                        4.00       5,840.00 Attend Owoc adversary status conference (0.9); attend J.
                                                            Owoc deposition (partial) (0.9); discuss Owoc PI motion
                                                            issues with A. Quartarolo (0.8); outlining PI fact
                                                            submissions (1.1); review DC order granting motion to
                                                            withdraw reference, discuss with Latham & Berger
                                                            Singerman teams (0.3)

05/17/23     JCC                        1.20       1,500.00 Telephone call with D. Dunn regarding motion to
                                                            withdraw reference (0 .5); draft outline regarding same
                                                            (0.4); review filings in adversary proceeding for draft
                                                            pleading (0.3)

05/17/23     EAM                        5.50       7,067.50 Attend J. Owoc deposition

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05/17-/23    DCD                       2.40       2,304 .00 Conference call with Joe Teresi regarding motion to
                                                            withdraw reference (0 .2); conference call with J . Celentino
                                                            regarding motion to withdraw reference (0.5); review
                                                            adversary proceeding filings relevant to motion to
                                                            withdraw reference (1.7-)

05/17-/23    JLT                       3.80       4,047- .00 Observe deposition of J. Owoc and Elite Island (1.6);
                                                             review 2004 document productions (2.2)

05/18/23     AQ                        1.10       1,496.00 Attend to documentation of settled matters (0 .8); review
                                                           orders regarding same (0.3)

05/18/23     AS                         .30         496 .50 Video conference with G . Metzger, H. Murtagh, Quarles
                                                            team regarding motion to withdraw reference and strategy

05/18/23     HKM                       1.50       2,190 .00 Revisions to emergency motion to reconsider motion to
                                                            withdraw reference ruling (0.7-); strategy memorandum to
                                                            G . Metzger (0.4); telephone call with G . Metzger
                                                            regarding same (0.4)

05/18/23     JCC                        .90       1,125.00 Emails regarding motion to withdraw the reference (0.1);
                                                           review and revise motion for reconsideration (0.2);
                                                           telephone call with J. Teresi and D. Dunn regarding
                                                           briefing strategy (0.6)

05/18/23     DCD                       3.90       3,7-44 .00 Conduct legal research relating to opposition to motion to
                                                             withdraw reference

05/18/23     JLT                       5.40       5,7-51.00 Correspond with E. Morris and A. Quartarolo regarding
                                                            2004 discovery (0 .2) ; review 2004 discovery (0.6) ;
                                                            correspond with Consilio and E. Morris regarding
                                                            production of 2004 discovery (0.2); telephone call with D.
                                                            Dunn and J . Celentino regarding motion to withdraw the
                                                            reference (0.5) ; review 2004 document production (1.3);
                                                            conduct research for and draft opposition motion to jury
                                                            demand (2.6)

05/19/23     AQ                         .80       1,088.00 Review deposition outlines (0 .7-); email M . Gluhanich
                                                           regarding property removal (0.1)

05/19/23     AS                         .60         993 .00 Telephone conference with J . Gusa, A. Quartarolo, C.
                                                            Reckler regarding treatment of estate litigation

05/19/23     HKM                       4.40       6,424.00 Reviewing litigation history and drafting proposed
                                                           stipulated facts for PI hearing (4.4)

05/19/23     DCD                       3.50       3,360.00 Draft outline for motion to withdraw reference

05/19/23     JWM                       9.40     10,011.00 Research issues related to sale reply (4.1); draft sale reply
                                                          (5.3)

05/19/23     JLT                       3.90       4,153.50 Conduct research for and draft motion opposing jury

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                                                             demand

05/20/23     AQ                         .20         272.00 Telephone conference with G. Metzger and S. McPheman
                                                           regarding social media accounts

05/20/23     HKM                        .60         876.00 Finalize proposed fact statement (0.5); discuss with A.
                                                           Quartarolo, E. Morris. (0.1)

05/21/23     AQ                        1.80       2,448.00 Review and revise motion for sanctions (1.2); email E.
                                                           Morris regarding same (0.1); draft questions for M . Owoc
                                                           depositions (0.3); email E. Morris regarding same (0.1);
                                                           email S. McPheran regarding social media accounts (0.1)

05/21/23     JCC                        .40         500.00 Review adversary appeal response requirements (0.2) ;
                                                           revise objections to Owoc motions (0.2)

05/22/23     AQ                        2.00       2,720.00 Email with E. Morris regarding deposition (0.5); email J.
                                                           Teresi regarding same (0.1); review and revise proposed
                                                           facts for preliminary injunction motion (0.8); email H.
                                                           Murtagh regarding same (0.2); email P. Dorsey regarding
                                                           same (0 .1); email J . Gusa regarding investigation report
                                                           (0.1); conference with N. Gupta regarding same and board
                                                           materials (0 .2)

05/22/23     AS                        1.20       1,986.00 Attend deposition of Meg Liz Owoc (in part)

05/22/23     HKM                       5.20       7,592.00 Revisions to PI fact statement (0.7); discuss same with A.
                                                           Quartarolo (0.3); review Monster response to motion for
                                                           reconsideration (0.3); strategy note to Latham & Berger
                                                           Singerman teams (0.2); attend M .L. Owoc deposition
                                                           (partial) (0.9); drafting reply to Monster PI response (2 .5);
                                                           correspondence with Owoc counsel regarding stipulated
                                                           facts (0.3)

05/22/23     JCC                       2.10       2,625 .00 Strategy regarding reply to emergency motion (0.2);
                                                            review draft response to motions to withdraw reference
                                                            (0.4); revise reply regarding motion for reconsideration
                                                            (1.5)

05/22/23     EAM                       8.60     11,051.00 Attend M . Owoc deposition (8 .0); prepare for M. Owoc
                                                          deposition (0.6)

05/22/23     DCD                       5.50       5,280 .00 Draft opposition to motion to withdraw reference

05/22/23     JLT                       5.50       5,857.50 Revise attorneys' fees and sanctions motion (1.2); review
                                                           2004 document productions (1.7); correspond with E .
                                                           Morris regarding 2004 depositions (0.3); observe 2004
                                                           deposition of M . Owoc (2.1)

05/23/23     AQ                         .20         272.00 Email D. Grunewald regarding social media accounts

05/23/23     HKM                       4.20       6,132.00 Call with Owoc counsel (0.5); follow-up with A.

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                                                               Quartarolo (0.3) ; review response to PI motion (0.5) ;
                                                               drafting reply in support of PI motion (2 .9)

05/23/23     JCC                        1.00       1,250.00 Review draft responses to motions to withdraw the
                                                            reference (0.5) ; draft responses to various motions (0.5)

05/23/23     DCD                         .60         576.00 Conference call with Latham team regarding pending
                                                            motions (0.5); correspond with Latham team regarding
                                                            opposition to motion to withdraw reference (0.1)

05/23/23     CMT                        2.40       1,176.00 Review and revise response to motion to withdrawal the
                                                            reference regarding Owoc adversary proceeding (1.3);
                                                            research regarding same (0.8); emails with Latham team
                                                            regarding same (0.3)

05/24/23     AQ                         2.50       3,400.00 Email with D. Mun and D. Tifft regarding JDA (0 .2);
                                                            review filings in appeal (0.3) ; email H. Murtagh and J.
                                                            Celentino regarding same (0.1); email and telephone
                                                            conference with P. Dorsey regarding social media posts
                                                            and related issues (0.5); email D. Grunewald and E .
                                                            Polanco regarding same (0.2); review adversary
                                                            proceeding filings (0.3) ; email and telephone conference
                                                            with H . Murtagh regarding same (0.3); review subpoena
                                                            (0.2) ; email and telephone conference with G. Metzger
                                                            and S. McPherran regarding same and social media
                                                            accounts (0.4)

05/24/23     HKM                        7.10      10,366.00 Draft, revise, and file reply in support of Owoc summary
                                                            judgment (3.9) ; negotiations regarding and revisions to
                                                            undisputed fact statement (1.5); review District Court
                                                            order denying reconsideration, discuss with Latham team
                                                            (0.3) ; review supplemental Owoc declaration (0 .2);
                                                            research regarding verified account issues (0.6); outlining
                                                            hearing argument (0.6)

05/24/23     JCC                         .50         625.00 Review order denying motion for reconsideration and
                                                            email team regarding same (0 .2); review legal arguments
                                                            in motion to withdraw reference (0.2); review appeal
                                                            procedures (0.1)

05/24/23     EAM                        2.10       2,698.50 Review filing in appeal (0.2) ; analyze preliminary
                                                            injunction briefing (1.1); revise sanctions motion (0 .8)

05/24/23     JLT                         .60         639.00 Revise final order objection

05/25/23     AQ                         2.90       3,944.00 Email and telephone conference with P. Avron regarding
                                                            social media adversary proceeding and hearing (0.4) ;
                                                            email with H . Murtagh regarding social media accounts
                                                            and preliminary injunction hearing (0.3); attend portions
                                                            of same (1.4); email E. Morris and J . Teresi regarding
                                                            pending appeals (0.1); review notice of inspection (0.3) ;

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                                                               email A. Sorkin and J. Gusa regarding same (0 .1) ; email
                                                               D. Wright regarding same (0 .1); email with D. Mun and H .
                                                               Murtagh regarding social media accounts (0.2)

05/25/23     AS                         2.00       3,310.00 Attend hearing regarding social media preliminary
                                                            injunction (1.8); telephone conference with H. Murtagh
                                                            regarding same (0.2)

05/25/23     HKM                       12.90      18,834.00 Drafting oral argument and demonstratives (5.3) ; argue PI
                                                            motion (4 .2); drafting follow-up exhibit register and
                                                            supplemental brief (3.4)

05/25/23     JCC                         .80       1,000.00 Review filings in litigation (0.2); attend hearing regarding
                                                            adversary proceeding (0.6)

05/25/23     EAM                         .50         642 .50 Revise sanctions motion

05/25/23     JLT                        3.10       3,301.50 Correspond with E . Morris regarding Owoc adversary
                                                            proceeding (0.3); review bills and prepare exhibits for
                                                            sanctions motion (1.7); revise objection to objection to final
                                                            order (1.1)

05/26/23     AQ                         1.20       1,632.00 Email G . Metzger regarding social media (0.1); review
                                                            correspondence from opposing counsel (0.2) ; email G.
                                                            Metzger and J . DiDonato regarding same (0.2); email with
                                                            J . Celentino and H . Murtagh regarding Monster adversary
                                                            proceeding and strategy (0.2); email E. Morris regarding
                                                            attorneys' fees (0.2); review correspondence regarding
                                                            email accounts (0.2); email A. Sorkin regarding same (0.1)

05/26/23     HKM                        2.50       3,650.00 Revise, finalize, and file follow-up exhibit register and
                                                            supplemental briefing (2); discuss same with G. Metzger
                                                            (0.5)

05/26/23     JCC                         .60         750 .00 Review draft opposition to motion to withdraw reference
                                                             (0 .3); telephone call with D . Denver regarding same (0.3)

05/26/23     DCD                        3.50       3,360.00 Revise opposition to motion to withdraw reference

05/26/23     NAG                         .10          83 .00 Email local counsel about filing requirements

05/26/23     JWM                        3.60       3,834.00 Review and revise final judgment response (1.6); review
                                                            and revise response to motion to withdraw reference (2 .0)

05/26/23     JLT                        4.80       5,112.00 Revise motions for sanctions (0.4); revise opposition to
                                                            motion to withdraw the reference (4.4)

05/27/23     JCC                         .30         375.00 Review work product regarding privilege issue

05/30/23     AQ                         1.80       2,448.00 Email and telephone conference with A. Sorkin and D.
                                                            Gardiner regarding insurance and litigation issues (0.7);
                                                            review and revise motion for attorneys' fees (0.8) ; email J.

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                                                               Teresi regarding same (0.1); email J. Eberhard regarding
                                                               Europa settlement (0.1); email E . Olivieri regarding
                                                               Gulfstream settlement (0.1)

05/30/23      AS                          .50        827.50 Telephone conference with T. Kapur, A. Libeu regarding
                                                            trademark filings (0.2); telephone conference with G.
                                                            Metzger regarding litigation and insurance matters (0.3)

05/30/23      HKM                       1.80       2,628.00 Review and revise responses to Owoc motions to withdraw
                                                            reference and avoid final orders (1.6); review designation
                                                            of record regarding motion to withdraw reference (0.2)

05/30/23      JCC                         .50        625 .00 Review local rules regarding filings (0.2); review draft
                                                             responses to motions to withdraw reference (0.3)

05/30/23      DCD                         .50        480.00 Draft opposition to motion to withdraw reference filing
                                                            with W. Morley and J. Teresi

05/30/23      JL T                      5.40       5,751.00 Revise and finalize opposition to motion to withdraw the
                                                            reference (2.5); draft counterdesignations for the same
                                                            (0.8); revise and finalize response to final order objection
                                                            (1.8); revise counterdesignations after receiving comments
                                                            from J . Celentino (0.3)

05/30/23      CMT                       1.20         588.00 Research regarding reply to motion to withdrawal the
                                                            reference

05/31/23      AQ                          .30        408 .00 Email with E. Morris and J. Teresi regarding motion for
                                                             attorneys' fees and related issues (0.2); email E. Morris
                                                             and J . Teresi regarding sale hearing and evidentiary
                                                             issues (0.1)

05/31/23      HKM                         .20        292 .00 Review draft order regarding Owoc compliance extension



Attorney:

A Sorkin                      16.60      Hrs.@        $ 1,655.00/hr.            $27,473.00
A Quartarolo                  73.10      Hrs.@        $ 1,360.00/hr.            $99,416.00
HK Murtagh                    50.70      Hrs.@        $ 1,460.00/hr.            $74,022.00
J L Daniels                      .60     Hrs.@        $ 1,300.00/hr.               $ 780.00
EA Morris                     76.70      Hrs.@        $ 1,285.00/hr.            $98,559.50
J C Celentino                 16.10      Hrs.@        $ 1,250.00/hr.            $20,125.00
C Homer                          .50     Hrs.@        $ 1,250.00/hr.               $ 625.00
J W Morley                    14.60      Hrs.@        $ 1,065.00/hr.            $15,549.00
J L Teresi                    87.90      Hrs.@        $ 1,065.00/hr.            $93,613.50

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DC Dunn                         19.90     Hrs.@        $ 960.00/hr.            $19,104.00
NA Gulati                        3.10     Hrs.@        $ 830.00/hr.             $2,573.00
RM Weiss                         4.90     Hrs.@        $ 705.00/hr.             $3,454.50
                              364.70                                          $455,294.50

Other:

NA Gulati                        4.70     Hrs.@        $ 830.00/hr.             $3,901.00
CM Tarrant                       4.20     Hrs.@        $ 490.00/hr.             $2,058.00
                                 8.90                                           $5,959.00

GRAND TOTAL:                  373.60                                          $ 461,253.50




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Matter Name: Meetings and Communication with Creditors


Date         Timekeeper                Hours       Amount Description

05/05/23     AS                         1.00       1,655.00 Attend pre-call for bank telephone call with Debtor
                                                            professionals (0.4); attend bank telephone call (0.6)

05/09/23     JJW                          .20        228 .00 Call with party in interest regarding notice received in
                                                             case

05/10/23     JJW                          .20        228.00 Call with party in interest regarding case status

05/12/23     AS                         1.20       1,986.00 Attend pre-call for bank meeting with Huron, Debtor
                                                            personnel (0 .7); attend bank group conference call (0.5)

05/19/23     AS                           .50        827 .50 Attend weekly preparation call for bank group call with
                                                             Huron, Rothschild, Berger Singerman and Debtor
                                                             personnel

05/26/23     AS                         1.00       1,655.00 Conference with Huron, management teams to prepare for
                                                            bank group conference call (0.5); attend weekly bank
                                                            group conference call (0.5)

05/31/23     JJW                          .80        912 .00 Call with lien claimant (0.2); correspond with Latham
                                                             team regarding issues with claim amount (0 .2); review
                                                             documents in connection with same (0.4)



Attorney:

A Sorkin                        3.70     Hrs.@        $ 1,655.00/hr.             $6,123.50
J J Weichselbaum                1.20     Hrs.@        $ 1,140.00/hr.             $1,368.00
                                4.90                                             $ 7,491.50




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Matter Name: Non-Working Travel


Date         Timekeeper               Hours       Amount Description

05/08/23     AQ                        4 .50      3,060.00 Travel from Los Angeles to Ft. Lauderdale for depositions

05/08/23     EAM                       5.50       3,533.75 Travel to UCC depositions

05/10/23     AQ                        6.50       4,420.00 Travel from Ft. Lauderdale to Los Angeles for depositions

05/14/23     AQ                        3.20       2,176.00 Travel from LA to Ft. Lauderdale for depositions

05/14/23     EAM                       5.50       3,533.75 Travel for 2004 depositions

05/11/23     AQ                        5.50       3,740.00 Travel from Ft. Lauderdale, Florida to Los Angeles for
                                                           depositions

05/11/23     EAM                       9.00       5,782.50 Travel from Owoc deposition home

05/21/23     EAM                       8.00       5,140.00 Travel to Meg Owoc deposition

05/22/23     EAM                       6.90       4,433 .25 Travel home from M. Owoc deposition

05/24/23     HKM                       2.20       1,606.00 Travel to FLL for 5/24 preliminary injunction hearing

05/26/23     HKM                       2.00       1,460.00 Return travel to NYC from 5/25 hearing



Attorney:

A Quartarolo                  19.70     Hrs.@        $ 680.00/hr.            $13,396.00
HK Murtagh                     4.20     Hrs.@        $ 730.00/hr.             $3,066.00
EA Morris                    34.90      Hrs.@        $ 642.50/hr.            $22,423.25
                             58.80                                           $38,885.25




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Matter Name: Plan and Disclosure Statement


Date         Timekeeper                           Amount Description

05/12/23     LS                         .40         426 .00 Attend telephone call with Latham team regarding plan of
                                                            liquidation



Attorney:

L Sievert                       .40     Hrs.@       $ 1,065.00/hr.              $ 426.00
                                .40                                             $ 426.00




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Matter Name: Tax


Date         Timekeeper               Hours       Amount Description

05/19/23     AS                         .10         165.50 Telephone conference with D. Mun regarding transfer tax
                                                           issue

05/19/23     LS                         .50         532.50 Attend telephone call with Latham, KPMG and Vistra
                                                           teams regarding entity conversions

05/31/23     HKM                        .60         876.00 Discuss tax liability risks in 363 sale with Latham team

05/31/23     LK                        1.70       2,048.50 Research tax issues



Attorney:

A Sorkin                        .10     Hrs.@       $ 1,655.00/hr.              $ 165.50
HK Murtagh                      .60     Hrs.@       $ 1,460.00/hr.              $ 876.00
L Kutilek                      1.70     Hrs.@       $ 1,205.00/hr.            $2,048.50
L Sievert                       .50     Hrs.@       $ 1,065.00/hr.              $ 532.50
                               2.90                                           $3,622.50




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                                                                   Washington, D.C. 20004-1304
                                                                   Tel: +1.202.637.2200 Fax: +1.202.637.2201
                                                                   www.lw.com
LATHAM&WAT KIN $LLP

  INVOICE                                                        Please identify your payment with the following·

                                                                 Invoice No. 2300307766
  July 20, 2023                                                  Matter Number 072624-1001

                                                                 Tax Identification No.: XX-XXXXXXX

  Vital Pharmaceuticals, Inc.
  1600 N. Park Drive
  Weston, FL 33326
  Attn: Gregg Metzger




  For professional services rendered through June 30, 2023

                                                                            Services                 Costs                 Total
  Asset Dispositions                                                   1,856,272.61                                 1,856,272.61
  Automatic Stay                                                          37,834.00                                    37,834.00
  Business Operations                                                     42,268.50                                    42,268.50
  Case Administration                                                    103,016.00                                   103,016.00
  Corporate Governance & Board Matters                                   163,315.00                                   163,315.00
  Employee Benefits and Pensions                                          63,169.50                                    63,169.50
  Employment and Fee Applications                                         11,954.50                                    11,954.50
  Financing and Cash Collateral                                           13,686.50                                    13,686.50
  Hearings                                                                69,273.00                                    69,273.00
  Leases and Contracts                                                    61,140.50                                    61,140.50
  Litigation                                                             531,638.52                                   531,638.52
  Meetings and Communication with Creditors                                5,808.50                                     5,808.50
  Non-Working Travel                                                       5,780.00                                     5,780.00
  Tax                                                                     32,408.00                                    32,408.00
  Total Services and Costs                                             2,997,565.13                  0.00       $ 2,997,565.13




  Total Due                                                                                                     $ 2,997,565.13




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06/01/23     NA                         .70         1,022.00 Conference call with Huron regarding APA (0.5) ; review
                                                             pending transaction and employment data (0.2)

06/01/23     RB                         .30          408 .00 Correspondence regarding Asset Purchase Agreement
                                                             with A. Sorkin, J. Celentino, L. Burton, J. Weichselbaum,
                                                             E. Kamerman and G. Mahmood

06/01/23     JCE                       2.80        4,018 .00 Review title policy, owner's affidavits, title review, and
                                                             workaround for proposed closing period requested by
                                                             title company

06/01/23     JF                         .50          74 7 .50 Review Asset Purchase Agreement documents

06/01/23     GM                        1.30         1,768.00 Review and revise IP portions of disclosure schedules for
                                                             Purple Haze (0.5); call N. Wages to discuss edits to same
                                                             (0.8)

06/01/23     YM                        3.20        4,912 .00 Attend call with Huron and Latham team regarding bids
                                                             (0.2) ; call with Latham team and Debtor regarding
                                                             disclosure schedules (0.5) ; email correspondence with
                                                             Debtor, Latham team and Pachulski regarding
                                                             transaction issues (0.5) ; attention to emails regarding
                                                             foreign subsidiaries wind up, WARN, antitrust matters,
                                                             schedules, diligence requests and other transaction-
                                                             related matters (1.5); review response to Monster
                                                             proposal and emails with Pachulski regarding APA
                                                             review and related matters (0.5)

06/01/23     KAR                       4.80        6,528.00 Respond to emails from FTC (0.2); update Debtors
                                                            regarding same (1.0); call regarding same with Jones
                                                            Day (0.5); plan and prepare for FTC call on 6/2 (0.4);
                                                            review/revise related work product (1.2);
                                                            correspondence and coordination with Latham team
                                                            regarding same (0.1); conduct diligence on FTC staff
                                                            team (0.4); review draft Day 1 deck from Jones Day (0.3);
                                                            review draft Day 1 deck from D. Tifft (0.2); review
                                                            econometric work from CRA (0.5)

06/01/23     AS                        6.20       10,261.00 Review bullets regarding sale settlement and comments
                                                            from Committee (0.4); telephone conference with E .
                                                            Chafetz regarding same (0.6); further revise same (0.8);
                                                            conference with L. Lluberas, E. Chafetz regarding same
                                                            (0.8); telephone conference with I. Kharasch regarding
                                                            scheduling (0.3); correspondence with M. Niles, others
                                                            regarding scheduling (0.2); correspondence with J.
                                                            Celentino regarding sale order (0.4); further revise
                                                            settlement terms and related correspondence with E.
                                                            Chafetz, others (0.5); correspondence with J. Celentino
                                                            regarding sale to-dos (0 .2); correspondence with Huron
                                                            regarding diligence requests and more (0 .7); video
                                                            conference with lender advisors, Committee advisors,

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                                                                Latham and Huron regarding lender paydown amount
                                                                (0.1); telephone conference with J . Arrastia and C. Delo
                                                                regarding potential bids (0.6)

06/01/23     JLD                        2.10         2,130.00 Attention to FTC outreach and joint defense, Debtor and
                                                               team communications related to same (0.8); review draft
                                                               work product in preparation for FTC call (0 .9);
                                                               participate in joint defense call (0.4)

06/01/23     BK                         5.80         8,903 .00 Review, consider and revise disclosure schedules (1.1);
                                                               conference with L. Sievert, J. Kaw and S. Kim regarding
                                                               disclosure schedule changes (1.2); telephone conference
                                                               with Huron, company and Latham regarding foreign
                                                               subsidiaries and related considerations (1.1) ; telephone
                                                               conference with J. Kaw regarding subsidiaries (0.1);
                                                               telephone conference with D. Mun regarding open items
                                                               and next steps (0.2); telephone conferences with T. Kim
                                                               regarding APA considerations (0.3); telephone
                                                               conferences with L. Sievert regarding schedules (0.4);
                                                               review, consider and respond to emails regarding
                                                               foreign subsidiaries, disclosure schedules, IP and related
                                                               diligence (1.4)

06/01/23     PMT                        1.10         1,182.00 Email exchanges with FTC regarding initial
                                                              investigation (0.6); telephone conference with Monster
                                                              counsel regarding FTC inquiry (0.5)

06/01/23     AB                           .20          250 .00 Correspondence with T. Kim regarding contract
                                                               negotiations (0.1) ; correspondence with R. Blamires on
                                                               the same (0.1)

06/01/23     YLB                        2.50         3,125.00 Review and revise sale order (1.1); correspond with A.
                                                              Sorkin regarding same (0.2); review sale reply precedent
                                                              (1.2)

06/01/23     JCC                        4.90         6,125.00 Telephone call with A. Sorkin, J. Weichselbaum, and L.
                                                              Burton regarding sale process (0 .1); telephone call with
                                                              A. Sorkin regarding same (0.1); telephone call with
                                                              Committee regarding sale terms (0.5); telephone calls
                                                              with Latham team regarding sale process (0 .6);
                                                              telephone call with Committee and lenders regarding
                                                              sale terms (0 .5); emails regarding sale process and
                                                              potential settlements (0.3); review and comment on
                                                              sources and uses analysis (0.5); revise Sale Order and
                                                              participate in telephone calls regarding same (1.5)

06/01/23     DCT                        4 .30        5,095 .50 Draft talking points for call with FTC (2.2); meet with
                                                               team and Purple Haze counsel to prepare for FTC call
                                                               (0.5) ; confer with deal team regarding FTC advocacy
                                                               (0.3); analyze diligence requests from Purple Haze for
                                                               competitive sensitivity (0.1); analyze latest IRI data for

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                                                               impact on advocacy to FTC (0 .6)

06/01/23     NTW                        4.50         5,130.00 Correspondence with Latham team regarding disclosure
                                                              schedules (0.4); edit and revise the same (2.7); review
                                                              comments to the same (0.5) ; attend telephone
                                                              conference with Latham team regarding the same (0.7);
                                                              schedule telephone conference with opposing counsel
                                                              regarding purchase agreement (0.2)

06/01/23     JJW                        3.50         3,990.00 Prepare notice of auction adjournment (0.4); emails with
                                                              Latham team regarding potential settlement in
                                                              connection with sale (0.3); call with Committee, A.
                                                              Sorkin, J. Celentino regarding same (0.6); review revised
                                                              sale order (1.2); call with R. Presley regarding sale order
                                                              (0.4); call with B. Kaplan and T. Kim regarding closing
                                                              checklist (0.2); call with A. Sorkin, J. Celentino, and L.
                                                              Burton regarding sale workstreams (0.6); revise closing
                                                              checklist (0.3)

06/01/23     KKK                         .30           249 .00 Review diligence documents for clean team

06/01/23     TK                          .80           852 .00 Confer with B. Kaplan regarding transaction checklist
                                                               (0.2); confer with B. Kaplan regarding foreign
                                                               subsidiaries (0.3) ; revise asset purchase agreement (0.3)

06/01/23     LS                         5.20         5,538.00 Discuss Disclosure Schedules with B. Kaplan and J. Kaw
                                                              (1.3) ; attend call with D. Mun, B. Kaplan and J. Kaw
                                                              regarding Disclosure Schedules (0.6); revising Disclosure
                                                              Schedules (3.3)

06/01/23     JWK                        8.90         6,274.50 Attend team meeting (1.0); attend client meetings (1.0);
                                                              update disclosure schedules (5 .3); liaise with foreign
                                                              counsel (1.3); attend to correspondence (0.3)

06/02/23     JCE                        1.30         1,865.50 Correspondence and teleconferences regarding title
                                                              related issues in connection with real property sale (0.8);
                                                              review open items in asset purchase agreement (0.4) ;
                                                              correspondence with Latham team regarding same (0 .1)

06/02/23     GM                         1.60         2,176 .00 Conference with Monster IP counsel regarding open
                                                               issues in APA (0.6); analyze Debtor trademark counsel
                                                               email regarding scope of intercompany license
                                                               agreements between entities (0.5); analyze ability to
                                                               terminate/assign intercompany license agreements (0.5)

06/02/23     YM                         3.70         5,679.50 Emails with Latham team regarding schedules and
                                                              diligence requests (0.2) ; emails with Latham team
                                                              regarding HSR meeting and bidder IOI (0.3); call with
                                                              Latham team on FTC process (0.4); emails with Latham
                                                              team regarding bidder proposal and other transaction
                                                              issues (0.7); participate in call with Pachulski regarding

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                                                               APA issues list (1.5) ; participate in call with Latham team
                                                               regarding APA issues list, HSR and related matters (0 .3);
                                                               participate in call with bidder counsel (0.1); emails with
                                                               Latham team regarding FTC call update (0.2)

06/02/23     CHN                        2.20         3,058.00 Review documents and update findings for Blast (1.0);
                                                              review Phase I report and prepare summary (1.0);
                                                              teleconference with project team on manufacturing site
                                                              conditions (0.2)

06/02/23     KAR                        6.30         8,568.00 Plan and prepare for video conference with FTC (2.5);
                                                              draft/revise talking points regarding same (0.8); send to
                                                              Jones Day and Latham team for review and comment
                                                              (0.1) ; call with Jones Day regarding same (0.4); attend
                                                              call with FTC (0.5); draft summary of call (0.4); follow-up
                                                              call with Jones Day (0.5); update client and Latham team
                                                              (0.3) ; call with J. Daniels (0.3); calls with D. Tifft (0.1) ;
                                                              call with G. Metzger (0.4)

06/02/23     AS                         6.00         9,930 .00 Conference with E. Chafetz regarding settlement issues
                                                               (0.3) ; review issues list from Pachulski (0.3); conference
                                                               with Pachulski, Latham, MV A, Lowenstein teams
                                                               regarding APA issues (1.6); conference with B. Kaplan,
                                                               D. Mun, J. Celentino regarding same (0 .3); telephone
                                                               conference with A. Libeu regarding releases in
                                                               connection with sale/settlement (0.2) ; telephone
                                                               conference with L. Lluberas regarding APA and process
                                                               (0.3); correspondence with H. Murtagh regarding OBI
                                                               sale objection issues (0 .1); correspondence with antitrust
                                                               team regarding FTC inquiries (0.1); review and revise
                                                               letter to FTC (1.5); conference with E. Chafetz, S.
                                                               Gruendel, J. Cohen regarding settlement (1.0);
                                                               telephone conference with G. Metzger regarding sale
                                                               timing (0.3)

06/02/23     JLD                        3.20         4,160.00 Participate in team and joint defense calls to prepare for
                                                              and debrief FTC meeting (1.5); review new economist
                                                              work product (1.0); follow-up communications related to
                                                              next steps with FTC and related deal proceedings (0.7)

06/02/23     BK                         7.00        10,745.00 Review, consider and respond to deal issues with
                                                              Monster (0.9); review, consider and respond to diligence
                                                              and schedules related emails from bidders (0.7);
                                                              telephone conference with C. Norton regarding
                                                              environmental items (0.2); review scheduling issues and
                                                              consider changes (0.6); review bidder letter of intent and
                                                              APA comments (0.5); consider schedule changes for
                                                              bidder and coordinate with team regarding same (0.3) ;
                                                              review Phase I (0.4); video conference with Pachulski
                                                              and Latham regarding Monster APA (1.0); video
                                                              conference with D. Mun, A. Sorkin and J. Celentino

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                                                               regarding open items and next steps (0.4) ; telephone
                                                               conference with N . Wages regarding IP considerations
                                                               (0.4) ; review and revise bidder schedules (0.8);
                                                               telephone conference with L. Sievert and J. Kaw
                                                               regarding schedules, changes and considerations (0.8)

06/02/23     PMT                         .60           972 .00 Telephone conference with Monster counsel regarding
                                                               transaction issues

06/02/23     YLB                        1.00         1,250.00 Review and revise sale order

06/02/23     JCC                        5.60         7,000.00 Zoom call with debtor financial and legal advisors
                                                              regarding sale process and legal strategy (0.6); follow-up
                                                              emails/issues from call (0.3) ; update auction schedule
                                                              (0.3); telephone call with A. Sorkin regarding 9019
                                                              settlement motion (0.3); emails with potential bidders
                                                              regarding bid process and diligence (0.3) ; telephone call
                                                              with potential buyer legal team regarding open APA
                                                              issues (1.7) ; follow-up telephone call with Latham team
                                                              regarding same (0.3); draftletter to FTC (1.0); emails
                                                              regarding APA issues (0.8)

06/02/23     DCT                        7.40         8,769 .00 Prepare for and meet with FTC (1.3); confer with Latham
                                                               team and Purple Haze counsel regarding FTC call (2.2);
                                                               confer with Debtor regarding FTC advocacy (0.6); draft
                                                               letter to FTC in response to questions (0.3); draft
                                                               summary of FTC call (0 .7); analyze OBI trademark
                                                               litigation to prepare response to questions from FTC
                                                               (1.1) ; analyze proposed edits to Monster APA (0.2); edit
                                                               talking points for FTC call (0.7); analyze materials for
                                                               potential response to Voluntary Access Letter (0.3)

06/02/23     NTW                        5.80         6,612 .00 Correspondence with Latham team regarding purchase
                                                               agreement and intercompany licenses (0.6) ; review and
                                                               analyze intercompany licenses (2 .3); prepare for and
                                                               attend telephone conference with opposing counsel
                                                               regarding purchase agreement (1.8); prepare for and
                                                               attend telephone conference with team regarding the
                                                               same (0.7); prepare for telephone conference with
                                                               opposing counsel regarding open IP issues (0.4)

06/02/23     JJW                        3.00         3,420.00 Revise closing checklist (0 .6); call with L. Burton
                                                              regarding sale work streams (0.4); review sale related
                                                              documents (0.4) ; review comments from Committee on
                                                              revised sale order (0.5); review sale objections and
                                                              objection chart (0.3) ; revise objection chart (0.6); call
                                                              with objector to discuss open issues (0.2)

06/02/23     TK                         2.10         2,236 .50 Confer with bidder's counsel regarding asset purchase
                                                               agreement (1.5); revise asset purchase agreement (0 .6)


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06/02/23     RAP                       4 .50       3,172.50 Conduct legal research regarding sale objections (4.2) ;
                                                            teleconference with J . Weichselbaum regarding sale
                                                            objections (0.3)

06/02/23     LS                        5.20        5,538.00 Attend call with B. Kaplan and J. Kaw on Disclosure
                                                            Schedules (0.9); draft Disclosure Schedules for bidder
                                                            (1.7) ; discuss Escrow Agreement with Citibank (0.5);
                                                            revise Purple Haze Disclosure Schedules (2 .1)

06/02/23     JWK                       4 .30       3,031.50 Update disclosure schedules (1.9); emails with Debtor
                                                            regarding same (0.3); review documents for schedules
                                                            (1.7) ; attend call with Latham team regarding same (0.4)

06/03/23     JCE                       2.60        3,731.00 Negotiate open items in purchase agreement with
                                                            opposing counsel (0.2); review asset purchase agreement
                                                            and respond to open items in connection with same (1.6);
                                                            review open title insurance matters in connection with
                                                            real property (0.4); related correspondence with Latham
                                                            team (0.2)

06/03/23     GM                         .90         1,224.00 Analyze Monster counsel diligence questions (0.4);
                                                             develop answers to same (0.3); correspond with Latham
                                                             corporate team regarding how to answer same (0.2)

06/03/23     YM                        2.10        3,223 .50 Review and comment on response letter to FTC (0.5);
                                                             review draft sale order (0.3); emails and calls with
                                                             Latham team, bidder counsel and Huron regarding sale
                                                             matters (0.7); call with bidder counsel regarding bid
                                                             (0.2); call with A. Sorkin regarding bid (0.1); call with
                                                             Pachulski regarding termination triggers (0.1); attention
                                                             to emails regarding bidder, FTC letter, WARN process
                                                             and restrictive covenant agreements in connection with
                                                             sale (0.2)

06/03/23     KAR                        .90         1,224 .00 Draft letter to FTC regarding Monster bid (0.6); discuss
                                                              same with Latham team (0.3)

06/03/23     AS                        2.00        3,310.00 Review and revise FTC letter (0 .3); telephone conference
                                                            with L. Lluberas regarding negotiation status (0.6);
                                                            review assignment agreement (0 .5); telephone
                                                            conference with D. Mun regarding NDA issues and
                                                            correspondence with potential bidder regarding same
                                                            (0.4); further correspondence regarding FTC letter with
                                                            K. Rocco and others (0.2)

06/03/23     BK                        1.20         1,842.00 Review, consider and respond to emails regarding
                                                             Monster negotiations, open items, strategy, diligence
                                                             and next steps (0.7); calls with Latham team regarding
                                                             same (0.5)

06/03/23     JCC                       2.00         2,500.00 Review and revise sale order (0.3); revise FTC letter

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                                                               (1.0) ; emails regarding disclosure schedules (0.3); emails
                                                               regarding potential settlement (0.4)

06/03/23     LK                         1.20         1,446.00 Review and revise draft purchase agreement (1.0);
                                                              internal email correspondence regarding open tax points
                                                              (0.2)

06/03/23     KDR                         .70           875 .00 Review title deliverables in connection with sale

06/03/23     DCT                        1.90         2,251.50 Revise letter to FTC in response to questions (1.4) ; confer
                                                              with Latham team regarding edits to FTC letter (0 .5)

06/03/23     JJW                         .40           456 .00 Review revised sale order (0.3); correspondence
                                                               regarding sale objection (0.1)

06/03/23     RAP                        1.90         1,339.50 Conduct legal research regarding sale objections

06/03/23     LS                          .90           958 .50 Correspond with Debtor and Latham teams regarding
                                                               Disclosure Schedules

06/03/23     JWK                         .70           493 .50 Review documents and update disclosure schedules
                                                               (0.4); emails with Latham team regarding same (0.3)

06/04/23     YM                         1.40         2,149 .00 Calls with Latham team regarding transaction process
                                                               and open work streams (0.4) ; review and revise FTC
                                                               letter and comments thereto from Debtor (0.5); attention
                                                               to emails regarding WARN, FTC letter, bid and escrow
                                                               agreement matter (0 .5)

06/04/23     KAR                        2.00         2,720.00 Review and revise letter to FTC regarding open
                                                              questions on Monster transaction (0.9); discuss same
                                                              with Latham team and Debtor (0.3); emails with FTC
                                                              and Jones Day regarding same (0.3); plan and prepare
                                                              for June 5th follow-up call with FTC (0.5)

06/04/23     AS                         1.10         1,820.50 Review sale order and proceeds issues (0.8) review and
                                                              comment on draft notice of successful bid (0.3)

06/04/23     JLD                         .80         1,040.00 Review FTC submission (0.6); communications with LW
                                                              and company teams regarding same (0.2)

06/04/23     BK                         7.70        11,819.50 Review, consider and respond to diligence queries
                                                              regarding bidders and deal concepts (1.1) ; video
                                                              conference with bidder counsel regarding bidder queries
                                                              on APA (1.8); telephone conference with L. Sievert and
                                                              J. Kaw regarding disclosure schedules and related
                                                              considerations (0.8); telephone conference with A.
                                                              Sorkin regarding open items and next steps (0.3); review
                                                              FTC communications and summary, consider and revise
                                                              (0.7) ; telephone conference with L. Sievert regarding
                                                              liens (0 .1); telephone conference with D. Mun regarding
                                                              bidder summary (0.2) ; review schedules and issues (0.5);

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                                                               telephone conference with Huron, company and Latham
                                                               regarding schedules (1.0); telephone conference with D.
                                                               Mun and A. Sorkin regarding open items and next steps
                                                               (0.3); follow up on open queries from bidders regarding
                                                               diligence and APA points (0.9)

06/04/23     HKM                          .40          584 .00 Discuss 363 transaction issues with Latham team

06/04/23     YLB                          .40          500.00 Review and revise sale order (0.2); correspond with J.
                                                              Weichselbaum regarding same (0.2)

06/04/23     LK                         1.20         1,446.00 Review revised draft asset purchase agreement

06/04/23     DCT                        3.90         4,621.50 Confer with Monster's antitrust counsel to prepare for
                                                              FTC meeting (0 .3); revise letter to FTC in response to
                                                              questions (2 .5); correspond with Monster's counsel
                                                              regarding letter to FTC (0.4) ; correspond with Debtor
                                                              regarding letter to FTC (0.3); confer with team regarding
                                                              edits to FTC letter (0.4)

06/04/23     NTW                        2.10         2,394 .00 Correspondence with Latham team and Debtor
                                                               regarding disclosure schedules, transfer of IP assets and
                                                               follow up diligence requests (0.4); review and analyze
                                                               the same (0.9); prepare for meeting with opposing
                                                               counsel regarding transfer of IP assets and purchase
                                                               agreement (0 .5); review diligence responses from Debtor
                                                               regarding opposition proceedings (0.3)

06/04/23     JJW                        3.40         3,876.00 Review revised sale order (0.4); revise sale objection
                                                              chart (0.7); revise notice of successful bidder (0.8);
                                                              review comments to same (0.4); incorporate comments to
                                                              notice (0.4); review documents relating to vehicle liens
                                                              and sale of vehicles (0.4); research issues relating to
                                                              same (0.3)

06/04/23     YD                         2.00         2,260.00 Research WARN notice requirements (0.8); draft WARN
                                                              notice templates (0.9) ; telephone conference with S.
                                                              Benjamin regarding same (0 .3)

06/04/23     LS                         3.40         3,621.00 Attend call with B. Kaplan and J. Kaw regarding
                                                              Disclosure Schedules (0.8); attend call with Debtor,
                                                              Huron and Latham teams regarding Disclosure
                                                              Schedules (1.0); review and revise Disclosure Schedule
                                                              attachments (1.7)

06/04/23     JWK                        2.90         2,044.50 Update missing sale related documents list (1.6); attend
                                                              call with Huron and Debtor regarding same (1.0); attend
                                                              to correspondence with Latham team regarding same
                                                              (0.3)

06/05/23     JCE                        2.10         3,013.50 Negotiate open real estate items in purchase agreement

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                                                               (1.5) ; review and comment on owner's affidavit and
                                                               indemnity (0.2); attention to title insurance questions
                                                               (0.2) ; attention to related correspondence (0.2)

06/05/23     GM                         2.50         3,400.00 Correspond with Debtor regarding IP oppositions and
                                                              proceedings affecting debtor assets (0.5); conference
                                                              with Debtor and Latham team regarding related matters
                                                              (0.5); review and revise email to Rothchild regarding
                                                              same (0.3); conference with Buyer IP counsel regarding
                                                              IP issues in APA (0 .8); revise disclosure schedules (0.4)

06/05/23     YM                         2.60         3,991.00 Email correspondence regarding transaction issues, bid,
                                                              escrow agreement and real property transfer matters
                                                              (0.5) ; call with Debtor and Rothschild regarding various
                                                              IP matters (0.5); call with Rothschild regarding FTC
                                                              outreach (0.3); call with Monster IP counsel regarding IP
                                                              assets (0.4); review WARN notice draft and title policy
                                                              affidavit in connection with same (0.1); call with Huron
                                                              regarding disclosure schedules (0.6); emails with Latham
                                                              team regarding vehicles, FTC letter and WARN notice
                                                              (0.2)

06/05/23     KAR                        7.50        10,200.00 Prepare for (0.4) and attend call with FTC (0.5); follow-
                                                              up calls with Jones Day (1.5); call with A. Sorkin to
                                                              prepare for zoom meeting with FTC on bankruptcy
                                                              matters on 6/6 (0.6) ; review and revise letter to FTC
                                                              (1.1); attention to pull and refiling of HSR form (0.7);
                                                              draft/revise talking points for bidders regarding FTC
                                                              outreach (1.2) ; work with Jones Day on requests from
                                                              FTC (1.6)

06/05/23     AS                         3.80         6,289 .00 Review sale objection chart (0 .2); telephone conference
                                                               with K. Rocco regarding call with FTC (0.3); telephone
                                                               conference with C. Reckler regarding update on sale
                                                               process (0.2); further correspondence with J. Celentino
                                                               regarding advancing sale documents (0.3);
                                                               correspondence with D . Mun, B. Kaplan regarding same
                                                               (0.2) ; telephone conference with L. Lluberas regarding
                                                               negotiation status (0.2); telephone conference with K.
                                                               Rocco regarding preparation for FTC call (0.6);
                                                               telephone conference with I. Kharasch regarding same
                                                               (0.5); telephone conference with J . Celentino regarding
                                                               APA issues (0.2); telephone conference with E. Chafetz
                                                               regarding same (0.4); telephone conference with C. Delo
                                                               regarding update (0.3); compile notes for FTC meeting
                                                               (0.4)

06/05/23     BK                         6.10         9,363.50 Review, consider and respond to bidder due diligence
                                                              queries (0.4); coordinate and prepare response to IP
                                                              specific issues with IP team and G. Eckhouse (0.6);
                                                              review, consider and respond to emails regarding

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                                                               schedules, escrow agreement and APA issues from
                                                               Monster (0.8); review bidder's revised bid (0.3);
                                                               telephone conferences with L. Sievert regarding escrow
                                                               agreement considerations (0.5); telephone conference
                                                               with G. Eckhouse and Latham regarding IP schedules
                                                               (0.5) ; telephone conference with G. Eckhouse regarding
                                                               IP considerations (0 .1); telephone conference with
                                                               Knobbe and Latham regarding APA changes (0.4);
                                                               telephone conference with Huron and Latham regarding
                                                               APA issues (0.6); telephone conference with D. Mun
                                                               regarding status (0.1); telephone conference with L.
                                                               Sievert, J . Kaw and S. Kim regarding schedules (0.2);
                                                               review and comment on Monster escrow agreement
                                                               revisions (0.5); review and revise schedules and consider
                                                               related issues (0.1); review escrow related items and
                                                               advise (0.2); update lenders regarding IP issues and
                                                               coordinate (0.2)

06/05/23     YLB                         .50           625 .00 Review and revise sale order and APA documents

06/05/23     JCC                        2.10         2,625.00 Emails with Latham team regarding sale process and
                                                              objections (0 .6); review of sale order (0.5); review closing
                                                              documents checklist (0.2); telephone call with A. Sorkin
                                                              regarding sale process (0.2) ; further revise FTC letter
                                                              and emails regarding same (0.6)

06/05/23     LK                         1.10         1,325.50 Review and revise draft asset purchase agreement (1.0);
                                                              email correspondence with Latham team regarding
                                                              same (0.1)

06/05/23     DCT                        6.80         8,058.00 Prepare for and participate in meeting with FTC (0.9);
                                                              confer with Latham team regarding meeting with FTC
                                                              (0.5); revise letter to FTC in response to questions (3.1);
                                                              confer with Rothschild and Debtor regarding interactions
                                                              with bidders (0 .3); correspond with Rothschild regarding
                                                              interactions with bidders (0.3); correspond with
                                                              Monster's counsel regarding letter to FTC (0.4);
                                                              correspond with Debtor regarding FTC issues (0.3) ;
                                                              prepare FTC letter for submission (0.4)

06/05/23     NTW                        6.90         1,866.00 Correspondence with Latham team regarding debtor IP,
                                                              disclosure schedules and purchase agreement (1.4);
                                                              continue reviewing and analyzing list of proceedings
                                                              and oppositions (1.0) ; prepare for and attend telephone
                                                              conference with Latham team and Debtor regarding
                                                              oppositions and cancellations (0.8) ; edit and revise
                                                              disclosure schedules (1.5); review material provided in
                                                              data room (0.1); prepare for and attend telephone
                                                              conference with Latham team, bankers and Debtor
                                                              regarding APA matters (0.9); prepare for and attend
                                                              telephone conference with opposing counsel regarding

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                                                               IP-related provisions in purchase agreement and overall
                                                               transaction (0 .6)

06/05/23     JJW                        4 .80        5,472.00 Call with L. Burton and R. Presley regarding sale reply
                                                              (0.5) ; review vehicle information in connection with sale
                                                              (0.4); discuss same with Latham team (0.2); attention to
                                                              questions from bidder regarding service of pleadings
                                                              (0.3); discuss same with Stretto team (0 .1); review and
                                                              comment on 9019 settlement motion in connection with
                                                              proposed sale (1.3); review comments to sale objection
                                                              chart (0.4); incorporate same (0.3); review revised
                                                              objection chart (0.2) ; call with objector regarding sale
                                                              (0.2); review comments to sale order (0.4); review
                                                              materials in connection with sale reply and sale order
                                                              (0.5)

06/05/23     NAG                         .50           415 .00 Update sale objection chart

06/05/23     TK                         1.80         1,917.00 Draft transaction checklist (0.7); confer with bidder's
                                                              counsel regarding asset purchase agreement (0.4); revise
                                                              assignment and assumption agreement and bill of sale
                                                              (0.7)

06/05/23     RAP                        1.30           916.50 Prepare for and attend call with L. Burton and J.
                                                              Weichselbaum regarding sale reply (0 .5); draft sale reply
                                                              (0.8)

06/05/23     LS                         7.10         7,561.50 Attend call with Latham and Huron teams regarding the
                                                              Disclosure Schedules (0.6); review and revise Disclosure
                                                              Schedules (5 .6); draft and negotiate Escrow Agreement
                                                              with Purple Haze (0.9)

06/05/23     JW                          .30           211 .50 Review employee benefit plans in data room

06/05/23     JWK                        5.90         4,159 .50 Attend call with Debtor regarding disclosure schedules
                                                               and general updates (0.7); attend call with Rothschild
                                                               regarding disclosure schedules and general updates (1) ;
                                                               update disclosure schedules (3 .1); update foreign
                                                               subsidiaries chart (1.1)

06/06/23     JCE                        2.20         3,157.00 Review open items in owner's affidavit (0.3); review and
                                                              comment on purchase agreement and related issues
                                                              lists, and attention to related open items (1.9)

06/06/23     JF                          .90         1,345.50 Review revised APA (0.6); draft APA issues list (0.3)

06/06/23     GM                         1.60         2,176.00 Correspond with Latham team regarding actions to be
                                                              taken in respect of "core" debtor marks under APA (0.4);
                                                              revise IP Assignment Agreement (0.3); analyze Buyer
                                                              edits to Purple Haze APA for IP issues (0.5); draft issues
                                                              list for same (0.4)

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06/06/23     YM                        6.33        9,713 .11 Call with Latham team regarding IP matters (0 .5); review
                                                             escrow agreement and emails with Latham, Citi and
                                                             Pachulski teams regarding same (0.5); call with Latham
                                                             team regarding auction process and timing (0.2); draft
                                                             email to Pachulski regarding auction process and timing
                                                             (0.1); emails with Huron and Latham teams regarding
                                                             WARN notices, diligence request, purchase orders and
                                                             IP matters (0.4); calls with Latham team regarding
                                                             economic deal points (0.4); review APA markup from
                                                             Pachulski, prepare comments/issues list and emails with
                                                             Latham team regarding same (4.2)

06/06/23     CHN                       2.00         2,780 .00 Review project documents and revise findings for Blast
                                                              (1.0); respond to questions on site conditions at
                                                              manufacturing facility (0.5); prepare comments to APA
                                                              for Debtor (0.5)

06/06/23     AQ                        1.50         2,040 .00 Email and telephone conference with A. Sorkin, J . Gusa,
                                                              H. Murtagh, and J. Celentino regarding sale update and
                                                              hearing (0.5); email S. Panagos regarding same (0.1);
                                                              email H. Parkhill and C. Delo regarding same (0.1);
                                                              email and telephone conference with J. Teresi regarding
                                                              same (0.5); review correspondence (0.2); email A. Sorkin
                                                              regarding same (0.1)

06/06/23     KAR                       4.50        6,120.00 Review and finalize letter to FTC on bankruptcy matters
                                                            (0.9); prepare for and attend call with FTC and A. Sorkin
                                                            (0.9); follow-up call with A. Sorkin regarding same (0.4);
                                                            update Jones Day regarding same (0.4); attention to FTC
                                                            advocacy and related work streams (0.3); review and
                                                            provide comments on draft letter from Monster to FTC
                                                            (1.2); review clean team questions from the bankers (0 .8)

06/06/23     AS                        5.90        9,764 .50 Video conference with potential bidder, Rothschild, G.
                                                             Metzger regarding IP issues (0.6); attend video
                                                             conference with K. Rocco and N. Soderstrom {FTC)
                                                             regarding HSR application (0 .9); follow up telephone
                                                             conference with K. Rocco (0.2); video conference with
                                                             potential bidder regarding process questions (0.2);
                                                             telephone conference with I. Kharasch regarding HSR
                                                             call and bid issues (0.2); email team regarding same
                                                             (0.1); correspondence with D. Mun regarding
                                                             miscellaneous APA questions (0.5); review and prepare
                                                             issues list for APA markup from bidder (2 .5); telephone
                                                             conference with E. Chafetz regarding APA markup (0.7)

06/06/23     JLD                       1.80         2,340 .00 Follow-up from FTC call and related next steps (0.8);
                                                              address clean team issue (0.3); review buyer draft
                                                              submission and discussion of same (0.4); review FTC
                                                              follow-up request (0.3)


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06/06/23     BK                         7.00        10,745.00 Review and revise disclosure schedules (1.1); telephone
                                                              conference with bidder counsel, company, Rothschild
                                                              and Latham regarding bidder queries and diligence
                                                              (0.5); review and comment on bankruptcy notice of
                                                              auction and related APA summary (0.5); review and
                                                              revise signing checklist and related items (0.4);
                                                              telephone conference with H . Murtagh, D. Mun and N .
                                                              Wages regarding open items and next steps with respect
                                                              to IP assets (0.6); follow up and coordinate on open IP
                                                              issues (0.4); update team (0.1); review and consider
                                                              Huron comments to diligence and disclosures (0.3) ;
                                                              telephone conference with Huron and Latham regarding
                                                              APA assets and liabilities allocations (1.3); review and
                                                              consider Monster APA markup and issues within (1.8)

06/06/23     HKM                        1.80         2,628.00 Call with new bidder regarding trademark issues (0.5);
                                                              call with Latham M&A and IP teams regarding
                                                              trademarks (0.8); call with Berger Singerman and
                                                              Latham team regarding sale hearing (0.5)

06/06/23     JCC                        5.00         6,250.00 Telephone call with financial advisors regarding APA
                                                              and follow-ups (1.1); review potential bidder APA and
                                                              create issues list (2 .1); emails regarding potential bidder
                                                              APA (0.5); review and address incoming potential bidder
                                                              communications (0.5); telephone call with Huron
                                                              regarding APA terms (0.8)

06/06/23     LK                           .30          361.50 Review revised draft asset purchase agreement (0.2);
                                                              email correspondence with Latham team regarding
                                                              same (0.1)

06/06/23     KDR                        1.20         1,500.00 Review and revise real estate provisions of transaction
                                                              documentation

06/06/23     DCT                        3.90         4,621.50 Edit letter to FTC in response to questions (0.6); confer
                                                              with Latham team regarding FTC advocacy (0.2) ; edit
                                                              "Day One" deck for potential presentation to FTC (0 .7);
                                                              analyze due diligence requests from Monster and
                                                              materials in data room for competitive sensitivity (0.6);
                                                              analyze draft letter from Monster and suggest edits (0.9);
                                                              analyze information to advance ex-US filing analysis
                                                              (0.2); review Monster's edits to APA for antitrust
                                                              concerns (0.7)

06/06/23     NTW                        5.20         5,928.00 Correspondence with team regarding purchase
                                                              agreement, non-debtor IP and intent-to-use trademarks,
                                                              IP assignment agreement and disclosure schedules (0.8);
                                                              edit and revise IP assignment agreement (1.4); prepare
                                                              for and attend telephone conference with team
                                                              regarding non-debtor IP and the purchase agreement
                                                              (0.7) ; review and analyze purchase agreement (1.1);

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                                                                draft issues list regarding purchase agreement (0.8);
                                                                prepare to revise purchase agreement (0.4)

06/06/23     JJW                        1.00         1,140.00 Correspond with Huron regarding vehicle issues in
                                                              connection with same (0.2) ; revise successful bidder
                                                              notice to incorporate comments (0.6); call with J. Kang
                                                              and bidder (0 .2)

06/06/23     TK                         4.30         4,579.50 Revise asset purchase agreement

06/06/23     KKK                          .20          166.00 Review Project Blast memorandum to the FTC

06/06/23     RAP                        2.70         1,903 .50 Draft sale reply

06/06/23     LS                         5.50         5,857 .50 Attend call with Latham and Huron teams regarding the
                                                               Asset Purchase Agreement and Disclosure Schedules
                                                               (1.2) ; draft and negotiate Escrow Agreement with Purple
                                                               Haze (0.5); review and revise Disclosure Schedules (3 .8)

06/06/23     JLT                        3.00         3,195.00 Draft sale declaration of H. Parkhill

06/06/23     JWK                        3.50         2,467.50 Review contracts and update disclosure schedules (2.6);
                                                              attend weekly team call (0.4); coordinate with company
                                                              to upload contracts (0.3); correspondence with Latham
                                                              team regarding same (0.2)

06/07/23     NA                         1.80         2,628.00 Conference call and communication with the
                                                              professional teams regarding sale process and related
                                                              open items (1.0); revise draft APA (0.8)

06/07/23     JCE                        4.40         6,314 .00 Review and revise purchase agreement (2.2); review and
                                                               revise related issues list (0.7); review deed, owner's
                                                               affidavit, title insurance, required recording and tax
                                                               forms, proposed interim transfer process, and other open
                                                               items (0.9); related internal teleconferences regarding
                                                               same (0.6)

06/07/23     JF                           .90        1,345.50 Review and revise APA

06/07/23     JBH                        1.10         1,529.00 Review and revise APA (0.6) ; related correspondence
                                                              with Latham team (0.2); confer internally regarding
                                                              same (0.3)

06/07/23     GM                         1.90         2,584 .00 Conference with Lowenstein and Latham team
                                                               regarding assets (0.7) ; analyze Debtor disclosure
                                                               schedule proposal around website design contest (0.3);
                                                               call Latham team regarding IP transfer (0.5); revise APA
                                                               based on same (0.4)

06/07/23     YM                        10.90        16,731.50 Call with Lowenstein and Latham teams regarding IP
                                                              assets (0 .5); calls with Latham team regarding revisions
                                                              to APA draft (3.2) ; review and revise draft APA (5.4);

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                                                             emails with Latham team, Huron, C Street and Debtor
                                                             regarding revisions to APA draft, WARN notice,
                                                             communications plan, disclosure schedules and various
                                                             economic issues (1.8)

06/01/23     CHN                        .60          834.00 Review documents for Blast (0.2); prepare comments to
                                                            APA and Disclosure Schedules for Debtor (0 .4)

06/01/23     CAR                        .40          140.00 Call with A. Sorkin regarding sale process

06/01/23     KAR                       5.50        1,480.00 All hands call regarding draft APA with Latham team
                                                            (1.5); review and revise draft APA and antitrust break
                                                            fee provisions (0.4); discuss with D. Tifft and J . Daniels
                                                            (0.8) ; call with A. Sorkin to discuss (0.4); call with D.
                                                            Munn to discuss (0.6); review final APA edits before
                                                            distribution to buyer's counsel (0.6); attention to white
                                                            paper regarding competition (1.2)

06/01/23     AS                        9.50       15,122.50 Revise release provision of APA (0.5); further revise
                                                            same and correspondence with A. Libeu (0.2); telephone
                                                            conference with L. Lluberas regarding APA markup and
                                                            remaining issues (0 .5); attend call with Latham corporate
                                                            team, J. Celentino regarding responses on key APA
                                                            points (0.1); multiple telephone conferences with L.
                                                            Lluberas, E. Chafetz, D . Mun regarding APA markup
                                                            response (1.4); correspondence with K. Rocco regarding
                                                            antitrust issue/break fee (0.2); attend video conference
                                                            with Lowenstein, Latham IP teams regarding IP assets
                                                            (0.8); prepare markup of APA (1.0); video conference
                                                            with J. Elliot, D. Mun, B. Kaplan regarding assignment
                                                            of assets (0.5) ; review and revise communications
                                                            materials (0 .8); multiple telephone conferences with B.
                                                            Kaplan, D. Mun regarding APA markup (1.2); further
                                                            review of APA and related correspondence and related
                                                            correspondence (1.1)

06/01/23     ASB                       1.10         1,468.50 Prepare for and participate in telephone conference
                                                             regarding IP provisions in APA (0.8); review and analyze
                                                             correspondence regarding same (0.3)

06/01/23     JLD                       1.90         2,410.00 Review joint defense and team communications (0.6) ;
                                                             review buyer FTC filing (0.8); revise purchase
                                                             agreement (0.5)

06/01/23     BK                       12.10       19,494 .50 Review APA and follow up with Debtor and advisors
                                                             regarding related queries (1.1); telephone conference
                                                             with bidder counsel regarding bidder proposal (0.1);
                                                             video conference with L. Burton regarding OBI/Monster
                                                             escrow (0.2); telephone conference with L. Sievert
                                                             regarding schedules (0.1); review, consider and respond
                                                             to disclosure schedule and diligence queries (0.9);

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                                                               conference with D. Mun regarding open items and next
                                                               steps (0 .1); telephone conference with D . Mun, A.
                                                               Sorkin, J. Celentino and T. Kim regarding open items
                                                               and next steps (0.1); telephone conference with D. Mun
                                                               regarding APA issues (0.1); telephone conference with
                                                               T. Kim regarding APA comments (0.3); telephone
                                                               conference with bidder, Rothschild, company and
                                                               Latham (0.4); telephone conference with T. Kim
                                                               regarding further APA issues (0.3); video conference
                                                               with D. Mun and T. Kim regarding APA (0.5); telephone
                                                               conference with L. Sievert regarding additional schedule
                                                               comments (0.1); video conference with Lowenstein and
                                                               Latham regarding Committee comments to APA (0.8);
                                                               telephone conference with D. Mun, J. Elliot and A.
                                                               Sorkin regarding APA issues (0.2); telephone conference
                                                               with D. Mun regarding further APA issues (0.4);
                                                               telephone conference with L. Sievert regarding further
                                                               schedule comments (0.2); telephone conferences with T.
                                                               Kim regarding APA comments and changes (0 .3); review
                                                               and revise disclosure schedules and consider disclosures
                                                               (1.8) ; review and revise APA and provide comments
                                                               (3.1); telephone conference with D. Mun regarding all
                                                               open items and coordination (0.4)

06/01/23     YLB                        1.10         2,125 .00 Call with B. Kaplan regarding escrow agreement (0.5);
                                                               review materials and provide summary of same (0.4);
                                                               review and comment on APA and related documents
                                                                (0.8)

06/01/23     JCC                        4 .10        5,815 .00 Revise potential bidder APA sections (2.6); emails with
                                                               Latham team regarding potential bidder APA (0.1);
                                                               telephone calls with Latham and Debtor teams
                                                               regarding potential bidder APA (1.2); review
                                                               communications packs and related documents (0.2)

06/01/23     LK                         2.10         2,530.50 Revise asset purchase agreement (1.1) ; call with buyer's
                                                              tax counsel regarding same (0 .3); email correspondence
                                                              regarding same (0.1)

06/01/23     KDR                        3.30         4,125 .00 Review and revise transaction documentation relating to
                                                               real estate (1.9); draft real estate deliverables (1.4)

06/01/23     DCT                        5.00         5,925.00 Meet with team to discuss status of FTC advocacy and
                                                              bankruptcy process (1.0); coordinate potential
                                                              production of documents to FTC (0.6); confer with
                                                              Monster's counsel regarding joint defense agreement
                                                              and HSR matters (0 .3); analyze edits to APA and suggest
                                                              changes to antitrust provisions (1.5); revise JDA (0.6);
                                                              revise advocacy materials for FTC (0 .1); suggest edits to
                                                              draft correspondence to FTC from Jones Day (0.3)


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06/07/23     NTW                        7.90         9,006 .00 Correspondences with Latham team regarding purchase
                                                               agreement, disclosure schedules, diligence requests,
                                                               non-debtor IP and contribution of IP (1.9); review and
                                                               analyze comments to purchase agreement (0 .7); edit and
                                                               revise purchase agreement (1.7); review and analyze
                                                               diligence requests (0.6); draft diligence responses (0.8);
                                                               draft disclosures for disclosure schedules (0.8); prepare
                                                               for and attend telephone conference regarding IP (0.8);
                                                               prepare for and attend telephone conference with team
                                                               regarding contribution of IP (0.6)

06/07/23     JJW                        2.40         2,736 .00 Prepare for and attend call with contract counterparty
                                                               regarding sale update (0.4); call with taxing authority
                                                               regarding sale order (0.2); review declaration in support
                                                               of sale (0.7); comment on same (0.6); prepare auction
                                                               adjournment notice (0.3) ; discuss objection to sale with
                                                               team (0 .2)

06/07/23     TK                        11.70        12,460.50 Revise asset purchase agreement (8.2) ; research
                                                              regarding same (3.1); emails with Latham team
                                                              regarding same (0.4)

06/07/23     KKK                        1.90         1,577 .00 Draft advocacy letter to FTC

06/07/23     EJS                        1.30         1,248.00 Review and revise new asset purchase agreement

06/07/23     LS                         7.20         7,668 .00 Draft and negotiate Escrow Agreement with Purple
                                                               Haze (0.6); draft and revise Disclosure Schedules (6 .6)

06/07/23     JLT                        1.30         1,384 .50 Continue drafting H. Parkhill sale declaration

06/08/23     JCE                        3.40         4,879.00 Review and comment on asset purchase agreement (1.1);
                                                              review title insurance matters (0 .8); review lien payoffs
                                                              in connection with sale (0.2); review title insurance
                                                              requirements (0.3); teleconferences with D. Mun and K.
                                                              Ritter regarding same (0.8); related correspondence
                                                              regarding same (0.2)

06/08/23     JF                         1.00         1,495.00 Review revised APA (0.5); attention to emails regarding
                                                              APA changes (0.2); revise APA provisions (0 .3)

06/08/23     JBH                          .60          834.00 Review and attend to correspondence regarding revised
                                                              APA

06/08/23     GM                           .60          816 .00 Analyze Pachulski edits to IP assignment (0.3) ; revise
                                                               same (0.3)

06/08/23     YM                         9.00        13,815.00 Call with Huron and Debtor regarding schedules and
                                                              APA sections (1.4); calls with Latham team regarding
                                                              revisions to APA (0.8) ; review and revise Monster APA
                                                              (5.0); emails with Huron, Debtor and Latham teams


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                                                              regarding APA revisions and disclosure schedules (1.6);
                                                              call with Latham team regarding schedules and APA
                                                              items (0.2)

06/08/23     AQ                         2.50        3,400.00 Draft and revise sale hearing declarations and review
                                                             related evidence

06/08/23     CAR                         .40          740 .00 Call with A. Sorkin regarding sale process

06/08/23     AS                        4 .50        7,447 .50 Telephone conferences with D. Mun, B. Kaplan
                                                              regarding sources/uses and APA terms (0.5);
                                                              correspondence with L. Lluberas regarding APA (0.5);
                                                              further correspondence with B. Kaplan, D. Mun
                                                              regarding open issues (0.9); review and comment on
                                                              APA markup (1.1); review and comment on sale order
                                                              (1.0); correspondence with H. Murtagh, J. Celentino,
                                                              corporate team regarding IP assignment agreement (0.5)

06/08/23     BK                       10.10        15,503.50 Review and revise APA (1.5); telephone conferences
                                                             with T. Kim regarding APA (0.3); video conferences with
                                                             D. Mun and A. Sorkin regarding APA and deal strategy
                                                             (0.8); telephone conferences with D. Mun regarding
                                                             APA, deal, process and next steps (0 .5); telephone
                                                             conference with D. Mun, A. Sorkin and J. Celentino
                                                             regarding accounts receivable treatment under APA
                                                             (0.2); review, revise, and consider issues and strategies
                                                             in connection with APA and related schedules (3.9);
                                                             telephone conference with Huron, company and Latham
                                                             regarding disclosure schedules and related
                                                             considerations (1.6); telephone conference with D. Mun
                                                             regarding same (0.3); telephone conference with L.
                                                             Sievert regarding schedules (0.1); review and revise
                                                             schedules (0.9)

06/08/23     AB                          .20          250 .00 Revise working draft of agreement regarding data
                                                              privacy (0.1); correspondence with T. Kim on the same
                                                              (0.1)

06/08/23     JCC                        6.50        8,125.00 Review communications package in connection with
                                                             potential purchase (0 .2); review and revise potential
                                                             bidder APA (4.5); telephone calls and Zooms with
                                                             Latham team regarding same (0.6); emails regarding
                                                             same (1.2)

06/08/23     LK                          .60          723 .00 Review revised asset purchase agreement

06/08/23     KDR                        2.90        3,625.00 Review and revise transaction documentation relating to
                                                             real estate (2.4); coordinate real estate deliverables with
                                                             the title company (0.5)

06/08/23     DCT                        3.60        4,266.00 Revise JDA and coordinate execution (0.4); suggest edits

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                                                             to antitrust provisions in APA (1.1); review due diligence
                                                             requests for competitive sensitivity (0 .9); analyze files
                                                             from client to advance advocacy to FTC (0.8); confer
                                                             with Rothschild regarding bidding process (0.4)

06/08/23     NTW                       4.60        5,244.00 Correspondence with Latham team regarding purchase
                                                            agreement and IP assignment agreement (0.8); review
                                                            and analyze purchase agreement (0.7); review and
                                                            analyze IP assignment agreement (0.9); edit and revise
                                                            IP assignment agreement (2.2)

06/08/23     JJW                       3.50        3,990.00 Revise adjournment of auction notice (0.3);
                                                            correspondence with Latham team regarding auction
                                                            (0.2); review board resolutions in connection with sale
                                                            (0.3); comment on same (0.6); call with bidder to discuss
                                                            sale update (0.2); correspond with lien claimant
                                                            regarding sale order (0.1); review sale objections and
                                                            status of same (0.3); correspond with parties in interest
                                                            regarding sale order language (0.2); correspond with
                                                            objector regarding sale objection (0.1); call with B.
                                                            Kaplan regarding contracts and leases in connection
                                                            with same (0.2); discuss sale objection with objector
                                                            (0.2); correspond with Huron and Latham teams
                                                            regarding APA (0 .2); review comments to sale order
                                                            (0.4); email with A. Sorkin team regarding same (0.2)

06/08/23     TK                        9.40       10,011.00 Review and revise asset purchase agreement

06/08/23     RAP                        .70          493.50 Teleconference with J. Weichselbaum regarding
                                                            updating notice of auction cancellation (0.2); revise lease
                                                            rejection motion (0.5)

06/08/23     EJS                        .10            96 .00 Review revised asset purchase agreement

06/08/23     LS                        6.00        6,390 .00 Attend call with Debtor, Huron and Latham teams
                                                             regarding the Asset Purchase Agreement and Disclosure
                                                             Schedules (1.8); review and revise Disclosure Schedules
                                                             (4.2)

06/08/23     JWK                       1.90         1,339.50 Review disclosure schedules (0.9); liaise with Debtor
                                                             regarding same (0.3); prepare draft of foreign
                                                             subsidiaries summary (0.7)

06/09/23     NA                         .40          584.00 Review draft schedules

06/09/23     RB                        1.00         1,360.00 Data Privacy Diligence call with I. Kharasch, B. Haas, E.
                                                             Sachs, A. Beach, D. Mun, B. Kaplan and A. Sorkin (0.8);
                                                             correspondence regarding Disclosure Schedules with A.
                                                             Beach (0.2)

06/09/23     JCE                       3.30        4,735.50 Attention to various open items in asset purchase

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                                                               agreement and review and revise same (2 .1); attention to
                                                               questions regarding title insurance policy and release of
                                                               liens (0.7); review sale order (0.3); related
                                                               correspondence (0.2)

06/09/23     JBH                        2.30         3,197.00 Review revised APA (1.1): attend teleconference with
                                                              counsel regarding same (0.5); related correspondence
                                                              with Latham team (0.2); review of disclosure schedules
                                                              (0.5)

06/09/23     GM                           .80        1,088.00 Revise IP assignment agreement based on Latham team
                                                              edits (0.3) ; revise IP provisions of disclosure schedules
                                                              (0.5)

06/09/23     YM                         9.00        13,815.00 Review Disclosure schedules and call with Latham team
                                                              regarding same (2.4); calls with Monster specialist
                                                              counsel on FDA, IP and data privacy matters (2 .0);
                                                              emails with Latham team regarding vehicle liens, owned
                                                              real property and JHO lease (0.4); call with Pachulski
                                                              regarding APA markup (3 .2); revise APA markup and
                                                              calls with Latham team regarding title policy and
                                                              mechanics liens (1 .0)

06/09/23     KAR                        4.50         6,120.00 Prepare for (0.4) and attend call with Jones Day
                                                              regarding antitrust matters (0.5); prepare white paper on
                                                              failing firm defense at request of FTC (1.3); discuss same
                                                              with Latham team (0.6) ; conduct related research and
                                                              review related materials (0.7); review APA and
                                                              regulatory efforts provision negotiations (1.0)

06/09/23     AS                         5.80         9,599.00 Correspondence with Pachulski and relevant Latham
                                                              team regarding upcoming calls (0.5); correspondence
                                                              with Pachulski regarding governance and other issues
                                                              (0.2) ; video conference with A. Libeu, UCC/lender
                                                              professionals, I. Kharasch regarding releases in APA and
                                                              markup (0.9); video conference with Pachulski, UCC,
                                                              lender professionals, Latham team regarding APA walk-
                                                              through (3.2); follow up correspondence with D. Mun
                                                              (0.7) ; follow up telephone conference with D. Mun, J .
                                                              Elliot regarding same (0 .3)

06/09/23     ASB                        1.00         1,335.00 Review and analyze APA and corresponding disclosure
                                                              schedule regarding IP (0.7); correspondence regarding
                                                              revisions to same (0.3)

06/09/23     JLD                        2.40         3,120.00 Call with buyer's counsel (1.1); advance advocacy
                                                              submissions and related review of materials (1.3)

06/09/23     BK                        12.30        18,880.50 Telephone conference with M. Gill, T. Kim and L.
                                                              Sievert regarding permits (0.3); video conference with D.
                                                              Mun, L. Sievert and J. Kaw regarding schedules (1.9) ;

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                                                               review, revise and consider APA comments (1.7) ; review,
                                                               consider and revise schedules (1.1); review, consider and
                                                               respond to various diligence and schedules emails (1.4) ;
                                                               video conference with Pachulski, Knobbe, MVA,
                                                               Lowenstein and Latham regarding APA negotiation
                                                               (1.6) ; telephone conference with Covington and Latham
                                                               regarding FDA issues in APA (0.5) ; telephone
                                                               conference with Knobbe, Pachulski, Lowenstein, MVA
                                                               and Latham regarding IP issues in APA (1.4); telephone
                                                               conference with D . Mun and N. Wages regarding IP
                                                               issues (0.3) ; telephone conference with G. Eckhouse and
                                                               N . Wages regarding IP disclosures (0.3); telephone
                                                               conference with T. Kim regarding APA comments (0.3);
                                                               video conference with J . Celentino, J . Teresi and T. Kim
                                                               regarding excluded parties considerations (0 .7); review
                                                               and consider emails regarding APA negotiations (0.8)

06/09/23     AB                         1.40         1,750.00 Prepare for upcoming call with purchaser's counsel (0.3);
                                                              correspondence with Latham team regarding same (0 .2);
                                                              confer with purchaser's counsel regarding data privacy
                                                              representations in the agreement; revise disclosure
                                                              statement regarding data privacy (0.2); correspondence
                                                              with R. Blarnires on the same (0.1) ; further revise the
                                                              same (0.1)

06/09/23     JCC                        4.20         5,250.00 Emails with Latham team and Debtors regarding APA
                                                              schedules and implementation of APA terms (1.2);
                                                              telephone call with Latham team regarding motions to
                                                              implement APA terms (0.3) ; telephone call regarding
                                                              disclosure schedules (0.7); telephone call with potential
                                                              bidder regarding releases (0.7) ; draft summary of key
                                                              disclosure schedule provisions (0.4); review and revise
                                                              supporting exhibits and schedules (0.9)

06/09/23     LK                          .40           482 .00 Review revised asset purchase agreement

06/09/23     KDR                        2.40         3,000.00 Review and revise real estate provisions of transaction
                                                              documentation (1.8); coordinate real estate deliverables
                                                              with the title company (0 .6)

06/09/23     DCT                        4.60         5,451.00 Confer with Monster's counsel regarding FTC advocacy
                                                              (0.5); analyze Item 4 materials and summarize key
                                                              content for interactions with FTC (1.4) ; analyze
                                                              information and draft advocacy materials for FTC (2.7)

06/09/23     NTW                        8.10         9,234.00 Correspondence with Latham team regarding purchase
                                                              agreement, telephone conference with opposing
                                                              counsel, IP proceedings and disclosure schedules (1.3);
                                                              draft issues list regarding purchase agreement (0.7) ;
                                                              prepare for and attend telephone conference with
                                                              opposing IP counsel regarding purchase agreement

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                                                               (0.8) ; edit and revise disclosure schedules (1.2); review
                                                               correspondence with foreign counsel regarding IP
                                                               proceedings (1.4); prepare for and attend purchase
                                                               agreement call with opposing counsel (2 .7)

06/09/23     JJW                        1.00         1,140.00 Review comments to sale order (0.3); correspond with A.
                                                              Sorkin regarding same (0.2); emails regarding lien
                                                              claimant claims (0.2); review vehicle sales order in
                                                              connection with sale transaction (0.2) ; correspond with
                                                              M . Niles regarding same (0.1)

06/09/23     TK                         6.70         7,135 .50 Confer with bidder's counsel regarding asset purchase
                                                               agreement (3 .5); revise asset purchase agreement (3 .2)

06/09/23     KKK                        4 .10        3,403 .00 Attend meeting with Jones Day counsel, K. Rocco, J.
                                                               Daniels, D. Tifft regarding FTC issues (0.9); conduct
                                                               research on case law and policy guidance regarding
                                                               failing firm defense (1.6); draft FTC memorandum
                                                               regarding same (1.6)

06/09/23     EJS                        1.30         1,248.00 Telephone conference with Covington to discuss asset
                                                              purchase agreement (0.9); review disclosure schedules
                                                              (0.4)

06/09/23     LS                         7.50         7,987 .50 Attend call with Debtor regarding permits (0.3); attend
                                                               call with Latham team regarding Disclosure Schedules
                                                               (2.4) ; review and incorporate specialist comments on
                                                               Disclosure Schedules (2.3); revise Disclosure Schedules
                                                               (2.5)

06/09/23     JWK                        4.90         3,454.50 Update disclosure schedules (3.8); attend Latham team
                                                              call regarding same (0.5); coordinate with Huron
                                                              regarding disclosure schedules (0.3); attend to
                                                              correspondence with regarding same (0.3)

06/10/23     JCE                        1.40         2,009.00 Internal teleconference regarding real property title
                                                              matters (0.4); review disclosure schedules (0.2) ; review
                                                              and comment on revised asset purchase agreement and
                                                              related negotiation (0.6); related correspondence with
                                                              Latham team (0.2)

06/10/23     JF                         1.20         1,794 .00 Review and revise disclosure schedules (0.9); attention to
                                                               emails with Latham team regarding same (0.3)

06/10/23     GM                          .40           544 .00 Finalize edits to IP section of disclosure schedules for
                                                               Purple Haze

06/10/23     YM                         4 .60        7,061.00 Attention to changes to APA, disclosure schedules and
                                                              assumed agreements and emails with Latham team and
                                                              Huron team regarding same (2 .5); emails with Huron
                                                              team and Pachulski regarding tax matters, schedules

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                                                               and other APA matters (1.2); call with Latham team to
                                                               review disclosure schedules markup from Pachulski (0 .9)

06/10/23     KAR                        1.00         1,360.00 Review and provide comments on draft white paper to
                                                              FTC (0.6); attention to clean team questions from
                                                              Monster (0.4)

06/10/23     AS                           .80        1,324 .00 Review and comment on sale order

06/10/23     BK                         2.40         3,684 .00 Review, consider and respond to emails regarding APA
                                                               negotiations and underlying issues (0.4); review and
                                                               consider emails regarding scheduling issues (0.8);
                                                               review, consider and revise disclosure schedules (1.2)

06/10/23     AB                           .20          250 .00 Review revisions to disclosure statement (0 .1);
                                                               correspondence to D. Mun and T . Kim on the same (0.1)

06/10/23     JCC                        2.10         2,625 .00 Review disclosure schedules and propose changes (0.8);
                                                               review and revise APA supporting exhibits (1.0); emails
                                                               with Latham team regarding same (0.3)

06/10/23     DCT                        3.00         3,555.00 Analyze due diligence requests for potential competitive
                                                              sensitivity (0 .8); analyze precedents and draft advocacy
                                                              to FTC (2.2)

06/10/23     NTW                        3.60         4,104 .00 Correspondence with Latham team regarding APA and
                                                               disclosure schedules (0.8) ; edit and revise disclosure
                                                               schedules (1.7); review comments to the same (1.1)

06/10/23     JJW                          .50          570.00 Review comments to sale order (0.3) ; review revised
                                                              APA (0.2)

06/10/23     EJS                          .10            96 .00 Review new disclosure schedules

06/10/23     LS                         4.50         4,792.50 Attend call with D. Mun and J. Kaw regarding
                                                              Disclosure Schedules (1.3); correspond with Huron and
                                                              Debtor regarding Disclosure Schedules (0.4); revise
                                                              Disclosure Schedules (2.8)

06/10/23     JW                           .60          423.00 Review disclosure schedules (0.4) ; confer with J.
                                                              Friedman regarding same (0.2)

06/10/23     JWK                        7.70         5,428 .50 Prepare documents for new schedules (3 .9); review
                                                               disclosure schedules (2.2); attend team call regarding
                                                               same (0.5); prepare signature packet (0.6); attend to
                                                               correspondence with Latham team regarding same (0 .5)

06/11/23     NA                           .40          584 .00 Review and revise draft purchase agreement

06/11/23     JCE                        1.60         2,296.00 Review sale order (0.3); review and comment on asset
                                                              purchase agreement (0.5); related correspondence and
                                                              internal teleconferences (0.8)

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06/11/23     JBH                          .60          834 .00 Attend to correspondence with Latham team and
                                                               Debtors regarding APA and revised disclosure schedules

06/11/23     GM                         1.30         1,768.00 Revise covenants in Purple Haze APA (0.4); review and
                                                              revise updated IP assignment agreement (0.2); review
                                                              and revise rest of APA (0.7)

06/11/23     YM                         2.80         4,298 .00 Calls with Latham team regarding schedules, APA
                                                               markup and open issues (0.7); attention to emails with
                                                               Huron, Pachulski and Latham teams regarding sale
                                                               order comments, exhibits, disclosure schedules and APA
                                                               issues (1.0); review Pachulski APA markup and emails
                                                               with Latham team regarding same (1.1)

06/11/23     AQ                           .50          680 .00 Email G. Metzger and J . Teresi regarding APA
                                                               schedules (0.2); email J. Celentino and M. Niles
                                                               regarding asset list (0.2) ; email J . Weichselbaum
                                                               regarding same (0.1)

06/11/23     KAR                        1.50         2,040 .00 Review revised failing firm white paper (0.9); review
                                                               comments from Jones Day regarding same (0.6)

06/11/23     AS                         2.00         3,310.00 Review sale order (0.2); video conference with Huron, G.
                                                              Bukovi, Latham team regarding sources/uses and
                                                              Monster APA issues (1.0); follow up video conference
                                                              with D. Mun, B. Kaplan (0.3); review and comment on
                                                              APA (0.5)

06/11/23     BK                         9.00        13,815.00 Telephone conferences with L. Sievert regarding
                                                              disclosure schedules (0.6); telephone conferences with
                                                              D. Mun regarding APA and disclosure schedules (0.5);
                                                              review, consider and revise schedules (1.1) ; review and
                                                              consider sale order (0 .5); review and revise exhibits to
                                                              sale order (1.4); video conference with D. Mun and A.
                                                              Sorkin regarding deal terms (0 .3); telephone conference
                                                              with N. Wages regarding IP assignment (0.1); review,
                                                              consider and respond to email queries regarding
                                                              schedules and diligence (0 .9); review Monster APA
                                                              mark-up and consider issues (2.3); summarize issues and
                                                              respond to internal queries regarding same (1.3)

06/11/23     AB                           .50          625 .00 Revise updated draft of agreement regarding data
                                                               privacy correspondence with R. Blamires on the same
                                                               (0.3) ; correspondence with T. Kim on the same (0.2)

06/11/23     JCC                        1.40         1,750.00 Emails with Latham team regarding potential bidder
                                                              APA (0.4); telephone call with Huron and Latham teams
                                                              regarding purchase price and contract treatment (1.0)

06/11/23     KDR                        1.80         2,250 .00 Review and coordinate real estate provisions of
                                                               transaction documentation (1.3) ; coordinate title

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                                                              documentation (.5)

06/11/23     DCT                       2.20         2,607.00 Analyze precedents and edit draft advocacy to FTC (1.3);
                                                             analyze due diligence requests for competitive
                                                             sensitivity (0.5); suggest edits to APA (0.4)

06/11/23     NTW                       3.00        3,420.00 Correspondence with team regarding IP assignment
                                                            agreement, disclosure schedules and purchase
                                                            agreement (0.4); review comments to purchase
                                                            agreement (0.4); edit and revise purchase agreement
                                                            (1.5); correspondence with client regarding disclosure
                                                            schedules (0.3); review and analyze IP assignment
                                                            agreement (0.4)

06/11/23     JJW                       7.40         8,436 .00 Prepare for and attend call with Latham, Huron and
                                                              Debtor teams regarding sale update (1.2); revise
                                                              settlement term sheet to incorporate comments (1.6);
                                                              revise sale order to incorporate comments (1.6); further
                                                              revise settlement term sheet to incorporate comments
                                                              (0.4); review Debtor comments to settlement term sheet
                                                              (0.4); correspond with A. Sorkin and J. Celentino
                                                              regarding same (0.2); review APA sections and
                                                              disclosure schedules (0.7); review APA markup (0.8);
                                                              revise sale order to reflect comments (0.4); attention to
                                                              emails regarding 9019 settlement (0.3)

06/11/23     RAP                        .90          634 .50 Update the notice of successful bid based on the latest
                                                             draft of the asset purchase agreement

06/11/23     EJS                        .10            96 .00 Review revised asset purchase agreement

06/11/23     LS                        2.70         2,875 .50 Attend call with Huron, Debtor and Latham regarding
                                                              deal update (1.2); revise and circulate Disclosure
                                                              Schedules (1.1); respond to questions regarding
                                                              Disclosure Schedules from Pachulski (0.4)

06/11/23     JWK                       3.10         2,185 .50 Emails with Debtor regarding disclosure schedules (0.4);
                                                              review and update disclosure schedules (1.9); coordinate
                                                              with specialist on consolidating key documents (0.4);
                                                              attend to correspondence regarding disclosure schedules
                                                              and ancillary documents (0.4)

06/12/23     NA                         .50          730 .00 Review purchase agreement and deal terms

06/12/23     RB                         .40          544 .00 Correspondence and call with A. Beach regarding Asset
                                                             Purchase Agreement

06/12/23     JCE                       4 .00       5,740.00 Teleconference with title insurance company regarding
                                                            deed (0.4); review revised deed (0.1); review asset
                                                            purchase agreement and comment on/revise same (2 .8);
                                                            correspondence regarding finalizing owner's affidavit

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                                                                (0.3) ; related correspondence (0.4)

06/12/23     JF                         1.20         1,794.00 Review, revise and communicate regarding revised APA

06/12/23     JBH                         .30           417 .00 Review and respond to correspondence regarding
                                                               revised APA

06/12/23     GM                         1.30         1,768.00 Revise IT systems representations of Purple Haze APA
                                                              (0.4) ; revise proposal for acquisition of IP in APA (0.4);
                                                              revise Section 7 of same based on client feedback (0 .5)

06/12/23     YM                         8.10        12,433.50 Call with Covington and Debtor team regarding APA
                                                              (0.4); draft APA summary for board deck (0.5); emails
                                                              with team regarding APA revisions and schedules (1.2) ;
                                                              calls with Latham team regarding changes to APA (0.5);
                                                              calls with Latham team regarding HSR process (0 .5);
                                                              review and revise APA draft and emails with Latham,
                                                              Pachulski and Lowenstein teams regarding same (5 .0)

06/12/23     AQ                          .70           952 .00 Review and revise description of assets for sale (0.6) ;
                                                               email B. Shraiberg and M . Niles regarding same (0.1)

06/12/23     KAR                        5.30         7,208 .00 Draft/revise letter to FTC regarding Section 7 issues
                                                               (1.5) ; prepare for (0.5) and attend call with FTC
                                                               regarding Monster deal (1.0); calls with Latham teams
                                                               regarding Monster deal (1.0); coordination with D. Tifft
                                                               and J. Daniels regarding FTC submissions (0.5); submit
                                                               follow-up information to FTC including contact
                                                               information from banks and board minutes (0.5);
                                                               draft/revise talking points for bankers on bid (0.3)

06/12/23     AS                         3.80         6,289.00 Video conference with Chicago Title regarding sale
                                                              order issues (0.2); correspondence with D. Mun, K. Rocco
                                                              regarding antitrust matters (0.4); review notice and APA
                                                              (1.0); telephone conference with C. Delo regarding sale
                                                              negotiations (0.3); telephone conference with E. Chafetz,
                                                              J. Weichselbaum regarding sale, 9019 settlement
                                                              comments (1.2); telephone conference with L. Lluberas
                                                              regarding same (0.5); telephone conference with B.
                                                              Kaplan regarding APA questions (0.2)

06/12/23     JLD                        1.20         1,560.00 Review and edit draft advocacy letter to FTC (0.9);
                                                              advance redlines to draft transaction agreement (0.3)

06/12/23     BK                         9.10        13,968.50 Review and revise IP assignment agreement (0.3);
                                                              telephone conference with L. Sievert regarding
                                                              schedules (0.3); prepare for permit call (0.3) ; telephone
                                                              conference with Snell & Wilmer, Covington, Company
                                                              and Latham regarding permits at Arizona facility (0.4);
                                                              review, consider and respond to APA issues and queries
                                                              (1.8); telephone conference with Monster, Pachulski,

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                                                               Evercore, Huron, Rothschild and Latham regarding
                                                               transition and operational considerations (0.8); review
                                                               and respond to AP A emails and related negotiations
                                                               (0.7); video conference with D. Mun regarding status
                                                               and next steps (0.4); review and revise APA (0.9); review
                                                               and respond to emails from Pachulski regarding
                                                               schedules (0.3); telephone conference with N, Wages
                                                               regarding IP assignment considerations (0 .3); further
                                                               review and revise IP assignment agreement (0.2);
                                                               telephone conferences with T. Kim regarding APA (0.3);
                                                               further review and revise APA (1.1); telephone
                                                               conference with T. Kapur regarding schedules (0 .6);
                                                               update team (0.3); review and consider schedule
                                                               comments (0.4); telephone conference with A. Sorkin
                                                               regarding same (0.1)

06/12/23     AB                           .50          625 .00 Revise updated asset purchase agreement (0.4);
                                                               correspondence with R. Blarnires on the same (0.1)

06/12/23     YLB                        1.70         2,125 .00 Review and revise sale order and APA (1.0); call with B.
                                                               Kaplan and Latham team regarding sale process (0.7)

06/12/23     JCC                        1.60         2,000 .00 Review and revise disclosure schedules, assignment
                                                               documents and ancillary exhibits (0.7); review and revise
                                                               draft APA (0.9)

06/12/23     KDR                        2.40         3,000.00 Review and revise real estate provisions of transaction
                                                              documentation (1.8); review and revise disclosure
                                                              schedules (0.6)

06/12/23     DCT                        3.90         4,621.50 Provide edits to antitrust provisions in APA (1.1) ; provide
                                                              edits to FTC advocacy materials (0.4); analyze prior
                                                              Board materials in response to questions from FTC (0 .8);
                                                              analyze due diligence requests for competitive
                                                              sensitivity (0.4); analyze proposed FTC submissions from
                                                              Monster (1.2)

06/12/23     NTW                        4 .50        5,130.00 Correspondence with Latham team regarding signing,
                                                              purchase agreement, disclosure schedules and IP
                                                              assignment agreement (0.9); review comments to IP
                                                              assignment agreement (1.3) ; edit and revise IP
                                                              assignment agreement (0 .8); review and revise
                                                              disclosure schedules (0.5); review and analyze purchase
                                                              agreement (0 .6); revise purchase agreement (0.4)

06/12/23     JJW                        5.90         6,726.00 Participate in call with A. Sorkin and G. Metzger
                                                              regarding settlement (0.3); review comments to
                                                              settlement in advance of call (0.2); call with A. Sorkin, J.
                                                              Gusa, and M . Niles to discuss status of sale and
                                                              settlement (0.4); call with Huron, Latham and bidder
                                                              teams to discuss APA issues (0.8); review notice of

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                                                             adjournment of sale hearing (0.3); correspond with A.
                                                             Sorkin regarding objection deadlines for sale (0.2);
                                                             prepare listing of purchased assets to share with counsel
                                                             to J . Owoc (1.6); revise settlement term sheet (0.6);
                                                             review comments to same (0.2); revise document to
                                                             produce to counsel to J. Owoc regarding sale (0.9);
                                                             discuss the same with A. Quartarolo and M. Niles (0.2);
                                                             call with A. Quartarolo and M . Niles, and counsel to J .
                                                             Owoc regarding sale (0.2)

06/12/23     KKK                        .40          332.00 Review and organize correspondence with FTC (0.1);
                                                            review draft letter to the FTC regarding failing firm
                                                            defense and state of competition in energy drinks
                                                            market (0.3)

06/12/23     TK                       10.10       10,756.50 Review and revise asset purchase agreement and
                                                            disclosure schedules

06/12/23     LS                        2.50         2,662.50 Attend call with Covington, Latham and Debtor teams
                                                             regarding permits (0.4); draft Disclosure Schedules and
                                                             attachments (2.1)

06/12/23     JWK                       2.20         1,551.00 Attend call with Monster to discuss APA issues (0.5);
                                                             review and prepare disclosure schedules (0.9); review
                                                             draft of written consent in connection with sale (0.5);
                                                             attend to correspondence regarding APA and sale (0.3)

06/13/23     JCE                       2.20        3,157 .00 Teleconferences regarding title matters in connection
                                                             with sale (0.6); negotiate open items in purchase
                                                             agreement with opposing counsel (1.2); review and
                                                             comment on owner's affidavit and related matters (0.2);
                                                             related correspondence (0.2)

06/13/23     GM                        2.20         2,992.00 Conference with Buyer IP counsel regarding treatment
                                                             of IP assets (0.5); conference with Latham team and
                                                             Buyer counsel regarding open issues in APA (0.8); revise
                                                             open issues list of key IP issues in M&A agreement (0.4);
                                                             revise relevant sections of APA (0 .5)

06/13/23     YM                        2.60        3,991.00 Check-in call with Huron and Debtor regarding APA
                                                            (0.6); emails with Latham and Pachulski regarding NDA
                                                            provisions (0.2); call with Pachulski regarding Owoc
                                                            claims (0.6); call with Lowenstein and MVA regarding
                                                            Owoc claims (1.2)

06/13/23     KAR                       5.00        6,800.00 Review and finalize Bang white paper to FTC on failing
                                                            firm defense (1.0); attention to new RFI from FTC and
                                                            prepare related responses (2.0); coordinate with D. Tifft
                                                            and Jones Day regarding same (0.5); review and provide
                                                            comments on Monster FTC white paper on competition
                                                            issues (1.5)

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06/13/23     AS                        3.80        6,289 .00 Correspondence with D. Mun regarding sale/APA (0.3);
                                                             attend video conference with Lowenstein, Latham IP
                                                             teams regarding IP issues (0.6); follow up conference
                                                             with D. Mun, B. Kaplan (1.2); review of 9019 settlement
                                                             papers and correspondence with J. Weichselbaum (0.5);
                                                             further correspondence with D. Mun (0.3); further review
                                                             9019 settlement motion and related correspondence (0.9)

06/13/23     ASB                       4.20        5,607.00 Correspondence and analysis regarding revisions to IP
                                                            provisions in APA (2.3); telephone conferences
                                                            regarding same (1.9)

06/13/23     JLD                       2.60        3,380.00 Review further FTC information requests(0 .6); review
                                                            and edit draft buyer advocacy letter (1.0); Latham team
                                                            communications on various clean team and deal issues
                                                            (0.3); review updates regarding FTC outreach and
                                                            related developments (0.3); review client data (0.4)

06/13/23     BK                        4.50        6,907.50 Review and consider sources and uses (0.5); video
                                                            conference with D . Mun regarding open items (0.1);
                                                            review and respond to emails regarding APA issues and
                                                            related items from Monster's counsel (0.6) ; telephone
                                                            conference with L. Sievert regarding process (0.1);
                                                            conference with J. Savren regarding diligence project
                                                            (0.2); telephone conference with L. Sievert, J. Kaw and
                                                            S. Kim regarding diligence project (0.3); telephone
                                                            conference with D . Mun regarding next steps (0.1);
                                                            review, consider and summarize certain contract issues
                                                            in connection with sale (2 .6)

06/13/23     JCC                        .70          875.00 Emails regarding potential purchaser APA markup and
                                                            terms (0.4); review owners affidavit and related issues
                                                            (0.2); emails regarding discovery schedules (0.1); review
                                                            sources and uses analysis (0.2)

06/13/23     KDR                       1.10         1,375.00 Review and revise real estate provisions of transaction
                                                             documentation

06/13/23     DCT                       5.10        6,043.50 Meet with S. Mulloy and K. Kim regarding advocacy
                                                            tasks (0.5); revise advocacy to FTC (0.3); provide edits to
                                                            proposed advocacy from Monster's counsel (0.8); analyze
                                                            Item 4 materials for impact on advocacy to FTC (0.4);
                                                            draft information request to client to capture information
                                                            requested by FTC (0.9); review data and documents to
                                                            compile response to FTC requests (0.8); compile IRI data
                                                            for production to FTC in response to request (1.4)

06/13/23     NTW                                    7,296.00 Correspondence with Latham team regarding Seller IP,
                                                             disclosure schedules, and other IP assets (0.8);
                                                             coordinate with team regarding IP calls (0.2); prepare for
                                                             and attend telephone conferences with team, Debtor and

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                                                               opposing counsel regarding purchase agreement and IP-
                                                               related matters (3 .3); draft open issues list regarding
                                                               purchase agreement (1.4); revise purchase agreement
                                                                (0.7)

06/13/23     JJW                        3.70         4,218.00 Review comments to settlement term sheet (0.4);
                                                              incorporate the same (0 .4); correspond with R. Presley
                                                              regarding notice of successful bidder (0 .2); review
                                                              revised APA (0.4); revise sale order to incorporate
                                                              comments/ changes to APA (0.4); review APA in
                                                              connection with comments to settlement term sheet (0.3);
                                                              prepare for and attend call with bidder counsel
                                                              regarding APA (1.6)

06/13/23     KKK                        2.00         1,660.00 Review and provide comments on Jones Day draft letter
                                                              to the FTC on competition in the energy drinks market
                                                              (1.5); meeting with D. Tifft, S. Mulloy regarding
                                                              correspondence with the FTC (0 .5)

06/13/23     TK                         2.90         3,088.50 Review and revise asset purchase agreement

06/13/23     RAP                         .70           493 .50 Update the notice of auction cancellation based on the
                                                               latest draft of the asset purchase agreement

06/13/23     LS                          .50           532.50 Attend call with Debtor, Huron, Rothschild and Latham
                                                              teams regarding deal update

06/14/23     JCE                         .90         1,291.50 Correspondence and discussions regarding title
                                                              insurance and related owner's affidavit (0.2); review
                                                              disclosure schedules and related correspondence (0.1);
                                                              review and comment on asset purchase agreement,
                                                              negotiate open items in same, and related
                                                              correspondence (0 .6)

06/14/23     JF                          .40           598.00 Review revised APA (0.2); emails to Latham team
                                                              regarding same (0.2)

06/14/23     GM                         3.20         4,352 .00 Conference with Lowenstein regarding APA (0.5);
                                                               conference with Buyer counsel regarding open issues in
                                                               APA (1.0); analyze Buyer counsel concerns regarding
                                                               certain agreements (0.4); meet with Latham team
                                                               regarding changing APA for same (0.4) ; revise APA
                                                               including as to permitted encumbrances definition (0 .5);
                                                               revise disclosure schedules (0.4)

06/14/23     YM                         6.90        10,591.50 Call with Pachulski regarding draft APA (2.0); call with
                                                              Lowenstein and Latham teams regarding IP matters
                                                              (0.4); attention to emails and calls with Latham, Debtor
                                                              and Huron teams regarding notice regarding cancelling
                                                              auction, IP issues, and antitrust matters (2 .1); review
                                                              APA markup and revise same and emails with Latham

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                                                             team, Pachulski and Huron regarding schedules,
                                                             economic issues and APA mark-up (2.4)

06/14/23     AQ                        1.30         1,768.00 Email and telephone conferences with B. Kaplan
                                                             regarding disclosure schedules for APA (0.8); review
                                                             detail regarding same (0.5)

06/14/23     KAR                       4 .80       6,528 .00 Prepare for and attend calls with Jones Day regarding
                                                             FTC strategy (1.0); prepare for and attend calls with
                                                             Latham antitrust team regarding FTC strategy (1.0);
                                                             review written advocacy materials and other
                                                             submissions to FTC (2.3); review clean team questions
                                                             from bankers and Debtor (0.5)

06/14/23     AS                        6.10       10,095.50 Review notice of sale (0.3); telephone conference with B.
                                                            Kaplan regarding APA progress (0.4); telephone
                                                            conference with S. Gruendel regarding open APA issues
                                                            (0.3); conference with Pachulski regarding APA page flip
                                                            (2.3); video conference on open issues in APA with
                                                            Debtor, Huron, Rothschild (1.2); telephone conference
                                                            with A. Gupta regarding sources/uses/DIP budget (0.2);
                                                            correspondence with J . Weichselbaum regarding 9019
                                                            settlement matters (0.2); review APA and sale order
                                                            comments (1.6)

06/14/23     JLD                       1.70         2,210.00 Review materials for FTC submission (0.9); review and
                                                             edit draft advocacy materials (0.6) ; Latham team and
                                                             joint defense communications to advance antitrust
                                                             regulatory review (0.2)

06/14/23     BK                        8.00       12,280.00 Telephone conference with T. Kim regarding APA (0.1);
                                                            attend professionals call (0 .7); telephone conference with
                                                            Pachulski, Knobbe and Latham regarding APA
                                                            negotiations (2.3); video conference with A. Quartarolo
                                                            and L. Sievert regarding disclosure considerations (0.5);
                                                            review and consider AP A and prepare for all hands call
                                                            (0.7); telephone conference with Huron, company and
                                                            Latham regarding disclosure and diligence issues (1.1);
                                                            telephone conference with L. Sievert and J. Kaw
                                                            regarding disclosure schedules (0.1); review and revise
                                                            disclosure schedules (0.8); review and revise APA (1.1);
                                                            review internal comments to APA (0.6)

06/14/23     AB                         .10           125.00 Review updated draft of disclosure statement regarding
                                                             data privacy

06/14/23     JCC                       1.50         1,875.00 Review and revise APA drafts and related settlement
                                                             agreement and motion/order

06/14/23     KDR                       1.30         1,625.00 Review real estate provisions of transaction
                                                             documentation

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06/14/23     DCT                        6.70         7,939 .50 Meet with client to discuss responses to FTC questions
                                                               (1.0); analyze due diligence requests for competitive
                                                               sensitivity (0.8); analyze materials from client and
                                                               compile for response to FTC requests (2 .4); analyze
                                                               materials from client and summarize key areas prior to
                                                               production (0.7); revise advocacy correspondence to FTC
                                                               (0.5); analyze advocacy from Monster's counsel and
                                                               provide edits (0.6); prepare summary of Board meetings
                                                               in response to FTC request (0.4); draft correspondence to
                                                               FTC in response to request (0.3)

06/14/23     NTW                       10.20        11,628.00 Correspondence with Latham team regarding purchase
                                                              agreement and IP (1.4); prepare for and attend
                                                              telephone conference with UCC counsel regarding
                                                              purchase agreement and IP (1.1); prepare for and attend
                                                              telephone conference with opposing counsel regarding
                                                              purchase agreement (2.8); coordinate with client
                                                              regarding IP call (0.2); prepare for and attend telephone
                                                              conference with client regarding IP assets (0.9); edit and
                                                              revise disclosure schedules (2.1); edit and revise
                                                              purchase agreement (1.7)

06/14/23     JJW                        4.80         5,472.00 Review draft notice regarding successful bidder (0.3);
                                                              revise the same (0.4) ; review APA in connection with
                                                              same (0.7); correspondence regarding lien claimants
                                                              claim in connection with sale (0.3); prepare for and
                                                              participate in call with Latham, Huron, Rothschild, and
                                                              Debtor teams to discuss APA issues (1.4); correspond
                                                              with N. Gulati regarding same (0 .2); review Latham
                                                              comments to bidder APA (0.3); review comments to sale
                                                              order (0.6) ; incorporate the same (0.4)

06/14/23     TK                         5.90         6,283.50 Confer with lenders and committee counsel regarding
                                                              asset purchase agreement (0.4); confer with bidder's
                                                              counsel regarding asset purchase agreement (1.8);
                                                              confer with Debtor regarding asset purchase agreement
                                                              (1.2); confer with bidder counsel regarding corporate
                                                              governance (0.8); revise asset purchase agreement (1.7)

06/14/23     RAP                          .90          634 .50 Incorporate comments on the notice of auction
                                                               cancellation

06/14/23     EJS                          .10            96.00 Review revised disclosure schedules

06/14/23     LS                         5.00         5,325.00 Attend call with Debtor, Latham and Dutch counsel
                                                              regarding wind down of Dutch subsidiary (0.5); attend
                                                              call with A. Quartarolo and B. Kaplan regarding
                                                              Disclosure Schedules (0.5); attend call with Debtor,
                                                              Huron, Rothschild and Latham teams regarding deal
                                                              update (1.2); review Pachulski draft of Disclosure
                                                              Schedules (1.2); revise Disclosure Schedules (1.6)

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06/14/23     JWK                        2.30         1,621.50 Review disclosure schedules (1.5) ; correspondence with
                                                              Latham team regarding same (0.3); attend call with
                                                              foreign counsel regarding same (0.5)

06/15/23     NA                           .60          876.00 Communication with Latham team concerning draft
                                                              purchase agreement terms

06/15/23     RB                           .60          816 .00 Review Disclosure Schedules (0.2); correspondence and
                                                               call with A. Beach regarding Disclosure Schedules (0.4)

06/15/23     JCE                        3.90         5,596.50 Review and comment on drafts of asset purchase
                                                              agreement (1.8); related negotiations with opposing
                                                              counsel (0.2); related internal discussions and
                                                              correspondence (0.6); attention to sale order, review
                                                              same, attention to related questions, and related
                                                              correspondence (0.6); attention to open title insurance
                                                              and related owner's affidavit matters, and related
                                                              correspondence (0.7)

06/15/23     JF                           .80        1,196.00 Review revised APA and disclosure schedules (0.6);
                                                              emails to Latham team regarding same (0.2)

06/15/23     GM                         1.70         2,312 .00 Conference with Monster counsel regarding open issues
                                                               in APA based on Debtor feedback (0.7); review and
                                                               revise proposal for additional consideration payment
                                                               triggers (0.5); analyze Buyer IP counsel edits to Section 7
                                                               of APA and draft responses to same (0 .5)

06/15/23     YM                        11.00        16,885.00 Calls with Latham team to review the APA and
                                                              disclosure schedules (3.2); call with Pachulski regarding
                                                              APA (1.1); calls and emails with Huron, Debtor, Berger
                                                              Singerman, Pachulski and Latham teams regarding APA
                                                              revisions, schedules, diligence requests, sources and
                                                              uses and board matters (2.2); review and revise APA and
                                                              emails and calls with Latham team regarding same (4.5)

06/15/23     KAR                        1.50         2,040 .00 Prepare and review submissions for FTC from Bang and
                                                               Monster

06/15/23     AS                         8.80        14,564 .00 Review sale and settlement documentation and related
                                                               correspondence (1.0); video conference with D. Mun, B.
                                                               Kaplan regarding APA revision (0.6); further
                                                               correspondence with D . Mun, B. Kaplan regarding same
                                                               (0.5) ; video conference with alternative bidder and
                                                               follow up correspondence (0.5); APA discussion with
                                                               Pachulski, Latham teams (1.2); follow up telephone
                                                               conference with D. Mun, B. Kaplan regarding same (0.4);
                                                               attention to authorization representations/issues in APA
                                                               (0.5) ; video conference with Berger Singerman
                                                               regarding same (0.3); further APA/sale order review
                                                               (1.0) ; miscellaneous correspondence and calls with S.

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                                                             Panagos, B. Kaplan, E. Chafetz, D. Mun (1.9); review
                                                             settlement summary (0.9)

06/15/23     ASB                       1.30         1,735.50 Correspondence and analysis regarding proposed
                                                             revisions to IP assets section of APA and schedules (0.7);
                                                             telephone conferences regarding same (0 .6)

06/15/23     JLD                       1.30         1,690.00 Review and edit draft submissions to FTC (1.0); joint
                                                             defense communications and Latham team
                                                             communications concerning regulatory review (0 .3)

06/15/23     BK                       14.70       22,564.50 Review and revise disclosure schedules (0.7) ; attention to
                                                            APA drafting and negotiation issues (1.4); telephone
                                                            conference with Debtor, Morency (Canadian counsel)
                                                            and Latham regarding Canadian subsidiary (0 .3);
                                                            telephone conference with D. Mun, A. Sorkin and T.
                                                            Kim regarding APA (1.9); telephone conference with D.
                                                            Mun, L. Sievert, J . Kaw and S. Kim regarding disclosure
                                                            schedules (1.0); conference with D. Mun regarding open
                                                            items and next steps (0.5); telephone conference with D .
                                                            Mun and J. Gusa regarding FL issues (0.3); follow up on
                                                            APA and disclosure schedule issues and consider
                                                            responses (0.4); telephone conference with A. Sorkin
                                                            regarding bidder (0.2); further review of disclosure
                                                            schedules and APA (0.4); telephone conference with
                                                            Pachulski, Knobbe, Monster and Latham regarding APA
                                                            issues and negotiations (1.2); draft riders and review
                                                            related clauses within APA (0.6); attention to APA issues
                                                            and negotiations (1.5); review and revise disclosures
                                                            (0.7); telephone conference with D. Mun regarding APA
                                                            issues (0.2); telephone conference with L. Sievert and J.
                                                            Kaw regarding schedule issues and changes (0 .1);
                                                            telephone conferences with T. Kim regarding APA (0.5);
                                                            telephone conference with C. Azema and N. Wages
                                                            regarding IP issues coordination (0.8); telephone
                                                            conference with D. Mun and N. Wages regarding IP
                                                            issues (0.3); review and revise APA (0 .9); coordination on
                                                            IP issues with Debtor, Huron and Rothschild (0.8)

06/15/23     AB                         .50          625 .00 Confer with R. Blamires regarding revisions to updated
                                                             data privacy disclosure statement (0.4); finalize revisions
                                                             to disclosure statement based on teleconference with R.
                                                             Blamires (0.1)

06/15/23     JCC                        .90         1,125.00 Review APA and exhibits, schedules (0.6); emails with
                                                             Latham team regarding same (0.3)

06/15/23     KDR                       2.70        3,375.00 Finalize owner's affidavit documentation

06/15/23     DCT                       2.80        3,318.00 Analyze materials to prepare response to FTC requests
                                                            (1.8); suggest edits to Monster's proposed advocacy

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                                                                materials (0 .6); edit advocacy to FTC (0.4)

06/15/23     NTW                        6.90         7,866.00 Correspondence with Latham team regarding purchase
                                                              agreement, IP issues and disclosure schedules (1.1); edit
                                                              and revise disclosure schedules (1.3); review comments
                                                              to purchase agreement (1.2); prepare for and attend
                                                              telephone conference with opposing counsel regarding
                                                              purchase agreement {1.4); edit and revise purchase
                                                              agreement (0.5); prepare for and attend telephone
                                                              conference with opposing counsel regarding IP (0.5);
                                                              coordinate with Debtor and Huron regarding and
                                                              purchase agreement (0.9)

06/15/23     JJW                        3.80         4,332.00 Call with L. Burton, N. Gulati and R. Presley to discuss
                                                              sale workstreams (0 .3); review revised APA (0.6); review
                                                              revise successful bidder notice (0.1); review comments to
                                                              sale order (0.3); revise and revise sale order (0.6); discuss
                                                              same with A. Sorkin (0 .2); correspondence regarding
                                                              9019 settlement agreement (0.2); review notice
                                                              regarding sale order filing (0.3); review research
                                                              regarding sale (0.3); further revise sale order (0.4);
                                                              review further revise notice of successful bidder (0 .2);
                                                              conduct legal research regarding sale (0.7); discuss
                                                              research with N. Gulati (0.2)

06/15/23     NAG                          .30          249.00 Telephone conference with L. Burton, J. Weichselbaum
                                                              and R. Presley discussing next steps for sale

06/15/23     KKK                        2.30         1,909.00 Review IRI data for trends in the energy drinks market
                                                              (1.2); identify and compile energy drinks companies that
                                                              entered or exited the market from 2017-2023 (1.1)

06/15/23     TK                         7.70         8,200 .50 Confer with D . Mun and B. Kaplan regarding asset
                                                               purchase agreement (2.9); confer with bidder counsel
                                                               regarding asset purchase agreement (1.2); revise asset
                                                               purchase agreement (3.6)

06/15/23     RAP                        1.70         1,198.50 Update notice of auction cancellation based on the latest
                                                              draft of the asset purchase agreement (0.6); draft notice
                                                              of revised sale order (0.8); prepare for and attend
                                                              teleconference with L. Burton, J. Weichselbaum, and N.
                                                              Gulati regarding sale workstreams (0 .3)

06/15/23     LS                         5.80         6,177.00 Attend call with Debtor, Latham and Canadian counsel
                                                              regarding wind down of Canadian subsidiary (0.3);
                                                              attend call with Latham team regarding the Disclosure
                                                              Schedules (1.0); draft Disclosure Schedules (4 .6)

06/15/23     JWK                        4.30         3,031.50 Coordinate and review disclosure schedules (2.5);
                                                              coordinate collection of exhibits (0.3); attend team call
                                                              on disclosure schedules (1.2); correspondence with

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                                                               Latham team (0.3)

06/16/23     JCE                        3.20         4,592.00 Review and comment on purchase agreement (0.7);
                                                              negotiate open items in same (0.4); review owner's
                                                              affidavit and title insurance related matters and related
                                                              correspondence (2 .1)

06/16/23     JF                          .60           897 .00 Review updated transaction documents (0.4); emails
                                                               with Latham team regarding same (0.2)

06/16/23     GM                          .90         1,224 .00 Call Monster IP counsel to negotiate remaining open
                                                               items in APA (0.5) ; revise same (0.4)

06/16/23     YM                         9.90        15,196.50 Calls and emails with Latham and Huron teams
                                                              regarding IP issue and HSR matters (0.4); review and
                                                              revise APA (0.9); call with Huron and Debtor regarding
                                                              IP issue (0.5); call with Latham team regarding reverse
                                                              termination fee triggers (0.4); call with Knobbe and
                                                              Huron regarding IP (0.5); calls with Latham team
                                                              regarding APA changes and schedules (0.5); call with
                                                              Pachulski and Knobbe regarding APA and IP (1.9);
                                                              review and revise APA draft and emails with Latham
                                                              team regarding various signing exhibits (4 .5)

06/16/23     AQ                          .80         1,088.00 Review and revise disclosure for APA (0.6); email with B.
                                                              Kaplan and L. Sievert regarding same (0.2)

06/16/23     KAR                        3.50         4,760 .00 Calls with D. Tifft to discuss antitrust work streams (1.0);
                                                               review clean team matters and questions from bankers
                                                               (0.5); draft/revise responses to FTC RFis (1.0); review
                                                               letter from Monster to FTC (0.5); emails with Jones Day
                                                               and Latham team regarding same (0.5)

06/16/23     AS                         5.10         8,440.50 Correspondence with J. Weichselbaum, B. Kaplan
                                                              regarding signing issues (0.4); video conference with D .
                                                              Mun, B. Kaplan regarding APA questions (0.3);
                                                              telephone conference with J. Gusa regarding sale
                                                              process (0.4); telephone conference with S. Panagos
                                                              regarding sale status (0.1); correspondence with M.
                                                              Litvak, J . Weichselbaum regarding sale order (0.4);
                                                              telephone conference with R. Pachulski, I. Kharasch
                                                              regarding conditions to close Monster sale (0 .5);
                                                              correspondence with D. Mun regarding same (0.5);
                                                              correspondence with L. Lluberas regarding same (0.4);
                                                              attend video conference with Pachulski, Latham teams
                                                              regarding open APA issues (1.0); telephone conference
                                                              with G . Metzger regarding conditions to close Monster
                                                              sale (0.2); correspondence with J. Weichselbaum, D.
                                                              Mun, A. Quartarolo regarding sale documents/exhibits
                                                              (0.9)


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06/16/23     ASB                          .50          667 .50 Correspondence regarding IP schedules to APA

06/16/23     JLD                          .90        1,170.00 Joint defense communications regarding advocacy (0.3);
                                                              review draft submissions to FTC (0 .6)

06/16/23     BK                         8.80        13,508.00 Telephone conference with A. Sorkin and D. Mun
                                                              regarding APA issues (0.2); review and consider internal
                                                              APA revisions (0 .5); review and revise APA (0.4);
                                                              telephone conference with Huron, Debtor and Latham
                                                              regarding IP considerations (0 .5); consider IP issues (0.4);
                                                              review, consider and comment on IP disclosures
                                                              comments from Knobbe (0.3) ; telephone conference with
                                                              D . Mun regarding sale process (0.2); telephone
                                                              conference with J. Kaw regarding disclosure schedules
                                                              (0.3); review and respond to APA issues (0.7); telephone
                                                              conference with Debtor, Huron, EKB and Latham
                                                              regarding Canadian subsidiary (0.9); video conference
                                                              with Pachulski, Knobbe, MVA, Lowenstein and Latham
                                                              regarding APA negotiations (1.7); telephone conference
                                                              with N. Wages regarding IP issues (0.1); telephone
                                                              conference with D. Mun regarding same (0.2) ; telephone
                                                              conference with T. Kim regarding APA (0 .1); telephone
                                                              conference with J. W eichselbaum regarding
                                                              restructuring related exhibits to APA (0.1); telephone
                                                              conference with L. Sievert regarding disclosure
                                                              schedules (0.1); draft riders and comments to APA and
                                                              schedules, including trade secrets coordination (1.4);
                                                              review, consider and respond to multiple emails from
                                                              Monster's counsel (0 .7)

06/16/23     HKM                        1.20         1,752.00 Research sale issue

06/16/23     YLB                        1.00         1,250.00 Prepare for and attend advisor call regarding sale
                                                              process and updates (0.5); review and revise sale
                                                              documents (0.5)

06/16/23     JCC                        1.20         1,500.00 Review APA open issues and settlement open issues
                                                              (0.9); emails with Latham team regarding same (0.3)

06/16/23     KDR                        1.60         2,000 .00 Finalize owner's affidavit (1.0); call with Debtor
                                                               regarding same (0.6)

06/16/23     DCT                        2.80         3,318.00 Draft responses to FTC information requests (1.1); confer
                                                              with Rothschild regarding materials requested by FTC
                                                              (0.4); analyze data prior to production to FTC (0.6);
                                                              analyze due diligence requests for competitive
                                                              sensitivity (0 .3); confer with Monster's counsel regarding
                                                              due diligence request (0.2); suggest edits to Monster's
                                                              proposed correspondence with FTC (0.4)

06/16/23     NTW                        8.70         9,918.00 Correspondence with Latham team, Debtor and

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                                                               opposing counsel regarding purchase agreement,
                                                               disclosure schedules and trade secrets (1.5); edit and
                                                               revise disclosure schedules (0.6); revise purchase
                                                               agreement (1.2); prepare for and attend telephone
                                                               conference with Debtor regarding trade secrets (1.3);
                                                               coordinate telephone conference among the parties
                                                               regarding the same (0.4); correspondence with Latham
                                                               team regarding IP assets and schedules (0.2); prepare for
                                                               and attend telephone conference with opposing counsel
                                                               regarding open IP issues (2 .1); prepare for and attend
                                                               telephone conference with opposing counsel regarding
                                                               purchase agreement (1.4)

06/16/23     JJW                        3.70         4,218.00 Review service questions regarding sale pleadings (0.3);
                                                              discuss service matters with Stretto, Latham and Berger
                                                              Singerman teams (0.4) ; correspond with lien claimant
                                                              regarding sale order language (0 .2); correspond with
                                                              objector regarding sale order language (0.1); revise sale
                                                              order to incorporate comments from lenders and bidder
                                                              (0.9); revise language to incorporate feedback from A.
                                                              Sorkin (0.2) ; review exhibit to APA (0.4); comment on
                                                              the same (0.2); email with Latham team regarding same
                                                              (0.2); correspond with Debtor regarding same (0.1);
                                                              email with L. Burton, R. Presley and N . Gulati to discuss
                                                              status of sale workstreams (0.2); review revised notice of
                                                              successful bidder (0.1); discuss APA language with D.
                                                              Mun (0.2); propose APA language for D. Mun (0.2)

06/16/23     NAG                          .50          415 .00 Telephone conference with J . Weichselbaum discussing
                                                               next steps for sale

06/16/23     TK                         5.10         5,431 .50 Confer with bidder counsel regarding asset purchase
                                                               agreement (1.8); revise asset purchase agreement (3.3)

06/16/23     RAP                          .40          282 .00 Teleconference with J . Weichselbaum regarding the
                                                               notice of auction cancellation

06/16/23     LS                         4.60         4,899.00 Draft Disclosure Schedules

06/16/23     JWK                        6.90         4,864 .50 Attend team call with T. Kim and L. Sievert regarding
                                                               schedule (0.3); consolidate exhibits and update
                                                               disclosure schedules (2.8); review and revise APA for
                                                               cross references and definitions (2.8); correspondence
                                                               with Latham team regarding same (0.3); attend call with
                                                               Debtor and foreign counsel regarding same (0 .7)

06/11/23     GM                           .60          816 .00 Analyze Buyer IP counsel requested edits to disclosure
                                                               schedules (0.4); respond to Buyer IP counsel regarding
                                                               same (0.2)

06/17/23     YM                           .50          767.50 Review APA markup and emails with Latham team and

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                                                             Huron regarding same

06/17-/23    KAR                        .80         1,088.00 Review letter from Orange Bang to FTC and discuss
                                                             with team (0.5); emails with Latham team regarding FTC
                                                             matters (0.3)

06/17-/23    AS                         .20          331.00 Revise mutual release document and correspondence
                                                            with A. Libeu regarding same

06/17-/23    JLD                        .7-0         910 .00 Review draft advocacy submissions (0.5); team and joint
                                                             defense communications about drafts and strategy (0.2)

06/17-/23    BK                        2.30        3,530.50 Review and respond to emails regarding deal terms and
                                                            issues (0.8); telephone conference with L. Sievert
                                                            regarding disclosure schedules (0.3); telephone
                                                            conference with T. Kim regarding APA changes (0.5);
                                                            review Pachulski comments to APA and consider (0.4);
                                                            review and revise APA (0.3)

06/17-/23    YLB                       1.60         2,000 .00 Review and revise sale order and related exhibits (1.1);
                                                              correspond with N. Gulati and A. Sorkin regarding same
                                                              (0.5)

06/17-/23    NTW                        .80          912.00 Correspondence with team regarding trade secrets and
                                                            disclosure schedules (0.3); review comments to the same
                                                            (0.3); revise disclosure schedules (0.2)

06/17-/23    JJW                        .30          342.00 Review APA markup

06/17-/23    TK                        1.20         1,27-8.00 Revise asset purchase agreement

06/17-/23    LS                         .60          639.00 Correspond with Pachulski regarding Disclosure
                                                            Schedules

06/18/23     JCE                       4.10        5,883.50 Internal correspondence and discussion regarding open
                                                            items in asset purchase agreement (2.8); teleconference
                                                            with opposing counsel regarding same (0.1); review and
                                                            comment on asset purchase agreement (1.2)

06/18/23     GM                         .80         1,088.00 Analyze Buyer edits to APA and Disclosure Schedules
                                                             for remaining IP issues (0.4); confer with Latham team
                                                             regarding same (0.1); analyze Buyer proposal for IP
                                                             cooperation process (0.3)

06/18/23     YM                        3.30        5,065.50 Review and comment on APA markup and emails with
                                                            Huron and Latham teams regarding same (0 .7-); calls
                                                            with Latham team regarding APA open issues (0.3);
                                                            emails and calls with Latham team and Pachulski
                                                            regarding termination fee and title policy condition and
                                                            review and revise APA draft (2 .3)

06/18/23     AS                        2.30        3,806.50 Correspondence with B. Kaplan, D. Mun regarding APA

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                                                              issues (0.4); telephone conference with B. Kaplan, J .
                                                              Elliot to prepare for call with Pachulski on open APA
                                                              issues (0.2); call with Pachulski regarding open issues on
                                                              APA (0.6); telephone conference with J . Elliot, D. Mun
                                                              regarding title insurance condition (0.7); further
                                                              correspondence with D. Mun and review APA, draft
                                                              correspondence (0.4)

06/18/23     BK                         7.90       12,126.50 Review and revise APA (0.6); telephone conference with
                                                             A. Sorkin and A. Gupta regarding escrow payment (0.2);
                                                             telephone conference with T. Kim regarding APA (0.2);
                                                             review and consider AP A emails and draft responses
                                                             (0.4); telephone conference with D. Mun and A. Sorkin
                                                             regarding APA (0.2); telephone conference with L.
                                                             Sievert regarding schedules (0.1); telephone conference
                                                             with Pachulski, MV A, Lowenstein and Latham
                                                             regarding APA negotiations (0 .6); summarize issues and
                                                             update Latham team regarding same (0.7); review,
                                                             consider and respond to APA issues (1.1); telephone
                                                             conference with J. Elliot and A. Sorkin regarding title
                                                             issues (0.2); telephone conference with A. Sorkin
                                                             regarding APA (0 .1); telephone conference with M.
                                                             Litvak regarding APA (0.3); telephone conferences with
                                                             J. Elliot regarding title clause (0 .3); telephone
                                                             conference with D . Mun regarding APA (0.2); telephone
                                                             conference with J. Elliot regarding APA (0.1); draft and
                                                             update email to Board and distribute (0.5); consider
                                                             signing issues and coordination (0.3); telephone
                                                             conferences with J . Weichselbaum regarding order and
                                                             APA (0.3); telephone conference with D. Mun and J.
                                                             Weichselbaum regarding APA (0.2); review, consider
                                                             and comment on trade secrets process (0.6); attention to
                                                             APA issues (0.7)

06/18/23     NTW                        1.40        1,596.00 Correspondence with Latham team regarding disclosure
                                                             schedules, trade secret cooperation and purchase
                                                             agreement (0.4); review comments to trade secret
                                                             cooperation (0.3); draft issues list regarding the same
                                                             (0.7)

06/18/23     JJW                        2.30        2,622 .00 Review APA comments (0.3); revise notice of successful
                                                              bidder to incorporate comments (0.1); discuss comments
                                                              to notice of successful bidder with Latham and Berger
                                                              Singerman teams (0.4); call with bidder to discuss
                                                              comments to notice of successful bidder (0.1); review
                                                              and revise transaction documents (0.8); emails with
                                                              Latham team regarding status of transaction (0.2);
                                                              correspondence with Latham team regarding exhibit to
                                                              APA (0.2); email with committee regarding sale
                                                              documents (0.2)


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06/18/23     TK                         1.80         1,917 .00 Revise asset purchase agreement

06/18/23     RAP                         .40           282.00 Review and revise notice of auction cancellation

06/18/23     LS                          .40           426.00 Revise and circulate Disclosure Schedules

06/19/23     JCE                        7.60        10,906.00 Attend zoom with opposing counsel regarding APA
                                                              (0.9); internal teleconferences regarding open items
                                                              (3.3) ; teleconference with opposing counsel regarding
                                                              open items in purchase agreement (0.9) ; attend to open
                                                              items in purchase agreement and related to title
                                                              insurance (2.1); related internal correspondence (0.4)

06/19/23     GM                          .40           544.00 Correspond with Debtor and Latham teams regarding
                                                              trade secret cooperation process in AP A

06/19/23     YM                        10.10        15,503.50 Review trade secrets proposal, commenting on same and
                                                              emails with Latham and Huron teams regarding
                                                              operational matters (1.0) ; calls with Latham team
                                                              regarding APA comments and title policy issue (0 .7); call
                                                              with Huron and Debtor regarding trade secrets (1.0); call
                                                              with Latham team regarding open issues (0.2) ; call with
                                                              Pachulski team regarding title policy, trade secrets,
                                                              WARN notice and other issues (0.7); calls and emails
                                                              with Latham team and Huron team regarding title
                                                              policy, WARN, vehicle liens and trade secrets (0.7); call
                                                              with Latham team regarding trade secrets revisions (0.4) ;
                                                              review and comment on APA markup and emails and
                                                              calls with Latham team regarding same (1.5); emails and
                                                              calls with Latham, Huron and Pachulski regarding APA
                                                              provisions, trade secrets, WARN notices and reviewing
                                                              APA provisions and trade secrets revisions (3 .9)

06/19/23     AQ                         2.00         2,720.00 Email A. Sorkin regarding sale process and objections
                                                              (0.3); review and revise sale hearing declarations (1.7)

06/19/23     AS                         5.60         9,268 .00 Review research regarding ratification and sale
                                                               objection timeliness issues; telephone conference with
                                                               D. Mun, J. Elliott, B. Kaplan regarding title insurance
                                                               (0.5); telephone conference with L. Lluberas regarding
                                                               sale status (0.3) ; telephone conference with E. Chafetz
                                                               regarding sale update (0.4); further correspondence
                                                               regarding title insurance (0.3); video conference with
                                                               Pachulski, Latham teams regarding open APA and other
                                                               issues (1.2); further correspondence with D. Mun, B.
                                                               Kaplan regarding same, APA finalization (0.6) ;
                                                               telephone conference with J . Celentino, J .
                                                               Weichselbaum regarding same (0.4); telephone
                                                               conference with D. Mun regarding title insurance (0.2) ;
                                                               telephone conference with D . Mun, J. Elliott regarding
                                                               same (0.4)

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06/19/23     BK                        12.70        19,494 .50 Video conference with D. Mun and A. Sorkin regarding
                                                               APA issues (0.2); review and consider trade secrets
                                                               schedule (0.3); update team and share trade secret
                                                               schedule comments (0.5); video conference with D . Mun,
                                                               A. Sorkin and J. Elliot regarding APA issues (0.6);
                                                               telephone conference with Debtor, Huron, Rothschild
                                                               and Latham regarding APA and schedule issues (1.1);
                                                               telephone conference with D. Mun regarding open items
                                                               (0.1); telephone conference with T. Kim regarding APA
                                                               (0.1); video conference with Pachulski, Knobbe, MVA,
                                                               Lowenstein, Monster and Latham regarding open issues
                                                               and negotiations (0 .8); telephone conference with D.
                                                               Mun regarding open items (0.5); telephone conference
                                                               with D. Mun and A. Sorkin regarding APA issues (0.3);
                                                               telephone conference with D . Mun regarding APA (0.2);
                                                               review and revise APA (1.9); telephone conference with
                                                               D . Mun regarding revisions (0.3); telephone conference
                                                               with C. Azema regarding trade secrets (0.2); further
                                                               review and revise trade secrets schedule (0.2); follow up
                                                               with company regarding trade secrets (0.2); telephone
                                                               conference with A. Gupta regarding trade secrets (0.2);
                                                               attention to APA and schedule issues (2 .9); telephone
                                                               conference with D. Mun regarding open items (0.3);
                                                               attention to open AP A issues, revisions, Monster
                                                               comments and next steps (1.4); telephone conference
                                                               with D. Mun, A. Sorkin and J. Elliot regarding issues in
                                                               Monster comments and next steps (0 .5); attention to title
                                                               issues (0.4)

06/19/23     YLB                        3.40         4,250.00 Research and draft sale reply (1.1); correspond with J.
                                                              Weichselbaum regarding same (0.2); calls with M&A
                                                              team regarding sale terms (0.8); review and revise sale
                                                              order, APA and related notices and exhibits (1.3)

06/19/23     JCC                        7.90         9,875.00 Telephone call with client and Latham team regarding
                                                              disclosure schedules issue (0.6); Zoom call with debtor
                                                              legal and financial advisors regarding sale process (0.4);
                                                              review and finalize settlement term sheet and
                                                              supporting filings (1.6); emails with Latham team
                                                              regarding same (0.3); review and finalize APA-related
                                                              transaction documents and supporting filings (2 .6);
                                                              emails regarding same (0.4); telephone call with A.
                                                              Sorkin and J. Weichselbaum regarding finalizing filings
                                                              (0.4); telephone call with Latham associate team
                                                              regarding finalizing filings (0.5) ; review and revise
                                                              disclosure schedules, ancillary exhibits and APA draft
                                                              (1.2)

06/19/23     KDR                        1.60         2,000 .00 Review and revise purchase agreement documentation

06/19/23     DCT                          .40          474 .00 Analyze correspondence from Monster to FTC to

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                                                                prepare for interactions with FTC

06/19/23     NTW                        4.20         4,788.00 Correspondence with Latham team regarding trade
                                                              secrets cooperation and signing (1.3); review comments
                                                              to the same (1.2); edit and revise the same (0.9) ; prepare
                                                              for and attend telephone conference with team and
                                                              client regarding the same (0.8) ;

06/19/23     JJW                        6.40         7,296.00 Participate in team update call to discuss status of sale
                                                              (0.5); review comments to APA (0.4); prepare for and
                                                              participate in telephone conference with Latham, Huron
                                                              and Debtor regarding open issues on APA (1.2); revise
                                                              sale order (0.6); review revised notice of successful
                                                              bidder (0.2) ; revise the same (0.1); review revised APA
                                                              exhibit (0.2); correspondence with Latham team
                                                              regarding same (0.2); emails with Latham team
                                                              regarding APA markup (0 .1); review comments to APA
                                                              (0.4); review revised transaction documents (0.4); call
                                                              with A. Sorkin and J. Celentino to discuss status of tasks
                                                              (0.3); correspond with J. Celentino regarding status of
                                                              documents (0.4); review updated drafts of various sale/
                                                              settlement documents (1.2); circulate the same to all
                                                              parties (0.2)

06/19/23     TK                         4 .60        4,899 .00 Review and revise asset purchase agreement

06/19/23     RAP                        1.20           846 .00 Update the notice of auction cancellation based on the
                                                               latest draft of the asset purchase agreement (0.7);
                                                               prepare for and attend teleconference with J. Celentino,
                                                               L. Burton, J . Weichselbaum, and N. Gulati regarding
                                                               same (0.5)

06/19/23     LS                         1.10         1,171.50 Attend call with Latham, Huron, Rothschild and Debtor
                                                              teams regarding APA and Disclosure Schedules

06/19/23     JWK                        1.60         1,128.00 Prepare Exhibits for execution (0.9); attend call with
                                                              Debtor regarding same (0.5); correspondence with
                                                              Latham regarding same (0.1)

06/20/23     JCE                        7.90        11,336.50 Review and revise drafts of purchase agreement (3 .2);
                                                              negotiations with opposing counsel regarding same
                                                              (1.4); attention to title matters (1.3); related internal
                                                              teleconferences and correspondence regarding same
                                                              (2.0)

06/20/23     GM                           .40          544.00 Revise Schedule 7.3(a) regarding trade secret
                                                              cooperation of AP A

06/20/23     YM                         7.80        11,973.00 Review and revise APA draft and emails and calls with
                                                              Latham team regarding same (1.4); review and revise
                                                              Schedule 7.3(a) (trade secrets) and emails and calls with

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                                                             Latham team regarding same (0.8); emails with Huron
                                                             and Debtor regarding APA matters (0.3); call with
                                                             Latham team regarding title condition (0.5); calls with
                                                             Pachulski and Latham teams regarding title condition
                                                             and trade secrets issue (0.8); review and revise APA
                                                             draft and calls and emails with Pachulski and Latham
                                                             team regarding same (4.0)

06/20/23     KAR                       1.50         2,040.00 Plan and prepare for call with FTC (0.5); related
                                                             correspondence and coordination with Jones Day and
                                                             Latham teams (0.5); update calls with D. Mun and J.
                                                             Daniels regarding same (0.5)

06/20/23     AS                        3.10        5,130.50 Telephone conference with D. Mun, J. Elliott, B. Kaplan
                                                            regarding APA (0 .5); review revised APA (0.2); further
                                                            telephone conference with D. Mun, J. Elliott (0.4);
                                                            further review deal documents (0.6); telephone
                                                            conference with D . Mun, correspondence with team
                                                            regarding finalization of documents (1.4)

06/20/23     BK                        8.20       12,587.00 Review, consider and revise schedules (0.9); follow up
                                                            with Huron and Debtor regarding trade secrets and
                                                            incorporate comments (0 .5); review, consider and revise
                                                            APA (0.8); attention to APA and signing issues (1.6);
                                                            review APA covenants and revert on D . Mun query (0.3);
                                                            telephone conference with D. Mun, J. Elliot, A. Sorkin,
                                                            T. Kim, J . Celentino and J. Weichselbaum regarding
                                                            APA issues (0.5); review and revise trade secrets
                                                            schedule (0.4); review and revise schedules and exhibits
                                                            (0.8); video conference with D. Mun regarding open
                                                            items (0.1); video conference with Pachulski and Latham
                                                            regarding trade secrets (0.3); video conference with
                                                            Huron, Debtor and Latham regarding open items (0.5);
                                                            telephone conference with N . Wages regarding IP issues
                                                            (0.2); telephone conference with D. Mun, A. Sorkin, J .
                                                            Elliot and T. Kim regarding APA issues (0.2); review
                                                            final schedules (0 .6); review final exhibits (0.4);
                                                            telephone conference with D. Mun regarding next steps
                                                            (0.1)

06/20/23     YLB                       6.00         7,500.00 Draft research and revise sale reply outline (5.8);
                                                             correspond with A Sorkin regarding same (0 .2)

06/20/23     JCC                       5.90         7,375 .00 Review revised APA language (1.4); emails with Latham
                                                              team regarding same (0.6); telephone with Latham team
                                                              regarding latest changes to APA (0.3); telephone call
                                                              with Debtor legal and financial advisors regarding sale
                                                              process and legal strategy (0.4); telephone call with Z.
                                                              Zhao regarding sale related supporting declaration (0.4);
                                                              review and finalize AP A, disclosure schedules, exhibits,
                                                              9019 settlement motion, term sheet, notices, etc. (2 .8)

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06/20/23     LK                          .10           120.50 Review email correspondence regarding foreign
                                                              subsidiaries

06/20/23     KDR                        1.10         1,375.00 Review and revise purchase agreement documentation

06/20/23     DCT                        1.50         1,777 .50 Analyze correspondence from Monster to FTC to
                                                               prepare for interactions with FTC (1.3) ; confer with team
                                                               regarding strategy for FTC interactions (0.2)

06/20/23     NTW                        3.60         4,104 .00 Correspondence with Latham team regarding signing
                                                               and trade secret cooperation and can art (1.2); edit and
                                                               revise trade secret cooperation (1.5); review comments to
                                                               the same (0.7); review can art production (0.2)

06/20/23     JJW                        5.50         6,270 .00 Call with A. Sorkin, D. Mun, J. Elliott, B. Kaplan and J .
                                                               Celentino to discuss APA (0.4); review comments to sale
                                                               related documents (0.4); review revised sale documents
                                                               reflecting comments (0.4); review and revise sale/
                                                               settlement documents (2.3); discuss same with Latham
                                                               team (0.6); review revised/proposed final documents
                                                               (0.9); emails with Huron regarding vehicle lien matters
                                                               in connection with sale (0.2); correspond with counsel to
                                                               lien holder regarding same (0.1); review proposed final
                                                               APA (0.2)

06/20/23     NAG                        2.60         2,158.00 Update 9019 settlement motion with comments from
                                                              opposing counsel (0.3); prepare sale documents for filing
                                                              (2.3)

06/20/23     TK                         4 .30        4,579 .50 Revise asset purchase agreement

06/20/23     RAP                        2.00         1,410.00 Teleconference with J. Celentino, L. Burton, J.
                                                              Weichselbaum, and N. Gulati regarding APA (0.6);
                                                              prepare documents in preparation for anticipated closing
                                                              (1.4)

06/20/23     JWK                        3.60         2,538.00 Attend meeting with Debtor regarding sale closing (0.5);
                                                              correspondence with Latham team regarding same (0 .3);
                                                              review, update and consolidate disclosure schedules and
                                                              exhibits (2.8)

06/21/23     YM                         9.70        14,889.50 Calls with Pachulski, MVA and Lowenstein regarding
                                                              FTC matters (1.0); calls with bidders regarding bids (1.3);
                                                              emails with Latham team, Huron and Rothschild
                                                              regarding various diligence and economic matters (0.5);
                                                              calls with Latham team, MVA and Lowenstein regarding
                                                              FTC approach, bid procedures and bidders' proposals
                                                              (3.8); emails and calls regarding FTC approach with
                                                              Latham and Pachulski team (1.5); calls with Latham
                                                              team regarding bidders' proposals (0.5); call with MVA
                                                              and Lowenstein regarding bid process (0.7); call with

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                                                                Latham team regarding FTC position (0.4)

06/21/23     KAR                        5.00         6,800.00 Prepare for and attend call with Jones Day regarding
                                                              FTC (0 .5); prepare for and attend call with FTC (1.0);
                                                              attend follow-up call with Latham team (0.5); attend
                                                              follow-up call with M. Knight (0.5); calls and
                                                              coordination with D. Mun and A. Sorkin regarding same
                                                              (1.5); prepare for and attend call with bankers (0.5);
                                                              correspondence regarding FTC investigation (0.5)

06/21/23     AS                         6.10        10,095.50 Correspondence with D. Mun regarding second request
                                                              (0.3) ; video conference with MVA, Lowenstein, K. Rocco,
                                                              D . Mun regarding second request (1.3); further
                                                              correspondence and calls regarding next steps in sale
                                                              process (0.7); further correspondence and calls with K.
                                                              Rocco, D. Mun regarding antitrust matters and
                                                              transaction status (0.5) ; calls with I. Kharasch, R.
                                                              Pachulski, D. Mun, K. Rocco regarding next steps (0.9);
                                                              diligence call with alternative bidder advisors (0.9) ;
                                                              video conference with lender and UCC advisors
                                                              regarding alternative bid process (1.2); telephone
                                                              conference with D . Mun regarding same (0.3)

06/21/23     JLD                        1.20         1,560.00 Communications with Latham team, Debtor and buyer's
                                                              counsel related to FTC's decision to investigate (0.7);
                                                              review client materials regarding same (0.5)

06/21/23     BK                         6.60        10,131.00 Summarize APA terms for Latham team (0.2); telephone
                                                              conference with D. Mun regarding antitrust update and
                                                              related considerations (0 .2); attend professionals call (C
                                                              Street, Rothschild, Huron and Latham) regarding sales
                                                              update (0.9); telephone conference with T. Kim
                                                              regarding status (0.1); review, consider and respond to
                                                              APA and bidder strategy emails (0 .7); video conference
                                                              with D. Mun, A. Sorkin and K. Rocco regarding open
                                                              items and strategy (0.7); video conference with bidder,
                                                              DLA, Rothschild and Latham regarding next steps and
                                                              bid process (0.8); telephone conference with L. Sievert
                                                              regarding status (0.1); video conference with MVA,
                                                              Lowenstein, Berger Singerman and Latham regarding
                                                              status, strategy and next steps (0.9) ; telephone
                                                              conference with D . Mun, A. Sorkin and K. Rocco
                                                              regarding next steps and strategy with FTC (0.6); review
                                                              bidder queries and responses (0.5); coordinate follow ups
                                                              with bidders and counsel, UCC and lenders (0.4); review
                                                              and consider APA issues to set out up front (0.5)

06/21/23     JCC                        2.40         3,000.00 Emails with Latham team regarding potential sale
                                                              transaction (0.4); attend Zoom call with debtor legal and
                                                              financial advisors regarding sale process and legal
                                                              strategy (0.7); review antitrust issues (0.3); telephone call

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                                                               with Y. Burton regarding case status (0.2); telephone call
                                                               with potential bidder regarding sale process (0.6); emails
                                                               with Latham team regarding sale process and next steps
                                                               (0.2)

06/21/23     DCT                        2.10         2,488.50 Meet with Jones Day team to prepare for call with FTC
                                                              (0.3) ; advocate to FTC for clearance of the transaction
                                                              (0.6); meet with lenders regarding go-forward strategy
                                                              following FTC meeting (0.5) ; confer with Debtor
                                                              regarding FTC call (0.3); draft summary of FTC call (0.4)

06/21/23     TK                          .30           319.50 Review asset purchase agreement

06/22/23     YM                         4.90         7,521.50 Emails and calls with Latham team and Huron team
                                                              regarding bankruptcy court update and sale issues (0.8);
                                                              call with potential bidder regarding same (0.5);
                                                              transaction structure and open issues call with lenders
                                                              and UCC counsel regarding FTC discussion (0 .8); emails
                                                              with Latham team and bidder team regarding sale
                                                              update (0 .8); bid process and open issues call with
                                                              bidder (0.5) ; emails with Latham, Huron and Rothschild
                                                              teams regarding various communications to bidders and
                                                              bid process and FTC (1.5)

06/22/23     AQ                          .50           680 .00 Email and telephone conference with A. Sorkin
                                                               regarding same and sale process

06/22/23     KAR                        1.50         2,040 .00 Prepare for and attend call with FTC (0 .5); prepare for
                                                               and attend call with Latham team and bankers (0.5) ;
                                                               related coordination with team on potential bidders and
                                                               antitrust strategy (0.5)

06/22/23     AS                         2.20         3,641.00 Telephone conference with R. Pachulski, I. Kharasch
                                                              regarding hearing (0.3); telephone conference with R.
                                                              Pachulski, I. Kharasch regarding timetable (0 .3); video
                                                              conference with alternative bidder (0.5); call with lender
                                                              and UCC advisors regarding alternative bids (0.8);
                                                              telephone conference with A. Gupta regarding
                                                              sources/uses matters (0.3)

06/22/23     JLD                        1.20         1,560.00 Address diligence and clean team issues (0.4); address
                                                              newly issued second request (0.5); attention to joint
                                                              defense communications regarding antitrust review (0.3)

06/22/23     BK                         9.00        13,815.00 Prepare for call with bidders (0.6); conference with D.
                                                              Mun regarding next steps (0.3); telephone conference
                                                              with bidder counsel and Latham regarding same (0.6);
                                                              telephone conference with MVA, Lowenstein and
                                                              Latham regarding antitrust and process (0.6); telephone
                                                              conference with D . Mun regarding process and next
                                                              steps (0.1); attention to deal issues and bidder messaging

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                                                               (1.2) ; video conference with Rothschild and Latham
                                                               regarding bid process and deal terms (0.7); review and
                                                               consider disclosure schedules to consider updates for
                                                               bidders (0.9); conference with L. Sievert, J. Kaw and S.
                                                               Kim regarding disclosure schedules (0.5); prepare bid
                                                               process and updates for bidders (0.6); review and
                                                               consider APA issues for discussion with bidders (1.8);
                                                               review and consider disclosure schedules and changes
                                                               for bidders (0.7); review and consider emails from
                                                               bidders regarding diligence and deal terms and respond
                                                               (0.4)

06/22/23     JCC                          .90        1,125.00 Emails with Latham team and potential bidders
                                                              regarding next steps (0.3); review potential sale
                                                              objections and proposed resolutions (0.2); telephone call
                                                              with Latham team regarding strategy sale process (0.2);
                                                              review emails regarding sale process status (0.2)

06/22/23     DCT                        2.20         2,607.00 Analyze Second Request from FTC (0.4); analyze files for
                                                              competitive sensitivity (0.8); assess bidder portfolio for
                                                              potential competitive significance around information
                                                              sharing (0.7); confer with team regarding competitive
                                                              sensitivity of files (0.3)

06/22/23     NTW                          .40          456 .00 Correspondence with Latham team regarding bidder
                                                               purchase agreements

06/22/23     JJW                        1.00         1,140.00 Draft notice regarding sale hearing adjournment (0.4);
                                                              incorporate comments to same (0.2); finalize same (0.2);
                                                              emails with Latham team regarding status of bids (0 .2)

06/22/23     TK                         1.80         1,917 .00 Review asset purchase agreement (0 .9); draft emails to
                                                               bidders regarding excluded estate claims (0.9)

06/22/23     SPM                        1.00           960 .00 Review bidder diligence requests for antitrust and
                                                               information sharing issues (0.6); email D. Tifft regarding
                                                               same (0.3)

06/22/23     LS                         1.60         1,704.00 Attend meeting with B. Kaplan, J. Kaw and S. Kim
                                                              regarding Disclosure Schedules (0.6); review and revise
                                                              Disclosure Schedules (1.0)

06/22/23     JWK                        3.40         2,397 .00 Prepare disclosure schedules for bidders (2 .6); meeting
                                                               with B. Kaplan regarding same (0.5); correspondence
                                                               with Latham team regarding same (0.3)

06/23/23     YM                         1.70         2,609 .50 Call with bidder and Huron regarding bid process (1.0) ;
                                                               call with potential bidder regarding same (0 .2) emails
                                                               with Latham team regarding communications to bidders
                                                               and NDA changes for potential bidder (0.5)


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06/23/23     KAR                        1.00         1,360.00 Prepare for and attend call with Jones Day regarding
                                                              FTC strategy and next steps (0.5); emails with Latham
                                                              team regarding same (0.5)

06/23/23     AS                         2.60         4,303.00 Video conference with Huron, Rothschild, Latham teams
                                                              regarding next steps with bidders (0.8); telephone
                                                              conference with L. Lluberas regarding same, Monster
                                                              engagement (0.4); telephone conference with potential
                                                              bidder regarding diligence questions and sources and
                                                              uses (1.0); telephone conference with Arizona facility
                                                              bidder regarding next steps (0.3) ; telephone conference
                                                              with J. Weichselbaum regarding same (0.1)

06/23/23     JLD                         .40           520.00 Joint defense and team communications regarding FTC
                                                              review process and next steps

06/23/23     BK                         5.00         7,675 .00 Telephone conference with Rothschild, Huron, Debtor
                                                               and Latham regarding open items, process and next
                                                               steps (0.5); telephone conference with D, Mun regarding
                                                               next steps (0.2); review potential bidder NDA (0.3);
                                                               telephone conference with T. Kim regarding open items
                                                               (0.1); telephone conference with potential bidder, C
                                                               Street, Huron and Latham regarding NDA (0 .5); review
                                                               and revise potential bidder NDA (0.4); telephone
                                                               conference with G . Metzger regarding foreign
                                                               subsidiaries considerations (0.9); review and consider
                                                               schedules and changes (1.1); further review and revise
                                                               NDA (0.1); attention to bidder comments and queries
                                                               (0.9)

06/23/23     JCC                         .80         1,000.00 Communications with potential bidders regarding sale
                                                              process

06/23/23     DCT                         .60           711.00 Meet with Jones Day to discuss advocacy to FTC (0.4);
                                                              confer with lenders regarding proposed submission to
                                                              FTC (0.2)

06/23/23     JJW                         .60           684 .00 Call with A. Sorkin and counsel to potential bidder to
                                                               discuss potential asset bid (0.3); email and
                                                               correspondence with parties in interest regarding sale
                                                               update (0.3)

06/23/23     TK                         2.70         2,875 .50 Revise non-disclosure agreement (0.4); review asset
                                                               purchase agreement regarding economic terms (2.3)

06/23/23     SPM                        1.20         1,152.00 Attend call with D. Tifft regarding matter update and
                                                              research question (0 .3); research second request legal
                                                              issue and draft email to D. Tifft regarding same (0 .9)

06/24/23     JCC                        1.30         1,625.00 Research and emails regarding potential bidder outreach
                                                              (0.8); review dataroom documents (0.5)

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06/25/23     YM                         .90         1,381.50 Emails with Latham team, Rothschild and Huron
                                                             regarding bids and diligence requests (0.3); call with
                                                             bidder regarding bid (0.6)

06/25/23     AS                         .60          993.00 Video conference with potential bidder advisors
                                                            regarding diligence questions

06/25/23     JCC                       1.90         2,375 .00 Prepare for and telephone call with potential purchaser
                                                              (1.0); Review seller data room documents (0.6); provide
                                                              data to potential bidders (0.3)

06/25/23     TK                        3.60        3,834.00 Review asset purchase agreement regarding economic
                                                            terms and material legal issues (2.8); draft memo
                                                            regarding same (0.8)

06/26/23     YM                        4 .60        7,061.00 Call with Latham team regarding bids (0 .5); call with
                                                             lender and UCC counsel regarding FTC analysis (1.0);
                                                             calls with Pachulski regarding FTC analysis (1.7);
                                                             attention to emails regarding bids and review bid
                                                             submissions (1.4)

06/26/23     AQ                         .60          816.00 Telephone conference with J. Celentino, A. Sorkin, D.
                                                            Mun and K. Rocco regarding APA and strategy

06/26/23     KAR                       6.50         8,840 .00 Attention to FTC investigation and related strategy (1.5);
                                                              prepare for and attend update calls with Latham
                                                              antitrust team (1.0); prepare for and attend calls with
                                                              Latham teams to discuss revised bids (1.5); prepare for
                                                              and attend calls with Jones Day and R. Pachulski to
                                                              discuss APA negotiations and related issues (1.5);
                                                              correspondence and coordination with Debtor, bankers
                                                              and lenders regarding same (1.0)

06/26/23     AS                        7.30       12,081.50 Correspondence with bidder regarding bid (0.1); review
                                                            bids and compile issues list (2 .3); calls with K. Rocco, D.
                                                            Mun regarding bids and next steps with FTC (1.0); calls
                                                            with L. Lluberas, E. Chafetz, R. Pachulski regarding
                                                            same (0.7); video conference with MVA, Lowenstein,
                                                            Latham regarding FTC engagement (1.1); conference
                                                            with Pachulski regarding bids and next steps (1.3);
                                                            telephone conference with G. Metzger regarding bids
                                                            (0.2); conference call with L. Burton, J. Celentino, J .
                                                            W eichselbaum regarding next steps in sales process
                                                            (0.3); correspondence with Pachulski regarding same
                                                            (0.3)

06/26/23     JLD                       3.70        4,810 .00 Latham team communications related to antitrust review
                                                             and bids status (0.4); review new bid documents in
                                                             connection with antitrust review (0.7); call with Debtor
                                                             and lender team regarding bids and antitrust process
                                                             (1.2) ; joint defense call with potential buyer regarding

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                                                                next steps for FTC review (1.4)

06/26/23     BK                         2.50         3,837.50 Review proposals (1.1); attend telephone conference
                                                              with D. Mun, K. Rocco, A. Sorkin, A. Quartarolo, J .
                                                              Celentino and J. Weichselbaum regarding bids (0.8);
                                                              review bidder NDAs and consider FTC interactions (0.4);
                                                              follow up with Huron regarding financial model and
                                                              related considerations (0 .2)

06/26/23     YLB                          .50          625 .00 Call with S. Parkhurst, J . Celentino, J. Weichselbaum, J .
                                                               Kang and others from Huron, Latham and Rothschild
                                                               teams regarding sale status and strategy

06/26/23     JCC                        4.50         5,625.00 Review incoming bids and APA drafts (0.4); telephone
                                                              call with Latham team regarding incoming proposals
                                                              and next steps (0.6); telephone call with lenders and
                                                              UCC regarding incoming proposals (1.0); telephone call
                                                              with potential bidder regarding incoming proposals
                                                              (1.0); telephone call with Latham teams regarding next
                                                              steps (0.7); correspondence with Latham and Berger
                                                              Singerman teams regarding bid process (0.8); telephone
                                                              call with Debtor regarding IP question (0 .1); telephone
                                                              call with Latham team and financial advisors regarding
                                                              sale process and legal strategy (0.5)

06/26/23     DCT                        2.90         3,436.50 Meet with Latham team to discuss sufficiency of bids
                                                              (0.5); meet with lenders to discuss sufficiency of bids
                                                              (0.7); meet with Monster's counsel to discuss sufficiency
                                                              of proposals and next steps (0.7); analyze precedent
                                                              regarding Second Requests in bankruptcy context (0.6);
                                                              analyze company financial information on liquidation
                                                              value for use in arguments to FTC (0.4)

06/26/23     JJW                        3.40         3,876.00 Call with A. Sorkin, D. Mun, B. Kaplan, K. Rucco, J.
                                                              Celentino regarding proposals (0.7); call with Latham,
                                                              MV A, Lowenstein teams to discuss proposals received
                                                              (1.1); call with Huron and Rothschild team to discuss
                                                              proposals (0.5); call with Latham and Berger Singerman
                                                              teams to discuss status of sale and next steps (0.6); revise
                                                              sale documents (0 .3)

06/26/23     NAG                          .50          415 .00 Telephone conference with Latham team to discuss
                                                               closing of sale

06/26/23     TK                           .70          745 .50 Review non-disclosure agreement (0.2); revise asset
                                                               purchase agreement (0.5)

06/26/23     LS                           .50          532.50 Attend call with Latham team regarding deal update

06/26/23     JLT                          .50          532.50 Call with Latham team regarding APA


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06/27/23     JCE                         .10           143 .50 Correspondence with Debtor regarding deed and
                                                               owner's affidavit

06/27/23     YM                         5.10         7,828 .50 Call with bidder regarding bid terms (0 .5); call with
                                                               MV A, Lowenstein and Latham team regarding FTC
                                                               issues (1.3); call with Huron and Rothschild regarding
                                                               FTC proposals (0.4) ; call with MVA, Lowenstein and
                                                               Latham team regarding FTC call (0.3); call with FTC
                                                               regarding bids and deal process (1.0) ; call with Latham
                                                               team regarding APA revisions (0.4); review and revise
                                                               APA (0.5); emails with Latham team and Debtor
                                                               regarding DIP budget and FTC information requests
                                                               (0.7)

06/27/23     YM                          .40           614 .00 Call with MVA and Lowenstein teams regarding FTC
                                                               process

06/27/23     KAR                        6.30         8,568 .00 Prepare for and attend call with lenders regarding FTC
                                                               matters (1.0); prepare for and attend follow-up call with
                                                               lenders (0.5); plan and prepare for FTC zoom meeting
                                                               (1.0); attend zoom meeting with FTC, A. Sorkin and D.
                                                               Mun (1.0); follow-up call with FTC to discuss bids (0 .5);
                                                               calls and coordination with Jones Day on antitrust
                                                               matters (0.8); call with FTI, Lowenstein and lender's
                                                               antitrust counsel (1.0); correspondence regarding
                                                               antitrust matters with client, lenders, FTC and Latham
                                                               team (0 .5)

06/27/23     AS                         8.50        14,067.50 Correspondence with K. Rocco regarding antitrust
                                                              considerations (0 .1); video conference with lender
                                                              advisors regarding FTC, next steps (1.3); telephone
                                                              conference with K. Rocco, D. Mun regarding same (0.2);
                                                              video conference with lender, committee advisors
                                                              regarding bid status and FTC (0 .6); video conference
                                                              with FTC attorneys, K. Rocco, D . Mun regarding second
                                                              request (1.0); follow up telephone conferences with L.
                                                              Lluberas, D . Mun, K. Rocco (0.5); video conference with
                                                              Monster regarding APA finalization (0.7);
                                                              correspondence with D. Mun, board regarding
                                                              termination event change (0.4); review budget to bridge
                                                              to closing (0.2); video conference with Huron regarding
                                                              same (0.5); telephone conference with E. Chafetz
                                                              regarding bids (0.2); video conference with UCC
                                                              advisors regarding same (0.6); review APA tum and
                                                              other documents (1.8); telephone conference with R.
                                                              Pachulski regarding same (0.4)

06/27/23     JLD                        1.20         1,560.00 Calls and communications with lenders, Debtor, Latham
                                                              team regarding FTC engagement and next steps (0 .9);
                                                              attend joint defense call (0.3)


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06/27/23     YLB                        1.80         2,250 .00 Call with Huron, Rothschild, and Latham teams
                                                               regarding sale transaction, FTC approvals and next
                                                               steps (0.8); prepare for and attend call with J Celentino,
                                                               J Weichselbaum, N Gulati and R Presley regarding APA
                                                               and sale order documents and revisions thereto (0.4);
                                                               review and revise and update sale order and related
                                                               notice (0.6)

06/27/23     JCC                        8.60        10,750.00 Correspondence with Latham team regarding antitrust
                                                              issues (0.3); telephone calls with Latham team and
                                                              Debtor regarding next steps (1.1); telephone call with
                                                              Latham team regarding filing documents (0.2); review
                                                              revised APA draft and associated documents (0 .5);
                                                              review filings supporting revised APA (2.8); finalize
                                                              filings related to sale (3 .2); telephone calls with Latham
                                                              team regarding same (0.5)

06/27/23     DCT                        5.00         5,925.00 Meet with Debtor to discuss status of FTC advocacy
                                                              (0.5) ; meet with lenders to discuss status of FTC
                                                              advocacy (1.5); meet with Jones Day to discuss advocacy
                                                              to FTC (0.5); analyze information regarding liquidation
                                                              value to assist with FTC interactions (0.4); analyze
                                                              precedent on Second Requests in bankruptcy sales (0.5);
                                                              draft submission to FTC regarding bid process (1.4);
                                                              suggest edits to Notice of Auction cancellation (0.2)

06/27/23     JJW                        5.80         6,612 .00 Participate in call with Latham, Berger Singerman,
                                                               Huron and Rothschild team to discuss bids and status of
                                                               sale process (0.8); participate in call with J. Celentino, L.
                                                               Burton, N. Gulati and R. Presley to discuss status of sale
                                                               process (0.3); review comments to APA (0.3); review
                                                               revised notice of successful bidder (0.2); revise the same
                                                               (0.3) ; revise settlement term sheet and related motion
                                                               (0.7) ; review revised sale order (0.4); comment on same
                                                               (0.3); review notice of revised sale order (0.2); comment
                                                               on same (0.2); revise notice of successful bidder to
                                                               incorporate comments (0 .2); review comments to 9019
                                                               settlement motion (0.4); review Latham comments to
                                                               APA (0.2); call with Latham and Huron teams to discuss
                                                               budget in connection with sale and case status (0.6)

06/27/23     NAG                        1.40         1,162.00 Telephone conference with Latham team discussing
                                                              filing preparation (0.3) ; prepare sale documents for filing
                                                              (1.1)

06/27/23     TK                         2.40         2,556.00 Review and revise asset purchase agreement

06/27/23     SPM                        1.40         1,344.00 Research legal question about second request
                                                              compliance (1.1); email D. Tifft regarding same (0.3)

06/27/23     RAP                        3.10         2,185.50 Update relevant documents in preparation for signing of

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                                                             the asset purchase agreement (2.6); teleconference with
                                                             J. Celentino, L. Burton, J. Weichselbaum, and N . Gulati
                                                              regarding preparation for signing (0.5)

06/27/23     JLT                        .50          532.50 Attend conference with Latham team regarding sale
                                                            process

06/27/23     JWK                        .70          493 .50 Update disclosure schedules and exhibits (0.2);
                                                             correspondence with Latham team regarding same (0.2)

06/28/23     YM                        5.80        8,903 .00 Email correspondence with Latham team, Huron,
                                                             Rothschild, MV A and Lowenstein regarding FTC
                                                             engagement, bids and Monster APA (0.5); call with
                                                             Rothschild regarding bid (0.4); call with MVA and
                                                             Lowenstein regarding FTC update (0.5); call with Huron
                                                             and Rothschild team regarding FTC update and process
                                                             (0.5) ; review revisions to APA and emails with Latham
                                                             team regarding same and attention to emails regarding
                                                             disclosure schedules, 9019 settlement and sale order
                                                             (1.4); calls with Latham and Pachulski team regarding
                                                             APA and court hearing (0.4); call with Huron regarding
                                                             APA changes (0.3); attention to emails with Latham team
                                                             and Debtor regarding APA signing, FTC matters and bid
                                                             (1.8)

06/28/23     KAR                       2.50        3,400.00 Prepare for and attend update call with lenders (0.5);
                                                            prepare for and attend calls with FTC (1.0) ; prepare for
                                                            and attend calls with Latham teams regarding sale (1.0)

06/28/23     AS                        7.00       11,585.00 Correspondence with D. Mun regarding scheduling
                                                            (0.3); correspondence with bidders regarding next steps
                                                            (0.2); telephone conference with J . Arrastia, D. Mun
                                                            regarding bidder issues (0.3); telephone conference with
                                                            K. Rocco regarding FTC matters (0.2); video conference
                                                            with MVA, K. Rocco regarding same (0 .5); telephone
                                                            conferences with D. Mun regarding finalization of
                                                            documents (0.5); telephone conference with J. DiDonato
                                                            regarding APA (0.4); telephone conference with I.
                                                            Kharasch regarding APA (0.4); telephone conferences
                                                            with C. Delo, L. Lluberas regarding bids and Monster
                                                            status (1.3); finalize and file Monster documents, related
                                                            notices, and telephone conference with J. Weichselbaum
                                                            regarding same (2.4); telephone conference with MVA,
                                                            Lowenstein, FTI, Lincoln, Huron regarding wind-down
                                                            matters (0.5)

06/28/23     JLD                        .80         1,040.00 Review updates from FTC engagement (0.4); review
                                                             draft filings and communications about same (0.4)

06/28/23     YLB                       3.30        4,125 .00 Review and revise sale notice, sale order, 9019 motion
                                                             and APA and prepare same for filing (2.8); calls and

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                                                                correspondences with J. Weichselbaum, R. Presley and
                                                                N . Gulati regarding same (0 .5)

06/28/23     JCC                        1.60         2,000 .00 Finalize filings regarding potential bidder APA

06/28/23     DCT                          .90        1,066.50 Analyze Board minutes for potential use in FTC process
                                                              (0.5); confer with team regarding strategy for
                                                              interactions with FTC (0.4)

06/28/23     NTW                          .80          912 .00 Correspondence with team regarding signing and IP
                                                               (0.3); review comments to IP (0.3); summarize the same
                                                               (0.2)

06/28/23     JJW                        3.40         3,876.00 Participate in call with L. Burton, N. Gulati and R.
                                                              Presley to discuss sale status and filings (0.4); review and
                                                              finalize notice of successful bidder (0.4); review and
                                                              finalize sale order (0.6) ; coordinate filings of various sale
                                                              related documents (1.4); call with Latham and Huron
                                                              teams to discuss final APA and settlement agreement
                                                              (0.4)

06/28/23     TK                         4.30         4,579.50 Review and revise asset purchase agreement

06/28/23     RAP                        2.80         1,974.00 Update relevant documents in preparation for signing of
                                                              the asset purchase agreement (1.8); compile filing
                                                              versions of documents (1.0)

06/28/23     LS                         1.80         1,917 .00 Finalize Disclosure Schedules

06/28/23     JWK                        3.30         2,326 .50 Finalize sale documents for signing

06/29/23     GM                           .50          680.00 Analyze Monster counsel requested edits to IP
                                                              assignment agreement (0.3); correspond with Latham
                                                              team regarding same (0.2)

06/29/23     YM                         2.70         4,144 .50 Emails with Latham team regarding conversion order,
                                                               FTC matters and board minutes (0.8); call with Huron
                                                               and Rothschild regarding deal update (0.3); call with
                                                               MVA and Lowenstein regarding TC process (0.8);
                                                               review email to bidder (0 .2)

06/29/23     AQ                           .40          544.00 Review and revise correspondence regarding bids (0.3);
                                                              email A. Sorkin and K. Rocco regarding same (0.1)

06/29/23     KAR                        4.50         6,120.00 Prepare for and attend call with lenders to discuss bids
                                                              (1.0); prepare for and attend calls with M. Delrahim, I.
                                                              Conner and M. Egge to discuss failing firm defense (1.0);
                                                              prepare for and attend calls with FTC regarding Second
                                                              Request and failing firm defense (1.0); calls and
                                                              coordination with Jones Day regarding same (1.0); calls
                                                              regarding strategy with A. Sorkin and D. Mun (0 .5)


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06/29/23     AS                         1.60         2,648 .00 Video conference with MVA, D. Mun, K. Rocco
                                                               regarding response to bidder inquiry (0.8); prepare
                                                               response to same (0.4); further correspondence
                                                               regarding sale process and next steps (0.4)

06/29/23     AS                          .50           827 .50 Calls with K. Rocco regarding FTC status

06/29/23     JLD                        1.30         1,690.00 Advance engagement with FTC and communications
                                                              about same (0.5); review articles and bankruptcy filings
                                                              related to antitrust process (0.8)

06/29/23     JCC                        1.30         1,625.00 Telephone call with debtor legal and financial advisors
                                                              regarding sale process status and legal strategy (0.3);
                                                              correspondence with Latham team regarding sale-
                                                              related motions (0.4); review IP assignment agreement
                                                              proposed change and correspondence regarding same
                                                              (0.3) ; correspondence with Stretto regarding service and
                                                              hearing scheduling (0 .3)

06/29/23     DCT                        2.10         2,488 .50 Meet with KL Discovery team to discuss new database
                                                               for Latham individuals (0.4); meet with bidder and
                                                               Debtor to discuss NDA and Clean Team Addendum
                                                               (0.6); analyze Board Minutes for potential production to
                                                               FTC (0.3); confer with FTC regarding status of
                                                               bankruptcy process (0.2); confer with Debtor regarding
                                                               status of FTC process (0.3); confer with Latham team
                                                               regarding strategy for interactions with FTC (0.3)

06/29/23     NTW                        1.40         1,596.00 Correspondence with team regarding IP assignment
                                                              agreement (0 .5); review and revise the same (0.9)

06/29/23     JJW                        1.20         1,368.00 Correspond with creditors regarding status of sale (0.3):
                                                              participate in call with J. Celentino and contract
                                                              counterparty regarding status of sale (0.5) ; correspond
                                                              with lien claimant and Huron regarding vehicle liens in
                                                              connection with sale (0.2); correspond with Berger
                                                              Singerman regarding sale hearing notice (0.2)

06/30/23     YM                         2.40         3,684.00 Emails with Latham, Huron and C Street teams
                                                              regarding communications plan and FTC process (0.3);
                                                              emails and calls with Latham, MV A and Lowenstein
                                                              regarding updated bid, FTC process, JHO resolution and
                                                              Monster APA revisions (2.1)

06/30/23     KAR                        5.80         7,888 .00 Prepare for and attend calls with FTC (1.0); prepare for
                                                               and attend calls with Jones Day (1.0); prepare for and
                                                               attend calls with Latham team regarding same (1.0);
                                                               emails with Latham team and Debtor regarding same
                                                               (1.0) ; attention to FTC advocacy and related antitrust
                                                               matters (1.0); prepare certification materials for
                                                               compliance with Second Request (0.5); review letters

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                                                             from FTC (0.3)

06/30/23     AS                         .80         1,324.00 Telephone conference with E. Chafetz regarding sale
                                                             process and FTC (0.4); correspondence with D. Mun, K.
                                                             Rocco, Pachulski regarding FTC matters (0.4)

06/30/23     JLD                        .90         1,170.00 Advance negotiations and communications with FTC

06/30/23     BK                        1.70         2,609.50 Review APA and disclosure schedules

06/30/23     YLB                        .50          625 .00 Correspond with J . Weichselbaum and J . Celentino
                                                             regarding sale reply and sale matters

06/30/23     JCC                        .70          875.00 Correspondence with Latham regarding FTC and sale
                                                            process next steps (0.2); revise notice of adjournment of
                                                            auction and announcement of successful bidder (0 .5)

06/30/23     DCT                       3.30        3,910.50 Prepare substantial compliance certificate for execution
                                                            (0.3); confer with Debtor regarding substantial
                                                            compliance certificate (0 .2); coordinate final substantial
                                                            compliance and early termination procedures (1.1);
                                                            confer with Jones Day regarding early termination and
                                                            substantial compliance (0.3); analyze prior FTC
                                                            correspondence to assist with litigation involving J.
                                                            Owoc (1.4)

06/30/23     JJW                        .80          912.00 Call with landlord counsel regarding status of sale (0.3);
                                                            call with lien claimant regarding status of liens in
                                                            connection with sale (0.3); review sale hearing notice
                                                            (0.2)

06/30/23     JWK                       1.10          775.50 Review and revise closing checklist



Attorney:

CA Reckler                      .80     Hrs.@       $ 1,850.00/hr.             $1,480.00
A Sorkin                    123.60      Hrs.@       $ 1,655.00/hr.          $ 204,558.00
YMun                        154.03      Hrs.@       $ 1,535.00/hr.          $ 236,432.61
J Friedman                     7.50     Hrs.@       $ 1,495.00/hr.            $11,212.50
N Alkhas                       4.40     Hrs.@       $ 1,460.00/hr.             $6,424.00
JC Elliott                   59.00      Hrs.@       $ 1,435.00/hr.            $84,665.00
JB Haas                        4.90     Hrs.@       $ 1,390.00/hr.             $6,811.00
CH Norton                      4.80     Hrs.@       $ 1,390.00/hr.             $6,672.00
R Blamires                     2.30     Hrs.@       $ 1,360.00/hr.             $3,128.00
G Mahmood                    24.90      Hrs.@       $ 1,360.00/hr.            $33,864.00

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A Quartarolo                    10.80     Hrs.@       $ 1,360.00/hr.           $14,688.00
KA Rocco                       94.00      Hrs.@       $ 1,360.00/hr.          $127,840.00
PM Todaro                        1.70     Hrs.@       $ 1,620.00/hr.            $2,754.00
B Kaplan                      182.30      Hrs.@       $ 1,535.00/hr.          $ 279,830.50
HK Murtagh                       3.40     Hrs.@       $ 1,460.00/hr.            $4,964 .00
AS Blanco                        8.10     Hrs.@       $ 1,335.00/hr.           $10,813.50
J L Daniels                    31.30      Hrs.@       $ 1,300.00/hr.           $40,690.00
A Beach                          3.60     Hrs.@       $ 1,250.00/hr.            $4,500.00
Y L Burton                     25.90      Hrs.@       $ 1,250.00/hr.           $32,375.00
J C Celentino                  82.20      Hrs.@       $ 1,250.00/hr.          $102,750.00
K D Ritter                     24.10      Hrs.@       $ 1,250.00/hr.           $30,125.00
L Kutilek                        7.00     Hrs.@       $ 1,205.00/hr.            $8,435.00
DC Tifft                       88.90      Hrs.@       $ 1,185.00/hr.          $ 105,346.50
NT Wages                      101.00      Hrs.@       $ 1,140.00/hr.          $ 115,140.00
J J Weichselbaum               83.50      Hrs.@       $ 1, 140.00/hr.          $95,190.00
Y DeNiro                         2.00     Hrs.@       $ 1,130.00/hr.            $2,260.00
TKim                           96.20      Hrs.@       $ 1,065.00/hr.          $102,453.00
L Sievert                      79.60      Hrs.@       $ 1,065.00/hr.           $84,774.00
J L Teresi                       5.30     Hrs.@       $ 1,065.00/hr.            $5,644.50
SP Mulloy                        3.60     Hrs.@        $ 960.00/hr.             $3,456.00
E J Sachs                        3.00     Hrs.@        $ 960.00/hr.             $2,880.00
NA Gulati                        5.80     Hrs.@        $ 830.00/hr.             $4,814.00
KKKim                           11.20     Hrs.@        $ 830.00/hr.             $9,296 .00
RA Presley                     25.20      Hrs.@        $ 705.00/hr.            $17,766.00
J Wexler                          .90     Hrs.@        $ 705.00/hr.               $ 634.50
                            1,366.83                                        $1,804,666.61

Other:

JWKow                          73.20      Hrs.@        $ 705.00/hr.            $51,606.00
                               73.20                                           $51,606.00

GRAND TOTAL:                1,440.03                                        $ 1,856,272.61




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06/08/23     HKM                        .40         584 .00 Call with J . Weichselbaum regarding Owoc lift-stay
                                                            motion (0.2); correspondence with local counsel regarding
                                                            same (0 .2)

06/09/23     JJW                        .40         456.00 Review Owoc stay motion

06/12/23     HKM                        .30         438.00 Discuss response to Owoc lift-stay motion with J.
                                                           Weichselbaum

06/12/23     JJW                        .80         912 .00 Call with H . Murtagh to discuss response to Owoc stay
                                                            motion (0.2); review documents in connection with same
                                                            (0.6)

06/19/23     JJW                       1.10       1,254.00 Draft objection to Owoc stay motion (0.6); research
                                                           relating to same (0.5)

06/20/23     HKM                        .30         438.00 Review lift-stay opposition

06/20/23     JJW                       4.40       5,016.00 Research issues relating to stay motion (1.4); draft
                                                           objection to stay motion (2.6); review Owoc stay motion
                                                           and related complaint (0.4)

06/21/23     JJW                       1.70       1,938.00 Revise objection to stay motion (0.6); review cases in
                                                           connection with same (0.5); discuss with H. Murtagh (0.3);
                                                           review revised objection (0 .3)

06/22/23     JJW                        .60         684.00 Emails with Latham team regarding stay relief request
                                                           (0.2); review cease and desist letter (0.2); discuss with
                                                           Latham and Huron teams (0 .2)

06/23/23     JJW                        .40         456 .00 Research regarding objection to stay motion

06/24/23     AS                         .40         662 .00 Correspondence with H. Murtagh, A. Quartarolo
                                                            regarding lift stay and other Owoc matters

06/24/23     JJW                        .90       1,026.00 Research issues relating to stay motion

06/25/23     AQ                         .50         680 .00 Telephone conference with A. Devore, H . Murtagh, and
                                                            A. Sorkin regarding lift stay motion

06/25/23     AS                         .40         662 .00 Video conference with Ropes, Latham teams regarding
                                                            director action lift stay

06/25/23     HKM                        .30         438.00 Call with J . Weichselbaum regarding lift-stay motion

06/25/23     JJW                       3.10       3,534.00 Call with counsel to directors and Latham and Berger
                                                           Singerman teams regarding Owoc stay motion (0.5);
                                                           research issues relating to Owoc stay motion (1.2); revise
                                                           objection to Owoc stay motion (1.4)

06/26/23     HKM                        .70       1,022.00 Revise opposition to lift-stay


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06/26/23     JJW                       1.40       1,596.00 Research issues relating to Owoc stay motion (0.1); revise
                                                           objection to Owoc stay motion (0.1)

06/21123     HKM                       3.10       5,402 .00 Review documents regarding Owoc state-court complaint,
                                                            opposition to lift-stay (0.4); call with J. Weichselbaum
                                                            regarding same (0.4); meet and confer with Owoc counsel
                                                            regarding deposition, discovery (0.5); revise to lift-stay
                                                            objection (2.4)

06/21/23     JJW                       3.80       4,332 .00 Call with H . Murtagh regarding Owoc stay motion (0.4);
                                                            review research on objection to say motion (0.3); review
                                                            objection to Owoc stay motion to incorporate feedback
                                                            (1.2); review comments from H . Murtagh to objection to
                                                            lift stay motion (0.1) ; research issues relating to same (0.4);
                                                            revise objection to incorporate comments (0 .8)

06/28/23     AQ                         .40         544 .00 Review stay relief objection (0 .3); email J . Weichselbaum
                                                            regarding same (0 .1)

06/29/23     AQ                        1.30       1,168.00 Review and revise objection to lift stay motion (1.2); email
                                                           J. Weichselbaum regarding same (0.1)

06/30/23     AQ                        2.60       3,536.00 Review and revise objection to lift stay motion (2.4); email
                                                           with J. Weichselbaum regarding same (0.2)

06/30/23     JJW                        .40         456.00 Review comments to stay objection (0.4)



Attorney:

A Sorkin                        .80     Hrs.@       $ 1,655.00/hr.             $1,324.00
A Quartarolo                   4.80     Hrs.@       $ 1,360.00/hr.             $6,528.00
HK Murtagh                     5.10     Hrs.@       $ 1,460.00/hr.             $8,322.00
J J Weichselbaum              19.00     Hrs.@       $ 1,140.00/hr.           $21,660.00
                             30.30                                           $37,834.00




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06/01/23     DTG                        1.00       1,360.00 Correspondence with G. Metzger regarding D&O
                                                            insurance

06/01/23     AQ                           .20        272 .00 Email A. Sorkin and D . Gardiner regarding insurance

06/02/23     YM                           .10        153 .50 Emails with Huron regarding accounts receivable

06/02/23     AS                         1.00       1,655.00 Telephone conference with A. Gupta regarding
                                                            receivables

06/03/23     JCC                          .10        125.00 Emails regarding insurance issues

06/05/23     DTG                          .60        816 .00 Correspondence with Debtors regarding D&O coverage
                                                             (0.3); conference call with A. Gupta and broker team
                                                             regarding same (0.3)

06/05/23     JCC                          .30        375.00 Emails regarding business operations

06/06/23     YM                           .20        307 .00 Call with Huron regarding purchase orders and other
                                                             economic items

06/08/23     DTG                          .40        544.00 Correspondence with A. Sorkin regarding D&O coverage

06/10/23     DTG                          .20        272 .00 Confer with A. Sorkin regarding D&O coverage

06/11/23     DTG                          .20        272 .00 Correspondence with Debtors regarding D&O coverage

06/11/23     BK                         1.20       1,842.00 Video conference with Huron, company and Latham
                                                            regarding distributor considerations

06/12/23     DTG                          .80      1,088.00 Prepare for and participate in conference call with Debtors
                                                            regarding D&O coverage issues (0.5); correspondence
                                                            with broker regarding same (0.3)

06/12/23     YM                           .80      1,228.00 Call with Huron, Monster, Pachulski and Rothschild
                                                            regarding operational items

06/13/23     DTG                          .50        680.00 Correspondence with Huron and A. Sorkin regarding
                                                            D&O coverage (0.2); review correspondence from
                                                            directors' counsel (0.1); correspondence with broker
                                                            regarding same (0.2)

06/13/23     YM                         1.50       2,302.50 Call with Latham team regarding distributor matters (0.3);
                                                            review Huron S&U table and emails regarding same (0 .2);
                                                            review distributor agreements and calls (1.0)

06/13/23     AS                           .70      1,158.50 Review distributor contracts and correspondence with
                                                            Huron regarding same

06/13/23     BK                           .80      1,228.00 Review distributor agreement and consider issues (0.3);
                                                            video conference with D. Mun regarding distributor
                                                            contracts (0.5)

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06/13/23     JWK                        4 .70      3,313 .50 Review distribution agreements (3.9) ; meeting with B.
                                                             Kaplan and L. Sievert regarding same (0 .5); attend to
                                                             correspondence regarding same (0.3)

06/14/23     DTG                          .40        544.00 Confer with A. Sorkin regarding D&O and EPL coverage
                                                            issues

06/14/23     YM                         1.00       1,535.00 Call with Huron and Debtor regarding various operational
                                                            matters

06/14/23     BK                         5.10       7,828.50 Telephone conference with Briddge (Dutch counsel),
                                                            Huron, company and Latham regarding Netherlands wind
                                                            down (0 .5); telephone conferences with S. Parkhurst
                                                            regarding distributor analysis (0.6); telephone conference
                                                            with L. Sievert regarding distributor analysis (0.3); review
                                                            and revise distributor analysis (1.1); review distributor
                                                            contracts (0.8); telephone conference with A, Sorkin
                                                            regarding distributor contract analysis (0 .3); video
                                                            conference with J. Gusa and A. Sorkin regarding FL law
                                                            considerations in distributor agreements (0.3); telephone
                                                            conference with L. Sievert regarding distributor analysis
                                                            (0.1); review and revise distributor summary and cover
                                                            note (0.8); telephone conference with L. Sievert regarding
                                                            same (0 .3)

06/14/23     KKK                        1.80       1,494.00 Review management discussion materials

06/15/23     DTG                        1.00       1,360.00 Review correspondence from broker regarding D&O
                                                            coverage (0.2); confer with A. Sorkin regarding same (0.3);
                                                            correspondence regarding D&O coverage for new director
                                                            (0.5)

06/15/23     KAR                        1.30       1,768.00 Discuss Bang recast financials and review related
                                                            materials (1.0); emails with Latham team regarding same
                                                            (0.3)

06/15/23     BK                           .50        767 .50 Telephone conference with Huron and Latham regarding
                                                             distributor analysis

06/16/23     DTG                          .40        544 .00 Review draft endorsement to insurance policy (0.2); confer
                                                             with broker regarding revisions to same and addition of
                                                             new director to policy (0 .2)

06/17/23     DTG                          .20        272.00 Correspondence with Debtors regarding D&O coverage
                                                            for new director

06/17/23     AQ                           .30        408.00 Email with A. Sorkin regarding insurance issues

06/19/23     DTG                          .20        272.00 Correspondence with broker regarding coverage under
                                                            insurance policy

06/21/23     DTG                          .20        272.00 Correspondence with broker regarding D&O coverage

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06/21/23       AQ                         1.00       1,360.00 Telephone conference with J . Gusa, G . Metzger and S.
                                                              McPherran regarding IT inquiries (0.5); telephone
                                                              conference with G. Metzger regarding same (0.2) ; email S.
                                                              McPherran regarding same (0.3)

06/22/23       DTG                          .80      1,088.00 Correspondence and conference call with broker and G.
                                                              Metzger regarding D&O coverage issues

06/22/23       AS                           .20        331.00 Video conference with C-Street regarding
                                                              employee/distributor matters

06/27 /23      DTG                          .30        408.00 Review correspondence regarding D&O insurance policy
                                                              (0.1); confer with A. Sorkin and A. Quartarolo regarding
                                                              same (0.2)

06/27/23       YM                           .50        767 .50 Call with Huron and Latham teams regarding operating
                                                               budget

06/27/23       JCC                          .50        625.00 Telephone call with Huron team regarding projections

06/28/23       DTG                        1.20       1,632.00 Review correspondence with Huron, G . Metzger and
                                                              broker regarding additional D&O coverage (0.5) ;
                                                              telephone call and emails with P. Welsh regarding D&O
                                                              coverage (0.2) ; analyze coverage under D&O policies (0.5)



Attorney:

A Sorkin                          1.90     Hrs.@        $ 1,655.00/hr.             $3,144.50
YMun                              4.10     Hrs.@        $ 1,535.00/hr.             $6,293.50
D T Gardiner                      8.40     Hrs.@        $ 1,360.00/hr.            $11,424.00
A Quartarolo                      1.50     Hrs.@        $ 1,360.00/hr.             $2,040.00
KA Rocco                          1.30     Hrs.@        $ 1,360.00/hr.             $1,768.00
B Kaplan                          7.60     Hrs.@        $ 1,535.00/hr.            $11,666 .00
J C Celentino                      .90     Hrs.@        $ 1,250.00/hr.             $1,125.00
KKKim                             1.80     Hrs.@         $ 830.00/hr.              $1,494.00
                                27.50                                             $38,955.00

Other:

JWKow                             4.70     Hrs.@         $ 705.00/hr.              $3,313.50
                                  4.70                                             $3,313.50

GRAND TOTAL:                    32.20                                             $42,268.50


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06/01/23     AS                        1.30       2,151.50 Attend daily professionals call (0.6); video conference with
                                                           L. Burton, J . Celentino, J. Weichselbaum regarding work
                                                           in progress (0.7)

06/01/23     HKM                        .50         730.00 Attend work in progress call with Latham team

06/01/23     YLB                        .30         375.00 Prepare for and attend CTO call

06/01/23     JCC                        .60         750.00 Revise work in progress tracker to account for recent
                                                           process updates

06/01/23     JJW                        .40         456.00 Participate in update call with Latham and Berger
                                                           Singerman teams

06/01/23     JLT                        .30         319.50 Attend work in progress call

06/02/23     AS                         .30         496.50 Attend daily professionals' call regarding work in progress

06/02/23     YLB                        .40         500.00 Prepare for and attend CTO call

06/05/23     YM                         .60         921.00 Participate in professionals call

06/05/23     AS                         .60         993 .00 Attend daily professionals' meeting with Huron,
                                                            Rothschild, Latham teams

06/05/23     BK                         .80       1,228.00 Attend professional advisors call regarding work in
                                                           progress

06/05/23     JCC                       1.20       1,500.00 Telephone call with debtor legal and financial advisors
                                                           regarding legal and strategy updates (0.5); review work in
                                                           progress tracker (0.1); prepare for telephone call with
                                                           Latham team regarding work in progress (0.1); telephone
                                                           call with Latham team regarding work in progress (0.5)

06/05/23     JJW                        .80         912.00 Participate in team update call (0.5); call with N. Gulati to
                                                           discuss status of matter (0 .3)

06/05/23     NAG                       1.30       1,079.00 Update works in process list (0.7); attend work in progress
                                                           telephone conference discussing case updates (0.3);
                                                           telephone conference with J. Weichselbaum discussing
                                                           case updates (0.3)

06/05/23     RAP                        .40         282.00 Prepare for and attend internal call with J. Teresi, L.
                                                           Burton, J. Weichselbaum, W . Morley, E. Morris, and N .
                                                           Gulati regarding case updates

06/05/23     JL T                       .50         532.50 Attend work in progress call

06/06/23     AS                         .50         827 .50 Attend daily professionals' call regarding work in progress

06/06/23     BK                         .80       1,228.00 Attend professionals call (0.5); attend advisor check in call
                                                           (0.3)

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06/07/23     AS                           .80      1,324 .00 Attend daily professionals' call regarding work in progress

06/07/23     BK                           .80      1,228.00 Attend professionals call

06/07/23     JCC                        1.00       1,250.00 Review and revise work in progress tracker (0.5); confer
                                                            with Latham team regarding status of particular work
                                                            streams and establish work plan (0.5)

06/08/23     AQ                         1.00       1,360.00 Review work in progress list (0.1); attend call with Berger
                                                            Singerman, Rothschild and Huron regarding status and
                                                            strategy (0.5); attend call with team regarding same (0.4)

06/08/23     AS                           .50        827 .50 Attend daily professionals' call regarding work in progress

06/08/23     HKM                          .60        876 .00 Attend work in progress call with Latham team

06/08/23     JCC                          .60        750.00 Telephone call with Debtor financial and legal advisors
                                                            regarding sale process and legal strategy

06/08/23     JCC                          .90      1,125.00 Review case calendar and work in progress tracker (0.3);
                                                            telephone call with Latham and Berger Singerman teams
                                                            regarding work in progress (0.6)

06/08/23     JJW                          .30        342.00 Participate in Latham team update call

06/08/23     NAG                        1.10         913 .00 Update work in progress list (0.6); attend work in progress
                                                             telephone call (0.5)

06/08/23     JWM                          .70        745 .50 Attend weekly work in progress call

06/08/23     RAP                          .50        352.50 Prepare for and attend internal call regarding case
                                                            updates

06/08/23     JLT                          .70        745 .50 Prepare for and attend weekly work in progress call

06/09/23     YM                           .50        767 .50 Attend Debtor professionals call regarding case status

06/09/23     AS                           .50        827 .50 Attend daily professionals call regarding work in progress

06/09/23     BK                           .90      1,381.50 Attend professionals call regarding work in progress

06/12/23     AS                           .50        827 .50 Attend daily professionals' call regarding work in progress

06/12/23     BK                           .40        614 .00 Attend professionals call regarding work in progress

06/12/23     NAG                        1.90       1,577.00 Update work in progress list (1.6); attend work in progress
                                                            telephone conference discussing case updates (0.3)

06/12/23     JLT                          .50        532 .50 Prepare for and attend Latham team work in progress call

06/13/23     YM                           .90      1,381.50 Attend Debtor professionals call regarding work in
                                                            progress


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06/13/23     BK                        1.10       1,688.50 Attend professionals call with Huron, Rothschild, Berger
                                                           Singerman and Latham regarding case status and work in
                                                           progress

06/13/23     BK                         .60         921.00 Attend check in call with Huron, Rothschild, company and
                                                           Latham

06/13/23     YLB                        .50         625 .00 Prepare for and attend CTO call

06/13/23     SPM                        .80         768 .00 Attend Latham team call regarding matter updates,
                                                            planning, and strategy

06/14/23     NAG                       1.30       1,079.00 Update work in progress list and case calendar

06/15/23     NA                         .40         584 .00 Attend professionals call regarding work in progress

06/15/23     AQ                         .40         544.00 Review work in progress (0.2) ; attend telephone
                                                           conference with team regarding same (0.2)

06/15/23     AS                         .80       1,324.00 Attend daily professionals' call regarding work in progress

06/15/23     BK                         .70       1,074.50 Attend professionals' call regarding work in progress

06/15/23     JJW                        .70         798 .00 Participate in team update call (0.3); attention to questions
                                                            regarding service (0.2); review service list (0.2)

06/15/23     NAG                        .60         498.00 Attend work in progress telephone conference (0.3);
                                                           update case calendar to share with company (0 .3)

06/15/23     RAP                        .40         282.00 Prepare for and attend status teleconference with L.
                                                           Burton, E. Morris, J. Weichselbaum, J. Teresi, N. Gulati,
                                                           and J . Celentino

06/15/23     JLT                        .20         213 .00 Attend weekly work in progress call

06/16/23     AS                         .30         496 .50 Attend daily professionals' call regarding work in progress

06/16/23     BK                         .40         614.00 Attend professionals call regarding work in progress

06/19/23     JCC                        .60         750.00 Telephone call with Latham team regarding work in
                                                           progress

06/19/23     NAG                        .90         747.00 Update work in progress list

06/19/23     JLT                        .70         745.50 Prepare for and attend work in progress call

06/20/23     AQ                         .20         272 .00 Email with J. Gusa regarding notices of appearance

06/20/23     BK                         .70       1,074 .50 Attend check in call with Debtor, Huron, Rothschild and
                                                            Latham (0.3); attend professionals call regarding work in
                                                            progress (0.4)

06/21/23     NA                         .50         730.00 Attend professionals call regarding work in progress

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06/21/23     AQ                         .50         680 .00 Attend professionals call with Huron and Rothschild

06/21/23     AS                        1.70       2,813.50 Attend daily professionals' call with Huron, Berger
                                                           Singerman, Rothschild, Latham teams (0 .5); draft status
                                                           update for court (1.2)

06/21/23     JCC                        .80       1,000.00 Review and update Latham work in progress tracker (0.5);
                                                           confirm status of workstreams with Latham associates (0 .3)

06/21/23     JJW                        .80         912 .00 Attend (in part) CTO call with professionals (0.6); call with
                                                            L. Burton to discuss status (0.2)

06/22/23     BK                         .70       1,074 .50 Attend professionals call regarding work in progress

06/22/23     HKM                        .50         730.00 Attend work in progress call with Latham team

06/22/23     JCC                       1.30       1,625.00 Review work in progress tracker (0.2); prepare for work in
                                                           progress update call with Latham and Berger Singerman
                                                           teams (0.2); telephone call with Latham and Berger
                                                           Singerman teams regarding work in progress (0.6); emails
                                                           with Latham and Berger Singerman teams regarding
                                                           updates following work in progress call (0.3)

06/22/23     JJW                       1.20       1,368.00 Participate in team update call (0.5); review work in
                                                           process list in advance of call (0 .3); correspond with
                                                           various parties in interest regarding status of cases (0 .3);
                                                           correspond with N. Gulati regarding work in process list
                                                           (0.1)

06/22/23     DCD                        .50         480.00 Attend work in progress conference call with Latham team

06/22/23     NAG                       3.20       2,656.00 Update work in progress tracker (2.6); attend work in
                                                           progress telephone conference with team to discuss case
                                                           updates (0.6)

06/22/23     JLT                        .50         532.50 Attend weekly work in progress call

06/23/23     NA                         .50         730 .00 Attend professionals call regarding work in progress

06/23/23     BK                         .50         767 .50 Attend professionals call regarding work in progress

06/25/23     JCC                        .90       1,125.00 Revise work in progress tracker (0.6); communicate with
                                                           Latham associate team regarding same (0.3)

06/25/23     NAG                       1.40       1,162.00 Update works in process list

06/26/23     AS                         .50         827 .50 Attend daily professionals' call regarding work in progress

06/26/23     YLB                        .60         750 .00 Prepare for and attend status call (internal)

06/26/23     YLB                        .50         625 .00 Prepare for and attend CTO call


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06/26/23     JCC                        .60         750 .00 Telephone call with Latham team regarding work in
                                                             progress

06/26/23     JJW                        .60         684.00 Participate in team update call regarding work in progress

06/26/23     NAG                       2.30       1,909.00 Update work in progress list (1.8); attend telephone
                                                           conference discussing work in progress (0.5)

06/26/23     JLT                        .60         639.00 Attend weekly work in progress call

06/27/23     YM                         .20         307 .00 Call with Latham team regarding Chapter 7 conversion

06/27/23     KAR                       1.00       1,360.00 Prepare for and attend Debtor all hands professionals call

06/27/23     AS                         .40         662.00 Attend daily professionals' call

06/27/23     JCC                        .20         250.00 Review and revise work in progress tracker

06/28/23     KAR                       1.00       1,360.00 Review and provide comments on motion to convert

06/28/23     AS                        2.90       4,799.50 Attend daily professionals' call regarding work in progress
                                                           (0.6); research regarding conversion matters (0.7); review
                                                           conversion motion (1.6)

06/28/23     JCC                       2.10       2,625.00 Review, revise and finalize motion to convert chapter 11
                                                           cases to chapter 7 (1.8); correspondence regarding same
                                                           (0.3)

06/28/23     DCT                        .90       1,066.50 Suggest edits to motion to convert

06/28/23     JJW                       2.40       2,736 .00 Review motion to convert cases (0 .6); comment on same
                                                            (0.6); review comments to motion to convert (0.4);
                                                            incorporate the same (0.3); review antitrust comments to
                                                            motion to convert (0.2); incorporate the same (0.3)

06/29/23     AQ                         .80       1,088.00 Review work in progress list (0 .1); attend work in progress
                                                           call with Berger Singerman and Latham teams (0.2);
                                                             attend working group call with Rothschild, Huron and
                                                             Berger Singerman (0.5)

06/29/23     BK                         .30         460 .50 Attend professionals call regarding work in progress

06/29/23     HKM                        .50         730.00 Attend work in progress call with Latham team

06/29/23     YLB                       5.20       6,500.00 Review and revise motion to convert (1.0); review and
                                                           revise order to convert (1.0); call with A. Sorkin regarding
                                                           same (0 .3); correspond with J . Weichselbaum regarding
                                                           same (0.2); correspond with J. Gusa regarding same (0.2) ;
                                                           circulate same and prepare for filing (0.8); correspond with
                                                           N. Gulati regarding same (0.3); prepare for and attend all
                                                           hands professional call regarding work in progress (0.6)


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06/29/23     JCC                        .90       1,125.00 Telephone call with Latham and Berger Singerman teams
                                                           regarding work in progress and legal strategy (0.5);
                                                           finalize motion to convert chapter 11 cases (0.4)

06/29/23     JJW                       1.00       1,140.00 Review motion to convert cases (0.4); revise the same (0.2) ;
                                                           review and revise order on motion to convert (0.4)

06/29/23     NAG                       1.60       1,328.00 Update work in progress list (0.6); attend Latham team
                                                           telephone conference discussing case updates (0.2);
                                                           prepare motion to convert for filing (0 .8)

06/29/23     JLT                        .30         319.50 Attend weekly work in progress call

06/30/23     BK                         .30         460.50 Attend professionals call regarding work in progress



Attorney:

A Sorkin                      11.60     Hrs.@       $ 1,655.00/hr.           $19,198.00
YMun                           2.20     Hrs.@       $ 1,535.00/hr.            $3,377.00
N Alkhas                       1.40     Hrs.@       $ 1,460.00/hr.            $2,044.00
A Quartarolo                   2.90     Hrs.@       $ 1,360.00/hr.            $3,944.00
KA Rocco                       2.00     Hrs.@       $ 1,360.00/hr.            $2,720.00
B Kaplan                       9.00     Hrs.@       $ 1,535.00/hr.           $13,815 .00
HK Murtagh                     2.10     Hrs.@       $ 1,460.00/hr.            $3,066.00
Y L Burton                     7.50     Hrs.@       $ 1,250.00/hr.            $9,375.00
J C Celentino                 11.70     Hrs.@       $ 1,250.00/hr.           $14,625.00
DC Tifft                        .90     Hrs.@       $ 1,185.00/hr.            $1,066.50
J J Weichselbaum               8.20     Hrs.@       $ 1,140.00/hr.            $9,348.00
J W Morley                      .70     Hrs.@       $ 1,065.00/hr.              $ 745.50
J L Teresi                     4.30     Hrs.@       $ 1,065.00/hr.            $4,579.50
DC Dunn                         .50     Hrs.@        $ 960.00/hr.               $ 480.00
SP Mulloy                       .80     Hrs.@        $ 960.00/hr.               $ 768.00
NA Gulati                     15.60     Hrs.@        $ 830.00/hr.            $12,948 .00
RA Presley                     1.30     Hrs.@        $ 705.00/hr.               $ 916.50
                             82.70                                          $ 103,016.00




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06/01/23     DTG                        1.10       1,496.00 Prepare for and participate in board discussion

06/01/23     YM                         2.00       3,070.00 Attend Debtor board call (1.3) ; attend Debtor board
                                                            executive session (0.3); review Latham slides for Debtor
                                                            board meeting (0.4)

06/01/23     AQ                          .70         952.00 Attend board meeting

06/01/23     AS                         3.00       4,965.00 Review and comment on board deck (0.4); preparation for
                                                            board meeting (0.3) ; attend board meeting regarding sale
                                                            process (1.3); attend executive session (0.7); telephone
                                                            conference with L. Lluberas regarding board issue (0.3)

06/01/23     BK                         2.10       3,223.50 Review and consider board materials and prepare for
                                                            board call (0.8); attend board call (1.3)

06/01/23     JCC                        5.10       6,375.00 Attend meeting of board of directors regarding sale
                                                            process and bids (2 .1); draft and revise board deck
                                                            regarding APA (2.5); prepare for board presentation
                                                            regarding APA and sale process (0 .5)

06/01/23     JWM                        2.10       2,236.50 Attend board meeting and take notes of the same

06/02/23     AQ                          .30         408.00 Attend portion of special meeting of the Board

06/02/23     AS                          .50         827 .50 Attend special meeting of board regarding employee
                                                             issues

06/05/23     YM                         1.10       1,688.50 Attend Debtor board call (0.6); attend Debtor board
                                                            executive session (0.5)

06/05/23     AS                         1.20       1,986.00 Pre-call with S. Panagos regarding board meeting (0.1);
                                                            attend board meeting (1.1)

06/05/23     BK                         1.40       2,149.00 Attend board call (0.6); attend executive committee
                                                            meeting (0.8)

06/05/23     YLB                         .60         750 .00 Prepare for and attend board meeting

06/05/23     JCC                        1.30       1,625.00 Attend meeting of board of directors and executive session

06/05/23     NAG                        1.60       1,328.00 Attend and take notes during June 5 board meeting (1.4);
                                                            email client regarding board meeting minutes (0.2)

06/08/23     YM                          .60         921.00 Attend Debtor board call

06/08/23     AQ                         1.20       1,632.00 Attend board meeting (0.9); review and revise board
                                                            materials (0.3)

06/08/23     AS                         1.00       1,655.00 Attend and participate in board meeting

06/08/23     BK                          .80       1,228.00 Attend board meeting

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06/08/23     NAG                        .80         664 .00 Attend and take minutes during June 8 board meeting

06/09/23     AQ                         .20         272.00 Email W. Morley regarding board directors and meeting
                                                           minutes

06/09/23     AS                         .20         331.00 Further correspondence with R. Feinstein, others
                                                           regarding governance question

06/09/23     NAG                        .30         249.00 Review board meeting minutes

06/10/23     AQ                         .40         544 .00 Telephone conference with A. Sorkin and R. Feinstein
                                                            regarding governance matters (0.3); email R. Feinstein
                                                            regarding same (0 .1)

06/10/23     AS                         .30        496 .50 Telephone conference with R. Feinstein, A. Quartarolo
                                                           regarding governance questions

06/10/23     JJW                        .30         342.00 Revise board resolutions regarding sale

06/11/23     JCC                        .70         875.00 Review and revise board resolutions regarding 9019
                                                           settlement

06/11/23     JJW                        .60         684 .00 Revise board resolutions regarding sale (0.3) ; incorporate
                                                            comments to board resolutions (0 .3)

06/12/23     YM                        1.00       1,535.00 Attend Debtor board call

06/12/23     AQ                         .80       1,088.00 Attend board call

06/12/23     AS                        1.60       2,648.00 Prepare slides for board meeting (0.4); attend board
                                                           meeting (1.2)

06/12/23     BK                        2.10       3,223.50 Prepare materials for board presentation; attend board call
                                                           (0.8); attend executive committee call (0.4); review
                                                           resolutions and related materials (0.4)

06/12/23     NAG                       1.30       1,079.00 Email A. Quartarolo regarding board meeting minutes
                                                           (0.1) ; attend and take notes during June 12 board meeting
                                                           (1.2)

06/13/23     AS                         .90       1,489.50 Video conference with Pachulski, Berger Singerman,
                                                           Akerman, MVA, Lowenstein teams regarding governance
                                                           issues

06/13/23     BK                        2.60       3,991.00 Telephone conference with Pachulski, MV A, Lowenstein,
                                                           Berger Singerman, Akerman and Latham regarding
                                                           governance (0.8); telephone conference with MVA,
                                                           Lowenstein, Berger Singerman and Latham regarding
                                                           governance (1.1); consider and research governance
                                                           issues (0.7)

06/13/23     YLB                       1.20       1,500.00 Prepare for and attend board call (0.7); review and

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                                                             comment on materials in advance of same (0.5)

06/13/23     JCC                        .10         125.00 Review board presentation

06/13/23     NAG                        .40         332.00 Draft April 20 meeting minutes

06/14/23     AQ                        1.50       2,040.00 Telephone conference with J. Gusa, B. Appel, R. Barron,
                                                           A. Sorkin, D. Mun and B. Kaplan regarding corporate
                                                           governance issues (0.4); telephone conferences with
                                                           Pachulski, Berger Singerman, D. Mun and A. Sorkin
                                                           regarding governance and related issues (1.2)

06/14/23     AS                        2.60       4,303 .00 Telephone conference with E. Chafetz regarding
                                                            governance issues (0.4); review same and correspondence
                                                            with J . Gusa regarding same (0 .5); telephone conference
                                                            with J . Gusa regarding corporate governance (0.3); video
                                                            conference with MV A, Berger, Latham Lowenstein
                                                            regarding same (0.2); further conference with Pachulski,
                                                            Akerman regarding governance (0.7); follow up telephone
                                                            conference with D. Mun (0.2); telephone conference with
                                                            S. Gruendel regarding same (0.3)

06/14/23     AS                         .40         662 .00 Review board meeting notes

06/14/23     BK                        1.40       2,149 .00 Research regarding FL law and consider governance
                                                            matters (0 .9); video conference with Berger Singerman,
                                                            MV A, Lowenstein and Latham regarding governance (0.5)

06/14/23     NAG                       1.90       1,577.00 Draft summary of May 23 board meeting for antitrust
                                                           review

06/15/23     YM                         .30         460.50 Call with Huron and Debtor regarding board seat

06/15/23     AS                        1.60       2,648.00 Attention to governance issues and correspondence with
                                                           Berger Singerman, D. Mun (0.7); research regarding
                                                           governance issues (0.9)

06/15/23     BK                         .60         921.00 Telephone conference with D. Mun, A. Sorkin, T. Kim, J.
                                                           Gusa and B. Appel regarding FL considerations in
                                                           connection with governance matters

06/15/23     HKM                        .80       1,168.00 Discuss governance matters with A. Sorkin (0.3) ; research
                                                           regarding same (0.5)

06/15/23     NAG                       2.80       2,324.00 Conduct research into governance matters

06/16/23     YM                         .30         460.50 Emails with Latham team, Berger Singerman and Huron
                                                           regarding board materials and board call

06/16/23     YM                         .80       1,228.00 Review board deck (0.2); attend Debtor board call (0.6)

06/16/23     AQ                         .60         816.00 Attend board meeting (0.5); email with A. Sorkin

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                                                             regarding same (0 .1)

06/16/23     AS                        1.30       2,151.50 Attend board call and executive session

06/16/23     BK                         .40         614.00 Review and revise board presentation and consider issues

06/16/23     JJW                       4.10       4,674.00 Review prior board meeting materials (1.8); summarize
                                                           actions taking by board at prior meetings (0.7); discuss
                                                           with N. Gulati regarding same (0.2); attention to emails
                                                           regarding same (0.1) ; prepare for and attend board
                                                           meetings (1.3)

06/16/23     NAG                       5.00       4,150 .00 Prepare for and attend 6/16 board meeting (1.7); review
                                                            board meeting minutes (1.3); draft April 20 board meeting
                                                            minutes (2 .0)

06/16/23     LS                         .60         639.00 Revise draft board resolutions approving sale

06/17/23     NAG                       2.10       1,743.00 Draft board meeting minutes for June 16 meeting (1.5);
                                                           compile executed minutes (0.3); email client regarding
                                                           minutes that needed to be signed (0.3)

06/18/23     NAG                       2.70       2,241.00 Draft June 16 board meeting minutes

06/19/23     AQ                         .80       1,088.00 Review and revise board minutes

06/19/23     AS                         .40         662.00 Review and comment on 6/16 board minutes

06/19/23     AS                         .30         496 .50 Telephone conference with S. Panagos regarding board
                                                            meeting preparation/preview

06/19/23     NAG                       3.10       2,573.00 Draft board meeting minutes (2.9); email R. Presley
                                                           regarding board minutes (0.2)

06/19/23     RAP                        .90         634.50 Draft minutes for prior board meetings based on notes

06/20/23     AQ                        1.50       2,040 .00 Review board minutes and related issues

06/20/23     NAG                       3.10       2,573 .00 Review drafted board minutes (1.6); draft meeting minutes
                                                            (1.5)

06/20/23     RAP                       4 .10      2,890 .50 Draft minutes for prior board meetings based on notes

06/21/23     YM                         .90       1,381.50 Attend Debtor board call

06/21/23     AQ                        1.70       2,312.00 Attend board meeting (1.2); review and revise board
                                                           meeting minutes (0 .5)

06/21/23     AS                        1.50       2,482 .50 Attend semi-weekly board call (1.2); follow up
                                                            correspondence with A. Quartarolo, S. Panagos regarding
                                                            same (0 .3)



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06/21/23     BK                        1.00       1,535.00 Attend board call

06/21/23     JCC                        .80       1,000.00 Attend meeting of Board of Directors regarding sale
                                                           process next steps and related issues

06/21/23     DCT                        .70         829.50 Prepare for and participate in Board Meeting to cover
                                                           antitrust aspects

06/21/23     JJW                        .80         912.00 Attend board meeting

06/21/23     NAG                       1.10         913 .00 Attend and take minutes during the June 21 board
                                                            meeting

06/22/23     NAG                       1.20         996.00 Draft board meeting minutes (0.2); review draft board
                                                           minutes (1.0)

06/22/23     RAP                       2.30       1,621.50 Draft minutes for prior board meetings based on notes

06/23/23     DTG                        .30         408 .00 Correspondence with CAC Specialty and G. Metzger
                                                            regarding D&O coverage

06/23/23     NAG                       1.80       1,494.00 Draft board meeting minutes

06/23/23     RAP                       2.20       1,551.00 Draft minutes for prior board meetings based on notes

06/24/23     AQ                        1.70       2,312 .00 Review and revise board minutes (1.6); email N . Gupta
                                                            and A. Sorkin regarding same (0.1)

06/24/23     NAG                        .60         498.00 Draft board meeting minutes

06/25/23     NAG                       2.90       2,407 .00 Draft board meeting minutes

06/26/23     AS                         .30         496.50 Review and comment on board minutes

06/26/23     NAG                       1.20         996.00 Draft board meeting minutes

06/27/23     YM                        1.60       2,456 .00 Attend Debtor board call (0.8); review and comment on
                                                            board minutes (0.8)

06/27/23     KAR                        .50         680 .00 Prepare for and attend Debtor board meeting

06/27/23     AS                        1.90       3,144 .50 Attend board call (1.0); correspondence with N . Gulati
                                                            regarding board minutes (0.1); review same (0.3);
                                                            telephone conference with A. Devore regarding matter
                                                            status, next steps (0.4)

06/27/23     JCC                       1.10       1,375.00 Zoom call with board of directors regarding next steps

06/27/23     DCT                       1.30       1,540.50 Prepare for and participate in Board meeting to discuss
                                                           status of FTC and bidding processes (1.0); revise Board
                                                           minutes (0.3)

06/27/23     JJW                        .70         798.00 Review board meeting minutes (0.4); emails with Debtors

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                                                               regarding same (0 .3)

06/27/23     NAG                        7.50       6,225.00 Draft board meeting minutes (5.5); attend and take notes
                                                            during June 27 board meeting (1.0); telephone conference
                                                            with client discussing board minutes (0.3); email board
                                                            minutes to board for approval (0.4)

06/28/23     AQ                           .30        408 .00 Email with N. Gulati regarding meeting minutes

06/28/23     DCT                          .30        355.50 Draft correspondence to FTC regarding Board minutes

06/28/23     NAG                        3.80       3,154.00 Draft board meeting minutes

06/29/23     YM                         1.00       1,535.00 Attend Debtor board calls

06/29/23     AQ                           .20        272 .00 Email A. Sorkin regarding board meeting

06/29/23     KAR                        1.50       2,040 .00 Prepare for and attend board meeting regarding motion to
                                                             convert (0 .5); prepare for and attend board meeting to
                                                             provide update on antitrust matters (1.0)

06/29/23     AS                         1.00       1,655.00 Attend board call regarding conversion motion (0.5);
                                                            attend regular board meeting (0 .5)

06/29/23     JJW                          .50        570.00 Participate in board call to discuss status of sale

06/29/23     NAG                        2.40       1,992.00 Draft board meeting minutes (0.6); attend and take notes
                                                            during 6/29 morning board call (1.1); email minutes for
                                                            execution (0.8)

06/30/23     DM                         1.50       1,057 .50 Draft board consent regarding sale order



Attorney:

A Sorkin                      20.00      Hrs.@        $ 1,655.00/hr.            $33,100.00
YMun                            9.60     Hrs.@        $ 1,535.00/hr.            $14,736.00
D T Gardiner                    1.40     Hrs.@        $ 1,360.00/hr.             $1,904.00
A Quartarolo                  11.90      Hrs.@        $ 1,360.00/hr.            $16,184.00
KA Rocco                        2.00     Hrs.@        $ 1,360.00/hr.             $2,720.00
B Kaplan                      12.40      Hrs.@        $ 1,535.00/hr.            $19,034.00
HK Murtagh                       .80     Hrs.@        $ 1,460.00/hr.             $1,168 .00
Y L Burton                      1.80     Hrs.@        $ 1,250.00/hr.             $2,250.00
J C Celentino                   9.10     Hrs.@        $ 1,250.00/hr.            $11,375.00
DC Tifft                        2.30     Hrs.@        $ 1,185.00/hr.             $2,725.50
J J Weichselbaum                7.00     Hrs.@        $ 1, 140.00/hr.            $7,980.00

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J W Morley                    2.10     Hrs.@       $ 1,065.00/hr.            $2,236.50
L Sievert                      .60     Hrs.@       $ 1,065.00/hr.              $ 639.00
NA Gulati                   47.60      Hrs.@        $ 830.00/hr.            $39,508.00
D Maggen                      1.50     Hrs.@        $ 705.00/hr.             $1,057.50
RA Presley                    9.50     Hrs.@        $ 705.00/hr.             $6,697.50
                           139.60                                          $163,315.00




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Date         Timekeeper                            Amount Description

06/01/23     YM                          .60         921.00 Call with Huron and Latham team regarding WARN

06/02/23     NA                         2.50       3,650.00 Conference call and communication with Latham team to
                                                            discuss process and WARN exposure (0 .6); review
                                                            employee data and prepare follow-up requests (1.9)

06/02/23     YM                         1.10       1,688.50 Call with Debtor board regarding WARN notice process
                                                            (0.5); draft email regarding WARN notices (0 .3); emails
                                                            with Debtor, Huron and Latham teams regarding W-9s,
                                                            WARN, RCAs and schedules (0.3)

06/03/23     NA                         2.50       3,650.00 Conference call with D. Mun regarding WARN (0.3);
                                                            attention to WARN notice obligations (1.4); conference call
                                                            with the HCG team to discuss WARN process (0.8)

06/03/23     YM                         1.00       1,535.00 Call with N . Alkhas regarding WARN Act process and
                                                            comment to FTC letter (0.2) call with Huron and Debtor
                                                            regarding WARN notice process and timing (0 .8)

06/03/23     AS                          .80       1,324 .00 Attend call with L. Barsky, N. Alkhas, D. Mun, Huron
                                                             teams regarding employee issues in connection with sale

06/03/23     SNB                         .60         876 .00 Provide analysis regarding WARN obligations (0 .3);
                                                             prepare WARN notices (0.3)

06/03/23     YD                         2.40       2,712 .00 Research WARN notice requirements and applicable
                                                             recipient information (0.9); draft WARN notices (1.2); and
                                                             correspondence regarding same (0.3)

06/04/23     NA                         6.50       9,490 .00 Conference calls with Latham team and Debtor
                                                             concerning WARN and personnel data (2 .5); review and
                                                             revise WARN notices (1.0); assess data and employment
                                                             obligations (3 .0)

06/04/23     YM                          .80       1,228.00 Call with Pachulski, Huron, C Street and Debtor regarding
                                                            WARN notice process

06/04/23     AS                         1.60       2,648 .00 Correspondence with team regarding WARN (0.2);
                                                             telephone conference with B. Kaplan regarding WARN
                                                             call and to-dos (0.3) ; telephone conference with N . Alkhas
                                                             regarding WARN call preparation (0.3); video conference
                                                             with Pachulski, Akerman, N. Alkhas, Latham team
                                                             regarding WARN (0.8)

06/04/23     SNB                        2.20       3,212.00 Analyze legal issues and revise notifications regarding
                                                            WARN obligations

06/04/23     BK                          .90       1,381.50 Telephone conference with D. Mun regarding WARN
                                                            process and considerations (0.1); telephone conference
                                                            with Pachulski, Akerman, Evercore, Huron, company, C
                                                            Street and Latham regarding WARN considerations and
                                                            process (0.8)

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06/05/23     JF                         1.70       2,541 .50 Attend conference call regarding benefit plan matters
                                                             (0 .5); review benefit plan documents and emails (0.3);
                                                             attention to COBRA and self-insured medical claims
                                                             questions (0.9)

06/05/23     JCC                         .20         250.00 Review of employment issues notices

06/05/23     YD                          .30         339.00 Revise WARN notice to government units

06/05/23     TK                          .20         213 .00 Confer with Debtor regarding employee matters

06/05/23     JW                          .20         141.00 Attend teleconference regarding plans for benefit plans
                                                            post-transaction

06/06/23     NA                         1.20       1,752.00 Review and revise draft employee WARN notices

06/06/23     YM                          .20         307 .00 Email correspondence with Pachulski and call with
                                                             Latham team regarding WARN Act notices

06/06/23     SNB                         .30         438.00 Conference with N. Alkhas regarding analysis of WARN
                                                            issues

06/07/23     NA                         1.70       2,482 .00 Review and revise draft government unit WARN message
                                                             (1.0); assess WARN obligations (0 .7)

06/07/23     YM                          .80       1,228.00 Review WARN notices and communications plan and
                                                            emails with Latham team regarding same

06/07/23     SNB                         .90       1,314 .00 Review and revise WARN notices

06/08/23     NA                         2.20       3,212.00 Prepare non-WARN form (0.8); revise draft FAQs (0.9);
                                                            emails with Latham team regarding WARN rules (0.4)

06/08/23     JF                          .80       1,196.00 Telephone conference with A. Gupta regarding COBRA
                                                            matters (0.5); revise WARN FAQs (0.3)

06/08/23     YM                          .30         460.50 Calls with Huron regarding WARN notices process

06/08/23     SNB                         .40         584 .00 Review and analyze WARN notice issues

06/09/23     NA                          .50         730 .00 Advise Latham team regarding WARN data

06/12/23     NA                          .70       1,022.00 Conference call with Huron to discuss employee data and
                                                            WARN impact (0 .5); Assess employee data (0.2)

06/12/23     JF                          .60         897 .00 Review COBRA questions from various parties

06/13/23     NA                          .50         730.00 Conference call with Huron concerning WARN data (0.3) ;
                                                            communication concerning WARN (0.2)

06/13/23     SNB                         .30         438.00 Revise WARN notices

06/13/23     YD                          .60         678.00 Update WARN notice recipients to include applicable

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                                                             mayors (0.4); and emails with Latham team regarding
                                                             same (0 .2)

06/14/23     SNB                        .20         292.00 Correspondence with K. McGuinness regarding WARN
                                                           notification obligations

06/14/23     YD                        1.40       1,582.00 Research WARN notice requirement for newly hired
                                                           employees (1.2); correspondence with Latham team
                                                           regarding same (0.2)

06/15/23     NA                         .30         438.00 Review WARN letters

06/15/23     SNB                        .20         292 .00 Review WARN notice information

06/15/23     YD                         .90       1,017.00 Follow-up research on WARN notice (0.8); correspondence
                                                           with Latham team regarding same (0.1)

06/16/23     NA                         .20         292 .00 Respond to WARN inquiries

06/16/23     SNB                        .40         584.00 Correspondence with K. Bell regarding WARN
                                                           notifications

06/20/23     NA                         .80       1,168.00 Review and respond to WARN notices

06/20/23     JF                         .60         897.00 Review employee communications materials (0.5); emails
                                                           with Debtor regarding same (0.1)

06/21/23     NA                         .20         292 .00 Communication with Debtor concerning WARN notice
                                                            terms

06/22/23     JF                         .50         747 .50 Emails with Debtor regarding benefit plan termination
                                                            matters

06/30/23     JF                         .20         299 .00 Emails with Debtor regarding 401(k) plan termination
                                                            matters



Attorney:

A Sorkin                       2.40     Hrs.@       $ 1,655.00/hr.            $3,972.00
YMun                           4.80     Hrs.@       $ 1,535.00/hr.            $7,368.00
J Friedman                     4.40     Hrs.@       $ 1,495.00/hr.            $6,578.00
N Alkhas                      19.80     Hrs.@       $ 1,460.00/hr.           $28,908.00
B Kaplan                        .90     Hrs.@       $ 1,535.00/hr.            $1,381.50
SN Benjamin                    5.50     Hrs.@       $ 1,460.00/hr.            $8,030 .00
J C Celentino                   .20     Hrs.@       $ 1,250.00/hr.              $ 250.00
Y DeNiro                       5.60     Hrs.@       $ 1,130.00/hr.            $6,328.00

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TKim                             .20     Hrs.@        $ 1,065.00/hr.               $ 213.00
J Wexler                         .20     Hrs.@         $ 705.00/hr.                $ 141.00
                              44.00                                             $63,169.50




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06/01/23       ACD                       1.00         980 .00 Review matters related to Latham fee applications (0 .5);
                                                              correspond with Latham team regarding same (0.5)

06/05/23       CMT                        .40         196.00 Finalize and file fourth supplemental declaration of A.
                                                             Sorkin in support of Latham retention

06/12/23       JJW                        .70         798.00 Review invoice for guideline compliance

06/13/23       JJW                       2.70       3,078.00 Review invoice and expenses for guideline compliance
                                                             and privilege/confidentiality

06/16/23       YLB                       1.30       1,625.00 Review and revise fee application (1.1); correspond with J.
                                                             Weichselbaum regarding same (0 .2)

06/17/23       AS                         .90       1,489.50 Review invoice for guideline compliance and
                                                             confidentiality considerations

06/17/23       CMT                       1.90         931 .00 Review and revise materials for interim fee statement

06/20/23       JJW                        .40         456.00 Review invoice for privilege (0.2); finalize monthly fee
                                                             statement (0.2)

06/22/23       CMT                       2.20       1,078.00 Review and prepare draft of second interim fee
                                                             application

06/30/23       CMT                       2.70       1,323 .00 Review and revise materials for June fee statement



Attorney:

A Sorkin                          .90     Hrs.@       $ 1,655.00/hr.            $1,489.50
Y L Burton                       1.30     Hrs.@       $ 1,250.00/hr.            $1,625.00
J J Weichselbaum                 3.80     Hrs.@       $ 1,140.00/hr.            $4,332 .00
                                 6.00                                           $ 7,446.50

Other:

CM Tarrant                       7.20     Hrs.@        $ 490.00/hr.             $3,528.00
AC Davis                         1.00     Hrs.@        $ 980.00/hr.               $ 980 .00
                                 8.20                                           $4,508.00

GRAND TOTAL:                    14.20                                          $11,954.50




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Date         Timekeeper                           Amount Description

06/04/23     AS                        1.40       2,317 .00 Review required lender issues under credit documents
                                                            (0 .6); telephone conference with L. Lluberas regarding
                                                            consent issues (0.8)

06/12/23     AS                         .40         662.00 Correspondence with J. Gusa, M. Niles regarding
                                                           potential treatment of DIP debt

06/14/23     AS                         .50         827 .50 Review DIP budget (0 .3); correspondence with A. Gupta
                                                            regarding same (0.2)

06/22/23     YM                         .50         767 .50 Call with Huron and Rothschild regarding sources and
                                                            uses file and DIP budget

06/22/23     AS                        1.10       1,820.50 Video conference with Huron, Rothschild, Latham teams
                                                           regarding DIP budget and sources and uses

06/26/23     PJS                       1.80       3,042.00 Draft commitment letter and HCL

06/26/23     BTG                        .70         875.00 Review proposed financing letters

06/27/23     BTG                        .90       1,125.00 Review DIP credit agreement expiration

06/28/23     BTG                       1.40       1,750.00 Correspond with Latham team regarding DIP maturity
                                                           date (0.8); correspond with Debtors regarding same (0.6)

06/29/23     BTG                        .40         500.00 Review and revise reservation of rights funding letter



Attorney:

P J Sluka                      1.80     Hrs.@       $ 1,690.00/hr.            $3,042.00
A Sorkin                       3.40     Hrs.@       $ 1,655.00/hr.            $5,627.00
YMun                            .50     Hrs.@       $ 1,535.00/hr.              $ 767.50
BT Gelfand                     3.40     Hrs.@       $ 1,250.00/hr.            $4,250.00
                               9.10                                          $13,686.50




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06/03/23     AS                           .40        662 .00 Compile list of issues for consideration/hearing

06/04/23     AS                           .30        496.50 Telephone conference with H. Murtagh regarding sale
                                                            hearing preparation

06/01/23     AQ                         1.10       2,312.00 Telephonically attend hearing on emergency motions
                                                            (1.2); email and telephone conferences with M. Niles
                                                            regarding same (0.5)

06/01/23     AS                           .60        993 .00 Attend hearing regarding Owoc emergency motions (in
                                                             part)

06/09/23     AQ                         2.50       3,400.00 Draft and review outlines and declarations for sale hearing

06/09/23     AS                           .10      1,158.50 Prepare for sale hearing (0.4) ; telephone conference with
                                                            A. Quartarolo, C. Delo regarding Rothschild testimony in
                                                            support of sale (0.3)

06/13/23     AQ                           .80      1,088.00 Telephonically attend court hearing on emergency motion
                                                            for protective order

06/13/23     AS                         1.40       2,311.00 Attend 6/13/2023 hearing regarding Owoc motions (1.0);
                                                            conference with A. Quartarolo regarding same and J.
                                                            Owoc document retention issues (0.4)

06/13/23     HKM                          .80      1,168.00 Attend 6/13 hearing (partial)

06/11/23     AQ                           .10        136.00 Email H. Murtagh regarding upcoming hearings

06/20/23     AS                           .90      1,489.50 Consider arguments for hearing on Thursday (0.6) ;
                                                            telephone conference with D. Mun regarding same (0.3)

06/21/23     AQ                         1.10       2,312 .00 Prepare for hearing on contempt motion

06/22/23     AQ                         6.10       9,112.00 Prepare for and attend hearing on contempt motion and
                                                            related issues (6.2); conference with J . Gusa and R.
                                                            Mairnin regarding same (0.5)

06/22/23     AS                         2.90       4,199 .50 Correspondence with J. Henes, C Street regarding status
                                                             update and revise script (0.1) ; prepare for hearing (0.4) ;
                                                             attend 6/22/2023 hearing (1 .8)

06/22/23     HKM                        1.10       1,606.00 Attend contempt motion hearing (partial)

06/22/23     JCC                          .60        150.00 Attend hearing regarding discovery disputes

06/22/23     NAG                          .40           0.00 Attend June 22 hearing

06/28/23     AQ                           .10        136.00 Email Y. Duran regarding hearing

06/28/23     AS                         2.10       3,415.50 Prepare script for hearing on 6/29 (1.1); telephone
                                                            conference with A. Quartarolo regarding hearing

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                                                             preparation (0.4)

06/29/23     AQ                        3.60       4,896.00 Review and revise talking points for hearing (0.5); email
                                                           H . Murtagh regarding same (0.1); prepare for and attend
                                                           scheduling conference (2.2) ; email and telephone
                                                           conference with H. Murtagh and J. Gusa regarding same
                                                           and upcoming hearings (0.8)

06/29/23     KAR                        .50         680.00 Prepare for and attend bankruptcy court hearing

06/29/23     AS                        4 .70      7,778.50 Prepare for hearing, including revising talking points and
                                                           correspondence with colleagues (2.1); calls with Pachulski
                                                           regarding hearing preparation (0.6); attend 6/29 hearing
                                                           (in part) (2.0)

06/29/23     BK                        2.50       3,837.50 Attend 6/29/2023 court hearing

06/29/23     HKM                       5.10       7,446 .00 Outline and revise argument for scheduling hearing (1.7);
                                                            discuss with Latham team, UCC counsel (0.3); attend
                                                            hearing (3 .1)

06/29/23     JCC                       2.20       2,750.00 Attend 6/29/2023 hearing regarding rejection motion and
                                                           scheduling regarding Owoc motions

06/29/23     EAM                       2.50       3,212.50 Attend 6/29/2023 hearings

06/29/23     DCT                        .40         474.00 Attend hearing to assist with discussion of antitrust
                                                           process

06/29/23     JJW                        .40         456.00 Attend (in part) 6/29/2023 hearing (status update/Owoc
                                                           disputes)

06/30/23     AS                         .20         331.00 Telephone conference with A. Quartarolo regarding sale
                                                           hearing



Attorney:

A Sorkin                      14.20     Hrs.@       $ 1,655.00/hr.           $23,501.00
A Quartarolo                  17.20     Hrs.@       $ 1,360.00/hr.           $23,392.00
KA Rocco                        .50     Hrs.@       $ 1,360.00/hr.                $ 680.00
B Kaplan                       2.50     Hrs.@       $ 1,535.00/hr.               $3,837.50
HK Murtagh                     7.00     Hrs.@       $ 1,460.00/hr.           $10,220.00
EA Morris                      2.50     Hrs.@       $ 1,285.00/hr.               $3,212.50
J C Celentino                  2.80     Hrs.@       $ 1,250.00/hr.               $3,500.00
DC Tifft                        .40     Hrs.@       $ 1,185.00/hr.                $ 474.00


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J J Weichselbaum                .40     Hrs.@        $ 1,140.00/hr.               $ 456.00
NA Gulati                       .40     Hrs.@         $ 830.00/hr.                   $ 0.00
                             47.90                                             $69,273.00




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06/01/23     JJW                        2.40       2,136 .00 Call with counterparty regarding cure objection (0.5) ; call
                                                             with landlord regarding lease rejection issues (0 .3);
                                                             correspond with Huron regarding same (0.1) ; revise lease
                                                             rejection motion (0.8); review and comment on letter to
                                                             landlord (0.1)

06/01/23     NAG                         .40         332.00 Update cure objection chart

06/01/23     RAP                         .10         493.50 Review lease rejection motion

06/02/23     JJW                        1.20       1,368.00 Call with landlord to discuss lease (0.2); review motion to
                                                            reject leases (0.4); comment on same (0.4); correspond
                                                            with Berger Singerman regarding same (0.2)

06/03/23     YLB                         .30         315 .00 Review cure schedule and correspondence with J .
                                                             Weichselbaum regarding same

06/04/23     JJW                         .20         228 .00 Email Huron team regarding lease matters

06/06/23     JJW                         .80         912 .00 Review amended cure schedule (0.3); review documents
                                                             in connection with same (0.3); email with Huron team
                                                             regarding amended cure schedule (0.2)

06/01123     JCC                         .30         315.00 Review and revise motion to reject leases

06/01123     JJW                        1.60       1,824 .00 Review lease rejection motion (0.4); revise same (0.6);
                                                             review and revise lease rejection motion (0.3) ; attention to
                                                             cure issues (0.3)

06/01/23     NAG                        1.30       1,019.00 Telephone conference with contract holder's counsel
                                                            regarding status of contract (0.2); review amended cure
                                                            schedule (1.1)

06/01123     RAP                        1.60       1,128.00 Revise lease rejection motion

06/08/23     JJW                        3.30       3,162.00 Review and revise lease rejection motion (0 .6); call with
                                                            landlord regarding lease (0.2); discuss same with Latham
                                                            team (0.2) ; emails with landlord and Huron team
                                                            regarding rejected lease (0.2); review amended cure
                                                            schedule and cure objections (1.3); correspond with Huron
                                                            regarding same (0.3); review storage unit agreements
                                                            (0.3); discuss with Huron and Berger Singerman (0.2)

06/08/23     NAG                        4 .90      4,061 .00 Review amended cure schedule in preparation for filing
                                                             (3.9) ; draft contract objection tracker (1.0)

06/09/23     JJW                        2.60       2,964.00 Review revised lease rejection motion (0.3); comment on
                                                            same (0 .2); email with Huron regarding storage units (0 .1);
                                                            review updates to cure schedule (0 .6); correspond with N .
                                                            Gulati regarding same (0 .2); review cure objection chart
                                                            (0.3); call with landlord regarding lease matters (0.2);
                                                            correspondence regarding lease rejection motion (0.2); call

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                                                             with N . Gulati regarding 365(d)(4) stipulation (0.2) ; review
                                                             draft stipulation (0.3)

06/09/23     NAG                       2.90       2,407 .00 Review amended cure schedule (1.6); draft stipulation
                                                            extending time to assume or reject (1.3)

06/11/23     YM                        1.10       1,688.50 Call with Huron regarding certain leases and contracts

06/11/23     JJW                        .60         684.00 Correspondence with Latham team regarding rejection
                                                           motion and related matters (0.3); review amended cure
                                                           schedule (0.3)

06/12/23     BK                         .20         307 .00 Telephone conference with J . Weichselbaum regarding
                                                            schedules and cure schedule

06/12/23     JJW                       1.20       1,368.00 Review revised lease rejection motion (0.4); calls with
                                                           landlord to discuss lease (0.3); review lease rejection order
                                                           (0.3); review comments to lease rejection motion (0.2)

06/12/23     NAG                       2.10       1,743 .00 Review cure schedule (1.7); draft stipulation for lease
                                                            extension (0.4)

06/13/23     JCC                        .20         250 .00 Review lease rejection motion related to APA

06/13/23     JJW                       1.10       1,254.00 Draft notice regarding supplemental cure schedule (0.4);
                                                           discuss same with M. Niles (0.2); correspond with landlord
                                                           regarding lease rejection motion (0.3); call with party in
                                                           interest regarding cure schedule (0 .2)

06/13/23     NAG                       1.40       1,162.00 Draft second lease stipulation

06/13/23     JRS                       4.20       2,961.00 Discussion of matter with B. Kaplan regarding contract
                                                           (0.2) ; review contracts (4.0)

06/13/23     LS                        5.80       6,177.00 Review certain Debtor contracts

06/14/23     JJW                        .60         684.00 Review 365(d)(4) stipulation (0.2); correspond with M.
                                                           Niles regarding same (0.2); correspond with landlord
                                                           regarding stipulation (0.2)

06/14/23     NAG                        .40         332.00 Draft lease stipulation

06/14/23     LS                        4.20       4,473.00 Review distributor contracts

06/14/23     JWK                       2.40       1,692.00 Review distribution contracts and update chart

06/15/23     JJW                        .60         684 .00 Review cure objections and objection chart

06/15/23     LS                         .50         532.50 Attend call with Huron and Latham teams regarding
                                                           distributor contracts

06/16/23     JJW                       2.30       2,622 .00 Create adjourned cure objection chart (0.8); correspond

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                                                             with objectors regarding status of cure objections (0.4);
                                                             update adjourned objection chart (0.3); correspond with
                                                             Latham and bidder teams regarding same (0.2); call with
                                                             landlord regarding lease rejection (0.2); attention to emails
                                                             regarding same (0.2); correspondence regarding motion to
                                                             reject contracts (0.2)

06/16/23     NAG                        .20         166.00 Telephone conference with opposing counsel regarding
                                                           the status of their cure objection

06/19/23     JJW                       1.20       1,368.00 Correspond with M . Niles regarding cure schedule (0.2);
                                                           review emails regarding cure issues (0.1); prepare for and
                                                           attend telephone conference regarding lease and contract
                                                           issues with M. Niles, Huron and Latham teams (0.6);
                                                           update cure objection chart (0.3)

06/20/23     JJW                        .50         570.00 Correspond with Berger Singerman, Latham, Huron teams
                                                           and Debtors regarding rejected lease matters (0.3); review
                                                           comments to lease rejection order (0.2)

06/21/23     JCC                        .50         625.00 Telephone call with landlord regarding lease rejection
                                                           (0.3) ; revise proposed order regarding same (0.2)

06/21/23     JJW                       1.00       1,140.00 Call with Berger Singerman, Latham teams and landlord
                                                           to discuss lease rejection (0.3); draft language for
                                                           proposed order regarding lease rejection (0.3); review
                                                           comments to lease rejection order from landlord (0.2);
                                                           correspond with Huron regarding lease matters (0.2)

06/23/23     JJW                        .90       1,026.00 Email with Latham team regarding cure schedule (0.2);
                                                           call with contract counterparty to discuss cure schedule
                                                           (0.3) ; call with landlord regarding update and lease (0.2);
                                                           correspond with Huron team regarding rejected lease (0.2)

06/26/23     JCC                        .20         250 .00 Draft email to landlord regarding lease

06/26/23     JJW                        .30         342.00 Correspond with Berger Singerman and Latham teams
                                                           regarding comments to lease rejection order (0.2); email
                                                           with Huron regarding same (0.1)

06/27/23     JCC                        .30         375.00 Correspondence with Latham and Berger Singerman
                                                           teams regarding potential lease rejection

06/28/23     JJW                        .10         114.00 Review revisions to lease rejection order

06/29/23     JCC                       2.00       2,500 .00 Correspondence with Latham and Debtor team regarding
                                                            revisions to proposed orders regarding lease rejection
                                                            (0.6); prepare for telephone calls with contract
                                                            counterparties regarding potential sale transaction and
                                                            cures (0.4); correspondence regarding same (0 .2);
                                                            telephone calls with contract counterparties (0.5);


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                                                               correspondence with M . Niles regarding lease rejection
                                                               (0 .1); review facts surrounding lease rejection (0 .2)



Attorney:

YMun                             1.10     Hrs.@       $ 1,535.00/hr.            $1,688.50
B Kaplan                          .20     Hrs.@       $ 1,535.00/hr.              $ 307.00
Y L Burton                        .30     Hrs.@       $ 1,250.00/hr.              $ 375.00
J C Celentino                    3.50     Hrs.@       $ 1,250.00/hr.            $4,375 .00
J J Weichselbaum               22.50      Hrs.@       $ 1,140.00/hr.           $25,650 .00
L Sievert                       10.50     Hrs.@       $ 1,065.00/hr.           $11,182.50
NA Gulati                       13.60     Hrs.@        $ 830.00/hr.            $11,288.00
RA Presley                       2.30     Hrs.@        $ 705.00/hr.             $1,621.50
JR Savren                        4.20     Hrs.@        $ 705.00/hr.             $2,961.00
                               58.20                                           $59,448.50

Other:

JWKow                            2.40     Hrs.@        $ 705.00/hr.             $1,692.00
                                 2.40                                           $1,692 .00

GRAND TOTAL:                   60.60                                           $61,140.50




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06/01/23     AQ                         1.60       2,176 .00 Telephone conference and email with B. Shraiberg
                                                             regarding trademarks and entity registrations (0.4); email
                                                             A. Gupta, S. Parkhurst, G. Metzger and A. Sorkin
                                                             regarding same (0.3); attend call with Huron, Rothschild
                                                             and A. Sorkin regarding status and strategy (0.5); email J.
                                                             Weichselbaum regarding property retrieval (0.1); email D.
                                                             Wright regarding requests for documents (0 .1); email G .
                                                             Metzger regarding social media accounts (0.2)

06/01/23     JCC                        1.00       1,250.00 Prepare 9019 settlement motion (0.4); email Latham
                                                            associates regarding same (0.2) ; review documents and
                                                            email Latham team regarding potential sale process
                                                            discovery (0.4)

06/01/23     JLT                          .30        319.50 Correspond with A. Quartarolo regarding records request
                                                            (0.2); correspond with J. Celentino regarding 9019
                                                            settlement motion (0.1)

06/02/23     AQ                         1.80       2,448.00 Email with J. Teresi regarding response to request for
                                                            documents (0.2); review and revise same (0.3); email with
                                                            A. Sorkin and H. Murtagh regarding emergency motions
                                                            (0.2); review same (0.5) ; email A. Gupta and S. Parkhurst
                                                            regarding same (0.1); email J. DiDonato regarding cease
                                                            and desist letter (0.1); email E. Morris regarding
                                                            deposition transcripts (0.1); email G . Metzger regarding
                                                            emergency motions (0.2); email B. Shraiberg regarding
                                                            same (0 .1)

06/02/23     AQ                           .20        272.00 Email with J. Teresi regarding evidence for sale hearing

06/02/23     JCC                        3.00       3,750.00 Research and draft 9019 settlement motion (2.3) ; draft
                                                            9019 settlement motion (0.4); telephone call with J.
                                                            Morley, J . Teresi, and D. Dunn regarding same (0.3)

06/02/23     EAM                          .50        642 .50 Conference with J . Teresi regarding sale hearing (0 .3);
                                                             strategize regarding sale hearing testimony (0.2)

06/02/23     DCD                        1.50       1,440.00 Conference call with J . Celentino, J. Teresi, and W.
                                                            Morley regarding 9019 settlement motion workstream
                                                            (0.3); review adversary proceeding dockets and update
                                                            case calendar (1.2)

06/02/23     JWM                        1.70       1,810.50 Call with J . Celentino, J. Teresi, and D . Dunn regarding
                                                            9019 settlement motion (0.5); draft portion of 9019
                                                            settlement motion (1.2)

06/02/23     JLT                        6.10       6,496 .50 Call with J . Celentino, D. Dunn, and W. Morley regarding
                                                             pending litigations (0.5); draft litigation summary inserts
                                                             (3.6); research case law to assist in drafting letter response
                                                             to inspection notice (0.9); draft letter response to
                                                             inspection notice (0.5); finalize and send the same to

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                                                               Mayer Brown (0 .2) ; correspond with J . Celentino
                                                               regarding 9019 settlement motion (0.4)

06/03/23     HKM                         .60         876 .00 Advise A. Sorkin regarding Monster/OBI litigation issues

06/03/23     JCC                        5.40       6,750 .00 Draft 9019 motion and settlement agreement (1.1);
                                                             research and draft 9019 motion (4.3)

06/04/23     AQ                          .60         816.00 Email and telephone conference with B. Shraiberg
                                                            regarding emergency motions (0 .4); email with H.
                                                            Murtagh and A. Sorkin regarding same (0.2)

06/04/23     HKM                        1.20       1,752.00 Email correspondence with A. Sorkin, A. Quartarolo
                                                            regarding Owoc motion regarding trademark
                                                            abandonment (0 .5); review correspondence and discuss
                                                            sanctions motion with A. Quartarolo (0 .3); call with A.
                                                            Sorkin regarding sale litigation (0.4)

06/04/23     JCC                       13.80      17,250.00 Draft and revise 9019 settlement motion regarding asset
                                                            sale (8.7) ; research regarding same (4.4) ; emails with
                                                            Latham team regarding same (0 .7)

06/04/23     JJW                         .60         684 .00 Comment on 9019 settlement motion

06/04/23     JLT                         .40         426 .00 Correspond with J . Celentino regarding Monster
                                                             litigations

06/05/23     AQ                         1.50       2,040 .00 Telephone conference with H . Murtagh, J. Gusa and M .
                                                             Niles regarding emergency motions and related issues
                                                             (0.5) ; attend call with Huron and Rothschild regarding
                                                             status and strategy (0.5); email E. Olivieri regarding
                                                             settlement (0.1) ; email and telephone conference with P.
                                                             Dorsey and B. Shraiberg regarding emergency motions
                                                             (0.4)

06/05/23     AS                         2.40       3,972.00 Review and revise 9019 settlement motion (1.7);
                                                            conference with Pachulski, Latham teams regarding
                                                            recent J. Owoc motions (0.4); conference with J. Gusa, A.
                                                            Quartarolo, H. Murtagh regarding same (0.3)

06/05/23     ASB                        1.00       1,335.00 Correspondence and analysis regarding IP assets and
                                                            response to J. Owoc's motion to compel Debtor to
                                                            abandon ownership interests in same

06/05/23     HKM                        1.80       2,628 .00 Correspondence with Berger Singerman, Latham IP team
                                                             regarding IP abandonment motion (0.7); call with
                                                             stakeholders regarding Owoc trademark motion (0.6); call
                                                             with Berger Singerman regarding same (0.5)

06/05/23     JCC                        7.40       9,250 .00 Revise 9019 settlement motion and emails regarding same
                                                             (1.6); review and revise 9019 motion (4.6); additional
                                                             research regarding same (1.2)

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06/05/23     DCD                        .80         168.00 Draft summary of OBI/Monster litigation for 9019
                                                           settlement motion

06/05/23     NAG                        .90         141.00 Conduct research into 9019 settlement analysis

06/05/23     JLT                       3.10       3,301.50 Call with G . Metzger and J. Celentino regarding
                                                           outstanding Monster litigations (0.5); review dockets of
                                                           ongoing Monster litigations and revise draft 9019 motion
                                                           (1.3); correspond with J. Celentino regarding the same
                                                           (0.4); review May bills and finalize attorneys' fees motion
                                                           (0.4); review and revise draft 9019 settlement motion (0.5)

06/06/23     AQ                         .80       1,088.00 Email and telephone conference with M. Niles regarding
                                                           emergency hearing and related issues

06/06/23     AS                         .80       1,324.00 Attend call regarding J . Owoc litigation with Latham,
                                                           Berger Singerman teams (0.5); review G. Metzger changes
                                                           to 9019 motions (0.3)

06/06/23     ASB                       1.10       2,269 .50 Telephone conference regarding Entourage IP provisions
                                                            in the APA and strategy for response to J . Owoc's motion
                                                            to compel Debtor to abandon ownership interests in
                                                            Entourage IP (0 .5); review and revise correspondence
                                                            regarding same (0.3); review and analyze status of certain
                                                            Bang-related trademarks owned by Entourage to develop
                                                            strategy for recovery of same (0.9)

06/06/23     HKM                        .80       1,168.00 Review and revise draft orders resolving trademark &
                                                           corporate authority motions

06/06/23     JCC                       2.80       3,500.00 Telephone call with Latham and Berger Singerman teams
                                                           regarding pending motion and litigation strategy (0.5);
                                                           review counter-designations in adversary proceeding
                                                           (0.2); review and revise 9019 motion, redact, and
                                                           distribute (1.8); emails with Latham team regarding
                                                           strategy and process (0.3)

06/06/23     JJW                       2.60       2,964 .00 Comment on 9019 settlement motion (1.6); review
                                                            comments to 9019 motion (0.6); prepare proposed order for
                                                            9019 motion (0.4)

06/06/23     JWM                       1.10       1,111.50 Review and revise counter-designations

06/06/23     JLT                       1.20       1,218.00 Revise 9019 settlement motion

06/01123     DTG                        .50         680.00 Review complaint and analyze coverage for same (0.3);
                                                           confer with A. Quartarolo regarding same (0.2)

06/01/23     AQ                        1.90       2,584.00 Email and telephone conference with N . Wages and B.
                                                           Kaplan regarding IP assets and related issues (0.6) ; email
                                                           B. Shaiberg regarding sale process (0.2); review complaint
                                                           against directors (0.8) ; email D. Gardiner and A. Sorkin

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                                                               regarding same (0 .2) ; email S. Panagos, B. Dickinson, and
                                                               S. Gray regarding same (0 .1)

06/01123     CAR                         .60       1,110.00 Call with A. Quartarolo regarding J. Owoc complaint

06/01123     HKM                        1.80       2,628 .00 Call with Latham and UCC teams regarding trademark
                                                             litigation (partial) (0.5); review Owoc complaint and
                                                             motion regarding board actions (0.5); attention to sanction
                                                             and trademark motion denial orders (0.4); revisions to
                                                             9019 settlement motion (0.4)

06/01/23     JCC                         .90       1,125.00 Further review of edits to 9019 motion and revisions to
                                                            same

06/01/23     JJW                        2.80       3,192.00 Review comments to 9019 settlement motion (0 .6);
                                                            incorporate comments to 9019 settlement motion (0.1);
                                                            further revise 9019 settlement motion to incorporate
                                                            comments (1.1); review revised draft of same (0.4)

06/01/23     JLT                         .80         852 .00 Revise 9019 motion

06/01/23     zz                          .10         493.50 Review and revise settlement motion

06/08/23     AS                          .50         827.50 Telephone conference with R. Dahl regarding new J.
                                                            Owoc action and background

06/08/23     JCC                         .10         815.00 Revise 9019 motion

06/08/23     JLT                        1.60       1,104 .00 Correspond with Consilio regarding document production
                                                             (0.2) ; draft stipulation extending stay in Warner adversary
                                                             proceeding (0.4); correspond with W. Morley and N.
                                                             Gulati regarding documents responsive to discovery
                                                             requests (0.1)

06/08/23     zz                         5.60       3,948.00 Review and revise the Monster settlement motion and
                                                            related agreement

06/09/23     AQ                         1.40       1,904 .00 Email and telephone conferences with A. Libeu regarding
                                                             APA and 9019 (0.1); review correspondence regarding
                                                             same (0 .1); email with J. Teresi and A. Blanco regarding IP
                                                             assets and complaint (0 .6)

06/09/23     ASB                         .50         661 .50 Correspondence and analysis regarding Complaint to
                                                             recover Entourage IP from J . Owoc

06/09/23     HKM                         .90       1,314 .00 Review and comment on orders resolving Owoc
                                                             emergency motions (0.5); review Owoc appeal regarding
                                                             PI order (0.4)

06/09/23     YLB                        2.20       2,150.00 Review and revise 9019 motion and order

06/09/23     JCC                         .80       1,000.00 Review comments to 9019 motion (0.3); further revise

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                                                               same (0 .6)

06/09/23     JJW                        2.90       3,306.00 Incorporate comments to 9019 settlement motion (1.6);
                                                            review revised draft 9019 settlement motion (0.4); further
                                                            revise 9019 settlement motion to incorporate comments
                                                            (0.6); review revised sale order (0 .3)

06/09/23     JL T                       6.00       6,390 .00 Call with A. Quartarolo regarding adversary proceeding
                                                             complaint (0.5); zoom conference with B. Kaplan and J.
                                                             Celentino regarding Owoc assets (0.4); correspond with J .
                                                             Celentino regarding 9019 motion (0.6)

06/09/23     zz                         1.40         987 .00 Review settlement motion

06/10/23     AQ                           .70        952 .00 Email and telephone conference with E . Chafetz and D.
                                                             Leit regarding IP assets and related issues (0 .6); email A.
                                                             Sorkin regarding same (0.1)

06/10/23     AS                         1.00       1,655.00 Review and revise settlement term sheet (0.8); telephone
                                                            conference with J . Celentino regarding same (0.2)

06/10/23     JCC                        2.10       2,625.00 Draft and revise 9019 settlement term sheet

06/10/23     JL T                         .40        426.00 Correspond with A. Blanco regarding adversary
                                                            proceeding

06/11/23     AQ                           .80      1,088.00 Email I. Gilbert regarding subpoena to DocuSign (0.1);
                                                            email and telephone conference with E . Chafetz regarding
                                                            IP assets (0.3); email E. Polanco and S. McPherran
                                                            regarding injunction compliance (0.1); email P. Dorsey
                                                            regarding social media accounts (0.1); email A. Sorkin
                                                            regarding claims (0.2)

06/11/23     AS                         1.80       2,979.00 Telephone conference with J. Wallack regarding J. Owoc
                                                            suit against directors (0.7) ; review 9019 term sheet
                                                            comments (0.7); telephone conference with L. Lluberas
                                                            regarding 9019 term sheet (0.4)

06/11/23     JCC                        2.80       3,500.00 Draft and revise materials regarding discovery exchange
                                                            (0.7); review and revise 9019 term sheet and emails
                                                            regarding same (1.1); further revisions to disclosure
                                                            schedules for discovery (1.0)

06/11/23     JJW                          .70        798.00 Revise 9019 settlement motion

06/11/23     NAG                        2.20       1,826.00 Create asset schedule to resolve dispute with Owocs

06/11/23     JLT                        1.30       1,384 .50 Correspond with J . Celentino and J. Weichselbaum
                                                             regarding 9019 motion (0 .8); draft subpoena (0.5)

06/12/23     AQ                         4.40       5,984 .00 Email and telephone conference with A. Sorkin regarding
                                                             engagement letter (0.4); attend telephone conference with

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                                                               Berger Singerman, Huron and Rothschild regarding status
                                                               and strategy of pending litigation (0.5); telephone
                                                               conference with J. Weichselbaum regarding asset sale and
                                                               related issues in connection with Owoc dispute (0.5);
                                                               telephone conference with I. Gilbert regarding subpoena
                                                               and related issues (0.4) ; email J. Gusa and A. Sorkin
                                                               regarding same (0.3) ; review emergency motions (1.1);
                                                               email M. Niles regarding same (0.1); email and telephone
                                                               conference with J. Teresi regarding discovery (0.4); email
                                                               H . Murtagh regarding adversary proceeding and
                                                               scheduling order (0.2) ; email P. Dorsey regarding same
                                                               and social media accounts (0.2); email with G . Metzger
                                                               and S. McPherran regarding documents and social media
                                                               accounts (0.3)

06/12/23     AS                         1.50       2,482.50 Video conference with Ropes, Goulston, Latham teams
                                                            regarding director suit (0.5); telephone conference with R.
                                                            Caruso regarding same (0.7); correspondence with G.
                                                            Metzger regarding 9019 settlement comments (0 .3)

06/12/23     ASB                        4.30       5,740.50 Review and revise draft AP complaint regarding
                                                            Entourage IP (2 .1); correspondence and analysis regarding
                                                            same (0.4); review and analyze intracompany license
                                                            agreements relating to Entourage IP (0 .2); conduct due
                                                            diligence regarding IP filed in the name of Entourage IP
                                                            Holdings (0.3); correspondence and analysis regarding
                                                            same (0 .2); correspondence and analysis regarding
                                                            revisions to IP provisions in APA (0.5); telephone
                                                            conference with Monster's counsel regarding TT AB
                                                            proceedings involving Entourage IP (0.4); correspondence
                                                            regarding same (0.2)

06/12/23     HKM                        1.60       2,336.00 Review APA language regarding trademark license issue
                                                            (0.2); discuss social media AP scheduling order with A.
                                                            Quartarolo, M. Niles (0.5); drafting scheduling order (0.4);
                                                            discuss appeals/deadlines with J. Celentino (0.5)

06/12/23     JJW                        2.70       3,078.00 Participate in call with A. Sorkin and E. Chafetz regarding
                                                            9019 settlement (0 .9); review comments to 9019 settlement
                                                            (0.3); incorporate same (0.3); further revise 9019
                                                            settlement motion (0.8); review revised draft settlement
                                                            motion (0.4)

06/12/23     NAG                        1.70       1,411.00 Telephone conference with J . Weichselbaum discussing
                                                            changes to settlement motion (0.5); review 9019 settlement
                                                            motion (1.1)

06/12/23     JLT                        9.40      10,011.00 Call with A. Blanco regarding adversary proceeding
                                                            complaint (0.5); revise draft adversary proceeding
                                                            complaint (5.7); call with J. Weichselbaum regarding IP
                                                            (0.3) ; continue drafting subpoena (0.4); send same to A.

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                                                             Quartarolo and G . Metzger for review (0.2) ; correspond
                                                             with the same regarding the subpoena (0.2); draft
                                                             litigation task list (0.3); correspond with A. Blanco
                                                             regarding adversary proceeding complaint (0.4); review
                                                             documents related to adversary proceeding complaint
                                                             (0.6); review and analyze deposition transcripts (0.8)

06/12/23     CMT                       1.20         588.00 Review Owoc appeals cases, notices of appeal (0.6);
                                                           review and calendar all deadlines (0.3 ); email with
                                                           Latham team regarding same (0 .3)

06/13/23     AQ                        6.70       9,112 .00 Telephone conference with M . Niles and B. Shraiberg
                                                            regarding company documents (0.3); email B. Shraiberg
                                                            and I. Gilbert regarding same (0.3); email and telephone
                                                            conference with A. Sorkin regarding same (0.3); telephone
                                                            conference with H. Murtagh regarding same (0.2); email
                                                            and telephone conference with R. Maimin regarding same
                                                            (0.4); telephone conferences with Pachulski, Berger
                                                            Singerman, D. Mun and A. Sorkin regarding governance
                                                            and related issues (0.8); telephone conference with Berger
                                                            Singerman, A. Sorkin, D. Mun and B. Kaplan regarding
                                                            same (0 .5); review documents regarding same (0.6);
                                                            review and revise adversary proceeding complaint (2.8);
                                                            email and telephone conference with J. Teresi and A.
                                                            Blanco regarding same (0.1); email H . Murtagh regarding
                                                            motion to withdraw the reference (0.3); email A. Libeu
                                                            regarding permanent injunction and social media posts
                                                            (0.1)

06/13/23     ASB                       4 .00      5,340.00 Review and revise draft AP complaint regarding
                                                           Entourage IP (3 .1); correspondence and analysis with
                                                           Latham team regarding same (0 .9)

06/13/23     HKM                       1.90       2,774 .00 Call with Monster counsel regarding trademark disputes
                                                            (0.4); follow up with A. Quartarolo, A. Bianco regarding
                                                            same (0.8); call with Owoc counsel regarding motion to
                                                            withdraw reference (0.4); review docket regarding
                                                            withdrawal, draft extension motion (0.3);

06/13/23     JCC                        .40         500.00 Review 9019 motion draft

06/13/23     JJW                       2.60       2,964 .00 Review revised 9019 settlement motion (0.6); review
                                                            comments to same (0.3); review updated draft of 9019
                                                            settlement term sheet and motion (0.7); review comments
                                                            to 9019 settlement term sheet (0.4); discuss the same with
                                                            A. Sorkin (0.2); incorporate comments (0.4)

06/13/23     NAG                       1.60       1,328.00 Update draft 9019 motion to account for changes to term
                                                           sheet

06/13/23     JLT                      10.90     11,608.50 Call with A. Quartarolo regarding discovery (0.3); call with

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                                                               A. Quartarolo regarding emergency motions (0.5); call
                                                               with A. Quartarolo, Y. Fursevich, H. Murtagh, and A.
                                                               Blanco regarding adversary proceeding complaint (0.5);
                                                               call with H. Murtagh, A. Quartarolo, and A. Blanco
                                                               regarding the same (0.5); revise adversary proceeding
                                                               complaint (4.3); draft litigation task list (0.3) ; research
                                                               claim theories for adversary proceeding complaint (1.3);
                                                               review deposition transcript (0 .7); call with Ceritext
                                                               regarding deposition transcripts (0.2); draft motion to
                                                               quash (2 .3)

06/14/23     YM                         1.60       2,456 .00 Call with Lowenstein, Latham and Berger Singerman
                                                             teams regarding Owoc claims (0.6); call with Pachulski
                                                             and Berger Singerman regarding Owoc claims and follow
                                                             up call with Latham team regarding same (1.0)

06/14/23     AQ                         4.40       5,984 .00 Review and revise scheduling order for adversary
                                                             proceeding (0.3); email H . Murtagh regarding same (0.1);
                                                             email P. Dorsey regarding motion to withdraw the
                                                             reference (0.2); review same (0.6); review and revise
                                                             adversary proceeding complaint (2.8); email H. Murtagh
                                                             regarding same (0 .2); email J. Teresi regarding same (0.1)

06/14/23     AS                           .20        331.00 Correspondence with J. Weichselbaum regarding 9019
                                                            settlement matters

06/14/23     ASB                        2.80       3,738.00 Revise draft AP complaint regarding Entourage IP (1.1);
                                                            correspondence regarding same (0.5); correspondence and
                                                            analysis regarding revisions to IP provisions in AP A and
                                                            telephone conferences regarding same (1.2)

06/14/23     HKM                        2.20       3,212.00 Draft scheduling order (0.5); discuss with A. Quartarolo
                                                            (0.2); correspondence regarding same to DCC/Monster
                                                            (0.2); review and revise draft complaint regarding IP (1.3)

06/14/23     YLB                        1.20       1,500.00 Review and revise sale 9019 motion (1.0); correspond with
                                                            Latham team regarding same (0 .2)

06/14/23     JJW                        1.60       1,824.00 Participate in litigation claimant call regarding sale update
                                                            (0.2); review revised 9019 settlement documents (0.8);
                                                            review comments to 9019 settlement motion and term
                                                            sheet (0.6)

06/14/23     JLT                        3.70       3,940.50 Draft motion to quash DocuSign subpoena (2.4); revise
                                                            adversary proceeding complaint (1.3)

06/15/23     AQ                         6.20       8,432 .00 Email J. Teresi regarding Entourage IP complaint (0.2) ;
                                                             email with M . Niles regarding proposed orders (0 .2); email
                                                             K. Frazier regarding document production (0.1); email
                                                             with R. Maimin regarding contempt motion (0.1); draft and
                                                             revise contempt motion (3.5); email I. Gilbert regarding

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                                                               company documents (0 .3); email M . Niles and J .
                                                               Weichselbaum regarding litigation settlements (0.1); email
                                                               J. Teresi regarding local rules (0.1); review same (0.2);
                                                               review motion to stay appeal (0 .3); email H . Murtagh
                                                               regarding same (0.1); review and revise adversary
                                                               complaint (0.7); email and telephone conference with A.
                                                               Blanco and J . Teresi regarding same (0.3)

06/15/23     AS                           .70      1,158.50 Telephone conference with A. Quartarolo regarding
                                                            director action (0.4); conference with R. Dahl regarding
                                                            same (0.2); correspondence with client regarding same
                                                            (0.1)

06/15/23     ASB                        1.20       1,602.00 Correspondence and analysis regarding proposed
                                                            revisions to AP complaint regarding Entourage IP (0.4);
                                                            conduct due diligence regarding Entourage patents (0.3);
                                                            telephone conference with Bang in-house counsel
                                                            regarding draft complaint and strategy regarding same
                                                            (0.5)

06/15/23     HKM                          .80      1,168.00 Correspondence with A. Quartarolo regarding Owoc
                                                            litigations (0 .2); correspondence regarding scheduling
                                                            order (0.2); review revised trademark complaint (0.4)

06/15/23     JJW                        4 .20      4,788 .00 Review board materials for 9019 settlement (0.4); revise
                                                             the same (1.2); review comments to same (0.2); incorporate
                                                             comments (0.3); review comments to 9019 settlement
                                                             documents (0.7); revise the same to incorporate comments
                                                             (0.4); revise revised documents in connection with 9019
                                                             settlement (0.4); review motion to shorten time regarding
                                                             9019 settlement (0.2); review revised 9019 settlement
                                                             motion (0.4)

06/15/23     NAG                        2.50       2,075.00 Update draft 9019 motion with comments from opposing
                                                            counsel

06/15/23     JLT                        5.90       6,283 .50 Prepare for and call with G. Metzger, A. Blanco, and G .
                                                             Eckhouse regarding adversary proceeding (0.8);
                                                             correspond with S. Rodriguez regarding the same (0 .4);
                                                             correspond with A. Quartarolo and A. Blanco regarding
                                                             the same (0.3); continue revising adversary proceeding
                                                             complaint (3.2); continue drafting motion to quash
                                                             DocuSign subpoena (1.2)

06/16/23     AQ                         8.40      11,424 .00 Review and revise complaint (1.0); email with J. Teresi, A.
                                                             Blanco, and G. Metzger regarding same (0.2); email with
                                                             H . Murtagh and J. Gusa regarding contempt motion (0.3);
                                                             email with K. Burns regarding same (0.1); review and
                                                             revise same and exhibits for filing (2 .5); email R. Mairnin
                                                             and M. Julceus regarding same (0.3); review motion to
                                                             dismiss (0.7); email with J. Gusa, M. Niles, A. Sorkin and

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                                                              H . Murtagh regarding same (0.2); review and revise
                                                              motion to quash (2.2); email with J. Teresi regarding same
                                                              (0.3); review summary judgment ruling (0.5); email with H.
                                                              Murtagh regarding same (0.1)

06/16/23     ASB                       1.00       1,335.00 Revise and finalize AP complaint regarding Entourage IP
                                                           and exhibits to same

06/16/23     HKM                       5.00       7,300.00 Review and comment on emergency contempt motion
                                                           (0.6); revisions to trademark complaint (0.7); review and
                                                           revise motion to quash (0.9); review motion to seal (0.3);
                                                           review social media Summary judgment opinion (0.7);
                                                           discuss form of order regarding same with Berger
                                                           Singerman (0.3); review Owoc motion to dismiss (0.6);
                                                           strategy memorandum regarding motion to dismiss to A.
                                                           Sorkin, A. Quartarolo (0.7); email G. Metzger regarding
                                                           same (0 .2)

06/16/23     EAM                       1.50       1,927.50 Review summary judgment opinion (0.5); review related
                                                           filings (1.0)

06/16/23     JJW                        .80         912 .00 Review motion to dismiss JHO Real Estate case (0.3);
                                                            update and revise 9019 settlement documents (0.3);
                                                            correspondence with Latham team regarding 9019
                                                            settlement motion (0.2)

06/16/23     NAG                       2.90       2,407 .00 Prepare 9019 and settlement term sheet for filing

06/16/23     JLT                       7.30       7,774.50 Call with J. Weichselbaum regarding adversary
                                                           proceeding (0.3); revise draft adversary proceeding
                                                           complaint (0.5); correspond with A. Quartarolo and M.
                                                           Niles regarding the same (0.2); revise draft adversary
                                                           proceeding complaint (2 .3); correspond with F. Tilus and
                                                           S. Rodriguez regarding the same (0.3); revise motion to
                                                           quash DocuSign subpoena (2.3); coordinate exhibits for
                                                           adversary proceeding complaint (0.7); correspond with M.
                                                           Niles regarding the same (0.3) ; prepare exhibits for
                                                           emergency contempt motion (0.3); finalize adversary
                                                           proceeding complaint and coordinate filing of the same
                                                           (0.5)

06/16/23     CMT                       1.60         784 .00 Review motion to dismiss (0 .8 ); research regarding same
                                                            (0.6); emails with Latham team regarding same (0.2)

06/11/23     AQ                        1.70       2,312 .00 Review motion to dismiss and related correspondence
                                                            (0.8); telephone conference with J. DiDonato and R.
                                                            Caruso regarding same (0 .5); email J . Teresi and E. Morris
                                                            regarding board minutes (0.2); email A. Sorkin and J.
                                                            Weichselbaum regarding 9019 motion (0.2)

06/17/23     AS                         .70       1,158.50 Telephone conference with Pachulski regarding Owoc

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                                                               motion to dismiss

06/17-/23    HKM                        2.40       3,504.00 Call with Monster counsel regarding Owoc motion to
                                                            dismiss (1.0); draft preliminary response to motion to
                                                            dismiss (1.4)

06/17-/23    JJW                         .50         57-0.00 Revise 9019 settlement documents (0.3); review revised
                                                             drafts of 9019 settlement documents (0 .2)

06/17-/23    NAG                        1.80       1,494 .00 Prepare 9019 motion and settlement term sheet for filing
                                                             (1.5); email opposing parties to get signature pages on
                                                             9019 settlement term sheet (0.3)

06/18/23     AQ                         2.10       2,856.00 Email with H. Murtagh, A. Sorkin and J. Teresi regarding
                                                            motion to dismiss and discovery (0.3) ; draft and revise
                                                            discovery (1.2); review and revise preliminary response to
                                                            motion to dismiss (0.6)

06/18/23     HKM                         .7-0      1,022.00 Revise preliminary response to motion to dismiss

06/18/23     JLT                         .80         852 .00 Draft deposition notice (0.2); review documents and redact
                                                             for privilege (0.6)

06/19/23     AQ                         5.30       7-,208.00 Email and telephone conference with J. Celentino and J.
                                                             Teresi regarding board minutes and discovery (0.5) ;
                                                             review board materials for production (2 .3); email with J.
                                                             Teresi regarding same (0.3); email H. Murtagh, J. Teresi
                                                             and A. Sorkin regarding discovery (0.5); email G. Metzger
                                                             regarding settlement agreement (0.2); review and revise
                                                             discovery responses (0.3); email J . Gusa regarding same
                                                             (0 .1); review and revise preliminary response to
                                                             emergency motion (1.0); email G. Metzger and H.
                                                             Murtagh regarding same (0.1)

06/19/23     JCC                        2.7-0      3,37-5.00 Review and revise 9019 motion (0.7-); telephone call with
                                                             A. Quartarolo and J . Teresi regarding discovery (0.6);
                                                             review discovery productions (1.4)

06/19/23     JJW                         .90       1,026.00 Revise 9019 settlement term sheet and motion (0.4) ;
                                                            incorporate comments to 9019 settlement documents (0.5)

06/19/23     DCD                         .20         192.00 Correspond with Latham team regarding counter-
                                                            designations and social media appeals

06/19/23     JLT                        5.20       5,538.00 Correspond with D. Dunn regarding adversary proceeding
                                                            (0.2); call with Joe C. and A. Quartarolo regarding
                                                            discovery (0.6); review and redact documents responsive
                                                            to 2004 discovery requests (4.4)

06/20/23     AQ                         2.50       3,400.00 Attend telephone conference with Berger Singerman,
                                                            Huron and Rothschild regarding litigation status and
                                                            strategy (0.5) ; email and telephone conference with J. Paul

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                                                              and G. Metzger regarding settlement agreement (0.4);
                                                              attention to discovery matters (1.5); email G . Metzger and
                                                              J. Gusa regarding same (0.1)

06/20/23     AQ                         .50         680.00 Conference with S. McPherran regarding IT assets

06/20/23     AS                        2.10       3,475.50 Review Owoc pleadings and correspondence with A.
                                                           Quartarolo regarding same (0.8); further review complaint
                                                           and related issues concerning corporate authority (1.3)

06/20/23     HKM                       3.20       4,672.00 Discussions regarding litigation strategy for contempt
                                                           motion, motion to dismiss, discovery motion, lift-stay
                                                           motion, and sale hearing with A. Quartarolo (1.6); notes to
                                                           A. Quartarolo on contempt motion argument (0.5)

06/20/23     JCC                       3.20       4,000.00 Review board materials for privilege (3 .0); draft
                                                           declaration in support of 9019 motion (0.2)

06/20/23     JJW                        .70         798.00 Review objection to motion to dismiss (0.3); revise revised
                                                           9019 motion (0.4)

06/20/23     DCD                        .20         192.00 Review counter-designation precedent

06/20/23     JLT                       2.00       2,130.00 Call with A. Quartarolo regarding discovery (0.3); review
                                                           and redact documents responsive to 2004 discovery (1.7)

06/20/23     zz                        1.10         775.50 Telephone conference with J. Celentino regarding next
                                                           steps on a declaration supporting the settlement motion
                                                           (0.3); draft DiDonato Declaration (0.8)

06/21/23     AQ                        5.10       6,936 .00 Email and telephone conferences with H. Murtagh
                                                            regarding meet and confer discussions and hearing
                                                            strategy (0.7); review and revise redactions to board
                                                            materials for production (3.3); email and telephone
                                                            conference with J . Teresi regarding same (0.3); review
                                                            hearing exhibits (0.4); email A. Sorkin and D. Mun
                                                            regarding status report (0.1); review and revise same (0.3)

06/21/23     AS                         .70       1,158.50 Correspondence with R. Dahl regarding Owoc litigation
                                                           questions (0.2); video conference with H. Murtagh, A.
                                                           Quartarolo regarding Owoc matters (0.5)

06/21/23     HKM                       1.90       2,774 .00 Call with Owoc counsel regarding motion to dismiss (0 .7);
                                                            discuss same with A. Quartarolo (0.3); discuss summary
                                                            judgment final order with Owoc counsel (0.2); follow-up
                                                            call with Owoc counsel regarding deposition (0.2); call
                                                            with A. Sorkin, A. Quartarolo, J. Gusa regarding sale
                                                            hearing, open litigation (0.5)

06/21/23     JCC                        .80       1,000.00 Review filings related to adversary proceedings and
                                                           appeals (0.4); review counter-designations (0.4)


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06/21/23     DCD                        2.50       2,400 .00 Draft counter-designations regarding appeal case

06/21/23     NAG                        1.50       1,245.00 Redact documents for production

06/21/23     JLT                        1.50       1,597.50 Correspond with N. Gulati regarding 2004 discovery (0.2);
                                                            review and redact documents responsive to 2004
                                                            discovery (1.1); coordinate production of the same (0.2)

06/22/23     AQ                         1.80       2,448.00 Email and telephone conference with H. Murtagh
                                                            regarding hearings and litigation strategy (0.6); review
                                                            declarations filed in relation to contempt motion (0.5);
                                                            conference with J. Gusa and R. Maimin regarding same
                                                            (0.2); review finding from S. McPherran regarding
                                                            electronic devices (0.3); email S. McPherran and G.
                                                            Metzger regarding same (0.2)

06/22/23     AS                         2.20       3,641.00 Conference with Quarles and Brady, G. Metzger, J. Gusa
                                                            regarding injunction/super creatine matters (0.5);
                                                            telephone conference with A. Quartarolo regarding Owoc
                                                            litigation debrief and next steps (0 .5); conference with G.
                                                            Bukovi, J. Gusa, R. Caruso, J. DiDonato regarding director
                                                            indemnity request/litigation (1.2)

06/22/23     HKM                        2.00       2,920.00 Correspondence with Owoc counsel regarding scheduling
                                                            (0.3); discuss strategy and scheduling with A. Quartarolo
                                                            (0.7)

06/22/23     JCC                        3.20       4,000 .00 Review filings on bankruptcy docket (0 .6); finalize
                                                             counter-designations to various Owoc appeals (1.5) ;
                                                             emails with Latham team regarding same (0.1); review
                                                             draft notice of adjournment (0.2); emails regarding same
                                                             (0.1) ; revise draft pleading (0.7)

06/22/23     DCD                          .50        480.00 Review revisions to counter-designations (0.2); correspond
                                                            with Berger Singerman team regarding counter-
                                                            designations filing (0.3)

06/23/23     AQ                         6.40       8,704 .00 Draft outline for witness preparation (1.1); review
                                                             documents regarding same (0.4); email J. Gusa and H.
                                                             Murtagh regarding same (0.2); telephone conference with
                                                             G. Metzger, J. Gusa, Y. Duran, and H. Murtagh regarding
                                                             same (0 .5); email and telephone conference with J. Teresi
                                                             and H . Murtagh regarding deposition preparation (0.8);
                                                             draft issues list and review documents regarding same
                                                             (1.0); email and telephone conference with H . Murtagh, J.
                                                             Teresi and J. Gusa regarding hearing preparation (0.5);
                                                             email and telephone conference with E. Olivieri regarding
                                                             Gulfstream settlement (0.3); review deposition excerpts
                                                             (0.5); email M. Julceus regarding same (0.1); review
                                                             discovery responses (0.4); email A. Gebert regarding same
                                                             (0.1) ; email A. Sorkin regarding hearing and sale process

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                                                               (0.3) ; email G. Metzger regarding board minutes (0 .2)

06/23/23     AS                         3.20       5,296.00 Telephone conference with J. Wallack regarding
                                                            indemnity request (0.5); prepare response to same (0.5);
                                                            review Owoc pleadings (0.4); telephone conference with
                                                            A. Quartarolo, H. Murtagh regarding Owoc litigation (0.2);
                                                            telephone conference with Y. Duran, A. Quartarolo, G.
                                                            Metzger regarding potential testimony (0.4); telephone
                                                            conference with Ropes regarding stay relief, director
                                                            lawsuit (0.3); revise indemnity response (0.2); further
                                                            correspondence with G. Metzger, A. Quartarolo, H.
                                                            Murtagh regarding Owoc litigation strategy (0.2); video
                                                            conference with Pachulski team regarding Super Creatine
                                                            injunction matters (0.5)

06/23/23     HKM                        3.50       5,110.00 Correspondence with Owoc counsel regarding scheduling
                                                            (1.1); calls with G. Metzger, A. Quartarolo, A. Sorkin
                                                            regarding evidence for motion to dismiss opposition,
                                                            strategy (1); review draft opposition to lift-stay, underlying
                                                            complaint, case law (1.4)

06/23/23     JCC                         .70         875 .00 Review filings on bankruptcy court docket regarding
                                                             adversary proceedings and open contested matters

06/23/23     JLT                        5.10       5,431.50 Call with A. Quartarolo and H. Murtagh regarding motion
                                                            to dismiss (0.4) ; draft J. Owoc deposition outline (4.7)

06/24/23     AQ                          .50         680 .00 Email with H. Murtagh and J . Gusa regarding hearings
                                                             and litigation strategy (0.3) ; review protective order
                                                             motion (0.2)

06/24/23     AS                          .20         331.00 Telephone conference with C. Delo regarding super
                                                            creatine matters

06/24/23     HKM                        3.60       5,256.00 Call with Owoc counsel (0 .5); updates to Latham team
                                                            regarding same (0.3); discuss strategy with J. Gusa (0.2);
                                                            follow up with all Owoc counsel regarding open
                                                            scheduling and discovery issues (0 .3); review revised lift-
                                                            stay objection (0.5) ; correspondence with A. Sorkin, A.
                                                            Quartarolo regarding same (0.3); outlining response to
                                                            Owoc motion to dismiss (1.5)

06/24/23     JLT                        3.10       3,301.50 Continue drafting J. Owoc deposition outline

06/25/23     AQ                         4 .00      5,440.00 Email and telephone conference with H . Murtagh
                                                            regarding litigation strategy and upcoming hearings (0.5);
                                                            telephone conference with bidder regarding litigation
                                                            diligence (0.4); email J . Celentino regarding same (0.1);
                                                            email J. Teresi regarding deposition outline (0.2); draft
                                                            proposed order (0.7); email J. Gusa and R. Maimin
                                                            regarding same (0.1) ; review 2004 discovery (0.8); email J.

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                                                               Teresi and E. Morris regarding same (0.2); review and
                                                               revise response to emergency motion (0 .8); email H .
                                                               Murtagh regarding same (0.1); email H. Murtagh and A.
                                                               Sorkin regarding stay relief motion (0 .1)

06/25/23     JLD                         .30        390.00 Review Latham team, Debtor and joint defense
                                                           communications

06/25/23     HKM                       4.20        6,132.00 Call with director counsel (0.5); call with A. Quartarolo
                                                            (0.4); draft scheduling motion (2.4); discuss with UCC,
                                                            director counsel (0 .5)

06/25/23     CMT                         .10        343 .00 Review additional Owoc appeals cases and calendar all
                                                            related deadlines

06/26/23     AQ                        4.40       5,984.00 Attend telephone conference with Huron, Berger
                                                           Singerman and Rothschild regarding litigation status and
                                                           strategy (0.4); review emergency filings (0 .6); review
                                                           discovery requests (0.5); email with J. Gusa, H. Murtagh
                                                           and J . Teresi regarding same (0 .5); email A. Gebert
                                                           regarding discovery (0.1); analyze evidence for motion to
                                                           dismiss (2.2); email Owoc counsel regarding protective
                                                           order (0.1)

06/26/23     AS                          .50         821.50 Review Owoc discovery requests (0.2); further
                                                            correspondence with A. Quartarolo and others regarding
                                                            same (0 .3)

06/26/23     HKM                        1.51       2,201.52 Discussions with Latham and Berger Singerman team
                                                            regarding adjournments, deposition, strategy regarding
                                                            Owoc litigations (0.9); call with Latham team regarding
                                                            sale status, impact on litigation (0.5)

06/26/23     JCC                         .40        500.00 Review incoming RFPs and RFAs and motion regarding
                                                           same (0 .2); review filings and orders regarding scheduling
                                                           of motions (0.2)

06/26/23     JJW                         .20        228 .00 Review motion to consolidate Owoc litigation matters

06/26/23     JLT                        5.00      5,325.00 Draft responses and objections to discovery requests (1.1);
                                                           correspond with Huron regarding depositions (0 .1); review
                                                           protective order and correspond with A. Quartarolo
                                                           regarding the same (0.3); correspond with A. Quartarolo
                                                           regarding meet and confer (0.2); correspond with Warner
                                                           counsel regarding stipulation (0.2); continue drafting
                                                           deposition outline of J. Owoc (3.1)

06/21/23     AQ                         5.30       1,208.00 Prepare for and attend meet and confer discussion
                                                            regarding discovery with I. Gilbert, J. Gusa and J. Teresi
                                                            (0.5); telephone conference with A. Sorkin regarding same
                                                            and status (0.4); email G. Weiner and A. Sorkin regarding

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                                                              Warner stipulation and related issues (0.3); email J. Gusa
                                                              and R. Maimin regarding proposed order on emergency
                                                              motion (0.1); email J. Feldman regarding same (0.1);
                                                              attention to discovery responses (1.0); email J. Teresi
                                                              regarding same (0.2); attention to document production
                                                              and redactions (2.2); email and telephone conference with
                                                              J . Teresi regarding same (0.5)

06/27/23     DCT                        .30         355.50 Provide edits to 9019 motion

06/27/23     JLT                       6.70       7,135.50 Prepare for and attend meet and confer with A.
                                                           Quartarolo, H. Murtagh, I. Gilbert, and J. Gusa regarding
                                                           Owoc motion to dismiss (0.4); finalize attorneys' fees
                                                           motion (0.3); review and revise responses and objections
                                                           to discovery requests (1.3); review and collect documents
                                                           responsive to discovery requests (1.6); review, finalize,
                                                           and redact board minutes (2 .1); correspond with A.
                                                           Quartarolo, N . Gulati, and D . Tift regarding the same
                                                           (0.3); draft email regarding the same to K. Rocco (0.4);
                                                           review documents relating to discovery (0.7); review and
                                                           analyze 2004 discovery requests (1.2)

06/28/23     GM                         .30         408.00 Analyze emails regarding claims to certain Entourage IP

06/28/23     AQ                        5.20       7,072 .00 Telephone conference with Berger Singerman, Huron,
                                                            and Rothschild regarding litigation status and strategy
                                                            (0.5); email and telephone conference with G . Weiner
                                                            regarding Warner stipulation (0.2); email J . Teresi
                                                            regarding same (0.1); draft and revise discovery responses
                                                            (1.8); email with J. Teresi regarding same (0.1); review
                                                            and revise board minutes and materials and redactions to
                                                            same (1.5); email I. Gilbert regarding deposition (0.1);
                                                            review and revise status update (0.6); email and telephone
                                                            conference with A. Sorkin regarding same (0.3)

06/28/23     AQ                         .80       1,088.00 Email and telephone conference with A. Sorkin, H .
                                                           Murtagh and J . Gusa regarding status and strategy in
                                                           connection with sale process and upcoming hearings

06/28/23     AS                         .50         827 .50 Telephone conference with A. Quartarolo, H . Murtagh
                                                            regarding scheduling matters

06/28/23     ASB                        .20         267 .00 Review and analyze text messages regarding IP
                                                            ownership and transfers (0.1); correspondence regarding
                                                            same (0 .1)

06/28/23     HKM                       1.10       1,606.00 Call with J . Gusa, A. Quartarolo, A. Sorkin regarding
                                                           approach to Owoc disputes, hearing (0.5); correspondence
                                                           with A. Quartarolo, Owoc counsel regarding discovery,
                                                           summary judgment order (0.6)


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06/28/23     DCT                         .80         948 .00 Suggest edits to 9019 motion

06/28/23     JJW                        3.60       4,104.00 Review and finalize 9019 settlement motion (0.6); review
                                                            and finalize motion to shorten time with respect to 9019
                                                            settlement (0.6) ; review and finalize settlement term sheet
                                                            (0.4); coordinate execution of 9019 settlement term sheet
                                                            (0.4) ; correspond with settlement parties regarding term
                                                            sheet (0.2); call with H . Murtagh to discuss stay objection
                                                            (0.3) ; review revised objection (0.5); revise the same (0.4);
                                                            correspond with A. Quartarolo regarding objection to stay
                                                            (0.2)

06/28/23     JLT                        6.80       7,242 .00 Revise responses and objections to discovery responses
                                                             (1.3) ; correspond with A. Quartarolo, A. Sorkin, and H.
                                                             Murtagh regarding the same (0.2); revise responses and
                                                             objections in response to comments from A. Sorkin (0.3) ;
                                                             call with A. Quartarolo regarding the same and
                                                             outstanding discovery (0.4); review and redact board
                                                             minutes (0.4); continue reviewing and analyzing discovery
                                                             requests, documents previously produced, and summarize
                                                             the same in email to A. Quartarolo and E. Morris (2.4) ;
                                                             correspond with G. Metzger regarding responses to
                                                             discovery (0.3); revise response and objections to
                                                             discovery requests (0.5); review documents related to
                                                             discovery (1.3)

06/29/23     AQ                         3.00       4,080 .00 Conference with L. Lluberas, A. Sorkin, D. Mun and K.
                                                             Rocco regarding strategy and upcoming deadlines (0.5);
                                                             telephone conference with J . Teresi and E. Morris
                                                             regarding document collection and production (0 .5);
                                                             gather responsive documents (0.4); email J. Teresi
                                                             regarding same (0.3); email J. Teresi regarding discovery
                                                             responses (0.2); email and telephone conference with B.
                                                             Shraiberg regarding document production (0.2); email J .
                                                             Feldman regarding social media accounts (0.1); email J.
                                                             Feldman and M. Zucker regarding protective order (0.1) ;
                                                             review Warner status update (0.1); email J . Wilbert
                                                             regarding same (0.1) ; email and telephone conference
                                                             with G . Weiner regarding Warner stipulation (0.2); email
                                                             J. DiDonato regarding hearings and discovery (0.1); email
                                                             C. Delo regarding same (0.1); email S. Panagos regarding
                                                             same (0 .1)

06/29/23     HKM                         .80       1,168.00 Call with lender counsel regarding approach to bidder
                                                            outreach (partial) (0.5); draft strategy for implementation
                                                            of court's discovery ruling (0 .3)

06/29/23     JCC                         .50         625.00 Review document discovery regarding Owoc motions

06/29/23     EAM                         .60         771.00 Call with Latham litigation team regarding status


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06/29/23     JJW                         .30        342.00 Correspond with J . Teresi regarding motion to dismiss
                                                           (0 .2); review documents in connection with same (0 .1)

06/29/23     JLT                        9.00       9,585.00 Call with A. Quartarolo, H . Murtagh, and J. Gusa
                                                            regarding motion to dismiss (1.1); call with G. Metzger
                                                            regarding discovery (0.8); revise draft discovery responses
                                                            (0.4); review documents related to discovery (1.1) ;
                                                            correspond with Consilio to coordinate production of
                                                            discovery (0.5); begin drafting responses and objections to
                                                            2004 discovery (0.4); continue correspondence with
                                                            Consilio regarding document productions (0.6); review
                                                            and collect documents responsive to discovery requests
                                                            (1.6); correspond with Consilio regarding document
                                                            productions (0.2); correspond with F. Tilus and S.
                                                            Rodriguez regarding discovery (0.3); correspond with A.
                                                            Gupta, S. Parkhurst, and J. DiDonato regarding the same
                                                            (0.4); consolidate and prepare documents for production
                                                            (0.7); revise responses and objections (0.3); correspond
                                                            with G . Metzger regarding the same (0.2); draft deposition
                                                            notice (0 .1); continue reviewing documents related to
                                                            discovery (1.1)

06/30/23     AQ                         5.50       7,480.00 Telephone conference with J. DiDonato, S. Parkhurst and
                                                            J . Teresi regarding interrogatory responses (0.5); email
                                                            with J . DiDonato, S. Parkhurst and J . Teresi regarding
                                                            discovery responses (0.3); email and telephone conference
                                                            with J . Feldman, J. Gusa and H. Murtagh regarding
                                                            discovery in connection with sale hearing (0.4); email and
                                                            telephone conference with J . Celentino regarding same
                                                            (0.4); review document requests (0.3); email E. Polanco
                                                            regarding social media accounts (0.2); review evidence for
                                                            upcoming hearings (0.8); draft summary regarding same
                                                            (1.7); email with J. Teresi regarding document production
                                                            and discovery (0.3); email Y. Duran regarding hearing
                                                            preparation (0.1); email with J. Teresi regarding Warner
                                                            stipulation (0.2); email G . Weiner regarding same (0 .1);
                                                            email I. Gilbert and A. Gebert regarding computer log
                                                            (0.1); email with J. Celentino regarding Rothschild
                                                            documents (0.1)

06/30/23     AQ                          .70        952 .00 Email and telephone conferences with L. Morris regarding
                                                            status and discovery

06/30/23     AS                          .80       1,324 .00 Telephone conference with Latham, Rothschild,
                                                             Debevoise teams regarding discovery

06/30/23     HKM                        1.80       2,628 .00 Revise summary judgment final order (0.3); draft and
                                                             refine search terms for Owoc text search, and
                                                             correspondence with Owoc counsel regarding same (1.3);
                                                             correspondence with Owoc counsel regarding summary
                                                             judgment order (0.2)

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06/30/23     JCC                       11.60      14,500.00 Telephone call with A. Quartarolo regarding discovery
                                                            strategy (0.1); telephone call with opposing counsel
                                                            regarding discovery (0.4); collect and review documents
                                                            for discovery (9 .8); telephone call with Rothschild team
                                                            regarding discovery (0.5); correspondence regarding same
                                                            (0.3); correspondence regarding Monster sale next steps
                                                            and FTC review (0.5)

06/30/23     EAM                        1.30       1,670.50 Review pleadings relevant for upcoming hearings

06/30/23     DCD                        1.80       1,728.00 Conference with L. Morris and A. Quartarolo regarding
                                                            Owoc RFPs (0.5) ; conference with J . Teresi regarding
                                                            Owoc RFPs (0 .3); draft responses and objections to Owoc
                                                            RFPs (1.0)

06/30/23     JLT                       10.50      11,182.50 Call with A. Quartarolo, A. Gupta, and S. Parkhurst
                                                            regarding discovery (0.6) ; correspond with same about
                                                            discovery (0.4); call with J . Celentino regarding discovery
                                                            (0.2) ; call with S. Feldman, J. Gusa, E. Morris, and A.
                                                            Quartarolo regarding discovery (0.3); call with S.
                                                            Parkhurst regarding the same (0.2); revise responses and
                                                            objections in response to comments from J . Gusa (0.4); call
                                                            with J . Gusa regarding the same (0 .1); review documents
                                                            related to discovery (0.7); call with D. Dunn regarding
                                                            case status and discovery (0.3); call with E. Morris
                                                            regarding the same (0.3) ; correspond with A. Quartarolo
                                                            and E. Morris regarding 2004 discovery (0.3); call with J .
                                                            Celentino and Rothschild regarding discovery (0.6); revise
                                                            responses and objections (0.8); review documents related
                                                            to discovery (0 .8); revise stipulation to continue stay in
                                                            warner adversary proceeding (0.3); coordinate filing of the
                                                            same (0 .1); attend to correspondence with Consilio
                                                            regarding document collection, document productions,
                                                            and discovery (0.8); correspond with A. Quartarolo, H .
                                                            Murtagh, and E. Morris regarding discovery (0.4); serve
                                                            responses and objection and produce documents (0.3);
                                                            continue review discovery documents (0.9); correspond
                                                            with D. Dunn regarding 2004 discovery (0.2); draft 2004
                                                            discovery responses and objections (0.6); continue
                                                            reviewing documents related to discovery (0 .6);
                                                            correspond with J. Celentino regarding discovery (0 .5)



Attorney:

CA Reckler                       .60     Hrs.@        $ 1,850.00/hr.             $1,110.00
A Sorkin                      19.80      Hrs.@        $ 1,655.00/hr.            $32,769.00
YMun                            1.60     Hrs.@        $ 1,535.00/hr.             $2,456.00

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July 20, 2023
Matter Name: Litigation


D T Gardiner                      .50     Hrs.@       $ 1,360.00/hr.              $ 680.00
G Mahmood                         .30     Hrs.@       $ 1,360.00/hr.              $ 408.00
A Quartarolo                   96.20      Hrs.@       $ 1,360.00/hr.          $ 130,832.00
HK Murtagh                     45.31      Hrs.@       $ 1,460.00/hr.           $66,155.52
AS Blanco                       16.10     Hrs.@       $ 1,335.00/hr.           $22,294.50
J L Daniels                       .30     Hrs.@       $ 1,300.00/hr.              $ 390.00
EA Morris                        3.90     Hrs.@       $ 1,285.00/hr.             $5,011.50
Y L Burton                       3.40     Hrs.@       $ 1,250.00/hr.             $4,250.00
J C Celentino                  64.20      Hrs.@       $ 1,250.00/hr.           $80,250.00
DC Tifft                         1.10     Hrs.@       $ 1,185.00/hr.             $1,303.50
J J Weichselbaum               21.10      Hrs.@       $ 1,140.00/hr.           $31,518.00
J W Morley                       2.80     Hrs.@       $ 1,065.00/hr.             $2,982.00
J L Teresi                    114.10      Hrs.@       $ 1,065.00/hr.          $121,516.50
DC Dunn                          1.50     Hrs.@        $ 960.00/hr.              $1,200 .00
NA Gulati                       15.10     Hrs.@        $ 830.00/hr.            $12,533.00
ZZhao                            8.80     Hrs.@        $ 105.001hr.              $6,204.00
                              429.91                                          $529,923.52

Other:

CM Tarrant                       3.50     Hrs.@        $ 490.00/hr.              $1,115.00
                                 3.50                                            $1,115.00

GRAND TOTAL:                  433.41                                          $531,638.52




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Matter Name: Meetings and Communication with Creditors


Date         Timekeeper               Hours       Amount Description

06/02/23     AS                         .70       1,158.50 Attend pre-meeting for bank call with Huron,
                                                           management (0.4); attend weekly bank group call (0 .3)

06/02/23     YLB                        .50         625 .00 Prepare for and attend lender pre call (0.2); prepare for
                                                            and attend lender call (0.3)

06/02/23     JJW                        .20         228.00 Call with creditor regarding status of case

06/09/23     CAR                        .80       1,480.00 Participate in pre-lender call (0.4); follow up with A.
                                                           Sorkin (0.4)

06/09/23     AS                         .80       1,324.00 Telephone conference with L. Lluberas regarding lender
                                                           group call (0.3); telephone conference with A. Gupta
                                                           regarding same (0.1); attend bank group call (0.4)

06/16/23     AS                         .60         993 .00 Attend video conference with Huron team regarding
                                                            preparation for bank group call (0.2); telephone
                                                            conference with L. Lluberas regarding same (0.1); attend
                                                            bank group call (0.3)



Attorney:

CA Reckler                      .80     Hrs.@       $ 1,850.00/hr.             $1,480.00
A Sorkin                       2.10     Hrs.@       $ 1,655.00/hr.             $3,475.50
Y L Burton                      .50     Hrs.@       $ 1,250.00/hr.              $ 625.00
J J Weichselbaum                .20     Hrs.@       $ 1,140.00/hr.              $ 228.00
                               3.60                                            $5,808.50




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Matter Name: Non-Working Travel


Date         Timekeeper                           Amount Description

06/21/23     AQ                        3.30       2,244 .00 Travel to Ft. Lauderdale from LAX for court hearing

06/22/23     AQ                        5.20       3,536.00 Travel from LA to Ft. Lauderdale and back for court
                                                           hearing



Attorney:

A Quartarolo                   8.50     Hrs.@        $ 680.00/hr.              $5,780 .00
                               8.50                                            $5,780.00




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Matter Name: Tax


Date         Timekeeper              Hours        Amount Description

06/01/23     DEK                       2.80       4,088 .00 Emails with Debtors regarding withholding (0 .3); tax
                                                            analysis regarding the same (2 .5)

06/01/23     HKM                        .70       1,022.00 Discuss 363 sale tax issues and structuring options with
                                                           Latham team

06/01/23     LK                        1.70       2,048.50 Research 363 tax issues (1.5) ; discuss with E. Kamerman
                                                           (0.2)

06/02/23     DEK                        .80       1,168.00 Telephone conference with J . Celentino regarding
                                                           withholding (0.3); tax analysis regarding the same (0.5)

06/02/23     HKM                        .50         730 .00 Discuss tax risks in 363 sale with Latham tax team

06/02/23     LK                         .80         964 .00 Analyze tax issues in connection with proposed
                                                            transaction structure

06/04/23     DEK                       2.00       2,920 .00 Telephone conference with Akerman tax regarding APA
                                                            (0.5); emails regarding the same (1.4)

06/05/23     DEK                       1.30       1,898.00 Emails with Latham team regarding withholding (0.5); tax
                                                           analysis regarding the same (0.8)

06/05/23     HKM                        .50         730.00 Review correspondence regarding sale tax risks

06/07/23     DEK                       3.90       5,694 .00 Review and provide tax comments to draft of APA

06/07/23     AS                         .50         827 .50 Multiple calls with E. Kamerman, D. Mun, J . Celentino
                                                            regarding W-9 issues

06/07/23     BK                         .70       1,074 .50 Video conference with D . Mun, A. Sorkin, N. Wages, E.
                                                            Kamerman, T. Kim and J. Celentino regarding tax
                                                            considerations in APA (0.4); video conference with D. Mun
                                                            and A. Sorkin regarding tax issues (0.3)

06/08/23     DEK                       1.60       2,336 .00 Review and provide further tax comments to APA

06/11/23     DEK                        .80       1,168.00 Review and provide tax comments to disclosure schedules

06/12/23     DEK                       1.50       2,190.00 Review and provide tax comments to draft of APA

06/13/23     DEK                       1.00       1,460.00 Telephone conference with Grant Thornton regarding
                                                           structure

06/13/23     BK                         .70       1,074.50 Telephone conference with Grant Thornton, Huron,
                                                           company and Latham regarding tax considerations (0.6) ;
                                                           telephone conference with E . Kamerman regarding same
                                                           (0.1)

06/14/23     LK                         .60         723.00 Review email correspondence and tax research in
                                                           connection with the same


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Matter Name: Tax


Date         Timekeeper                           Amount Description

06/15/23     DEK                        .20         292 .00 Review and provide tax comments to draft disclosure
                                                            schedules



Attorney:

A Sorkin                        .50     Hrs.@       $ 1,655.00/hr.              $ 827.50
DE Kamerman                   15.90     Hrs.@       $ 1,460.00/hr.           $23,214.00
B Kaplan                       1.40     Hrs.@       $ 1,535.00/hr.             $2,149.00
HK Murtagh                     1.70     Hrs.@       $ 1,460.00/hr.             $2,482 .00
L Kutilek                      3.10     Hrs.@       $ 1,205.00/hr.             $3,735.50
                             22.60                                           $32,408.00




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